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 101-7-TFR
 3 Services
                                                        UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF OREGON


                In re:                                                                          §
                                                                                                §
                BERJAC OF OREGON                                                                §           Case No. 12-63884
                                                                                                §
                                                              Debtor                            §

                                                             TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 11 of the United States Bankruptcy Code was filed on
                 08/31/2012 . The case was converted to one under Chapter 7 on 10/02/2013 . The
                undersigned trustee was appointed on 09/19/2012 .

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $        19,941,935.38

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                          11,032,902.74
                                                  disbursement
                                                  Administrative expenses                                                   5,823,907.49
                                                  Bank service fees                                                            41,783.48
                                                  Other payments to creditors                                                 120,189.39
                                                  Non-estate funds paid to 3rd Parties                                        155,700.00
                                                  Exemptions paid to the debtor                                                     0.00
                                                  Other payments to the debtor                                                      0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $          2,767,452.28

                 The remaining funds are available for distribution.

          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 02/06/2014 and the
      deadline for filing governmental claims was 03/31/2014 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 621,212.84 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 319,738.91 as interim compensation and now requests a sum
      of $ 301,473.93 , for a total compensation of $ 621,212.84 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 3,854.82 , and now
      requests reimbursement for expenses of $ 5,080.42 , for total expenses of $ 8,935.24 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 07/01/2019                                     By:/s/THOMAS A. HUNTSBERGER, TRUSTEE
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




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           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                             FORM 1
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:       1
                                                                                          ASSET CASES                                                                                                    Exhibit A
Case No:            12-63884      TMR    Judge: Thomas M. Renn                                                                     Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
Case Name:          BERJAC OF OREGON                                                                                              Date Filed (f) or Converted (c):    10/02/13 (c)
                                                                                                                                  341(a) Meeting Date:                10/04/12
For Period Ending: 07/01/19                                                                                                       Claims Bar Date:                    02/06/14



                                     1                                             2                         3                         4                         5                                  6
                                                                                                    Estimated Net Value
                                                                               Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                               Unscheduled         Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                      Values               and Other Costs)          OA=554(a) Abandon             the Estate

 1. 20 acres near Redmond                                                       2,000,000.00                     160,060.06                                          160,060.06                  FA
     Asset Reported with Scheduled value on Chapter 11 Schedules--See
     Document #60 filed 09/28/12.2. Asset sold in Chapter 11 Per Order
     Approving Sale Free and Clear of Liens - Document #355 - Filed
     5/10/13. Deposit was made to Curtis Restaurant Bank Account
     #2131792570.
     Remaining net proceeds of $130,391.69 turned over to Chapter 7
     Trustee and reported on Chapter 7 schedules filed by
     Trustee--Document #484 filed 11/01/13. Proceeds were later release to
     Trustee as part of settlement with creditor Curtis Restaurant who
     claimed lien on the proceeds. See Order on Motion & Notice to Settle
     & Compromise--Document #928 filed 06/16/15.


 2. 32-33 developed lots near Redmond                                           1,120,000.00                     715,000.00                                          715,000.00                  FA
     Asset reported with scheduled value on Chapter 11 Schedules--See
     document #60 filed 09/28/12. Asset sold in Chapter 11 Per Order
     Approving Sale Free and Clear of Liens - Document #311 - Filed
     3/11/13.
     Remaining net proceeds were part of Union Bank of California funds of
     $450,769.01 turned over to Chapter 7 Trustee and reported on Chapter 7
     Schedules--Document #484 filed 11/01/13.


 3. 3544 Sisters View Ave, Eugene OR 97401                                       181,570.00                      145,000.00                                          145,000.00                  FA
     Per Order Approving Sale Free and Clear of Liens - Document #312 -
     Filed 3/11/13.
     ASSET LIQUIDATED IN CHAPTER 11.
     Remaining net proceeds were part of Union Bank of California funds of
     $450,769.01 turned over to Chapter 7 Trustee and reported on Chapter 7




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                                                                                          ASSET CASES                                                                                                 Exhibit A
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Case Name:          BERJAC OF OREGON                                                                                            Date Filed (f) or Converted (c):   10/02/13 (c)
                                                                                                                                341(a) Meeting Date:               10/04/12
                                                                                                                                Claims Bar Date:                   02/06/14



                                     1                                            2                        3                         4                         5                                 6
                                                                                                  Estimated Net Value
                                                                              Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                              Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                     Values              and Other Costs)          OA=554(a) Abandon             the Estate

     Schedules--Document #484 filed 11/01/13.


 4. Century Bank account for Eugene office                                      349,064.00                           0.00                                               0.00                  FA
     Value reported on Chapter 11 Schedules--See Document #60 field
     09/28/12. Assets #4 and #5 were combined into a single Debtor in
     Possession Account at Summit Bank prior to trustee appointment.
     Century Bank funds transferred to Summit Bank Business Account
     prior to trustee appointment.
     Summit Bank account had balance of $265,772.08 when case converted
     to Chapter 7. Amount reported on Chapter 7 Schedules--Document
     #484 filed 11/01/13.


 5. Century Bank account for Portland office                                    113,182.00                           0.00                                               0.00                  FA
     Asset value reported on Chapter 11 Schedules--See Document #60 filed
     09/28/12. Assets #4 and #5 were combined into a single Debtor in
     Possession Account at Summit Bank prior to trustee appointment.
     Summit Bank account had balance of $265,772.08 when case converted
     to Chapter 7. Amount reported on Chapter 7 Schedules--Document
     #484 filed 11/01/13.


 6. Judgment against Ambassador Service Group in the a                                0.00                           0.00                                               0.00                  FA
     Sheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported on Chapter 7 Schedules as having "Undetermined" value.
     See Document #484 filed 11/01/13. Chapter 7 Trustee determined asset
     to have no value.




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Case Name:          BERJAC OF OREGON                                                                                               Date Filed (f) or Converted (c):    10/02/13 (c)
                                                                                                                                   341(a) Meeting Date:                10/04/12
                                                                                                                                   Claims Bar Date:                    02/06/14



                                      1                                             2                         3                         4                         5                                  6
                                                                                                     Estimated Net Value
                                                                                Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                Unscheduled         Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                       Values               and Other Costs)          OA=554(a) Abandon             the Estate

 7. Deficiency claim against Fred Ball, Windridge Home                                   0.00                           0.00                                                0.00                  FA
     Sheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported on Chapter 7 Schedules as having "Undetermined" value.
     See Document #484 filed 11/01/13. Chapter 7 Trustee determined asset
     to have no value.


 8. Insurance agents                                                                     0.00                           0.00                                                0.00                  FA
     Sheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported on Chapter 7 Schedules as having "0" value. See
     Document #484 filed 11/01/13.


 9. Office equipment, furniture, and supplies                                        4,800.00                           0.00                                                0.00                  FA
     Asset value reported as $4,800 on Chapter 11 Schedules--Document
     #60 filed 09/28/12 and Chapter 7 Schedules--Document #484 filed
     11/01/13. Chapter 7 Trustee determined asset to have no liquidation
     value when business was terminated by Order Approving Business
     Termination--Document #679 Filed 09/08/2014


 10. A Portfolio of insurance premium financing contrac                          1,321,205.00                     406,475.15                                          406,475.15                  FA
     Sheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset ws part of on-going business operations conducted by Chapter 11
     Trustee and Chapter 7 Trustee once case converted to Chapter 7. Asset
     reported with value of $731,946 on Chapter 7 Schedules--Document
     $484 filed 11/0/13.
     Business operations were terminated per Notice of Intent to Terminate



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                                                                                            ASSET CASES                                                                                                 Exhibit A
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Case Name:          BERJAC OF OREGON                                                                                              Date Filed (f) or Converted (c):   10/02/13 (c)
                                                                                                                                  341(a) Meeting Date:               10/04/12
                                                                                                                                  Claims Bar Date:                   02/06/14



                                     1                                              2                        3                         4                         5                                 6
                                                                                                    Estimated Net Value
                                                                                Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                                Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)          OA=554(a) Abandon             the Estate

     Business--Document #637 filed 08/20/14 and Order Approving
     Business Termination--Document #679 filed 09/18/14.
     Asset receipts include various transfers to Union Bank Account of
     various funds accumulated in business operating account with Summit
     Bank. See deposit receipts dated 03/04/14 ($78,935.92) ; 08/21/14
     ($25,000); 09/05/14 ($20,000); 09/12/14 ($20,000) ; 09/17/14
     ($25,000); 09/24/14 ($10,000); and 10/01/14 ($25,000). Funds
     remaining in Summit Bank account upon business closure were
     transferred to Union Bank account on 11/10/14 (1,035) and 01/14/15
     ($5,596.47).


 11. Bailey Hill Defined Benefit Pension Plan loan. Fa                                  0.00                           0.00                                               0.00                  FA
     Asset is in Litigation filed against Bailey Hill Defined Benefit Plan,
     Paulsen Trust and Thomas Dean. NOTE: Payment of this asset was
     included with settlement of Asset #19.
     Scheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported with "Undetermined value, in litigation" on Chapter 7
     Schedules A&B--Document #484 filed 11/01/13.


 12. Brighton Ct. Note (remodel), personally signed by                             70,136.00                           0.00                                               0.00                  FA
     Asset determined to be without value
     Scheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported with value of $70,136 on Chapter 7
     Schedules--Document #484 filed 11/01/13.


 13. C. Gene Hand personal note.                                                  179,774.00                           0.00                                               0.00                  FA



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Case No:            12-63884      TMR     Judge: Thomas M. Renn                                                                    Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
Case Name:          BERJAC OF OREGON                                                                                              Date Filed (f) or Converted (c):    10/02/13 (c)
                                                                                                                                  341(a) Meeting Date:                10/04/12
                                                                                                                                  Claims Bar Date:                    02/06/14



                                     1                                              2                        3                         4                         5                                  6
                                                                                                    Estimated Net Value
                                                                                Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                Unscheduled        Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)          OA=554(a) Abandon             the Estate

     Scheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported with value of $179,774 on Chapter 7
     Schedules--Document #484 filed 11/01/13. Trustee investigated and
     determined asset had no value.


 14. Jasper Junction loan in the face amount of $750,00                                 0.00                     442,515.81                                          442,515.81                  FA
     Scheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported with value of "Undetermined--in litigation" on Chapter 7
     Schedules--Document #484 filed 11/01/13.
     Trustee received various payments on asset and then liquidated asset
     through sale of property against which Trust Deed lien was held. See
     Order on Motion & Notice to Settle & Compromise--Document #514
     field 02/24/14; Notice of Intent to Sell Property--Document #1566 -
     filed 08/24/17 and Trustee's Report of Sale--Document #1723 - filed
     02/01/19.


 15. Jordan and Sarrica note. Face amount $529,500.                                     0.00                     840,827.60                                          840,827.60                  FA
     Scheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported with value of "Undetermined--in litigation" on Chapter 7
     Schedules--Document #484 filed 11/01/13.
     Asset liquidated pursuant to the terms of an omnibus settlement with
     Max Jordan and spouse summarized in Order on Motion & Notice to
     Settle & Compromise--Document #514 filed 02/24/14. Aset consisted
     of note secured by Trust Deed lien against a series of properties owned
     by Max Jordan controlled enities MGD Development LLC and M&M




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Case Name:          BERJAC OF OREGON                                                                                                Date Filed (f) or Converted (c):    10/02/13 (c)
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                                                                                                                                    Claims Bar Date:                    02/06/14



                                      1                                               2                        3                         4                         5                                  6
                                                                                                      Estimated Net Value
                                                                                  Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                  Unscheduled        Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                         Values              and Other Costs)          OA=554(a) Abandon             the Estate

     Properties, LLC. Properties were sold pursuant to the following Notices
     of Intent to Sell Property: (1) Document #540 field 03/28/2014 &
     Trustee's Report of Sale--Document #1714 filed 02/01/19 (Lots 7 & 11
     Briese Park; (2) Document #667 filed 09/02/14 & Trustee's Report of
     Sale--Document #1715 filed 02/01/19 (4202 Heins Court); (3)
     Document 691 filed 10/21/14 & Trustee's Report of Sale--Document
     #1716 filed 02/01/10 (4203 Heins Court; (4) Document #694 field
     10/24/14 & Trustee's Report of Sale--Document #1717 filed 02/01/19
     (4221 Heins Court) and (5) Document #690 filed 10/20/14 & Trustee's
     Report of Sale--Document #1718 (4214 Heins Court). The bankruptcy
     estate received all the net proceeds generated by each sale. While
     properties were being marketed, Jordan entities also made interim
     payments to the bankruptcy estate of net rents being collected from the
     properties pursuant to the terms of the original settlement.


 16. Max Jordan contract. Face amount $1,644,332.53.                                      0.00                     504,135.88                                          504,135.88                  FA
     Scheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported with value of "Undetermined--in litigation" on Chapter 7
     Schedules--Document #484 filed 11/01/13.
     Asset was liquidated pursuant to settlement with Max Jordan & Spouse
     and Jordan controlled entities under terms summarized om the Order on
     Notice of Intent to Settle and Compromise--Document #514 filed
     02/24/14. Asset was a Trust Deed lien against certain properties owned
     by Jordan or Jordan controlled entities. Properties were sold pursuant to
     the following Notices of Intent to Sell Property: (1) Document #574
     filed 06/05/14 & Trustee's Report of Sale--Document #1719 filed
     02/01/19 (6352/6354 F Street, Springfield; (2) Document #696 filed
     10/28/14 & Trustee's Report of Sale--Document #1720 filed 02/01/19



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Case No:            12-63884       TMR     Judge: Thomas M. Renn                                                                     Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
Case Name:          BERJAC OF OREGON                                                                                                Date Filed (f) or Converted (c):    10/02/13 (c)
                                                                                                                                    341(a) Meeting Date:                10/04/12
                                                                                                                                    Claims Bar Date:                    02/06/14



                                      1                                               2                        3                         4                         5                                  6
                                                                                                      Estimated Net Value
                                                                                  Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                  Unscheduled        Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
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     (6356/6358 F Steeet, Springfield); (3) Document # 769 field 01/13/15
     and Trustee's Report of Sale--Document #1721 filed 02/01/19 (797/799
     64th St., Springfield) and Document #841 filed 02/24/15 and Trustee's
     Report of Sale--Document #1722 filed 02/01/19 (85831 Parkland
     Circle, Pleasant Hill, Oregon. The bankruptcy estate received all the net
     proceeds from each sale Jordan also made certain period payments to
     the bankruptcy estate of net rents collected from the properties pursuant
     to the terms of settlement.


 17. Regency at Tacoma (rehab) note, personally signed                               72,713.00                      78,240.81                                           78,240.81                  FA
     Promissory note from Regency at Tacoma Rehabilitation Facility
     personally guaranteed by James Clay and Gene Hand. Note was paid
     off in installments by Mr. Hand per the terms of the note.
     Scheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported with value of $72,713 on Chapter 7
     Schedules--Document #484 filed 11/01/13.


 18. Sums owed by Paulson Trust.                                                          0.00                     254,347.00                                          254,347.00                  FA
     Asset conveyed to Trustee per settlement of litigation involvingTom
     Dean, Paulsen Trust & Bailey Hill Defined Benefit Pension Plan
     described in Order on Motion & Notice of Intent to Settle &
     Compromise--Document #1559 filed 08/15/17.
     Asset sold by Trustee per Notice of Intent to Sell Property--Document
     #1594 filed 12/06/17 and Report of Sale - Document #1599 - Filed
     1/19/18. See also Motion & Notice of Intent to Settle &
     Compromise--Document #1605 filed 03/09/18.
     Address: 88160 Huston Road, Veneta, Oregon - Buyer: Agile Home




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                                      1                                              2                        3                          4                         5                                  6
                                                                                                     Estimated Net Value
                                                                                 Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                 Unscheduled        Less Liens, Exemptions,           Abandoned                Received by              Gross Value of Remaining Assets
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     Solutions LLC
     Scheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported with value of "Undetermined--in litigation" on Chapter 7
     Schedules--Document #484 filed 11/01/13.


 19. Thomas Dean note. Balance due $718,485.                                             0.00                      425,000.00                                          425,000.00                  FA
     Settlement of litigation of Dean note pursuant to Notice Document
     #1559 - Filed 8/15/17. Settles Lawsuit v. James Paulsen Trust and
     Thomas Dean et,al, Adversary Proceeding #15-06069. Property which
     was subject of the Adversary Proceeding was sold to an entity controlled
     by settling defendants pursuant to the terms Settlement. See Report of
     Sale - Document #1575 - Filed 09/12/2017.

     Scheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported with value of "Undetermined--in litigation" on Chapter 7
     Schedules--Document #484 filed 11/01/13.


 20. VJ2 Development Inc and Darnell Jones Loan. Tot al                                  0.00                     6,279,457.35                                     6,279,457.35                    FA
     Payment received on NR/Eichler Sale on 7/1/13 was for relrease of
     Trust Deed held on the property. Property was sold by the owner, Don
     Jones and Bankruptcy Estate received net proceeds of sale. SOLD IN
     CHAPTER 11.
     See following documents regarding property sales under Chapter 7:
     Trustee's Amended Report of Sale--Document #1544 - filed 06/01/2017
     - Payment received 1/19/16.
     Trustee's Amended Report of Sale--Document #1545 - filed 06/01/2017




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                                                                                                                                        Claims Bar Date:                    02/06/14



                                       1                                                  2                        3                         4                         5                                  6
                                                                                                          Estimated Net Value
                                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     - Payment received 11/18/14.
     Scheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset reported with value of "Undetermined--in litigation" on Chapter 7
     Schedules--Document #484 filed 11/01/13.


 21. Preference/Fraudulent Transfer Actions (u)                                               0.00                     911,128.51                                          911,128.51                  FA
     Recovery of Avoidable Transfers (Preferences/Fraudulent
     Conveyances). See Form 2 for references to settlement documents
     related to numerous preference recoveries.


 22. Retainer Funds Held by Keith Boyd (u)                                                    0.00                      24,621.10                                           24,621.10                  FA
     Retained of $24,404.41 was turned over to trustee from Atty Boyd. He
     held an additional sum of $3,236.09 from the pre-petition retainer to
     cover attorneys fees and expenses allowed per Document #423 - Filed
     8/6/13 and Document #1112 - Filed 10/9/15. The balance of the
     pre-petition retainer was turned over to trustee per Motion to Settle and
     Compromise described in Document #1112.
     Asset not reported on Chapter 11 Schedules.
     Asset reported with value of $3,236.09 on Chapter 7
     Schedules--Document #484 filed 11/01/13.


 23. Miscellaneous Reimbursements (u)                                                         0.00                       9,838.03                                            9,838.03                  FA
     Reimbursements from law firms for costs of document production in
     Umpqua Bank, Summit Bank,Pacific Continental Bank, Jones & Roth
     & Curtis Restaurant litigation matters. These reimbursements were not
     linked to any documents. See Form 2 deposits for further detail.




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 11)                                                                                                                                                                     Ver: 22.01b

                                                                          Case 12-63884-tmr7                Doc 1729           Filed 07/18/19
                                                                                                 FORM 1
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:      10
                                                                                              ASSET CASES                                                                                                   Exhibit A
Case No:            12-63884      TMR     Judge: Thomas M. Renn                                                                       Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
Case Name:          BERJAC OF OREGON                                                                                                 Date Filed (f) or Converted (c):    10/02/13 (c)
                                                                                                                                     341(a) Meeting Date:                10/04/12
                                                                                                                                     Claims Bar Date:                    02/06/14



                                     1                                                2                        3                          4                         5                                  6
                                                                                                      Estimated Net Value
                                                                                  Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                  Unscheduled        Less Liens, Exemptions,           Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                         Values              and Other Costs)           OA=554(a) Abandon             the Estate

 24. Claim Against Ch 7 Estate of Michael Holcomb (u)                                     0.00                      454,724.25                                          454,724.25                  FA
     Interim Payments from Trustee Ronald Sticka on Chapter 7 Bankruptcy
     Estate of Michael S. Holcomb - Case No. 13-63272-elp7 on Berjac of
     Oregon Claim. Payments received 10/15/14 and 6/11/16 .
     Final payment from Trustee Ronald Sticka on Chapter 7 Banktuptcy
     Estate of Michael S.
     Holcomb - Case No. 13-36272-dwh7 - per Document #718 - filed
     1/20/17 by Trustee Sticka regarding Berjac of Oregon Claim. Payment
     received 2/7/17.
     Asset arose dur8ng Chapter 11 case when Chapter 7 involuntary
     bankruptcy petitions were filed against Berjac partners Michael
     Holcomb and Gary Holcomb. Asset reported with value of
     "Undetermined--in litigation" on Chapter 7 Schedules--Document #484
     filed 11/01/13. Assets were liquidated after Chapter 7 trustee filed
     claims against each Holcomb bankruptcy estate.


 25. Claim Against Ch 7 Estate of Gary Holcomb (u)                                        0.00                       50,949.22                                           50,949.22                  FA
     Final payment from Trustee Rudolpo Camacho on Chapter 7
     Banktuptcy Estate of Gary L. Holcomb - Case No. 12-37701-dwh7 -
     per Document #467 - filed 1/20/16 by Trustee Camacho regarding
     Berjac of Oregon Claim.
     Asset reported with value of "Undetermined--in litigation" on Chapter 7
     Schedules--Document #484 filed 11/01/13.


 26. Lawsuit against banks and Jones&Roth (u)                                             0.00                     7,398,319.30                                     7,398,319.30                    FA
     Per Motion and Notice of Intent to Settle and Compromise Adversary
     Proceeding - Document #1174 - Filed 12/2/15 - regarding settlement of
     Adversary Proceeding 14-06180 against Summit Bank. (12/30/15




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 12)                                                                                                                                                                  Ver: 22.01b

                                                                        Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 1
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                 Page:      11
                                                                                              ASSET CASES                                                                                                  Exhibit A
Case No:            12-63884      TMR     Judge: Thomas M. Renn                                                                       Trustee Name:                     THOMAS A. HUNTSBERGER, TRUSTEE
Case Name:          BERJAC OF OREGON                                                                                                 Date Filed (f) or Converted (c):   10/02/13 (c)
                                                                                                                                     341(a) Meeting Date:               10/04/12
                                                                                                                                     Claims Bar Date:                   02/06/14



                                     1                                                2                        3                          4                         5                                 6
                                                                                                      Estimated Net Value
                                                                                  Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                                  Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                         Values              and Other Costs)           OA=554(a) Abandon             the Estate

     Payment).
     Per Motion and Notice of Intent to Settle and Compromise Adversary
     Proceeding - Document #1474 - Filed 1/17/17 - regarding settlement of
     Adversary Proceeding 14-06168 against Umpqua Bank and Jones and
     Roth. (4/11/17 & 4/21/17 Payments).
     Proceeds received from Liberty Mutual Insurance, insurer for Jones &
     Roth, received per Order on Motion & Notice to settle &
     compromise--Document #1642 filed (09/25/18. (11/06/18 payment).
     Per Motion and Notice of Intent to Settle and Compromise Adversary
     Proceeding - Document #1463 - Filed 12/6/16 - regarding settlement of
     Adversary Proceeding 14-06170 against Pacific Continental Bank
     (4/27/17 Payment).


 27. Miscellaneous Refunds (u)                                                            0.00                         1,444.86                                         1,444.86                   FA
     Miscellaneous Refunds


 28. Claim Against Holcomb Family Limited Partnership (u)                                 0.00                     1,009,155.66                                     1,009,155.66                   FA
     Asset was diiscovered during Chapter 7 administration.
     Asset liquidated per Motion and Notice of Intent to Settle and
     Compromise - Document #751 - Filed 12/19/14. Payment on
     distribution from Holcomb Family Limited Partnership (HFLP) made by
     Ken Eiler, the court-appointed liquidating agent for the Partnership.
     (Payments 4/8/15 and 7/22/15).


 29. Claim v. James McKee (u)                                                             0.00                             0.00                                              0.00                  FA
     Claim was discovered during Chapter 7 administration. Claim was
     resolved as part of liquidation of Asset #18. See Order on Motion and
     Notice of Intent to Settle & Compromise--Document #1605 filed



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                                                                       Case 12-63884-tmr7               Doc 1729             Filed 07/18/19
                                                                                               FORM 1
                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                 Page:      12
                                                                                            ASSET CASES                                                                                                  Exhibit A
Case No:            12-63884       TMR       Judge: Thomas M. Renn                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
Case Name:          BERJAC OF OREGON                                                                                              Date Filed (f) or Converted (c):    10/02/13 (c)
                                                                                                                                  341(a) Meeting Date:                10/04/12
                                                                                                                                  Claims Bar Date:                    02/06/14



                                      1                                             2                        3                         4                         5                                  6
                                                                                                    Estimated Net Value
                                                                                Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                Unscheduled        Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)          OA=554(a) Abandon             the Estate

     03/09/18.


 30. Curtis Fraudulent Transfer Action (u)                                              0.00                     297,000.00                                          297,000.00                  FA
     Motion and Notice of Intent to Settle & Compromise Adversary
     Proceeding No. 12-06189 regarding Preference Settlement for Curtis
     Restaurant Equipment, Inc.- Document #928 - Filed 6/16/15 - See Also
     Document #76 - Filed 6/16/15 - in the Adversary Proceeding..
     (Payments received 7/23/15 & 8/20/15).


 31. Bayfront Development LLC (u)                                                 243,000.00                     150,000.00                                          150,000.00                  FA
     One-third partnership interest in Bayfront Development LLC.
     Scheduled value reported on Chapter 11 Schedules--See Document #60
     filed 09/28/12.
     Asset value reported as "Undetermined--in litigation" on Chapter 7
     Schedules--Document #484 filed 11/01/13.
     Asset liquidated per Notice of Intent to Sell Property--Document #1609
     filed 03/20/18 and Trustee's Report of Sale--Dcoument #1619 filed
     04/17/18.


 32. Unclaimed funds from OR Dept of State Lands (u)                                    0.00                       5,273.90                                            5,273.90                  FA
     Trustee discovered unclaimed funds of the debtor that had been
     forfeited to the Oregon Department of State Lands (DSL). Funds were
     returned to the trustee upon demand made to the DSL.


 33. Advances to Wagon Wheel, LLC                                                       0.00                           0.00                                                0.00                  FA
     Asset discovered by trustee during Chapter 11 administration and
     reported as "undeterrmined on Chapter 7 Schedules--See document




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 14)                                                                                                                                                               Ver: 22.01b

                                                                        Case 12-63884-tmr7            Doc 1729           Filed 07/18/19
                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:       13
                                                                                               ASSET CASES                                                                                                             Exhibit A
Case No:             12-63884       TMR     Judge: Thomas M. Renn                                                                               Trustee Name:                     THOMAS A. HUNTSBERGER, TRUSTEE
Case Name:           BERJAC OF OREGON                                                                                                          Date Filed (f) or Converted (c):   10/02/13 (c)
                                                                                                                                               341(a) Meeting Date:               10/04/12
                                                                                                                                               Claims Bar Date:                   02/06/14



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

     #484 field 11/01/13. Chapter 7 Trustee determined the asset had no
     liquidation value.


 34. Loan to James & Donna Rova                                                                  0.00                               0.00                                               0.00                     FA
     Asset discovered by trustee during Chapter 11 administrationand
     reported on Chapter 7 schedules--See Document #484 filed 11/01/13.
     Rova's discharged liability on claim through Chapter 7 bankruptcy--See
     Case No. 15-63842.

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                     $5,655,444.00                    $20,563,514.49                                      $20,563,514.49                             $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   All assets have been liqudated other than collection claim against Jones and Roth insurer and pending Remanant Asset
   sale. All adversary proceedings seeking preference/fraudulent conveyance recovery have been settled. Suit seeking
   recovery of approximately $50 million from Banks and accounting firm filed and has settled against all defendamts, other
   than one insurer for defendant Jones and Roth. Settlement payments received from all settling defendants, including
   Jones and Roth insurer, have been received.


   Initial Projected Date of Final Report (TFR): 12/31/16           Current Projected Date of Final Report (TFR): 05/31/19




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 15)                                                                                                                                                                              Ver: 22.01b

                                                                           Case 12-63884-tmr7                     Doc 1729            Filed 07/18/19
                                                                                                    FORM 2                                                                                            Page:    1
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                         Union Bank
                                                                                                                                    Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1           2                                  3                                              4                                                      5                        6                7
    Transaction    Check or                                                                                                             Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)      Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                   0.00

       10/04/13                   BERJAC OF OREGON                               OTHER RECEIPTS                                          1290-000               450,769.01                                450,769.01
                                  CH 11 ACCT # 2131791838

       10/21/13     003001        International Sureties, LTD                    Pro-Rated Ch 11 Trustee's                               6990-000                                            270.00       450,499.01
                                  701 Poydras St., Suite 420                     Bond Premium 9/19/13 - 10/2/13
                                  New Orleans, LA 70139                          Bond #016052114

       10/28/13                   Union Bank                                     Bank Service Fee                                        2600-000                                            652.95       449,846.06

       10/29/13                   Transfer to Acct #2131791838                   TRANSFER TO COVER BANK FEES                             9999-000                                            652.95       449,193.11

       11/01/13                   Transfer from Acct #2131791838                 Bank Funds Transfer                                     9999-000                     652.95                              449,846.06

       11/25/13                   Union Bank                                     BANK SERVICE FEE                                        2600-000                                            539.94       449,306.12

       12/26/13                   Union Bank                                     BANK SERVICE FEE                                        2600-000                                            646.88       448,659.24

       01/03/14       17          Gresham Chr, LLC                               pmt on note                                             1121-000                    7,691.00                             456,350.24
                                  PO Box 1483                                    Agreed Payments on Promissory Note - Asset #18.
                                  Eugene, OR 97440                               Entity controlled by Paul Redhead.

       01/27/14                   Union Bank                                     BANK SERVICE FEE                                        2600-000                                            667.62       455,682.62

       02/05/14       17          GRESHAM CHR, LLC                               pmt on note                                             1121-000                    7,691.00                             463,373.62
                                  PO Box 1483                                    Agreed Payments on Promissory Note - Asset #18.
                                  Eugene, OR 97440                               Entity controlled by Paul Redhead.

       02/11/14       23          Stewart Sokol & Gray LLC                       Reimbursement of Misc. Expenses                         1290-000                     668.43                              464,042.05
                                  2300 SW First Ave., Suite 200                  Document production costs shared by Stoll Berne,


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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729            Filed 07/18/19
                                                                                                  FORM 2                                                                                          Page:    2
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                               4                                                    5                      6                7
    Transaction    Check or                                                                                                            Uniform                                                    Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction                Trans. Code        Deposits ($)      Disbursements ($)       Balance ($)
                                  Portland, OR 97201                             Sokol & Gray & Perkins Coie regarding requests for
                                                                                 trustee records related to their cases.

       02/14/14       16          M & M Oregon Properties LLC                    pmt on note                                           1121-000                44,718.00                              508,760.05
                                  PO Box 50843                                   Per Notice of Intent to Settle & Compromise
                                  Eugene, OR 97405-2329                          (Pursuant to Max Jordan Settlement) - Document
                                                                                 #514 - Filed 2/24/14.

       02/25/14                   Union Bank                                     BANK SERVICE FEE                                      2600-000                                          676.27       508,083.78

       02/27/14     003002        Pacific Continental Bank                       Payment of Secured Claim #416                         4210-000                                      99,824.97        408,258.81
                                  1011 Harlow Road, #101                         Per Settlement Notice in Document #506.
                                  Springfield, OR 97477                          Full payment of principal, interest, costs and
                                                                                 attorneys fees of Greene and Markley per Motion to
                                                                                 Settle and Compromise - Document #506.- Filed
                                                                                 1/29/14.
                                                                                 $99,824.97 = $85,987.07 (principal and interest) +
                                                                                 $13,722 (atty fees) + $115.90 (costs).

       03/04/14       10          Berjac of Oregon                               Transfer of bank funds                                1130-000                78,935.92                              487,194.73
                                  PO Box 40266                                   Accumulated Premium Finance business income
                                  Eugene, OR 97404                               funds from Summit Bank account transferred in
                                                                                 anticipation of wind-up and termination of Premium
                                                                                 Finance Insurance and closing down of Berjac of
                                                                                 Oregon business.
                                                                                 Per Notice of Intent to Terminate Operation of
                                                                                 Insurance Premium Finance Business - Document
                                                                                 #637 - Filed 8/20/14. See Also Order Approving
                                                                                 Business Termination - Document 679 - Filed
                                                                                 9/18/14.




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LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                              Page:    3
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                   Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                   3                                             4                                                     5                        6                  7
    Transaction    Check or                                                                                                            Uniform                                                         Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction               Trans. Code         Deposits ($)         Disbursements ($)        Balance ($)
       03/07/14       17          GRESHAM CHR, LLC                               pmt on note                                            1121-000                    7,691.00                               494,885.73
                                  PO Box 1483                                    Agreed Payments on Promissory Note - Asset #18.
                                  Eugene, OR 97440                               Entity controlled by Paul Redhead.

       03/10/14     003003        THOMAS A. HUNTSBERGER, TRUSTEE                 Pro-Rata Bond Premium                                  2300-000                                             752.84        494,132.89
                                  870 W. CENTENNIAL BLVD                         4/4/2014 to 4/4/2015
                                  SPRINGFIELD, OR 97477

       03/12/14       23          Stoll Stoll Berne Lokting et al                Reimbursement of Misc Expenses                         1290-000                     668.43                                494,801.32
                                  209 SW Oak St., Suite 500                      Document production costs shared by Stoll Berne,
                                  Portland, OR 97204                             Sokol & Gray & Perkins Coie regarding requests for
                                                                                 trustee records related to their cases.

       03/17/14       23          Perkins Coie                                   Reimbursement of Misc. Expenses                        1290-000                     668.43                                495,469.75
                                  1201 Third Ave.                                Document production costs shared by Stoll Berne,
                                  Suite 4900                                     Sokol & Gray & Perkins Coie regarding requests for
                                  Seattle, WA 98101                              trustee records related to their cases.

       03/25/14                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                             639.43        494,830.32

       03/27/14     003004        PACIFIC CONTINENTAL BANK                       Additional attorney fees incurred                      4210-000                                            9,743.00       485,087.32
                                  1011 HARLOW ROAD, SUITE 101                    by Century Bank regarding loan.
                                  SPRINGFIELD, OR 97477                          Per Motion and Notice of Intent to Settle and
                                                                                 Compromise - Document #515 - Filed 3/3/14.

       04/01/14       16          M & M Oregon Properties LLC                    pmt on note                                            1121-000                    2,068.48                               487,155.80
                                  PO Box 50843                                   Per Notice of Intent to Settle & Compromise -
                                  Eugene, OR 97405-2329                          Document #514 - Filed 2/24/14.

       04/03/14     003005        DTI                                            Administrative Expense                                 2990-000                                            1,106.86       486,048.94
                                  PO BOX 204010                                  Document Reproduction Expenses - Printing and


       UST Form 101-7-TFR (5/1/2011) (Page: 18)
LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                               FORM 2                                                                                              Page:    4
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                              3                                                 4                                                    5                        6                7
    Transaction    Check or                                                                                                          Uniform                                                       Account / CD
       Date        Reference                Paid To / Received From                      Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)      Balance ($)
                                  DALLAS, TX 75320-4010                       Scanning
                                                                              Invoice #782087 and #783425.
                                                                              Re: Order Approving Payment of Expenses -
                                                                              Document 544 - Filed 4/2/14. See Also Notice of
                                                                              Intent to Incur Expenses - Document #534 - Filed
                                                                              3/11/14.

       04/03/14     003006        BULLETPOINT CONSULTING                      Administrative Expenses - Processin                     2990-000                                            584.73       485,464.21
                                  9020 TEETERING ROCK AVENUE                  Processing Discovery documents and generating
                                  LAS VEGAS, NV 89143                         productions set for responses to Subpoenas.
                                                                              Invoice #13-320; #13-322; #14-103; #14-121 and
                                                                              #14-138.
                                                                              Re: Order Approving Payment of Expenses -
                                                                              Document 544 - Filed 4/2/14. See Also Notice of
                                                                              Intent to Incur Expenses - Document #534 - Filed
                                                                              3/11/14.

       04/03/14     003007        APPRAISAL & CONSULTING GROUP, LLC           Appraiser for Trustee                                   3711-000                                        15,000.00        470,464.21
                                  1516 NE 37TH AVE, SUITE 210                 Appraisal of VJ2 Property Development,
                                  PORTLAND, OR 97232                          McMinnville, OR.
                                                                              Invoice #A130259/BERJAC-21014
                                                                              Re: Order Approving Payment of Expenses -
                                                                              Document 544 - Filed 4/2/14. See Also Notice of
                                                                              Intent to Incur Expenses - Document #534 - Filed
                                                                              3/11/14 and Document #543 - Filed 4/1/14.

       04/07/14       17          GRESHAM CHR, LLC                            pmt on note                                             1121-000                    7,691.00                             478,155.21
                                                                              Agreed Payments on Promissory Note - Asset #18.
                                                                              Entity controlled by Paul Redhead.

       04/09/14     003008        OREGON DEPARTMENT OF REVENUE                2012 State Income Tax -                                 2820-000                                            150.00       478,005.21


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                  Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                             Page:    5
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                 3                                              4                                                    5                        6                  7
    Transaction    Check or                                                                                                            Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                  FIDUCIARY UNIT                                Berjac of Oregon
                                  REVENUE BUILDING                              Per Motion and Notice of Intent to Incur Expenses;
                                  955 CENTER ST., N.E.                          and Order Thereon - Document #1671 - Filed
                                  SALEM, OR 97310                               10/17/18.

       04/09/14     003009        OREGON DEPARTMENT OF REVENUE                  Berjac of Portland /FEIN: 93-068416                    2820-000                                            150.00        477,855.21
                                  PO Box 14260                                  2012 State Income Tax
                                  SALEM, OR 97309-5060                          Per Motion and Notice of Intent to Incur Expenses;
                                                                                and Order Thereon - Document #1671 - Filed
                                                                                10/17/18.

       04/14/14     003010        DAVID K. REKDAHL, CPA, PC                     Accountant to Trustee - Expenses                       3420-000                                             27.85        477,827.36
                                  1288 WINERY LANE                              Per Order for Compensation of Accountant -
                                  EUGENE, OR 97405                              Document #548 - Filed 4/11/14.

       04/14/14     003011        DAVID K. REKDAHL, CPA, PC                     Accountant to Trustee - Fees                           3410-000                                           3,142.00       474,685.36
                                  1288 WINERY LANE                              Per Order for Compensation of Accountant -
                                  EUGENE, OR 97405                              Document #548 - Filed 4/11/14

       04/16/14       23          Stoll Stoll Berne Lokting                     Reimbursement of Misc. Expenses                        1290-000                   1,986.37                               476,671.73
                                  & Shlachter P.C.                              Document production costs shared by Stoll Berne,
                                  209 S.W. Oak St., Suite 500                   Sokol & Gray & Perkins Coie regarding requests for
                                  Portland, OR 97204                            trustee records related to Esler Class Action case.

       04/22/14     003012        TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services                           3991-000                                       16,048.00          460,623.73
                                  818 SW 3RD AVENUE, 3109                       80% of Fees Accrued as follows:
                                  PORTLAND, OR 97204                            October 2013 = $10,570
                                                                                November 2013 = $2,981.25
                                                                                December 2013 = $1,988.75
                                                                                January 2014 = $4,520
                                                                                Per Trustee's Motion for Administrative Order


       UST Form 101-7-TFR (5/1/2011) (Page: 20)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                            Page:    6
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                   Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                 3                                                4                                                    5                        6                7
    Transaction    Check or                                                                                                              Uniform                                                     Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                                                                 Establishing Procedures for Provisional Payment of
                                                                                 Fees/Expenses - Document #533 - Filed 3/7/14.
                                                                                 See Also Order Approving Payment of Norman
                                                                                 Transeth & Associates, LLC Fees and Expenses -
                                                                                 Document #556 - Filed 4/21/14.

       04/25/14                   Union Bank                                     BANK SERVICE FEE                                        2600-000                                           714.84       459,908.89

       04/30/14       15          ESCROW TRUST ACCOUNT                           pmt on note                                             1121-000               80,861.10                                540,769.99
                                  811 WILLAMETTE STREET                          Per Notice of Intent to Sell Trust Deed Against Lots
                                  EUGENE, OR 97401                               7 & 11 - Briese Park - Document #540 - Filed
                                                                                 3/28/14. Sold pursuant to Max Jordan Settlement -
                                                                                 Document #514 - Filed 2/24/14.

       05/02/14       14          Jasper Junction, LLC                           pmt on note                                             1121-000                    850.00                              541,619.99
                                  85831 Parklane Cir                             Per Notice of Intent to Settle & Compromise -
                                  Pleasant Hill, OR 97455                        Document #514 - Filed 2/24/14.

       05/02/14       15          M & M Oregon Properties LLC                    pmt on note                                             1121-000                   4,296.00                             545,915.99
                                  PO Box 50843                                   Per Notice of Intent to Settle & Compromise -
                                  Eugene, OR 97405-2329                          Document #514 - Filed 2/24/14.

       05/05/14       23          Stewart Sokol & Gray LLC                       Reimbursement of Misc Expenses                          1290-000                   1,986.37                             547,902.36
                                  2300 SW First Ave., Suite 200                  Document production costs shared by Stoll Berne,
                                  Portland, OR 97201                             Sokol & Gray & Perkins Coie regarding requests for
                                                                                 trustee records related to Esler Class Action case.

       05/14/14       17          Gresham Chr, LLC                               pmt on note                                             1121-000                   7,691.00                             555,593.36
                                                                                 Agreed Payments on Promissory Note - Asset #18.
                                                                                 Entity controlled by Paul Redhead.




       UST Form 101-7-TFR (5/1/2011) (Page: 21)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                          Page:    7
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                 3                                               4                                                   5                        6                7
    Transaction    Check or                                                                                                           Uniform                                                      Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction              Trans. Code        Deposits ($)         Disbursements ($)      Balance ($)
       05/20/14     003013        TRANSETH & ASSOCIATES, LLC                     Forensic Accounting Services                         3991-000                                        26,853.00        528,740.36
                                  818 SW 3rd AVENUE, #109                        February 2014 - $16,815.00 X 80% = $13,452
                                  PORTLAND OR 97204                              (Invoice #1199)
                                                                                 March 2014 - $16,751.25 X 80% = $13,401
                                                                                 (Invoice #1201)
                                                                                 Total = $26,853.00
                                                                                 Order Approving Payment of Norman Transeth &
                                                                                 Associates, LLC Fees and Expenses - Document
                                                                                 #556 - Filed 4/21/14.
                                                                                 Per Trustee's Notice of Intent to Pay Forensic
                                                                                 Accountant (April 2014 Invoice) - Document #566 -
                                                                                 Filed 5/8/14.

       05/27/14     003014        TRANSETH & ASSOCIATES, LLC                     Forensic Accounting Services                         3991-000                                        15,580.00        513,160.36
                                  818 SW 3rd AVENUE, #109                        April 2014: Invoice #1212
                                  PORTLAND OR 97204                              $19,475.00 X 80% = $15,580.00
                                                                                 Per Order Approving Payment of Norman Transeth
                                                                                 & Associates, LLC Fees and Expenses - Document
                                                                                 #556 - Filed 4/21/14.
                                                                                 Per Trustee's Notice of Intent to Pay Forensic
                                                                                 Accountant (April 2014 Invoice) - Document #566 -
                                                                                 Filed 5/8/14.

       05/27/14                   Union Bank                                     BANK SERVICE FEE                                     2600-000                                            701.98       512,458.38

       06/02/14       14          Jasper Junction, LLC                           pmt on note                                          1121-000                     925.00                              513,383.38
                                  85831 Parklane Circle                          Per Notice of Intent to Settle & Compromise -
                                  Pleasant Hill, OR 97455                        Document #514 - Filed 2/24/14.

       06/02/14       15          M & M Oregon Properties LLC                    pmt on note                                          1121-000                    5,068.00                             518,451.38
                                  PO Box 50843                                   Per Notice of Intent to Settle & Compromise -


       UST Form 101-7-TFR (5/1/2011) (Page: 22)
LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                            Page:    8
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                   Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                 3                                                4                                                    5                        6                7
    Transaction    Check or                                                                                                            Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction               Trans. Code         Deposits ($)         Disbursements ($)      Balance ($)
                                  Eugene, OR 97405-2329                          Document #514 - Filed 2/24/14.
                                                                                 May 2014 payment on 4214 Heins Court.

       06/25/14                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                            804.07       517,647.31

       07/01/14       17          Gresham Chr, LLC                               pmt on note                                            1121-000                    7,691.00                             525,338.31
                                                                                 Agreed Payments on Promissory Note - Asset #18.
                                                                                 Entity controlled by Paul Redhead.

       07/02/14       16          M & M Oregon Properties LLC                    pmt on note                                            1121-000                    4,718.48                             530,056.79
                                                                                 Per Notice of Intent to Settle & Compromise -
                                                                                 Document #514 - Filed 2/24/14.

       07/02/14     003015        BULLETPOINT CONSULTING                         Administrative expenses - paid per                     2990-000                                            519.73       529,537.06
                                  9020 TEETERING ROCK AVENUE                     Expense Notice, Doc. #577
                                  LAS VEGAS, NV 89143                            Invoice # 13-233 $384.73
                                                                                 Invoice # 14-176 $135.00

       07/02/14     003016        DTI                                            Administrative Expenses - document                     2990-000                                            980.74       528,556.32
                                  PO BOX 204010                                  tech. services. Paid per Notice, Doc. 577
                                  DALLAS, TX 75320-4010                          Invoice # 757426, 790150, 796315,
                                                                                 798837, 800222, and 800302

       07/08/14       16          Max B. Jordan                                  pmt on note                                            1121-000                     789.04                              529,345.36
                                  85831 Parklane Clr.                            Per Notice of Intent to Settle & Compromise -
                                  Pleasant Hill, OR 97455-9793                   Document #514 - Filed 2/24/14.

       07/08/14       16          M & M Oregon Properties, LLC                   pmt on note                                            1121-000                    1,000.00                             530,345.36
                                                                                 Per Notice of Intent to Settle & Compromise -
                                                                                 Document #514 - Filed 2/24/14.




       UST Form 101-7-TFR (5/1/2011) (Page: 23)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                           Page:    9
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                    3                                            4                                                    5                        6                7
    Transaction    Check or                                                                                                             Uniform                                                     Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)      Balance ($)
       07/09/14       16          Cascade Escrow Trust Account                   pmt on note                                            1121-000               11,325.86                                541,671.22
                                  811 Willamette St.                             Per Notice of Intent to Settle & Compromise -
                                  Eugene, OR 97401                               Document #514 - Filed 2/24/14 and First Amended
                                                                                 Notice of Intent to Sell - Document #574 - Filed
                                                                                 6/5/14. Trust Deed against duplex at 6352/6354 "F"
                                                                                 Street, Springfield, OR.

       07/25/14                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                           744.91       540,926.31

       07/30/14       21          Albert & Connie Broughton                      Return of Preferential Transfer                        1241-000               25,185.22                                566,111.53
                                  2611 Melrose Road                              Full payment made in response to demand letter sent
                                  Roseburg, OR 97471                             by trustee's attorney.

       07/30/14       21          Loretta & James Harrell                        Return of Preferential Transfer                        1241-000                   6,000.00                             572,111.53
                                  208 Briarwood                                  Full payment made in response to demand letter sent
                                  Medford, OR 97504                              by trustee's attorney.

       07/30/14       21          Bruce Barents                                  Return of Preferential Transfer                        1241-000                   4,000.00                             576,111.53
                                                                                 Full payment made in response to demand letter sent
                                                                                 by trustee's attorney.

       08/01/14       14          Jasper Junction, LLC                           pmt on note                                            1121-000                    586.88                              576,698.41
                                                                                 Per Notice of Intent to Settle & Compromise -
                                                                                 Document #514 - Filed 2/24/14.

       08/01/14       16          M & M Oregon Properties LLC                    pmt on note                                            1121-000                   2,431.00                             579,129.41
                                                                                 Per Notice of Intent to Settle & Compromise -
                                                                                 Document #514 - Filed 2/24/14.

       08/01/14       16          Max B. Jordan                                  pmt on note                                            1121-000                   1,168.48                             580,297.89
                                                                                 Per Notice of Intent to Settle & Compromise -


       UST Form 101-7-TFR (5/1/2011) (Page: 24)
LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                              Page:    10
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                               3                                               4                                                     5                        6                  7
    Transaction    Check or                                                                                                          Uniform                                                         Account / CD
       Date        Reference                 Paid To / Received From                       Description Of Transaction               Trans. Code         Deposits ($)         Disbursements ($)        Balance ($)
                                                                               Document #514 - Filed 2/24/14.

       08/01/14     003017        TRANSETH & ASSOCIATES, LLC                   Forensic Accounting Services -                         3991-000                                            7,833.00       572,464.89
                                  818 SW 3rd AVENUE, #109                      80% of May 2014 Invoice
                                  PORTLAND OR 97204                            Order Approving Payment of Norman Transeth &
                                                                               Associates, LLC Fees and Expenses - Document
                                                                               #556 - Filed 4/21/14.
                                                                               Per Trustee's Notice of Intent to Pay Forensic
                                                                               Accountant (May & June 2014 Invoices) -
                                                                               Document #603 - Filed 7/16/14.

       08/01/14     003018        TRANSETH & ASSOCIATES, LLC                   Forensic Accounting Services -                         3991-000                                            9,990.00       562,474.89
                                  818 SW 3rd AVENUE, #109                      80% of June 2014 Invoice
                                  PORTLAND OR 97204                            Order Approving Payment of Norman Transeth &
                                                                               Associates, LLC Fees and Expenses - Document
                                                                               #556 - Filed 4/21/14.
                                                                               Per Trustee's Notice of Intent to Pay Forensic
                                                                               Accountant (May & June 2014 Invoices) -
                                                                               Document #603 - Filed 7/16/14.

       08/07/14       17          Gresham Chr, LLC                             pmt on note                                            1121-000                    7,691.00                               570,165.89
                                                                               Agreed Payments on Promissory Note - Asset #18.
                                                                               Entity controlled by Paul Redhead.

       08/12/14     003019        OREGON DEPARTMENT OF REVENUE                 2012 State Income Tax -                                2820-000                                              44.06        570,121.83
                                  PO BOx 14725                                 Berjac of Oregon 1464389-8 (penalty and unpaid
                                  SALEM, OR 97309-5018                         taxes}
                                                                               Per Motion and Notice of Intent to Incur Expenses;
                                                                               and Order Thereon - Document #1671 - Filed
                                                                               10/17/18.
                                                                               Total amount of approved expense was $250.29


       UST Form 101-7-TFR (5/1/2011) (Page: 25)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                   Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                   FORM 2                                                                                         Page:    11
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                               4                                                    5                      6                7
    Transaction    Check or                                                                                                             Uniform                                                   Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)       Disbursements ($)      Balance ($)
                                                                                 which included 2013 State Income Taxes of $150
                                                                                 (Check #3023) and penalties of $44.06 (Check
                                                                                 #3019); $46.21 (Check #3020) and $10.02 (Check
                                                                                 #3032).

       08/13/14     003020        OREGON DEPARTMENT OF REVENUE                   2012 State Income Tax -                                2820-000                                          46.21       570,075.62
                                  PO BOx 14725                                   Berjac of Oregon 1464036-5 190 12 48 1
                                  SALEM, OR 97309-5018                           late filing penalty and interest
                                                                                 Per Motion and Notice of Intent to Incur Expenses;
                                                                                 and Order Thereon - Document #1671 - Filed
                                                                                 10/17/18.
                                                                                 Total amount of approved expense was $250.29
                                                                                 which included 2013 State Income Taxes of $150
                                                                                 (Check #3023) and penalties of $44.06 (Check
                                                                                 #3019); $46.21 (Check #3020) and $10.02 (Check
                                                                                 #3032).

       08/21/14       10          Berjac of Oregon                               Transfer of bank funds                                 1130-000               25,000.00                              595,075.62
                                  PO Box 40266                                   Transfer of Premium Finance receivables income
                                  Eugene, OR 97404                               accumulated as result of wind-up and termination of
                                                                                 Premium Finance business
                                                                                 Per Notice of Intent to Terminate Operation of
                                                                                 Insurance Premium Finance Business - Document
                                                                                 #637 - Filed 8/20/14. See Also Order Approving
                                                                                 Business Termination - Document 679 - Filed
                                                                                 9/18/14.

       08/25/14                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                         800.73       594,274.89

       08/29/14       14          Jasper Junction, LLC                           pmt on note                                            1121-000                   888.16                             595,163.05
                                                                                 Per Notice of Intent to Settle & Compromise -


       UST Form 101-7-TFR (5/1/2011) (Page: 26)
LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page:    12
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                               Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                            Bank Name:                         Union Bank
                                                                                                                                Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                   Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                Separate Bond (if applicable):


           1           2                               3                                               4                                                    5                        6               7
    Transaction    Check or                                                                                                           Uniform                                                    Account / CD
       Date        Reference                 Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)     Balance ($)
                                                                               Document #514 - Filed 2/24/14.

       08/29/14       16          Max B. Jordan                                pmt on note                                            1121-000                   1,168.48                            596,331.53
                                                                               Per Notice of Intent to Settle & Compromise -
                                                                               Document #514 - Filed 2/24/14.

       08/29/14       16          M & M Oregon Properties LLC                  pmt on note                                            1121-000                   1,778.68                            598,110.21
                                                                               Per Notice of Intent to Settle & Compromise -
                                                                               Document #514 - Filed 2/24/14.

       08/29/14     003021        KENT & JOHNSON, LLP                          Attorney to Trustee Fees-other Firm                    3210-000                                       35,000.00       563,110.21
                                  1500 SW TAYLOR STREET                        Retainer for Trustee's Special Counsel.
                                  PORTLAND, OR 97205                           Per Supplemental Order Authorizing Trustee to
                                                                               Employ Christopher Kent & Kent & Johnson LLP as
                                                                               Special Counsel - Document #611 - Filed 7/31/14.

       09/04/14     003022        TRANSETH & ASSOCIATES, LLC                   Forensic Accounting Services -                         3991-000                                       10,686.80       552,423.41
                                  818 SW 3rd AVENUE, #109                      July 2014 - Invoice #1239
                                  PORTLAND OR 97204                            80% of $13,358.50. = $10,686.80.
                                                                               Order Approving Payment of Norman Transeth &
                                                                               Associates, LLC Fees and Expenses - Document
                                                                               #556 - Filed 4/21/14.
                                                                               Per Trustee's Notice of Intent to Pay Forensic
                                                                               Accountant (July 2014 Invoice) - Document #636 -
                                                                               Filed 8/19/14.

       09/05/14       10          BERJAC OF OREGON                             Transfer of bank funds                                 1130-000               20,000.00                               572,423.41
                                                                               Transfer of Premium Finance receivables income
                                                                               accumulated as result of wind-up and termination of
                                                                               Premium Finance business
                                                                               Per Notice of Intent to Terminate Operation of


       UST Form 101-7-TFR (5/1/2011) (Page: 27)
LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                   Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                               FORM 2                                                                                            Page:    13
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                         Union Bank
                                                                                                                               Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                             3                                               4                                                     5                        6                7
    Transaction    Check or                                                                                                         Uniform                                                      Account / CD
       Date        Reference               Paid To / Received From                       Description Of Transaction                Trans. Code        Deposits ($)         Disbursements ($)      Balance ($)
                                                                             Insurance Premium Finance Business - Document
                                                                             #637 - Filed 8/20/14. See Also Order Approving
                                                                             Business Termination - Document 679 - Filed
                                                                             9/18/14.

       09/10/14     003023        THE OREGON DEPARTMENT OF REVENUE           2013 OR Partnership Return of                          2810-000                                            150.00       572,273.41
                                  FIDUCIARY UNIT                             Income
                                  REVENUE BUILDING                           Berjac of Oregon FEIN XX-XXXXXXX
                                  955 CENTER STREET, NE                      Per Motion and Notice of Intent to Incur Expenses;
                                  SALEM, OR 97310                            and Order Thereon - Document #1671 - Filed
                                                                             10/17/18.
                                                                             Total amount of approved expense was $250.29
                                                                             which included 2013 State Income Taxes of $150
                                                                             (Check #3023) and penalties of $44.06 (Check
                                                                             #3019); $46.21 (Check #3020) and $10.02 (Check
                                                                             #3032).

       09/12/14       10          BERJAC OF OREGON                           Transfer of bank funds                                 1130-000                20,000.00                                592,273.41
                                                                             Transfer of Premium Finance receivables income
                                                                             accumulated as result of wind-up and termination of
                                                                             Premium Finance business
                                                                             Per Notice of Intent to Terminate Operation of
                                                                             Insurance Premium Finance Business - Document
                                                                             #637 - Filed 8/20/14. See Also Order Approving
                                                                             Business Termination - Document 679 - Filed
                                                                             9/18/14.

       09/12/14       17          GRESHAM CHR, LLC                           pmt on note                                            1121-000                    7,691.00                             599,964.41
                                                                             Agreed Payments on Promissory Note - Asset #18.
                                                                             Entity controlled by Paul Redhead.




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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                 Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                            Page:    14
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                3                                               4                                                    5                      6                  7
    Transaction    Check or                                                                                                            Uniform                                                     Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
       09/12/14     003024        DAVID K. REKDAHL, CPA, PC                     Accountant to Trustee - Fees                           3410-000                                         1,123.00       598,841.41
                                  1288 WINERY LANE                              Per Order for Compensation of Accountant -
                                  EUGENE, OR 97404                              Document #673 - Filed 9/11/14.

       09/12/14     003025        DAVID K. REKDAHL, CPA, PC                     Accountant to Trustee - Expenses                       3420-000                                           19.60        598,821.81
                                  1288 WINERY LANE                              $1123.00 Fees + $19.60 Expenses = $1142.60
                                  EUGENE, OR 97404                              Per Order for Compensation of Accountant -
                                                                                Document #673 - Filed 9/11/14.

       09/17/14       10          Berjac of Oregon                              Transfer of bank funds                                 1130-000               25,000.00                                623,821.81
                                                                                Transfer of Premium Finance receivables income
                                                                                accumulated as result of wind-up and termination of
                                                                                Premium Finance business
                                                                                Per Notice of Intent to Terminate Operation of
                                                                                Insurance Premium Finance Business - Document
                                                                                #637 - Filed 8/20/14. See Also Order Approving
                                                                                Business Termination - Document 679 - Filed
                                                                                9/18/14.

       09/19/14       10          Smooth Systems Construction                   Premium Finance payment                                1121-000                   41.19                                623,863.00
                                  2978 NE Juniper Ave.                          Premium Finance insurance payment.
                                  Gresham, OR 97030-2947

       09/24/14       10          Berjac of Oregon                              Transfer of bank funds                                 1130-000               10,000.00                                633,863.00
                                                                                Transfer of Premium Finance receivables income
                                                                                accumulated as result of wind-up and termination of
                                                                                Premium Finance business
                                                                                Per Notice of Intent to Terminate Operation of
                                                                                Insurance Premium Finance Business - Document
                                                                                #637 - Filed 8/20/14. See Also Order Approving
                                                                                Business Termination - Document 679 - Filed


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                           Page:    15
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                 3                                               4                                                   5                      6                  7
    Transaction    Check or                                                                                                            Uniform                                                     Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction                Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                                                                 9/18/14.

       09/25/14                   Union Bank                                     BANK SERVICE FEE                                      2600-000                                          859.33        633,003.67

       09/29/14       10          Laurie A. Phillip                              Premium Finance payment                               1121-000                   57.50                                633,061.17
                                  104 Creek View Drive                           Payment was sent to Zolezzi Insurance Agency.
                                  Drain, OR 97435-9718                           Was forwarded to Trustee.

       09/29/14     003026        TARLOW NAITO & SUMMERS, LLP                    Attorney to Trustee Exp -other firm                   3220-000                                     15,750.00          617,311.17
                                  150 SW HARRISON STREET, SUITE 200              Reimbursement for Adversary Complaint filing fees
                                  PORTLAND, OR 97201                             (45 complaints x $350/complaint).
                                                                                 Per Notice of Intent to Incur Expenses - Document
                                                                                 #672 - Filed 9/10/14.

       09/29/14     003027        TARLOW NAITO & SUMMERS, LLP                    Attorney to Trustee Exp -other firm                   3220-000                                          804.00        616,507.17
                                  150 SW HARRISON STREET, SUITE 200              Reimbursement for Lane County Circuit Court filing
                                  PORTLAND, OR 97201                             fee (Huntsberger v. HFLP et. al.)
                                                                                 Per Notice of Intent to Incur Expenses - Document
                                                                                 #672 - Filed 9/10/14.

       09/29/14     003028        THOMAS A. HUNTSBERGER, TRUSTEE                 Trustee Expenses                                      2200-000                                         1,895.87       614,611.30
                                  870 W. CENTENNIAL BLVD                         Reimbursement of reasonable & necessary Ch 7
                                  SPRINGFIELD, OR 97477                          expenses for:
                                                                                 Photocopies - $592.50;
                                                                                 Postage - $59.13;
                                                                                 Mileage for HFLP mediation and meetings with
                                                                                 PDX counsel - $473.56;
                                                                                 Hotel costs for HFLP mediation and meetings -
                                                                                 $770.68.
                                                                                 Per Notice of Intent to Incur Expenses - Document
                                                                                 #672 - Filed 9/10/14.


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                              Page:    16
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                         Union Bank
                                                                                                                                    Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1           2                                3                                                4                                                      5                        6                7
    Transaction    Check or                                                                                                             Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)      Balance ($)


       09/29/14     003029        KENT & JOHNSON, LLP                           Attorney to Trustee Exp-other firm                       3220-000                                            366.60       614,244.70
                                  1500 SW TAYLOR STREET                         Special Counsel to Trustee - Expense
                                  PORTLAND, OR 97205                            Reimbursement.
                                                                                Expense reimbursement for complaint fee and
                                                                                research was done by seperate Notice of Intent to
                                                                                Pay Expenses - Document #672 - Filed 9/10/14.

       10/01/14       16          Pacific Coastal Finance                       pmt on note                                              1121-000                    1,168.48                             615,413.18
                                  & Real Estate Services                        Per Notice of Intent to Settle & Compromise -
                                  85831 Parklane Circle                         Document #514 - Filed 2/24/14.
                                  Pleasant Hill, OR 97455

       10/01/14       16          M & M Oregon Properties LLC                   pmt on note                                              1121-000                    2,221.11                             617,634.29
                                                                                Per Notice of Intent to Settle & Compromise -
                                                                                Document #514 - Filed 2/24/14.

       10/01/14       10          Outhouse LLC                                  Premium Finance payment                                  1121-000                     964.88                              618,599.17
                                  DBA Circa 33
                                  3348 SE Belmont St.
                                  Portland, OR 97214-4245

       10/01/14       10          Berjac of Oregon                              Transfer of bank funds                                   1130-000                25,000.00                                643,599.17
                                                                                Transfer of Premium Finance receivables income
                                                                                accumulated as result of wind-up and termination of
                                                                                Premium Finance business
                                                                                Per Notice of Intent to Terminate Operation of
                                                                                Insurance Premium Finance Business - Document
                                                                                #637 - Filed 8/20/14. See Also Order Approving
                                                                                Business Termination - Document 679 - Filed
                                                                                9/18/14.


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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                         Page:    17
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                 3                                               4                                                     5                      6              7
    Transaction    Check or                                                                                                            Uniform                                                   Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                Trans. Code         Deposits ($)       Disbursements ($)    Balance ($)


       10/01/14       15          Cascade Escrow                                pmt on note                                             1121-000               208,657.60                            852,256.77
                                  Escrow Trust Account                          Per Notice of Intent to Sell Property - Document
                                  811 Willamette St.                            #667 - Filed 9/2/14.
                                  Eugene, OR 97401                              Trust Deed Lien against property at 4202 Heins
                                                                                Court, Eugene, OR.

       10/02/14       10          Dirty Bird Inc                                Premium Finance payment                                 1121-000                    132.01                           852,388.78
                                  PO Box 1052                                   Premium Finance insurance payment.
                                  St Helens, OR 97051

       10/02/14       10          TMM, Inc.                                     Premium Finance payment                                 1121-000                    445.60                           852,834.38
                                  45th Street Pub & Grill                       Premium Finance insurance payment.
                                  6312 SW Capitol Highway #140
                                  Portland, OR 97239                            10/17/14 - Danielle Osborn of Don Brown
                                                                                Associates called with concerns that Client -TMM -
                                                                                received a notice of cancellation. Confirmed with
                                                                                her and Norm that payment had been received.
                                                                                Danielle asked if a Reinstatement notice would be
                                                                                sent. Referred her to Norm.

       10/02/14       10          Devine Hospitality Inc.                       Premium Finance payment                                 1121-000                    672.77                           853,507.15
                                  Hawthorne Strip                               Premium Finance insurance payment.
                                  C/O Ralph L. Tidwell, PO Box 87
                                  Gladstone, OR 97027

       10/02/14       10          Magoo's Bar & Grill                           Premium Finance payment                                 1121-000                    595.03                           854,102.18
                                  Ralph Tidwell                                 Premium Finance insurance payment.
                                  PO Box 87
                                  Gladstone, OR 97027




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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                FORM 2                                                                                             Page:    18
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                   Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                  3                                            4                                                       5                        6              7
    Transaction    Check or                                                                                                            Uniform                                                     Account / CD
       Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)    Balance ($)
       10/02/14       10          McQueen's Inc.                               Premium Finance payment                                  1121-000                     759.45                            854,861.63
                                  McQueen's Bar & Grill                        Premium Finance insurance payment.
                                  PO Box 87
                                  Gladstone, OR 97027

       10/06/14       10          XL EXCAVATION                                Premium finance payment                                  1121-000                     274.92                            855,136.55
                                  85296 LORANE HWY                             Received with payment coupon: Account
                                  EUGENE OR 97405                              #BOO-8565

       10/06/14       10          SWEET BYE N BYE INC.                         Premium finance payment                                  1121-000                     871.39                            856,007.94
                                  PO BOX 12248                                 Account # BOO-8292
                                  SALEM OR 97309-0248

       10/06/14       10          JOHN AND BARBARA LEFORE                      Premium finance payment                                  1121-000                     177.71                            856,185.65
                                  PO BOX 1247                                  Premium payment: Account No. BOO-8607
                                  TURNER, OR 97392-1247

       10/06/14       10          GOOSE LAKE AERIE #2183 F.O.E.                Premium finance payment                                  1121-000                    1,251.07                           857,436.72
                                  GENERAL ACCOUNT                              Payment #5, 6 re. Account #BOP-33803
                                  27 SOUTH E STREET
                                  LAKEVIEW, OR 97630

       10/06/14       10          R. J. KRUMDIECK CONSTRUCTION, INC.           Premium finance payment                                  1121-000                     351.08                            857,787.80
                                  PO BOX 835                                   Payment #4, Account #BOO-8391
                                  PLEASANT HILL, OR 97455-0835

       10/06/14       10          LONI J. MURPHY                               Premium finance payment                                  1121-000                     100.78                            857,888.58
                                  520 STATESMAN ST NE                          Receipt log figure was $100.28 - actual check was
                                  SALEM, OR 97301-2641                         for $100.78.
                                                                               Account #BOO-8425




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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                   Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                         Page:    19
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                         Union Bank
                                                                                                                              Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                               3                                              4                                                   5                        6              7
    Transaction    Check or                                                                                                       Uniform                                                     Account / CD
       Date        Reference               Paid To / Received From                       Description Of Transaction              Trans. Code         Deposits ($)         Disbursements ($)    Balance ($)
       10/06/14       10          VAUGHN LAND & CATTLE                       Premium finance payment                               1121-000                     219.41                            858,107.99
                                  RICHARD VAUGHN                             Receipt log entry is $218.41 - actual check is
                                  93342 PIKE LANE                            $219.41.
                                  LAKEVIEW, OR 97630                         Payment #6, Account # BOO-8300

       10/06/14       10          SALEM AUTO SERVICE, INC.                   Preminum finance payment                              1121-000                     249.29                            858,357.28
                                  PO BOX 9194                                Payment #4, Account # BOO-8417
                                  BROOKS, OR 97305

       10/08/14       10          MCKENZIE PUB, LLC                          Premium finance payment                               1121-000                    1,113.93                           859,471.21
                                  16450 SW LANGER DR                         Payment #7, Account No. BPO-33530
                                  SHERWOOD, OR 97140

       10/08/14       10          ELLIS D. PHILLIPS                          Premium finance payment                               1121-000                     100.19                            859,571.40
                                  MARY L. PHILLIPS                           Payment #4, Account No. BOO-8540
                                  18516 ANDY HILL RD
                                  LAKEVIEW, OR 97360

       10/09/14       10          PATTI'S DELI                               Premium finance payment                               1121-000                     215.87                            859,787.27
                                  OPERATIONS ACCOUNT                         Payment #7, Account # BOP-33662
                                  2253 NE BURNSIDE ROAD                      Gresham Main Street Deli, LLC
                                  GRESHAM, OR 97080

       10/09/14       10          PACIFIC ROOFING SERVICE INC.               Premium finance payment                               1121-000                     351.97                            860,139.24
                                  PO BOX 1660                                Payment #7, Account # BOO-8334
                                  COTTAGE GROVE, OR 97424-0067

       10/10/14       10          JOHN LEFORE                                Premium finance payment                               1121-000                     172.71                            860,311.95
                                  BARBARA LEFORE                             Payment #3, Account # BOO-8607
                                  PO BOX 1247
                                  TURNER, OR 97392


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LFORM2T4                                                                                                                                                                                              Ver: 22.01b
                                                                 Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                             FORM 2                                                                                         Page:    20
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                          Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                       Bank Name:                         Union Bank
                                                                                                                           Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                              Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                           Separate Bond (if applicable):


           1           2                             3                                              4                                                  5                        6               7
    Transaction    Check or                                                                                                    Uniform                                                      Account / CD
       Date        Reference               Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)          Disbursements ($)    Balance ($)


       10/10/14       10          UNION JACK CORP                            Premium finance payment                            1121-000                    1,833.87                            862,145.82
                                  dba UNION JACKS CLUB                       Memo indicates: 13490
                                  938 E BURNSIDE ST
                                  PORTLAND, OR 97214

       10/10/14       10          S & V GARCIA INVESTMENTS LLC               Premium finance payment                            1121-000                      95.10                             862,240.92
                                  8135 RIVER ROAD, N                         Payment #4, Account # BOO-8490
                                  KEIZER, OR 97303

       10/10/14       27          BERJAC OF OREGON                           Reimbursement of PO Box, Portland                  1290-000                         6.00                           862,246.92
                                  PO BOX 2769
                                  CLACKAMAS, OR 97015

       10/13/14       10          R J KRUMDIECK CONSTRUCTION, INC            Premium finance payment                            1121-000                     351.08                             862,598.00
                                  PO BOX 835                                 Payment #5, Account # BOO-8391
                                  PLEASANT HILL, OR 97455

       10/13/14       10          HMK CORPORATION                            Premium finance payment                            1121-000                    1,680.59                            864,278.59
                                  DBA: HERB'S LA CASTA                       Payment #9, Account #BOP 33399
                                  515 ROGUE RIVER HIGHWAY
                                  GRANTS PASS, OR 07527

       10/13/14       10          GREEN HAVEN R.V. PARK L.L.C.               Payment financial premium                          1121-000                      99.26                             864,377.85
                                  200 CHURCH STREET                          Payment #4, Account # BOO-8466
                                  FALLS CITY, OR 97344

       10/14/14       10          SUNNYSIDE DAYCARE AND LEARNING CTR,        Premium finance payment                            1121-000                     140.58                             864,518.43
                                  LLC                                        Pmt. #7, Acct # BOO-8284
                                  KENNETH E. NEAL AND WILLIAM H. WOOD
                                  26651 WONDERLY ROAD


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LFORM2T4                                                                                                                                                                                            Ver: 22.01b
                                                                 Case 12-63884-tmr7            Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                       Page:    21
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                              3                                               4                                                    5                      6              7
    Transaction    Check or                                                                                                        Uniform                                                   Account / CD
       Date        Reference                Paid To / Received From                       Description Of Transaction              Trans. Code         Deposits ($)       Disbursements ($)    Balance ($)
                                  RAINIER, OR 97048

       10/14/14       10          C.H. TOY, JR.                               Premium finance payment                               1121-000                     32.88                           864,551.31
                                  ELVA JUNE TOY                               Payment # 8, Account # BOO-8227
                                  592 ALDER STREET
                                  PO BOX 144
                                  YONCALLA, OR 97499

       10/15/14       24          RONALD R. STICKA, TRUSTEE                   Pmt on Mike Holcomb Estate Claim                      1249-000               150,095.04                           1,014,646.35
                                  401 EAST 10TH AVENUE, SUITE 470             Interim Payment from Trustee Ronald Sticka on
                                  EUGENE, OR 97401                            Chapter 7 Bankruptcy Estate of Michael S.
                                                                              Holcomb - Case No. 13-36272-dwh7 - regarding
                                                                              Berjac of Oregon Claim.

       10/15/14       10          NICHOLAS LUSK                               Premium finance payment                               1121-000                     95.67                          1,014,742.02
                                  C/O ZOLEZZI INSURANCE AGENCY                Acct # BOO-8144, Nicholas Lusk, POB 962
                                  POB 6                                       Yoncalla, OR 97499, includes late fee of $3.32
                                  DRAIN, OR 97435

       10/15/14       10          GERI INC DBA HUBBARD INN                    Premium finance payment                               1121-000                    164.48                          1,014,906.50
                                  PO BOX 433                                  Account # BOP-33837
                                  HUBBARD, OR 97032-0433

       10/15/14       10          GERI INC DBA HUBBARD INN                    Premium finance payment                               1121-000                    131.66                          1,015,038.16
                                  PO BOX 433                                  Account # BOP-33845
                                  HUBBARD, OR 97032-0433

       10/15/14       10          SMOOTH SYSTEMS CONST. INC.                  Premium finance payment                               1121-000                     48.00                          1,015,086.16
                                  20145 NE SANDY BLVD #128                    Received check from Don Brown, Agency,
                                  FAIRVIEW OR 97024                           Account No. SMOOT-1
                                                                              Policy No. 61965945


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LFORM2T4                                                                                                                                                                                             Ver: 22.01b
                                                                  Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                         Page:    22
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                         Union Bank
                                                                                                                               Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                              3                                               4                                                    5                        6              7
    Transaction    Check or                                                                                                         Uniform                                                    Account / CD
       Date        Reference                Paid To / Received From                       Description Of Transaction               Trans. Code        Deposits ($)         Disbursements ($)    Balance ($)
                                                                              Company - Western Surety

       10/16/14       10          NORTHWEST AUTO SALES LLC                    Premium finance payment                               1121-000                     220.86                           1,015,307.02
                                  PO BOX 21444                                "General Liability" noted on check. (Possible Acct
                                  KEIZER, OR 97307                            # BOO-8326 - not listed on check).

       10/16/14       10          MARILYN DUNCAN                              Premium finance payment                               1121-000                     300.00                           1,015,607.02
                                  PO BOX 126                                  Account No. BOO 8276
                                  DRAIN, OR 97435-0126

       10/16/14       10          KON TIKI LTD, INC. dba SILVERADO            Premium finance payment                               1121-000                    3,192.00                          1,018,799.02
                                  318 SW 3RD AVENUE                           Payment #10, Account # BOP-33365
                                  PORTLAND, OR 97204
                                                                              1/20/15 - compensation reduced by $9,576.00 -
                                                                              refund of interest on canceled preimum payment per
                                                                              Notice (Doc. 757).

       10/17/14       10          JYMME L MARTIN DBA ADEL STORE LLC           Premium finance payment                               1121-000                     269.88                           1,019,068.90
                                  PO BOX 45                                   Payment #8, Account #BOO-8193
                                  ADEL, OR 97620-0045

       10/17/14       10          NORTHWEST WOODWORKS                         Premium finance payment                               1121-000                      63.20                           1,019,132.10
                                  DONALD R. HALL AND LESLIE S. HALE           Payment #4, Account # BOO-8458
                                  3480 IBIS CT NE
                                  SALEM,OR 97305

       10/17/14       10          MAGIC INN                                   Premium finance payment                               1121-000                    1,201.50                          1,020,333.60
                                  C/O HULL & COMPANY, INC.                    Account # BOP-33787
                                  TRUST ACCOUNT                               Policy CFP4601020
                                  6443 SW BEAVERTON-HILLSDALE HWY, #350
                                  PORTLAND, OR 97221                          Note: Accompanied with memo from Hull &


       UST Form 101-7-TFR (5/1/2011) (Page: 37)
LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                  Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                              FORM 2                                                                                           Page:    23
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                         Union Bank
                                                                                                                              Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                             3                                               4                                                    5                        6               7
    Transaction    Check or                                                                                                        Uniform                                                     Account / CD
       Date        Reference               Paid To / Received From                       Description Of Transaction               Trans. Code        Deposits ($)         Disbursements ($)     Balance ($)
                                                                             Company stating net amount being paid, represents
                                                                             all money available from referenced account and to
                                                                             send "unearned commission in the amount of
                                                                             $133.50 to the finance company."

       10/17/14       10          MAGIC INC                                  Preimum finance payment                               1121-000                    6,025.34                           1,026,358.94
                                  C/O HULL & COMPANY, INC.                   Account #BOP-33787
                                  TRUST ACCOUNT                              Policy GBL09073
                                  6443 SW BEAVERTON-HILLSDALE HWY, #350
                                  PORTLAND, OR 97221                         Note: Memo accompanying payment states check is
                                                                             the "net" amount, all money available from the
                                                                             referenced account, and to please send "unearned
                                                                             commission in the amount of $652.80 to the finance
                                                                             company."

       10/20/14     003030        TRANSETH & ASSOCIATES, LLC                 Forensic Accounting Services -                        3991-000                                        14,945.20      1,011,413.74
                                  818 SW 3rd AVENUE, #109                    August 2014 Invoice #1244
                                  PORTLAND OR 97204                          80% of $18,681.50 = $14,945.20.
                                                                             Order Approving Payment of Norman Transeth &
                                                                             Associates, LLC Fees and Expenses - Document
                                                                             #556 - Filed 4/21/14.
                                                                             Per Trustee's Notice of Intent to Pay Forensic
                                                                             Accountant (August 2014 Invoice) - Document
                                                                             #686 - Filed 9/25/14.

       10/20/14     003031        TRANSETH & ASSOCIATES, LLC                 Forensic Accounting Services -                        3991-000                                        14,482.80       996,930.94
                                  818 SW 3rd AVENUE, #109                    80% of September 2014 Invoice
                                  PORTLAND OR 97204                          Per Order Approving Payment of Norman Transeth
                                                                             & Associates, LLC Fees and Expenses - Document
                                                                             #556 - Filed 4/21/14.
                                                                             Per Trustee's Notice of Intent to Pay Forensic


       UST Form 101-7-TFR (5/1/2011) (Page: 38)
LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                 Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                   FORM 2                                                                                         Page:    24
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                     3                                            4                                                   5                        6              7
    Transaction    Check or                                                                                                           Uniform                                                     Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction              Trans. Code         Deposits ($)         Disbursements ($)    Balance ($)
                                                                                 Accountant (September 2014 Invoice) - Document
                                                                                 #689 - Filed 10/2/14.

       10/21/14       10          MG LLC                                         Premium Finance payment                               1121-000                     600.68                            997,531.62
                                  The Spare Room                                 Premium Finance Payment sent to Berjac of
                                  4830 NE 42nd                                   Portland.
                                  Portland, OR 97218

       10/21/14       10          Lucky Devil, LLC                               Premium Finance payment                               1121-000                     643.66                            998,175.28
                                  DBA Lucky Devil Lounge                         Premium Finance Payment sent to Berjac of
                                  633 SE Powell Blvd.                            Portland.
                                  Portland, OR 97202-2622

       10/21/14       10          Little Devil, LLC                              Premium Finance payment                               1121-000                     947.41                            999,122.69
                                  Devils Point Bar & Grill                       Premium Finance Payment sent to Berjac of
                                  5305 SE Foster Road                            Portland.
                                  Portland, OR 97206

       10/21/14       10          NW Estreme Installers, Inc.                    Premium Finance payment                               1121-000                    1,445.31                          1,000,568.00
                                  21459 S. Jubb Rd.                              Premium Finance Payment sent to Berjac of
                                  Estacada, OR 97023                             Portland. FINAL PAYMENT for October,
                                                                                 November and December 2014. Payment for each
                                                                                 month is $481.77.

       10/21/14       10          A&A Auto Sales                                 Premium Finance payment                               1121-000                     135.07                           1,000,703.07
                                  8880 Portland Rd., NE                          Premium Finance Payment sent to Berjac of Oregon.
                                  Salem, OR 97305                                Check was written by Parham Insurance Agency Inc
                                                                                 - General Premium Trust Account - PO Box 21390 -
                                                                                 Keizer, OR 97307-1390.

       10/22/14       21          Janis J. Rosenlof                              Return of Preferential Transfer                       1241-000                    5,000.00                          1,005,703.07


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LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page:    25
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                 3                                              4                                                    5                        6              7
    Transaction    Check or                                                                                                            Uniform                                                   Account / CD
       Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)         Disbursements ($)    Balance ($)
                                  3020 Winkel Way                              Settlement per Motion and Notice of Intent to Settle
                                  West Linn, OR 97068-2165                     and Compromise Adversary Proceeding - Adv Pro
                                                                               Case No.14-06129. - Docket #5 - Filed 9/19/14.
                                                                               See Also Motion and Notice of Intent to Settle and
                                                                               Compromise Adversary Proceeding - Main case -
                                                                               Document #681 - Filed 9/19/14.

       10/22/14       17          GRESHAM CHR, LLC                             pmt on note                                             1121-000                   1,330.81                          1,007,033.88
                                  PO Box 1483                                  Agreed Payments on Promissory Note - Asset #18.
                                  Eugene, OR 97440                             Entity controlled by Paul Redhead. FINAL
                                                                               PAYMENT - Asset value adjusted accordingly.

       10/22/14       10          Resys, Inc.                                  Premium Finance payment sent to Berjac of Oregon.       1121-000                   1,172.66                          1,008,206.54
                                  4560 Ridge Drive NE
                                  Salem, OR 97301

       10/22/14       10          AW State Street, LLC                         Premium Finance payment sent to Berjac of Oregon.       1121-000                    222.08                           1,008,428.62
                                  680 Park Meadow NE                           Check received from Gall Real Estate Services LLC
                                  Keizer, OR 97303                             - PO Box 748 - Salem, OR 97308.

       10/22/14       10          Custom Concepts Construction                 Premium Finance payment sent to Berjac of Oregon.       1121-000                     79.16                           1,008,507.78
                                  PO Box 2318
                                  Oregon City, OR 97045-0202

       10/22/14       10          Jose Melo                                    Premium Finance payment sent to Berjac of Oregon.       1121-000                    152.81                           1,008,660.59
                                  3760 Market St. NE #312
                                  Salem, OR 97301-1826

       10/22/14       10          Darcelle XV LLC                              Premium Finance payment sent to Berjac of               1121-000                    577.25                           1,009,237.84
                                  208 NW 3rd Ave.                              Portland.
                                  Portland, OR 97209-3911


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                   Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                        Page:    26
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                     3                                          4                                                    5                      6               7
    Transaction    Check or                                                                                                           Uniform                                                   Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction               Trans. Code        Deposits ($)       Disbursements ($)     Balance ($)


       10/22/14     003032        OREGON DEPARTMENT OF REVENUE                  Berjac of Oregon                                      2820-000                                          10.02      1,009,227.82
                                  PO Box 14725                                  Ref # 1464389-8 190 13 12 1
                                  SALEM, OR 97309-5018                          2013 Partnership Minimum Tax
                                                                                Per Motion and Notice of Intent to Incur Expenses;
                                                                                and Order Thereon - Document #1671 - Filed
                                                                                10/17/18.
                                                                                Total amount of approved expense was $250.29
                                                                                which included 2013 State Income Taxes of $150
                                                                                (Check #3023) and penalties of $44.06 (Check
                                                                                #3019); $46.21 (Check #3020) and $10.02 (Check
                                                                                #3032).

       10/27/14       10          Lupe Mendoza-Owens                            Premium Finance payment sent to Norm Transeth.        1121-000                    260.00                           1,009,487.82
                                  Phillip J. Owens
                                  1334 Andersen Lane
                                  Eugene, OR 97404-2856

       10/27/14       10          Robert Jones                                  Premium Finance payment sent to Norm Transeth.        1121-000                    368.22                           1,009,856.04
                                  PO Box 1533
                                  Clatskanie, OR 97016

       10/27/14       10          Lisa Long                                     Premium Finance payment                               1121-000                     53.83                           1,009,909.87
                                  PO Box 1308                                   Check is Money Order from Tri-City Insurance, Inc.
                                  Clatskanie, OR 97016                          Premium Finance payment sent to Berjac of Oregon.

       10/27/14       10          Sheldon Virgin dba:                           Premium Finance payment                               1121-000                     50.15                           1,009,960.02
                                  Cherry City Pest Control
                                  5979 14th St. NE
                                  Keizer, OR 97303




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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                            Page:    27
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                     3                                          4                                                     5                        6                7
    Transaction    Check or                                                                                                           Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction               Trans. Code         Deposits ($)         Disbursements ($)      Balance ($)
       10/27/14       10          Johnny C. Wood                                 Premium Finance payment sent to Berjac of Oregon.     1121-000                      35.45                             1,009,995.47
                                  DBA Webfoot Outfitters
                                  PO Box 766
                                  Brookings, OR 97415

       10/27/14       10          Richard Vaughn                                 Premium Finance payment sent to Berjac of Oregon.     1121-000                     214.41                             1,010,209.88
                                  DBA Vaughn Land and Cattle
                                  93342 Pike Ln
                                  Lakeview, OR 97630

       10/27/14       10          North Valley Medical Staffing, Inc.            Premium Finance payment sent to Berjac of Oregon.     1121-000                     498.20                             1,010,708.08
                                  4776 Whitman Circle N.E.
                                  Salem, OR 97305

       10/27/14       10          Hull & Company, Inc.                           Premium Finance payment sent to Berjac of Oregon.     1121-000                20,158.32                               1,030,866.40
                                  Behalf of Parham Insurance Agency, Inc.
                                  Insured: Sunset Stucco & Exteriors LLC

       10/27/14       10          Hull & Company, Inc.                           Premium Finance payment sent to Berjac of Oregon.     1121-000                    7,016.40                            1,037,882.80
                                  Behalf of Parham Insurance Agency              Insured is Sunset Stucco & Exteriors, LLC.
                                  Insured: Sunset Stucco & Exteriors, LLC

       10/27/14                   Union Bank                                     BANK SERVICE FEE                                      2600-000                                            860.28      1,037,022.52

       10/29/14       10          P.T.J. Inc.                                    Premium Finance payment to Berjac of Portland.        1121-000                     940.73                             1,037,963.25
                                  Nicolai Street Clubhouse
                                  2460 NW 24th Ave.
                                  Portland, OR 97210-2130

       10/29/14       10          Oules & Lippincott, Inc.                       Premium Finance payment to Berjac of Portland.        1121-000                     516.56                             1,038,479.81
                                  Ringo's Tavern


       UST Form 101-7-TFR (5/1/2011) (Page: 42)
LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                        Case 12-63884-tmr7          Doc 1729             Filed 07/18/19
                                                                                                    FORM 2                                                                                         Page:    28
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                   Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                   3                                              4                                                    5                        6              7
    Transaction    Check or                                                                                                            Uniform                                                     Account / CD
       Date        Reference                  Paid To / Received From                         Description Of Transaction              Trans. Code         Deposits ($)         Disbursements ($)    Balance ($)
                                  12300 SW Broadway
                                  Beaverton, OR 97005

       10/29/14       10          P & G Automotive, Inc.                          Premium Finance payment to Berjac of Portland.        1121-000                    1,015.50                          1,039,495.31
                                  505 Club
                                  PO Box 1920
                                  Gresham, OR 97030

       10/29/14       10          Shamrock Motel                                  Premium Finance payment to Berjac of Oregon.          1121-000                     364.13                           1,039,859.44
                                  2484 Old Hwy 99S
                                  Roseburg, OR 97470

       10/30/14       10          Bend Pawn & Trading Co.                         Premium Finance payment                               1121-000                    1,576.00                          1,041,435.44
                                  61420 S. Hwy. 97                                Premium Finance insurance payment to Berjac of
                                  Bend, OR 97702-2104                             Oregon.

       10/30/14       10          Dirty Bird Inc.                                 Premium Finance payment                               1121-000                     132.01                           1,041,567.45
                                  PO Box 1052                                     Premium Finance insurance payment to Berjac of
                                  St. Helens, OR 97051                            Oregon.

       10/30/14       10          Overhaul Design Shop, LLC                       Premium Finance payment                               1121-000                     182.46                           1,041,749.91
                                  7006 NE Glisan St.                              Premium Finance insurance payment to Berjac of
                                  Portland, OR 97213                              Oregon.

       10/30/14       10          Affordable Auto Sales & Service                 Premium Finance payment                               1121-000                    1,811.74                          1,043,561.65
                                  Check from: Salem Auto Service, Inc.            Premium Finance insurance payment to Berjac of
                                  PO Box 9194                                     Oregon.
                                  Brooks, OR 97305

       10/31/14       15          Max B. Jordan                                   pmt on note                                           1121-000                    1,168.48                          1,044,730.13
                                                                                  Per Notice of Intent to Settle & Compromise -


       UST Form 101-7-TFR (5/1/2011) (Page: 43)
LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                         Case 12-63884-tmr7           Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                         Page:    29
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                                3                                              4                                                    5                        6              7
     Transaction    Check or                                                                                                           Uniform                                                   Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)    Balance ($)
                                                                                Document #514 - Filed 2/24/14.
                                                                                Oct 2014 payment on 4221 Heins Ct.

       10/31/14        15         M & M Oregon Properties LLC                   pmt on note                                            1121-000                   1,250.00                          1,045,980.13
                                                                                Per Notice of Intent to Settle & Compromise -
                                                                                Document #514 - Filed 2/24/14.
                                                                                Oct 2014 rent on 4214 Heins Ct.

       10/31/14        14         Jasper Junction, LLC                          pmt on note                                            1121-000                    148.16                           1,046,128.29
                                                                                Per Notice of Intent to Settle & Compromise -
                                                                                Document #514 - Filed 2/24/14.
                                                                                Oct. 2014 Funds for rent (expenses) 4164 Jasper Rd.

       10/31/14        10         Scandals Lounge & Restaurant, Inc.            Premium Finance payment                                1121-000                   1,435.34                          1,047,563.63
                                  1125 SW Stark St.                             Premium Finance insurance payment sent to Berjac
                                  Portland, OR 97205                            of Portland.

       10/31/14        10         TMM Inc                                       Premium Finance payment                                1121-000                    436.86                           1,048,000.49
                                  DBA 45th Street Pub & Grill                   Premium Finance insurance payment sent to Berjac
                                  6312 SW Capitol Hwy #401                      of Portland.
                                  Portland, OR 97239-1938

 *     11/03/14                   DAVINE HOSPITALITY INC.                       Premium Finance payment                                1121-003                    759.45                           1,048,759.94
                                  HAWTHORNE STRIP                               Pmt #6, Acct # BOP-33779
                                  C/O RALPH L. TIDWELL
                                  PO BOX 67
                                  GLADSTONE, OR 97027

 *     11/03/14                   DAVINE HOSPITALITY INC.                       Premium Finance payment                                1121-003                   -759.45                           1,048,000.49
                                  HAWTHORNE STRIP                               Wrong amount entered for check amount. Should be
                                  C/O RALPH L. TIDWELL                          $672.77.


        UST Form 101-7-TFR (5/1/2011) (Page: 44)
LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                       Case 12-63884-tmr7           Doc 1729             Filed 07/18/19
                                                                                              FORM 2                                                                                       Page:    30
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                             3                                               4                                                   5                      6              7
    Transaction    Check or                                                                                                        Uniform                                                 Account / CD
       Date        Reference               Paid To / Received From                      Description Of Transaction                Trans. Code       Deposits ($)       Disbursements ($)    Balance ($)
                                  PO BOX 67
                                  GLADSTONE, OR 97027

       11/03/14       10          SWEET BYE N BYE INC                        Premium Finance payment                               1121-000                   871.39                          1,048,871.88
                                  PO BOX 12248                               Acct # B00-8292
                                  SALEM, OR 97309-0248

       11/03/14       10          OUTHOUSE LLC                               Premium Finance payment                               1121-000                   964.88                          1,049,836.76
                                  DBA CIRCA 33                               Acct #BOP-31401
                                  3348 SE BELMONT STREET
                                  PORTLAND, OR 97214-4245

       11/03/14       10          EVERGUARD INSURANCE SERVICES, INC.         Premium Finance payment                               1121-000                   777.04                          1,050,613.80
                                  C/O CHUMS POKER CLUB                       BOP-33795, Chums Poker Club, (Note canceled)
                                  FISHERMAN'S CENTER BUILDING                1/20/15 - compensation reduced by $14.86 - refund
                                  1900 W. NICKERSON STREET, #300             of interest on canceled preimum payment per Notice
                                  SEATTLE, WA 98119                          (Doc. 757).

       11/03/14       10          PARHAM INSURANCE AGENCY, INC.              Premium Finance paymenti                              1121-000                   611.66                          1,051,225.46
                                  C/O LAST MILE DELIVERY, LLC                Acct # BOO-8052
                                  PO BOX 21390
                                  KEIZER, OR 97307-1390                      NOTE: Return of commission

       11/03/14       10          MCQUEEN'S INC.                             Premium Finance payment                               1121-000                   759.45                          1,051,984.91
                                  MCQUEEN'S BAR & GRILL                      Pmt #6, Acct #BOP-33779
                                  PO BOX 87
                                  GLADSTONE, OR 97027

       11/03/14       10          DAVINE HOSPITALITY INC                     Premium Finance payment                               1121-000                   672.77                          1,052,657.68
                                  DBA HAWTHORNE STRIP                        Pmt #8, Acct #BOP-33654
                                  1008 SE HAWTHORNE


       UST Form 101-7-TFR (5/1/2011) (Page: 45)
LFORM2T4                                                                                                                                                                                           Ver: 22.01b
                                                                 Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                             FORM 2                                                                                      Page:    31
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                        Exhibit B
  Case No:          12-63884 -TMR                                                                                          Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                       Bank Name:                       Union Bank
                                                                                                                           Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                              Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                           Separate Bond (if applicable):


           1           2                               3                                            4                                                  5                      6              7
    Transaction    Check or                                                                                                    Uniform                                                   Account / CD
       Date        Reference               Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)       Disbursements ($)    Balance ($)
                                  PORTLAND, OR 97213

       11/06/14       10          DEVILS POINT                               Premium Finance payment                            1121-000                    928.83                          1,053,586.51
                                  DBA LITTLE DEVIL LLC                       Pmt# 6, Acct# BOP-33746
                                  5305 SE FOSTER ROAD
                                  PORTLAND, OR 97206-2937

       11/06/14       10          R&M VENTURES                               Premium Finance payment                            1121-000                    505.02                          1,054,091.53
                                  DBA LT'S PUB                               Pmt #9, Acct# BOP 33472
                                  508 NE DIVISION STREET
                                  GRESHAM, OR 97030-3948

       11/06/14       10          WEST COAST ENTERTAINMENT LLC               Premium finance payment                            1121-000                    694.69                          1,054,786.22
                                  4523 NE 60TH AVENUE                        Account No. 33340
                                  PORTLAND, OR 97218-2607

       11/06/14       10          RIVERSIDE CORRAL INC                       Premium Finance payment                            1121-000                    620.03                          1,055,406.25
                                  RIVERSIDE CORRAL                           Pmt # 7, Acct # BPO-33548
                                  545 SE TACOMA
                                  PORTLAND, OR 97202

       11/06/14       10          BAY HAVEN INN                              Premium Finance payment                            1121-000                    509.44                          1,055,915.69
                                  LINDA P. LEWTON                            Pmt. 6 and 7, Acct # BOP-33761
                                  609 SW BAY BLVD
                                  NEWPORT, OR 97365

       11/07/14       10          PACIFIC ROOFING SERVICE INC                Premium finance payment                            1121-000                    351.97                          1,056,267.66
                                  PO BOX 1660                                Pmt #8, Acct # BOO-8334
                                  COTTAGE GROVE, OR 97424

       11/07/14       10          DALE AND MARY PHILLIPS                     Premium finance payment                            1121-000                    100.19                          1,056,367.85


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LFORM2T4                                                                                                                                                                                         Ver: 22.01b
                                                                 Case 12-63884-tmr7            Doc 1729              Filed 07/18/19
                                                                                             FORM 2                                                                                          Page:    32
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                         Union Bank
                                                                                                                             Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                             3                                              4                                                    5                        6              7
    Transaction    Check or                                                                                                      Uniform                                                     Account / CD
       Date        Reference               Paid To / Received From                      Description Of Transaction              Trans. Code         Deposits ($)         Disbursements ($)    Balance ($)
                                  18516 ANDY HILL ROAD                       Pmt #3, Acct# BOO-8540
                                  LAKEVIEW, OR 97630

       11/10/14       10          WIGWAM CORPORATION                         Premium Finance payment                              1121-000                     508.90                           1,056,876.75
                                  WILLIE OR KAREN HARRIS                     Pmt #5, Acct # BOP-33829
                                  52468 BIRD ROAD
                                  SCAPPOSE, OR 97056

       11/10/14       10          MG LCC                                     Premium Finance payment                              1121-000                     600.68                           1,057,477.43
                                  DBA THE SPARE ROOM RESTAURANT AND          Pmt# 9, Acct# BOP-33571
                                  LOUNGE
                                  4830 NE 42ND AVENUE
                                  PORTLAND, OR 97218

       11/10/14       10          UTILIZE, INC.                              Premium Finance payment                              1121-000                     456.23                           1,057,933.66
                                  TOMMY'S TOO                                Pmt #6, Acct # BOP-33753
                                  7320 SE LAKE ROAD
                                  MILWAUKIE, OR 97267

       11/10/14       10          SALEM AUTO SERVICE, INC.                   Premium finance payment                              1121-000                     254.29                           1,058,187.95
                                  PO BOX 9194                                Pmt #5, Acct# BOO-8417
                                  BROOKS, OR 97305

       11/10/14       10          SUMMIT BANK                                Premium finance payment                              1121-000                    1,035.00                          1,059,222.95
                                  96 EAST BROADWAY                           The Summit Bank account has been closed. This
                                  EUGENE, OR 97401                           payment is the balance of that account. The
                                                                             proceeds are contract receivables.

       11/10/14       10          JOHN LEFORE                                Premium Finance payment                              1121-000                     172.71                           1,059,395.66
                                  BARBARA LEFORE                             Pmt #4, Acct# BOO-8607
                                  PO BOX 1247


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LFORM2T4                                                                                                                                                                                             Ver: 22.01b
                                                                 Case 12-63884-tmr7            Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page:    33
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                3                                              4                                                     5                        6              7
    Transaction    Check or                                                                                                          Uniform                                                     Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction               Trans. Code         Deposits ($)         Disbursements ($)    Balance ($)
                                  TURNER, OR 97392-1247

       11/10/14       10          LUPE MENDOZA-OWENS                            Premium Finance payment                               1121-000                     254.10                           1,059,649.76
                                  PHILLIP J. OWENS                              Pmt #8, Acct# BOO-8243
                                  PHIL'S ROOTER SERVICE LLC
                                  1334 ANDERSEN LN
                                  EUGENE, OR 97404

       11/12/14       10          AAA General Construction                      Premium Finance payment                               1121-000                     231.16                           1,059,880.92
                                  From Parham Insurancy Agency, Inc.            Premium Finance Insurance payment to Berjac of
                                  PO Box 21390                                  Oregon.

       11/12/14       10          A & A Auto Sales                              Premium Finance payment                               1121-000                     135.07                           1,060,015.99
                                  From Parham Insurance Agency, Inc.            Premium Finance Insurance payment to Berjac of
                                  PO Box 21390                                  Oregon.
                                  Keizer, OR 97307-1390

       11/12/14       10          XL Excavation                                 Premium Finance payment                               1121-000                     274.92                           1,060,290.91
                                  85296 Loraine Hwy                             Premium Finance Insurance payment to Berjac of
                                  Eugene, OR 97405                              Oregon.

       11/12/14       10          C.H. Toy, Jr.                                 Premium Finance payment                               1121-000                      32.88                           1,060,323.79
                                  Elva June Toy                                 Premium Finance Insurance payment to Berjac of
                                  592 Alder St.                                 Oregon.
                                  Yoncalla, OR 97499

       11/12/14       10          Green Haven RV Park LLC                       Premium Finance payment                               1121-000                      99.26                           1,060,423.05
                                  200 Church St.                                Premium Finance Insurance payment to Berjac of
                                  Falls City, OR 97334-8904                     Oregon.

       11/12/14       10          Kon Tiki LTD, Inc.                            Premium Finance payment                               1121-000                    3,192.00                          1,063,615.05


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                       Case 12-63884-tmr7         Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                          Page:    34
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                               Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                            Bank Name:                         Union Bank
                                                                                                                                Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                   Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                Separate Bond (if applicable):


           1           2                                 3                                             4                                                    5                        6              7
    Transaction    Check or                                                                                                          Uniform                                                    Account / CD
       Date        Reference                 Paid To / Received From                      Description Of Transaction                Trans. Code        Deposits ($)         Disbursements ($)    Balance ($)
                                  DBA: Silverado                               Premium Finance Insurance payment to Berjac of
                                  318 SW 3rd Ave.                              Portland.
                                  Portland, OR 97204
                                                                               1/20/15 - compensation reduced by $9,576.00 -
                                                                               refund of interest on canceled preimum payment per
                                                                               Notice (Doc. 757).

       11/12/14       10          Patti's Deli                                 Premium Finance payment                               1121-000                     215.87                           1,063,830.92
                                  2253 NE Burnside Rd.                         Premium Finance Insurance payment to Berjac of
                                  Gresham, OR 97080                            Portland.

       11/13/14       10          The Spot Again, Inc.                         Premium Finance payment                               1121-000                     653.36                           1,064,484.28
                                  from FJD Sandquist LLC                       Premium Finance Insurance payment to Berjac of
                                  32588 S. Molalla Ave.                        Portland.
                                  Molalla, OR 97038-9402

       11/13/14       10          Dave Molony Logging                          Premium Finance payment                               1121-000                     545.00                           1,065,029.28
                                  from Liberty Mutual                          Premium Finance Insurance payment to Berjac of
                                  PO Box 1525                                  Portland.
                                  Dover, NH 03821

       11/13/14       10          McKenzie Pub LLC                             Premium Finance payment                               1121-000                    1,113.93                          1,066,143.21
                                  McKenzie Pub                                 Premium Finance Insurance payment to Berjac of
                                  16450 SW Langer Dr..                         Portland.
                                  Sherwood, OR 97140

       11/13/14       10          Lucky Devil Lounge, LLC                      Premium Finance payment                               1121-000                     643.66                           1,066,786.87
                                  Lucky Devil Lounge                           Premium Finance Insurance payment to Berjac of
                                  633 SE Powell Blvd.                          Portland.
                                  Portland, OR 97202




       UST Form 101-7-TFR (5/1/2011) (Page: 49)
LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                   Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                       Page:    35
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                 3                                              4                                                    5                      6              7
    Transaction    Check or                                                                                                            Uniform                                                 Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)       Disbursements ($)    Balance ($)
       11/13/14       10          Bay Haven Inn                                 Premium Finance payment                                1121-000                   252.20                          1,067,039.07
                                  Linda Patricia Teresa Lewton                  Premium Finance Insurance payment to Berjac of
                                  608 SW Bay Blvd.                              Portland.
                                  Newport, OR 97365

       11/13/14       10          S & V Garcia Investments LLC                  Premium Finance payment                                1121-000                    90.57                          1,067,129.64
                                  8135 River Rd. N.                             Premium Finance Insurance payment to Berjac of
                                  Keizer, OR 97303                              Oregon.

       11/14/14       15          Cascade Escrow                                pmt on note                                            1121-000              208,607.04                           1,275,736.68
                                  811 Willamette St.                            Notice of Intent to Sell Property - Document #691 -
                                  Eugene, OR 97401                              Filed 10/21/14, Trust Deed Lien against property at
                                                                                4203 Heins Court, Eugene, OR. Pursuant to Max
                                                                                Jordan Settlement - Document #514. - Filed
                                                                                2/24/14.

       11/17/14       10          Northwest Auto Sales LLC                      Premium Finance payment                                1121-000                   220.86                          1,275,957.54
                                  PO Box 21444                                  Premium Finance Insurance payment sent to Berjac
                                  Keizer, OR 97307                              of Oregon.

       11/17/14       10          Adel Store LLC                                Premium Finance payment                                1121-000                   275.28                          1,276,232.82
                                  JYmme L. Martin                               Premium Finance Insurance payment sent to Berjac
                                  PO Box 45                                     of Oregon.
                                  Adel, OR 97620-0045

       11/17/14       10          Sunnyside Daycare & Learning Center, LLC      Premium Finance payment                                1121-000                   140.58                          1,276,373.40
                                  26651 Wonderly Rd.                            Premium Finance Insurance payment sent to Berjac
                                  Rainier, OR 97048                             of Oregon.

       11/18/14                   First American Title Co. of Oregon            Proceeds from sale of real estate                                            208,761.57                           1,485,134.97
                                  775 NE Evans St.                              McMinnville city park portion purchased by City of


       UST Form 101-7-TFR (5/1/2011) (Page: 50)
LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                       Case 12-63884-tmr7          Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                        Page:    36
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                   Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                Separate Bond (if applicable):


           1           2                              3                                              4                                                      5                      6             7
    Transaction    Check or                                                                                                         Uniform                                                  Account / CD
       Date        Reference                Paid To / Received From                      Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)    Balance ($)
                                  McMinnville, OR 97128                       McMinnville. Sale authorized under Motion to
                                                                              Settle & Compromise under Docket #564.
                                                                              Amended Trustee's Report of Sale Pursuant to BR
                                                                              6004 - Document #1545 - Filed 6/1/17.
                      20          FIRST AMERICAN TITLE CO. OF OREGON              Memo Amount:            367,830.00                 1110-000
                                                                              Proceeds from property sale
                                  FIRST AMERICAN TITLE COMPANY OF ORE             Memo Amount:               29.28                   2820-000
                                                                              County tax credit
                                  FIRST AMERICAN TITLE COMPANY OF ORE             Memo Amount:       (       120.00 )                2500-000
                                                                              Reconveyance Fee
                                  FIRST AMERICAN TITLE COMPANY OF ORE             Memo Amount:       (       375.00 )                2500-000
                                                                              Escrow/Closing Fee
                                  FIRST AMERICAN TITLE COMPANY OF ORE             Memo Amount:       (       815.00 )                2500-000
                                                                              ALTA Owners Policy
                                  FIRST AMERICAN TITLE COMPANY OF ORE             Memo Amount:       (        56.00 )                2500-000
                                                                              Record Bargain & Sale Deed
                                  FIRST AMERICAN TITLE COMPANY OF ORE             Memo Amount:       (        56.00 )                2500-000
                                                                              Record Bargain & Sale Deed
                                  FIRST AMERICAN TITLE COMPANY OF ORE             Memo Amount:       (        56.00 )                2500-000
                                                                              Record Bargain & Sale Deed
                                  FIRST AMERICAN TITLE COMPANY OF ORE             Memo Amount:       (        56.00 )                2500-000
                                                                              Record Bargain & Sale Deed
                                  FIRST AMERICAN TITLE COMPANY OF ORE             Memo Amount:       (        51.00 )                2500-000
                                                                              Record Bargain & Sale Deed
                                  FIRST AMERICAN TITLE COMPANY OF ORE             Memo Amount:       (     155,700.00 )              8500-000
                                                                              Payment to VJ-2 Development, Inc.
                                                                              Payment to Don Jones @ VJ-2 Development per
                                                                              sale authorized under Motion to Settle &
                                                                              Compromise Docket #564.
                                  FIRST AMERICAN TITLE COMPANY OF ORE             Memo Amount:       (       411.56 )                2820-000
                                                                              Tax Lot 200 Taxes to County


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LFORM2T4                                                                                                                                                                                             Ver: 22.01b
                                                                  Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                      Page:    37
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit B
  Case No:          12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                   Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                Separate Bond (if applicable):


           1           2                                  3                                             4                                                   5                      6              7
    Transaction    Check or                                                                                                          Uniform                                                  Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction              Trans. Code        Deposits ($)       Disbursements ($)    Balance ($)
                                  FIRST AMERICAN TITLE COMPANY OF ORE               Memo Amount:       (     108.16 )                2820-000
                                                                                 Tax Lot 202 Taxes Due County
                                  FIRST AMERICAN TITLE COMPANY OF ORE               Memo Amount:       (    1,292.99 )               2820-000
                                                                                 Tax Lot 205 Taxes Due County

       11/18/14       10          Escape Bar & Grill, LLC                        Premium Finance payment                             1121-000                    552.73                          1,485,687.70
                                  9004 NE Sandy Blvd.                            Premium Finance Insurance payment sent to Berjac
                                  Portland, OR 97220-4838                        of Portland.

       11/18/14       10          Riverside Corral Inc.                          Premium Finance payment                             1121-000                    620.03                          1,486,307.73
                                  545 SE Tacoma                                  Premium Finance Insurance payment sent to Berjac
                                  Portland, OR 97202                             of Portland.

       11/18/14       10          Ambassador Service Group                       Premium Finance payment                             1121-000                     50.00                          1,486,357.73
                                  402 16th St. NE Ste 106                        Premium Finance Insurance payment sent to Berjac
                                  Auburn, WA 98002                               of Portland.

       11/18/14       10          Smooth Systems Construction Inc.               Premium Finance payment                             1121-000                     58.55                          1,486,416.28
                                  2978 NE Juniper Ave.                           Premium Finance Insurance payment sent to Berjac
                                  Gresham, OR 97030-2947                         of Portland.

       11/18/14       10          Northwest Woodworks                            Premium Finance payment                             1121-000                    532.10                          1,486,948.38
                                  from: Parham Insurance Agency, Inc.            Premium Finance Insurance payment sent to Berjac
                                  PO Box 21390                                   of Oregon.
                                  Keizer, OR 97307-1390

       11/18/14       10          Marilyn Duncan                                 Premium Finance payment                             1121-000                    300.00                          1,487,248.38
                                  PO Box 126                                     Premium Finance Insurance payment sent to Berjac
                                  Drain, OR 97435-0126                           of Oregon.

       11/18/14       10          SKMJMM, LLC                                    Premium Finance payment                             1121-000                     91.40                          1,487,339.78


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LFORM2T4                                                                                                                                                                                              Ver: 22.01b
                                                                        Case 12-63884-tmr7          Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                         Page:    38
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                                4                                                   5                        6              7
    Transaction    Check or                                                                                                            Uniform                                                    Account / CD
       Date        Reference                  Paid To / Received From                         Description Of Transaction              Trans. Code        Deposits ($)         Disbursements ($)    Balance ($)
                                  from: D. Brown Agencies, Inc.                 Premium Finance Insurance payment sent to Berjac
                                  260 NE 2nd St.                                of Oregon.
                                  Gresham, OR 97030

       11/18/14       10          Lisa Long                                     Premium Finance payment                                1121-000                      51.27                           1,487,391.05
                                  PO Box 1308                                   Premium Finance Insurance payment sent to Berjac
                                  Clatskanie, OR 97016                          of Oregon.

       11/19/14       10          Reys, Inc.                                    Premium Finance payment                                1121-000                    1,172.66                          1,488,563.71
                                  4560 Ridge Drive NE                           Premium Finance Insurance payment sent to Berjac
                                  Salem, OR 97301                               of Oregon.

       11/19/14       10          Jose Melo                                     Premium Finance payment                                1121-000                     152.81                           1,488,716.52
                                  3760 Market St. NE #312                       Premium Finance Insurance payment sent to Berjac
                                  Salem, OR 97301-1826                          of Oregon.

       11/19/14       10          R.J. Krumdieck Construction, Inc.             Premium Finance payment                                1121-000                     351.08                           1,489,067.60
                                  PO Box 836                                    Premium Finance Insurance payment sent to Berjac
                                  Pleasant Hill, OR 97455-0835                  of Oregon.

       11/19/14       10          Gall Real Estate Services LLC                 Premium Finance payment                                1121-000                     222.08                           1,489,289.68
                                  PO Box 748                                    Premium Finance Insurance payment sent to Berjac
                                  Salem, OR 97308                               of Oregon.

       11/19/14       15          Cascade Escrow                                pmt on note                                            1121-000                37,332.78                             1,526,622.46
                                  811 Willamette St.                            Notice of Intent to Sell Property - Document #694 -
                                  Eugene, OR 97401                              Filed 10/24/14.
                                                                                Trust Deed Lien against property at 4221 Heins
                                                                                Court, Eugene, OR.

       11/19/14       15          Cascade Escrow                                pmt on note                                            1121-000               108,393.98                             1,635,016.44


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LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                      Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                            Page:    39
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                               4                                                    5                        6                7
    Transaction    Check or                                                                                                            Uniform                                                      Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                Trans. Code        Deposits ($)         Disbursements ($)      Balance ($)
                                  811 Willamette St.                            Notice of Intent to Sell Property - Document #694 -
                                  Eugene, OR 97401                              Filed 10/24/14.
                                                                                Trust Deed Lien against property at 4221 Heins
                                                                                Court, Eugene, OR. Pursuant to Max Jordan
                                                                                Settlement - Document #514.

       11/21/14       10          Union Jack Corp                               Premium Finance payment                                1121-000                    1,833.87                            1,636,850.31
                                  dba Union Jacks Club                          Premium Finance Insurance payment sent to Berjac
                                  938 E. Burnside St.                           of Portland.
                                  Portland, OR 97214

       11/24/14       10          Custom Concepts Construction                  Premium Finance payment                                1121-000                      79.16                             1,636,929.47
                                  PO Box 2318                                   Premium Finance Insurance payment sent to Berjac
                                  Oregon City, OR 97045-0202                    of Oregon.

       11/24/14       10          Geri Incdba Hubbard Inn                       Premium Finance payment                                1121-000                     169.48                             1,637,098.95
                                  PO Box 433                                    Premium Finance Insurance payment sent to Berjac
                                  Hubbard, OR 97032-0433                        of Oregon.

       11/24/14       10          Geri Incdba Hubbard Inn                       Premium Finance payment                                1121-000                     136.66                             1,637,235.61
                                  PO Box 433                                    Premium Finance Insurance payment sent to Berjac
                                  Hubbard, OR 97032-0433                        of Oregon.

       11/24/14       10          Eagles Aeire #2183 F.O.E.                     Premium Finance payment                                1121-000                     564.40                             1,637,800.01
                                  Goose Lake Eaagles Aeire                      Premium Finance Insurance payment sent to Berjac
                                  27 S. "E" Street                              of Portland.
                                  Lakeview, OR 97630

       11/25/14     003033        COMCAST                                       Trustee Expenses                                       2990-000                                            165.70      1,637,634.31
                                  PO BOX 34744                                  Final Internet & phone service to Berjac of Oregon
                                  SEATTLE, WA 98124-1744                        Eugene office


       UST Form 101-7-TFR (5/1/2011) (Page: 54)
LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                               FORM 2                                                                                              Page:    40
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1            2                             3                                               4                                                       5                      6                 7
     Transaction    Check or                                                                                                          Uniform                                                      Account / CD
        Date        Reference               Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)      Disbursements ($)        Balance ($)
                                                                              Acct # 8778 10 701 3285974
                                                                              Per Notice of Intent to Incur Expenses - Document
                                                                              #697 - Filed 10/29/14.

       11/25/14      003034       NEOPOST USA                                 Trustee Expenses                                         2990-000                                          445.13       1,637,189.18
                                  25880 NETWORK PLACE                         Final postage meter service to Berjac Clackamas
                                  CHICAGO, IL 60673-1258                      office.
                                                                              Per Notice of Intent to Incur Expenses - Document
                                                                              #697 - Filed 10/29/14.

 *     11/25/14      003035       INTEGRA                                     Trustee Expenses                                         2990-003                                          340.41       1,636,848.77
                                  PO BOX 2966                                 Acct No. 614637/Invoice No. 1250178
                                  MILWAUKEE, WI 53201-2966

 *     11/25/14      003035       INTEGRA                                     Final payment - phone services                           2990-003                                          -340.41      1,637,189.18
                                  PO BOX 2966                                 Check issued for incorrect amount. Should be
                                  MILWAUKEE, WI 53201-2966                    $71.09. New check written for this amount

       11/25/14      003036       AT YOUR SERVICE HOME AND OFFICE             Trustee Expenses                                         2990-000                                           80.00       1,637,109.18
                                  CLEANING LLC                                Final cleaning service to Berjac of Oregon Eugene
                                  c/o JENNIFER CHALMERS                       office.
                                  PO BOX 40266                                Per Notice of Intent to Incur Expenses - Document
                                  EUGENE OR 97404                             #697 - Filed 10/29/14.

       11/25/14      003037       INTEGRA                                     Trustee Expenses                                         2990-000                                           71.09       1,637,038.09
                                  PO BOX 2966                                 Acct No. 614637/Invoice No. 12501781
                                  MILWAUKEE, WI 53201-2966                    Per Notice of Intent to Incur Expenses - Document
                                                                              #697 - Filed 10/29/14.

                                                                              The amount of $340.41 listed in Document #697
                                                                              was incorrect. Original check for $340.41 was


        UST Form 101-7-TFR (5/1/2011) (Page: 55)
LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                  Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                             Page:    41
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                 3                                               4                                                   5                        6                  7
    Transaction    Check or                                                                                                            Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                 reversed. Since the amount due was less than
                                                                                 specified, nothing else was done.

       11/25/14                   Union Bank                                     BANK SERVICE FEE                                      2600-000                                           1,414.77      1,635,623.32

       11/26/14       10          JCGeneral Construction, Inc.                   Premium Finance payment                               1121-000                    632.97                               1,636,256.29
                                  1808 Evergreen Ave. NE                         Premium Finance Insurance payment sent to Berjac
                                  Salem, OR 97301                                of Oregon.
                                                                                 Payment sent from Parham Insurance Agency.

       12/01/14       10          TMM, Inc.                                      Premium Finance payment                               1121-000                    436.66                               1,636,692.95
                                  45th St. Pub & Grill                           Premium Finance Insurance payment sent to Berjac
                                  6312 SW Capitol Hwy #140                       of Portland.
                                  Portland, OR 97239

       12/01/14       10          Scandals Lounge & Restaurant, Inc.             Premium Finance payment                               1121-000                   1,435.34                              1,638,128.29
                                  1125 SW Stark St.                              Premium Finance Insurance payment sent to Berjac
                                  Portland, OR 97205                             of Portland.

       12/01/14       10          Hitchin Post Pizza, Inc.                       Premium Finance payment                               1121-000                    209.27                               1,638,337.56
                                  458 SW 2nd Ave.                                Premium Finance Insurance payment sent to Berjac
                                  Estacada, OR 97023-7006                        of Portland.

       12/01/14       10          Kon Tiki LTDL, Inc.                            Premium Finance payment                               1121-000                   3,192.00                              1,641,529.56
                                  DBA: Silverado                                 Premium Finance Insurance payment sent to Berjac
                                  318 SW 3rd Ave.                                of Portland.
                                  Portland, OR 97204
                                                                                 1/20/15 - compensation reduced by $9,576.00 -
                                                                                 refund of interest on canceled preimum payment per
                                                                                 Notice (Doc. 757).




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LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                       Case 12-63884-tmr7           Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                        Page:    42
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                         Union Bank
                                                                                                                               Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                     3                                         4                                                   5                        6              7
    Transaction    Check or                                                                                                         Uniform                                                    Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction              Trans. Code        Deposits ($)         Disbursements ($)    Balance ($)
       12/01/14       10          Outhouse LLC                                  Premium Finance payment                             1121-000                     964.88                           1,642,494.44
                                  DBA Circa 33                                  Premium Finance Insurance payment sent to Berjac
                                  3348 SE Belmont St.                           of Portland.
                                  Portland, OR 97214-4245

       12/01/14       10          Escape Bar & Grill LLC                        Premium Finance payment                             1121-000                     662.00                           1,643,156.44
                                  9004 NE Sandy Blvd.                           Premium Finance Insurance payment sent to Berjac
                                  Portland, OR 97220-4838                       of Portland.

       12/01/14       10          Ricardo Ramirez Rodriguez                     Premium Finance payment                             1121-000                     180.00                           1,643,336.44
                                  380 Boone Rd SE                               Premium Finance Insurance payment sent to Berjac
                                  Salem, OR 97306                               of Oregon.

       12/01/14       10          Bend Pawn & Trading Co.                       Premium Finance payment                             1121-000                    1,576.21                          1,644,912.65
                                  61420 S. Hwy 97                               Premium Finance Insurance payment sent to Berjac
                                  Bend, OR 97702-2104                           of Oregon.

       12/01/14       10          Sheldon Virgin dba:                           Premium Finance payment                             1121-000                      51.00                           1,644,963.65
                                  Cherry City Pest Control                      Premium Finance Insurance payment sent to Berjac
                                  5979 14th St NE                               of Oregon.
                                  Keiser, OR 97303

       12/01/14       10          Sweet Bye N Bye Inc.                          Premium Finance payment                             1121-000                     871.39                           1,645,835.04
                                  PO Box 12248                                  Premium Finance Insurance payment sent to Berjac
                                  Salem, OR 97309-0248                          of Oregon.

       12/01/14       10          Donald R. Hale                                Premium Finance payment                             1121-000                      69.52                           1,645,904.56
                                  dba: Northwest Woodworks                      Premium Finance Insurance payment sent to Berjac
                                  3480 Ibis Ct NE                               of Oregon.
                                  Salem, OR 97305




       UST Form 101-7-TFR (5/1/2011) (Page: 57)
LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                        Page:    43
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                               4                                                    5                      6              7
    Transaction    Check or                                                                                                             Uniform                                                 Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)       Disbursements ($)    Balance ($)
       12/01/14       15          M & M Oregon Properties LLC                   pmt on note                                             1121-000                   726.00                          1,646,630.56
                                                                                Per Notice of Intent to Settle & Compromise -
                                                                                Document #514 - Filed 2/24/14.
                                                                                Nov. 2014 pmt on 4214 Heins Court.

       12/01/14       15          Cascade Escrow                                pmt on note                                             1121-000              184,343.10                           1,830,973.66
                                  811 Willamette St.                            Notice of Intent to Sell Property - Document #690 -
                                  Eugene, OR 97401                              Filed - 10/20/14. -
                                                                                Trust Deed Lien v. 4214 Heins Court, Eugene, OR.
                                                                                Pursuant to Max Jordan Settlement - Document
                                                                                #514.

       12/02/14       21          Ehrman V. Giustina                            Return of Preferential Transfer                         1241-000               80,000.00                           1,910,973.66
                                  Special Account                               Settlement per Motion and Notice of Intent to Settle
                                  PO Box 529                                    and Compromise Adversary Proceeding - Adv Pro
                                  Eugene, OR 97440                              Case No.14-06137. - Docket #9 - Filed 11/20/14.
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #714 - Filed 11/20/14.

       12/02/14       21          Barbara J. McCarty                            Return of Preferential Transfer                         1241-000              160,000.00                           2,070,973.66
                                  Huntsberger v. Grace Evangelical              Settlement per Motion and Notice of Intent to Settle
                                  893 Club Way                                  and Compromise Adversary Proceeding -
                                  Eugene, OR 97401-2213                         Huntsberger v. Grace Evangelical Lutheran
                                                                                Congregation, UAC of Eugene, Lane County,
                                                                                Oregon - Adv Pro Case No.14-06155. - Docket #9 -
                                                                                Filed 11/20/14.
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #715 - Filed 11/20/14.




       UST Form 101-7-TFR (5/1/2011) (Page: 58)
LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                        Page:    44
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                  3                                              4                                                    5                      6              7
    Transaction    Check or                                                                                                             Uniform                                                 Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)       Disbursements ($)    Balance ($)
       12/02/14       21          Bruce McLellan                                Return of Preferential Transfer                         1241-000               22,750.00                           2,093,723.66
                                  Huntsberger v. McLellan                       Settlement per Motion and Notice of Intent to Settle
                                  AP No. 14-06138-tmr                           and Compromise Adversary Proceeding - Adv Pro
                                                                                Case No.14-06138. - Docket #9 - Filed 11/18/14.
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #708 - Filed 11/18/14.
                                                                                Trustee Compensation reduced by $250 per Deposit
                                                                                for Refund of Overpayment made by creditor on
                                                                                1/13/15.

       12/03/14       10          Hitchin Post Pizza, Inc.                      Premium Finance payment                                 1121-000                   209.27                          2,093,932.93
                                  458 SW 2nd Ave.                               Premium Finance insurance payment sent to Berjac
                                  Estacada, OR 97023-7006                       of Portland.

       12/03/14       10          Dirth Bird Inc.                               Premium Finance payment                                 1121-000                   132.01                          2,094,064.94
                                  PO Box 1052                                   Premium Finance insurance payment sent to Berjac
                                  St. Helens, OR 97051                          of Portland.

       12/03/14       10          P.T.J. Inc.                                   Premium Finance payment                                 1121-000                   940.73                          2,095,005.67
                                  The Nicolai Street Clubhouse                  Premium Finance insurance payment sent to Berjac
                                  2460 NW 24th Ave.                             of Portland.
                                  Portland, OR 97210-2130

       12/03/14       10          R & M Ventures                                Premium Finance payment                                 1121-000                   630.00                          2,095,635.67
                                  LT's Pub                                      Premium Finance insurance payment sent to Berjac
                                  508 NE Division St                            of Portland.
                                  Gresham, OR 97030-3946

       12/03/14       10          Devils Point                                  Premium Finance payment                                 1121-000                   928.83                          2,096,564.50
                                  DBA Little Devil, LLC                         Premium Finance insurance payment sent to Berjac


       UST Form 101-7-TFR (5/1/2011) (Page: 59)
LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                      FORM 2                                                                                        Page:    45
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                         Union Bank
                                                                                                                                    Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1           2                                 3                                                   4                                                  5                        6              7
    Transaction    Check or                                                                                                             Uniform                                                     Account / CD
       Date        Reference                  Paid To / Received From                            Description Of Transaction            Trans. Code         Deposits ($)         Disbursements ($)    Balance ($)
                                  5305 SE Foster Rd.                              of Portland.
                                  Portland, OR 97206-2937

       12/03/14       10          Lucky Devil, LLC                                Premium Finance payment                                1121-000                     857.00                           2,097,421.50
                                  DBA Lucky Devil Lounge                          Premium Finance insurance payment sent to Berjac
                                  633 SE Powell Blvd.                             of Portland.
                                  Portland, OR 97202-2622

       12/03/14       10          Wigwam Corporation                              Premium Finance payment                                1121-000                     498.92                           2,097,920.42
                                  Wigwam Tavern                                   Premium Finance insurance payment sent to Berjac
                                  54268 Bird Rd.                                  of Portland.
                                  Scappoose, OR 97056

       12/08/14       10          Salem Auto Service, Inc.                        Premium Finance payment                                1121-000                    1,811.74                          2,099,732.16
                                  dba: Affordable Auto Sales & Service            Premium Finance Insurance payment sent to Berjac
                                  PO Box 9194                                     of Oregon.
                                  Brooks, OR 97305

       12/08/14       10          Salem Auto Service, Inc.                        Premium Finance payment                                1121-000                     254.29                           2,099,986.45
                                  PO Box 9194                                     Premium Finance Insurance payment sent to Berjac
                                  Brooks, OR 97305                                of Oregon.

       12/08/14       10          Vaughn Land & Cattle                            Premium Finance payment                                1121-000                     214.41                           2,100,200.86
                                  Richard Vaughn                                  Premium Finance Insurance payment sent to Berjac
                                  93342 Pike Lane                                 of Oregon.
                                  Lakeview, OR 97630

       12/08/14       10          Smooth Systems Construction Inc.                Premium Finance payment                                1121-000                      52.36                           2,100,253.22
                                  20145 NE Sandy Blvd #128                        Premium Finance Insurance payment sent to Berjac
                                  Fairview, OR 97024                              of Portland.




       UST Form 101-7-TFR (5/1/2011) (Page: 60)
LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                         Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                            Page:    46
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                   3                                           4                                                      5                        6               7
    Transaction    Check or                                                                                                           Uniform                                                      Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction                Trans. Code         Deposits ($)         Disbursements ($)     Balance ($)
       12/08/14       10          McKenzie Pub, LLC                             Premium Finance payment                                1121-000                    1,113.93                           2,101,367.15
                                  NcKenzie Pub                                  Premium Finance Insurance payment sent to Berjac
                                  16450 SW Langer Dr.                           of Portland.
                                  Sherwood, OR 97140

       12/08/14       10          Painted Poppy                                 Premium Finance payment                                1121-000                     220.16                            2,101,587.31
                                  Vintage 7th St. Market                        Premium Finance Insurance payment sent to Berjac
                                  36005 7th St. Box 147                         of Portland.
                                  Nehalem, OR 97131

       12/08/14       10          Dale and Mary Phillips                        Premium Finance payment                                1121-000                     100.19                            2,101,687.50
                                  18516 Andy Hill Rd.                           Premium Finance Insurance payment sent to Berjac
                                  Lakeview, OR 97630                            of Oregon.

       12/08/14       10          Gresham Main St. Deli, LLC                    Premium Finance payment                                1121-000                     215.87                            2,101,903.37
                                  dba: Patti's Deli
                                  2253 NE Burnside Rd.
                                  Gresham, OR 97080

       12/08/14       16          Cascade Escrow                                pmt on note                                            1121-000                12,900.13                              2,114,803.50
                                  811 Willamette St.                            Trust Deed Lien against Duplex at 6356/6358 "F"
                                  Eugene, OR 97401                              St., Springfield, OR per Sale Notice - Document
                                                                                #696 - Filed 10/28/14. Pursuant to Max Jordan
                                                                                Settlement - Document #514.

       12/08/14     003038        TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services -                         3991-000                                        15,932.80      2,098,870.70
                                  818 SW 3rd AVENUE, #109                       80% of October 2014 Invoice - #1262
                                  PORTLAND OR 97204                             Per Order Approving Payment of Norman Transeth
                                                                                & Associates, LLC Fees and Expenses - Document
                                                                                #556 - Filed 4/21/14.
                                                                                Per Trustee's Notice of Intent to Pay Forensic


       UST Form 101-7-TFR (5/1/2011) (Page: 61)
LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                        Page:    47
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                               Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                            Bank Name:                         Union Bank
                                                                                                                                Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                   Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                Separate Bond (if applicable):


           1           2                                    3                                           4                                                   5                        6              7
    Transaction    Check or                                                                                                          Uniform                                                    Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction              Trans. Code        Deposits ($)         Disbursements ($)    Balance ($)
                                                                                 Accountant (October 2014 Invoice) - Document
                                                                                 #737 - Filed 12/10/14.

       12/09/14       10          Green Haven RV Park LLC                        Premium Finance payment                             1121-000                      99.26                           2,098,969.96
                                  200 Church St.                                 Premium Finance Insurance payment sent to Berjac
                                  Falls City, OR 97344                           of Oregon.

       12/09/14       10          Sunnyside Daycare & Learning Center, LLC       Premium Finance payment                             1121-000                     140.58                           2,099,110.54
                                  26651 Wonderly Rd.                             Premium Finance Insurance payment sent to Berjac
                                  Rainier, OR 97048                              of Oregon.

       12/09/14       10          John & Barbara Lefore                          Premium Finance payment                             1121-000                     172.71                           2,099,283.25
                                  PO Box 1247                                    Premium Finance Insurance payment sent to Berjac
                                  Turner, OR 97392                               of Oregon.

       12/09/14       10          505 Club                                       Premium Finance payment                             1121-000                    1,035.81                          2,100,319.06
                                  505 NW Burnside                                Premium Finance Insurance payment sent to Berjac
                                  Gresham, OR 97030                              of Portland.

       12/10/14       10          McQueen's Bar & Grill                          Premium Finance payment                             1121-000                     759.45                           2,101,078.51
                                  PO Box 87                                      Premium Finance Insurance payment sent to Berjac
                                  Gladstone, OR 97027-0087                       of Oregon.

       12/10/14       10          Davine Hospitality Inc.                        Premium Finance payment                             1121-000                     672.77                           2,101,751.28
                                  DBA Hawthorne Strip                            Premium Finance Insurance payment sent to Berjac
                                  1008 SE Harthorne                              of Oregon.
                                  Portland, OR 97213

       12/10/14       10          Riverside Corral                               Premium Finance payment                             1121-000                     620.03                           2,102,371.31
                                  545 SE Tacoma                                  Premium Finance Insurance payment sent to Berjac
                                  Portland, OR 97202                             of Oregon.


       UST Form 101-7-TFR (5/1/2011) (Page: 62)
LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                        Page:    48
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                 3                                             4                                                     5                      6              7
    Transaction    Check or                                                                                                          Uniform                                                   Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction               Trans. Code         Deposits ($)       Disbursements ($)    Balance ($)


       12/10/14       10          Oules & Lippincott, Inc.                      Premium Finance payment                               1121-000                    516.56                          2,102,887.87
                                  DBA Ringo's Bar & Grill                       Premium Finance Insurance payment sent to Berjac
                                  12300 SW Broadway                             of Oregon.
                                  Beaverton, OR 97005

       12/10/14       10          XL Excavation                                 Premium Finance payment                               1121-000                    274.92                          2,103,162.79
                                  85296 Lorane Hwy                              Premium Finance Insurance payment sent to Berjac
                                  Eugene, OR 97404                              of Oregon.

       12/11/14       10          Darcell XV, LLC                               Premium Finance payment                               1121-000                    577.25                          2,103,740.04
                                  208 NW 3rd                                    Premium Finance Insurance payment sent to Berjac
                                  Portland, OR 97209                            of Portland.

       12/11/14       10          Utilize, Inc.                                 Premium Finance payment                               1121-000                    456.23                          2,104,196.27
                                  Tommy's Too                                   Premium Finance Insurance payment sent to Berjac
                                  7320 SE Lake Rd.                              of Portland.
                                  Milwaukie, OR 97267

       12/12/14       10          Geri Incda Hubbard Inn                        Premium Finance payment                               1121-000                    169.48                          2,104,365.75
                                  PO Box 433                                    Premium Finance Insurance payment to Berjac of
                                  Hubbard, OR 97032-0433                        Portland.

       12/12/14       10          Geri Incda Hubbard Inn                        Premium Finance payment                               1121-000                    136.66                          2,104,502.41
                                  PO Box 433                                    Premium Finance Insurance payment to Berjac of
                                  Hubbard, OR 97032-0433                        Portland.

       12/12/14       10          Lupe Mendoza-Owens                            Premium Finance payment                               1121-000                    254.14                          2,104,756.55
                                  Phillip J. Owens                              Premium Finance Insurance payment to Berjac of
                                  DBA: Phil's Rooter Service LLC                Oregon.
                                  PO Box 41013


       UST Form 101-7-TFR (5/1/2011) (Page: 63)
LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                          Page:    49
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                  3                                             4                                                     5                        6              7
    Transaction    Check or                                                                                                           Uniform                                                     Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction               Trans. Code         Deposits ($)         Disbursements ($)    Balance ($)
                                  Eugene, OR 97404

       12/12/14       10          AAA General Construction LLC                   Premium Finance payment                               1121-000                     349.19                           2,105,105.74
                                  8010 Heron St., NE                             Premium Finance Insurance payment to Berjac of
                                  Salem, OR 97305                                Oregon.

       12/12/14       10          Kelly Lee Thomas                               Premium Finance payment                               1121-000                     114.00                           2,105,219.74
                                  from: Parham Insurance Agency, Inc.            Premium Finance Insurance payment to Berjac of
                                  PO Box 21390                                   Oregon.
                                  Keizer, OR 97307-1390

       12/12/14       10          North Valley Mddical Staffing, Inc.            Premium Finance payment                               1121-000                     967.09                           2,106,186.83
                                  4776 Whitman Circle NE                         Premium Finance Insurance payment to Berjac of
                                  Salem, OR 97305                                Oregon.

       12/12/14       10          Pacific Roofing Service Inc.                   Premium Finance payment                               1121-000                     351.97                           2,106,538.80
                                  PO Box 1660                                    Premium Finance Insurance payment to Berjac of
                                  Cottage Grove, OR 97424-0067                   Oregon.

       12/15/14       10          Magic Garden Restaurant & Lounge               Premium Finance payment                               1121-000                    1,217.00                          2,107,755.80
                                  217 NW 4th Ave.                                Premium Finance Insurance payment sent to Berjas
                                  Portland, OR 97209                             of Portland.

       12/15/14       10          Magic Garden Restaurant & Lounge               Premium Finance payment                               1121-000                    3,675.34                          2,111,431.14
                                  217 NW 4th Ave.                                Premium Finance Insurance payment sent to Berjas
                                  Portland, OR 97209                             of Portland.

       12/16/14       10          FJD Sandquist LLC                              Premium Finance payment                               1121-000                     653.36                           2,112,084.50
                                  32588 S. Molalla Ave.                          Premium Finance Insurance payment sent to Berjac
                                  Molalla, OR 97038-9402                         of Portland.




       UST Form 101-7-TFR (5/1/2011) (Page: 64)
LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                        Case 12-63884-tmr7          Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                        Page:    50
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                               4                                                    5                      6              7
    Transaction    Check or                                                                                                             Uniform                                                 Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)       Disbursements ($)    Balance ($)
       12/16/14       10          Northwest Auto Sales LLC                      Premium Finance payment                                 1121-000                   220.86                          2,112,305.36
                                  PO Box 21444                                  Premium Finance Insurance payment sent to Berjac
                                  Keizer, OR 97307                              of Oregon.

       12/16/14       10          R.J. Krumdieck Construction, Inc.             Premium Finance payment                                 1121-000                   351.08                          2,112,656.44
                                  PO Box 835                                    Premium Finance Insurance payment sent to Berjac
                                  Pleasant Hill, OR 97455-0835                  of Oregon.

       12/16/14       21          Paul Redhead                                  Return of Preferential Transfer                         1241-000               11,250.00                           2,123,906.44
                                  707 High Street, #300                         Settlement per Motion and Notice of Intent to Settle
                                  Eugene, OR 97401-2744                         and Compromise Adversary Proceeding - Adv Pro
                                                                                Case No.14-06160. - Docket #7 - Filed 11/18/14.
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #707 - Filed 11/18/14.

       12/17/14       21          M & A Investments, LLC                        Return of Preferential Transfer                         1241-000               22,125.00                           2,146,031.44
                                                                                Settlement per Motion and Notice of Intent to Settle
                                                                                and Compromise Adversary Proceeding - Adv Pro
                                                                                Case No.14-06144. - Docket #11 - Filed 12/16/14.
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #746 - Filed 12/16/14.
                                                                                Check states "Remitter - Eugene Toy & Hobby".

       12/19/14       10          Bay Haven Inn                                 Premium Finance payment                                 1121-000                   252.20                          2,146,283.64
                                  Linda P. Lewton                               Premium Finance Insurance payment sent to Berjac
                                  608 SW Bay Blvd.                              of Oregon.
                                  Newport, OR 97365

       12/19/14       10          S & V Garcia Investments LLC                  Premium Finance payment                                 1121-000                   108.69                          2,146,392.33


       UST Form 101-7-TFR (5/1/2011) (Page: 65)
LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                      Case 12-63884-tmr7            Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                        Page:    51
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                 3                                              4                                                    5                      6              7
    Transaction    Check or                                                                                                            Uniform                                                 Account / CD
       Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)       Disbursements ($)    Balance ($)
                                  PO Box 21444                                 Premium Finance Insurance payment sent to Berjac
                                  Keizer, OR 97307                             of Oregon.

       12/19/14       10          Ambassador Service Group                     Premium Finance payment                                 1121-000                    50.00                          2,146,442.33
                                  402 16th St. NE                              Premium Finance Insurance payment sent to Berjac
                                  Auburn, WA 98002                             of Portland.

       12/19/14       10          Jose Melo                                    Premium Finance payment                                 1121-000                   152.81                          2,146,595.14
                                  3760 Market St. NE #312                      Premium Finance Insurance payment sent to Berjac
                                  Salem, OR 97301-1826                         of Oregon.

       12/19/14       10          Marilyn Duncan                               Premium Finance payment                                 1121-000                   300.00                          2,146,895.14
                                  PO Box 126                                   Premium Finance Insurance payment sent to Berjac
                                  Drain, OR 97435-0126                         of Oregon.

       12/19/14       21          Marilyn & Angela Rear                        Return of Preferential Transfer                         1241-000               50,000.00                           2,196,895.14
                                  91820 Territorial Rd.                        Settlement per Motion and Notice of Intent to Settle
                                  Junction City, OR 97448-8514                 and Compromise Adversary Proceeding - Adv Pro
                                                                               Case No.14-06145. - Docket #9 - Filed 12/16/14
                                                                               (Harper Farms, Inc.).
                                                                               See Also Motion and Notice of Intent to Settle and
                                                                               Compromise Adversary Proceeding - Main case -
                                                                               Document #745 - Filed 12/16/14.

       12/19/14       21          Charlene Cox Trust                           Return of Preferential Transfer                         1241-000               44,500.00                           2,241,395.14
                                  from: Tarlow Naito & Summers LLP             Settlement per Motion and Notice of Intent to Settle
                                  IOLTA Account                                and Compromise Adversary Proceeding - Adversary
                                                                               Proceeding Case No.14-06133. - Docket #5 - Filed
                                                                               11/6/14.
                                                                               See Also Motion and Notice of Intent to Settle and
                                                                               Compromise Adversary Proceeding - Main case -


       UST Form 101-7-TFR (5/1/2011) (Page: 66)
LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                     Case 12-63884-tmr7            Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page:    52
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                3                                               4                                                    5                        6              7
    Transaction    Check or                                                                                                            Uniform                                                   Account / CD
       Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)         Disbursements ($)    Balance ($)
                                                                               Document #700 - Filed 11/6/14.

       12/19/14       21          Marilyn & Angela Rear                        Return of Preferential Transfer                         1241-000                   9,375.00                          2,250,770.14
                                  91820 Territorial Road                       Settlement per Motion and Notice of Intent to Settle
                                  Junction City, OR 97448-8514                 and Compromise Adversary Proceeding - Adv Pro
                                                                               Case No.14-06140. - Docket #9 - Filed 12/16/14.
                                                                               See Also Motion and Notice of Intent to Settle and
                                                                               Compromise Adversary Proceeding - Main case -
                                                                               Document #744 - Filed 12/16/14.

       12/19/14       21          Davis Wright Tremaine, LLP                   Return of Preferential Transfer                         1241-000               18,000.00                             2,268,770.14
                                  1201 Third Ave. Suite 2200                   Settlement per Motion and Notice of Intent to Settle
                                  Seattle, WA 98101-3045                       and Compromise Adversary Proceeding - Adv Pro
                                                                               Case No.14-06169. - Docket #8 - Filed 11/18/14.
                                                                               See Also Motion and Notice of Intent to Settle and
                                                                               Compromise Adversary Proceeding - Main case -
                                                                               Document #709 - Filed 11/18/14.

       12/22/14       10          SCANDALS LOUNGE & RESTAURANT, INC.           Premium Finance payment                                 1121-000                   1,509.00                          2,270,279.14
                                  1125 SOUTHWEST STARK STREET                  Acct# BOP-33522, Pmt#10
                                  PORTLAND, OR 97205

       12/22/14       10          DONALD R. HALE                               Premium Finance payment                                 1121-000                     63.20                           2,270,342.34
                                  LESLIE S. HALE                               Acct # BOO-8458, Pmt# 6
                                  DBA NORTHWEST WOODWORKS
                                  3480 IBIS CT NE
                                  SALEM OR 97305

       12/22/14       10          GALL REAL ESTATE SERVICES, LLC               Premium Finance payment                                 1121-000                    222.08                           2,270,564.42
                                  DBA WILLAMETTE MANAGEMENT SERVICES
                                  PO BOX 748


       UST Form 101-7-TFR (5/1/2011) (Page: 67)
LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                   Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                FORM 2                                                                                              Page:    53
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:           12-63884 -TMR                                                                                             Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                          Bank Name:                         Union Bank
                                                                                                                               Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1            2                             3                                               4                                                    5                         6                  7
     Transaction    Check or                                                                                                         Uniform                                                        Account / CD
        Date        Reference               Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)         Balance ($)
                                  SALEM, OR 97308

       12/22/14        10         UNION JACK CORP                             Premium Finance payment                                1121-000                   1,833.87                               2,272,398.29
                                  DBA UNION JACKS CLUB                        Acct# BOP-33613, Pmt# 9
                                  938 E. BURNSIDE ST
                                  PORTLAND, OR 97214

       12/22/14        10         HULL & COMPANY, INC.                        Premium Finance payment                                1121-000                   3,911.67                               2,276,309.96
                                  6443 SW BEAVERTON-HILLSDALE HWY, #350       Policy #GLL02120 Biddy McGraws, paid on behalf
                                  PORTLAND, OR 97221                          of Don Brown Associates. BOP-33720
                                                                              with Memo dated 12/18/14.

 *     12/23/14      003039       TARLOW NAITO & SUMMERS, LLP                 Attorney to Trustee Fees-other Firm                    3210-003                                       138,641.20         2,137,668.76
                                  2501 SW FIRST AVENUE                        Per Order Allowing Interim Compensation-
                                  SUITE 390                                   Document 753 - Filed 12/22/14.
                                  PORTLAND, OR 97201

 *     12/23/14      003039       TARLOW NAITO & SUMMERS, LLP                 Interim Compensation                                   3210-003                                       -138,641.20        2,276,309.96
                                  2501 SW FIRST AVENUE
                                  SUITE 390
                                  PORTLAND, OR 97201

       12/23/14      003040       TARLOW NAITO & SUMMERS, LLP                 Attorney to Trustee Exp -other firm                    3220-000                                            1,785.01      2,274,524.95
                                  2501 SW FIRST AVENUE                        50% of unpaid expenses awarded under Order
                                  SUITE 390                                   Allowing Interim Compensation - Document #753 -
                                  PORTLAND, OR 97201                          Filed 12/22/14. The other 50% was held back
                                                                              pending running of the 14-day period for creditor's
                                                                              to appeal Order Document #753. See Check #3055
                                                                              issued 1/7/15.after expiration of appeal period.
                                                                              Previous expenses of $16,554 were paid per Notice
                                                                              of Intent to Incur Expenses - Document #672 - Filed


        UST Form 101-7-TFR (5/1/2011) (Page: 68)
LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                  Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                           Page:    54
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                              3                                                4                                                     5                      6                7
    Transaction    Check or                                                                                                            Uniform                                                   Account / CD
       Date        Reference                Paid To / Received From                       Description Of Transaction                  Trans. Code       Deposits ($)      Disbursements ($)       Balance ($)
                                                                              9/10/14.

       12/23/14     003041        TARLOW NAITO & SUMMERS, LLP                 Attorney to Trustee Fees-other Firm                      3210-000                                     138,641.20      2,135,883.75
                                  2501 SW FIRST AVENUE                        80% of awarded interim attorneys fees.
                                  SUITE 390                                   50% of unpaid fees awarded under Order Allowing
                                  PORTLAND, OR 97201                          Interim Compensation - Document #753 - Filed
                                                                              12/22/14. The other 50% was held back pending
                                                                              running of the 14-day period for creditor's to appeal
                                                                              Order Document #753. See Check #3054 issued
                                                                              1/7/15.after expiration of appeal period.

       12/23/14     003042        DAVID B. MILLS                              Attorney to Trustee Fees-other Firm                      3210-000                                      31,320.00      2,104,563.75
                                  3631 COLONY OAKS DRIVE                      80% of Interim awarded attorney's fees.
                                  EUGENE, OR 97405                            Per Order Allowing Interim Compensation -
                                                                              Document #753 - Filed 12/22/14.

       12/23/14     003043        DAVID B. MILLS                              Attorney to Trustee Exp -other firm                      3220-000                                         105.00      2,104,458.75
                                  3631 COLONY OAKS DRIVE                      Per Order Allowing Interim Compensation -
                                  EUGENE, OR 97405                            Document #753 - Filed 12/22/14.

       12/23/14     003044        MICHAEL GREENE                              Attorney to Trustee Fees-other Firm                      3210-000                                      14,500.00      2,089,958.75
                                  ROSENTHAL, GREENE & DEVLIN                  80% of awarded attorneys fees.
                                  121 SW SALMON ST. - SUITE 1090              Per Application for Interim Compensation -
                                  PORTLAND, OR 97204                          Document #725 - Filed 11/21/14 and Order
                                                                              Allowing Interim Compensation - Document #753 -
                                                                              Filed 12/22/14.

       12/23/14     003045        KENT & JOHNSON                              Attorney to Trustee Fees-other Firm                      3210-000                                      16,300.00      2,073,658.75
                                  1500 TAYLOR STREET                          80$ of awarded attorneys fees.
                                  PORTLAND, OR 97205                          Per Order Allowing Interim Compensation -
                                                                              Document #753 - Filed 12/22/14.


       UST Form 101-7-TFR (5/1/2011) (Page: 69)
LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                   Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                               FORM 2                                                                                             Page:    55
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                   Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                Separate Bond (if applicable):


           1           2                             3                                                4                                                     5                      6                  7
    Transaction    Check or                                                                                                           Uniform                                                     Account / CD
       Date        Reference               Paid To / Received From                       Description Of Transaction                  Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)


       12/23/14     003046        KENT & JOHNSON                             Attorney to Trustee Exp -other firm                      3220-000                                          819.11       2,072,839.64
                                  1500 TAYLOR STREET                         Special Counsel to Trustee - Expense
                                  PORTLAND, OR 97205                         Reimbursement.
                                                                             Per Order Allowing Interim Compensation -
                                                                             Document #753 - Filed 12/22/14.

       12/23/14     003047        BULLIVANT HOUSER BAILEY, PC                Attorney to Trustee Fees-other Firm                      3210-000                                     275,195.52        1,797,644.12
                                  300 PIONEER TOWER                          80% of awarded attorneys fees.
                                  888 SW 5TH AVE.                            Per Notice of Intent for Interim Compensation of
                                  PORTLAND, OR 97204                         Professionals - Document #727 - Filed 11/21/14 and
                                                                             Order Allowing Interim Compensation - Document
                                                                             #753 - Filed 12/22/14.

       12/23/14     003048        BULLIVANT HOUSER BAILEY, PC                Attorney to Trustee Exp -other firm                      3220-000                                         1,255.19      1,796,388.93
                                  300 PIONEER TOWER                          Per Notice of Intent for Interim Compensation of
                                  888 SW 5TH AVE.                            Professionals - Document #727 - Filed 11/21/14 and
                                  PORTLAND, OR 97204                         Order Allowing Interim Compensation - Document
                                                                             #753 - Filed 12/22/14.

       12/23/14     003049        THOMAS A. HUNTSBERTER, TRUSTEE             Trustee Compensation                                     2100-000                                      36,145.25        1,760,243.68
                                  THOMAS A. HUNTSBERGER, P.C.                80$ of awarded InterimTrustee Compensation - Fees
                                  870 W. CENTENNIAL BLVD.                    50% of unpaid fees awarded under Order Allowing
                                  SPRINGFIELD, OR 97477                      Interim Compensation - Document #753 - Filed
                                                                             12/22/14. The other 50% was held back pending
                                                                             running of the 14-day period for creditor's to appeal
                                                                             Order Document #753. See Check #3057 issued
                                                                             1/7/15.after expiration of appeal period.

       12/23/14     003050        THOMAS A. HUNTSBERGER, TRUSTEE             Trustee Expenses                                         2200-000                                          526.38       1,759,717.30
                                  THOMAS A. HUNTSBERGER, P.C.                50% of awarded trustee expenses.


       UST Form 101-7-TFR (5/1/2011) (Page: 70)
LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                 Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                             Page:    56
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                               4                                                    5                        6                  7
    Transaction    Check or                                                                                                             Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                  870 W. CENTENNIAL BLVD.                        50% of unpaid expenses awarded under Order
                                  SPRINGFIELD, OR 97477                          Allowing Interim Compensation - Document #753 -
                                                                                 Filed 12/22/14. The other 50% was held back
                                                                                 pending running of the 14-day period for creditor's
                                                                                 to appeal Order Document #753. See Check #3056
                                                                                 issued 1/7/15.after expiration of appeal period.
                                                                                 Previous expenses of $16,554 were paid per Notice
                                                                                 of Intent to Incur Expenses - Document #672 - Filed
                                                                                 9/10/14.

       12/26/14                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                           1,869.13      1,757,848.17

       12/29/14       10          Outhouse LLC                                   Premium Finance payment                                1121-000                   1,102.00                              1,758,950.17
                                  DBA Circa 33                                   Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       12/29/14       10          Darcelle XV, LLC                               Premium Finance payment                                1121-000                    588.79                               1,759,538.96
                                  DBA Showtime in Old Town                       Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       12/29/14       10          PTJ, Inc.                                      Premium Finance payment                                1121-000                    940.73                               1,760,479.69
                                  Nicolai Street Clubhouse                       Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       12/29/14       10          R & M Ventures Inc.                            Premium Finance payment                                1121-000                    630.00                               1,761,109.69
                                  DBA LT's Pub                                   Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       12/29/14       10          Eagles Aeire #2183 F.O.E.                      Premium Finance payment                                1121-000                    564.40                               1,761,674.09
                                  Goose Lake Eagles Aeire                        Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.


       UST Form 101-7-TFR (5/1/2011) (Page: 71)
LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                   FORM 2                                                                                              Page:    57
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                   Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1            2                                  3                                              4                                                    5                        6                  7
     Transaction    Check or                                                                                                            Uniform                                                        Account / CD
        Date        Reference                   Paid To / Received From                      Description Of Transaction                Trans. Code        Deposits ($)         Disbursements ($)        Balance ($)


 *     12/29/14                   P & G Automotive, Inc.                          Premium Finance payment                               1121-003                    1,015.50                              1,762,689.59
                                  DBA 505 Club                                    Premium Finance Insurance payment sent to Berjac
                                                                                  of Portland.

 *     12/29/14                   Oules & Lippincott, Inc.                        Premium Finance payment                               1121-003                     516.56                               1,763,206.15
                                  DBA Ringo's Bar & Grill                         Premium Finance Insurance payment sent to Berjac
                                                                                  of Portland.

       12/29/14        10         Custom Concepts Construction                    Premium Finance payment                               1121-000                      79.16                               1,763,285.31
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       12/29/14        10         Resys, Inc.                                     Premium Finance payment                               1121-000                    1,172.66                              1,764,457.97
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       12/30/14        10         TMM Inc.                                        Premium Finance payment                               1121-000                     445.60                               1,764,903.57
                                  DBA 45th Street Pub & Grill                     Premium Finance Insurance payment to Berjar of
                                                                                  Oregon

       12/30/14      003051       THOMPSON KESSLER WIEST & BORQUIST, PC           Payment of 9/30/14 Invoice per                        3410-000                                            1,581.00      1,763,322.57
                                  CERTIFIED PUBLIC ACCOUNTANTS                    Notice - Doc. 738.
                                  111 SW COLUMBIA, SUITE 750
                                  PORTLAND, OR 97201

       12/30/14      003052       INPUT 1, LLC                                    Payment of Invoice #4916,                             2990-000                                            3,750.00      1,759,572.57
                                  6200 CANOGA AVENUE, SUITE 400                   and Invoice #5177
                                  WOODLAND HILLS, CA 91367                        Website service payments due over next 60 days for
                                                                                  Berjac Premium Finance contract administration per
                                                                                  Notice of Intent to Incur Expenses - Document #757


        UST Form 101-7-TFR (5/1/2011) (Page: 72)
LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                      Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                     FORM 2                                                                                      Page:    58
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                  3                                              4                                                   5                        6              7
    Transaction    Check or                                                                                                          Uniform                                                     Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction             Trans. Code         Deposits ($)         Disbursements ($)    Balance ($)
                                                                                 - Filed 12/31/14.

       01/05/15       14          Jasper Junction, LLC                           Premium Finance payment                              1121-000                     372.11                           1,759,944.68
                                                                                 Per Notice of Intent to Settle & Compromise -
                                                                                 Document #514 - Filed 2/24/14.

       01/05/15       10          Escape Bar & Grill, LLC                        Premium Finance payment                              1121-000                     662.00                           1,760,606.68
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/05/15       10          McQueen's Bar & Grill                          Premium Finance payment                              1121-000                     759.45                           1,761,366.13
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/05/15       10          Geri Incdba Hubbard Inn                        Premium Finance payment                              1121-000                     169.48                           1,761,535.61
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/05/15       10          Geri Incdba Hubbard Inn                        Premium Finance payment                              1121-000                     136.66                           1,761,672.27
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/05/15       10          Bend Pawn & Trading Company                    Premium Finance payment                              1121-000                    1,576.21                          1,763,248.48
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       01/05/15       10          A & A Auto Sales                               Premium Finance payment                              1121-000                     130.07                           1,763,378.55
                                  from: Parham Insurance Agency, Inc.            Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       01/05/15       10          Dirty Bird Inc.                                Premium Finance payment                              1121-000                     132.01                           1,763,510.56


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                        Case 12-63884-tmr7            Doc 1729            Filed 07/18/19
                                                                                                 FORM 2                                                                                        Page:    59
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                   3                                           4                                                   5                      6                7
    Transaction    Check or                                                                                                         Uniform                                                    Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction              Trans. Code        Deposits ($)       Disbursements ($)      Balance ($)
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       01/05/15       10          Richard Vaughn                                Premium Finance payment                             1121-000                    219.41                            1,763,729.97
                                  DBA Vaughn Land and Cattle                    Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       01/05/15       10          Dale and Mary Phillips                        Premium Finance payment                             1121-000                    100.19                            1,763,830.16
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       01/06/15     003053        TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services -                      3991-000                                       14,342.40      1,749,487.76
                                  818 SW 3rd AVENUE, #109                       80% of November 2014 Invoice - #1266
                                  PORTLAND OR 97204                             Per Order Approving Payment of Norman Transeth
                                                                                & Associates, LLC Fees and Expenses - Document
                                                                                #556 - Filed 4/21/14.
                                                                                Per Trustee's Notice of Intent to Pay Forensic
                                                                                Accountant (November 2014 Invoice) - Document
                                                                                #737 - Filed 12/10/14.

       01/07/15       10          Darcelle XV, LLC                              Premium Finance payment                             1121-000                    685.00                            1,750,172.76
                                  Darcelle XV                                   Premium Finance Insurance payment sent to Berjac
                                                                                of Portland.

       01/07/15       10          AAA General Contracting LLC                   Premium Finance payment                             1121-000                    349.19                            1,750,521.95
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       01/07/15     003054        Tarlow Naito & Summers, LLP                   Attorney to Trustee Fees-other Firm                 3210-000                                      138,641.20      1,611,880.75
                                  2501 SW First Avenue                          50% of Interim Attorney Fees.
                                  Suite 390                                     50% of unpaid fees awarded under Order Allowing


       UST Form 101-7-TFR (5/1/2011) (Page: 74)
LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                             Page:    60
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                3                                                4                                                     5                      6                  7
    Transaction    Check or                                                                                                             Uniform                                                      Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code        Deposits ($)      Disbursements ($)         Balance ($)
                                  Portland, OR 97201                            Interim Compensation - Document #753 - Filed
                                                                                12/22/14. The other 50% was held back pending
                                                                                running of the 14-day period for creditors to appeal
                                                                                Order Document #753.

       01/07/15     003055        Tarlow Naito & Summers, LLP                   Attorney to Trustee Exp -other firm                     3220-000                                          1,785.01      1,610,095.74
                                  2501 SW First Avenue                          50% of unpaid expenses awarded under Order
                                  Suite 390                                     Allowing Interim Compensation - Document #753 -
                                  Portland, OR 97201                            Filed 12/22/14. Expenses paid after expiration of 14
                                                                                day appeal period on Order Document #753.
                                                                                Previous expenses of $16,554 were paid per Notice
                                                                                of Intent to Incur Expenses - Document #672 - Filed
                                                                                9/10/14.

       01/07/15     003056        Thomas A. Huntsberger, Trustee                Trustee Compensation                                    2100-000                                      36,145.25         1,573,950.49
                                  Thomas A. Huntsberger, P.C.                   50% of InterimTrustee Compensation - Fees
                                  870 W. Centennial Blvd.                       50% of unpaid fees awarded under Order Allowing
                                  Springfield, OR 97477                         Interim Compensation - Document #753 - Filed
                                                                                12/22/14. The other 50% was held back pending
                                                                                running of the 14-day period for creditor to appeal
                                                                                Order Document #753.

       01/07/15     003057        Thomas A. Huntsberger, Trustee                Trustee Expenses                                        2200-000                                           526.38       1,573,424.11
                                  Thomas A. Huntsberger, P.C.                   50% of unpaid expenses awarded under Order
                                  870 W. Centennial Blvd.                       Allowing Interim Compensation - Document #753 -
                                  Springfield, OR 97477                         Filed 12/22/14. Expenses paid after expiration of 14
                                                                                day appeal period on Order Document #753.
                                                                                Previous expenses of $16,554 were paid per Notice
                                                                                of Intent to Incur Expenses - Document #672 - Filed
                                                                                9/10/14.




       UST Form 101-7-TFR (5/1/2011) (Page: 75)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                            Page:    61
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:           12-63884 -TMR                                                                                                 Trustee Name:                       THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                              Bank Name:                          Union Bank
                                                                                                                                   Account Number / CD #:              2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):      $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1            2                                    3                                          4                                                      5                         6              7
     Transaction    Check or                                                                                                           Uniform                                                      Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                Trans. Code         Deposits ($)          Disbursements ($)    Balance ($)
       01/09/15        10         Sheldon Virgin dba:                            Premium Finance payment                                1121-000                       50.15                           1,573,474.26
                                  Cherry City Pest Control                       Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       01/09/15        10         A & A Auto Sales                               Premium Finance payment                                1121-000                      140.00                           1,573,614.26
                                  from: Parham Insurance Agency, Inc.            Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

 *     01/13/15                   P & G Automotive, Inc.                         Premium Finance payment                                1121-003                    -1,015.50                          1,572,598.76
                                  DBA 505 Club                                   1/6/15 Notice from Union Bank stating stop
                                                                                 payment issued on check. Bank adjusted on 1/6/15.

 *     01/13/15                   Oules & Lippincott, Inc.                       Premium Finance payment                                1121-003                     -516.56                           1,572,082.20
                                  DBA Ringo's Bar & Grill                        1/2/15/ Notice from Union Bank, stop payment on
                                                                                 check was issued. Bank adjusted on 1/2/15

       01/13/15        10         John & Barbara Lefore                          Premium Finance payment                                1121-000                      172.71                           1,572,254.91
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       01/13/15        10         Oules & Lippincott, Inc.                       Premium Finance payment                                1121-000                      537.22                           1,572,792.13
                                  DBA: Ringo's Bar & Grill                       Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/13/15        10         P & G Automotive, Inc.                         Premium Finance payment                                1121-000                    1,015.50                           1,573,807.63
                                  505 Club                                       Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/13/15        10         The Spot Again, Inc.                           Premium Finance payment                                1121-000                      653.36                           1,574,460.99
                                  From: FJD Sandquist LLC                        Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.


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LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                        Case 12-63884-tmr7          Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                           Page:    62
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                     3                                           4                                                    5                        6                7
    Transaction    Check or                                                                                                             Uniform                                                     Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)      Balance ($)


       01/13/15       10          MG LLC                                         Premium Finance payment                                1121-000                    704.00                             1,575,164.99
                                  DBA The Spare Room Restaurant                  Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/13/15       10          Little Devil, LLC                              Premium Finance payment                                1121-000                    928.83                             1,576,093.82
                                  From: Devils Point                             Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/13/15       10          Lucky Devil, LLC                               Premium Finance payment                                1121-000                    857.00                             1,576,950.82
                                  DBA Lucky Devil Lounge                         Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/13/15       10          Wigwam Corporation                             Premium Finance payment                                1121-000                    498.92                             1,577,449.74
                                  DBA Wigwam Tavern                              Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/13/15       10          Hitchin Post Pizza, Inc.                       Premium Finance payment                                1121-000                    341.00                             1,577,790.74
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/13/15     003058        BRUCE McLELLAN                                 Refund of overpayment on                               2990-000                                           250.00      1,577,540.74
                                  C/O BRADLEY S. COPELAND                        settlement check regarding Adv. Proc. No
                                  ARNOLD, GALLAGHER, SAYDACK, et al              14-06138-tmr - Huntsberger v. McLellan
                                  800 WILLAMETTE ST. - SUITE 800                 Atty Copeland had his client issue settlement check
                                  EUGENE, OR 97401                               for $22,750 instead of $22,500. Original check was
                                                                                 Deposit #194 made on 12/2/14.
                                                                                 Adversary Proceeding No. 14-06138 - Huntsberger
                                                                                 v. McLellan.

       01/14/15       10          Summit Bank                                    Premium Finance payment                                1121-000                   5,596.47                            1,583,137.21


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LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                               Page:    63
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                              3                                                 4                                                     5                        6                  7
    Transaction    Check or                                                                                                           Uniform                                                         Account / CD
       Date        Reference                Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)        Balance ($)
                                  96 East Broadway                            This deposit closes out the Summit Bank accounts
                                  Eugene, OR 97401                            that Berjac of Oregon used for the running of the
                                                                              Premium Finance Insurance business.

       01/15/15       10          PATTI'S DELI                                Premium Finance payment                                  1121-000                     350.00                               1,583,487.21
                                  GRESHAM MAIN STREET DELI, LLC               Acct #BOP-33662; Payment 10 of 10
                                  2253 NE BURNSIDE ROAD
                                  GRESHAM, OR 97080

       01/15/15       21          ELIZABETH B. PORTER                         Return of Preferential Transfer                          1241-000                    3,600.00                              1,587,087.21
                                  STEVEN N. PORTER                            Settlement per Motion and Notice of Intent to Settle
                                  1927 SE 41ST AVENUE                         and Compromise Adversary Proceeding - Adv Pro
                                  PORTLAND, OR 97214                          Case No.14-06128. - Docket #17 - Filed 1/9/15.
                                                                              See Also Motion and Notice of Intent to Settle and
                                                                              Compromise Adversary Proceeding - Main case -
                                                                              Document #760 - Filed 1/9/15.

       01/16/15       10          AMBASSADOR SERVICE GROUP                    Premium Finance payment                                  1121-000                      50.00                               1,587,137.21
                                  402 16TH STREET NE SUITE 106
                                  AUBURN, WA 98002

       01/20/15     003059        DON BROWN & ASSOCIATES                      Refund of canceled premium payments                      2690-000                                              14.86       1,587,122.35
                                  260 NE 2ND STREET                           Chum's Poker Club, Acct #BOP-33795
                                  GRESHAM, OR 97030                           Refund of pre-paid premiums for cancelled
                                                                              insurance policies per Notice of Intent to Incur
                                                                              Expenses - Document #757 - Filed 12/31/14.

       01/20/15     003060        DON BROWN & ASSOCIATES                      Refund of canceled premium payments                      2690-000                                            9,576.00      1,577,546.35
                                  260 NE 2ND STREET                           Kon Tiki ltd., dba Silverado, Acct# BOP-33365.
                                  GRESHAM, OR 97030                           Refund of pre-paid premiums for cancelled
                                                                              insurance policies per Notice of Intent to Incur


       UST Form 101-7-TFR (5/1/2011) (Page: 78)
LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                  Case 12-63884-tmr7               Doc 1729            Filed 07/18/19
                                                                                               FORM 2                                                                                           Page:    64
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                         Union Bank
                                                                                                                              Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                              3                                               4                                                   5                        6                7
    Transaction    Check or                                                                                                         Uniform                                                     Account / CD
       Date        Reference                Paid To / Received From                      Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                                                              Expenses - Document #757 - Filed 12/31/14.

       01/20/15     003061        EUGENE WATER & ELECTRIC BOARD               Utility Bill - Eugene Office                          2690-000                                           143.38      1,577,402.97
                                  PO BOX 8990                                 Acct #15895-15239
                                  VANCOUVER WA 98668-8990                     Final utility bill for Eugene business office per
                                                                              Notice of Intent to Incur Expenses - Document #757
                                                                              - Filed 12/31/14.

       01/21/15       10          CUSTOM CONCEPTS CONSTRUCT                   Premium Finance payment                               1121-000                     79.16                             1,577,482.13
                                  PO BOX 2318                                 Acct# BOO-8599
                                  OREGON CITY, OR 97045-0202

       01/21/15       10          MARILYN DUNCAN                              Premium Finance payment                               1121-000                    300.00                             1,577,782.13
                                  PO BOX 126                                  Acct# BOO 8276
                                  DRAIN, OR 97435-0126

       01/21/15       10          GALL REAL ESTATE SERVICES, LLC              Premium Finance payment                               1121-000                    222.08                             1,578,004.21
                                  FOR AW STATE STREET, LLC                    ACct# BOO-8516, pmt #7
                                  PO BOX 748
                                  SALEM, OR 97308

       01/21/15       10          KELLY L. THOMAS                             Premium Finance payment                               1121-000                     88.73                             1,578,092.94
                                  DBA BEDROCK MASONRY                         Acct# BOO-8383
                                  1279 LISA CT NE
                                  KEIZER, OR 97303-3637

       01/21/15       10          MCKENZIE PUB, LLC                           Premium Finance payment                               1121-000                   1,172.00                            1,579,264.94
                                  16450 SW LANGER DR                          Acct# BOP-33530, Pmt #10
                                  SHERWOOD, OR 97140

       01/21/15       10          JOSE MELO                                   Premium Finance payment                               1121-000                    152.81                             1,579,417.75


       UST Form 101-7-TFR (5/1/2011) (Page: 79)
LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                  Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                               FORM 2                                                                                              Page:    65
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                         Union Bank
                                                                                                                               Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                             3                                                4                                                    5                        6                  7
    Transaction    Check or                                                                                                          Uniform                                                       Account / CD
       Date        Reference               Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                  3760 MARKET ST NE #312                     Acct# BOO-8441
                                  SALEM, OR 97301-1826

       01/22/15       10          SCANDALS LOUNGE & RESTAURANT INC.          Premium Finance payment                                 1121-000                   1,509.00                              1,580,926.75
                                  1125 SOUTHWEST STARK STREET                Acct# BOP-33522, Pmt# 11
                                  PORTLAND, OR 97205

       01/23/15       21          PATRICK W O'BRIEN                          Return of Preferential Transfer                         1241-000               10,500.00                                 1,591,426.75
                                  3361 EAST CHOCTAW DRIVE                    Settlement per Motion and Notice of Intent to Settle
                                  SIERRA VISTA, AZ 85650                     and Compromise Adversary Proceeding - Adv Pro
                                                                             Case No.14-06166. - Docket #5 - Filed 1/21/15.
                                                                             See Also Motion and Notice of Intent to Settle and
                                                                             Compromise Adversary Proceeding - Main case -
                                                                             Document #782 - Filed 1/21/15.

       01/23/15       21          BONNIE L. RHYNARD-BUHL TRUST               Return of Preferential Transfer                         1241-000               18,000.00                                 1,609,426.75
                                  BONNIE L. RHYNARD-BUHL TRSUTEE             Settlement per Motion and Notice of Intent to Settle
                                  WALTER R. BUHL TRUSTEE                     and Compromise Adversary Proceeding - Adv Pro
                                  273353 SW 45GH DRIVE                       Case No.14-06141. - Docket #5 - Filed 1/21/15.
                                  WILSONVILLE, OR97070                       See Also Motion and Notice of Intent to Settle and
                                                                             Compromise Adversary Proceeding - Main case -
                                                                             Document #780 - Filed 1/21/15.

       01/23/15     003062        INPUT 1, LLC                               Payment of Invoice #5266                                2690-000                                           1,250.00      1,608,176.75
                                  6200 CANOGA AVENUE, SUITE 400              Website service payments due over next 60 days for
                                  WOODLAND HILLS, CA 91367                   Berjac Premium Finance contract administration per
                                                                             Notice of Intent to Incur Expenses - Document #757
                                                                             - Filed 12/31/14.

       01/26/15       10          XL EXCAVATION LLC                          Premium Finance payment                                 1121-000                    280.42                               1,608,457.17
                                  85296 LORANE HWY                           Acct# BOO-8565, Pmt #6


       UST Form 101-7-TFR (5/1/2011) (Page: 80)
LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                 Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                            Page:    66
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                     3                                           4                                                     5                      6                  7
    Transaction    Check or                                                                                                            Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction               Trans. Code         Deposits ($)       Disbursements ($)        Balance ($)
                                  EUGENE, OR 97405

       01/26/15                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                          3,029.17      1,605,428.00

       01/28/15       14          Jasper Junction, LLC                           pmt on note                                            1121-000                    776.77                              1,606,204.77
                                                                                 Per Notice of Intent to Settle & Compromise -
                                                                                 Document #514 - Filed 2/24/14.

       01/29/15       10          R.J. Krumdieck Construction, Inc.              Premium Finance payment                                1121-000                    351.08                              1,606,555.85
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       01/29/15       27          Liberty Mutual Insurance                       REFUNDS                                                1290-000                    101.50                              1,606,657.35
                                  PO Box 5089                                    Refund of Alaska bond due to credit on account.
                                  Portland, OR 97208-5089

       01/30/15       10          PTJ, Inc.                                      Premium Finance payment                                1121-000                    410.04                              1,607,067.39
                                  Nicolai Street Clubhouse                       Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/30/15       10          R & M Ventures, Inc.                           Premium Finance payment                                1121-000                    630.00                              1,607,697.39
                                  LT's Pub                                       Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/30/15       10          Hitchin Post Pizza, Inc.                       Premium Finance payment                                1121-000                    341.00                              1,608,038.39
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       01/30/15       10          Lucky Devil Lounge, LLC                        Premium Finance payment                                1121-000                    857.00                              1,608,895.39
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.


       UST Form 101-7-TFR (5/1/2011) (Page: 81)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                      Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                          Page:    67
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                   Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                 3                                                4                                                    5                        6              7
    Transaction    Check or                                                                                                              Uniform                                                   Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)         Disbursements ($)    Balance ($)


       01/30/15       10          Resys, Inc                                     Premium Finance payment                                 1121-000                   1,172.66                          1,610,068.05
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       02/02/15       21          Marilyn H Rear                                 Return of Preferential Transfer                         1241-000               30,000.00                             1,640,068.05
                                  Angela H. Rear                                 Settlement per Motion and Notice of Intent to Settle
                                  91820 Territorial Road                         and Compromise Adversary Proceeding - Adv Pro
                                  Junction City, OR 97448-8514                   Case No.14-06131. - Docket #9 - Filed 12/16/14.
                                                                                 (Harper Farms, Inc.)
                                                                                 See Also Motion and Notice of Intent to Settle and
                                                                                 Compromise Adversary Proceeding - Main case -
                                                                                 Document #745 - Filed 12/16/14.

       02/02/15       21          Marilyn H Rear                                 Return of Preferential Transfer                         1241-000                   9,375.00                          1,649,443.05
                                  Angela H. Rear                                 Settlement per Motion and Notice of Intent to Settle
                                  91820 Territorial Road                         and Compromise Adversary Proceeding - Adv Pro
                                  Junction City, OR 97448-8514                   Case No.14-06140. - Docket #9 - Filed 12/16/14.
                                                                                 See Also Motion and Notice of Intent to Settle and
                                                                                 Compromise Adversary Proceeding - Main case -
                                                                                 Document #744 - Filed 12/16/14.

       02/02/15       10          A & A Auto Sales                               Premium Finance payment                                 1121-000                    130.07                           1,649,573.12
                                  From: Parham Insurance Agency, Inc.            Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       02/02/15       10          Bend Pawn & Trading Co.                        Premium Finance payment                                 1121-000                   1,576.21                          1,651,149.33
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       02/02/15       10          Smooth Systems Construction, Inc.              Premium Finance payment                                 1121-000                     61.05                           1,651,210.38


       UST Form 101-7-TFR (5/1/2011) (Page: 82)
LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                        Case 12-63884-tmr7           Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                         Page:    68
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                     3                                           4                                                    5                      6               7
    Transaction    Check or                                                                                                             Uniform                                                  Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)       Disbursements ($)     Balance ($)
                                  BOP 33712                                     Premium Finance Insurance payment sent to Berjac
                                  from: Don Brown Agencies, Inc.                of Oregon.

       02/02/15       10          Cherry City Pest Control                      Premium Finance payment                                 1121-000                    16.58                           1,651,226.96
                                  DBA: Sheldon Virgin                           Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       02/03/15     003063        TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services -                          3991-000                                     13,096.00      1,638,130.96
                                  818 SW 3rd AVENUE, #109                       80% of December 2014 Invoice - #1272
                                  PORTLAND OR 97204                             Per Order Approving Payment of Norman Transeth
                                                                                & Associates, LLC Fees and Expenses - Document
                                                                                #556 - Filed 4/21/14.
                                                                                Per Trustee's Notice of Intent to Pay Forensic
                                                                                Accountant (December 2014 Invoice) - Document
                                                                                #774 - Filed 1/16/15.

       02/04/15       10          Darcelle XV, LLC                              Premium Finance payment                                 1121-000                   685.00                           1,638,815.96
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Portland.

       02/04/15       10          McQueen's Bar & Grill                         Premium Finance payment                                 1121-000                   759.45                           1,639,575.41
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Portland.

       02/05/15       21          Matthew R. Glass                              Return of Preferential Transfer                         1241-000               20,500.00                            1,660,075.41
                                  2015 NW Village Cir                           Settlement per Motion and Notice of Intent to Settle
                                  Portland, OR 97229-7502                       and Compromise Adversary Proceeding - Adv Pro
                                                                                Case No.14-06128. - Docket #17 - Filed 1/9/15.
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #760 - Filed 1/9/15.


       UST Form 101-7-TFR (5/1/2011) (Page: 83)
LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                    FORM 2                                                                                          Page:    69
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                         Union Bank
                                                                                                                                    Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1           2                                 3                                                 4                                                    5                        6              7
    Transaction    Check or                                                                                                               Uniform                                                   Account / CD
       Date        Reference                  Paid To / Received From                         Description Of Transaction                 Trans. Code       Deposits ($)         Disbursements ($)    Balance ($)


       02/05/15       21          Robert & Kay Sogge                              Return of Preferential Transfer                         1241-000                   3,600.00                          1,663,675.41
                                  3620 Donald St.                                 Settlement per Motion and Notice of Intent to Settle
                                  Eugene, OR 97405-4728                           and Compromise Adversary Proceeding - Adv Pro
                                                                                  Case No.14-06128. - Docket #17 - Filed 1/9/15.
                                                                                  See Also Motion and Notice of Intent to Settle and
                                                                                  Compromise Adversary Proceeding - Main case -
                                                                                  Document #760 - Filed 1/9/15.

       02/05/15       21          Sandy O'Malley                                  Return of Preferential Transfer                         1241-000                   6,303.67                          1,669,979.08
                                  92107 River Road                                Settlement per Motion and Notice of Intent to Settle
                                  Junction City, OR 97448                         and Compromise Adversary Proceeding - Adv Pro
                                                                                  Case No.14-06128. - Docket #17 - Filed 1/9/15.
                                                                                  See Also Motion and Notice of Intent to Settle and
                                                                                  Compromise Adversary Proceeding - Main case -
                                                                                  Document #760 - Filed 1/9/15.

       02/05/15       21          Timothy A. Hutchinson                           Return of Preferential Transfer                         1241-000               18,000.00                             1,687,979.08
                                  23 Lockwood Drive                               Settlement per Motion and Notice of Intent to Settle
                                  San Rafael, CA 94901-1413                       and Compromise Adversary Proceeding - Adv Pro
                                                                                  Case No.14-06128. - Docket #17 - Filed 1/9/15.
                                                                                  See Also Motion and Notice of Intent to Settle and
                                                                                  Compromise Adversary Proceeding - Main case -
                                                                                  Document #760 - Filed 1/9/15.

       02/05/15       21          Glass Tree Care & Spray Service, INC.           Return of Preferential Transfer                         1241-000               17,400.00                             1,705,379.08
                                  PO Box 40205                                    Settlement per Motion and Notice of Intent to Settle
                                  Eugene, OR 97404-0025                           and Compromise Adversary Proceeding - Adv Pro
                                                                                  Case No.14-06128. - Docket #17 - Filed 1/9/15.
                                                                                  See Also Motion and Notice of Intent to Settle and
                                                                                  Compromise Adversary Proceeding - Main case -


       UST Form 101-7-TFR (5/1/2011) (Page: 84)
LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                      Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                            Page:    70
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                 3                                                4                                                    5                      6                  7
    Transaction    Check or                                                                                                              Uniform                                                     Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)       Disbursements ($)        Balance ($)
                                                                                 Document #760 - Filed 1/9/15.

       02/05/15       21          Watkinson Laird Rubenstein &                   Return of Preferential Transfer                         1241-000               20,160.00                               1,725,539.08
                                  Burgess, PC                                    Settlement per Motion and Notice of Intent to Settle
                                  Lawyer Trust Account                           and Compromise Adversary Proceeding - Adv Pro
                                  PO Box 10567                                   Case No.14-06142. - Docket #12 - Filed 1/9/15.
                                  Eugene, OR 97440-2567                          See Also Motion and Notice of Intent to Settle and
                                                                                 Compromise Adversary Proceeding - Main case -
                                                                                 Document #760 - Filed 1/9/15.

                                                                                 Check issued from law firm trust account for
                                                                                 Creditors Grant & Debra Spies.

       02/05/15       10          AAA General Contracting LLC                    Premium Finance payment                                 1121-000                   349.19                              1,725,888.27
                                  from: Parham Insurance                         Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon

       02/05/15     003064        INPUT 1, LLC                                   Payment of Invoice #5354                                2690-000                                         1,250.00      1,724,638.27
                                  6200 CANOGA AVENUE, SUITE 400                  Website service payments due over next 60 days for
                                  WOODLAND HILLS, CA 91367                       Berjac Premium Finance contract administration per
                                                                                 Notice of Intent to Incur Expenses - Document #757
                                                                                 - Filed 12/31/14.

       02/06/15       10          Magic Inn                                      Premium Finance payment                                 1121-000                   373.76                              1,725,012.03
                                  BOP 33787                                      Premium Finance Insurance payment sent to Berjac
                                  from: D. Brown Agencies, Inc.                  of Oregon. (Unearned premium due back.)

       02/09/15       10          Dirty Bird Inc.                                Premium Finance payment                                 1121-000                   132.01                              1,725,144.04
                                                                                 Premium Finance Insurance sent to Berjac of
                                                                                 Oregon.




       UST Form 101-7-TFR (5/1/2011) (Page: 85)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                    FORM 2                                                                                          Page:    71
                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                         Union Bank
                                                                                                                                    Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1           2                                   3                                               4                                                    5                        6              7
    Transaction    Check or                                                                                                               Uniform                                                   Account / CD
       Date        Reference                     Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)    Balance ($)
       02/09/15       10          Dale & Mary Phillips                             Premium Finance payment                                1121-000                    100.19                           1,725,244.23
                                                                                   Premium Finance Insurance sent to Berjac of
                                                                                   Oregon.

       02/09/15       10          Patti's Deli                                     Premium Finance payment                                1121-000                    350.00                           1,725,594.23
                                                                                   Premium Finance Insurance sent to Berjac of
                                                                                   Portland.

       02/09/15       10          McKenzie Pub, LLC                                Premium Finance payment                                1121-000                   1,172.00                          1,726,766.23
                                                                                   Premium Finance Insurance sent to Berjac of
                                                                                   Portland.

       02/11/15       10          Green Haven R.V. Park, LLC                       Premium Finance payment                                1121-000                    203.48                           1,726,969.71
                                                                                   Premium Finance Insurance payment sent to Berjac
                                                                                   of Oregon. (Jan 2015 payment for $104.22 and Feb
                                                                                   2015 payment for $99.26).

       02/17/15       10          Dustin Noffsinger                                Premium Finance payment                                1121-000                   1,205.20                          1,728,174.91
                                  dba: Dustin's Top Notch Camel Rides              Premium Finance Insurance payment sent to Berjac
                                  from: Zolezzi Insurance Agency                   of Oregon. Notice of Cancellation received 2/16/15.

       02/17/15       10          Magic Garden                                     Premium Finance payment                                1121-000                   1,660.04                          1,729,834.95
                                  BOP - 33589                                      Premium Finance Insurance payment sent to Berjac
                                  from: EverGuard Insurance Services, Inc.         of Portland. Payment received with notice of
                                                                                   cancellation.

       02/17/15       10          Wigwam Corporation                               Premium Finance payment                                1121-000                    498.92                           1,730,333.87
                                  Wigwam Tavern                                    Premium Finance Insurance payment sent to Berjac
                                                                                   of Portland.

       02/17/15       10          Donald R. Hale                                   Premium Finance payment                                1121-000                    133.00                           1,730,466.87


       UST Form 101-7-TFR (5/1/2011) (Page: 86)
LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                        Case 12-63884-tmr7            Doc 1729              Filed 07/18/19
                                                                                                    FORM 2                                                                                         Page:    72
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                   Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                  3                                                4                                                   5                        6              7
    Transaction    Check or                                                                                                              Uniform                                                   Account / CD
       Date        Reference                  Paid To / Received From                         Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)    Balance ($)
                                  dba: Northwest Woodworks                        Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       02/17/15       10          AW State Street, LLC                            Premium Finance payment                                1121-000                    222.08                           1,730,688.95
                                  from: Gall Real Estate Services, LLC            Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       02/19/15       10          Jose Melo                                       Premium Finance payment                                1121-000                    152.81                           1,730,841.76
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       02/19/15       10          Ambassador Service Group                        Premium Finance payment                                1121-000                     50.00                           1,730,891.76
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       02/19/15       10          Ricardo Ramirez Construction                    Premium Finance payment                                1121-000                   1,448.77                          1,732,340.53
                                  from: Parham Insurance Agency, Inc.             Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       02/23/15       10          XL Excavation LLC                               Premium Finance payment                                1121-000                    280.42                           1,732,620.95
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       02/23/15       16          Cascade Escrow                                  pmt on note                                            1121-000               10,159.38                             1,742,780.33
                                  811 Willamette St.                              Per Notice of Intent to Settle & Compromise -
                                  Eugene, OR 97401                                Document #514 - Filed 2/24/14.
                                                                                  Payment for sale of property at 797 & 799 64th St.,
                                                                                  Springfield, OR 97478. See Also Notice of Intent to
                                                                                  Sell Property - Document #769 - Filed 1/13/15.

       02/23/15       21          Steven & Rosamond Cochran                       Return of Preferential Transfer                        1241-000                   6,600.00                          1,749,380.33


       UST Form 101-7-TFR (5/1/2011) (Page: 87)
LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                         Case 12-63884-tmr7           Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                            Page:    73
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                  3                                              4                                                    5                      6                  7
    Transaction    Check or                                                                                                             Uniform                                                     Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)       Disbursements ($)        Balance ($)
                                  92081 Sharewater Lane                         Settlement per Motion and Notice of Intent to Settle
                                  Cheshire, OR 97419-9704                       and Compromise Adversary Proceeding - Adv Pro
                                                                                Case No.14-06128. - Docket #12 - Filed 1/9/15.
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #760 - Filed 1/9/15.

       02/23/15       21          Kathleen G. Kiefer                            Return of Preferential Transfer                         1241-000               21,000.00                               1,770,380.33
                                  20738 Prince John Ct.                         Settlement per Motion and Notice of Intent to Settle
                                  Bend, OR 97702                                and Compromise Adversary Proceeding - Adv Pro
                                                                                Case No.14-06130. - Docket #5 - Filed 11/20/14.
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #777 - Filed 11/20/14.

       02/23/15       10          John & Barbara Lefore                         Premium Finance payment                                 1121-000                   172.07                              1,770,552.40
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       02/23/15     003065        DON BROWN & ASSOCIATES                        Refund of canceled premium payments                     2690-000                                         1,214.73      1,769,337.67
                                  260 NE 2ND STREET                             Escape Bar & Grill (Acct # BOP 33480).
                                  GRESHAM, OR 97030                             Refund of pre-paid premiums for three (3) cancelled
                                                                                Premium Finance insurance policies per Notice of
                                                                                Intent to Incur Expenses - Document #806 - Filed
                                                                                2/3/15.

       02/23/15     003066        DON BROWN & ASSOCIATES                        Refund of canceled premium payments                     2690-000                                          630.00       1,768,707.67
                                  260 NE 2ND STREET                             LT's Pub (Acct # BOP 33472).
                                  GRESHAM, OR 97030                             Refund of pre-paid premiums for three (3) cancelled
                                                                                Premium Finance insurance policies per Notice of
                                                                                Intent to Incur Expenses - Document #806 - Filed


       UST Form 101-7-TFR (5/1/2011) (Page: 88)
LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                    FORM 2                                                                                             Page:    74
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                   Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                  3                                               4                                                    5                        6                  7
    Transaction    Check or                                                                                                              Uniform                                                       Account / CD
       Date        Reference                    Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                  2/3/15.

       02/23/15     003067        DON BROWN & ASSOCIATES                          Refund of canceled premium payments                    2690-000                                           1,500.66      1,767,207.01
                                  260 NE 2ND STREET                               Lucky Devil Loung (Acct # BOP 33506).
                                  GRESHAM, OR 97030                               Refund of pre-paid premiums for three (3) cancelled
                                                                                  Premium Finance insurance policies per Notice of
                                                                                  Intent to Incur Expenses - Document #806 - Filed
                                                                                  2/3/15.

       02/24/15       10          R.J. Krumdieck Construction Inc.                Premium Finance payment                                1121-000                    351.07                               1,767,558.08
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       02/25/15       10          S & V Garcia Investments LLC                    Premium Finance payment                                1121-000                    461.91                               1,768,019.99
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       02/25/15                   Union Bank                                      BANK SERVICE FEE                                       2600-000                                           2,430.66      1,765,589.33

       02/26/15       10          Green Haven RV Park LLC                         Premium Finance payment                                1121-000                    104.22                               1,765,693.55
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       02/26/15       10          Custom Concepts Construction                    Premium Finance payment                                1121-000                     79.16                               1,765,772.71
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       02/26/15       10          Resys, Inc.                                     Premium Finance payment                                1121-000                   1,172.66                              1,766,945.37
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.




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LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                      Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                                Page:    75
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                   Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                3                                              4                                                       5                        6                  7
    Transaction    Check or                                                                                                            Uniform                                                         Account / CD
       Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)        Balance ($)
       02/27/15       16          Max B. Jordan                                pmt on note                                              1121-000                     220.10                               1,767,165.47
                                                                               Per Notice of Intent to Settle & Compromise -
                                                                               Document #514 - Filed 2/24/14.
                                                                               Rent on 6366/6368 F Street duplex.

       03/02/15       10          Cochrane Group of Insurance Companies        Premium Finance payment                                  1121-000                    1,271.59                              1,768,437.06
                                                                               Premium Finance Insurance payment sent to Berjac
                                                                               of Portland.

       03/02/15       10          Wigwam Corporation                           Premium Finance payment                                  1121-000                     498.92                               1,768,935.98
                                  dba: Wigwam Tavern                           Premium Finance Insurance payment sent to Berjac
                                                                               of Portland.

       03/04/15     003068        INPUT 1, LLC                                 Payment of Invoice #5439                                 2690-000                                            1,250.00      1,767,685.98
                                  6200 CANOGA AVENUE, SUITE 400                Website service payments for up tot 60 additional
                                  WOODLAND HILLS, CA 91367                     days for Berjac Premium Finance contract
                                                                               administration per Notice of Intent to Incur
                                                                               Expenses - Document #806- Filed 2/3/15.

       03/06/15       10          XL EXCAVATION                                Premium Finance payment                                  1121-000                     274.92                               1,767,960.90
                                  85296 LORANE HWY
                                  EUGENE, OR 97405

       03/06/15       16          MAX B JORDAN                                 pmt on note                                              1121-000                     100.00                               1,768,060.90
                                  797 NORTH 64TH                               Per Notice of Intent to Settle & Compromise -
                                                                               Document #514 - Filed 2/24/14.

       03/06/15     003069        TRANSETH & ASSOCIATES, LLC                   Forensic Accounting Services -                           3991-000                                        12,752.80         1,755,308.10
                                  818 SW 3rd AVENUE, #109                      80% of February 2015 Invoice - #1276
                                  PORTLAND OR 97204                            Per Order Approving Payment of Norman Transeth
                                                                               & Associates, LLC Fees and Expenses - Document


       UST Form 101-7-TFR (5/1/2011) (Page: 90)
LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                         Page:    76
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                     3                                           4                                                    5                        6              7
    Transaction    Check or                                                                                                             Uniform                                                   Account / CD
       Date        Reference                  Paid To / Received From                        Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)    Balance ($)
                                                                                 #556 - Filed 4/21/14.
                                                                                 Per Trustee's Notice of Intent to Pay Forensic
                                                                                 Accountant (February 2015 Invoice) - Document
                                                                                 #835 - Filed 2/18/15.

       03/09/15       10          AAA General Contracting LLC                    Premium Finance payment                                1121-000                    349.19                           1,755,657.29
                                  from: Parham Insurance Agency, Inc.            Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       03/11/15       23          Perkins Coie                                   Reimbursement of Misc Expenses                         1290-000                   1,986.37                          1,757,643.66
                                  1201 Third Ave - Ste 4900                      Document production costs shared by Stoll Berne,
                                  Seattle, WA 98101                              Sokol & Gray & Perkins Coie regarding requests for
                                                                                 trustee records related to Esler Class Action case.

       03/11/15       10          P.T.J., Inc.                                   Premium Finance payment                                1121-000                    410.04                           1,758,053.70
                                  Nicolai Street Clubhouse                       Premium Insurance Finance payment sent to Berjac
                                                                                 of Portland.

       03/11/15       10          Eagles Aeire #2183 F.O.E.                      Premium Finance payment                                1121-000                    575.69                           1,758,629.39
                                  Goose Lake Eagles Aeire                        Premium Insurance Finance payment sent to Berjac
                                                                                 of Portland.

       03/11/15       10          Little Devil, LLC                              Premium Finance payment                                1121-000                    928.83                           1,759,558.22
                                  Devils Point Bar & Grill                       Premium Insurance Finance payment sent to Berjac
                                                                                 of Portland.

       03/11/15       10          Little Devil, LLC                              Premium Finance payment                                1121-000                   1,264.00                          1,760,822.22
                                  Devils Point Bar & Grill                       Premium Insurance Finance payment sent to Berjac
                                                                                 of Portland.

       03/11/15       10          Dale and Mary Phillips                         Premium Finance payment                                1121-000                    100.19                           1,760,922.41


       UST Form 101-7-TFR (5/1/2011) (Page: 91)
LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                        Case 12-63884-tmr7          Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                        Page:    77
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                         Union Bank
                                                                                                                               Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                  3                                            4                                                   5                        6              7
    Transaction    Check or                                                                                                         Uniform                                                    Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction              Trans. Code        Deposits ($)         Disbursements ($)    Balance ($)
                                                                                Premium Insurance Finance payment sent to Berjac
                                                                                of Oregon.

       03/12/15       10          Bend Pawn & Trading Co.                       Premium Finance payment                             1121-000                    1,576.21                          1,762,498.62
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon

       03/16/15       10          Goose Lake Eagles Aeire #2183                 Premium Finance payment                             1121-000                     731.34                           1,763,229.96
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Portland.

       03/16/15       10          Darcelle XV, LLC                              Premium Finance payment                             1121-000                     685.00                           1,763,914.96
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Portland.

       03/16/15       10          Scandals Lounge & Restaurant, Inc.            Premium Finance payment                             1121-000                    1,509.00                          1,765,423.96
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Portland.

       03/16/15       10          Big Sky Underwriters                          Premium Finance payment                             1121-000                     431.04                           1,765,855.00
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       03/16/15       10          John & Barbara Lefore                         Premium Finance payment                             1121-000                     172.71                           1,766,027.71
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       03/16/15       10          Custom Concepts Construction                  Premium Finance payment                             1121-000                      79.16                           1,766,106.87
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.




       UST Form 101-7-TFR (5/1/2011) (Page: 92)
LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                       Case 12-63884-tmr7          Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                            Page:    78
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                         Union Bank
                                                                                                                               Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                   3                                            4                                                  5                        6                  7
    Transaction    Check or                                                                                                         Uniform                                                        Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction              Trans. Code        Deposits ($)         Disbursements ($)        Balance ($)
       03/16/15       10          Donald & Leslie Hale                          Premium Finance payment                             1121-000                      62.92                               1,766,169.79
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       03/18/15     003070        THOMAS A. HUNTSBERGER                         Pro-Rata Bond Premium                               2300-000                                            1,009.63      1,765,160.16
                                  ATTORNEY AT LAW                               4/4/2015 to 4/4/2016
                                  870 W. CENTENNIAL BLVD
                                  SPRINGFIELD, OR 97477

       03/19/15       10          Jose Melo                                     Premium Finance payment                             1121-000                     152.81                               1,765,312.97
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       03/19/15       10          Gall Real Estate Services LLC                 Premium Finance payment                             1121-000                     222.08                               1,765,535.05
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

                                                                                For: AW State Street, LLC.

       03/19/15       10          Union Jack Corporation                        Premium Finance payment                             1121-000                    1,833.87                              1,767,368.92
                                  dba: Union Jacks Club                         Premium Finance Insurance payment sent to Berjac
                                                                                of Portland.

       03/23/15       10          Cochrane Group of Insurance Companies         Premium Finance payment                             1121-000                    1,149.85                              1,768,518.77
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Portland.
                                                                                Paid on behalf of Don Brown Agencies.

       03/23/15       10          Ambassador Service Group                      Premium Finance payment                             1121-000                      50.00                               1,768,568.77
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Portland.


       UST Form 101-7-TFR (5/1/2011) (Page: 93)
LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                     FORM 2                                                                                               Page:    79
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit B
  Case No:          12-63884 -TMR                                                                                                     Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                  Bank Name:                         Union Bank
                                                                                                                                      Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                         Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                      Separate Bond (if applicable):


           1           2                                     3                                             4                                                      5                        6                  7
    Transaction    Check or                                                                                                                 Uniform                                                       Account / CD
       Date        Reference                    Paid To / Received From                       Description Of Transaction                   Trans. Code       Deposits ($)         Disbursements ($)        Balance ($)


       03/23/15       10          XL Excavation                                   Premium Finance payment                                   1121-000                    274.98                               1,768,843.75
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       03/25/15     003071        THOMAS A. HUNTSBERGER, TRUSTEE                  Trustee Compensation                                      2100-000                                             18.01       1,768,825.74
                                  870 W. CENTENNIAL BLVD                          Additional payment--previous payment were
                                  SPRINGFIELD, OR 97477                           miscalculated by $18.01. Per Document #753 -
                                                                                  Filed 12/22/14.

       03/25/15                   Union Bank                                      BANK SERVICE FEE                                          2600-000                                           1,318.53      1,767,507.21

       03/27/15       10          Ricardo Ramirez Construction                    Premium Finance payment                                   1121-000                    500.00                               1,768,007.21
                                  from: Parham Insurance Agency, Inc.             Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       03/30/15       10          Resys, Inc.                                     Premium Finance payment                                   1121-000                   1,172.66                              1,769,179.87
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       03/30/15       10          Little Devil, LLC                               Premium Finance payment                                   1121-000                   1,264.00                              1,770,443.87
                                  Devils Point Bar & Grill                        Premium Finance Insurance payment sent to Berjac
                                                                                  of Portland.

       03/30/15     003072        EUGENE WATER & ELECTRIC BOARD                   Payment of February Utility Bill                          2690-000                                             10.00       1,770,433.87
                                  PO BOX 8990                                     Acct #15895-15239
                                  VANCOUVER, WA 98668-8990                        Account closing charge for utility account of
                                                                                  Berjac's Eugene office - per Notice of Intent to Incur
                                                                                  Expenses - Document #851 - Filed 3/11/15.

       03/30/15     003073        DON BROWN & ASSOCIATES                          Refund of canceled premium payments                       2690-000                                           5,443.04      1,764,990.83


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LFORM2T4                                                                                                                                                                                                          Ver: 22.01b
                                                                        Case 12-63884-tmr7             Doc 1729            Filed 07/18/19
                                                                                                     FORM 2                                                                                            Page:    80
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                     Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                  Bank Name:                         Union Bank
                                                                                                                                      Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                         Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                      Separate Bond (if applicable):


           1           2                                  3                                                 4                                                     5                        6               7
    Transaction    Check or                                                                                                                Uniform                                                     Account / CD
       Date        Reference                    Paid To / Received From                       Description Of Transaction                  Trans. Code        Deposits ($)         Disbursements ($)     Balance ($)
                                  260 NE 2ND STREET                               $1,102.00 - FBO Circa 33 - BOP 33563
                                  GRESHAM, OR 97030                               $1,509.00 - Scandals - BOP 33522
                                                                                  $1,172.00 - McKenzie Pub - BOP 33530
                                                                                  $1,660.04 - Magic Garden - BOP 33589
                                                                                  Refund of pre-paid premiums for four cancelled
                                                                                  Premium Finance insurance policies - per Notice of
                                                                                  Intent to Incur Expenses - Document #851 - Filed
                                                                                  3/11/15.

       04/01/15       10          Resys, Inc.                                     Premium Finance payment                                  1121-000                    1,172.66                           1,766,163.49
                                                                                  Premium Finance Insurance payment sent to Berjac
                                                                                  of Oregon.

       04/03/15     003074        TRANSETH & ASSOCIATES, LLC                      Forensic Accounting Services -                           3991-000                                        11,010.20      1,755,153.29
                                  818 SW 3rd AVENUE, #109                         80% of February 2015 Invoice
                                  PORTLAND OR 97204                               Per Order Approving Payment of Norman Transeth
                                                                                  & Associates, LLC Fees and Expenses - Document
                                                                                  #556 - Filed 4/21/14.
                                                                                  Per Trustee's Notice of Intent to Pay Forensic
                                                                                  Accountant (February 2015 Invoice) - Document
                                                                                  #855 - Filed 3/17/15.

       04/06/15       16          Cascade Escrow                                  pmt on note                                              1121-000               406,200.18                              2,161,353.47
                                  811 Willamette St.                              Per Notice of Intent to Settle & Compromise -
                                  Eugene, OR 97401                                Document #514 - Filed 2/24/14.
                                                                                  See Also Notice of Intent to Sell Property at Private
                                                                                  Sale and Compensate Real Estate Broker (85831
                                                                                  Parklane Circle, Pleasant Hill, OR 97455). -
                                                                                  Document #841 - Filed 2/24/15.

       04/06/15       23          Gaydos, Churnside & Balthrop PC                 Reimbursement of Misc Expenses                           1290-000                     419.68                            2,161,773.15


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LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                      Case 12-63884-tmr7               Doc 1729            Filed 07/18/19
                                                                                                     FORM 2                                                                                               Page:    81
                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit B
  Case No:          12-63884 -TMR                                                                                                      Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                   Bank Name:                       Union Bank
                                                                                                                                       Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                          Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                       Separate Bond (if applicable):


           1           2                                   3                                                4                                                      5                       6                  7
    Transaction    Check or                                                                                                                Uniform                                                        Account / CD
       Date        Reference                     Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)          Disbursements ($)      Balance ($)
                                  PO Box 1499                                      One-half cost of deposition exhibits and transcripts
                                  Eugene, OR 97440                                 relating to Huntsberger v Curtis Restaurant
                                                                                   Equipment et al. US Adv Proc No. 12-06189-tmr.

       04/06/15       10          AAA General Contracting, LLC                     Premium Finance payment                                  1121-000                    165.76                               2,161,938.91
                                  from: Ana L. Mouret Romero                       Premium Finance Insurance payment sent to Berjac
                                                                                   of Oregon.

       04/06/15       10          Parham Insurance Agency Inc.                     Premium Finance payment                                  1121-000                         5.00                            2,161,943.91
                                  Acct. # BOP 8381                                 Premium Finance Insurance payment sent to Berjac
                                                                                   of Oregon.

       04/07/15     003075        INPUT 1, LLC                                     Payment of Invoice #5523                                 2690-000                                           1,250.00      2,160,693.91
                                  6200 CANOGA AVENUE, SUITE 400                    Website service payments for up tot 60 additional
                                  WOODLAND HILLS, CA 91367                         days for Berjac Premium Finance contract
                                                                                   administration per Notice of Intent to Incur
                                                                                   Expenses - Document #806- Filed 2/3/15.

       04/08/15       28          Kenneth S. Eiler                                 Pmt on HFLP Claim                                        1249-000               992,000.00                                3,152,693.91
                                  PMB 810                                          Per Motion and Notice of Intent to Settle and
                                  515 NW Saltzman Road                             Compromise - Document #751 - Filed 12/19/14.
                                  Portland, OR 97229                               Payment on distribution from Holcomb Family
                                                                                   Limited Partnership.

       04/09/15       10          Patti's Deli                                     Premium Finance payment                                  1121-000                    294.61                               3,152,988.52
                                                                                   Premium Finance Insurance payment sent to Berjac
                                                                                   of Portland.

       04/10/15       10          Dale & Mary Phillips                             Premium Finance payment                                  1121-000                    100.19                               3,153,088.71
                                                                                   Premium Finance Insurance payment sent to Berjac
                                                                                   of Oregon.


       UST Form 101-7-TFR (5/1/2011) (Page: 96)
LFORM2T4                                                                                                                                                                                                          Ver: 22.01b
                                                                       Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                             Page:    82
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                  3                                              4                                                   5                        6                  7
    Transaction    Check or                                                                                                          Uniform                                                         Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction              Trans. Code         Deposits ($)         Disbursements ($)        Balance ($)


       04/10/15       27          Travelers Property Casualty                    Insurance Refund                                     1290-000                     537.00                               3,153,625.71
                                  CL Alternative Market Division -               Overpayment for Workers Compensation Policy for
                                  Policy Prefix 6UB                              Vreeland, John,
                                  PO Box 26385
                                  Richmond, VA 23260-6385

       04/10/15     003076        AMERICAN PROPERTY MANAGEMENT                   Rent - Berjac Portland Office                        2410-000                                            1,189.05      3,152,436.66
                                                                                 8800 SE Sunnyside Rod, #180N
                                                                                 Clackamas, OR
                                                                                 Per Motion and Notice of Intent to Settle and
                                                                                 Compromise - Document #852 - Filed 3/11/15.

       04/15/15       10          John & Barbara Lefore                          Premium Finance payment                              1121-000                     172.71                               3,152,609.37
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       04/17/15       10          Jose Melo                                      Premium Finance payment                              1121-000                     152.81                               3,152,762.18
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       04/20/15       10          AMBASSADOR SERVICE GROUP                       Premium Finance payment                              1121-000                      50.00                               3,152,812.18
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon

       04/23/15       10          Little Devil, LLC                              Premium Finance payment                              1121-000                    1,264.00                              3,154,076.18
                                  dba: Devils Point Bar & Grill                  Premium Finance Insurance payment sent to Berjac
                                                                                 of Portland.

       04/24/15       10          Parham Insurance Agency Inc.                   Premium Finance payment                              1121-000                     500.00                               3,154,576.18
                                  For: Ricardo Ramirez Construction              Premium Finance Insurance payment sent to Berjac


       UST Form 101-7-TFR (5/1/2011) (Page: 97)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                      Case 12-63884-tmr7            Doc 1729             Filed 07/18/19
                                                                                                    FORM 2                                                                                             Page:    83
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                    Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                 Bank Name:                       Union Bank
                                                                                                                                     Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                        Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                     Separate Bond (if applicable):


           1           2                                 3                                                4                                                      5                      6                  7
    Transaction    Check or                                                                                                              Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                        Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                                                                 of Oregon.

       04/27/15                   Union Bank                                     BANK SERVICE FEE                                         2600-000                                          1,500.35      3,153,075.83

       04/30/15       10          CUSTOM CONCEPTS CONSTRUCT                      Premium Finance payment                                  1121-000                    79.16                               3,153,154.99
                                  PO BOX 2318                                    Premium Finance Insurance payment sent to Berjac
                                  OREGON CITY, OR 97045-0202                     of Portland.

       05/04/15     003077        TRANSETH & ASSOCIATES, LLC                     Forensic Accounting Services -                           3991-000                                      11,856.40         3,141,298.59
                                  818 SW 3rd AVENUE, #109                        80% of March 2015 Invoice
                                  PORTLAND OR 97204                              Per Order Approving Payment of Norman Transeth
                                                                                 & Associates, LLC Fees and Expenses - Document
                                                                                 #556 - Filed 4/21/14.
                                                                                 Per Trustee's Notice of Intent to Pay Forensic
                                                                                 Accountant (March 2015 Invoice) - Document #876
                                                                                 - Filed 4/10/15.

       05/05/15     003078        INPUT 1, LLC                                   Payment of Invoice #5608                                 2690-000                                          1,250.00      3,140,048.59
                                  6200 CANOGA AVENUE, SUITE 400                  Website service payments for up tot 60 additional
                                  WOODLAND HILLS, CA 91367                       days for Berjac Premium Finance contract
                                                                                 administration per Notice of Intent to Incur
                                                                                 Expenses - Document #851- Filed 3//11/15.

       05/05/15     003079        DON BROWN & ASSOCIATES                         Refund of canceled premium payments                      2690-000                                          1,381.54      3,138,667.05
                                  260 NE 2ND STREET                              Darcelle XV - BOP 33670
                                  GRESHAM, OR 97030                              Refund of pre-paid premium for one cancelled
                                                                                 Premium Finance insurance policy - per Notice of
                                                                                 Intent to Incur Expenses - Document #875 - Filed
                                                                                 4/16/15.

       05/07/15     003080        OREGON DEPARTMENT OF REVENUE                   Berjac of Oregon                                         2820-000                                           150.00       3,138,517.05


       UST Form 101-7-TFR (5/1/2011) (Page: 98)
LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                             Page:    84
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                3                                               4                                                      5                      6                  7
    Transaction    Check or                                                                                                            Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                Trans. Code         Deposits ($)       Disbursements ($)        Balance ($)
                                  PO Box 14725                                  XX-XXXXXXX
                                  SALEM, OR 97309-5018                          2014 Partnership Minimum Tax
                                                                                Per Motion and Notice of Intent to Incur Expenses;
                                                                                and Order Thereon - Document #1671 - Filed
                                                                                10/17/18.

       05/12/15     003081        DAVID K. REKDAHL, CPA, PC                     Accountant to Trustee - Fees                            3410-000                                          2,206.00      3,136,311.05
                                  1288 WINERY LANE                              Per Order for Compensation of Accountant -
                                  EUGENE, OR 97404                              Document #897 - Filed 5/11/15

       05/12/15     003082        DAVID K. REKDAHL, CPA, PC                     Accountant to Trustee - Expenses                        3420-000                                            14.00       3,136,297.05
                                  1288 WINERY LANE                              Per Order for Compensation of Accountant -
                                  EUGENE, OR 97404                              Document #897 - Filed 5/11/15

       05/18/15       10          Jose Melo                                     Premium Finance payment                                 1121-000                    152.81                              3,136,449.86
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       05/19/15     003083        MICHAEL GREENE                                Attorney to Trustee Fees-other Firm                     3210-000                                          5,150.00      3,131,299.86
                                  ROSENTHAL, GREENE & DEVLIN, P.C.              Trustee's Special Counsel - Final Compensation
                                  121 SW SALMON STREET - #1090                  Per Final Application for Interim Compensation -
                                  PORTLAND, OR 97204                            Document #857 - Filed 4/10/15 and Final
                                                                                Compensation per Order Allowing Interim
                                                                                Compensation - Document #905 - Filed 5/18/15.

       05/19/15     003084        KENT & JOHNSON, LLP                           Attorney to Trustee Fees-other Firm                     3210-000                                      43,714.00         3,087,585.86
                                  1500 SW TAYLOR                                80% of Interim Compensation - Trustee's Special
                                  PORTLAND, OR 97205                            Counsel
                                                                                Per Order Allowing Interim Compensation -
                                                                                Document #905 - Filed 5/18/15.




       UST Form 101-7-TFR (5/1/2011) (Page: 99)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                              FORM 2                                                                                           Page:    85
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                             3                                               4                                                   5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                     Account / CD
       Date        Reference               Paid To / Received From                      Description Of Transaction                Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
       05/19/15     003085        KENT & JOHNSON, LLP                        Attorney to Trustee Exp -other firm                   3220-000                                         2,359.47      3,085,226.39
                                  1500 SW. TAYLOR                            Special Counsel to Trustee - Expenses
                                  PORTLAND, OR 97205                         Per Order Allowing Interim Compensation -
                                                                             Document #905 - Filed 5/18/15.

       05/19/15     003086        TARLOW NAITO & SUMMERS, LLP                Attorney to Trustee Fees-other Firm                   3210-000                                     214,244.40        2,870,981.99
                                  2501 SW FIRST AVENUE                       80% of interim compensation awarded - Trustee's
                                  SUITE 390                                  General Counsel
                                  PORTLAND, OR 97201                         Per Application for Interim Compensation -
                                                                             Document #862 - Filed 4/13/15 and Order Allowing
                                                                             Interim Compensation - Document #905 - Filed
                                                                             5/18/15.

       05/19/15     003087        TARLOW NAITO & SUMMERS, LLP                Attorney to Trustee Exp -other firm                   3220-000                                      14,627.14        2,856,354.85
                                  2501 SW FIRST AVENUE                       Interim expense compensation for Trustee's General
                                  SUITE 390                                  Counsel
                                  PORTLAND, OR 97201                         Per Application for Interim Compensation -
                                                                             Document #862 - Filed 4/13/15 and Order Allowing
                                                                             Interim Compensation - Document #905 - Filed
                                                                             5/18/15.

       05/19/15     003088        DAVID B. MILLS, ESQ.                       Attorney to Trustee Fees-other Firm                   3210-000                                         3,380.00      2,852,974.85
                                  3631 COLONY OAKS DRIVE                     Per Application for Interim Compensation -
                                  EUGENE, OR 97405                           Document #861 - Filed 4/10/15 and Order Allowing
                                                                             Interim Compensation - Document #905 - Filed
                                                                             5/18/15.

       05/19/15     003089        THOMAS A. HUNTSBERGER, TRUSTEE             Trustee Compensation                                  2100-000                                      55,430.40        2,797,544.45
                                  870 W. CENTENNIAL BLVD                     80% of Interim Compensation
                                  SPRINGFIELD, OR 97477                      Per Order Allowing Interim Compensation -
                                                                             Document #905 - Filed 5/18/15.


       UST Form 101-7-TFR (5/1/2011) (Page: 100)
LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                 Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                FORM 2                                                                                              Page:    86
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                               3                                               4                                                      5                      6                  7
    Transaction    Check or                                                                                                           Uniform                                                       Account / CD
       Date        Reference                 Paid To / Received From                      Description Of Transaction                 Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/19/15     003090        THOMAS A. HUNTSBERGER, TRUSTEE               Trustee Expenses                                        2200-000                                           906.19       2,796,638.26
                                  870 W. CENTENNIAL BLVD                       Per Order Entered 5/18/15 - Document #905
                                  SPRINGFIELD, OR 97477                        Per Order Allowing Interim Compensation -
                                                                               Document #905 - Filed 5/18/15.

       05/20/15       10          Ambassador Service Group                     Premium Finance payment                                 1121-000                    50.00                               2,796,688.26
                                                                               Premium Finance Insurance payment sent to Berjac
                                                                               of Oregon.

       05/26/15     003091        DON BROWN & ASSOCIATES                       Refund of canceled premium payments                     2690-000                                          1,509.00      2,795,179.26
                                  260 NE 2ND STREET                            Scandal - BOP 33522
                                  GRESHAM, OR 97030                            Refund of pre-paid premiums for two cancelled
                                                                               Premium Finance insurance policies per Notice of
                                                                               Intent to Incur Expenses - Document #890 - Filed
                                                                               5/5/15.

       05/26/15     003092        DON BROWN & ASSOCIATES                       Refund of canceled premium payments                     2690-000                                          1,149.85      2,794,029.41
                                  260 NE 2ND STREET                            Goose Lake - BOP 33803
                                  GRESHAM, OR 97030                            Refund of pre-paid premiums for two cancelled
                                                                               Premium Finance insurance policies per Notice of
                                                                               Intent to Incur Expenses - Document #890 - Filed
                                                                               5/5/15.

       05/26/15     003093        TRANSETH & ASSOCIATES, LLC                   Forensic Accounting Services -                          3991-000                                      12,371.60         2,781,657.81
                                  818 SW 3rd AVENUE, #109                      80% of April 2015 Invoice #1294
                                  PORTLAND OR 97204                            Per Order Approving Payment of Norman Transeth
                                                                               & Associates, LLC Fees and Expenses - Document
                                                                               #556 - Filed 4/21/14.
                                                                               Per Trustee's Notice of Intent to Pay Forensic
                                                                               Accountant (April 2015 Invoice) - Document #894 -


       UST Form 101-7-TFR (5/1/2011) (Page: 101)
LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                   Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                              Page:    87
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                    Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                 Bank Name:                       Union Bank
                                                                                                                                     Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                        Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                     Separate Bond (if applicable):


           1           2                                  3                                               4                                                      5                      6                  7
    Transaction    Check or                                                                                                              Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                                                                 Filed 5/7/15.

       05/26/15                   Union Bank                                     BANK SERVICE FEE                                         2600-000                                          2,310.55      2,779,347.26

       05/28/15       21          Linda Holcomb-Bryant &                         Return of Preferential Transfer                          1241-000                17,956.80                               2,797,304.06
                                  Patrick Bryant                                 Settlement per Motion and Notice of Intent to Settle
                                  6585 Fern Hill Road                            and Compromise Adversary Proceeding - Adv Pro
                                  Monmouth, OR 97361                             Case No.14-06161. - Docket #19 - Filed 4/29/15.
                                                                                 See Also Motion and Notice of Intent to Settle and
                                                                                 Compromise Adversary Proceeding - Main case -
                                                                                 Document #881 - Filed 4/29/15.

       05/28/15       21          Larry C. Holcomb                               Return of Preferential Transfer                          1241-000                45,000.00                               2,842,304.06
                                  365 Mistletoe Creek                            Settlement per Motion and Notice of Intent to Settle
                                  Corvallis, OR 97330                            and Compromise Adversary Proceeding - Adv Pro
                                                                                 Case No.14-06162. - Docket #24 - Filed 4/29/15.
                                                                                 See Also Motion and Notice of Intent to Settle and
                                                                                 Compromise Adversary Proceeding - Main case -
                                                                                 Document #882 - Filed 4/29/15.

       06/03/15     003094        INPUT 1, LLC                                   Payment of Invoice #5727                                 2690-000                                          1,250.00      2,841,054.06
                                  6200 CANOGA AVENUE, SUITE 400                  Website service payments for up tot 30 additional
                                  WOODLAND HILLS, CA 91367                       days for Berjac Premium Finance contract
                                                                                 administration per Notice of Intent to Incur
                                                                                 Expenses - Document #875- Filed 4/16/15.

       06/11/15       24          Ronald R. Sticka, Trustee                      Pmt on Mike Holcomb Estate Claim                         1249-000                75,393.45                               2,916,447.51
                                  401 East 10th Ave. - Suite 470                 Interim Payment from Trustee Ronald Sticka on
                                  Eugene, OR 97401                               Chapter 7 Bankruptcy Estate of Michael S.
                                                                                 Holcomb - Case No. 13-36272-dwh7 - regarding
                                                                                 Berjac of Oregon Claim.


       UST Form 101-7-TFR (5/1/2011) (Page: 102)
LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                                  Page:    88
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                       Exhibit B
  Case No:          12-63884 -TMR                                                                                                     Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                  Bank Name:                         Union Bank
                                                                                                                                      Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                         Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                      Separate Bond (if applicable):


           1           2                               3                                                 4                                                        5                        6                  7
    Transaction    Check or                                                                                                               Uniform                                                         Account / CD
       Date        Reference                 Paid To / Received From                       Description Of Transaction                    Trans. Code         Deposits ($)         Disbursements ($)        Balance ($)


       06/12/15       21          Dr. & Mrs. Robert Holcomb                    Return of Preferential Transfer                             1241-000                    2,526.60                              2,918,974.11
                                  365 Mistletoe Circle                         Settlement per Motion and Notice of Intent to Settle
                                  Corvallis, OR 97330-9429                     and Compromise Adversary Proceeding - Adv Pro
                                                                               Case No.14-06159. - Docket #20 - Filed 5/4/15.
                                                                               See Also Motion and Notice of Intent to Settle and
                                                                               Compromise Adversary Proceeding - Main case -
                                                                               Document #889 - Filed 5/4/15.

       06/15/15       10          Ambassador Service Group                     Premium Finance payment                                     1121-000                      50.00                               2,919,024.11
                                                                               Premium Finance Insurance payment sent to Berjac
                                                                               of Oregon.

       06/25/15     003095        KENT & JOHNSON, LLP                          Attorney to Trustee Fees-other Firm                         3210-000                                            3,128.00      2,915,896.11
                                  1500 SW TAYLOR STREET                        Trustee's Special Counsel - May Invoice
                                  PORTLAND, OR 97205                           Trustee's Notice of Intent to Pay Special Litigation
                                                                               Counsel Kent & Johnson - Document #922.- Filed
                                                                               6/9/15.

       06/25/15     003096        KENT & JOHNSON, LLP                          Attorney to Trustee Fees-other Firm                                                                             7,086.47      2,908,809.64
                                  1500 SW TAYLOR STREET                        Trustee's Special Counsel - April Invoice
                                  PORTLAND, OR 97205                           Trustee's Notice of Intent to Pay Special Litigation
                                                                               Counsel Kent & Johnson - Document #921.- Filed
                                                                               6/9/15.
                                                                                       Fees                   6,412.83                     3210-000
                                                                                       Expenses                673.64                      3220-000

       06/25/15     003097        KENT & JOHNSON, LLP                          Attorney to Trustee Fees-other Firm                         3210-000                                            1,774.00      2,907,035.64
                                  1500 SW TAYLOR STREET                        Trustee's Special Counsel - March Invoice
                                  PORTLAND, OR 97205                           Trustee's Notice of Intent to Pay Special Litigation
                                                                               Counsel Kent & Johnson - Document #920.- Filed


       UST Form 101-7-TFR (5/1/2011) (Page: 103)
LFORM2T4                                                                                                                                                                                                          Ver: 22.01b
                                                                   Case 12-63884-tmr7               Doc 1729            Filed 07/18/19
                                                                                                   FORM 2                                                                                               Page:    89
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit B
  Case No:          12-63884 -TMR                                                                                                     Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                  Bank Name:                       Union Bank
                                                                                                                                      Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                         Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                      Separate Bond (if applicable):


           1           2                                 3                                                4                                                       5                      6                  7
    Transaction    Check or                                                                                                               Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                  Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                                                                 6/9/15.

                                                                                 Notice of Intent to Pay Kent & Johnson - Document
                                                                                 #920.- Filed 6/9/15.

       06/25/15                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          2,566.94      2,904,468.70

       07/01/15     003098        TRANSETH & ASSOCIATES, LLC                     Forensic Accounting Services -                            3991-000                                      22,287.20         2,882,181.50
                                  818 SW 3rd AVENUE, #109                        80% of May 2015 Invoice #1296
                                  PORTLAND OR 97204                              ($27,859 x 0.80 = $22,287.20)
                                                                                 Per Order Approving Payment of Norman Transeth
                                                                                 & Associates, LLC Fees and Expenses - Document
                                                                                 #556 - Filed 4/21/14.
                                                                                 Per Trustee's Notice of Intent to Pay Forensic
                                                                                 Accountant (May 2015 Invoice) - Document #924 -
                                                                                 Filed 6/12/15.

       07/08/15       21          Hutchinson, Cox, Coons, Orr                    Return of Preferential Transfer                           1241-000                14,827.04                               2,897,008.54
                                  & Sherlock PC                                  Settlement per Motion and Notice of Intent to Settle
                                  401(k) Profit Sharing Plan                     and Compromise Adversary Proceeding - Adv Pro
                                  PO Box 10886                                   Case No.14-06132. - Docket #6 - Filed 1/21/15.
                                  Eugene, OR 97440                               See Also Motion and Notice of Intent to Settle and
                                                                                 Compromise Adversary Proceeding - Main case -
                                                                                 Document #778 - Filed 1/21/15.

       07/13/15                   Transfer from Acct #2131792836                 Bank Funds Transfer                                       9999-000               126,988.78                               3,023,997.32
                                                                                 Transfer is from money held in Curtis Settlement
                                                                                 Checking Account. This account is now closed
                                                                                 pursurant to Curtis Preference/Fraudulent Transfer
                                                                                 Settlement Notice - Document #76 AP Case No.
                                                                                 12-06189.


       UST Form 101-7-TFR (5/1/2011) (Page: 104)
LFORM2T4                                                                                                                                                                                                        Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                           Page:    90
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                 3                                              4                                                    5                      6                  7
    Transaction    Check or                                                                                                           Uniform                                                      Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction               Trans. Code        Deposits ($)       Disbursements ($)        Balance ($)


       07/22/15       28          Kenneth S. Eiler                               Pmt on HFLP Claim                                    1249-000                17,155.66                               3,041,152.98
                                                                                 Per Motion and Notice of Intent to Settle and
                                                                                 Compromise - Document #751 - Filed 12/19/14.
                                                                                 Payment on distribution from Holcomb Family
                                                                                 Limited Partnership. - FINAL PAYMENT.

       07/22/15       10          Ambassador Service Group                       Premium Finance payment                              1121-000                     50.00                              3,041,202.98
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

       07/23/15       30          Gaydos, Churnside & Balthrop, PC               Preference/Fraudulent Transfer Pmt                   1241-000                97,000.00                               3,138,202.98
                                  Client Trust Account                           Motion and Notice of Intent to Settle &
                                  440 E. Broadway, Suite 300                     Compromise Adversary Proceeding No. 12-06189
                                  Eugene, OR 97401                               regarding Preference Settlement for Curtis
                                                                                 Restaurant Equipment, Inc.- Document #928 - Filed
                                                                                 6/16/15 - See Also Document #76 - Filed 6/16/15 -
                                                                                 in the Adversary Proceeding..

       07/23/15       15          Cascade Escrow                                 Refund of County Tax Overpayment                     1121-000                    123.52                              3,138,326.50
                                                                                 Refund of Lane County Property Taxes on 4203
                                                                                 Heins Court, Eugene, OR 97402.

       07/27/15                   Union Bank                                     BANK SERVICE FEE                                     2600-000                                          2,375.69      3,135,950.81

       07/28/15     003099        TRANSETH & ASSOCIATES, LLC                     Forensic Accounting Services -                       3991-000                                      17,379.60         3,118,571.21
                                  818 SW 3rd AVENUE, #109                        80% of June 2015 Invoice #1302
                                  PORTLAND OR 97204                              ($21,724.50 X 80% = $17,379.60)
                                                                                 Per Order Approving Payment of Norman Transeth
                                                                                 & Associates, LLC Fees and Expenses - Document
                                                                                 #556 - Filed 4/21/14.


       UST Form 101-7-TFR (5/1/2011) (Page: 105)
LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                              Page:    91
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                       Union Bank
                                                                                                                                    Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1           2                                   3                                            4                                                       5                      6                  7
    Transaction    Check or                                                                                                             Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                                                                Per Trustee's Notice of Intent to Pay Forensic
                                                                                Accountant (June 2015 Invoice) - Document #1028
                                                                                - Filed 7/9/15.

       08/03/15     003100        INPUT 1, LLC                                  Payment of Invoice #5795                                 2690-000                                          1,250.00      3,117,321.21
                                  6200 CANOGA AVENUE, SUITE 400                 Website service payments for up tot 60 additional
                                  WOODLAND HILLS, CA 91367                      days for Berjac Premium Finance contract
                                                                                administration per Notice of Intent to Incur
                                                                                Expenses - Document #851- Filed 3//11/15.

       08/20/15       30          Gaydos, Churnside & Balthrop, PC              Preference/Fraudulent Transfer Pmt                       1241-000               200,000.00                               3,317,321.21
                                  Client Trust Account                          Motion and Notice of Intent to Settle &
                                  440 E. Broadway, Suite 300                    Compromise Adversary Proceeding No. 12-06189
                                  Eugene, OR 97401                              regarding Preference Settlement for Curtis
                                                                                Restaurant Equipment, Inc.- Document #928 - Filed
                                                                                6/16/15 - See Also Document #76 - Filed 6/16/15 -
                                                                                in the Adversary Proceeding..

       08/21/15       10          Ambassador Service Group                      Premium Finance payment                                  1121-000                    54.54                               3,317,375.75
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       08/24/15       10          Kenneth & Ardis Harris                        Premium Finance payment                                  1121-000                    25.00                               3,317,400.75
                                  BOO-5041                                      Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

       08/25/15     003101        Rex, George & Melissa                         Claim 000001, Payment 4.00000%                           7100-000                                      18,000.00         3,299,400.75
                                  10363 NW Rex Ct
                                  Portland OR 97229

       08/25/15     003102        McKittrick, James & Nancy                     Claim 000002, Payment 3.99995%                           7100-000                                           120.06       3,299,280.69


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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                FORM 2                                                                                          Page:    92
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                  3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  522 Covey Ln
                                  Eugene OR 97401

       08/25/15     003103        Carolyn Wilson Credit Shelter Trust            Claim 000003, Payment 4.00000%                    7100-000                                          4,940.00      3,294,340.69
                                  Dee Wilson, Successor Trustee
                                  246 Camino Nina Ave
                                  Roseburg, OR 97470

       08/25/15     003104        Wilson, Dee                                    Claim 000004, Payment 4.00000%                    7100-000                                           830.00       3,293,510.69
                                  246 Camino Nina Ave.
                                  Roseburg, OR 97470

       08/25/15     003105        Siegrist, Fredrick                             Claim 000006, Payment 4.00000%                    7100-000                                          4,018.57      3,289,492.12
                                  POB 50698
                                  Eugene OR 97405

       08/25/15     003106        Daugherty & Assoc                              Claim 000007, Payment 4.00001%                    7100-000                                           853.45       3,288,638.67
                                  Neil Daugherty
                                  3870 University St
                                  Eugene OR 97405

       08/25/15     003107        Carter, Cheryl                                 Claim 000008, Payment 4.00000%                    7100-000                                          3,171.56      3,285,467.11
                                  141 Jill Ave
                                  Eugene OR 97404

       08/25/15     003108        Holcomb-Bryant, Linda                          Claim 000009, Payment 4.00000%                    7100-000                                          2,727.48      3,282,739.63
                                  Bryant, Patrick D
                                  6585 Fern Hill Rd
                                  Monmouth OR 97361

       08/25/15     003109        Holcomb-Bryant, Linda                          Claim 000010, Payment 4.00000%                    7100-000                                          3,613.92      3,279,125.71


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                        Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page:    93
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  6585 Fern Hill Rd
                                  Monmouth, OR 97361

       08/25/15     003110        Robert H Holcomb Trust                          Claim 000012, Payment 4.00000%                    7100-000                                          7,932.94      3,271,192.77
                                  365 NE Mistletoe Cir
                                  Corvallis OR 97330

       08/25/15     003111        Larry C Holcomb Living Trust                    Claim 000013, Payment 4.00000%                    7100-000                                      11,700.40         3,259,492.37
                                  Larry Holcomb, Trustee
                                  365 NE Mistletoe Circle
                                  Corvallis, OR 97340

       08/25/15     003112        Robert Holcomb Family LLC                       Claim 000014, Payment 4.00000%                    7100-000                                      12,730.12         3,246,762.25
                                  c/o Larry Holcomb
                                  6585 Fern Hill Rd
                                  Monmouth OR 97361

       08/25/15     003113        Karen L Brockett Living Trust                   Claim 000015, Payment 4.00000%                    7100-000                                      15,092.40         3,231,669.85
                                  Karen Brockett, Trustee
                                  2601 NE Jack London #76
                                  Corvallis, OR 97330

       08/25/15     003114        Charlene S Cox Rev Trust dtd 10-15-97           Claim 000016, Payment 4.00000%                    7100-000                                      19,582.55         3,212,087.30
                                  Charlene S Cox, Trustee
                                  2883 Martinique Ave
                                  Eugene OR 97408

       08/25/15     003115        Hutchinson, Leslie B or Hutchinson,             Claim 000017, Payment 4.00000%                    7100-000                                          2,962.56      3,209,124.74
                                  Nicholas
                                  550 SW Viewmont Dr
                                  Portland OR 97225


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                        Case 12-63884-tmr7         Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                          Page:    94
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                      3                                        4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       08/25/15     003116        Hutchinson, Tim, Leslie, & Nicholas            Claim 000018, Payment 4.00000%                    7100-000                                      27,370.48         3,181,754.26
                                  550 SW Viewmont Dr
                                  Portland OR 97225

       08/25/15     003117        Hutchinson, Tim & Nicholas                     Claim 000019, Payment 4.00000%                    7100-000                                           677.92       3,181,076.34
                                  550 SW Viewmont Dr
                                  Portland OR 97225

       08/25/15     003118        Colleen Bartlett                               Claim 000020, Payment 4.00000%                    7100-000                                          2,037.84      3,179,038.50
                                  c/o Connie Bartlett-Pitts
                                  2470 Arbor Dr
                                  West Linn OR 97068

       08/25/15     003119        Varner, Fred E                                 Claim 000021, Payment 4.00000%                    7100-000                                          1,672.40      3,177,366.10
                                  1121 Risden Pl
                                  Eugene OR 97404

       08/25/15     003120        Matthews, Marshall & Pattie                    Claim 000022, Payment 4.00001%                    7100-000                                          2,759.23      3,174,606.87
                                  848 NE Church St
                                  Roseburg OR 97470

       08/25/15     003121        Trudy A Harper Harris                          Claim 000023, Payment 4.00000%                    7100-000                                          2,315.04      3,172,291.83
                                  1980 NE Stephens
                                  Roseburg OR 97470

       08/25/15     003122        Carson, Kristin                                Claim 000024, Payment 4.00000%                    7100-000                                          1,591.55      3,170,700.28
                                  26 Juanita Ave
                                  Mill Valley CA 94941

       08/25/15     003123        Perez, Roberto Carlos                          Claim 000025, Payment 4.00000%                    7100-000                                          3,843.48      3,166,856.80


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                        Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page:    95
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Jose Perez, Custodian
                                  586 Flagler St
                                  San Jose CA 95127

       08/25/15     003124        Pittman, Lee & Kay                            Claim 000026, Payment 4.00000%                    7100-000                                          9,212.92      3,157,643.88
                                  8540 Melrose Ln
                                  El Cajon CA 92021

       08/25/15     003125        Nuwer, Mary                                   Claim 000027, Payment 3.99999%                    7100-000                                          4,005.87      3,153,638.01
                                  c/o James K Coons
                                  POB 10886
                                  Eugene OR 97440

       08/25/15     003126        Gaunt, Sydney A                               Claim 000028, Payment 4.00000%                    7100-000                                           391.16       3,153,246.85
                                  c/o Lianne Gaunt
                                  1292 High St PMB 149
                                  Eugene OR 97401

       08/25/15     003127        R.W. Strand Inc/Carlson & Strand              Claim 000029, Payment 4.00000%                    7100-000                                          2,454.60      3,150,792.25
                                  Painting
                                  c/o David Strand
                                  1115 Main St
                                  Springfield OR 97477

       08/25/15     003128        Robert E Myers & Patricia A Myers             Claim 000030, Payment 4.00000%                    7100-000                                          4,362.04      3,146,430.21
                                  Family Trust dtd 10-25-02
                                  1357 Meadow Ct
                                  Healdsburg CA 95448

       08/25/15     003129        RJ O'Sullivan Trust UDT 8/3/00                Claim 000031, Payment 3.99999%                    7100-000                                          3,632.04      3,142,798.17
                                  c/o Terrence B. O'Sullivan


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                      Case 12-63884-tmr7         Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                             Page:    96
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1            2                                  3                                            4                                                      5                      6                  7
     Transaction    Check or                                                                                                           Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  805 SW Industrial Way, Suite 5
                                  Bend, OR 97702

       08/25/15      003130       Ostendorf, Sarah                              Claim 000032, Payment 4.00000%                          7100-000                                          2,667.05      3,140,131.12
                                  3701 Sunrise Dr W
                                  Minnetonka MN 55345

       08/25/15      003131       Eugene Executives Assn                        Claim 000033, Payment 4.00000%                          7100-000                                          1,857.72      3,138,273.40
                                  Attn Trond
                                  POB 205
                                  Eugene OR 97440

       08/25/15      003132       Vecellio, Patricia                            Claim 000034, Payment 4.00000%                          7100-000                                          2,807.82      3,135,465.58
                                  11747 Skene Way
                                  Houston TX 77024

       08/25/15      003133       Paralee Mock, Trustee                         Claim 000035, Payment 4.00000%                          7100-000                                      25,998.27         3,109,467.31
                                  c/o John C. Fisher Attorney at Law
                                  767 Willamette Street, Suite 201
                                  Eugene, OR 97401

 *     08/25/15      003134       Grange McKinney (House Account)               Claim 000036, Payment 4.00000%                          7100-003                                           321.72       3,109,145.59
                                  Denise Manoram
                                  221 Via Montego
                                  San Clemente CA 92672

 *     08/25/15      003134       Grange McKinney (House Account)               Claim 000036, Payment 4.00000%                          7100-003                                          -321.72       3,109,467.31
                                  Denise Manoram                                Original check was printed on plain paper due to
                                  221 Via Montego                               paper jam. Reprinting check on proper paper.
                                  San Clemente CA 92672




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LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                       Case 12-63884-tmr7           Doc 1729             Filed 07/18/19
                                                                                               FORM 2                                                                                          Page:    97
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       08/25/15     003135        Grange Bowen McKinney Living Trust            Claim 000037, Payment 4.00000%                    7100-000                                          1,069.76      3,108,397.55
                                  Grange McKinney Trustee
                                  221 Via Montego
                                  San Clemente CA 92672

       08/25/15     003136        Cornell, Duane J                              Claim 000038, Payment 4.00000%                    7100-000                                           888.84       3,107,508.71
                                  802 Poltava St
                                  Springfield OR 97477

       08/25/15     003137        Hutchinson, Tom & Allison                     Claim 000039, Payment 4.00000%                    7100-000                                          2,949.92      3,104,558.79
                                  1509 21st Ave
                                  Longview WA 98632

       08/25/15     003138        Hutchinson, Stephen                           Claim 000040, Payment 4.00000%                    7100-000                                          4,457.81      3,100,100.98
                                  Hutchinson, Kathryn
                                  1785 White Oak Dr
                                  Eugene OR 97405

       08/25/15     003139        Hutchinson, Kathryn Martin                    Claim 000041, Payment 3.99997%                    7100-000                                           400.88       3,099,700.10
                                  1785 White Oak Dr
                                  Eugene OR 97405

       08/25/15     003140        Anna Rose Chamblay/Richard Doyle PR           Claim 000042, Payment 4.00000%                    7100-000                                          4,017.28      3,095,682.82
                                  c/o Richard Doyle PR
                                  32541 Coburg Bottom Lp
                                  Eugene OR 97408

       08/25/15     003141        Kruger, Natalie B                             Claim 000043, Payment 4.00000%                    7100-000                                              8.08      3,095,674.74
                                  Kruger, Joyce
                                  1317 Adelman Lp
                                  Eugene OR 97402


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page:    98
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       08/25/15     003142        Lundquist, Hunter R                           Claim 000044, Payment 4.00000%                    7100-000                                            59.40       3,095,615.34
                                  Kruger, Joyce
                                  1317 Adelman Lp
                                  Eugene OR 97402

       08/25/15     003143        Lundquist, Taylor Lee                         Claim 000046, Payment 4.00000%                    7100-000                                           163.72       3,095,451.62
                                  Kruger, Joyce
                                  1317 Adelman Lp
                                  Eugene OR 97402

       08/25/15     003144        Kruger, Nathaniel D                           Claim 000047, Payment 4.00037%                    7100-000                                            34.76       3,095,416.86
                                  Kruger, Lindsey M
                                  2329 Otto St
                                  Springfield OR 97477

       08/25/15     003145        Kruger, Joyce L                               Claim 000048, Payment 4.00000%                    7100-000                                          8,522.81      3,086,894.05
                                  Kruger, Nathan
                                  1317 Adelman Lp
                                  Eugene OR 97402

       08/25/15     003146        Glass Tree Care & Spray Svc                   Claim 000049, Payment 4.00000%                    7100-000                                          2,443.16      3,084,450.89
                                  POB 40205
                                  Eugene OR 97404

       08/25/15     003147        Stenger, Sandra                               Claim 000050, Payment 4.00000%                    7100-000                                           717.38       3,083,733.51
                                  469 W Willis St #5
                                  Detroit MI 48201

       08/25/15     003148        Manoram, Denise                               Claim 000051, Payment 4.00000%                    7100-000                                          2,473.49      3,081,260.02
                                  3335 Calle La Veta


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page:    99
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  San Clemente CA 92672

       08/25/15     003149        James P Mischkot Sr                           Claim 000053, Payment 4.00000%                    7100-000                                          5,811.20      3,075,448.82
                                  POB 502
                                  Whitehall MT 59759

       08/25/15     003150        Mischkot-Roga, Peggy                          Claim 000054, Payment 4.00000%                    7100-000                                          7,012.11      3,068,436.71
                                  4520 Altura St
                                  Eugene OR 97404

       08/25/15     003151        Roga, Imants                                  Claim 000055, Payment 4.00001%                    7100-000                                           428.69       3,068,008.02
                                  4520 Altura St
                                  Eugene OR 97404

       08/25/15     003152        Porter, Elizabeth                             Claim 000056, Payment 4.00000%                    7100-000                                          7,384.18      3,060,623.84
                                  1927 SE 41st Ave
                                  Portland OR 97214

       08/25/15     003153        Porter, Steven & Elizabeth                    Claim 000057, Payment 4.00000%                    7100-000                                          2,247.12      3,058,376.72
                                  1927 SE 41st Ave
                                  Portland OR 97214

       08/25/15     003154        Shelton, Robert & Edie                        Claim 000058, Payment 4.00000%                    7100-000                                      66,890.37         2,991,486.35
                                  c/o P Scott McCleery
                                  44 Club Rd #200
                                  Eugene OR 97401

       08/25/15     003155        Shelton, Robert & Edie                        Claim 000059, Payment 4.00029%                    7100-000                                            32.70       2,991,453.65
                                  c/o P Scott McCleery
                                  44 Club Rd #200
                                  Eugene OR 97401


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 100
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       08/25/15     003156        Amy Shelton, UTMA, Edie Shelton,              Claim 000060, Payment 4.00000%                    7100-000                                          5,781.51     2,985,672.14
                                  Custodian
                                  C/O Scott McCleery
                                  44 Club Road, Suite 200
                                  Eugene, OR 97401

       08/25/15     003157        Diller, Betty L                               Claim 000061, Payment 3.99998%                    7100-000                                           612.54      2,985,059.60
                                  8209 Ruby Mtn Way
                                  Las Vegas NV 89128

       08/25/15     003158        Hahn Living Trust                             Claim 000062, Payment 4.00000%                    7100-000                                            27.00      2,985,032.60
                                  Philip & Elisabeth Hahn, Trustees
                                  330 Magnolia Dr
                                  Creswell OR 97426

       08/25/15     003159        Platt, Fred & Susan A                         Claim 000063, Payment 4.00000%                    7100-000                                          2,279.08     2,982,753.52
                                  830 W 38th Ave
                                  Eugene OR 97405

       08/25/15     003160        O'Malley Living Trust dtd 7-6-94              Claim 000064, Payment 4.00000%                    7100-000                                          4,167.93     2,978,585.59
                                  Arlene O'Malley
                                  2563 Jasmine St
                                  Eugene OR 97404

       08/25/15     003161        Sallie Sugarman Trust                         Claim 000065, Payment 4.00000%                    7100-000                                           284.96      2,978,300.63
                                  c/o Richard Carson
                                  6601 SW 155th
                                  Beaverton OR 97007

       08/25/15     003162        Porter, Bernice K                             Claim 000066, Payment 4.00000%                    7100-000                                           421.40      2,977,879.23


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                               FORM 2                                                                                          Page: 101
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  POB 584
                                  Creswell OR 97426

       08/25/15     003163        Wall, Doreen/THS Class of 1981                Claim 000067, Payment 3.99965%                    7100-000                                            54.85      2,977,824.38
                                  POB 71364
                                  Springfield OR 97475

       08/25/15     003164        Shane Porter & Steven Porter                  Claim 000068, Payment 4.00000%                    7100-000                                            27.76      2,977,796.62
                                  82100 Bear Creek Rd
                                  Creswell OR 97426

       08/25/15     003165        Steven & Shae Porter                          Claim 000069, Payment 4.00000%                    7100-000                                           812.52      2,976,984.10
                                  82100 Bear Creek Rd
                                  Creswell OR 97426

       08/25/15     003166        June L. Trimble                               Claim 000070, Payment 4.00000%                    7100-000                                          2,425.92     2,974,558.18
                                  815 N. Fairgrounds Rd
                                  Goldendale, WA 98620

       08/25/15     003167        Thayer R Dickey Trust dtd 4-1-10              Claim 000071, Payment 3.99999%                    7100-000                                          3,368.41     2,971,189.77
                                  Joe L Dickey, Trustee
                                  311 Mackin Ave
                                  Eugene OR 97404

       08/25/15     003168        Dickey, Joe L                                 Claim 000072, Payment 4.00000%                    7100-000                                          1,529.92     2,969,659.85
                                  Dickey, Pam K
                                  311 Mackin Ave
                                  Eugene OR 97404

       08/25/15     003169        Virginia Maxine Graves                        Claim 000073, Payment 4.00000%                    7100-000                                          4,331.36     2,965,328.49
                                  2811 La Darrah St


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1            2                                  3                                            4                                                  5                      6                  7
     Transaction    Check or                                                                                                       Uniform                                                       Account / CD
        Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97404

 *     08/25/15      003170       Ian A Hutchinson                                Claim 000074, Payment 4.00000%                    7100-003                                           248.68      2,965,079.81
                                  4020 Aurora Ave N #409
                                  Seattle WA 98104

       08/25/15      003171       Hutchinson, Tom & Allison                       Claim 000075, Payment 4.00000%                    7100-000                                          1,084.32     2,963,995.49
                                  1509 21st Ave
                                  Longview WA 98632

       08/25/15      003172       Hutchinson, Scott                               Claim 000076, Payment 4.00000%                    7100-000                                            40.16      2,963,955.33
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       08/25/15      003173       Kiefer, Kathleen & Kiefer, Scott Thomas         Claim 000077, Payment 4.00000%                    7100-000                                          3,970.84     2,959,984.49
                                  20738 Prince John Ct
                                  Bend OR 97702

       08/25/15      003174       Sandy O'Malley for Eli Hayward                  Claim 000078, Payment 4.00000%                    7100-000                                            30.44      2,959,954.05
                                  92107 River Rd
                                  Junction City OR 97448-9405

       08/25/15      003175       O'Malley, Sandy                                 Claim 000079, Payment 4.00000%                    7100-000                                          3,200.05     2,956,754.00
                                  92107 River Rd
                                  Junction City OR 97448

       08/25/15      003176       Graves, Doug - Vacation Fund                    Claim 000080, Payment 4.00000%                    7100-000                                           141.44      2,956,612.56
                                  92107 River Rd
                                  Junction City OR 97448

       08/25/15      003177       Doug Graves                                     Claim 000081, Payment 4.00002%                    7100-000                                          1,389.53     2,955,223.03


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:           12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1            2                                 3                                              4                                                    5                      6                  7
     Transaction    Check or                                                                                                            Uniform                                                     Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                  92107 River Rd
                                  Junction City OR 97448-9405

       08/25/15      003178       Graves, Doug & O'Malley, Sandy                Claim 000082, Payment 4.00000%                          7100-000                                         4,263.39     2,950,959.64
                                  92107 River Rd
                                  Junction City OR 97448

       08/25/15      003179       Votaw, Utis Gene                              Claim 000083, Payment 4.00000%                          7100-000                                         2,252.68     2,948,706.96
                                  95995 Hwy 42
                                  Coos Bay OR 97420

       08/25/15      003180       Abel, Judy Erickson                           Claim 000084, Payment 4.00000%                          7100-000                                         2,891.09     2,945,815.87
                                  95995 Hwy 42
                                  Coos Bay OR 97420

       08/25/15      003181       Sims, Barbara A & Sims-Wros, Tom              Claim 000085, Payment 4.00000%                          7100-000                                         1,932.54     2,943,883.33
                                  395 Hawthorne
                                  Eugene OR 97404

 *     08/25/15      003182       Mann, Alexander                               Claim 000086, Payment 4.00000%                          7100-004                                          610.84      2,943,272.49
                                  Mann, Carol                                   2/1/16 - Despite efforts to communicate with the
                                  4079 Governor Dr #800                         Manns, neither the Court nor our office has received
                                  San Diego CA 92122                            any contact. Check has not been negotiated. Stop
                                                                                payment issued today.

       08/25/15      003183       Jones, Christine                              Claim 000087, Payment 4.00000%                          7100-000                                           41.40      2,943,231.09
                                  34956 Seavey Lp Rd #3
                                  Eugene OR 97405

       08/25/15      003184       Ellingson, Mary M                             Claim 000088, Payment 4.00000%                          7100-000                                         1,953.78     2,941,277.31
                                  POB 306


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LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                   3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Bandon OR 97411

       08/25/15     003185        Reeves, Kendall W                               Claim 000089, Payment 4.00000%                    7100-000                                           355.08      2,940,922.23
                                  2044 Southern Ave., Apt. 5
                                  Memphis, TN 38114

       08/25/15     003186        Anna M Culcasi Trust                            Claim 000090, Payment 4.00000%                    7100-000                                          3,226.58     2,937,695.65
                                  Anna M Culcasi Trustee
                                  4055 Royal Ave #25
                                  Eugene OR 97402

       08/25/15     003187        Harry Abel Jr Living Revocable Trust            Claim 000092, Payment 4.00000%                    7100-000                                           479.89      2,937,215.76
                                  93706 Pickett Lane
                                  Coos Bay OR 97420

       08/25/15     003188        Crowder, Natalie                                Claim 000094, Payment 4.00000%                    7100-000                                          1,410.52     2,935,805.24
                                  300 Dibblee Ln
                                  Eugene OR 97404

       08/25/15     003189        Heaton, Ruthann, Trustee                        Claim 000095, Payment 4.00000%                    7100-000                                          4,837.00     2,930,968.24
                                  Heaton, Jay W, Trustee
                                  POB 803
                                  Baker City OR 97814

       08/25/15     003190        Allen Arthur Prigge Revocable Trust             Claim 000096, Payment 4.00000%                    7100-000                                          5,285.65     2,925,682.59
                                  Allen Arthur Prigge, Trustee
                                  387 Hunington Ave
                                  Eugene OR 97405

       08/25/15     003191        Atteberry, Timothy A & Gayle A                  Claim 000097, Payment 4.00000%                    7100-000                                           905.32      2,924,777.27
                                  87366 Dukhobar Rd


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                         Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 105
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97402

       08/25/15     003192        Atteberry, Tim                                Claim 000098, Payment 4.00000%                    7100-000                                          1,026.62     2,923,750.65
                                  87366 Dukhobar Rd
                                  Eugene OR 97402

       08/25/15     003193        Smith, Lorraine                               Claim 000099, Payment 4.00000%                    7100-000                                          4,017.64     2,919,733.01
                                  Wilke, Kathryn A
                                  204 NE 304th Avenue
                                  Washougal, WA 98671

       08/25/15     003194        Hutchinson, Ellen J                           Claim 000100, Payment 4.00000%                    7100-000                                            52.68      2,919,680.33
                                  1614 Summit Ave #207
                                  Seattle WA 98122

       08/25/15     003195        Spencer Creek Lutheran                        Claim 000101, Payment 4.00001%                    7100-000                                           565.28      2,919,115.05
                                  PO Box 2991
                                  Eugene OR 97402

       08/25/15     003196        Berger-Brown, Gustav Oaxaca                   Claim 000102, Payment 4.00000%                    7100-000                                            42.04      2,919,073.01
                                  c/o Tiffany Lee Brown
                                  1123 SW 36th Ave
                                  Portland OR 97214

       08/25/15     003197        Brown, Lindy and Ted                          Claim 000103, Payment 4.00000%                    7100-000                                          5,873.06     2,913,199.95
                                  PO Box 2991
                                  Eugene OR 97402

       08/25/15     003198        Dezsofi, Nancy M                              Claim 000104, Payment 3.99996%                    7100-000                                           337.90      2,912,862.05
                                  15420 NE 12th St
                                  Vancouver WA 98684


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                          Page: 106
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                  3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       08/25/15     003199        Thomas and Ann Harris                          Claim 000105, Payment 4.00000%                    7100-000                                      12,726.16        2,900,135.89
                                  c/o John C. Fisher, Attorney at Law
                                  767 Willamette St. Suite 201
                                  Eugene, OR 97401

       08/25/15     003200        Perez, Roberto Carlos                          Claim 000106, Payment 4.00000%                    7100-000                                          3,877.76     2,896,258.13
                                  Jose Perez, Custodian
                                  586 Flagler St
                                  San Jose CA 95127

       08/25/15     003201        Hansen, Britt                                  Claim 000107, Payment 4.00000%                    7100-000                                           748.40      2,895,509.73
                                  8956 S 260th E Ave
                                  Broken Arrow OK 74014

       08/25/15     003202        Mid-State Industrial Svc Inc                   Claim 000108, Payment 4.00000%                    7100-000                                          2,093.64     2,893,416.09
                                  88696 McVay Hwy
                                  Eugene OR 97405

       08/25/15     003203        Carson-Vanlanduyt, Mary                        Claim 000109, Payment 4.00000%                    7100-000                                           342.20      2,893,073.89
                                  3927 NE 32nd Pl
                                  Portland OR 97212

       08/25/15     003204        Sugarman Trust + VanLanduyt + Carson           Claim 000110, Payment 4.00000%                    7100-000                                          1,768.56     2,891,305.33
                                  c/o Mary Carson-VanLanduyt
                                  3927 NE 32nd Pl
                                  Portland OR 97212

       08/25/15     003205        Dodson, Fred L and Mary N                      Claim 000111, Payment 4.00000%                    7100-000                                          4,299.48     2,887,005.85
                                  85169 Kensington Dr
                                  Pleasant Hill OR 97455


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                                                                        Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page: 107
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                  3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       08/25/15     003206        Patty Wiles                                     Claim 000112, Payment 4.00000%                    7100-000                                          2,725.80     2,884,280.05
                                  511 SE Plum
                                  Sutherlin OR 97479

       08/25/15     003207        Skeie's Jewelers Profit Sharing Acct            Claim 000113, Payment 4.00000%                    7100-000                                          2,177.72     2,882,102.33
                                  10 Oakway Center
                                  Eugene OR 97401

       08/25/15     003208        Van Sant, Tanya                                 Claim 000114, Payment 4.00000%                    7100-000                                           520.00      2,881,582.33
                                  125 Cedar S #9 S
                                  New York City NY 10006

       08/25/15     003209        Fish                                            Claim 000115, Payment 4.00000%                    7100-000                                           732.16      2,880,850.17
                                  POB 2412
                                  Eugene OR 97402

       08/25/15     003210        Fuller, Kalila J                                Claim 000116, Payment 4.00000%                    7100-000                                           220.28      2,880,629.89
                                  Fuller, Tami
                                  2 Gershwin Ct
                                  Lake Oswego OR 97035

       08/25/15     003211        Myers, Alison K                                 Claim 000117, Payment 4.00000%                    7100-000                                           220.28      2,880,409.61
                                  4325 Commerce St #111
                                  PMB 503
                                  Eugene OR 97402

       08/25/15     003212        Myers, Bradley Nelson                           Claim 000118, Payment 4.00000%                    7100-000                                           482.36      2,879,927.25
                                  Myers, Toni
                                  4325 Commerce St #111
                                  PMB 503


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                                                                         Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                                3                                              4                                                    5                      6                  7
     Transaction    Check or                                                                                                         Uniform                                                       Account / CD
        Date        Reference                Paid To / Received From                      Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97402

       08/25/15      003213       Fuller, Esmee C                              Claim 000119, Payment 4.00000%                         7100-000                                           220.28      2,879,706.97
                                  Fuller, Tami
                                  2 Gershwin Ct
                                  Lake Oswego OR 97035

       08/25/15      003214       Rau, Roger A and Kay A                       Claim 000120, Payment 4.00000%                         7100-000                                          5,014.96     2,874,692.01
                                  3218 NE 54th Ave
                                  Albany OR 97321

       08/25/15      003215       Rau, Roger A and Kay A                       Claim 000121, Payment 4.00000%                         7100-000                                          1,233.56     2,873,458.45
                                  3218 NE 54th Ave
                                  Albany OR 97321

       08/25/15      003216       Myers, Toni K                                Claim 000122, Payment 4.00000%                         7100-000                                           289.08      2,873,169.37
                                  4325 Commerce St #111
                                  PMB 503
                                  Eugene OR 97402

       08/25/15      003217       Phinney, Michael                             Claim 000123, Payment 4.00000%                         7100-000                                          1,784.68     2,871,384.69
                                  27410 Crow Rd
                                  Eugene OR 97402

 *     08/25/15      003218       Orr, Thomas M & Cari L                       Claim 000124, Payment 4.00000%                         7100-004                                           865.80      2,870,518.89
                                  c/o Thomas M Orr                             9/11/15 received email from Orr asking check be
                                  777 High St #200                             reissued to:
                                  Eugene, OR 97401
                                                                               Hutchinson Cox
                                                                               Attn: Thomas M. Orr
                                                                               400 Woolworth Building


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
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                                                                                                  FORM 2                                                                                         Page: 109
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                    3                                            4                                                 5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                                                                940 Williamette Street
                                                                                PO Box 10886
                                                                                Eugene, OR 97440

       08/25/15     003219        Hutchinson Cox et al                          Claim 000125, Payment 4.00000%                      7100-000                                          3,124.12     2,867,394.77
                                  Profit Sharing Plan
                                  c/o James K Coons
                                  POB 10886
                                  Eugene OR 97440

       08/25/15     003220        Hutchinson Cox Coons Orr & Sherlock PC        Claim 000126, Payment 4.00001%                      7100-000                                          1,285.99     2,866,108.78
                                  c/o James K Coons
                                  POB 10886
                                  Eugene OR 97440

       08/25/15     003221        Drews, Freda                                  Claim 000128, Payment 4.00000%                      7100-000                                           160.52      2,865,948.26
                                  Drews, Melvin H
                                  416 Marian Ave
                                  Central Point OR 97502

       08/25/15     003222        LE Folkerts Rev Trust dtd 8-20-97             Claim 000129, Payment 4.00000%                      7100-000                                          8,978.84     2,856,969.42
                                  Lura E Folkerts, Trustee
                                  130 Villa Rd
                                  Mt Shasta CA 96067

       08/25/15     003223        Schenfeld, Betty & Fred                       Claim 000130, Payment 4.00000%                      7100-000                                            81.16      2,856,888.26
                                  2509 Newcastle
                                  Eugene OR 97404

       08/25/15     003224        Corinne C Hunt                                Claim 000131, Payment 4.00000%                      7100-000                                          6,571.24     2,850,317.02
                                  4427 Fox Hollow Rd #5


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97405-4576

       08/25/15     003225        David Barajas                                 Claim 000132, Payment 4.00000%                    7100-000                                          4,250.64     2,846,066.38
                                  1503 McLean Blvd
                                  Eugene, OR 97405

       08/25/15     003226        Herman, Corrie                                Claim 000133, Payment 4.00000%                    7100-000                                           762.04      2,845,304.34
                                  3118 NE Rosa Parks Way
                                  Portland OR 97211

       08/25/15     003227        Mad Fish SEO                                  Claim 000134, Payment 4.00000%                    7100-000                                          1,080.00     2,844,224.34
                                  Corrie Herman
                                  1305 NW 18th Ave
                                  Portland OR 97209

       08/25/15     003228        Herman, Benjamin & Corrie                     Claim 000135, Payment 4.00000%                    7100-000                                           118.88      2,844,105.46
                                  3118 NE Rosa Parks Way
                                  Portland OR 97211

       08/25/15     003229        Jesse Tyrel Hooker                            Claim 000136, Payment 4.00000%                    7100-000                                           572.36      2,843,533.10
                                  6617 Bell Bluff Ave
                                  San Diego CA 92119

       08/25/15     003230        Fietsch, John                                 Claim 000137, Payment 4.00000%                    7100-000                                          4,128.46     2,839,404.64
                                  Ripka, Lesley
                                  2738 Dehesa Rd
                                  El Cajon CA 92109

       08/25/15     003231        Leslie D Ripka Trust                          Claim 000138, Payment 4.00000%                    7100-000                                          1,375.75     2,838,028.89
                                  Leslie Ripka
                                  2738 Dehesa Rd


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  El Cajon CA 92019

       08/25/15     003232        Cyphert, Michael I and Rebecca S              Claim 000140, Payment 4.00011%                    7100-000                                           103.51      2,837,925.38
                                  1795 NW Calkins Ave
                                  Roseburg, OR 97471

       08/25/15     003233        Nixon Family Trust                            Claim 000141, Payment 4.00000%                    7100-000                                            13.56      2,837,911.82
                                  c/o Linda Frantz
                                  1139 NW Baltimore Ave
                                  Bend OR 97701

       08/25/15     003234        Frantz, Linda D & David P                     Claim 000142, Payment 4.00000%                    7100-000                                          1,672.00     2,836,239.82
                                  1139 NW Baltimore Ave
                                  Bend OR 97701

       08/25/15     003235        Mischkot, Lynette                             Claim 000143, Payment 4.00000%                    7100-000                                           556.56      2,835,683.26
                                  Mattson, Christopher
                                  2016 S Scyene
                                  Boise ID 83712

       08/25/15     003236        Barents, Bruce                                Claim 000144, Payment 4.00000%                    7100-000                                      27,179.64        2,808,503.62
                                  7207 Kanapolis Dr
                                  Crossville TN 38572

       08/25/15     003237        Kutz, Brandon J                               Claim 000145, Payment 4.00005%                    7100-000                                           311.66      2,808,191.96
                                  Abbott, Susan
                                  4903 Cone Ave
                                  Eugene OR 97402

       08/25/15     003238        Pipe, Hallie M Night                          Claim 000146, Payment 4.00000%                    7100-000                                           269.40      2,807,922.56
                                  Abbott, Susan


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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                  3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  4903 Cone Ave
                                  Eugene OR 97402

       08/25/15     003239        Susan D Abbott Lvg Trust dtd 12-23-09           Claim 000147, Payment 3.99999%                    7100-000                                          2,200.43     2,805,722.13
                                  Susan Abbott, Trustee
                                  4903 Cone Ave
                                  Eugene OR 97402

       08/25/15     003240        Kutz, Mia Ayame                                 Claim 000148, Payment 4.00000%                    7100-000                                           211.60      2,805,510.53
                                  Abbott, Susan
                                  4903 Cone Ave
                                  Eugene OR 97402

       08/25/15     003241        Butler, David                                   Claim 000149, Payment 4.00000%                    7100-000                                           793.32      2,804,717.21
                                  2313 NW Garfield
                                  Corvallis OR 97330

       08/25/15     003242        Butler, Thomas M & Butler, Glee E               Claim 000150, Payment 4.00000%                    7100-000                                      10,187.83        2,794,529.38
                                  2313 NW Garfield
                                  Corvallis OR 97330

       08/25/15     003243        Steckelberg-Glass, Loretta                      Claim 000151, Payment 4.00000%                    7100-000                                          4,791.50     2,789,737.88
                                  2483 North Hampton Rd
                                  Eugene OR 97404

       08/25/15     003244        Butler, Paul D & Natalie B                      Claim 000153, Payment 4.00000%                    7100-000                                          1,786.00     2,787,951.88
                                  15506 NE 14th St
                                  Vancouver WA 98684

       08/25/15     003245        Pohll, Michael                                  Claim 000154, Payment 4.00000%                    7100-000                                           421.44      2,787,530.44
                                  c/o Norm & Ruth Pohll


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  1630 Elanco Ln
                                  Eugene OR 97408

       08/25/15     003246        Jones, Elena R                                  Claim 000155, Payment 4.00041%                    7100-000                                            23.40      2,787,507.04
                                  Norman Pohll, Custodian
                                  1630 Elanco Ln
                                  Eugene OR 97408

       08/25/15     003247        Pohll, Jared C                                  Claim 000156, Payment 4.00007%                    7100-000                                           242.83      2,787,264.21
                                  Norman Pohll, Custodian
                                  1630 Elanco Ln
                                  Eugene OR 97408

       08/25/15     003248        Ruth Pohll                                      Claim 000157, Payment 4.00000%                    7100-000                                          8,204.37     2,779,059.84
                                  1630 Elanco Ln
                                  Eugene OR 97408

       08/25/15     003249        Van Sant, Dennis & Bonnie                       Claim 000159, Payment 4.00000%                    7100-000                                          9,833.41     2,769,226.43
                                  2404 Devon Ave
                                  Eugene OR 97408

       08/25/15     003250        Vansant, Douglas                                Claim 000160, Payment 4.00000%                    7100-000                                           416.48      2,768,809.95
                                  960 Williams
                                  Eugene OR 97402

       08/25/15     003251        Northup, Darryl L/Northup, Alberta E            Claim 000161, Payment 4.00000%                    7100-000                                          1,114.96     2,767,694.99
                                  131 9th St
                                  Port Angeles WA 98362

       08/25/15     003252        Apostolic Faith Church of Chehalis WA           Claim 000162, Payment 4.00000%                    7100-000                                          7,936.56     2,759,758.43
                                  Jack Chasteen, Darrel Lee, Tim Mixer


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
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                                                                                                FORM 2                                                                                          Page: 114
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                 3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  POB 446
                                  Chehalis WA 98532

       08/25/15     003253        Horn, Gregory P & Phyllis M                    Claim 000163, Payment 4.00000%                    7100-000                                           967.72      2,758,790.71
                                  18733 S Norry Ct
                                  Mulino OR 97042-9735

       08/25/15     003254        Berakah LLC                                    Claim 000164, Payment 4.00000%                    7100-000                                           492.92      2,758,297.79
                                  c/o Grant Spies
                                  36050 Jasper Rd
                                  Springfield OR 97478

       08/25/15     003255        Spies, Grant & Debra                           Claim 000165, Payment 4.00000%                    7100-000                                          6,755.92     2,751,541.87
                                  36050 Jasper Rd
                                  Springfield OR 97478

       08/25/15     003256        Apostolic Faith Chuch of Port Angeles          Claim 000166, Payment 4.00000%                    7100-000                                           775.56      2,750,766.31
                                  Larry & Kate Montgomery, D Lee, E Jacobs
                                  POB 9
                                  Port Angeles WA 98362

       08/25/15     003257        Von Wald, Kimberly A                           Claim 000167, Payment 4.00001%                    7100-000                                          1,102.99     2,749,663.32
                                  11024 Forest Ave S
                                  Seattle WA 98178

       08/25/15     003258        Rosenlof, Wayne & Rosenlof, Janis J            Claim 000168, Payment 4.00000%                    7100-000                                      14,307.80        2,735,355.52
                                  3020 Winkel Way
                                  West Linn OR 97068-2165

       08/25/15     003259        Rosenlof, Wayne & Rosenlof, Janis J            Claim 000169, Payment 4.00000%                    7100-000                                          4,395.52     2,730,960.00
                                  3020 Winkel Way


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                        Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 115
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  West Linn OR 97068-2165

       08/25/15     003260        Siegmund, Catherine J, Trustee                Claim 000170, Payment 4.00000%                    7100-000                                          3,431.40     2,727,528.60
                                  Rev Trust dtd 11-16-01
                                  2545 W 23rd
                                  Eugene OR 97405

       08/25/15     003261        Sogge Joint Trust                             Claim 000172, Payment 4.00000%                    7100-000                                          1,417.52     2,726,111.08
                                  Robert & Mary Kathleen Sogge, Trustees
                                  3620 Donald St
                                  Eugene OR 97405

       08/25/15     003262        Kellstrom, Scott & Jenny                      Claim 000173, Payment 4.00000%                    7100-000                                          1,507.36     2,724,603.72
                                  457 NW Riverview Way
                                  Gresham OR 97030

       08/25/15     003263        Buss, Dennis & Deborah                        Claim 000174, Payment 4.00000%                    7100-000                                          2,829.84     2,721,773.88
                                  POB 163
                                  Chehalis WA 98532

       08/25/15     003264        Buss, Cleta & Dennis                          Claim 000175, Payment 4.00000%                    7100-000                                           808.56      2,720,965.32
                                  POB 163
                                  Chehalis WA 98532

       08/25/15     003265        Butler, John C & Tamera A                     Claim 000176, Payment 4.00000%                    7100-000                                          1,027.72     2,719,937.60
                                  06668 Mercer View Dr
                                  Florence OR 97439

       08/25/15     003266        Abby Broughton Profit Sharing                 Claim 000177, Payment 4.00000%                    7100-000                                      15,559.80        2,704,377.80
                                  c/o R Scott Palmer
                                  Watkinson Laird Rubenstein Baldwin & Bur


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  101 E Broadway #200
                                  Eugene OR 97401

       08/25/15     003267        Albert & Connie Broughton,                      Claim 000178, Payment 4.00000%                    7100-000                                      114,723.12       2,589,654.68
                                  Trustees of the Broughton Living Trust
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess,P.C.
                                  101 E. Broadway,Ste 200,Eugene, OR 97401

       08/25/15     003268        Steven Cochran and Rosamond Cochran             Claim 000180, Payment 4.00000%                    7100-000                                          2,195.34     2,587,459.34
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15     003269        Juanita G. Cochran and Steven Cochran           Claim 000181, Payment 4.00000%                    7100-000                                          4,487.56     2,582,971.78
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15     003270        Clemens R. Aita, Jr.                            Claim 000182, Payment 4.00000%                    7100-000                                          4,252.36     2,578,719.42
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15     003271        George and Yvonne Karotko                       Claim 000183, Payment 4.00000%                    7100-000                                       12,156.69       2,566,562.73
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene, OR 97401

       08/25/15     003272        George and Yvonne Karotko                       Claim 000184, Payment 4.00000%                    7100-000                                      47,549.80        2,519,012.93
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15     003273        Eric R. and Cindy S. Thoreson                   Claim 000185, Payment 4.00000%                    7100-000                                           633.08      2,518,379.85
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15     003274        Erik M. and Stephanie M. Cheney                 Claim 000186, Payment 4.00000%                    7100-000                                          1,291.88     2,517,087.97
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15     003275        Stan Karotko                                    Claim 000187, Payment 4.00000%                    7100-000                                      25,489.25        2,491,598.72
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15     003276        Ramsey-Waite Company and George Karotko         Claim 000188, Payment 4.00000%                    7100-000                                      56,104.80        2,435,493.92
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401


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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       08/25/15     003277        Peggy Karotko                                   Claim 000189, Payment 4.00001%                    7100-000                                          1,232.58     2,434,261.34
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15     003278        Patricia M. Strutt Rev. Trust                   Claim 000190, Payment 3.99999%                    7100-000                                          2,835.09     2,431,426.25
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15     003279        Victoria Leigh Quinn, c/o Peggy                 Claim 000191, Payment 4.00000%                    7100-000                                          1,295.80     2,430,130.45
                                  Karotko, Custodian
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C., 101 E. Broadway
                                  Suite 200, Eugene, OR 97401

       08/25/15     003280        Jack L. and Wendy Chasteen                      Claim 000192, Payment 4.00000%                    7100-000                                           403.44      2,429,727.01
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15     003281        Gloria Mae Roat Rev Lvg Trust                   Claim 000194, Payment 4.00000%                    7100-000                                          6,310.96     2,423,416.05
                                  3727 Douglas Dr
                                  Springfield OR 97478

       08/25/15     003282        Townsend, Richard                               Claim 000195, Payment 4.00000%                    7100-000                                          2,800.36     2,420,615.69
                                  POB 783


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                                                                                               FORM 2                                                                                          Page: 119
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Three Forks MT 59752

       08/25/15     003283        Butler Family Trust dtd 10/4/94               Claim 000196, Payment 4.00000%                    7100-000                                      20,252.73        2,400,362.96
                                  Glenn & Kathleen Butler, Trustees
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Ste100,Eugene, OR 97401

       08/25/15     003284        Gunderson, Wesley                             Claim 000197, Payment 4.00000%                    7100-000                                            30.04      2,400,332.92
                                  397 W Anchor Ave
                                  Eugene OR 97404

       08/25/15     003285        Gunderson, Wayne J & Caralie S                Claim 000198, Payment 4.00000%                    7100-000                                          3,871.77     2,396,461.15
                                  397 W Anchor Ave
                                  Eugene OR 97404

       08/25/15     003286        Sherlock, Bodin                               Claim 000199, Payment 4.00000%                    7100-000                                           346.68      2,396,114.47
                                  1862 Lincoln St
                                  Eugene OR 97401

       08/25/15     003287        Sherlock, Carmen                              Claim 000200, Payment 4.00000%                    7100-000                                           346.68      2,395,767.79
                                  1862 Lincoln St
                                  Eugene OR 97401

       08/25/15     003288        Sherlock, Jennifer                            Claim 000201, Payment 4.00000%                    7100-000                                           451.60      2,395,316.19
                                  1862 Lincoln St
                                  Eugene OR 97401

       08/25/15     003289        Sherlock, William & Jennifer                  Claim 000202, Payment 4.00000%                    7100-000                                           381.04      2,394,935.15
                                  1862 Lincoln St
                                  Eugene OR 97401


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                                 3                                               4                                                  5                      6                  7
     Transaction    Check or                                                                                                         Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                         Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


 *     08/25/15      003290       John G. Cox, Trustee                             Claim 000203, Payment 4.00002%                     7100-004                                           986.66      2,393,948.49
                                  POB 10886                                        9/29/15. Check not processed. Stop payment
                                  Eugene OR 97440                                  issued. Reiussing check.

       08/25/15      003291       James Robert Harrell Pension - Loretta           Claim 000204, Payment 4.00000%                     7100-000                                          6,669.96     2,387,278.53
                                  Harrell
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15      003292       Hutchinson, Rose                                 Claim 000206, Payment 4.00000%                     7100-000                                          8,424.14     2,378,854.39
                                  13000 SW Aragon Ln
                                  Beaverton OR 97005

       08/25/15      003293       Hutchinson, Hilary                               Claim 000207, Payment 4.00000%                     7100-000                                          5,943.20     2,372,911.19
                                  13000 SW Aragon Ln
                                  Beaverton OR 97005

       08/25/15      003294       Philip W Dean                                    Claim 000208, Payment 4.00000%                     7100-000                                          2,868.72     2,370,042.47
                                  POB 3914
                                  Sunriver OR 97707-3712

       08/25/15      003295       Chasteen, Denis & Danna                          Claim 000209, Payment 4.00000%                     7100-000                                          5,651.00     2,364,391.47
                                  Chasteen, LaVonne
                                  621 Newton Creek
                                  Roseburg OR 97470

       08/25/15      003296       John & Judith Hansan                             Claim 000210, Payment 4.00000%                     7100-000                                          3,672.48     2,360,718.99
                                  7 Gingerwood Dr


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                       Case 12-63884-tmr7            Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                          Page: 121
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                     3                                         4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Homosassa FL 34446

       08/25/15     003297        Kyle Scott Larkin                              Claim 000211, Payment 4.00000%                    7100-000                                            44.76      2,360,674.23
                                  Patrick K Larkin
                                  2427 SE Elliott Dr
                                  Gresham OR 97080

       08/25/15     003298        Larkin, Cathy & Patrick K                      Claim 000212, Payment 4.00000%                    7100-000                                          5,873.64     2,354,800.59
                                  2427 SE Elliott Dr
                                  Gresham OR 97080

       08/25/15     003299        Curtis, Eileen J & Robert L                    Claim 000217, Payment 4.00000%                    7100-000                                      11,234.16        2,343,566.43
                                  447 Covey Ln
                                  Eugene OR 97401

       08/25/15     003300        Kottas, William F                              Claim 000218, Payment 4.00001%                    7100-000                                           766.35      2,342,800.08
                                  2248 Ridgeway
                                  Eugene OR 97401

       08/25/15     003301        Trangsrud, Julie A                             Claim 000219, Payment 3.99999%                    7100-000                                          1,432.49     2,341,367.59
                                  1105 Hoyt Ave W
                                  St Paul MN 55108

       08/25/15     003302        Huber-Shaw Living Trust                        Claim 000220, Payment 4.00000%                    7100-000                                          4,758.04     2,336,609.55
                                  Randy Huber & Shirley Shaw TTES
                                  5675 NW Foothill Pl
                                  Corvallis OR 97330

       08/25/15     003303        Timberhill Athletic Club                       Claim 000221, Payment 4.00000%                    7100-000                                          4,946.72     2,331,662.83
                                  Attn Claire MaGee
                                  2855 NW 29th St


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                                                FORM 2                                                                                          Page: 122
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                     3                                         4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Corvallis OR 97330

       08/25/15     003304        KRJ Investments                                Claim 000222, Payment 4.00000%                    7100-000                                           210.36      2,331,452.47
                                  2855 NW 29th St
                                  Corvallis OR 97330

       08/25/15     003305        Larkin, Scott & Kristine                       Claim 000223, Payment 4.00000%                    7100-000                                      15,778.86        2,315,673.61
                                  8 Sunflower Ct
                                  Pasco WA 99301

       08/25/15     003306        Reese and Joyce Woods                          Claim 000225, Payment 4.00000%                    7100-000                                          1,846.00     2,313,827.61
                                  c/o Scott L Jensen, Esq
                                  1200 SW Main St
                                  Portland OR 97205

       08/25/15     003307        Fischer, Wynn                                  Claim 000226, Payment 4.00000%                    7100-000                                           260.60      2,313,567.01
                                  Fischer, Nancy
                                  2849 Stark
                                  Eugene OR 97404

       08/25/15     003308        Kenneth J West Survivor's Trust                Claim 000227, Payment 4.00000%                    7100-000                                          2,069.48     2,311,497.53
                                  Kenneth West, Trustee
                                  1817 SW 43rd St
                                  Pendleton OR 97801

       08/25/15     003309        Sheila K West Decedent's Trust                 Claim 000228, Payment 4.00000%                    7100-000                                          2,489.04     2,309,008.49
                                  Kenneth J West, Trustee
                                  1817 SW 43rd St
                                  Pendleton OR 97801

       08/25/15     003310        Stan's Auto Upholstery Inc                     Claim 000230, Payment 4.00000%                    7100-000                                           931.36      2,308,077.13


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                                               FORM 2                                                                                          Page: 123
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  540 Wilson St
                                  Eugene OR 97402

       08/25/15     003311        Clunes, Robert                                Claim 000231, Payment 4.00000%                    7100-000                                          4,178.32     2,303,898.81
                                  Clunes, Aaron
                                  POB 3
                                  Aurora OR 97002

       08/25/15     003312        Daniel Curtis and Stephanie Shaff             Claim 000232, Payment 4.00000%                    7100-000                                          5,680.40     2,298,218.41
                                  82711 Bradford Rd
                                  Creswell OR 97426

       08/25/15     003313        Larkin, Kelly S                               Claim 000233, Payment 4.00000%                    7100-000                                            90.48      2,298,127.93
                                  8 Sunflower Ct
                                  Pasco WA 99301

       08/25/15     003314        Wildish Standard Paving Co                    Claim 000235, Payment 4.00000%                    7100-000                                      20,630.36        2,277,497.57
                                  c/o Douglas R Wilkinson
                                  1011 Harlow Rd #300
                                  Springfield OR 97477

       08/25/15     003315        Maginnis, Ashley                              Claim 000236, Payment 4.00000%                    7100-000                                            19.40      2,277,478.17
                                  100 NW Maywood Drive
                                  Portland, OR 97210

       08/25/15     003316        Parkhurst, Stephen W                          Claim 000237, Payment 3.99996%                    7100-000                                           173.30      2,277,304.87
                                  Russo, Massimo
                                  CMR 426 Box 468
                                  APO AE 09613

       08/25/15     003317        Redhead, Connie                               Claim 000238, Payment 4.00000%                    7100-000                                           943.47      2,276,361.40


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                      Case 12-63884-tmr7         Doc 1729              Filed 07/18/19
                                                                                              FORM 2                                                                                          Page: 124
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                            Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                               Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                            Separate Bond (if applicable):


           1           2                                 3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                     Uniform                                                       Account / CD
       Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  1574 Coburg Rd #399
                                  Eugene OR 97401

       08/25/15     003318        Revels, Larry O                              Claim 000239, Payment 4.00000%                    7100-000                                           933.92      2,275,427.48
                                  3023 Nickleby Ct
                                  Katy TX 77494

       08/25/15     003319        Johnson, Kenneth R DMD                       Claim 000243, Payment 4.00000%                    7100-000                                          5,853.80     2,269,573.68
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       08/25/15     003320        Johnson, Dorothy J                           Claim 000245, Payment 4.00000%                    7100-000                                          3,486.13     2,266,087.55
                                  3889 NW Glen Eden Dr
                                  Corvallis OR 97330

       08/25/15     003321        Johnson, Dorothy J                           Claim 000246, Payment 4.00000%                    7100-000                                          5,784.00     2,260,303.55
                                  3889 NW Glen Eden Dr
                                  Corvallis OR 97330

       08/25/15     003322        Tower, Edgar D & Ione A                      Claim 000247, Payment 4.00000%                    7100-000                                          2,078.84     2,258,224.71
                                  9052 Annik Dr
                                  Huntington Beach, CA 92646

       08/25/15     003323        Chasteen, Gene & LaVonne                     Claim 000248, Payment 4.00000%                    7100-000                                           593.56      2,257,631.15
                                  Chasteen, Jack & Wendy
                                  174 Heather Ln
                                  Roseburg OR 97470

       08/25/15     003324        Ramsey, Elizabeth H                          Claim 000249, Payment 4.00000%                    7100-000                                          1,611.37     2,256,019.78


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LFORM2T4                                                                                                                                                                                              Ver: 22.01b
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                                                                                               FORM 2                                                                                          Page: 125
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Deshotel, Danielle N
                                  534 Kohala St
                                  Kihei HI 96753

       08/25/15     003325        Francis, Richard W & Beverly A                Claim 000250, Payment 4.00000%                    7100-000                                          9,949.76     2,246,070.02
                                  61499 SW Longview St
                                  Bend OR 97702

       08/25/15     003326        Roy & Helen Clunes Living Trust               Claim 000251, Payment 4.00000%                    7100-000                                          1,128.12     2,244,941.90
                                  Beverly A Francis, Trustee
                                  61499 SW Longview St
                                  Bend, OR 97702

       08/25/15     003327        Francis, Beverly A                            Claim 000252, Payment 4.00000%                    7100-000                                          2,937.46     2,242,004.44
                                  61499 SW Longview St
                                  Bend OR 97702

       08/25/15     003328        Neuman, Vince & Faye                          Claim 000254, Payment 4.00000%                    7100-000                                          6,248.96     2,235,755.48
                                  Luke, Sue
                                  c/o Douglas R Wilkinson
                                  1011 Harlow Rd #300
                                  Springfield OR 97477

       08/25/15     003329        Kevin Paul Francis                            Claim 000255, Payment 4.00000%                    7100-000                                          2,252.47     2,233,503.01
                                  512 South 14th Avenue
                                  Bozeman MT 59715

       08/25/15     003330        Lawler, Frances S                             Claim 000256, Payment 4.00000%                    7100-000                                          1,541.60     2,231,961.41
                                  7 Gardenside Pl
                                  Towson MD 21286




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                               FORM 2                                                                                          Page: 126
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       08/25/15     003331        Pershern, Lauren Pershern, Annette            Claim 000257, Payment 4.00000%                    7100-000                                            53.20      2,231,908.21
                                  35027 Fremont Ave
                                  Eugene OR 97405

       08/25/15     003332        Donald & Elizabeth Miller/Annette             Claim 000258, Payment 4.00000%                    7100-000                                           888.92      2,231,019.29
                                  Pershern &
                                  Glenn Miller
                                  35031 Fremont Ave
                                  Eugene OR 97405

       08/25/15     003333        Miller, Donald & Elizabeth                    Claim 000259, Payment 4.00000%                    7100-000                                          1,514.48     2,229,504.81
                                  Miller, Glenn
                                  35031 Fremont Ave
                                  Eugene OR 97405

       08/25/15     003334        Bien, Guy                                     Claim 000260, Payment 4.00000%                    7100-000                                          1,050.88     2,228,453.93
                                  19 Shanna Cir
                                  Crowley Lake CA 93546

       08/25/15     003335        Johnson, James Douglas                        Claim 000261, Payment 4.00000%                    7100-000                                           464.48      2,227,989.45
                                  2610 Melekhin Bend
                                  Cedar Park TX 78613

       08/25/15     003336        Johnson, Christopher Michael                  Claim 000262, Payment 4.00000%                    7100-000                                           423.96      2,227,565.49
                                  2610 Melekhin Bend
                                  Cedar Park TX 78613

       08/25/15     003337        Brown, Jonathan W                             Claim 000264, Payment 4.00000%                    7100-000                                           104.68      2,227,460.81
                                  4832 Cartwright Ave
                                  N Hollywood CA 91601




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                               FORM 2                                                                                          Page: 127
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       08/25/15     003338        Buhl, Douglas V                               Claim 000265, Payment 4.00000%                    7100-000                                          1,140.32     2,226,320.49
                                  1259 S 58th St
                                  Springfield OR 97478

       08/25/15     003339        Buhl, Marilyn J                               Claim 000266, Payment 4.00000%                    7100-000                                           386.08      2,225,934.41
                                  1259 S 58th St
                                  Springfield OR 97478

       08/25/15     003340        Matthews, Randy                               Claim 000267, Payment 4.00000%                    7100-000                                          1,355.00     2,224,579.41
                                  8011 Romaine St #307
                                  Los Angeles CA 90046

       08/25/15     003341        Camille Mack                                  Claim 000270, Payment 4.00000%                    7100-000                                          9,707.80     2,214,871.61
                                  6480 W Sumac Ave
                                  Denver CO 80123

       08/25/15     003342        Camille Mack                                  Claim 000271, Payment 4.00000%                    7100-000                                          4,541.76     2,210,329.85
                                  6480 W Sumac Ave
                                  Denver CO 80123

       08/25/15     003343        Holcomb, Joanne                               Claim 000272, Payment 4.00001%                    7100-000                                           232.82      2,210,097.03
                                  3201 E Virginia
                                  Denver CO 80209

       08/25/15     003344        Ambler, Susanne                               Claim 000273, Payment 4.00000%                    7100-000                                          8,533.14     2,201,563.89
                                  Ambler, John
                                  1375 Loring St
                                  San Diego CA 92109

       08/25/15     003345        Ambler, John                                  Claim 000274, Payment 4.00000%                    7100-000                                           216.72      2,201,347.17
                                  1375 Loring St


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                               FORM 2                                                                                          Page: 128
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                    3                                         4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  San Diego CA 92109

       08/25/15     003346        Dorothy & Leslie Family Trust                 Claim 000275, Payment 4.00000%                    7100-000                                          1,986.08     2,199,361.09
                                  c/o GG Alan Vaughan
                                  6480 W Sumac Ave
                                  Denver CO 80123

       08/25/15     003347        Dorothy & Leslie Family Trust                 Claim 000276, Payment 4.00000%                    7100-000                                          2,305.32     2,197,055.77
                                  c/o GG Alan Vaughan
                                  6480 W Sumac Ave
                                  Denver CO 80123

       08/25/15     003348        Sharon Asta                                   Claim 000277, Payment 4.00000%                    7100-000                                          1,431.88     2,195,623.89
                                  6480 W Sumac Ave
                                  Denver CO 80123

       08/25/15     003349        First American Reserve Trust                  Claim 000278, Payment 4.00000%                    7100-000                                      19,577.24        2,176,046.65
                                  6480 W Sumac Av
                                  Denver CO 80123

       08/25/15     003350        Christian Vaughan Trust                       Claim 000279, Payment 4.00000%                    7100-000                                          2,074.44     2,173,972.21
                                  c/o GG Alan Vaughan
                                  6480 W Sumac Ave
                                  Littleton CO 80123

       08/25/15     003351        Hutchinson, Mark                              Claim 000280, Payment 4.00000%                    7100-000                                            41.20      2,173,931.01
                                  POB 5374
                                  Portland OR 97228

       08/25/15     003352        Visionsite Corp                               Claim 000281, Payment 4.00020%                    7100-000                                            70.74      2,173,860.27
                                  Mark Hutchinson, CEO


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1            2                                 3                                             4                                                      5                      6                  7
     Transaction    Check or                                                                                                           Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                      Description Of Transaction                 Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  POB 2310
                                  Portland OR 97208

       08/25/15      003353       VASTS/VisionSite Advanced Staff               Claim 000282, Payment 4.00000%                          7100-000                                            21.84      2,173,838.43
                                  Training Svc
                                  POB 5374
                                  Portland OR 97228

 *     08/25/15      003354       Howard W Berge Survivor's Trust               Claim 000283, Payment 4.00000%                          7100-003                                          2,312.68     2,171,525.75
                                  Howard W Berge
                                  50 Ruby Ave #219
                                  Eugene OR 97404

       08/25/15      003355       Pegasus Travel Inc                            Claim 000284, Payment 4.00000%                          7100-000                                           766.32      2,170,759.43
                                  6480 W Sumac Ave
                                  Denver CO 80123

 *     08/25/15      003356       Barlow, Cormac Adams                          Claim 000285, Payment 4.00000%                          7100-004                                           424.16      2,170,335.27
                                  c/o Luke Barlow                               2/1/16 - despite efforts to communicate with Mr.
                                  372 Cedar St                                  Barlow. Have been unsuccessful. Check has not
                                  Monterey CA 93940                             been negotiated nor has Mr. Barlow contacted the
                                                                                Court or our office with a current address. Stop
                                                                                payment issued today.

       08/25/15      003357       Brown, Indiana Loye                           Claim 000286, Payment 4.00000%                          7100-000                                          1,114.60     2,169,220.67
                                  Brown, Jason & Jenny
                                  2815 E Morningside Dr
                                  Idaho Falls ID 83402

       08/25/15      003358       Jason Brown                                   Claim 000287, Payment 3.99949%                          7100-000                                            69.51      2,169,151.16
                                  2815 E Morningside Dr


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:           12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1            2                                 3                                              4                                                    5                      6                  7
     Transaction    Check or                                                                                                            Uniform                                                     Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                  Idaho Falls ID 83402

       08/25/15      003359       Brown, Olivia Georganna (minor)               Claim 000288, Payment 4.00000%                          7100-000                                          927.56      2,168,223.60
                                  c/o Brown, Jason & Jenny
                                  2815 E Morningside Dr
                                  Idaho Falls ID 83402

 *     08/25/15      003360       Piernick, Sally D                             Claim 000290, Payment 4.00000%                          7100-004                                         6,842.64     2,161,380.96
                                  27834 Royal Ave                               9/8/15 stop payment placed. Creditor called.
                                  Eugene OR 97502                               Reviewed claim and noted that zip code is incorrect.
                                                                                Should be 97402. Contacted Court (Kim) to correct
                                                                                and changed on our records. Original claim had
                                                                                proper zip code. Reissue once stop payment
                                                                                confirmed.

       08/25/15      003361       Bramwell, C Josephine                         Claim 000291, Payment 4.00000%                          7100-000                                          493.32      2,160,887.64
                                  8015 B Densmore Ave N
                                  Seattle Wa 98103

       08/25/15      003362       Larkin, Marlin & Elizabeth                    Claim 000294, Payment 4.00000%                          7100-000                                          563.00      2,160,324.64
                                  2437 Harris St
                                  Eureka CA 95503

       08/25/15      003363       Kathleen E. O'Brien                           Claim 000295, Payment 4.00000%                          7100-000                                         4,753.24     2,155,571.40
                                  3361 E Choctaw Drive
                                  Sierra Vista AZ 85650

       08/25/15      003364       Bishop, Judith L                              Claim 000296, Payment 4.00000%                          7100-000                                          330.80      2,155,240.60
                                  11304 NE Oregon
                                  Portland OR 97220




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       08/25/15     003365        Aaron Larkin                                  Claim 000297, Payment 4.00000%                    7100-000                                            25.48      2,155,215.12
                                  8 Sunflower Ct
                                  Pasco WA 99301

       08/25/15     003366        Roland Glass & Matthew Glass                  Claim 000298, Payment 4.00000%                    7100-000                                          1,506.28     2,153,708.84
                                  c/o Scott R. Palmer
                                  Watkinson Laird, et al.
                                  101 E Broadway #200
                                  Eugene, OR 97401

       08/25/15     003367        Karotko, Ellen                                Claim 000299, Payment 4.00000%                    7100-000                                          1,603.48     2,152,105.36
                                  2610 Crowther
                                  Eugene OR 97404

       08/25/15     003368        Ellington, Joan & Clayton                     Claim 000300, Payment 4.00000%                    7100-000                                      11,785.90        2,140,319.46
                                  POB 833
                                  Homer AK 99603

       08/25/15     003369        Kertzner, Rachel Rose                         Claim 000302, Payment 4.00000%                    7100-000                                           463.08      2,139,856.38
                                  2835 SE 35th Pl
                                  Portland OR 97202

       08/25/15     003370        Johnson, Jill                                 Claim 000303, Payment 4.00000%                    7100-000                                          1,278.36     2,138,578.02
                                  Johnson, Kenneth
                                  2835 SE 35th Pl
                                  Portland OR 97202

       08/25/15     003371        Kertzner, Eliana Rae                          Claim 000304, Payment 4.00000%                    7100-000                                           463.08      2,138,114.94
                                  2835 SE 35th Pl
                                  Portland OR 97202




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       08/25/15     003372        Clark Lateral Ditch Co 03-0018                Claim 000305, Payment 4.00000%                    7100-000                                           933.36      2,137,181.58
                                  c/o Scott Sveum
                                  10980 W 65th Way
                                  Arvada CO 80004

       08/25/15     003373        Mimi van Breemen                              Claim 000308, Payment 4.00000%                    7100-000                                            10.24      2,137,171.34
                                  c/o Kristen Van Breemen
                                  15108 SE Shaunte Lane
                                  Happy Valley OR 97086

       08/25/15     003374        Mimi van Breemen                              Claim 000310, Payment 4.00000%                    7100-000                                            24.52      2,137,146.82
                                  c/o Kristen Van Breemen
                                  15108 SE Shaunte Lane
                                  Happy Valley OR 97086

       08/25/15     003375        Jonah van Breemen                             Claim 000311, Payment 4.00000%                    7100-000                                            29.76      2,137,117.06
                                  c/o Kristen van Breemen
                                  15108 SE Shaunte Ln
                                  Happy Valley OR 97086

       08/25/15     003376        Jorja Hansen                                  Claim 000312, Payment 4.00000%                    7100-000                                           107.28      2,137,009.78
                                  c/o R. Scott Palmer,
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15     003377        F. Leroy Sherman and Verda F. Sherman         Claim 000313, Payment 4.00000%                    7100-000                                          2,205.32     2,134,804.46
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                               3                                             4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15      003378       Verda Sherman                                 Claim 000314, Payment 4.00000%                    7100-000                                          6,520.62     2,128,283.84
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

 *     08/25/15      003379       Colton Hansen                                 Claim 000315, Payment 4.00000%                    7100-003                                           222.80      2,128,061.04
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

 *     08/25/15      003380       Graysen Hansen                                Claim 000316, Payment 4.00000%                    7100-003                                           132.00      2,127,929.04
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       08/25/15      003381       Kaiser, Lisa                                  Claim 000317, Payment 4.00000%                    7100-000                                            42.36      2,127,886.68
                                  9801 SE Ladera Ct
                                  Damascus OR 97089

       08/25/15      003382       Bishop, Jennifer                              Claim 000318, Payment 4.00000%                    7100-000                                            45.36      2,127,841.32
                                  4315 SE 15th Ave
                                  Portland OR 97202


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                                 3                                           4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


 *     08/25/15      003383       Donald N & Barbara H McDonald                 Claim 000319, Payment 4.00000%                    7100-004                                          3,763.96     2,124,077.36
                                  c/o Sevens Legal
                                  5030 Camino de la Siesta #204
                                  San Diego CA 92108

       08/25/15      003384       F.Leroy Sherman, Successor Trustee of         Claim 000321, Payment 4.00000%                    7100-000                                      10,352.76        2,113,724.60
                                  the
                                  Rose Sherman Rev. Living Trust Agreement
                                  U/T/A 11-4-99 as republished 6-20-12
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway,Ste.200,Eugene,OR 97401

       08/25/15      003385       Michael John Jaskilka                         Claim 000322, Payment 3.99997%                    7100-000                                           625.25      2,113,099.35
                                  1484 Barrington Ave
                                  Eugene OR 97401

       08/25/15      003386       Bonnie Rhynard-Buhl                           Claim 000323, Payment 4.00000%                    7100-000                                          1,619.92     2,111,479.43
                                  27353 SW 45th Drive
                                  Wilsonville OR 97070

       08/25/15      003387       Davis Wright Tremaine LLP                     Claim 000324, Payment 4.00001%                    7100-000                                          1,939.53     2,109,539.90
                                  1300 SW 5th Ave #2400
                                  Portland OR 97201

       08/25/15      003388       Coffman, Ronald R & Peggy J                   Claim 000325, Payment 4.00002%                    7100-000                                           492.56      2,109,047.34
                                  2920 NE Conners Ave #228
                                  Bend, OR 97701

       08/25/15      003389       Eileen and Bruce McLellan                     Claim 000326, Payment 3.99999%                    7100-000                                          1,048.55     2,107,998.79


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       08/25/15     003390        Bruce McLellan                                Claim 000327, Payment 4.00000%                    7100-000                                          4,681.96     2,103,316.83
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       08/25/15     003391        Warren Harper                                 Claim 000328, Payment 3.99999%                    7100-000                                          1,401.39     2,101,915.44
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       08/25/15     003392        Marilyn and James Rear, Jr.                   Claim 000329, Payment 4.00000%                    7100-000                                      12,688.63        2,089,226.81
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       08/25/15     003393        Janet Harper and Marilyn Rear                 Claim 000330, Payment 4.00000%                    7100-000                                          1,997.86     2,087,228.95
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       08/25/15     003394        Harper Farms, Inc.                            Claim 000331, Payment 4.00000%                    7100-000                                      15,014.00        2,072,214.95
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       08/25/15     003395        Guistina, Ehrman V                            Claim 000332, Payment 4.00000%                    7100-000                                          5,486.72     2,066,728.23
                                  c/o Rohn M Roberts


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  800 Willamette St #800
                                  Eugene OR 97401

       08/25/15     003396        Grace Lutheran Foundation                     Claim 000333, Payment 4.00000%                    7100-000                                      17,676.04        2,049,052.19
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       08/25/15     003397        McCarty, Barbara J                            Claim 000334, Payment 4.00000%                    7100-000                                      20,678.52        2,028,373.67
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       08/25/15     003398        M&A Investments                               Claim 000335, Payment 4.00000%                    7100-000                                          2,569.81     2,025,803.86
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       08/25/15     003399        Agerter, Alan J                               Claim 000336, Payment 4.00006%                    7100-000                                           139.68      2,025,664.18
                                  c/o Rohn M. Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       08/25/15     003400        Agerter, Joan H                               Claim 000337, Payment 4.00000%                    7100-000                                          1,505.68     2,024,158.50
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       08/25/15     003401        Agerter, Mark & Regina                        Claim 000338, Payment 4.00001%                    7100-000                                          1,423.28     2,022,735.22
                                  c/o Rohn M Roberts
                                  800 Willamette St #800


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  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97401

       08/25/15     003402        Wolfe, Pierre                                 Claim 000339, Payment 4.00000%                    7100-000                                          2,622.48     2,020,112.74
                                  3568 E Virginia Ave
                                  Denver CO 80209

       08/25/15     003403        Wolfe, Ronald                                 Claim 000340, Payment 4.00000%                    7100-000                                          2,318.72     2,017,794.02
                                  3025 E Bates Ave
                                  Denver CO 80210

       08/25/15     003404        Wolfe, Jean                                   Claim 000341, Payment 4.00000%                    7100-000                                          2,988.64     2,014,805.38
                                  3568 E Virginia Ave
                                  Denver CO 80209

       08/25/15     003405        Dupriest, Douglas M                           Claim 000342, Payment 4.00000%                    7100-000                                          2,234.72     2,012,570.66
                                  225 Dartmoor Dr
                                  Eugene OR 97401

       08/25/15     003406        Degge, Rogena M                               Claim 000343, Payment 4.00000%                    7100-000                                          1,870.16     2,010,700.50
                                  225 Dartmoor Dr
                                  Eugene OR 97401

       08/25/15     003407        Herrmann, Paul                                Claim 000344, Payment 4.00000%                    7100-000                                      11,829.36        1,998,871.14
                                  440 S Garfield St
                                  Denver CO 80209

       08/25/15     003408        Herrmann, Christopher                         Claim 000345, Payment 4.00000%                    7100-000                                          2,987.16     1,995,883.98
                                  c/o Mr & Mrs Paul Herrmann
                                  440 S Garfield St
                                  Denver CO 80209




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       08/25/15     003409        Christian Vaughan                               Claim 000346, Payment 4.00000%                    7100-000                                           353.88      1,995,530.10
                                  6480 W Sumac Ave
                                  Denver CO 80123

       08/25/15     003410        Janssen, Joseph John                            Claim 000347, Payment 4.00000%                    7100-000                                           534.20      1,994,995.90
                                  Janssen, Shannon & David
                                  2855 NW 29th
                                  Corvallis OR 97330

       08/25/15     003411        Janssen, Davi Rae Helen                         Claim 000348, Payment 4.00000%                    7100-000                                           407.08      1,994,588.82
                                  Janssen, Shannon & David
                                  Shannon Brown
                                  2855 NW 29th
                                  Corvallis OR 97330

       08/25/15     003412        Brown, Shannon                                  Claim 000349, Payment 4.00000%                    7100-000                                              6.32     1,994,582.50
                                  2855 NW 29th St
                                  Corvallis OR 97330

       08/25/15     003413        SCS Investments, LLC                            Claim 000350, Payment 4.00000%                    7100-000                                           459.92      1,994,122.58
                                  c/o Alan G. Seligson
                                  142 West 8th Avenue
                                  Eugene, OR 97401

       08/25/15     003414        SRB Investments, LLC                            Claim 000351, Payment 4.00000%                    7100-000                                          9,167.08     1,984,955.50
                                  c/o Alan G. Seligson
                                  142 West 8th Avenue
                                  Eugene, OR 97401

       08/25/15     003415        Debra L. Stanley and James D. Stanley           Claim 000352, Payment 4.00000%                    7100-000                                           805.84      1,984,149.66
                                  3800 BALLYNTYNE RD S


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                      Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                          Page: 139
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                 3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  SALEM OR 97302

       08/25/15     003416        Jared Stanley and Debra Stanley                Claim 000353, Payment 4.00000%                    7100-000                                           192.00      1,983,957.66
                                  3800 BALLYNTYNE RD S
                                  SALEM OR 97302

       08/25/15     003417        Ryan Stanley and Debra Stanley                 Claim 000354, Payment 4.00000%                    7100-000                                           192.00      1,983,765.66
                                  3800 BALLYNTYNE RD S
                                  SALEM OR 97302

       08/25/15     003418        Hutchinson, Cayden                             Claim 000355, Payment 4.00000%                    7100-000                                           168.36      1,983,597.30
                                  Hutchinson, Scott & Wika
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       08/25/15     003419        Tyler, Duane                                   Claim 000356, Payment 4.00000%                    7100-000                                          3,234.52     1,980,362.78
                                  Tyler, Barbara
                                  POB 523
                                  Union OR 97883

       08/25/15     003420        Dorothy J Larkin Rev Living Trust              Claim 000357, Payment 4.00000%                    7100-000                                      29,454.96        1,950,907.82
                                  Richard L Larkin, Successor Trustee
                                  1275 Mountain Fir Ct
                                  Sweet Home OR 97386

       08/25/15     003421        Danielle Deshotel                              Claim 000358, Payment 4.00000%                    7100-000                                           105.16      1,950,802.66
                                  407 S 2nd St
                                  Homer LA 71040

       08/25/15     003422        Johnson, Darci                                 Claim 000359, Payment 4.00000%                    7100-000                                           118.96      1,950,683.70
                                  2451 SE 85th Ave


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                        Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 140
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Portland OR 97216

       08/25/15     003423        Hand, C Gene                                  Claim 000360, Payment 4.00000%                    7100-000                                          5,600.77     1,945,082.93
                                  5159 Solar Heights
                                  Eugene OR 97405

       08/25/15     003424        Erildean Hand                                 Claim 000361, Payment 4.00000%                    7100-000                                           255.68      1,944,827.25
                                  c/o C Gene Hand
                                  5159 Solar Heights Dr
                                  Eugene OR 97405

       08/25/15     003425        Hand, Patsy                                   Claim 000362, Payment 3.99998%                    7100-000                                          1,083.44     1,943,743.81
                                  5159 Solar Heights
                                  Eugene OR 97405

       08/25/15     003426        Redhead, Paul                                 Claim 000363, Payment 4.00003%                    7100-000                                           124.99      1,943,618.82
                                  701 High St #300
                                  Eugene OR 97401

       08/25/15     003427        Tessem, Susan                                 Claim 000368, Payment 4.00000%                    7100-000                                           717.76      1,942,901.06
                                  SJO 83
                                  POB 025216
                                  Miami FL 33102

       08/25/15     003428        Chasteen, Matthew S                           Claim 000369, Payment 4.00000%                    7100-000                                           189.60      1,942,711.46
                                  115 Carrin Layne Ct
                                  Roseburg OR 97471

       08/25/15     003429        Chasteen, Naomi Edda                          Claim 000370, Payment 4.00000%                    7100-000                                            36.40      1,942,675.06
                                  Chasteen, Matthew S
                                  115 Carrin Layne Ct


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                        Page: 141
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                7
    Transaction    Check or                                                                                                      Uniform                                                     Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)       Balance ($)
                                  Roseburg OR 97471

       08/25/15     003430        Peccia, Kathi                                 Claim 000371, Payment 4.00000%                    7100-000                                          338.64     1,942,336.42
                                  POB 22422
                                  Eugene OR 97402

       08/25/15     003431        Hutchinson, Wika                              Claim 000372, Payment 4.00000%                    7100-000                                          212.28     1,942,124.14
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       08/25/15     003432        Hutchinson, Wika                              Claim 000373, Payment 4.00000%                    7100-000                                           62.00     1,942,062.14
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       08/25/15     003433        Maloney, Terry W                              Claim 000374, Payment 4.00000%                    7100-000                                          148.60     1,941,913.54
                                  Maloney, Melissa A
                                  2671 NW Legacy Pl
                                  Corvallis OR 97330

       08/25/15     003434        Babb, Bert & Shirley                          Claim 000376, Payment 4.00000%                    7100-000                                      15,194.68      1,926,718.86
                                  2306 Park Grove Dr
                                  Eugene OR 97408

       08/25/15     003435        Jonathan Hollis                               Claim 000378, Payment 4.00000%                    7100-000                                          973.00     1,925,745.86
                                  3155 26th Ave SE
                                  Albany OR 97322

       08/25/15     003436        Kruger, David L & Karen E                     Claim 000379, Payment 4.00035%                    7100-000                                           13.58     1,925,732.28
                                  19527 Lost Lake Dr
                                  Bend OR 97702




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                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 142
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                                  3                                          4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       08/25/15      003437       Chanda Mills                                  Claim 000380, Payment 4.00000%                    7100-000                                            44.16      1,925,688.12
                                  POB 293
                                  Veneta OR 97487

       08/25/15      003438       Myers, Eric                                   Claim 000385, Payment 4.00000%                    7100-000                                            82.84      1,925,605.28
                                  3366 W 17th Ave
                                  Eugene OR 97402

       08/25/15      003439       Gray, Wendell                                 Claim 000395, Payment 4.00000%                    7100-000                                          1,084.24     1,924,521.04
                                  POB 51481
                                  Eugene OR 97405

       08/25/15      003440       Bradley Myers                                 Claim 000399, Payment 4.00000%                    7100-000                                           440.00      1,924,081.04
                                  4325 Commerce St
                                  Suite 111 #503
                                  Eugene, OR 97402

 *     08/25/15      003441       Jordan, Max & Miriam                          Claim 000409, Payment 3.99986%                    7100-003                                           106.07      1,923,974.97
                                  85831 Parklane Cir
                                  Pleasant Hill OR 97455

 *     08/25/15      003442       M&M Properties LLC                            Claim 000410, Payment 4.00034%                    7100-003                                            37.68      1,923,937.29
                                  85831 Parklane Cir
                                  Pleasant Hill OR 97455

       08/25/15      003443       Jackson Chalmers                              Claim 000425, Payment 4.00000%                    7100-000                                           526.68      1,923,410.61
                                  c/o Jennifer Chalmers
                                  4005 Shenstone Dr
                                  Eugene OR 97404

       08/25/15      003444       Marilee Chalmers                              Claim 000426, Payment 4.00000%                    7100-000                                           349.04      1,923,061.57


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:           12-63884 -TMR                                                                                                   Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                                Bank Name:                       Union Bank
                                                                                                                                     Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                        Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                     Separate Bond (if applicable):


           1            2                                 3                                               4                                                      5                      6                7
     Transaction    Check or                                                                                                             Uniform                                                     Account / CD
        Date        Reference                 Paid To / Received From                        Description Of Transaction                 Trans. Code         Deposits ($)      Disbursements ($)       Balance ($)
                                  c/o Jennifer Chalmers
                                  4005 Shenstone Dr
                                  Eugene OR 97404

       08/25/15      003445       AMERICAN PROPERTY MANAGEMENT                    Claim 000432, Payment 4.00034%                          7100-000                                           47.60     1,923,013.97
                                  2154 NE BROADWAY
                                  PORTLAND, OR 97232

 *     08/25/15      003446       Clerk, U.S. Bankruptcy Court                    REMITTED TO COURT IN ERROR                                                                                  1.12     1,923,012.85
                                  Wayne L. Morse U.S. Courthouse                  DIVIDENDS REMITTED TO THE COURT
                                  405 E. 8th Ave., Suite #2600                    ITEM #   CLAIM #    DIVIDEND
                                  Eugene OR 97401-2706                            ==================================
 *                                                                                  45       000045        1.12                           7100-001

 *     08/25/15      003446       Clerk, U.S. Bankruptcy Court                    VOID                                                                                                       -1.12     1,923,013.97
                                  Wayne L. Morse U.S. Courthouse                  Check should be issued to claimant not the Court.
                                  405 E. 8th Ave., Suite #2600                    Check voided and new check to claimant prepared.
                                  Eugene OR 97401-2706

       08/25/15      003447       Grange McKinney (House Account)                 Claim 000036, Payment 4.00000%                          7100-000                                          321.72     1,922,692.25
                                  Denise Manoram
                                  221 Via Montego
                                  San Clemente CA 92672

 *     08/25/15      003448       Davis Sr, Matthew C                             Claim 000045, Payment 4.00000%                          7100-003                                            1.12     1,922,691.13
                                  Kruger, Joyce
                                  1317 Aldelman Lp
                                  Eugene OR 97402

       08/25/15      003449       Theodore & Loretta Glass Joint Trust            Interim Distribution                                    7100-000                                      32,286.92      1,890,404.21
                                  c/o Scott R. Palmer                             4% Interim Distribution of $39,786.92 reduced by


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LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                    Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                 Bank Name:                       Union Bank
                                                                                                                                     Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                        Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                     Separate Bond (if applicable):


           1           2                                    3                                             4                                                      5                      6                  7
    Transaction    Check or                                                                                                              Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Watkinson Laird et al.                          $7,500 owed on Deferred Stipulated Judgment per
                                  101 E Broadway #200                             Order on Motion and Notice to Settle and
                                  Eugene OR 97401                                 Compromise Adversary Proceedings - Document
                                                                                  #764 - Filed 1/11/15.

       08/25/15     003450        Van Sant, Luella G                              Interim distribution                                    7100-000                                      18,914.92        1,871,489.29
                                  c/o Scott R. Palmer                             4% Interim Distribution of $24,914.92 reduced by
                                  Watkinson Laird et al.                          $6,000 owed on Deferred Stipulated Judgment per
                                  101 E Broadway #200                             Order on Motion and Notice to Settle and
                                  Eugene OR 97401                                 Compromise Adversary Proceedings - Document
                                                                                  #764 - Filed 1/11/15.

       08/25/15     003451        Edgar C. & Mary Ann Brown                       Interim distribution                                    7100-000                                      12,789.36        1,858,699.93
                                  c/o R. Scott Palmer, Watkinson Laird            4% Interim Distribution of $22,289.36 reduced by
                                  Rubenstein Baldwin & Burgess, P.C.              $9,500 owed on Deferred Stipulated Judgment per
                                  101 E. Broadway, Suite 200                      Order on Motion and Notice to Settle and
                                  Eugene, OR 97401                                Compromise Adversary Proceedings - Document
                                                                                  #764 - Filed 1/11/15.

       08/25/15     003452        C & D Radiator Service                          Interim distribution                                    7100-000                                          3,312.36     1,855,387.57
                                  c/o Scott R. Palmer                             4% Interim Distribution of $12,312.36 reduced by
                                  Watkinson Laird, et al.                         $9,000 owed on Deferred Stipulated Judgment per
                                  101 E Broadway #200                             Order on Motion and Notice to Settle and
                                  Eugene, OR 97401                                Compromise Adversary Proceedings - Document
                                                                                  #764 - Filed 1/11/15.

       08/25/15                   Union Bank                                      BANK SERVICE FEE                                        2600-000                                          2,552.33     1,852,835.24

       08/26/15       27          SAIF Corporation                                SAIF Refund                                             1290-000                    28.60                              1,852,863.84
                                  400 High St. SE
                                  Salem, OR 97312


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LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
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                                                                                                  FORM 2                                                                                              Page: 145
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:           12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1            2                                  3                                             4                                                     5                      6                   7
     Transaction    Check or                                                                                                            Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code        Deposits ($)       Disbursements ($)         Balance ($)


       08/31/15        14         JASPER JUNCTION LLC                           pmt on note                                             1121-000                    431.02                              1,853,294.86
                                  3230 VAN BUREN STREET                         Per Notice of Intent to Settle & Compromise -
                                  EUGENE, OR 97405                              Document #514 - Filed 2/24/14.
                                                                                Quarterly payment (July - Sept 2015).

       09/01/15      003453       TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services -                          3991-000                                      16,167.60         1,837,127.26
                                  818 SW 3rd AVENUE, #109                       80% of July 2015 Invoice #1306
                                  PORTLAND OR 97204                             ($20,209.50 X 80% = $16,167.60)
                                                                                Per Order Approving Payment of Norman Transeth
                                                                                & Associates, LLC Fees and Expenses - Document
                                                                                #556 - Filed 4/21/14.
                                                                                Per Trustee's Notice of Intent to Pay Forensic
                                                                                Accountant (July 2015 Invoice) - Document #1037 -
                                                                                Filed 8/14/15.

 *     09/09/15      003441       Jordan, Max & Miriam                          Claim 000409, Payment 3.99986%                          7100-003                                           -106.07      1,837,233.33
                                  85831 Parklane Cir                            9/9/15 Check issued in error. Claim withdrawn as
                                  Pleasant Hill OR 97455                        part of settlement.

 *     09/09/15      003442       M&M Properties LLC                            Claim 000410, Payment 4.00034%                          7100-003                                            -37.68      1,837,271.01
                                  85831 Parklane Cir                            9/9/15 Check issued in error. Claim withdrawn as
                                  Pleasant Hill OR 97455                        part of settlement.

 *     09/10/15      003360       Piernick, Sally D                             Stop Payment Reversal                                   7100-004                                          -6,842.64     1,844,113.65
                                  27834 Royal Ave                               SA
                                  Eugene OR 97502

       09/10/15      003454       Piernick, Sally D                             Claim 000290, Payment 4.00000%                          7100-000                                          6,842.64      1,837,271.01
                                  27834 Royal Ave                               9/8/15 stop payment placed. Creditor called.
                                  Eugene OR 97402                               Reviewed claim and noted that zip code is incorrect.


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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
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                                                                                                 FORM 2                                                                                           Page: 146
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                                3                                              4                                                    5                      6                 7
     Transaction    Check or                                                                                                          Uniform                                                     Account / CD
        Date        Reference                Paid To / Received From                       Description Of Transaction                Trans. Code        Deposits ($)      Disbursements ($)        Balance ($)
                                                                               Should be 97402. Contacted Court (Kim) to correct
                                                                               and changed on our records. Original claim had
                                                                               proper zip code. Reissue once stop payment
                                                                               confirmed.

       09/11/15      003455       Hutchinson Cox                               Claim 000124, Payment 4.00000%                         7100-000                                          865.80      1,836,405.21
                                  Attn: Thomas M. Orr                          9/11/15 received email from Orr asking check be
                                  400 Woolworth Building                       reissued to:
                                  940 Williamette Street                       Hutchinson Cox
                                  PO Box 10886                                 Attn: Thomas M. Orr
                                  Eugene, OR 97440                             400 Woolworth Building
                                                                               940 Williamette Street
                                                                               PO Box 10886
                                                                               Eugene, OR 97440

 *     09/14/15      003218       Orr, Thomas M & Cari L                       Stop Payment Reversal                                  7100-004                                          -865.80     1,837,271.01
                                  c/o Thomas M Orr                             SA
                                  777 High St #200
                                  Eugene, OR 97401

 *     09/15/15      003170       Ian A Hutchinson                             Claim 000074, Payment 4.00000%                         7100-003                                          -248.68     1,837,519.69
                                  4020 Aurora Ave N #409                       Original check was returned. Ian Hutchinson
                                  Seattle WA 98104                             submitted Creditor Change of Address. on 9/14/14.
                                                                               Check will be reissued and mailed to new address.

       09/15/15      003456       Ian A. Hutchinson                            Claim 000074, Payment 4.00000%                         7100-000                                          248.68      1,837,271.01
                                  5511 NE 184th Street                         Replaces Check 3170 which was returned due to
                                  Kenmore, WA 982028                           outdated address for creditor. Creditor submitted a
                                                                               change of address on 9/14/15.

       09/21/15        10         Ambassador Service Group                     Premium Finance payment                                1121-000                    50.00                             1,837,321.01


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LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
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                                                                                              FORM 2                                                                                             Page: 147
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                             3                                               4                                                     5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference               Paid To / Received From                      Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                                                             Premium Finance Insurance payment sent to Berjac
                                                                             of Oregon.

       09/23/15     003457        WILSON C. MUHLHEIM                         Attorney to Trustee Fees-other Firm                    6210-000                                      11,564.74        1,825,756.27
                                  LUVASS COBB                                Special Counsel for DIP - Claim # 241.- Final
                                  777 HIGH STREET #300                       Payment
                                  EUGENE, OR 97401                           Refers to Order Allowing Final Compensation to
                                                                             Chapter 11 Administrative Expense Claimants -
                                                                             Document #1088 - Filed 9/22/15.

       09/23/15     003458        WILSON C. MUHLHEIM                         Attorney to Trustee Exp -other firm                    6220-000                                           271.91      1,825,484.36
                                  LUVASS COBB                                Expense Reimbursement - Special Counsel for DIP -
                                  777 HIGH STREET #300                       Claim # 241
                                  EUGENE, OR 97401                           Refers to Order Allowing Final Compensation to
                                                                             Chapter 11 Administrative Expense Claimants -
                                                                             Document #1088 - Filed 9/22/15.

       09/23/15     003459        WILSON C. MUHLHEIM                         Attorney to Trustee Fees-other Firm                    6700-000                                          4,881.93     1,820,602.43
                                  LUVASS COBB                                Counsel for Ch 11 Trustee - Claim # 242 - Final
                                  777 HIGH STREET #300                       Payment
                                  EUGENE, OR 97401                           Refers to Order Allowing Final Compensation to
                                                                             Chapter 11 Administrative Expense Claimants -
                                                                             Document #1088 - Filed 9/22/15.

       09/23/15     003460        WILSON C. MUHLHEIM                         Attorney to Trustee Exp -other firm                    6710-000                                           795.00      1,819,807.43
                                  LUVASS COBB                                Expense Reimbursement - Special Counsel for Ch
                                  777 HIGH STREET #300                       11 Trustee - Claim # 24
                                  EUGENE, OR 97401                           Per Order Allowing Final Compensation to Chapter
                                                                             11 Administrative Expense Claimants - Document
                                                                             #1088 - Filed 9/22/15.




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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
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                                                                                              FORM 2                                                                                            Page: 148
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                             3                                               4                                                    5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                      Account / CD
       Date        Reference               Paid To / Received From                       Description Of Transaction               Trans. Code        Deposits ($)      Disbursements ($)         Balance ($)
       09/23/15     003461        KRISTA H. LACIS                            Accountant to Trustee - Fees                          6410-000                                          5,818.80     1,813,988.63
                                  4088 HAMPSHIRE LANE                        Accountant for Ch 11 Trustee - Claim # 403 - Final
                                  EUGENE, OR 97404                           Payment
                                                                             Refers to Order Allowing Final Compensation to
                                                                             Chapter 11 Administrative Expense Claimants -
                                                                             Document #1088 - Filed 9/22/15.

       09/23/15     003462        TRANSETH & ASSOCIATES LLC                  Forensic Accounting Services                          6700-000                                      137,855.61       1,676,133.02
                                  818 SW 3RD AVENUE # 109                    Forensic Accountant to Ch 11 Trustee - Claim # 407
                                  PORTLAND, OR 97204`                        - Final Payment
                                                                             Refers to Order Allowing Final Compensation to
                                                                             Chapter 11 Administrative Expense Claimants -
                                                                             Document #1088 - Filed 9/22/15.

       09/23/15     003463        DAVID B. MILLS                             Attorney to Trustee Fees-other Firm                   6700-000                                      118,367.72       1,557,765.30
                                  3631 COLONY OAKS DRIVE                     Attorney for Ch 11 Unsecured Creditor's
                                  EUGENE, OR 97405                           Committeee - Claim # 418 - Final Payment
                                                                             Refers to Order Allowing Final Compensation to
                                                                             Chapter 11 Administrative Expense Claimants -
                                                                             Document #1088 - Filed 9/22/15.

       09/23/15     003464        DAVID B. MILLS                             Attorney to Trustee Exp -other firm                   6710-000                                          2,140.37     1,555,624.93
                                  3631 COLONY OAKS DRIVE                     Expense Reimbursement - Attorney for Ch 11
                                  EUGENE, OR 97405                           Unsecured Creditor's Committee - Claim # 418.
                                                                             Refers to Order Allowing Final Compensation to
                                                                             Chapter 11 Administrative Expense Claimants -
                                                                             Document #1088 - Filed 9/22/15.

       09/23/15     003465        THOMAS A. HUNTSBERGER, TRUSTEE             Trustee Compensation                                  6101-000                                      109,177.04       1,446,447.89
                                  870 W. CENTENNIAL BLVD                     Final Trustee Compensation for Chapter 11 - Claim
                                  SPRINGFIELD, OR 97477                      #404


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                                                  FORM 2                                                                                              Page: 149
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1            2                                3                                              4                                                      5                      6                   7
     Transaction    Check or                                                                                                           Uniform                                                        Account / CD
        Date        Reference                  Paid To / Received From                      Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)          Balance ($)
                                                                                 Refers to Order Allowing Final Compensation to
                                                                                 Chapter 11 Administrative Expense Claimants -
                                                                                 Document #1088 - Filed 9/22/15.

       09/23/15      003466       THOMAS A. HUNTSBERGER, TRUSTEE                 Trustee Expense                                        6102-000                                          5,248.18      1,441,199.71
                                  870 W. CENTENNIAL BLVD                         Final Trustee Expense Reimbursement for Chapter
                                  SPRINGFIELD, OR 97477                          11 - Claim #404
                                                                                 Refers to Order Allowing Final Compensation to
                                                                                 Chapter 11 Administrative Expense Claimants -
                                                                                 Document #1088 - Filed 9/22/15.

       09/25/15      003467       TRANSETH & ASSOCIATES, LLC                     Forensic Accounting Services -                         3991-000                                      10,442.40         1,430,757.31
                                  818 SW 3rd AVENUE, #109                        80% of August 2015 Invoice #1312
                                  PORTLAND OR 97204                              ($13,043.00 X 80% = $10,442.40)
                                                                                 Per Order Approving Payment of Norman Transeth
                                                                                 & Associates, LLC Fees and Expenses - Document
                                                                                 #556 - Filed 4/21/14.
                                                                                 Per Trustee's Notice of Intent to Pay Forensic
                                                                                 Accountant (August 2015 Invoice) - Document
                                                                                 #1070 - Filed 9/9/15.

       09/25/15                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                          2,672.72      1,428,084.59

 *     09/29/15      003354       Howard W Berge Survivor's Trust                Claim 000283, Payment 4.00000%                         7100-003                                          -2,312.68     1,430,397.27
                                  Howard W Berge                                 9/9/15 check returned - no longer at address.
                                  50 Ruby Ave #219                               Determined Mr. Berge is deceased. Survivor's have
                                  Eugene OR 97404                                contacted and plan to submit an amended Claim.
                                                                                 Will reissue upon receipt of amended claim.

       09/29/15      003468       DON BROWN & ASSOCIATES                         Refund of canceled premium payments                    2690-000                                            801.27      1,429,596.00
                                  260 NE 2ND STREET                              $801.27 - PTJ, Inc. - BOP 33597


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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
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                                                                                                  FORM 2                                                                                             Page: 150
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1            2                                3                                              4                                                      5                      6                  7
     Transaction    Check or                                                                                                           Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  GRESHAM, OR 97030                             Refund of pre-paid premiums for one cancelled
                                                                                Premium Finance insurance policies per Notice of
                                                                                Intent to Incur Expenses - Document #1074 - Filed
                                                                                9/11/15.

 *     09/30/15      003290       John G. Cox, Trustee                          Stop Payment Reversal                                   7100-004                                          -986.66      1,430,582.66
                                  POB 10886                                     SA
                                  Eugene OR 97440

       09/30/15      003469       John G. Cox, Trustee                          Claim 000203, Payment 4.00002%                          7100-000                                           986.66      1,429,596.00
                                  2883 Martinique Ave                           9/29/15. Check not processed. Stop payment
                                  Eugene OR 97408                               issued. Reiussing check. Check reiussued on
                                                                                9/30/15.

       10/06/15      003470       CORPORATION DIVISION                          Renewal fee - Oregon Secretary of                       2990-000                                            50.00      1,429,546.00
                                  OREGON SECRETARY OF STATE                     State, Assumed Business Name - Berjac of Oregon,
                                  PO BOX 4353                                   #314691-58
                                  PORTLAND, OR 97208-4353                       Per Notice of Intent to Incur Expenses for Renewal
                                                                                of assumed business registration - State of Oregon
                                                                                Corporation Division - Document #1080 - Filed
                                                                                9/18/15.

       10/06/15      003471       RESYS, INC.                                   Refund of pre-paid premiums for one cancelled           2690-000                                          1,172.66     1,428,373.34
                                  4560 RIDGE DRIVE                              Premium Finance insurance policies per Notice of
                                  SALEM, OR 97303                               Intent to Incur Expenses - Document #1080 - Filed
                                                                                9/18/15.

       10/06/15      003472       KENT & JOHNSON, LLP                           Attorney to Trustee Fees-other Firm                     3210-000                                          5,510.00     1,422,863.34
                                  1500 SW TAYLOR STREET                         Special Litigation Counsel Interim Payments for:
                                  PORTLAND, OR 97205                            June - #13802 - $3,037.50 X 80% = $2,430
                                                                                July - #13083 - $1,400.00 X 80% = $1,120


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LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
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                                                                                                  FORM 2                                                                                               Page: 151
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:           12-63884 -TMR                                                                                                Trustee Name:                       THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                             Bank Name:                          Union Bank
                                                                                                                                  Account Number / CD #:              2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):      $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1            2                                3                                               4                                                    5                         6                  7
     Transaction    Check or                                                                                                           Uniform                                                         Account / CD
        Date        Reference                  Paid To / Received From                      Description Of Transaction                Trans. Code        Deposits ($)          Disbursements ($)        Balance ($)
                                                                                 August - #13084 - $2,450.00 X 80% = $1,960
                                                                                 Notice of Intent to Pay Special Litigation Counsel
                                                                                 Kent & Johnson - Document #1081.- Filed 9/18/15.

       10/09/15        27         SAIF CORPORATION                               SAIF Refund                                           1290-000                      657.16                              1,423,520.50
                                  400 HIGH STREET, SE
                                  SALEM, OR 97312

 *     10/26/15                   Donald H. Brown DBA 05-15                      Premium Finance payment                               1121-003                    1,000.00                              1,424,520.50
                                  1926 SW 2nd Drive                              Premium Finance Insurance payment from finance
                                  Gresham, OR 97080                              agent.

       10/26/15                   Union Bank                                     BANK SERVICE FEE                                      2600-000                                             1,598.16     1,422,922.34

       10/29/15      003473       TRANSETH & ASSOCIATES, LLC                     Forensic Accounting Services -                        3991-000                                         10,001.20        1,412,921.14
                                  818 SW 3rd AVENUE, #109                        80% of September 2015 Invoice #1319
                                  PORTLAND OR 97204                              ($12,501.50 X 80% = $10,001.20)
                                                                                 Per Order Approving Payment of Norman Transeth
                                                                                 & Associates, LLC Fees and Expenses - Document
                                                                                 #556 - Filed 4/21/14.
                                                                                 Per Trustee's Notice of Intent to Pay Forensic
                                                                                 Accountant (September 2015 Invoice) - Document
                                                                                 #1119 - Filed 10/13/15.

       11/02/15        10         Ambassador Service Group                       Premium Finance payment                               1121-000                       50.00                              1,412,971.14
                                                                                 Premium Finance Insurance payment sent to Berjac
                                                                                 of Oregon.

 *     11/03/15                   Donald H. Brown DBA 05-15                      Premium Finance payment                               1121-003                    -1,000.00                             1,411,971.14
                                  1926 SW 2nd Drive                              NSF notice from bank received 11/3/15. Norm
                                  Gresham, OR 97080                              Transeth has been in touch with Donald Brown. A


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LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
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                                                                                                  FORM 2                                                                                            Page: 152
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                  3                                              4                                                    5                      6                  7
    Transaction    Check or                                                                                                             Uniform                                                     Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                                                                replacement check will be issued.

       11/03/15     003474        KENT & JOHNSON, LLP                           Attorney to Trustee Fees-other Firm                     3210-000                                         5,840.00     1,406,131.14
                                  1500 SW TAYLOR STREET                         Interim Professional Compensation:
                                  PORTLAND, OR 97205                            Sept - #13836 - $7,300 X 80% = $5,840
                                                                                Notice of Intent to Pay Kent & Johnson - Document
                                                                                #1124.- Filed 10/15/15.

       11/06/15       21          Grant Holcomb                                 Return of Preferential Transfer                         1241-000               25,000.00                              1,431,131.14
                                  134 Tamarack St.                              Settlement per Motion and Notice of Intent to Settle
                                  Springfield, OR 97477                         and Compromise Adversary Proceeding - Adv Pro
                                                                                Case No.14-06163. - Docket #26 - Filed 9/1/15.
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #1064 - Filed 9/1/15.

       11/06/15     003475        TARLOW NAITO & SUMMERS, LLP                   Attorney to Trustee Fees-other Firm                     3210-000                                     268,226.80       1,162,904.34
                                  2501 SW FIRST AVENUE                          Interim Professional Compensation - Trustee's
                                  SUITE 390                                     General Counsel
                                  PORTLAND, OR 97201                            $335,283.50 X 80% = $268,226.80
                                                                                Per Application for Interim Compensation -
                                                                                Document #1113 - Filed 10/9/15 and Order
                                                                                Allowing Interim Compensation - Document #1144
                                                                                - Filed 11/5/15.




                                                                                .

       11/06/15     003476        TARLOW NAITO & SUMMERS, LLP                   Attorney to Trustee Exp -other firm                     3220-000                                      12,020.78       1,150,883.56
                                  2501 SW FIRST AVENUE                          Interim Professional Expense Reimbursement


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LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
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                                                                                                   FORM 2                                                                                            Page: 153
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                    Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1            2                                 3                                               4                                                     5                        6               7
     Transaction    Check or                                                                                                              Uniform                                                    Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                   Trans. Code       Deposits ($)         Disbursements ($)     Balance ($)
                                  SUITE 390                                     -Trustee's General Counsel.
                                  PORTLAND, OR 97201                            Per Application for Interim Compensation -
                                                                                Document #1113 - Filed 10/9/15 and Order
                                                                                Allowing Interim Compensation - Document #1144
                                                                                - Filed 11/5/15.

       11/09/15        10         Donald H. Brown 05-15                         Premium Finance payment                                   1121-000                   1,242.05                          1,152,125.61
                                                                                Premium Finance Insurance payment from finance
                                                                                agent.

       11/12/15        27         SAIF Corporation                              Worker's Comp Refund                                      1290-000                    114.60                           1,152,240.21
                                  400 High St., SE
                                  Salem, OR 97312

       11/17/15        22         The Law Offices of Keith Y. Boyd              Retainer Settlement Agreement                             1249-000                    216.69                           1,152,456.90
                                                                                Retained of $24,404.41 was turned over to trustee
                                                                                from Atty Boyd. He held some additional funds
                                                                                from the pre-petition retainer to cover attorneys fees
                                                                                and expenses allowed per Document #423 - Filed
                                                                                8/6/13 and Document #1112 - Filed 10/9/15. The
                                                                                balance of the pre-petition retainer was turned over
                                                                                to trustee per Motion to Settle and Compromise
                                                                                described in Document #1112..

       11/20/15        10         Ambassador Service Group                      Premium Finance payment                                   1121-000                     50.00                           1,152,506.90
                                                                                Premium Finance Insurance payment sent to Berjac
                                                                                of Oregon.

 *     11/20/15      003448       Davis Sr, Matthew C                           Claim 000045, Payment 4.00000%                            7100-003                                           -1.12     1,152,508.02
                                  Kruger, Joyce                                 11/20/15 original check not received. Reissuing
                                  1317 Aldelman Lp


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LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
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                                                                                                 FORM 2                                                                                             Page: 154
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1            2                               3                                               4                                                     5                      6                  7
     Transaction    Check or                                                                                                            Uniform                                                     Account / CD
        Date        Reference                Paid To / Received From                       Description Of Transaction                  Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97402

       11/20/15      003477       Davis Sr, Matthew C                          Claim 000045, Payment 4.00000%                           7100-000                                             1.12     1,152,506.90
                                  Kruger, Joyce
                                  1317 Aldelman Lp
                                  Eugene OR 97402

 *     11/23/15      003379       Colton Hansen                                Claim 000315, Payment 4.00000%                           7100-003                                         -222.80      1,152,729.70
                                  c/o R. Scott Palmer                          Check not negotiated. Reissued to mother for the
                                  Watkinson Laird Rubenstein                   benefit of Colton Hansen per attorneys instructions.
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

 *     11/23/15      003380       Graysen Hansen                               Claim 000316, Payment 4.00000%                           7100-003                                         -132.00      1,152,861.70
                                  c/o R. Scott Palmer                          Check not negotiated. Reissued to mother, for the
                                  Watkinson Laird Rubenstein                   benefit of Graysen Hansen, her child per instructions
                                  Baldwin & Burgess, P.C.                      of attorney.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       11/23/15      003478       TRANSETH & ASSOCIATES, LLC                   Forensic Accounting Services -                           3991-000                                         4,951.60     1,147,910.10
                                  818 SW 3rd AVENUE, #109                      80% of October 2015 Invoice #1326
                                  PORTLAND OR 97204                            ($6,189.50 X 80% = $4,951.60)
                                                                               Per Order Approving Payment of Norman Transeth
                                                                               & Associates, LLC Fees and Expenses - Document
                                                                               #556 - Filed 4/21/14.
                                                                               Per Trustee's Notice of Intent to Pay Forensic
                                                                               Accountant (October 2015 Invoice) - Document
                                                                               #1120 - Filed 11/6/15.




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LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
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                                                                                                FORM 2                                                                                             Page: 155
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                              3                                               4                                                     5                      6                  7
     Transaction    Check or                                                                                                         Uniform                                                       Account / CD
        Date        Reference                Paid To / Received From                      Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       11/23/15      003479       JULIE SHERMAN, FOR THE BENEFIT               Claim 000315, Payment 4.00000%                         7100-000                                           222.80      1,147,687.30
                                  OF COLTON HANSEN, HER CHILD
                                  c/o R. Scott Palmer
                                  Watkinson et al
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       11/23/15      003480       JULIE SHERMAN, FOR THE BENEFIT               Claim 000316, Payment 4.00000%                         7100-000                                           132.00      1,147,555.30
                                  OF GREYSEN HANSEN, HER CHILD
                                  c/o R. Scott Palmer
                                  Watkinson et al.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

 *     11/23/15      003481       JULIE SHERMAN, FOR THE BENEFIT               Claim 000312, Payment 4.00000%                         7100-003                                           107.28      1,147,448.02
                                  OF JORJA HANSEN, HER CHILD
                                  c/o R. Scott Palmer,
                                  Watkinson et al
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

 *     11/24/15      003481       JULIE SHERMAN, FOR THE BENEFIT               Claim 000312, Payment 4.00000%                         7100-003                                          -107.28      1,147,555.30
                                  OF JORJA HANSEN, HER CHILD                   Check voided and not negotiated since Check No.
                                  c/o R. Scott Palmer,                         3376 was negotiated.
                                  Watkinson et al
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       11/25/15      003482       Donald N & Barbara H McDonald                Claim 000319, Payment 4.00000%                         7100-000                                          3,763.96     1,143,791.34
                                  1745 Alta Vista Way                          Check #3383 originally issued to Creditors c/o
                                  San Diego, CA 92109                          Sevens Legal per Proof of Claim. Not processed.


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                   Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                                 Page: 156
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                     Exhibit B
  Case No:           12-63884 -TMR                                                                                                   Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                                Bank Name:                         Union Bank
                                                                                                                                     Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                        Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                     Separate Bond (if applicable):


           1            2                                3                                                4                                                      5                        6                   7
     Transaction    Check or                                                                                                             Uniform                                                          Account / CD
        Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)         Balance ($)
                                                                                 Contacted BJ Rausa who indicated he is no longer
                                                                                 involved. Address is listed on documents submitted
                                                                                 with proof of claim.

       11/25/15                   Union Bank                                     BANK SERVICE FEE                                         2600-000                                            1,230.61      1,142,560.73

 *     11/30/15      003383       Donald N & Barbara H McDonald                  Stop Payment Reversal                                    7100-004                                            -3,763.96     1,146,324.69
                                  c/o Sevens Legal                               SA
                                  5030 Camino de la Siesta #204
                                  San Diego CA 92108

       12/07/15      003483       KENT & JOHNSON, LLP                            Attorney to Trustee Fees-other Firm                      3210-000                                        14,844.00         1,131,480.69
                                  1500 SW TAYLOR STREET                          Interim Professional Compensation:
                                  PORTLAND, OR 97205                             October - #13868 - $18,555 X 80% = $14,844
                                                                                 Notice of Intent to Pay Kent & Johnson - Document
                                                                                 #1166.- Filed 11/20/15.

       12/18/15        14         Jasper Junction, LLC                           pmt on note                                              1121-000                    3,600.00                              1,135,080.69
                                                                                 Per Notice of Intent to Settle & Compromise -
                                                                                 Document #514 - Filed 2/24/14.
                                                                                 Funds released to Trustee for Period of October -
                                                                                 December 2015.

       12/28/15                   Union Bank                                     BANK SERVICE FEE                                         2600-000                                            1,039.09      1,134,041.60

       12/30/15        26         Summit Bank                                    Litigation Settlement Payment                            1249-000                90,000.00                                 1,224,041.60
                                  96 East Broadway                               Per Motion and Notice of Intent to Settle and
                                  Eugene, OR 97401                               Compromise Adversary Proceeding - Document
                                                                                 #1174 - Filed 12/2/15 - regarding settlement of
                                                                                 Adversary Proceeding No.14-06180 against
                                                                                 Summit Bank.


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LFORM2T4                                                                                                                                                                                                          Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                               Page: 157
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                       Union Bank
                                                                                                                                    Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1           2                                3                                               4                                                       5                      6                  7
    Transaction    Check or                                                                                                             Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       12/31/15     003484        TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services -                           3991-000                                          8,537.60     1,215,504.00
                                  818 SW 3rd AVENUE, #109                       80% of November 2015 Invoice #1331
                                  PORTLAND OR 97204                             ($10,672.00 X 80% = $8,537.60)
                                                                                Per Order Approving Payment of Norman Transeth
                                                                                & Associates, LLC Fees and Expenses - Document
                                                                                #556 - Filed 4/21/14.
                                                                                Per Trustee's Notice of Intent to Pay Forensic
                                                                                Accountant (November 2015 Invoice) - Document
                                                                                #1203 - Filed 12/15/15.

       01/04/16     003485        APPRAISAL & CONSULTING GROUP, LLC             Appraisal and expert witness servic                      3711-000                                          3,400.00     1,212,104.00
                                  1516 NE 37TH AVE, SUITE 210                   Job No. A130259
                                  PORTLAND, OR 97232                            Per Trustee's Notice of Intent to Pay Appraisal &
                                                                                Consulting Group, LLC - Document #1182 - Filed
                                                                                12/4/15 and Document 1207 - Filed 12/23/15
                                                                                (Correspondence supporting Invoice of Docket
                                                                                #1182 per request of UST).

       01/19/16                   First American Title Company                  Proceeds from sale of real estate                                             5,785,360.43                              6,997,464.43
                                  of Oregon, McMinnville                        Sale of McMinnville property received in settlement
                                  775 NE Evans St.                              with Don Jones VJ2 Development per Notice of
                                  McMinnville, OR 97128                         Intent to Sell Property - Document #1102 - filed
                                                                                9/30/15 and Order Allowing Trustee to Sell Property
                                                                                at Private Sale - Docket #1172.- Filed 12/1/15.
                                                                                See alsoTrustee's Amended Report of Sale Pursuant
                                                                                to BR 6004 - Document #1544 - Filed 6/1/17.
                      20          FIRST AMERICAN TITLE COMPANY OF ORE               Memo Amount:            5,800,000.00                 1110-000
                                                                                Proceeds from sale of real estate
                                  FIRST AMERICAN TITLE COMPANY                      Memo Amount:               1,327.80                  2820-000
                                                                                Prorated County Tax


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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                              FORM 2                                                                                          Page: 158
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                            Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                               Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                            Separate Bond (if applicable):


           1           2                             3                                               4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                     Account / CD
       Date        Reference               Paid To / Received From                      Description Of Transaction               Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                  FIRST AMERICAN TITLE CO.                       Memo Amount:      (       20.00 )                2500-000
                                                                             Govt Service Fee
                                  FIRST AMERICAN TITLE CO.                       Memo Amount:      (      439.00 )                2500-000
                                                                             Escrow Closing Fee
                                  FIRST AMERICAN TITLE CO.                       Memo Amount:      (     6,045.00 )               2500-000
                                                                             Policy: ALTA Owners
                                  FIRST AMERICAN TITLE CO.                       Memo Amount:      (      163.25 )                2820-000
                                                                             2012-13 thru 2015-16 Taxes
                                  FIRST AMERICAN TITLE CO.                       Memo Amount:      (     1,688.09 )               2820-000
                                                                             2012-13 thru 2015-16 Taxes
                                  FIRST AMERICAN TITLE CO.2820                   Memo Amount:      (      298.14 )                2820-000
                                                                             2012-13 thru 2015-16 Taxes
                                  FIRST AMERICAN TITLE CO.                       Memo Amount:      (      439.03 )                2820-000
                                                                             2012--13 thru 2015-16 Taxes
                                  FIRST AMERICAN TITLE CO.                       Memo Amount:      (     5,476.24 )               2820-000
                                                                             2012-13 thru 2015-16 Taxes
                                  FIRST AMERICAN TITLE CO.                       Memo Amount:      (      929.80 )                2820-000
                                                                             2012-13 thru 2015-16 Taxes
                                  FIRST AMERICAN TITLE CO.                       Memo Amount:      (      121.06 )                2820-000
                                                                             2015-16 Taxes
                                  FIRST AMERICAN TITLE CO.                       Memo Amount:      (      347.76 )                2820-000
                                                                             2015-16 Taxes

       01/21/16     003486        KENT & JOHNSON, LLP                        Attorney to Trustee Fees-other Firm                  3210-000                                         5,689.00     6,991,775.43
                                  1500 SW TAYLOR STREET                      November - #13952 - $7,122.50 X 80% = $5,689.00
                                  PORTLAND, OR 97205                         Notice of Intent to Pay Kent & Johnson - Document
                                                                             #1211.- Filed 1/5/16.

       01/21/16     003487        KENT & JOHNSON, LLP                        Attorney to Trustee Exp -other firm                  3220-000                                          591.80      6,991,183.63
                                  1500 SW TAYLOR STREET                      Special Counsel to Trustee - Expense
                                  PORTLAND, OR 97205                         Reimbursement. November 2015


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LFORM2T4                                                                                                                                                                                              Ver: 22.01b
                                                                 Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                    FORM 2                                                                                           Page: 159
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                    Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                 Bank Name:                       Union Bank
                                                                                                                                     Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                        Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                     Separate Bond (if applicable):


           1           2                                 3                                                 4                                                     5                      6                7
    Transaction    Check or                                                                                                                Uniform                                                   Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                   Trans. Code       Deposits ($)      Disbursements ($)       Balance ($)
                                                                                 Notice of Intent to Pay Kent & Johnson Expense -
                                                                                 Document #1211.- Filed 1/5/16.

       01/22/16                   Transfer to Acct #2131793693                   Bank Funds Transfer                                       9999-000                                 6,000,000.00         991,183.63
                                                                                 Runa Kargupta from Union Bank initially informed
                                                                                 Trustee that bank would provide interest on a MM
                                                                                 account for this large deposit. She later learned that
                                                                                 the bank would also charge their normal service
                                                                                 charge on this account which is more than the
                                                                                 interest. Ms Kargupta advised Trustee to transfer
                                                                                 the money back to the checking account and close
                                                                                 the MM account. She then arranged with Union
                                                                                 Bank for a special service charge of $3,000/month
                                                                                 on the checking account while the $6,000,000 is in
                                                                                 the account. Once that money is distributed, the
                                                                                 checking account service charge will be 1% which
                                                                                 is lower than the 1.5% charged in other trustee
                                                                                 accounts.

       01/25/16                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                         974.68       990,208.95

       02/01/16                   Transfer from Acct #2131793693                 Bank Funds Transfer                                       9999-000            6,000,000.00                            6,990,208.95
                                                                                 Runa Kargupta from Union Bank initially informed
                                                                                 Trustee that bank would provide interest on a MM
                                                                                 account for this large deposit. She later learned that
                                                                                 the bank would also charge their normal service
                                                                                 charge on this account which is more than the
                                                                                 interest. Ms Kargupta advised Trustee to transfer
                                                                                 the money back to the checking account and close
                                                                                 the MM account. She then arranged with Union
                                                                                 Bank for a special service charge of $3,000/month


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LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                     Case 12-63884-tmr7               Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                            Page: 160
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                                 3                                             4                                                    5                      6                  7
     Transaction    Check or                                                                                                           Uniform                                                     Account / CD
        Date        Reference                Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                                                               on the checking account while the $6,000,000 is in
                                                                               the account. Once that money is distributed, the
                                                                               checking account service charge will be 1% which
                                                                               is lower than the 1.5% charged in other trustee
                                                                               accounts.

 *     02/02/16      003182       Mann, Alexander                              Stop Payment Reversal                                   7100-004                                         -610.84      6,990,819.79
                                  Mann, Carol                                  SA
                                  4079 Governor Dr #800
                                  San Diego CA 92122

 *     02/02/16      003356       Barlow, Cormac Adams                         Stop Payment Reversal                                   7100-004                                         -424.16      6,991,243.95
                                  c/o Luke Barlow                              SA
                                  372 Cedar St
                                  Monterey CA 93940

       02/02/16      003488       TRANSETH & ASSOCIATES, LLC                   Forensic Accounting Services -                          3991-000                                         5,674.40     6,985,569.55
                                  818 SW 3rd AVENUE, #109                      80% of December 2015 Invoice #1343
                                  PORTLAND OR 97204                            ($7,093.00 X 80% = $5,674.40)
                                                                               Per Order Approving Payment of Norman Transeth
                                                                               & Associates, LLC Fees and Expenses - Document
                                                                               #556 - Filed 4/21/14.
                                                                               Per Trustee's Notice of Intent to Pay Forensic
                                                                               Accountant (December 2015 Invoice) - Document
                                                                               #1212 - Filed 1/15/16.

       02/05/16        21         Grant Holcomb                                Return of Preferential Transfer                         1241-000               30,000.00                              7,015,569.55
                                  1324 Tamarack St.                            Settlement per Motion and Notice of Intent to Settle
                                  Springfield, OR 97477                        and Compromise Adversary Proceeding - Adv Pro
                                                                               Case No.14-06163. - Docket #26 - Filed 1/11/15.
                                                                               See Also Motion and Notice of Intent to Settle and


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                   Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                                Page: 161
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit B
  Case No:           12-63884 -TMR                                                                                                Trustee Name:                       THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                             Bank Name:                          Union Bank
                                                                                                                                  Account Number / CD #:              2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):      $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1            2                               3                                              4                                                      5                         6                  7
     Transaction    Check or                                                                                                          Uniform                                                          Account / CD
        Date        Reference                 Paid To / Received From                      Description Of Transaction                Trans. Code         Deposits ($)          Disbursements ($)        Balance ($)
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #764 - Filed 1/11/15.

 *     02/19/16                   Donald H Brown DBA                            Premium Finance payment                                1121-003                    2,967.76                              7,018,537.31
                                  1926 SW 2nd Dr.
                                  Gresham, OR 97080

 *     02/19/16                   Donald H Brown DBA                            Premium Finance payment                                1121-003                    1,000.00                              7,019,537.31
                                  1926 SW 2nd Dr.
                                  Gresham, OR 97080

       02/22/16      003489       KENT & JOHNSON, LLP                           Attorney to Trustee Fees-other Firm                    3210-000                                             2,268.00     7,017,269.31
                                  1500 SW TAYLOR STREET                         Dec - #13996 - $2,835.00 X 80% = $2,268.00
                                  PORTLAND, OR 97205                            Notice of Intent to Pay Kent & Johnson - Document
                                                                                #1220.- Filed 2/4/16.

 *     03/01/16                   Donald H Brown DBA                            Premium Finance payment                                1121-003                    -2,967.76                             7,014,301.55
                                  1926 SW 2nd Dr.                               On 2/22/2016, Payee issued stop payment on check.
                                  Gresham, OR 97080                             Received notice from Union Bank on 3/1/16.

 *     03/01/16                   Donald H Brown DBA                            Premium Finance payment                                1121-003                    -1,000.00                             7,013,301.55
                                  1926 SW 2nd Dr.                               On 2/22/2016, Payee issued stop payment on check.
                                  Gresham, OR 97080                             Received notice from Union Bank on 3/1/16.

       03/04/16      003490       KENT & JOHNSON, LLP                           Attorney to Trustee Fees-other Firm                    3210-000                                             4,606.00     7,008,695.55
                                  1500 SW TAYLOR STREET                         January 2016 - $5,757.50 X 80% = $4,606.00
                                  PORTLAND, OR 97205                            Notice of Intent to Pay Kent & Johnson - Document
                                                                                #1234.- Filed 2/17/16.

       03/08/16      003491       Luke Barlow cust.                             Claim 000285, Payment 4.00000%                         7100-000                                              424.16      7,008,271.39
                                  Cormac Barlow                                 2/1/16 - Efforts to communicate with Mr. Barlow


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LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                               FORM 2                                                                                            Page: 162
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                              3                                               4                                                    5                      6                  7
    Transaction    Check or                                                                                                         Uniform                                                      Account / CD
       Date        Reference                Paid To / Received From                       Description Of Transaction               Trans. Code        Deposits ($)      Disbursements ($)         Balance ($)
                                  PSC 1 BOX 18                                have been unsuccessful. Check has not been
                                  PO AP 96214                                 negotiated, nor has Mr. Barlow contacted the Court
                                                                              or our office with a current address. Stop payment
                                                                              issued today.

       03/08/16     003492        DON BROWN & ASSOCIATES                      Refund of canceled premium payments                   2690-000                                           682.00      7,007,589.39
                                  260 NE 2ND STREET                           $682.00 - Hitching Post Pizza, Inc., BOP - 33498
                                  GRESHAM, OR 97030                           Refund of pre-paid premiums for one cancelled
                                                                              Premium Finance insurance policy per Notice of
                                                                              Intent to Incur Expenses - Document #1235 - Filed
                                                                              2/19/16.

       03/08/16     003493        DON BROWN & ASSOCIATES                      Refund of canceled premium payments                   2690-000                                           383.50      7,007,205.89
                                  260 NE 2ND STREET                           $383.50 - Lucky Devil Lounge, LLC - BOP 33506
                                  GRESHAM, OR 97030                           Refund of pre-paid premiums for one cancelled
                                                                              Premium Finance insurance policy per Notice of
                                                                              Intent to Incur Expenses - Document #1235 - Filed
                                                                              2/19/16.

       03/08/16     003494        DON BROWN & ASSOCIATES                      Refund of canceled premium payments                   2690-000                                           700.00      7,006,505.89
                                  260 NE 2ND STREET                           $700.00 - Gresham Main Street Deli, LLC - BOP
                                  GRESHAM, OR 97030                           33662
                                                                              Refund of pre-paid premiums for one cancelled
                                                                              Premium Finance insurance policy per Notice of
                                                                              Intent to Incur Expenses - Document #1235 - Filed
                                                                              2/19/16.

       03/08/16     003495        DON BROWN & ASSOCIATES                      Refund of canceled premium payments                   2690-000                                          5,670.23     7,000,835.66
                                  260 NE 2ND STREET                           $5,670.23 - Little Devil, LLC - BOP 33746
                                  GRESHAM, OR 97030                           Refund of pre-paid premiums for one cancelled
                                                                              Premium Finance insurance policy per Notice of


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
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                                                                                                  FORM 2                                                                                           Page: 163
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                  3                                              4                                                   5                      6                  7
    Transaction    Check or                                                                                                           Uniform                                                      Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction               Trans. Code        Deposits ($)      Disbursements ($)         Balance ($)
                                                                                 Intent to Incur Expenses - Document #1235 - Filed
                                                                                 2/19/16.

       03/11/16     003496        Rex, George & Melissa                          Claim 000001, Payment 12.00000%                      7100-000                                      54,000.00        6,946,835.66
                                  10363 NW Rex Ct
                                  Portland OR 97229

       03/11/16     003497        MCKITTRICK, JAMES AND NANCY                    Claim 000002, Payment 12.00017%                      7100-000                                           360.19      6,946,475.47
                                  655 GOODPASTURE ISLAND RD. #136
                                  EUGENE, OR 97401

       03/11/16     003498        Carolyn Wilson Credit Shelter Trust            Claim 000003, Payment 12.00000%                      7100-000                                      14,820.00        6,931,655.47
                                  Dee Wilson, Successor Trustee
                                  246 Camino Nina Ave
                                  Roseburg, OR 97470

       03/11/16     003499        Wilson, Dee                                    Claim 000004, Payment 12.00000%                      7100-000                                          2,490.00     6,929,165.47
                                  246 Camino Nina Ave.
                                  Roseburg, OR 97470

       03/11/16     003500        Siegrist, Fredrick                             Claim 000006, Payment 12.00000%                      7100-000                                      12,055.72        6,917,109.75
                                  POB 50698
                                  Eugene OR 97405

       03/11/16     003501        Daugherty & Assoc                              Claim 000007, Payment 11.99999%                      7100-000                                          2,560.34     6,914,549.41
                                  Neil Daugherty
                                  3870 University St
                                  Eugene OR 97405

       03/11/16     003502        Carter, Cheryl                                 Claim 000008, Payment 11.99999%                      7100-000                                          9,514.66     6,905,034.75
                                  141 Jill Ave


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                        Case 12-63884-tmr7          Doc 1729             Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 164
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                                 3                                           4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97404

       03/11/16      003503       Holcomb-Bryant, Linda                         Claim 000009, Payment 12.00000%                   7100-000                                          8,182.44     6,896,852.31
                                  Bryant, Patrick D
                                  6585 Fern Hill Rd
                                  Monmouth OR 97361

       03/11/16      003504       Holcomb-Bryant, Linda                         Claim 000010, Payment 12.00000%                   7100-000                                      10,841.76        6,886,010.55
                                  6585 Fern Hill Rd
                                  Monmouth, OR 97361

 *     03/11/16      003505       Robert H Holcomb Trust                        Claim 000012, Payment 12.00000%                   7100-003                                      23,798.82        6,862,211.73
                                  365 NE Mistletoe Cir
                                  Corvallis OR 97330

       03/11/16      003506       Larry C Holcomb Living Trust                  Claim 000013, Payment 12.00000%                   7100-000                                      35,101.20        6,827,110.53
                                  Larry Holcomb, Trustee
                                  365 NE Mistletoe Circle
                                  Corvallis, OR 97340

       03/11/16      003507       Robert Holcomb Family LLC                     Claim 000014, Payment 12.00000%                   7100-000                                      38,190.35        6,788,920.18
                                  c/o Larry Holcomb
                                  6585 Fern Hill Rd
                                  Monmouth OR 97361

       03/11/16      003508       Karen L Brockett Living Trust                 Claim 000015, Payment 12.00000%                   7100-000                                      45,277.20        6,743,642.98
                                  Karen Brockett, Trustee
                                  2601 NE Jack London #76
                                  Corvallis, OR 97330

       03/11/16      003509       JOHN G. COX                                   Claim 000016, Payment 12.00000%                   7100-000                                      58,747.63        6,684,895.35


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                                FORM 2                                                                                          Page: 165
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                      3                                        4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  2883 MARTINIQUE AVE
                                  EUGENE, OR 97408

       03/11/16     003510        Hutchinson, Leslie B or Hutchinson,            Claim 000017, Payment 12.00000%                   7100-000                                          8,887.68     6,676,007.67
                                  Nicholas
                                  550 SW Viewmont Dr
                                  Portland OR 97225

       03/11/16     003511        Hutchinson, Tim, Leslie, & Nicholas            Claim 000018, Payment 12.00000%                   7100-000                                      82,111.44        6,593,896.23
                                  550 SW Viewmont Dr
                                  Portland OR 97225

       03/11/16     003512        Hutchinson, Tim & Nicholas                     Claim 000019, Payment 12.00000%                   7100-000                                          2,033.76     6,591,862.47
                                  550 SW Viewmont Dr
                                  Portland OR 97225

       03/11/16     003513        Colleen Bartlett                               Claim 000020, Payment 11.99998%                   7100-000                                          6,113.51     6,585,748.96
                                  c/o Connie Bartlett-Pitts
                                  2470 Arbor Dr
                                  West Linn OR 97068

       03/11/16     003514        Varner, Fred E                                 Claim 000021, Payment 12.00000%                   7100-000                                          5,017.20     6,580,731.76
                                  4075 Sabrena Avenue
                                  Eugene, OR 97404

       03/11/16     003515        Matthews, Marshall & Pattie                    Claim 000022, Payment 12.00000%                   7100-000                                          8,277.68     6,572,454.08
                                  848 NE Church St
                                  Roseburg OR 97470

       03/11/16     003516        Trudy A Harper Harris                          Claim 000023, Payment 12.00000%                   7100-000                                          6,945.12     6,565,508.96
                                  1980 NE Stephens


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Roseburg OR 97470

       03/11/16     003517        Carson, Kristin                               Claim 000024, Payment 12.00000%                   7100-000                                          4,774.65     6,560,734.31
                                  26 Juanita Ave
                                  Mill Valley CA 94941

       03/11/16     003518        Perez, Roberto Carlos                         Claim 000025, Payment 12.00000%                   7100-000                                      11,530.44        6,549,203.87
                                  Jose Perez, Custodian
                                  586 Flagler St
                                  San Jose CA 95127

       03/11/16     003519        Pittman, Lee & Kay                            Claim 000026, Payment 12.00000%                   7100-000                                      27,638.76        6,521,565.11
                                  8540 Melrose Ln
                                  El Cajon CA 92021

       03/11/16     003520        Nuwer, Mary                                   Claim 000027, Payment 12.00000%                   7100-000                                      12,017.63        6,509,547.48
                                  c/o James K Coons
                                  3472 Olive Street
                                  Eugene, OR 97405

       03/11/16     003521        Gaunt, Sydney A                               Claim 000028, Payment 12.00000%                   7100-000                                          1,173.48     6,508,374.00
                                  c/o Lianne Gaunt
                                  1292 High St PMB 149
                                  Eugene OR 97401

       03/11/16     003522        R.W. Strand Inc/Carlson & Strand              Claim 000029, Payment 12.00000%                   7100-000                                          7,363.80     6,501,010.20
                                  Painting
                                  c/o David Strand
                                  1115 Main St
                                  Springfield OR 97477




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                     Case 12-63884-tmr7          Doc 1729              Filed 07/18/19
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       03/11/16     003523        Robert E Myers & Patricia A Myers             Claim 000030, Payment 12.00000%                   7100-000                                      13,086.12        6,487,924.08
                                  Family Trust dtd 10-25-02
                                  1357 Meadow Ct
                                  Healdsburg CA 95448

       03/11/16     003524        ARGO PARTNERS                                 Claim 000031, Payment 12.00001%                   7100-000                                      10,896.14        6,477,027.94
                                  12 WEST 37TH STREET, 9TH FLOOR
                                  NEW YORK, NY 10018

       03/11/16     003525        Ostendorf, Sarah                              Claim 000032, Payment 11.99999%                   7100-000                                          8,001.15     6,469,026.79
                                  3701 Sunrise Dr W
                                  Minnetonka MN 55345

       03/11/16     003526        Eugene Executives Assn                        Claim 000033, Payment 12.00000%                   7100-000                                          5,573.16     6,463,453.63
                                  Attn Trond
                                  POB 205
                                  Eugene OR 97440

       03/11/16     003527        Vecellio, Patricia                            Claim 000034, Payment 12.00000%                   7100-000                                          8,423.46     6,455,030.17
                                  11747 Skene Way
                                  Houston TX 77024

       03/11/16     003528        Paralee Mock, Trustee                         Claim 000035, Payment 12.00000%                   7100-000                                      77,994.79        6,377,035.38
                                  c/o John C. Fisher Attorney at Law
                                  767 Willamette Street, Suite 302
                                  Eugene, OR 97401

       03/11/16     003529        Grange McKinney (House Account)               Claim 000036, Payment 12.00000%                   7100-000                                           965.16      6,376,070.22
                                  Denise Manoram
                                  221 Via Montego
                                  San Clemente CA 92672


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       03/11/16     003530        Grange Bowen McKinney Living Trust            Claim 000037, Payment 12.00000%                   7100-000                                          3,209.28     6,372,860.94
                                  Grange McKinney Trustee
                                  221 Via Montego
                                  San Clemente CA 92672

       03/11/16     003531        Cornell, Duane J                              Claim 000038, Payment 12.00000%                   7100-000                                          2,666.52     6,370,194.42
                                  802 Poltava St
                                  Springfield OR 97477

       03/11/16     003532        Hutchinson, Tom & Allison                     Claim 000039, Payment 12.00000%                   7100-000                                          8,849.76     6,361,344.66
                                  1509 21st Ave
                                  Longview WA 98632

       03/11/16     003533        Hutchinson, Stephen                           Claim 000040, Payment 11.99999%                   7100-000                                      13,373.41        6,347,971.25
                                  Hutchinson, Kathryn
                                  1785 White Oak Dr
                                  Eugene OR 97405

       03/11/16     003534        Hutchinson, Kathryn Martin                    Claim 000041, Payment 12.00000%                   7100-000                                          1,202.65     6,346,768.60
                                  1785 White Oak Dr
                                  Eugene OR 97405

       03/11/16     003535        Richard L. Doyle, Trustee of                  Claim 000042, Payment 11.98272%                   7100-000                                      11,982.72        6,334,785.88
                                  the Anna Rose Chamley Revocable Trust
                                  c/o R. Scott Palmer
                                  POB 10567
                                  Eugene OR 97440

       03/11/16     003536        Kruger, Natalie B                             Claim 000043, Payment 12.00000%                   7100-000                                            24.24      6,334,761.64
                                  Kruger, Joyce


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  1317 Adelman Lp
                                  Eugene OR 97402

       03/11/16     003537        Lundquist, Hunter R                           Claim 000044, Payment 12.00000%                   7100-000                                           178.20      6,334,583.44
                                  Kruger, Joyce
                                  1317 Adelman Lp
                                  Eugene OR 97402

       03/11/16     003538        Lundquist, Taylor Lee                         Claim 000046, Payment 12.00000%                   7100-000                                           491.16      6,334,092.28
                                  Kruger, Joyce
                                  1317 Adelman Lp
                                  Eugene OR 97402

       03/11/16     003539        Kruger, Nathaniel D                           Claim 000047, Payment 11.99995%                   7100-000                                           104.27      6,333,988.01
                                  Kruger, Lindsey M
                                  2329 Otto St
                                  Springfield OR 97477

       03/11/16     003540        Kruger, Joyce L                               Claim 000048, Payment 12.00000%                   7100-000                                      25,568.44        6,308,419.57
                                  Kruger, Nathan
                                  1317 Adelman Lp
                                  Eugene OR 97402

       03/11/16     003541        Glass Tree Care & Spray Svc                   Claim 000049, Payment 12.00000%                   7100-000                                          7,329.48     6,301,090.09
                                  POB 40205
                                  Eugene OR 97404

       03/11/16     003542        Stenger, Sandra                               Claim 000050, Payment 12.00000%                   7100-000                                          2,152.14     6,298,937.95
                                  469 W Willis St #5
                                  Detroit MI 48201




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                               FORM 2                                                                                          Page: 170
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       03/11/16     003543        Manoram, Denise                               Claim 000051, Payment 11.99998%                   7100-000                                          7,420.45     6,291,517.50
                                  221 Via Montego
                                  San Clemente, CA 92672

       03/11/16     003544        James P Mischkot Sr                           Claim 000053, Payment 12.00000%                   7100-000                                       17,433.60       6,274,083.90
                                  POB 502
                                  Whitehall MT 59759

       03/11/16     003545        Mischkot-Roga, Peggy                          Claim 000054, Payment 12.00000%                   7100-000                                       21,036.35       6,253,047.55
                                  4520 Altura St
                                  Eugene OR 97404

       03/11/16     003546        Roga, Imants                                  Claim 000055, Payment 11.99993%                   7100-000                                          1,286.06     6,251,761.49
                                  4520 Altura St
                                  Eugene OR 97404

       03/11/16     003547        Porter, Elizabeth                             Claim 000056, Payment 12.00000%                   7100-000                                       22,152.54       6,229,608.95
                                  1927 SE 41st Ave
                                  Portland OR 97214

       03/11/16     003548        Porter, Steven & Elizabeth                    Claim 000057, Payment 12.00000%                   7100-000                                          6,741.36     6,222,867.59
                                  1927 SE 41st Ave
                                  Portland OR 97214

       03/11/16     003549        Shelton, Robert & Edie                        Claim 000058, Payment 12.00000%                   7100-000                                      200,671.09       6,022,196.50
                                  16902 Royal Coachman
                                  Sisters, OR 97759

       03/11/16     003550        Shelton, Robert & Edie                        Claim 000059, Payment 11.99966%                   7100-000                                            98.09      6,022,098.41
                                  16902 Royal Coachman
                                  Sisters, OR 97759


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       03/11/16     003551        Amy Shelton, UTMA, Edie Shelton,              Claim 000060, Payment 12.00000%                   7100-000                                      17,344.52        6,004,753.89
                                  Custodian
                                  16902 Royal Coachman
                                  Sisters, OR 97759

       03/11/16     003552        Diller, Betty L                               Claim 000061, Payment 12.00002%                   7100-000                                          1,837.63     6,002,916.26
                                  8209 Ruby Mtn Way
                                  Las Vegas NV 89128

       03/11/16     003553        Hahn Living Trust                             Claim 000062, Payment 12.00000%                   7100-000                                            81.00      6,002,835.26
                                  Philip & Elisabeth Hahn, Trustees
                                  330 Magnolia Dr
                                  Creswell OR 97426

       03/11/16     003554        Platt, Fred & Susan A                         Claim 000063, Payment 12.00000%                   7100-000                                          6,837.24     5,995,998.02
                                  830 W 38th Ave
                                  Eugene OR 97405

       03/11/16     003555        O'Malley Living Trust dtd 7-6-94              Claim 000064, Payment 12.00000%                   7100-000                                      12,503.78        5,983,494.24
                                  Arlene O'Malley
                                  2563 Jasmine St
                                  Eugene OR 97404

       03/11/16     003556        Sallie Sugarman Trust                         Claim 000065, Payment 12.00000%                   7100-000                                           854.88      5,982,639.36
                                  c/o Richard Carson
                                  6601 SW 155th
                                  Beaverton OR 97007

       03/11/16     003557        Porter, Bernice K                             Claim 000066, Payment 12.00000%                   7100-000                                          1,264.20     5,981,375.16
                                  POB 584


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Creswell OR 97426

       03/11/16     003558        Wall, Doreen/THS Class of 1981                Claim 000067, Payment 12.00041%                   7100-000                                           164.57      5,981,210.59
                                  POB 71364
                                  Springfield OR 97475

       03/11/16     003559        Shane Porter & Steven Porter                  Claim 000068, Payment 12.00000%                   7100-000                                            83.28      5,981,127.31
                                  82100 Bear Creek Rd
                                  Creswell OR 97426

       03/11/16     003560        Steven & Shae Porter                          Claim 000069, Payment 12.00000%                   7100-000                                          2,437.56     5,978,689.75
                                  82100 Bear Creek Rd
                                  Creswell OR 97426

       03/11/16     003561        June L. Trimble                               Claim 000070, Payment 12.00000%                   7100-000                                          7,277.76     5,971,411.99
                                  815 N. Fairgrounds Rd
                                  Goldendale, WA 98620

       03/11/16     003562        Thayer R Dickey Trust dtd 4-1-10              Claim 000071, Payment 12.00001%                   7100-000                                      10,105.25        5,961,306.74
                                  Joe L Dickey, Trustee
                                  30448 Maple Drive
                                  Junction City, OR 97448

       03/11/16     003563        Dickey, Joe L                                 Claim 000072, Payment 12.00000%                   7100-000                                          4,589.76     5,956,716.98
                                  Dickey, Pam K
                                  30448 Maple Drive
                                  Junction City, OR 97448

       03/11/16     003564        Virginia Maxine Graves                        Claim 000073, Payment 12.00000%                   7100-000                                      12,994.08        5,943,722.90
                                  2811 La Darrah St
                                  Eugene OR 97404


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       03/11/16     003565        Ian A Hutchinson                              Claim 000074, Payment 12.00000%                   7100-000                                           746.04      5,942,976.86
                                  5511 NE 184th Street
                                  Kenmore, WA 98028

       03/11/16     003566        Hutchinson, Tom & Allison                     Claim 000075, Payment 12.00000%                   7100-000                                          3,252.96     5,939,723.90
                                  1509 21st Ave
                                  Longview WA 98632

       03/11/16     003567        Hutchinson, Scott                             Claim 000076, Payment 12.00000%                   7100-000                                           120.48      5,939,603.42
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       03/11/16     003568        Kiefer, Kathleen & Kiefer, Scott Thomas       Claim 000077, Payment 11.99999%                   7100-000                                      11,912.51        5,927,690.91
                                  20738 Prince John Ct
                                  Bend OR 97702

       03/11/16     003569        Sandy O'Malley for Eli Hayward                Claim 000078, Payment 12.00000%                   7100-000                                            91.32      5,927,599.59
                                  92107 River Rd
                                  Junction City OR 97448-9405

       03/11/16     003570        O'Malley, Sandy                               Claim 000079, Payment 12.00000%                   7100-000                                          9,600.16     5,917,999.43
                                  92107 River Rd
                                  Junction City OR 97448

       03/11/16     003571        Graves, Doug - Vacation Fund                  Claim 000080, Payment 12.00000%                   7100-000                                           424.32      5,917,575.11
                                  92107 River Rd
                                  Junction City OR 97448

       03/11/16     003572        Doug Graves                                   Claim 000081, Payment 11.99999%                   7100-000                                          4,168.57     5,913,406.54
                                  92107 River Rd


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                      Case 12-63884-tmr7         Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 174
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Junction City OR 97448-9405

       03/11/16     003573        Graves, Doug & O'Malley, Sandy                Claim 000082, Payment 12.00000%                   7100-000                                      12,790.18        5,900,616.36
                                  92107 River Rd
                                  Junction City OR 97448

       03/11/16     003574        Votaw, Utis Gene                              Claim 000083, Payment 12.00000%                   7100-000                                          6,758.04     5,893,858.32
                                  95995 Hwy 42
                                  Coos Bay OR 97420

       03/11/16     003575        Abel, Judy Erickson                           Claim 000084, Payment 12.00000%                   7100-000                                          8,673.26     5,885,185.06
                                  95995 Hwy 42
                                  Coos Bay OR 97420

       03/11/16     003576        Sims, Barbara A & Sims-Wros, Tom              Claim 000085, Payment 12.00000%                   7100-000                                          5,797.62     5,879,387.44
                                  395 Hawthorne
                                  Eugene OR 97404

       03/11/16     003577        Mann, Alexander                               Claim 000086, Payment 16.00000%                   7100-000                                          2,443.36     5,876,944.08
                                  Mann, Carol
                                  BAD ADDRESS/CHECK NOT NEGOTIATED
                                  Mann, Carol
                                  4079 Governor Dr #800
                                  San Diego CA 92122

       03/11/16     003578        Jones, Christine                              Claim 000087, Payment 12.00000%                   7100-000                                           124.20      5,876,819.88
                                  34956 Seavey Lp Rd #3
                                  Eugene OR 97405

       03/11/16     003579        Ellingson, Mary M                             Claim 000088, Payment 12.00000%                   7100-000                                          5,861.34     5,870,958.54
                                  POB 306


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                   3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Bandon OR 97411

       03/11/16     003580        Reeves, Kendall W                               Claim 000089, Payment 12.00000%                   7100-000                                          1,065.24     5,869,893.30
                                  2044 Southern Ave., Apt. 5
                                  Memphis, TN 38114

       03/11/16     003581        Anna M Culcasi Trust                            Claim 000090, Payment 12.00000%                   7100-000                                          9,679.74     5,860,213.56
                                  Anna M Culcasi Trustee
                                  4055 Royal Ave #25
                                  Eugene OR 97402

       03/11/16     003582        Harry Abel Jr Living Revocable Trust            Claim 000092, Payment 12.00000%                   7100-000                                          1,439.67     5,858,773.89
                                  93706 Pickett Lane
                                  Coos Bay OR 97420

       03/11/16     003583        Crowder, Natalie                                Claim 000094, Payment 12.00000%                   7100-000                                          4,231.56     5,854,542.33
                                  300 Dibblee Ln
                                  Eugene OR 97404

       03/11/16     003584        Heaton, Ruthann, Trustee                        Claim 000095, Payment 12.00000%                   7100-000                                      14,511.00        5,840,031.33
                                  Heaton, Jay W, Trustee
                                  POB 803
                                  Baker City OR 97814

       03/11/16     003585        Allen Arthur Prigge Revocable Trust             Claim 000096, Payment 12.00000%                   7100-000                                      15,856.96        5,824,174.37
                                  Allen Arthur Prigge, Trustee
                                  387 Hunington Ave
                                  Eugene OR 97405

       03/11/16     003586        Atteberry, Timothy A & Gayle A                  Claim 000097, Payment 12.00001%                   7100-000                                          2,715.96     5,821,458.41
                                  87366 Dukhobar Rd


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                         Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97402

       03/11/16     003587        Atteberry, Tim                                Claim 000098, Payment 11.99997%                   7100-000                                          3,079.85     5,818,378.56
                                  87366 Dukhobar Rd
                                  Eugene OR 97402

       03/11/16     003588        Smith, Lorraine                               Claim 000099, Payment 12.00000%                   7100-000                                      12,052.92        5,806,325.64
                                  Wilke, Kathryn A
                                  204 NE 304th Avenue
                                  Washougal, WA 98671

       03/11/16     003589        Hutchinson, Ellen J                           Claim 000100, Payment 12.00000%                   7100-000                                           158.04      5,806,167.60
                                  1614 Summit Ave #207
                                  Seattle WA 98122

       03/11/16     003590        Spencer Creek Lutheran                        Claim 000101, Payment 11.99995%                   7100-000                                          1,695.83     5,804,471.77
                                  PO Box 2991
                                  Eugene OR 97402

       03/11/16     003591        Berger-Brown, Gustav Oaxaca                   Claim 000102, Payment 12.00000%                   7100-000                                           126.12      5,804,345.65
                                  c/o Tiffany Lee Brown
                                  1123 SW 36th Ave
                                  Portland OR 97214

       03/11/16     003592        Brown, Lindy and Ted                          Claim 000103, Payment 12.00000%                   7100-000                                      17,619.18        5,786,726.47
                                  PO Box 2991
                                  Eugene OR 97402

       03/11/16     003593        Dezsofi, Nancy M                              Claim 000104, Payment 12.00000%                   7100-000                                          1,013.71     5,785,712.76
                                  15420 NE 12th St
                                  Vancouver WA 98684


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                          Page: 177
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                  3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       03/11/16     003594        Thomas and Ann Harris                          Claim 000105, Payment 12.00000%                   7100-000                                      38,178.48        5,747,534.28
                                  c/o John C. Fisher, Attorney at Law
                                  767 Willamette St. Suite 302
                                  Eugene, OR 97401

       03/11/16     003595        Perez, Roberto Carlos                          Claim 000106, Payment 12.00000%                   7100-000                                      11,633.28        5,735,901.00
                                  Jose Perez, Custodian
                                  586 Flagler St
                                  San Jose CA 95127

       03/11/16     003596        Hansen, Britt                                  Claim 000107, Payment 12.00000%                   7100-000                                          2,245.20     5,733,655.80
                                  8956 S 260th E Ave
                                  Broken Arrow OK 74014

       03/11/16     003597        Mid-State Industrial Svc Inc                   Claim 000108, Payment 12.00000%                   7100-000                                          6,280.92     5,727,374.88
                                  88696 McVay Hwy
                                  Eugene OR 97405

       03/11/16     003598        Carson-Vanlanduyt, Mary                        Claim 000109, Payment 12.00000%                   7100-000                                          1,026.60     5,726,348.28
                                  3927 NE 32nd Pl
                                  Portland OR 97212

       03/11/16     003599        Sugarman Trust + VanLanduyt + Carson           Claim 000110, Payment 12.00000%                   7100-000                                          5,305.68     5,721,042.60
                                  c/o Mary Carson-VanLanduyt
                                  3927 NE 32nd Pl
                                  Portland OR 97212

       03/11/16     003600        Dodson, Fred L and Mary N                      Claim 000111, Payment 12.00000%                   7100-000                                      12,898.44        5,708,144.16
                                  85169 Kensington Dr
                                  Pleasant Hill OR 97455


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                        Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page: 178
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                  3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       03/11/16     003601        Patty Wiles                                     Claim 000112, Payment 12.00000%                   7100-000                                          8,177.40     5,699,966.76
                                  511 SE Plum
                                  Sutherlin OR 97479

       03/11/16     003602        Skeie's Jewelers Profit Sharing Acct            Claim 000113, Payment 12.00000%                   7100-000                                          6,533.16     5,693,433.60
                                  10 Oakway Center
                                  Eugene OR 97401

       03/11/16     003603        Van Sant, Tanya                                 Claim 000114, Payment 12.00000%                   7100-000                                          1,560.00     5,691,873.60
                                  125 Cedar S #9 S
                                  New York City NY 10006

       03/11/16     003604        Fish                                            Claim 000115, Payment 12.00000%                   7100-000                                          2,196.48     5,689,677.12
                                  POB 2412
                                  Eugene OR 97402

       03/11/16     003605        Fuller, Kalila J                                Claim 000116, Payment 12.00000%                   7100-000                                           660.84      5,689,016.28
                                  Fuller, Tami
                                  2 Gershwin Ct
                                  Lake Oswego OR 97035

       03/11/16     003606        Myers, Alison K                                 Claim 000117, Payment 12.00000%                   7100-000                                           660.84      5,688,355.44
                                  4325 Commerce St #111
                                  PMB 503
                                  Eugene OR 97402

       03/11/16     003607        Myers, Bradley Nelson                           Claim 000118, Payment 12.00000%                   7100-000                                          1,447.08     5,686,908.36
                                  Myers, Toni
                                  4325 Commerce St #111
                                  PMB 503


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                         Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 179
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97402

       03/11/16     003608        Fuller, Esmee C                               Claim 000119, Payment 11.99982%                   7100-000                                           660.83      5,686,247.53
                                  Fuller, Tami
                                  2 Gershwin Ct
                                  Lake Oswego OR 97035

       03/11/16     003609        Rau, Roger A and Kay A                        Claim 000120, Payment 12.00000%                   7100-000                                      15,044.87        5,671,202.66
                                  3218 NE 54th Ave
                                  Albany OR 97321

       03/11/16     003610        Rau, Roger A and Kay A                        Claim 000121, Payment 12.00000%                   7100-000                                          3,700.68     5,667,501.98
                                  3218 NE 54th Ave
                                  Albany OR 97321

       03/11/16     003611        Myers, Toni K                                 Claim 000122, Payment 12.00000%                   7100-000                                           867.24      5,666,634.74
                                  4325 Commerce St #111
                                  PMB 503
                                  Eugene OR 97402

       03/11/16     003612        Phinney, Michael                              Claim 000123, Payment 12.00000%                   7100-000                                          5,354.04     5,661,280.70
                                  27410 Crow Rd
                                  Eugene OR 97402

       03/11/16     003613        Orr, Thomas M & Cari L                        Claim 000124, Payment 12.00000%                   7100-000                                          2,597.40     5,658,683.30
                                  c/o Thomas M Orr
                                  PO Box 10886
                                  Eugene, OR 97440

       03/11/16     003614        Hutchinson Cox et al                          Claim 000125, Payment 12.00001%                   7100-000                                          9,372.37     5,649,310.93
                                  Profit Sharing Plan


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                           Page: 180
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:           12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                                Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                   Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                Separate Bond (if applicable):


           1            2                                   3                                           4                                                   5                      6                  7
     Transaction    Check or                                                                                                          Uniform                                                     Account / CD
        Date        Reference                 Paid To / Received From                      Description Of Transaction                Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                  c/o Thomas M. Orr
                                  PO Box 10886
                                  Euegne, OR 97440

       03/11/16      003615       Hutchinson Cox Coons Orr & Sherlock PC        Claim 000126, Payment 11.99998%                       7100-000                                         3,857.95     5,645,452.98
                                  c/o James M. Orr
                                  PO Box 10886
                                  Eugene, OR 97440

 *     03/11/16      003616       Drews, Freda                                  Claim 000128, Payment 11.99975%                       7100-004                                          481.55      5,644,971.43
                                  Drews, Melvin H                               7/27/16 contacted creditor regarding amending
                                  416 Marian Ave                                claim to change ownership via email and telephone.
                                  Central Point OR 97502                        No response. Stop payment issued on check.
                                                                                STOP PAYMENT CONFIRMATION RECEIVED
                                                                                8/2/16.

       03/11/16      003617       LE Folkerts Rev Trust dtd 8-20-97             Claim 000129, Payment 12.00000%                       7100-000                                     26,936.52        5,618,034.91
                                  Lura E Folkerts, Trustee
                                  130 Villa Rd
                                  Mt Shasta CA 96067

       03/11/16      003618       Schenfeld, Betty & Fred                       Claim 000130, Payment 12.00000%                       7100-000                                          243.48      5,617,791.43
                                  2509 Newcastle
                                  Eugene OR 97404

       03/11/16      003619       Corinne C Hunt                                Claim 000131, Payment 12.00000%                       7100-000                                     19,713.72        5,598,077.71
                                  4427 Fox Hollow Rd #5
                                  Eugene OR 97405-4576

       03/11/16      003620       David Barajas                                 Claim 000132, Payment 12.00000%                       7100-000                                     12,751.92        5,585,325.79
                                  86 Crest Drive


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LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                      Case 12-63884-tmr7           Doc 1729             Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 181
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene, OR 97405

       03/11/16     003621        Herman, Corrie                                Claim 000133, Payment 12.00000%                   7100-000                                          2,286.12     5,583,039.67
                                  3118 NE Rosa Parks Way
                                  Portland OR 97211

       03/11/16     003622        Mad Fish SEO                                  Claim 000134, Payment 12.00000%                   7100-000                                          3,240.00     5,579,799.67
                                  Corrie Herman
                                  1305 NW 18th Ave
                                  Portland OR 97209

       03/11/16     003623        Herman, Benjamin & Corrie                     Claim 000135, Payment 12.00000%                   7100-000                                           356.64      5,579,443.03
                                  3118 NE Rosa Parks Way
                                  Portland OR 97211

       03/11/16     003624        Jesse Tyrel Hooker                            Claim 000136, Payment 12.00000%                   7100-000                                          1,717.08     5,577,725.95
                                  26210 SW Canyon Creek Rd #102
                                  Wilsonville, OR 97070

       03/11/16     003625        Fietsch, John                                 Claim 000137, Payment 11.99999%                   7100-000                                      12,385.37        5,565,340.58
                                  Ripka, Lesley
                                  2738 Dehesa Rd
                                  El Cajon CA 92109

       03/11/16     003626        Leslie D Ripka Trust                          Claim 000138, Payment 11.99998%                   7100-000                                          4,127.24     5,561,213.34
                                  Leslie Ripka
                                  2738 Dehesa Rd
                                  El Cajon CA 92019

       03/11/16     003627        Cyphert, Michael I and Rebecca S              Claim 000140, Payment 11.99955%                   7100-000                                           310.51      5,560,902.83
                                  1795 NW Calkins Ave


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                                                                     Case 12-63884-tmr7          Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page: 182
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Roseburg, OR 97471

       03/11/16     003628        Nixon Family Trust                              Claim 000141, Payment 12.00000%                   7100-000                                            40.68      5,560,862.15
                                  c/o Linda Frantz
                                  1139 NW Baltimore Ave
                                  Bend OR 97701

       03/11/16     003629        Frantz, Linda D & David P                       Claim 000142, Payment 12.00000%                   7100-000                                          5,016.00     5,555,846.15
                                  1139 NW Baltimore Ave
                                  Bend OR 97701

       03/11/16     003630        Mischkot, Lynette                               Claim 000143, Payment 12.00000%                   7100-000                                          1,669.68     5,554,176.47
                                  Mattson, Christopher
                                  2016 S Scyene
                                  Boise ID 83712

       03/11/16     003631        Barents, Bruce                                  Claim 000144, Payment 12.00000%                   7100-000                                      81,538.94        5,472,637.53
                                  7207 Kanapolis Dr
                                  Crossville TN 38572

       03/11/16     003632        Kutz, Brandon J                                 Claim 000145, Payment 11.99990%                   7100-000                                           934.96      5,471,702.57
                                  Abbott, Susan
                                  4903 Cone Ave
                                  Eugene OR 97402

       03/11/16     003633        Pipe, Hallie M Night                            Claim 000146, Payment 12.00000%                   7100-000                                           808.20      5,470,894.37
                                  Abbott, Susan
                                  4903 Cone Ave
                                  Eugene OR 97402

       03/11/16     003634        Susan D Abbott Lvg Trust dtd 12-23-09           Claim 000147, Payment 12.00000%                   7100-000                                          6,601.30     5,464,293.07


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                     Case 12-63884-tmr7            Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                          Page: 183
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                  3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Susan Abbott, Trustee
                                  4903 Cone Ave
                                  Eugene OR 97402

       03/11/16     003635        Kutz, Mia Ayame                                Claim 000148, Payment 12.00000%                   7100-000                                           634.80      5,463,658.27
                                  Abbott, Susan
                                  4903 Cone Ave
                                  Eugene OR 97402

       03/11/16     003636        Butler, David                                  Claim 000149, Payment 12.00000%                   7100-000                                          2,379.96     5,461,278.31
                                  2313 NW Garfield
                                  Corvallis OR 97330

       03/11/16     003637        Butler, Thomas M & Butler, Glee E              Claim 000150, Payment 12.00000%                   7100-000                                      30,563.49        5,430,714.82
                                  2313 NW Garfield
                                  Corvallis OR 97330

       03/11/16     003638        Steckelberg-Glass, Loretta                     Claim 000151, Payment 12.00000%                   7100-000                                      14,374.49        5,416,340.33
                                  2483 North Hampton Rd
                                  Eugene OR 97404

       03/11/16     003639        Butler, Paul D & Natalie B                     Claim 000153, Payment 12.00000%                   7100-000                                          5,358.00     5,410,982.33
                                  15506 NE 14th St
                                  Vancouver WA 98684

       03/11/16     003640        Pohll, Michael                                 Claim 000154, Payment 12.00000%                   7100-000                                          1,264.32     5,409,718.01
                                  c/o Norm & Ruth Pohll
                                  1630 Elanco Ln
                                  Eugene OR 97408

       03/11/16     003641        Jones, Elena R                                 Claim 000155, Payment 11.99952%                   7100-000                                            70.19      5,409,647.82


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                      Case 12-63884-tmr7          Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page: 184
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Norman Pohll, Custodian
                                  1630 Elanco Ln
                                  Eugene OR 97408

       03/11/16     003642        Pohll, Jared C                                  Claim 000156, Payment 11.99989%                   7100-000                                           728.47      5,408,919.35
                                  Norman Pohll, Custodian
                                  1630 Elanco Ln
                                  Eugene OR 97408

       03/11/16     003643        Ruth Pohll                                      Claim 000157, Payment 12.00000%                   7100-000                                      24,613.13        5,384,306.22
                                  1630 Elanco Ln
                                  Eugene OR 97408

       03/11/16     003644        Van Sant, Dennis & Bonnie                       Claim 000159, Payment 12.00000%                   7100-000                                      29,500.24        5,354,805.98
                                  2404 Devon Ave
                                  Eugene OR 97408

       03/11/16     003645        Vansant, Douglas                                Claim 000160, Payment 12.00000%                   7100-000                                          1,249.44     5,353,556.54
                                  960 Williams
                                  Eugene OR 97402

       03/11/16     003646        Northup, Darryl L/Northup, Alberta E            Claim 000161, Payment 12.00000%                   7100-000                                          3,344.88     5,350,211.66
                                  131 9th St
                                  Port Angeles WA 98362

       03/11/16     003647        Apostolic Faith Church of Chehalis WA           Claim 000162, Payment 12.00000%                   7100-000                                      23,809.68        5,326,401.98
                                  Jack Chasteen, Darrel Lee, Tim Mixer
                                  POB 446
                                  Chehalis WA 98532

       03/11/16     003648        Horn, Gregory P & Phyllis M                     Claim 000163, Payment 12.00000%                   7100-000                                          2,903.16     5,323,498.82


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                         Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                          Page: 185
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                 3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  63930 Deschutes Market Road
                                  Bend, OR 97701

       03/11/16     003649        Berakah LLC                                    Claim 000164, Payment 11.99999%                   7100-000                                          1,478.76     5,322,020.06
                                  c/o Grant Spies
                                  36050 Jasper Rd
                                  Springfield OR 97478

       03/11/16     003650        Spies, Grant & Debra                           Claim 000165, Payment 12.00000%                   7100-000                                      20,267.76        5,301,752.30
                                  36050 Jasper Rd
                                  Springfield OR 97478

       03/11/16     003651        Apostolic Faith Chuch of Port Angeles          Claim 000166, Payment 12.00000%                   7100-000                                          2,326.68     5,299,425.62
                                  Larry & Kate Montgomery, D Lee, E Jacobs
                                  POB 9
                                  Port Angeles WA 98362

       03/11/16     003652        Von Wald, Kimberly A                           Claim 000167, Payment 11.99999%                   7100-000                                          3,308.96     5,296,116.66
                                  11024 Forest Ave S
                                  Seattle WA 98178

       03/11/16     003653        Rosenlof, Wayne & Rosenlof, Janis J            Claim 000168, Payment 12.00000%                   7100-000                                      42,923.40        5,253,193.26
                                  3020 Winkel Way
                                  West Linn OR 97068-2165

       03/11/16     003654        Rosenlof, Wayne & Rosenlof, Janis J            Claim 000169, Payment 12.00000%                   7100-000                                      13,186.56        5,240,006.70
                                  3020 Winkel Way
                                  West Linn OR 97068-2165

       03/11/16     003655        Siegmund, Catherine J, Trustee                 Claim 000170, Payment 12.00000%                   7100-000                                      10,294.20        5,229,712.50
                                  Rev Trust dtd 11-16-01


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                        Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  2545 W 23rd
                                  Eugene OR 97405

       03/11/16     003656        Sogge Joint Trust                             Claim 000172, Payment 12.00000%                   7100-000                                          4,252.56     5,225,459.94
                                  Robert & Mary Kathleen Sogge, Trustees
                                  3620 Donald St
                                  Eugene OR 97405

       03/11/16     003657        Kellstrom, Scott & Jenny                      Claim 000173, Payment 12.00000%                   7100-000                                          4,522.08     5,220,937.86
                                  457 NW Riverview Way
                                  Gresham OR 97030

       03/11/16     003658        Buss, Dennis & Deborah                        Claim 000174, Payment 11.99999%                   7100-000                                          8,489.51     5,212,448.35
                                  POB 163
                                  Chehalis WA 98532

       03/11/16     003659        Buss, Cleta & Dennis                          Claim 000175, Payment 12.00000%                   7100-000                                          2,425.68     5,210,022.67
                                  POB 163
                                  Chehalis WA 98532

       03/11/16     003660        Butler, John C & Tamera A                     Claim 000176, Payment 12.00000%                   7100-000                                          3,083.16     5,206,939.51
                                  06668 Mercer View Dr
                                  Florence OR 97439

       03/11/16     003661        Abby Broughton Profit Sharing                 Claim 000177, Payment 12.00000%                   7100-000                                       46,679.40       5,160,260.11
                                  c/o R Scott Palmer
                                  Watkinson Laird Rubenstein Baldwin & Bur
                                  101 E Broadway #200
                                  Eugene OR 97401

       03/11/16     003662        Albert & Connie Broughton,                    Claim 000178, Payment 12.00000%                   7100-000                                      344,169.34       4,816,090.77


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page: 187
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Trustees of the Broughton Living Trust
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess,P.C.
                                  101 E. Broadway,Ste 200,Eugene, OR 97401

       03/11/16     003663        Steven Cochran and Rosamond Cochran             Claim 000180, Payment 11.99998%                   7100-000                                          6,586.01     4,809,504.76
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003664        Juanita G. Cochran and Steven Cochran           Claim 000181, Payment 12.00000%                   7100-000                                       13,462.68       4,796,042.08
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003665        Clemens R. Aita, Jr.                            Claim 000182, Payment 12.00000%                   7100-000                                       12,757.08       4,783,285.00
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003666        George and Yvonne Karotko                       Claim 000183, Payment 12.00000%                   7100-000                                       36,470.07       4,746,814.93
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003667        George and Yvonne Karotko                       Claim 000184, Payment 12.00000%                   7100-000                                      142,649.40       4,604,165.53
                                  c/o R. Scott Palmer, Watkinson Laird


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                         Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page: 188
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003668        Eric R. and Cindy S. Thoreson                   Claim 000185, Payment 12.00000%                   7100-000                                          1,899.24     4,602,266.29
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003669        Erik M. and Stephanie M. Cheney                 Claim 000186, Payment 12.00000%                   7100-000                                          3,875.64     4,598,390.65
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003670        Stan Karotko                                    Claim 000187, Payment 12.00000%                   7100-000                                       76,467.74       4,521,922.91
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003671        Ramsey-Waite Company and George Karotko         Claim 000188, Payment 12.00000%                   7100-000                                      168,314.39       4,353,608.52
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003672        Peggy Karotko                                   Claim 000189, Payment 11.99999%                   7100-000                                          3,697.73     4,349,910.79
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
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                                                                                                 FORM 2                                                                                          Page: 189
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003673        Patricia M. Strutt Rev. Trust                   Claim 000190, Payment 12.00000%                   7100-000                                          8,505.29     4,341,405.50
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003674        Victoria Leigh Quinn, c/o Peggy                 Claim 000191, Payment 12.00000%                   7100-000                                          3,887.40     4,337,518.10
                                  Karotko, Custodian
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C., 101 E. Broadway
                                  Suite 200, Eugene, OR 97401

       03/11/16     003675        Jack L. and Wendy Chasteen                      Claim 000192, Payment 12.00000%                   7100-000                                          1,210.32     4,336,307.78
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003676        Gloria Mae Roat Rev Lvg Trust                   Claim 000194, Payment 11.99999%                   7100-000                                      18,932.87        4,317,374.91
                                  3727 Douglas Dr
                                  Springfield OR 97478

       03/11/16     003677        ARGO PARTNERS                                   Claim 000195, Payment 12.00000%                   7100-000                                          8,401.08     4,308,973.83
                                  12 WEST 37TH STREET, 9TH FLOOR
                                  NEW YORK, NY 10018

       03/11/16     003678        Butler Family Trust dtd 10/4/94                 Claim 000196, Payment 12.00000%                   7100-000                                      60,758.21        4,248,215.62
                                  Glenn & Kathleen Butler, Trustees


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                         Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 190
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Ste100,Eugene, OR 97401

       03/11/16     003679        Gunderson, Wesley                             Claim 000197, Payment 12.00000%                   7100-000                                            90.12      4,248,125.50
                                  397 W Anchor Ave
                                  Eugene OR 97404

       03/11/16     003680        Gunderson, Wayne J & Caralie S                Claim 000198, Payment 12.00000%                   7100-000                                      11,615.31        4,236,510.19
                                  397 W Anchor Ave
                                  Eugene OR 97404

       03/11/16     003681        Sherlock, Bodin                               Claim 000199, Payment 12.00000%                   7100-000                                          1,040.04     4,235,470.15
                                  1862 Lincoln St
                                  Eugene OR 97401

       03/11/16     003682        Sherlock, Carmen                              Claim 000200, Payment 12.00000%                   7100-000                                          1,040.04     4,234,430.11
                                  1862 Lincoln St
                                  Eugene OR 97401

       03/11/16     003683        Sherlock, Jennifer                            Claim 000201, Payment 12.00000%                   7100-000                                          1,354.80     4,233,075.31
                                  1862 Lincoln St
                                  Eugene OR 97401

       03/11/16     003684        Sherlock, William & Jennifer                  Claim 000202, Payment 12.00000%                   7100-000                                          1,143.12     4,231,932.19
                                  1862 Lincoln St
                                  Eugene OR 97401

       03/11/16     003685        John G. Cox, Trustee                          Claim 000203, Payment 12.00001%                   7100-000                                          2,959.97     4,228,972.22
                                  POB 10886
                                  Eugene OR 97440


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                          Page: 191
                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                   Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                Separate Bond (if applicable):


           1           2                                  3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                         Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                        Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       03/11/16     003686        James Robert Harrell Pension - Loretta           Claim 000204, Payment 12.00000%                   7100-000                                      20,009.88        4,208,962.34
                                  Harrell
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003687        Hutchinson, Rose                                 Claim 000206, Payment 12.00000%                   7100-000                                      25,272.40        4,183,689.94
                                  13000 SW Aragon Ln
                                  Beaverton OR 97005

       03/11/16     003688        Hutchinson, Hilary                               Claim 000207, Payment 12.00000%                   7100-000                                      17,829.60        4,165,860.34
                                  13000 SW Aragon Ln
                                  Beaverton OR 97005

       03/11/16     003689        Philip W Dean                                    Claim 000208, Payment 12.00000%                   7100-000                                          8,606.16     4,157,254.18
                                  POB 3914
                                  Sunriver OR 97707-3712

       03/11/16     003690        Chasteen, Denis & Danna                          Claim 000209, Payment 11.99999%                   7100-000                                      16,952.99        4,140,301.19
                                  Chasteen, LaVonne
                                  621 Newton Creek
                                  Roseburg OR 97470

       03/11/16     003691        John & Judith Hansan                             Claim 000210, Payment 12.00000%                   7100-000                                      11,017.44        4,129,283.75
                                  7 Gingerwood Dr
                                  Homosassa FL 34446

       03/11/16     003692        Kyle Scott Larkin                                Claim 000211, Payment 12.00000%                   7100-000                                           134.28      4,129,149.47
                                  Patrick K Larkin


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LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                       Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                          Page: 192
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                     3                                         4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  2427 SE Elliott Dr
                                  Gresham OR 97080

       03/11/16     003693        Larkin, Cathy & Patrick K                      Claim 000212, Payment 12.00001%                   7100-000                                      17,620.94        4,111,528.53
                                  2427 SE Elliott Dr
                                  Gresham OR 97080

       03/11/16     003694        Curtis, Eileen J & Robert L                    Claim 000217, Payment 12.00000%                   7100-000                                      33,702.48        4,077,826.05
                                  447 Covey Ln
                                  Eugene OR 97401

       03/11/16     003695        Kottas, William F                              Claim 000218, Payment 11.99999%                   7100-000                                          2,299.04     4,075,527.01
                                  2248 Ridgeway
                                  Eugene OR 97401

       03/11/16     003696        Trangsrud, Julie A                             Claim 000219, Payment 12.00000%                   7100-000                                          4,297.48     4,071,229.53
                                  1105 Hoyt Ave W
                                  St Paul MN 55108

       03/11/16     003697        Huber-Shaw Living Trust                        Claim 000220, Payment 11.99999%                   7100-000                                      14,274.11        4,056,955.42
                                  Randy Huber & Shirley Shaw TTES
                                  5675 NW Foothill Pl
                                  Corvallis OR 97330

       03/11/16     003698        Timberhill Athletic Club                       Claim 000221, Payment 12.00000%                   7100-000                                      14,840.16        4,042,115.26
                                  Attn Claire MaGee
                                  2855 NW 29th St
                                  Corvallis OR 97330

       03/11/16     003699        KRJ Investments                                Claim 000222, Payment 12.00000%                   7100-000                                           631.08      4,041,484.18
                                  2855 NW 29th St


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1            2                                    3                                         4                                                  5                      6                  7
     Transaction    Check or                                                                                                      Uniform                                                       Account / CD
        Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Corvallis OR 97330

       03/11/16      003700       Larkin, Scott & Kristine                       Claim 000223, Payment 12.00000%                   7100-000                                      47,336.59        3,994,147.59
                                  8 Sunflower Ct
                                  Pasco WA 99301

 *     03/11/16      003701       Reese and Joyce Woods                          Claim 000225, Payment 12.00000%                   7100-003                                          5,538.00     3,988,609.59
                                  c/o Scott L Jensen, Esq
                                  1200 SW Main St
                                  Portland OR 97205

       03/11/16      003702       Fischer, Wynn                                  Claim 000226, Payment 12.00000%                   7100-000                                           781.80      3,987,827.79
                                  Fischer, Nancy
                                  2849 Stark
                                  Eugene OR 97404

       03/11/16      003703       Kenneth J West Survivor's Trust                Claim 000227, Payment 12.00000%                   7100-000                                          6,208.44     3,981,619.35
                                  Kenneth West, Trustee
                                  1817 SW 43rd St
                                  Pendleton OR 97801

       03/11/16      003704       Sheila K West Decedent's Trust                 Claim 000228, Payment 12.00000%                   7100-000                                          7,467.12     3,974,152.23
                                  Kenneth J West, Trustee
                                  1817 SW 43rd St
                                  Pendleton OR 97801

       03/11/16      003705       Stan's Auto Upholstery Inc                     Claim 000230, Payment 11.99996%                   7100-000                                          2,794.07     3,971,358.16
                                  540 Wilson St
                                  Eugene OR 97402

       03/11/16      003706       Clunes, Robert                                 Claim 000231, Payment 12.00000%                   7100-000                                      12,534.96        3,958,823.20


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Clunes, Aaron
                                  POB 3
                                  Aurora OR 97002

       03/11/16     003707        Daniel Curtis and Stephanie Shaff             Claim 000232, Payment 12.00000%                   7100-000                                      17,041.20        3,941,782.00
                                  82711 Bradford Rd
                                  Creswell OR 97426

       03/11/16     003708        Larkin, Kelly S                               Claim 000233, Payment 12.00000%                   7100-000                                           271.44      3,941,510.56
                                  8 Sunflower Ct
                                  Pasco WA 99301

       03/11/16     003709        Wildish Standard Paving Co                    Claim 000235, Payment 12.00000%                   7100-000                                      61,891.07        3,879,619.49
                                  c/o Douglas R Wilkinson
                                  1011 Harlow Rd #300
                                  Springfield OR 97477

       03/11/16     003710        Maginnis, Ashley                              Claim 000236, Payment 12.00000%                   7100-000                                            58.20      3,879,561.29
                                  100 NW Maywood Drive
                                  Portland, OR 97210

       03/11/16     003711        Parkhurst, Stephen W                          Claim 000237, Payment 12.00012%                   7100-000                                           519.91      3,879,041.38
                                  Russo, Massimo
                                  CMR 426 Box 468
                                  APO AE 09613

       03/11/16     003712        Redhead, Connie                               Claim 000238, Payment 11.99997%                   7100-000                                          2,830.40     3,876,210.98
                                  1574 Coburg Rd #399
                                  Eugene OR 97401

       03/11/16     003713        Revels, Larry O                               Claim 000239, Payment 12.00000%                   7100-000                                          2,801.76     3,873,409.22


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                            Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                               Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                            Separate Bond (if applicable):


           1           2                                 3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                     Uniform                                                       Account / CD
       Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  3023 Nickleby Ct
                                  Katy TX 77494

       03/11/16     003714        Johnson, Kenneth R DMD                       Claim 000243, Payment 12.00000%                   7100-000                                      17,561.40        3,855,847.82
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       03/11/16     003715        Johnson, Dorothy J                           Claim 000245, Payment 12.00000%                   7100-000                                      10,458.38        3,845,389.44
                                  3889 NW Glen Eden Dr
                                  Corvallis OR 97330

       03/11/16     003716        Johnson, Dorothy J                           Claim 000246, Payment 12.00000%                   7100-000                                      17,352.00        3,828,037.44
                                  3889 NW Glen Eden Dr
                                  Corvallis OR 97330

       03/11/16     003717        Tower, Edgar D & Ione A                      Claim 000247, Payment 12.00000%                   7100-000                                          6,236.52     3,821,800.92
                                  9052 Annik Dr
                                  Huntington Beach, CA 92646

       03/11/16     003718        Chasteen, Gene & LaVonne                     Claim 000248, Payment 11.99993%                   7100-000                                          1,780.67     3,820,020.25
                                  Chasteen, Jack & Wendy
                                  174 Heather Ln
                                  Roseburg OR 97470

       03/11/16     003719        Ramsey, Elizabeth H                          Claim 000249, Payment 12.00000%                   7100-000                                          4,834.11     3,815,186.14
                                  Deshotel, Danielle N
                                  7085 N 2200 W 1-H
                                  PARK CITY, UT 84098




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LFORM2T4                                                                                                                                                                                              Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       03/11/16     003720        Francis, Richard W & Beverly A                Claim 000250, Payment 12.00000%                   7100-000                                      29,849.28        3,785,336.86
                                  61499 SW Longview St
                                  Bend OR 97702

       03/11/16     003721        Roy & Helen Clunes Living Trust               Claim 000251, Payment 11.99996%                   7100-000                                          3,384.35     3,781,952.51
                                  Beverly A Francis, Trustee
                                  61499 SW Longview St
                                  Bend, OR 97702

       03/11/16     003722        Francis, Beverly A                            Claim 000252, Payment 12.00000%                   7100-000                                          8,812.39     3,773,140.12
                                  61499 SW Longview St
                                  Bend OR 97702

       03/11/16     003723        Neuman, Vince & Faye                          Claim 000254, Payment 12.00000%                   7100-000                                      18,746.88        3,754,393.24
                                  Luke, Sue
                                  c/o Douglas R Wilkinson
                                  1011 Harlow Rd #300
                                  Springfield OR 97477

       03/11/16     003724        Kevin Paul Francis                            Claim 000255, Payment 12.00000%                   7100-000                                          6,757.40     3,747,635.84
                                  512 South 14th Avenue
                                  Bozeman MT 59715

       03/11/16     003725        Lawler, Frances S                             Claim 000256, Payment 12.00000%                   7100-000                                          4,624.80     3,743,011.04
                                  7 Gardenside Pl
                                  Towson MD 21286

       03/11/16     003726        Pershern, Lauren Pershern, Annette            Claim 000257, Payment 12.00000%                   7100-000                                           159.60      3,742,851.44
                                  35027 Fremont Ave
                                  Eugene OR 97405




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                               FORM 2                                                                                          Page: 197
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       03/11/16     003727        Donald & Elizabeth Miller/Annette             Claim 000258, Payment 12.00000%                   7100-000                                          2,666.76     3,740,184.68
                                  Pershern &
                                  Glenn Miller
                                  35031 Fremont Ave
                                  Eugene OR 97405

       03/11/16     003728        Miller, Donald & Elizabeth                    Claim 000259, Payment 12.00000%                   7100-000                                          4,543.44     3,735,641.24
                                  Miller, Glenn
                                  35031 Fremont Ave
                                  Eugene OR 97405

       03/11/16     003729        Bien, Guy                                     Claim 000260, Payment 12.00000%                   7100-000                                          3,152.64     3,732,488.60
                                  19 Shanna Cir
                                  Crowley Lake CA 93546

       03/11/16     003730        Johnson, James Douglas                        Claim 000261, Payment 12.00000%                   7100-000                                          1,393.44     3,731,095.16
                                  2610 Melekhin Bend
                                  Cedar Park TX 78613

       03/11/16     003731        Johnson, Christopher Michael                  Claim 000262, Payment 12.00000%                   7100-000                                          1,271.88     3,729,823.28
                                  2610 Melekhin Bend
                                  Cedar Park TX 78613

       03/11/16     003732        Brown, Jonathan W                             Claim 000264, Payment 12.00000%                   7100-000                                           314.04      3,729,509.24
                                  4832 Cartwright Ave
                                  N Hollywood CA 91601

       03/11/16     003733        Buhl, Douglas V                               Claim 000265, Payment 12.00000%                   7100-000                                          3,420.96     3,726,088.28
                                  1259 S 58th St
                                  Springfield OR 97478




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       03/11/16     003734        Buhl, Marilyn J                               Claim 000266, Payment 12.00000%                   7100-000                                          1,158.24     3,724,930.04
                                  1259 S 58th St
                                  Springfield OR 97478

       03/11/16     003735        Matthews, Randy                               Claim 000267, Payment 12.00000%                   7100-000                                          4,065.00     3,720,865.04
                                  828 N. Orange Grove Ave
                                  Los Angeles, CA 90046

       03/11/16     003736        Camille Mack                                  Claim 000270, Payment 12.00000%                   7100-000                                      29,123.40        3,691,741.64
                                  6480 W Sumac Ave
                                  Denver CO 80123

       03/11/16     003737        Camille Mack                                  Claim 000271, Payment 12.00000%                   7100-000                                      13,625.28        3,678,116.36
                                  6480 W Sumac Ave
                                  Denver CO 80123

       03/11/16     003738        Holcomb, Joanne                               Claim 000272, Payment 12.00002%                   7100-000                                           698.46      3,677,417.90
                                  841 Turquoise Street, F-408
                                  San Deigo, CA 92109

       03/11/16     003739        Ambler, Susanne                               Claim 000273, Payment 12.00000%                   7100-000                                      25,599.40        3,651,818.50
                                  Ambler, John
                                  1375 Loring St
                                  San Diego CA 92109

       03/11/16     003740        Ambler, John                                  Claim 000274, Payment 12.00018%                   7100-000                                           650.17      3,651,168.33
                                  1375 Loring St
                                  San Diego CA 92109

       03/11/16     003741        Dorothy & Leslie Family Trust                 Claim 000275, Payment 12.00000%                   7100-000                                          5,958.24     3,645,210.09
                                  c/o GG Alan Vaughan


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                    3                                         4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  6480 W Sumac Ave
                                  Denver CO 80123

       03/11/16     003742        Dorothy & Leslie Family Trust                 Claim 000276, Payment 12.00000%                   7100-000                                          6,915.96     3,638,294.13
                                  c/o GG Alan Vaughan
                                  6480 W Sumac Ave
                                  Denver CO 80123

       03/11/16     003743        Sharon Asta                                   Claim 000277, Payment 12.00000%                   7100-000                                          4,295.64     3,633,998.49
                                  6480 W Sumac Ave
                                  Denver CO 80123

       03/11/16     003744        First American Reserve Trust                  Claim 000278, Payment 12.00000%                   7100-000                                      58,731.71        3,575,266.78
                                  6480 W Sumac Av
                                  Denver CO 80123

       03/11/16     003745        Christian Vaughan Trust                       Claim 000279, Payment 12.00000%                   7100-000                                          6,223.32     3,569,043.46
                                  c/o GG Alan Vaughan
                                  6480 W Sumac Ave
                                  Littleton CO 80123

       03/11/16     003746        Hutchinson, Mark                              Claim 000280, Payment 12.00000%                   7100-000                                           123.60      3,568,919.86
                                  POB 5374
                                  Portland OR 97228

       03/11/16     003747        Visionsite Corp                               Claim 000281, Payment 12.00005%                   7100-000                                           212.21      3,568,707.65
                                  Mark Hutchinson, CEO
                                  POB 2310
                                  Portland OR 97208

       03/11/16     003748        VASTS/VisionSite Advanced Staff               Claim 000282, Payment 12.00000%                   7100-000                                            65.52      3,568,642.13


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                                 3                                           4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Training Svc
                                  POB 5374
                                  Portland OR 97228

       03/11/16      003749       JAMIE MCCORNACK and TRACY KEMPF               Claim 000283, Payment 12.00000%                   7100-000                                          6,938.04     3,561,704.09
                                  HOWARD W. BERGE SURVIVOR'S TRUST
                                  2564 MANGAN STREET
                                  EUGENE, OR 97402

       03/11/16      003750       Pegasus Travel Inc                            Claim 000284, Payment 12.00000%                   7100-000                                          2,298.96     3,559,405.13
                                  6480 W Sumac Ave
                                  Denver CO 80123

       03/11/16      003751       Barlow, Cormac Adams                          Claim 000285, Payment 12.00000%                   7100-000                                          1,272.48     3,558,132.65
                                  c/o Luke Barlow cust. for Cormac Barlow
                                  PSC 1 BOX 18
                                  PO AP 96214

 *     03/11/16      003752       Brown, Indiana Loye                           Claim 000286, Payment 12.00000%                   7100-004                                          3,343.80     3,554,788.85
                                  Brown, Jason & Jenny
                                  2815 E Morningside Dr
                                  Idaho Falls ID 83402

 *     03/11/16      003753       Jason Brown                                   Claim 000287, Payment 12.00078%                   7100-004                                           208.57      3,554,580.28
                                  2815 E Morningside Dr
                                  Idaho Falls ID 83402

 *     03/11/16      003754       Brown, Olivia Georganna (minor)               Claim 000288, Payment 12.00000%                   7100-004                                          2,782.68     3,551,797.60
                                  c/o Brown, Jason & Jenny
                                  2815 E Morningside Dr
                                  Idaho Falls ID 83402


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       03/11/16     003755        Piernick, Sally D                             Claim 000290, Payment 12.00000%                   7100-000                                      20,527.93        3,531,269.67
                                  27834 Royal Ave
                                  Eugene OR 97402

       03/11/16     003756        Bramwell, C Josephine                         Claim 000291, Payment 12.00000%                   7100-000                                          1,479.96     3,529,789.71
                                  8015 B Densmore Ave N
                                  Seattle Wa 98103

       03/11/16     003757        Larkin, Marlin & Elizabeth                    Claim 000294, Payment 12.00000%                   7100-000                                          1,689.00     3,528,100.71
                                  2437 Harris St
                                  Eureka CA 95503

       03/11/16     003758        Kathleen E. O'Brien                           Claim 000295, Payment 11.99999%                   7100-000                                      14,259.70        3,513,841.01
                                  3361 E Choctaw Drive
                                  Sierra Vista AZ 85650

       03/11/16     003759        Bishop, Judith L                              Claim 000296, Payment 12.00000%                   7100-000                                           992.40      3,512,848.61
                                  11304 NE Oregon
                                  Portland OR 97220

       03/11/16     003760        Aaron Larkin                                  Claim 000297, Payment 12.00000%                   7100-000                                            76.44      3,512,772.17
                                  8 Sunflower Ct
                                  Pasco WA 99301

       03/11/16     003761        Roland Glass & Matthew Glass                  Claim 000298, Payment 12.00000%                   7100-000                                          4,518.84     3,508,253.33
                                  c/o Scott R. Palmer
                                  Watkinson Laird, et al.
                                  101 E Broadway #200
                                  Eugene, OR 97401




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 202
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       03/11/16     003762        Karotko, Ellen                                Claim 000299, Payment 12.00000%                   7100-000                                          4,810.44     3,503,442.89
                                  2610 Crowther
                                  Eugene OR 97404

       03/11/16     003763        Ellington, Joan & Clayton                     Claim 000300, Payment 12.00000%                   7100-000                                      35,357.68        3,468,085.21
                                  POB 833
                                  Homer AK 99603

       03/11/16     003764        Kertzner, Rachel Rose                         Claim 000302, Payment 12.00000%                   7100-000                                          1,389.24     3,466,695.97
                                  2835 SE 35th Pl
                                  Portland OR 97202

       03/11/16     003765        Johnson, Jill                                 Claim 000303, Payment 12.00000%                   7100-000                                          3,835.08     3,462,860.89
                                  Johnson, Kenneth
                                  2835 SE 35th Pl
                                  Portland OR 97202

       03/11/16     003766        Kertzner, Eliana Rae                          Claim 000304, Payment 12.00000%                   7100-000                                          1,389.24     3,461,471.65
                                  2835 SE 35th Pl
                                  Portland OR 97202

       03/11/16     003767        Clark Lateral Ditch Co 03-0018                Claim 000305, Payment 12.00000%                   7100-000                                          2,800.08     3,458,671.57
                                  c/o Scott Sveum
                                  10980 W 65th Way
                                  Arvada CO 80004

       03/11/16     003768        Mimi van Breemen                              Claim 000308, Payment 12.00000%                   7100-000                                            30.72      3,458,640.85
                                  c/o Kristen Van Breemen
                                  15108 SE Shaunte Lane
                                  Happy Valley OR 97086




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                               FORM 2                                                                                          Page: 203
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       03/11/16     003769        Mimi van Breemen                              Claim 000310, Payment 12.00000%                   7100-000                                            73.56      3,458,567.29
                                  c/o Kristen Van Breemen
                                  15108 SE Shaunte Lane
                                  Happy Valley OR 97086

       03/11/16     003770        Jonah van Breemen                             Claim 000311, Payment 12.00000%                   7100-000                                            89.28      3,458,478.01
                                  c/o Kristen van Breemen
                                  15108 SE Shaunte Ln
                                  Happy Valley OR 97086

       03/11/16     003771        Jorja Hansen                                  Claim 000312, Payment 12.00000%                   7100-000                                           321.84      3,458,156.17
                                  c/o R. Scott Palmer,
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003772        F. Leroy Sherman and Verda F. Sherman         Claim 000313, Payment 12.00000%                   7100-000                                          6,615.96     3,451,540.21
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003773        Verda Sherman                                 Claim 000314, Payment 12.00000%                   7100-000                                      19,561.87        3,431,978.34
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                              FORM 2                                                                                        Page: 204
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit B
  Case No:          12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                            Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                               Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                            Separate Bond (if applicable):


           1           2                                3                                            4                                                  5                      6                7
    Transaction    Check or                                                                                                     Uniform                                                     Account / CD
       Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)       Balance ($)
       03/11/16     003774        Colton Hansen                                Claim 000315, Payment 12.00000%                   7100-000                                          668.40     3,431,309.94
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003775        Graysen Hansen                               Claim 000316, Payment 12.00000%                   7100-000                                          396.00     3,430,913.94
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003776        Kaiser, Lisa                                 Claim 000317, Payment 12.00000%                   7100-000                                          127.08     3,430,786.86
                                  9801 SE Ladera Ct
                                  Damascus OR 97089

       03/11/16     003777        Bishop, Jennifer                             Claim 000318, Payment 12.00000%                   7100-000                                          136.08     3,430,650.78
                                  4315 SE 15th Ave
                                  Portland OR 97202

       03/11/16     003778        Donald N & Barbara H McDonald                Claim 000319, Payment 12.00000%                   7100-000                                      11,291.88      3,419,358.90
                                  1745 Alta Vista Way
                                  San Diego, CA 92109

       03/11/16     003779        F.Leroy Sherman, Successor Trustee of        Claim 000321, Payment 12.00000%                   7100-000                                      31,058.27      3,388,300.63
                                  the
                                  Rose Sherman Rev. Living Trust Agreement
                                  U/T/A 11-4-99 as republished 6-20-12
                                  c/o R. Scott Palmer, Watkinson Laird


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LFORM2T4                                                                                                                                                                                            Ver: 22.01b
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                                                                                               FORM 2                                                                                          Page: 205
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                                   3                                         4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway,Ste.200,Eugene,OR 97401

       03/11/16      003780       Michael John Jaskilka                         Claim 000322, Payment 12.00005%                   7100-000                                          1,875.77     3,386,424.86
                                  1484 Barrington Ave
                                  Eugene OR 97401

       03/11/16      003781       Bonnie Rhynard-Buhl                           Claim 000323, Payment 12.00001%                   7100-000                                          4,859.77     3,381,565.09
                                  27353 SW 45th Drive
                                  Wilsonville OR 97070

       03/11/16      003782       Davis Wright Tremaine LLP                     Claim 000324, Payment 11.99999%                   7100-000                                          5,818.57     3,375,746.52
                                  1300 SW 5th Ave #2400
                                  Portland OR 97201

 *     03/11/16      003783       Coffman, Ronald R & Peggy J                   Claim 000325, Payment 11.99998%                   7100-004                                          1,477.67     3,374,268.85
                                  2920 NE Conners Ave #228
                                  Bend, OR 97701

       03/11/16      003784       Eileen and Bruce McLellan                     Claim 000326, Payment 12.00000%                   7100-000                                          3,145.66     3,371,123.19
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       03/11/16      003785       Bruce McLellan                                Claim 000327, Payment 12.00001%                   7100-000                                      14,045.89        3,357,077.30
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       03/11/16      003786       Warren Harper                                 Claim 000328, Payment 12.00003%                   7100-000                                          4,204.19     3,352,873.11
                                  c/o Bradley S. Copeland


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                     Case 12-63884-tmr7          Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 206
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       03/11/16     003787        Marilyn and James Rear, Jr.                   Claim 000329, Payment 12.00000%                   7100-000                                      38,065.87        3,314,807.24
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       03/11/16     003788        Janet Harper and Marilyn Rear                 Claim 000330, Payment 12.00001%                   7100-000                                          5,993.58     3,308,813.66
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       03/11/16     003789        Harper Farms, Inc.                            Claim 000331, Payment 12.00000%                   7100-000                                      45,041.99        3,263,771.67
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       03/11/16     003790        Guistina, Ehrman V                            Claim 000332, Payment 12.00000%                   7100-000                                      16,460.16        3,247,311.51
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       03/11/16     003791        Grace Lutheran Foundation                     Claim 000333, Payment 12.00000%                   7100-000                                      53,028.12        3,194,283.39
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       03/11/16     003792        McCarty, Barbara J                            Claim 000334, Payment 12.00000%                   7100-000                                      62,035.55        3,132,247.84
                                  c/o Rohn M Roberts
                                  800 Willamette St #800


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                     Case 12-63884-tmr7          Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page: 207
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                   3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                    Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97401

       03/11/16     003793        M&A Investments                                 Claim 000335, Payment 12.00000%                   7100-000                                          7,709.44     3,124,538.40
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       03/11/16     003794        Agerter, Alan J                                 Claim 000336, Payment 11.99989%                   7100-000                                           419.03      3,124,119.37
                                  c/o Rohn M. Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       03/11/16     003795        Agerter, Joan H                                 Claim 000337, Payment 12.00000%                   7100-000                                          4,517.04     3,119,602.33
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       03/11/16     003796        Agerter, Mark & Regina                          Claim 000338, Payment 11.99998%                   7100-000                                          4,269.82     3,115,332.51
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       03/11/16     003797        Wolfe, Pierre                                   Claim 000339, Payment 12.00000%                   7100-000                                          7,867.44     3,107,465.07
                                  3568 E Virginia Ave
                                  Denver CO 80209

       03/11/16     003798        Wolfe, Ronald                                   Claim 000340, Payment 12.00000%                   7100-000                                          6,956.16     3,100,508.91
                                  3025 E Bates Ave
                                  Denver CO 80210

       03/11/16     003799        Wolfe, Jean                                     Claim 000341, Payment 12.00000%                   7100-000                                          8,965.92     3,091,542.99


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                      Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 208
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  3568 E Virginia Ave
                                  Denver CO 80209

       03/11/16     003800        Dupriest, Douglas M                           Claim 000342, Payment 11.99998%                   7100-000                                          6,704.15     3,084,838.84
                                  225 Dartmoor Dr
                                  Eugene OR 97401

       03/11/16     003801        Degge, Rogena M                               Claim 000343, Payment 12.00000%                   7100-000                                          5,610.48     3,079,228.36
                                  225 Dartmoor Dr
                                  Eugene OR 97401

       03/11/16     003802        Herrmann, Paul                                Claim 000344, Payment 12.00000%                   7100-000                                      35,488.08        3,043,740.28
                                  440 S Garfield St
                                  Denver CO 80209

       03/11/16     003803        Herrmann, Christopher                         Claim 000345, Payment 12.00000%                   7100-000                                          8,961.48     3,034,778.80
                                  c/o Mr & Mrs Paul Herrmann
                                  440 S Garfield St
                                  Denver CO 80209

       03/11/16     003804        Christian Vaughan                             Claim 000346, Payment 12.00000%                   7100-000                                          1,061.64     3,033,717.16
                                  6480 W Sumac Ave
                                  Denver CO 80123

       03/11/16     003805        Janssen, Joseph John                          Claim 000347, Payment 12.00000%                   7100-000                                          1,602.60     3,032,114.56
                                  Janssen, Shannon & David
                                  2855 NW 29th
                                  Corvallis OR 97330

       03/11/16     003806        Janssen, Davi Rae Helen                       Claim 000348, Payment 12.00000%                   7100-000                                          1,221.24     3,030,893.32
                                  Janssen, Shannon & David


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                                 FORM 2                                                                                          Page: 209
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Shannon Brown
                                  2855 NW 29th
                                  Corvallis OR 97330

       03/11/16     003807        Brown, Shannon                                  Claim 000349, Payment 12.00000%                   7100-000                                            18.96      3,030,874.36
                                  2855 NW 29th St
                                  Corvallis OR 97330

       03/11/16     003808        SCS Investments, LLC                            Claim 000350, Payment 12.00000%                   7100-000                                          1,379.76     3,029,494.60
                                  c/o Alan G. Seligson
                                  142 West 8th Avenue
                                  Eugene, OR 97401

       03/11/16     003809        SRB Investments, LLC                            Claim 000351, Payment 12.00000%                   7100-000                                      27,501.24        3,001,993.36
                                  c/o Alan G. Seligson
                                  142 West 8th Avenue
                                  Eugene, OR 97401

       03/11/16     003810        Debra L. Stanley and James D. Stanley           Claim 000352, Payment 12.00000%                   7100-000                                          2,417.52     2,999,575.84
                                  3800 BALLYNTYNE RD S
                                  SALEM OR 97302

       03/11/16     003811        Jared Stanley and Debra Stanley                 Claim 000353, Payment 12.00000%                   7100-000                                           576.00      2,998,999.84
                                  3800 BALLYNTYNE RD S
                                  SALEM OR 97302

       03/11/16     003812        Ryan Stanley and Debra Stanley                  Claim 000354, Payment 12.00000%                   7100-000                                           576.00      2,998,423.84
                                  3800 BALLYNTYNE RD S
                                  SALEM OR 97302

       03/11/16     003813        Hutchinson, Cayden                              Claim 000355, Payment 12.00000%                   7100-000                                           505.08      2,997,918.76


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
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                                                                                                FORM 2                                                                                          Page: 210
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                  3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Hutchinson, Scott & Wika
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       03/11/16     003814        Tyler, Duane                                   Claim 000356, Payment 12.00000%                   7100-000                                          9,703.56     2,988,215.20
                                  Tyler, Barbara
                                  POB 523
                                  Union OR 97883

       03/11/16     003815        Dorothy J Larkin Rev Living Trust              Claim 000357, Payment 12.00000%                   7100-000                                      88,364.88        2,899,850.32
                                  Richard L Larkin, Successor Trustee
                                  PO Box 424
                                  Sweet Home OR 97386

       03/11/16     003816        Danielle Deshotel                              Claim 000358, Payment 12.00000%                   7100-000                                           315.48      2,899,534.84
                                  2700 West Powell Blvd., Apt. H358
                                  Gresham, OR 97030

       03/11/16     003817        Johnson, Darci                                 Claim 000359, Payment 11.99966%                   7100-000                                           356.87      2,899,177.97
                                  2451 SE 85th Ave
                                  Portland OR 97216

       03/11/16     003818        Hand, C Gene                                   Claim 000360, Payment 12.00000%                   7100-000                                      16,802.33        2,882,375.64
                                  5159 Solar Heights
                                  Eugene OR 97405

       03/11/16     003819        Erildean Hand                                  Claim 000361, Payment 12.00000%                   7100-000                                           767.04      2,881,608.60
                                  c/o C Gene Hand
                                  5159 Solar Heights Dr
                                  Eugene OR 97405




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                                                                                               FORM 2                                                                                          Page: 211
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       03/11/16     003820        Hand, Patsy                                   Claim 000362, Payment 12.00002%                   7100-000                                          3,250.34     2,878,358.26
                                  5159 Solar Heights
                                  Eugene OR 97405

       03/11/16     003821        Redhead, Paul                                 Claim 000363, Payment 12.00008%                   7100-000                                           374.97      2,877,983.29
                                  701 High St #300
                                  Eugene OR 97401

       03/11/16     003822        Tessem, Susan                                 Claim 000368, Payment 12.00000%                   7100-000                                          2,153.28     2,875,830.01
                                  SJO 83
                                  POB 025216
                                  Miami FL 33102

       03/11/16     003823        Chasteen, Matthew S                           Claim 000369, Payment 12.00000%                   7100-000                                           568.80      2,875,261.21
                                  115 Carrin Layne Ct
                                  Roseburg OR 97471

       03/11/16     003824        Chasteen, Naomi Edda                          Claim 000370, Payment 12.00000%                   7100-000                                           109.20      2,875,152.01
                                  Chasteen, Matthew S
                                  115 Carrin Layne Ct
                                  Roseburg OR 97471

       03/11/16     003825        Peccia, Kathi                                 Claim 000371, Payment 12.00000%                   7100-000                                          1,015.92     2,874,136.09
                                  POB 22422
                                  Eugene OR 97402

       03/11/16     003826        Hutchinson, Wika                              Claim 000372, Payment 12.00000%                   7100-000                                           636.84      2,873,499.25
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       03/11/16     003827        Hutchinson, Wika                              Claim 000373, Payment 12.00000%                   7100-000                                           186.00      2,873,313.25


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 212
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       03/11/16     003828        Maloney, Terry W                              Claim 000374, Payment 12.00000%                   7100-000                                           445.80      2,872,867.45
                                  Maloney, Melissa A
                                  2671 NW Legacy Pl
                                  Corvallis OR 97330

       03/11/16     003829        Babb, Bert & Shirley                          Claim 000376, Payment 12.00000%                   7100-000                                      45,584.04        2,827,283.41
                                  2306 Park Grove Dr
                                  Eugene OR 97408

       03/11/16     003830        Jonathan Hollis                               Claim 000378, Payment 11.99996%                   7100-000                                          2,918.99     2,824,364.42
                                  3155 26th Ave SE
                                  Albany OR 97322

       03/11/16     003831        Kruger, David L & Karen E                     Claim 000379, Payment 12.00106%                   7100-000                                            40.74      2,824,323.68
                                  3175 Baber Ct. SE
                                  Salem, OR 97317

       03/11/16     003832        Chanda Mills                                  Claim 000380, Payment 12.00000%                   7100-000                                           132.48      2,824,191.20
                                  POB 293
                                  Veneta OR 97487

       03/11/16     003833        Myers, Eric                                   Claim 000385, Payment 12.00000%                   7100-000                                           248.52      2,823,942.68
                                  3366 W 17th Ave
                                  Eugene OR 97402

       03/11/16     003834        KEVIN C. GRAY                                 Claim 000395, Payment 12.00000%                   7100-000                                          3,252.72     2,820,689.96
                                  PERSONAL REPRESENTATIVE OF
                                  WENDELL GRAY ESTATE


       UST Form 101-7-TFR (5/1/2011) (Page: 227)
LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                               Page: 213
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit B
  Case No:           12-63884 -TMR                                                                                                  Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                               Bank Name:                       Union Bank
                                                                                                                                    Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1            2                              3                                               4                                                        5                      6                  7
     Transaction    Check or                                                                                                            Uniform                                                       Account / CD
        Date        Reference                Paid To / Received From                       Description Of Transaction                  Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  PO BOX 71601
                                  SPRINGIFELD, OR 97475

       03/11/16      003835       Bradley Myers                                Claim 000399, Payment 12.00000%                           7100-000                                          1,320.00     2,819,369.96
                                  4325 Commerce St
                                  Suite 111 #503
                                  Eugene, OR 97402

       03/11/16      003836       Jackson Chalmers                             Claim 000425, Payment 12.00000%                           7100-000                                          1,580.04     2,817,789.92
                                  c/o Jennifer Chalmers
                                  3371 Goos Cross Lane
                                  Eugene, OR 97404-3869

       03/11/16      003837       Marilee Chalmers                             Claim 000426, Payment 12.00000%                           7100-000                                          1,047.12     2,816,742.80
                                  c/o Jennifer Chalmers
                                  3371 Goos Cross Lane
                                  Eugene, OR 97404-3869

       03/11/16      003838       AMERICAN PROPERTY MANAGEMENT                 Claim 000432, Payment 11.99933%                           7100-000                                           142.78      2,816,600.02
                                  2154 NE BROADWAY
                                  PORTLAND, OR 97232

 *     03/11/16      003839       Clerk, U.S. Bankruptcy Court                 REMITTED TO COURT IN ERROR                                                                                      3.36     2,816,596.66
                                  Wayne L. Morse U.S. Courthouse               DIVIDENDS REMITTED TO THE COURT
                                  405 E. 8th Ave., Suite #2600                 ITEM #   CLAIM #    DIVIDEND
                                  Eugene OR 97401-2706                         ==================================
 *                                                                               45       000045        3.36                             7100-001

 *     03/11/16      003839       Clerk, U.S. Bankruptcy Court                 VOID                                                                                                           -3.36     2,816,600.02
                                  Wayne L. Morse U.S. Courthouse               3/11/16 Check issued to Court incorrectly; interim
                                  405 E. 8th Ave., Suite #2600                 distribution to Creditor. Reissued to Creditor.


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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                   Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                           Page: 214
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                                  3                                             4                                                   5                      6                  7
     Transaction    Check or                                                                                                           Uniform                                                     Account / CD
        Date        Reference                  Paid To / Received From                      Description Of Transaction                Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97401-2706                           Check #3840

       03/11/16      003840       Davis Sr, Matthew C                            Claim 000045, Payment 12.00000%                       7100-000                                             3.36     2,816,596.66
                                  Kruger, Joyce
                                  1317 Aldelman Lp
                                  Eugene OR 97402

       03/11/16      003841       Siegrist, Fredrick & Betty Jo                  Claim 000005, Payment 2.78130%                        7100-000                                         4,208.13     2,812,388.53
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       03/11/16      003842       Roberts, Leone                                 Claim 000011, Payment 11.21848%                       7100-000                                     16,423.52        2,795,965.01
                                  1791 E Redstart Rd
                                  Green Valley AZ 85614

 *     03/11/16      003843       William J Gunderson                            Claim 000052, Payment 7.92508%                        7100-004                                         9,362.01     2,786,603.00
                                  1404 Lawnridge Ave                             Received notice of William Gunderson's death on
                                  Springfield OR 97477                           5/30/14. Check could not be cashed. Additional
                                                                                 Proof of Claim for the William J. Gunderson Living
                                                                                 Trust was filed by Dean Gunderson on 6/9/16. A
                                                                                 replacement check was issued.

       03/11/16      003844       Fountain, David & Jessie                       Claim 000091, Payment 6.19218%                        7100-000                                         6,313.52     2,780,289.48
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       03/11/16      003845       Ronald A Harris                                Claim 000127, Payment 9.26658%                        7100-000                                     13,762.08        2,766,527.40


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page: 215
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                   3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       03/11/16     003846        Theodore & Loretta Glass Joint Trust            Claim 000152, Payment 12.00000%                   7100-000                                      119,360.76       2,647,166.64
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       03/11/16     003847        Van Sant, Luella G                              Claim 000158, Payment 12.00000%                   7100-000                                       74,744.76       2,572,421.88
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       03/11/16     003848        E.G. Gardner Co, Inc                            Claim 000171, Payment 1.90859%                    7100-000                                          2,031.65     2,570,390.23
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       03/11/16     003849        Edgar C. & Mary Ann Brown                       Claim 000179, Payment 12.00000%                   7100-000                                       66,868.08       2,503,522.15
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       03/11/16     003850        Karotko, Michael                                Claim 000240, Payment 6.34658%                    7100-000                                      124,256.89       2,379,265.26
                                  c/o Scott R Palmer


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                         Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                                   FORM 2                                                                                            Page: 216
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:           12-63884 -TMR                                                                                                   Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                                Bank Name:                       Union Bank
                                                                                                                                     Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                        Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                     Separate Bond (if applicable):


           1            2                                   3                                             4                                                      5                      6                7
     Transaction    Check or                                                                                                             Uniform                                                     Account / CD
        Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)       Disbursements ($)      Balance ($)
                                  Watkinson Laird Rubenstein & Burgess PC
                                  101 E Broadway #200
                                  Eugene OR 97401

       03/11/16      003851       Lon Kellstrom                                  Claim 000253, Payment 11.76619%                          7100-000                                      27,790.98      2,351,474.28
                                  c/o Scott R. Palmer
                                  Watkinson Laird, et al.
                                  101 E Broadway #200
                                  Eugene, OR 97401

       03/11/16      003852       Rhynard Jr, Wayne E                            Claim 000289, Payment 0.01732%                           7100-000                                          16.80      2,351,457.48
                                  Rhynard, Alida D
                                  448 Clearview Rd
                                  Martinsdale MT 59053

       03/11/16      003853       C & D Radiator Service                         Claim 000377, Payment 12.00000%                          7100-000                                      36,937.08      2,314,520.40
                                  c/o Scott R. Palmer
                                  Watkinson Laird, et al.
                                  101 E Broadway #200
                                  Eugene, OR 97401

       03/15/16        14         Jasper Junction, LLC                           pmt on note                                              1121-000                    920.34                           2,315,440.74
                                                                                 Per Notice of Intent to Settle & Compromise -
                                                                                 Document #514 - Filed 2/24/14.
                                                                                 Funds to estate for 4164 Jasper Rd., Springfield,
                                                                                 OR. rent less expenses.

 *     03/22/16      003505       Robert H Holcomb Trust                         Claim 000012, Payment 12.00000%                          7100-003                                      -23,798.82     2,339,239.56
                                  365 NE Mistletoe Cir                           3/22/16 Name of payee on check was updated to
                                  Corvallis OR 97330                             reflect submitted claim.




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LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                              FORM 2                                                                                           Page: 217
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                             3                                               4                                                     5                      6                7
    Transaction    Check or                                                                                                        Uniform                                                     Account / CD
       Date        Reference               Paid To / Received From                      Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)       Balance ($)
       03/22/16     003854        HOLCOMB LIVING TRUST                       Claim 000012, Payment 12.00000%                        7100-000                                       23,798.82     2,315,440.74
                                  365 NE Mistletoe Cir                       3/22/16 Name of payee on check was updated to
                                  Corvallis OR 97330                         reflect submitted claim. Reissue of Check #3505

       03/23/16     003855        THOMAS A. HUNTSBERGER, TRUSTEE             Interim Trustee Compensation                           2100-000                                      100,000.00     2,215,440.74
                                  870 W. CENTENNIAL BLVD                     Amount is 80% of allowed trustee compensation.
                                  SPRINGFIELD, OR 97477                      Per Application for Interim Compensation for TAH,
                                                                             Trustee - Document #1230 - Filed 2/10/16 and
                                                                             Order Allowing Interim Compensation - Docket
                                                                             #1270 - Filed 3/23/16.

       03/23/16     003856        DAVID MILLS                                Attorney to Trustee Fees-other Firm                    3210-000                                       17,020.00     2,198,420.74
                                  90324 BAKER ROAD                           Amount if 80% of allowed interim compensation.
                                  ELMIRA, OR 97437                           Per Application for Interim Compensation for David
                                                                             B. Mills - Document #1231 - Filed 2/10/16 and
                                                                             Order Allowing Interim Compensation - Docket
                                                                             #1270 - Filed 3/23/16.

       03/23/16     003857        DAVID MILLS                                Attorney to Trustee Exp -other firm                    3220-000                                            1.30     2,198,419.44
                                  90324 BAKER ROAD                           Per Application for Interim Compensation for David
                                  ELMIRA, OR 97437                           B. Mills - Document #1231 - Filed 2/10/16 and
                                                                             Order Allowing Interim Compensation - Docket
                                                                             #1270 - Filed 3/23/16.

       03/23/16     003858        KENT & JOHNSON, LLP                        Attorney to Trustee Fees-other Firm                    3210-000                                       21,186.00     2,177,233.44
                                  1500 SW TAYLOR STREET                      80% of allowed fees - January 2016 Invoice.
                                  PORTLAND, OR 97205                         Notice of Intent to Pay Kent & Johnson - Document
                                                                             #1234.- Filed 2/17/16.

       03/23/16     003859        KENT & JOHNSON, LLP                        Attorney to Trustee Exp -other firm                    3220-000                                          144.17     2,177,089.27
                                  1500 SW TAYLOR STREET                      Special Counsel to Trustee - Expense


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                 Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                             Page: 218
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                                 3                                             4                                                    5                      6                   7
     Transaction    Check or                                                                                                           Uniform                                                      Account / CD
        Date        Reference                Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)      Disbursements ($)          Balance ($)
                                  PORTLAND, OR 97205                           Reimbursement.- January 2016
                                                                               Notice of Intent to Pay Kent & Johnson - Document
                                                                               #1234.- Filed 2/17/16.

       03/23/16      003860       TARLOW NAITO & SUMMERS, LLP                  Attorney to Trustee Fees-other Firm                     3210-000                                     173,299.60        2,003,789.67
                                  2501 SW. FIRST AVENUE                        80% of allowed interim compensation forTrustee's
                                  SUITE 390                                    General Counsel
                                  PORTLAND, OR 97201                           Per Application for Interim Compensation for Brent
                                                                               G Summers - Document #1237 - Filed 2/23/16 and
                                                                               Order Allowing Interim Compensation - Docket
                                                                               #1270 - Filed 3/23/16.

       03/23/16      003861       TARLOW NAITO & SUMMERS, LLP                  Attorney to Trustee Exp -other firm                     3220-000                                         5,190.69      1,998,598.98
                                  2501 SW. FIRST AVENUE                        Expenses - Trustee's General Counsel
                                  SUITE 390                                    Per Application for Interim Compensation for Brent
                                  PORTLAND, OR 97201                           G Summers - Document #1237 - Filed 2/23/16 and
                                                                               Order Allowing Interim Compensation - Docket
                                                                               #1270 - Filed 3/23/16.

 *     03/25/16      003783       Coffman, Ronald R & Peggy J                  Stop Payment Reversal                                   7100-004                                         -1,477.67     2,000,076.65
                                  2920 NE Conners Ave #228                     SA
                                  Bend, OR 97701

       03/25/16      003862       Coffman, Ronald R & Peggy J                  Claim 000325, Payment 11.99998%                         7100-000                                         1,477.67      1,998,598.98
                                  2920 NE Conners Ave #228                     Reissuance of Check #3783 as creditor indicated
                                  Bend, OR 97701                               check had not been received. Stop payment issued
                                                                               3/24/16 and confirmed.

       03/28/16        21         Fred W. Holcomb                              Return of Preferential Transfer                         1241-000               80,000.00                               2,078,598.98
                                  3241 Lake Glenn Drive                        Settlement per Motion and Notice of Intent to Settle
                                  Eugene, OR 97408                             and Compromise Adversary Proceeding - Adv Pro


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LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                   Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                               Page: 219
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit B
  Case No:          12-63884 -TMR                                                                                                     Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                  Bank Name:                       Union Bank
                                                                                                                                      Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                         Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                      Separate Bond (if applicable):


           1           2                                 3                                               4                                                        5                      6                  7
    Transaction    Check or                                                                                                               Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                        Description Of Transaction                  Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                                                                 Case No.14-06158. - Docket #49 - Filed 2/4/16.
                                                                                 See Also Motion and Notice of Intent to Settle and
                                                                                 Compromise Adversary Proceeding - Main case -
                                                                                 Document #1219 - Filed 2/4/16.

       03/31/16     003863        TRANSETH & ASSOCIATES, LLC                     Forensic Accounting Services -                            3991-000                                          1,606.80     2,076,992.18
                                  818 SW 3rd AVENUE, #109                        80% of February 2016 Invoice #1356
                                  PORTLAND OR 97204                              ($2,008.50 X 80% = $1,606.80)
                                                                                 Per Order Approving Payment of Norman Transeth
                                                                                 & Associates, LLC Fees and Expenses - Document
                                                                                 #556 - Filed 4/21/14.
                                                                                 Per Trustee's Notice of Intent to Pay Forensic
                                                                                 Accountant (February 2016 Invoice) - Document
                                                                                 #1263 - Filed 3/15/16.

       04/04/16     003864        THOMAS A. HUNTSBERGER, TRUSTEE                 Pro-Rata Bond Premium                                     2300-000                                           898.94      2,076,093.24
                                  870 W. CENTENNIAL BLVD                         4/4/2016 to 4/4/2017
                                  SPRINGFIELD, OR 97477

       04/11/16                   Jose Perez                                     Refund of Creditor Pmt                                                            15,373.92                              2,091,467.16
                                  Custodian Account for Roberto Perez            Reimbursement of Checks #3123 and #3518 as
                                                                                 payments regarding Claim #25. Creditor contacted
                                                                                 trustee stating he only had one account with Berjac
                                                                                 which he filed as Claim #106. Creditor filed two
                                                                                 additional claims (#25 and #389) thinking he was
                                                                                 updating his original claim Trustee Issued
                                                                                 Objection to Claim #25 - Document #1286 - Filed
                                                                                 4/13/16 and Objection to Claim #389 - Document
                                                                                 #942 - Filed 6/19/15.
                                                                                 Creditor returned the funds disbursed.in error.
                                  PEREZ, ROBERTO CARLOS                              Memo Amount:              3,843.48                    7100-000


       UST Form 101-7-TFR (5/1/2011) (Page: 234)
LFORM2T4                                                                                                                                                                                                        Ver: 22.01b
                                                                        Case 12-63884-tmr7           Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                             Page: 220
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                                 3                                            4                                                     5                      6                   7
     Transaction    Check or                                                                                                          Uniform                                                       Account / CD
        Date        Reference                Paid To / Received From                       Description Of Transaction                Trans. Code        Deposits ($)      Disbursements ($)          Balance ($)
                                                                               Reimburse - Claim pmt - Check #3123
                                                                               Reimbursement of Check #3123, issued 8/25/15, as
                                                                               payment regarding Claim #25. Creditor contacted
                                                                               trustee stating he only had one account with Berjac
                                                                               which he filed as Claim #106. Creditor filed two
                                                                               additional claims (#25 and #389) thinking he was
                                                                               updating his original claim. Trustee Issued
                                                                               Objection to Claim #25 - Document #1286 - Filed
                                                                               4/13/16 and Objection to Claim #389 - Document
                                                                               #942 - Filed 6/19/15.
                                                                               Creditor returned the funds disbursed.in error.
                                  PEREZ, ROBERTO CARLOS                            Memo Amount:             11,530.44                 7100-000
                                                                               Reimburse - Claim Pmt - Check #3518
                                                                               Reimbursement of Check #3518, issued 3/11/16, as
                                                                               payment regarding Claim #25. Creditor contacted
                                                                               trustee stating he only had one account with Berjac
                                                                               which he filed as Claim #106. Creditor filed two
                                                                               additional claims (#25 and #389) thinking he was
                                                                               updating his original claim Trustee Issued
                                                                               Objection to Claim #25 - Document #1286 - Filed
                                                                               4/13/16 and Objection to Claim #389 - Document
                                                                               #942 - Filed 6/19/15.
                                                                               Creditor returned the funds disbursed.in error.

 *     04/28/16      003752       Brown, Indiana Loye                          Stop Payment Reversal                                  7100-004                                          -3,343.80     2,094,810.96
                                  Brown, Jason & Jenny                         SA
                                  2815 E Morningside Dr
                                  Idaho Falls ID 83402

 *     04/28/16      003753       Jason Brown                                  Stop Payment Reversal                                  7100-004                                           -208.57      2,095,019.53
                                  2815 E Morningside Dr                        SA


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LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                   Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                             Page: 221
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                                 3                                             4                                                    5                      6                   7
     Transaction    Check or                                                                                                           Uniform                                                      Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)      Disbursements ($)          Balance ($)
                                  Idaho Falls ID 83402

 *     04/28/16      003754       Brown, Olivia Georganna (minor)               Stop Payment Reversal                                  7100-004                                         -2,782.68     2,097,802.21
                                  c/o Brown, Jason & Jenny                      SA
                                  2815 E Morningside Dr
                                  Idaho Falls ID 83402

       04/28/16      003865       Brown, Indiana Loye                           Claim 000286, Payment 12.00000%                        7100-000                                         3,343.80      2,094,458.41
                                  Brown, Jason & Jenny                          4/28/16; Check Nos. 3754, 3753 and 3752 were
                                  2815 E Morningside Dr                         never negotiated. Contacted Jason Brown. He
                                  Idaho Falls ID 83402                          indicated the checks were not received and asked
                                                                                that the checks be reissued. Stop payment issued on
                                                                                original checks. This is a replacement check.

       04/28/16      003866       Jason Brown                                   Claim 000287, Payment 12.00078%                        7100-000                                           208.57      2,094,249.84
                                  2815 E Morningside Dr                         4/28/16; Check Nos. 3754, 3753 and 3752 were
                                  Idaho Falls ID 83402                          never negotiated. Contacted Jason Brown. He
                                                                                indicated the checks were not received and asked
                                                                                that the checks be reissued. Stop payment issued on
                                                                                original checks. This is a replacement check.

       04/28/16      003867       Brown, Olivia Georganna (minor)               Claim 000288, Payment 12.00000%                        7100-000                                         2,782.68      2,091,467.16
                                  c/o Brown, Jason & Jenny                      4/28/16; Check Nos. 3754, 3753 and 3752 were
                                  2815 E Morningside Dr                         never negotiated. Contacted Jason Brown. He
                                  Idaho Falls ID 83402                          indicated the checks were not received and asked
                                                                                that the checks be reissued. Stop payment issued on
                                                                                original checks. This is a replacement check.

       04/29/16      003868       TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services -                         3991-000                                         8,592.80      2,082,874.36
                                  818 SW 3rd AVENUE, #109                       80% of March 2016 Invoice #1361
                                  PORTLAND OR 97204                             ($10,741.00 X 80% = $8,592.80)


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LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                               Page: 222
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit B
  Case No:           12-63884 -TMR                                                                                                  Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                               Bank Name:                       Union Bank
                                                                                                                                    Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1            2                                   3                                           4                                                       5                      6                   7
     Transaction    Check or                                                                                                            Uniform                                                        Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)      Disbursements ($)          Balance ($)
                                                                                Per Order Approving Payment of Norman Transeth
                                                                                & Associates, LLC Fees and Expenses - Document
                                                                                #556 - Filed 4/21/14.
                                                                                Per Trustee's Notice of Intent to Pay Forensic
                                                                                Accountant (March 2016 Invoice) - Document
                                                                                #1287 - Filed 4/13/16.

       04/29/16      003869       KENT & JOHNSON, LLP                           Attorney to Trustee Fees-other Firm                      3210-000                                          9,758.00      2,073,116.36
                                  1500 SW TAYLOR STREET                         February 2016 Invoice #14043
                                  PORTLAND, OR 97205                            $5,792.50 + $6,405.00 = $12,197.50 X 80% =
                                                                                $9,785.00
                                                                                Notice of Intent to Pay Kent & Johnson - Document
                                                                                #1288.- Filed 4/13/16.

 *     05/04/16      003701       Reese and Joyce Woods                         Claim 000225, Payment 12.00000%                          7100-003                                          -5,538.00     2,078,654.36
                                  c/o Scott L Jensen, Esq                       4/21/16 check returned with note indicating Reese
                                  1200 SW Main St                               Woods deceased. 4/21/16 Amended claim filed to
                                  Portland OR 97205                             change ownership to Joyce Woods.

       05/04/16      003870       JOYCE WOODS                                   Claim 000225, Payment 12.00000%                          7100-000                                          5,538.00      2,073,116.36
                                  2117 NE 149TH                                 4/21/16 check returned with note indicating Reese
                                  PORTLAND, OR 97230                            Woods deceased. 4/21/16. Amended claim filed to
                                                                                change ownership to Joyce Woods.

       05/10/16      003871       KENT & JOHNSON, LLP                           Attorney to Trustee Fees-other Firm                      3210-000                                          1,372.00      2,071,744.36
                                  1500 SW TAYLOR STREET                         March 2016 Invoice #14081
                                  PORTLAND, OR 97205                            $1,330.00 + $385.00 = $1,715 X 80% = $1,372.00
                                                                                Notice of Intent to Pay Kent & Johnson - Document
                                                                                #1293.- Filed 4/22/16.

       05/18/16      003872       DAVID K. REKDAHL, CPA, PC                     Accountant to Trustee - Fees                             3410-000                                          1,333.00      2,070,411.36


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LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                               Page: 223
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit B
  Case No:           12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1            2                                3                                              4                                                     5                        6                   7
     Transaction    Check or                                                                                                          Uniform                                                          Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction               Trans. Code         Deposits ($)         Disbursements ($)         Balance ($)
                                  1288 WINERY LANE                              Per Order for Compensation of Accountant -
                                  EUGENE, OR 97404                              Document #1303 - Filed 5/17/16.

       05/18/16      003873       DAVID K. REKDAHL, CPA, PC                     Accountant to Trustee - Expenses                       3420-000                                               14.40      2,070,396.96
                                  1288 WINERY LANE                              Per Order for Compensation of Accountant -
                                  EUGENE, OR 97404                              Document #1303 - Filed 5/17/16.

       06/01/16        14         Jasper Junction, LLC                          pmt on note                                            1121-000                    7,133.31                              2,077,530.27
                                                                                Per Notice of Intent to Settle & Compromise -
                                                                                Document #514 - Filed 2/24/14.

       06/01/16      003874       TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services -                         3991-000                                            5,410.00      2,072,120.27
                                  818 SW 3rd AVENUE, #109                       80% of April 2016 Invoice #1366
                                  PORTLAND OR 97204                             ($6,762.50 X 80% = $5,410.00)
                                                                                Per Order Approving Payment of Norman Transeth
                                                                                & Associates, LLC Fees and Expenses - Document
                                                                                #556 - Filed 4/21/14.
                                                                                Per Trustee's Notice of Intent to Pay Forensic
                                                                                Accountant (April 2016 Invoice) - Document #1301
                                                                                - Filed 5/12/16.

       06/10/16      003875       Dean Weston Gunderson and                     Claim 000052, Payment 7.92508%                         7100-000                                            9,362.01      2,062,758.26
                                  Wayne Joseph Gunderson,                       Received notice of William Gunderson's death on
                                  Co-Trustees of the Wm. J.                     5/30/14. Original check could not be cashed.
                                  Gunderson Living Trust                        Additional Proof of Claim for the William J.
                                  1404 Lawnridge Ave                            Gunderson Living Trust was filed by Dean
                                  Springfield OR 97477                          Gunderson on 6/9/16.

 *     06/13/16      003843       William J Gunderson                           Stop Payment Reversal                                  7100-004                                            -9,362.01     2,072,120.27
                                  1404 Lawnridge Ave                            SA
                                  Springfield OR 97477


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LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                               Page: 224
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit B
  Case No:           12-63884 -TMR                                                                                                  Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                               Bank Name:                       Union Bank
                                                                                                                                    Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1            2                              3                                               4                                                        5                      6                  7
     Transaction    Check or                                                                                                            Uniform                                                       Account / CD
        Date        Reference                Paid To / Received From                       Description Of Transaction                  Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       06/13/16      003876       KENT & JOHNSON, LLP                          Attorney to Trustee Fees-other Firm                       3210-000                                          8,050.00     2,064,070.27
                                  1500 SW TAYLOR STREET                        Notice of Intent to Pay Kent & Johnson - Document
                                  PORTLAND, OR 97205                           #1308.- Filed 5/26/16.

       06/15/16      003877       Donald N. and Barbara H. McDonald            Creditor distribution of 16%                              7100-000                                      15,215.68        2,048,854.59
                                  1745 Alta Vista Way                          Per Order Granting Trustee's Motion to Rescind
                                  San Diego CA 92109-1308                      Court's Prior Order Sustaining Trustee's Objection
                                                                               to Claim No. 320; Reinstating Claim No. 320; and
                                                                               Allowing Interim Distributions. (Related Doc #
                                                                               1297) - Document #1322 - Filed 6/13/16.

 *     06/17/16      003878       THOMAS A. HUNTSBERGER, TRUSTEE               Other State or Local Taxes                                2820-003                                           150.00      2,048,704.59
                                  870 W. CENTENNIAL BLVD                       Reimbursement to Trustee re. 2015 Oregon
                                  SPRINGFIELD, OR 97477                        Corporate
                                                                               Income tax to ODR.
                                                                               Per Notice of Intent to Incur Expenses - Document
                                                                               1312 - Filed 5/31/16 and
                                                                               Order Authorizing Trustee's Expense
                                                                               Reimbursement - Document #1335 - Filed 6/20/18.

                                                                               .

 *     06/17/16      003878       THOMAS A. HUNTSBERGER, TRUSTEE               Other State or Local Taxes                                2820-003                                          -150.00      2,048,854.59
                                  870 W. CENTENNIAL BLVD                       Check issued in error. To be reissued upon
                                  SPRINGFIELD, OR 97477                        completion of proper authorization. laf

       06/21/16      003879       THOMAS A. HUNTSBERGER, TRUSTEE               Other State or Local Taxes                                2820-000                                           150.00      2,048,704.59
                                  870 W. CENTENNIAL BLVD                       Reimbursement of State Tax paid by Trustee from
                                  SPRINGFIELD, OR 97477                        business account.
                                                                               Per Notice of Intent to Incur Expenses - Document


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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                      Case 12-63884-tmr7           Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                         Page: 225
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:           12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1            2                                  3                                           4                                                  5                      6                  7
     Transaction    Check or                                                                                                        Uniform                                                     Account / CD
        Date        Reference                Paid To / Received From                       Description Of Transaction              Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                                                               1312 - Filed 5/31/16 and
                                                                               Order Authorizing Trustee's Expense
                                                                               Reimbursement - Document #1335 - Filed 6/20/18.

       07/05/16      003880       TRANSETH & ASSOCIATES, LLC                   Forensic Accounting Services                         3991-000                                         1,042.80     2,047,661.79
                                  818 SW 3rd AVENUE, #109                      80% of May 2016 Invoice #1370
                                  PORTLAND OR 97204                            ($1,303.50 X 80% = $1,042.80)
                                                                               Per Order Approving Payment of Norman Transeth
                                                                               & Associates, LLC Fees and Expenses - Document
                                                                               #556 - Filed 4/21/14.
                                                                               Per Trustee's Notice of Intent to Pay Forensic
                                                                               Accountant (May 2016 Invoice) - Document #1329
                                                                               - Filed 6/16/16.

       07/08/16      003881       KENT & JOHNSON, LLP                          Attorney to Trustee Fees-other Firm                                                               10,955.90        2,036,705.89
                                  1500 SW TAYLOR STREET                        May 2016 Invoice #14150
                                  PORTLAND, OR 97205                           $7,770.00 + $4,235.00 = $12,005.00 X 80% =
                                                                               $9,604.00
                                                                               Expenses: $1,351.90
                                                                               Notice of Intent to Pay Kent & Johnson - Document
                                                                               #1336.- Filed 6/22/16.
                                                                                       Fees                 9,604.00                3210-000
                                                                                       Expenses             1,351.90                3220-000

 *     07/28/16      003616       Drews, Freda                                 Stop Payment Reversal                                7100-004                                         -481.55      2,037,187.44
                                  Drews, Melvin H                              SA
                                  416 Marian Ave
                                  Central Point OR 97502

       08/11/16      003882       KENT & JOHNSON, LLP                          Attorney to Trustee Fees-other Firm                                                                   3,341.60     2,033,845.84
                                  1500 SW TAYLOR STREET                        June 2016 Invoice #14184


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                   Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                              Page: 226
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                                3                                             4                                                     5                        6                  7
     Transaction    Check or                                                                                                         Uniform                                                         Account / CD
        Date        Reference                 Paid To / Received From                      Description Of Transaction               Trans. Code         Deposits ($)         Disbursements ($)        Balance ($)
                                  PORTLAND, OR 97205                            $1,522.50 + $1,907.50 = $3,430.00 X 80% =
                                                                                $2,744.00
                                                                                Expenses: $597.60
                                                                                Notice of Intent to Pay Kent & Johnson - Document
                                                                                #1343.- Filed 7/26/16.
                                                                                        Fees                 2,744.00                 3210-000
                                                                                        Expenses              597.60                  3220-000

       08/18/16      003883       Danielle N. Deshotel                          Claim #000205                                         7100-000                                            8,513.76     2,025,332.08
                                                                                Per Order Allowing Remainder of Proof of Claim
                                                                                No. 205 - Document #1348 - Filed 8/18/16.

       08/19/16      003884       TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services                          3991-000                                            2,100.40     2,023,231.68
                                  818 SW 3rd AVENUE, #109                       80% of June & July 2016 Invoice #1381
                                  PORTLAND OR 97204                             ($2,625.50 X 80% = $2,100.40)
                                                                                Per Order Approving Payment of Norman Transeth
                                                                                & Associates, LLC Fees and Expenses - Document
                                                                                #556 - Filed 4/21/14.
                                                                                Per Trustee's Notice of Intent to Pay Forensic
                                                                                Accountant (June & July 2016 Invoice) - Document
                                                                                #1345 - Filed 8/3/16.

       10/05/16        14         Jasper Junction, LLC                          pmt on note                                           1121-000                    4,644.99                             2,027,876.67
                                                                                Per Notice of Intent to Settle & Compromise -
                                                                                Document #514 - Filed 2/24/14.
                                                                                From Max Jordan. Release of fund per 10/1/16
                                                                                accounting for 4th Quarter 2016.

 *     10/06/16      003885       TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services                          3991-003                                        10,202.40        2,017,674.27
                                  818 SW 3rd AVENUE, #109                       80% of August 2016 Invoice #1388
                                  PORTLAND OR 97204                             ($12,753.00 X 80% = $10,202.40)


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LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                FORM 2                                                                                             Page: 227
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                             3                                                4                                                     5                      6                  7
     Transaction    Check or                                                                                                         Uniform                                                       Account / CD
        Date        Reference               Paid To / Received From                       Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                                                              Notice filed 9/2016. Doc. 1382.
                                                                              REVERSED

 *     10/06/16      003885       TRANSETH & ASSOCIATES, LLC                  Forensic Acctg. Services - Aug 2016                     3991-003                                      -10,202.40       2,027,876.67
                                  818 SW 3rd AVENUE, #109                     10/6/16. Issues with respect to the August 2016
                                  PORTLAND OR 97204                           Invoice arose. Potential objection/revision to
                                                                              Invoice. Will reissue a check upon resolution of
                                                                              issues. laf

       10/17/16      003886       KENT & JOHNSON, LLP                         Attorney to Trustee Fees-other Firm                     3210-000                                          2,408.00     2,025,468.67
                                  205 SE SPOKANE STREET                       Trustee's Special Council
                                  #300                                        Per Application for Interim Compensation -
                                  PORTLAND, OR 97202                          Document #1365 - Filed 9/7/16 and Order Allowing
                                                                              Interim Compensation - Document #1418 - Filed
                                                                              10/13/16.

       10/17/16      003887       TARLOW NAITO & SUMMERS, LLP                 Attorney to Trustee Fees-other Firm                     3210-000                                      135,238.00       1,890,230.67
                                  2501 SW. FIRST AVENUE                       Trustee's General Council
                                  SUITE 390                                   Per Application for Interim Compensation -
                                  PORTLAND, OR 97201                          Document 1366 - Filed 9/7/16 and Order Allowing
                                                                              Interim Compensation - Document #1418 - Filed
                                                                              10/13/16.

       10/17/16      003888       TARLOW NAITO & SUMMERS, LLP                 Attorney to Trustee Exp -other firm                     3220-000                                          9,384.05     1,880,846.62
                                  2501 SW. FIRST AVENUE                       Trustee's General Council
                                  SUITE 390                                   Per Application for Interim Compensation -
                                  PORTLAND, OR 97201                          Document 1366 - Filed 9/7/16 and Order Allowing
                                                                              Interim Compensation - Document #1418 - Filed
                                                                              10/13/16.

       10/17/16      003889       THOMAS A. HUNTSBERGER, TRUSTEE              Interim Trustee Compensation -                          2100-000                                       16,000.00       1,864,846.62


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                  Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                FORM 2                                                                                          Page: 228
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                3                                             4                                                   5                      6                  7
    Transaction    Check or                                                                                                         Uniform                                                     Account / CD
       Date        Reference                 Paid To / Received From                      Description Of Transaction               Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                  870 W. CENTENNIAL BLVD                       Per Application for Interim Compensation -
                                  SPRINGFIELD, OR 97477                        Document 1363 - Filed 9/7/16 and Order Allowing
                                                                               Interim Compensation - Document #1418 - Filed
                                                                               10/13/16.

       10/26/16       25          Rofolfo Camacho, Trustee                     Pmt on Gary Holcomb Estate Claim                     1249-000               50,949.22                              1,915,795.84
                                  PO Box 13897                                 Final payment from Trustee Rudolpo Camacho on
                                  Salem, OR 97309                              Chapter 7 Banktuptcy Estate of Gary L. Holcomb -
                                                                               Case No. 12-37701-dwh7 - per Document #467 -
                                                                               filed 1/20/16 by Trustee Camacho regarding Berjac
                                                                               of Oregon Claim.

       10/31/16     003890        TRANSETH & ASSOCIATES, LLC                   Forensic Accounting Services                         3991-000                                     10,202.40        1,905,593.44
                                  818 SW 3rd AVENUE, #109                      80% of August 2016 Invoice #1388
                                  PORTLAND OR 97204                            ($12,753.00 X 80% = $10,202.40)
                                                                               Per Order Approving Payment of Norman Transeth
                                                                               & Associates, LLC Fees and Expenses - Document
                                                                               #556 - Filed 4/21/14.
                                                                               Per Trustee's Notice of Intent to Pay Forensic
                                                                               Accountant (August 2016 Invoice) - Document
                                                                               #1420 - Filed 10/13/16.

       10/31/16     003891        TRANSETH & ASSOCIATES, LLC                   Forensic Accounting Services                         3991-000                                         7,553.20     1,898,040.24
                                  818 SW 3rd AVENUE, #109                      80% of September 2016 Invoice #1397
                                  PORTLAND OR 97204                            ($9,441.50 X 80% = $7,553.20)
                                                                               Per Order Approving Payment of Norman Transeth
                                                                               & Associates, LLC Fees and Expenses - Document
                                                                               #556 - Filed 4/21/14.
                                                                               Per Trustee's Notice of Intent to Pay Forensic
                                                                               Accountant (September 2016 Invoice) - Document
                                                                               #1421 - Filed 10/13/16.


       UST Form 101-7-TFR (5/1/2011) (Page: 243)
LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                   Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                               FORM 2                                                                                          Page: 229
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                              3                                              4                                                   5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                     Account / CD
       Date        Reference                Paid To / Received From                      Description Of Transaction               Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)


       11/08/16     003892        JAMIE MCCORNACK and TRACY KEMPF             Claim 000283, Payment 4.00000%                       7100-000                                         2,312.68     1,895,727.56
                                  HOWARD W. BERGE SURVIVOR'S TRUST
                                  2564 MANGAN STREET
                                  EUGENE, OR 97402

       12/08/16     003893        TRANSETH & ASSOCIATES, LLC                  Forensic Accounting Services                         3991-000                                         1,258.40     1,894,469.16
                                  818 SW 3rd AVENUE, #109                     80% of October 2016 Invoice #1401
                                  PORTLAND OR 97204                           ($1,573.00 X 80% = $1,258.40)
                                                                              Per Order Approving Payment of Norman Transeth
                                                                              & Associates, LLC Fees and Expenses - Document
                                                                              #556 - Filed 4/21/14.
                                                                              Per Trustee's Notice of Intent to Pay Forensic
                                                                              Accountant (October 2016 Invoice) - Document
                                                                              #1462 - Filed 11/22/16.

       12/27/16     003894        KENT & JOHNSON, LLP                         Attorney to Trustee Fees-other Firm                                                                   3,240.05     1,891,229.11
                                  205 SE SPOKANE ST, #300                     October 2016 Invoice #14336
                                  PORTLAND, OR 97202                          $2,660.00 + $1,330.00 = $3,990.00 X 80% =
                                                                              $3,192.00
                                                                              Expenses: $48.05
                                                                              Notice of Intent to Pay Kent & Johnson - Document
                                                                              #1464.- Filed 12/6/16.
                                                                                      Fees                 3,192.00                3210-000
                                                                                      Expenses               48.05                 3220-000

       12/27/16     003895        TRANSETH & ASSOCIATES, LLC                  Forensic Accounting Services                         3991-000                                         2,266.40     1,888,962.71
                                  818 SW 3rd AVENUE, #109                     80% of November 2016 Invoice #1405
                                  PORTLAND OR 97204                           ($2,833.00 X 80% = $2,266.40)
                                                                              Per Order Approving Payment of Norman Transeth
                                                                              & Associates, LLC Fees and Expenses - Document


       UST Form 101-7-TFR (5/1/2011) (Page: 244)
LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                  Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                              Page: 230
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                         Union Bank
                                                                                                                                    Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1           2                                  3                                             4                                                       5                        6                7
    Transaction    Check or                                                                                                             Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)      Balance ($)
                                                                                #556 - Filed 4/21/14.
                                                                                Per Trustee's Notice of Intent to Pay Forensic
                                                                                Accountant (November 2016 Invoice) - Document
                                                                                #1465 - Filed 12/7/16.

       01/05/17       14          Jasper Junction, LLC                          pmt on note                                              1121-000                    5,483.32                           1,894,446.03
                                                                                Per Notice of Intent to Settle & Compromise -
                                                                                Document #514 - Filed 2/24/14.

       02/07/17       24          Ronald R. Sticka, Trustee                     Pmt on Mike Holcomb Estate Claim                         1249-000               229,235.76                              2,123,681.79
                                                                                Final payment from Trustee Ronald Sticka on
                                                                                Chapter 7 Banktuptcy Estate of Michael S.
                                                                                Holcomb - Case No. 13-36272-dwh7 - per
                                                                                Document #718 - filed 1/20/17 by Trustee Sticka
                                                                                regarding Berjac of Oregon Claim.

       02/13/17     003896        OREGON DEPARTMENT OF REVENUE                  Berjac of Oregon                                         2820-000                                            150.00     2,123,531.79
                                  Fiduciary Unit                                Form OR-65-V Oregon Partnership Return - 2016
                                  Revenue Building                              FEIN: XX-XXXXXXX
                                  955 Center St. NE                             Per Motion and Notice of Intent to Incur Expenses;
                                  Salem, OR 97310                               and Order Thereon - Document #1671 - Filed
                                                                                10/17/18.

       02/14/17     003897        HOGAN MEDIATION                               Mediator for Trustees                                    3721-000                                        20,825.76      2,102,706.03
                                  PO BOX 1375                                   Mediation Services provided to Chapter 7 Trustee,
                                  EUGENE, OR 97405                              Per Order Resolving the US Trustee's Objection to
                                                                                the Trustee's Payment of Hogan Mediation's Fees
                                                                                and Expenses - Document #1493 - 2/13/17.

       02/15/17     003898        DAVID K. REKDAHL, CPA, PC                     Accountant to Trustee - Fees                             3410-000                                            911.00     2,101,795.03
                                  1288 WINERY LANE                              Per Order For Compensation of Accountant -


       UST Form 101-7-TFR (5/1/2011) (Page: 245)
LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                              FORM 2                                                                                          Page: 231
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                            Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                               Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                            Separate Bond (if applicable):


           1           2                             3                                              4                                                   5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                     Account / CD
       Date        Reference               Paid To / Received From                      Description Of Transaction               Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                  EUGENE, OR 97404                           Document #1494 - Filed 2/14/17.

       02/15/17     003899        DAVID K. REKDAHL, CPA, PC                  Accountant to Trustee - Expenses                     3420-000                                           13.20      2,101,781.83
                                  1288 WINERY LANE                           Per Order For Compensation of Accountant -
                                  EUGENE, OR 97404                           Document #1494 - Filed 2/14/17.

       02/21/17     003900        KENT & JOHNSON, LLP                        Attorney to Trustee Fees-other Firm                                                                   8,570.69     2,093,211.14
                                  205 SE SPOKANE STREET                      November 2016 Invoice #14387 - $5,670 - 80% =
                                  #300                                       $4,536 Fees. $738.36 - 80% = $590.69 Expenses.
                                  PORTLAND, OR 97202                         December 2016 Invoice #14390 - $1,277.50 - 80%
                                                                             = $1,022. Fees
                                                                             January 2017 Invoice #14416 - $3,027.50 - 80% =
                                                                             $2,422. Fees
                                                                             Notice of Intent to Pay Kent & Johnson (November,
                                                                             December 2016 and January 2017 Invoices) -
                                                                             Document #1486.- Filed 2/1/17.
                                                                                     Fees                 7,980.00                3210-000
                                                                                     Expenses              590.69                 3220-000

       02/21/17     003901        TRANSETH & ASSOCIATES, LLC                 Forensic Accounting Services                         3991-000                                     15,852.00        2,077,359.14
                                  818 SW 3rd AVENUE, #109                    December 2016 Invoice 1410 - $11,999 - 80% =
                                  PORTLAND OR 97204                          $9599.20 Fees
                                                                             January 2017 Invoice 1413 - $7,816 - 80% =
                                                                             $6,252.80 Fees
                                                                             Per Order Approving Payment of Norman Transeth
                                                                             & Associates, LLC Fees and Expenses - Document
                                                                             #556 - Filed 4/21/14.
                                                                             Trustee's Notice of Intent to Pay Forensic
                                                                             Accountant (December 2016 & January 2017
                                                                             Invoices) - Document #1487 - filed 2/1/17.




       UST Form 101-7-TFR (5/1/2011) (Page: 246)
LFORM2T4                                                                                                                                                                                              Ver: 22.01b
                                                                 Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                             Page: 232
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                               4                                                    5                        6                  7
    Transaction    Check or                                                                                                             Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                        Description Of Transaction                Trans. Code       Deposits ($)         Disbursements ($)        Balance ($)
       02/23/17     003902        RONALD R. STICKA                               Expert Witness Fee                                     2990-000                                           7,350.00     2,070,009.14
                                  P.O. Box 11038                                 Claim #438 - Ch 7 Administrative Claim Paid in
                                  Eugene, OR 97440                               Full.
                                                                                 Per Motion and Notice of Intent to Incur Expenses -
                                                                                 Document #1482 - Filed 1/31/17.

       03/24/17     003903        THOMAS A. HUNTSBERGER, TRUSTEE                 Pro-Rata Bond Premium                                  2300-000                                            596.51      2,069,412.63
                                  870 W. CENTENNIAL BLVD                         4/4/17 to 4/4/18
                                  SPRINGFIELD, OR 97477

       03/28/17     003904        United States Trustee Payment Center           Chapter 7 Administrative Claim                         2950-000                                           6,825.00     2,062,587.63
                                  P.O. Box 530202                                Per Proof of Claim #430-1 - Filed 01/29/15
                                  Atlanta, GA 30353-0202                         Unpaid Ch 11 Quarterly Fees - 28 USC &
                                                                                 1930(a)(6) - From 8/31/12 to 10/2/13.

       03/31/17       14          Jasper Junction, LLC                           pmt on note                                            1121-000                   3,000.00                             2,065,587.63
                                                                                 Per Notice of Intent to Settle & Compromise -
                                                                                 Document #514 - Filed 2/24/14.

       04/05/17     003905        TRANSETH & ASSOCIATES, LLC                     Forensic Accounting Services                           3991-000                                            798.80      2,064,788.83
                                  818 SW 3rd AVENUE, #109                        February 2017 - Invoice #1416
                                  PORTLAND OR 97204                              Per Order Approving Payment of Norman Transeth
                                                                                 & Associates, LLC Fees and Expenses - Document
                                                                                 #556 - Filed 4/21/14.
                                                                                 Trustee's Notice of Intent to Pay Forensic
                                                                                 Accountant (February 2017 Invoice) - Document
                                                                                 1514 - filed 3/17/17.

       04/06/17     003906        KENT & JOHNSON, LLP                            Attorney to Trustee Fees-other Firm                    3210-000                                           1,204.00     2,063,584.83
                                  205 SE SPOKANE STREET                          February 2017 Invoice #14450 - 80% of $1,505 =
                                  #300                                           $1,204 Fees


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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                              FORM 2                                                                                             Page: 233
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                             3                                               4                                                     5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference               Paid To / Received From                      Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  PORTLAND, OR 97202                         Notice of Intent to Pay Kent & Johnson - Document
                                                                             #1515.- Filed 3/21/7.

       04/11/17       26          STEWART SOKOL LARKIN LLC                   Litigation Settlement Payment                          1249-000             4,400,000.00                              6,463,584.83
                                                                             Per Motion and Notice of Intent to Settle and
                                                                             Compromise Adversary Proceeding - Document
                                                                             #1474 - Filed 1/17/17 - regarding settlement of
                                                                             Adversary Proceeding 14-06168 against Umpqua
                                                                             Bank and Jones and Roth.

       04/11/17     003907        DAVID MILLS                                Attorney to Trustee Fees-other Firm                    3210-000                                          7,500.00     6,456,084.83
                                  90324 BAKER ROAD                           Special Counsel for Trustee.
                                  ELMIRA, OR 97437                           Per Application for Interim Compensation for David
                                                                             B. Mills - Document #1502 - Filed 3/7/17 and Order
                                                                             Allowing Interim Compensation - Document #1526
                                                                             - Filed 4/10/17.

       04/11/17     003908        THOMAS A. HUNTSBERGER, TRUSTEE             Interim Trustee Compensation                           2100-000                                       24,000.00       6,432,084.83
                                  870 W. CENTENNIAL BLVD                     Trustee's Compensation
                                  SPRINGFIELD, OR 97477                      Per Application for Interim Compensation for
                                                                             Thomas A. Huntsberger, Trustee - Document #1503
                                                                             - Filed 3/7/17 and Order Allowing Interim
                                                                             Compensation - Document #1526 - Filed 4/10/17.

       04/11/17     003909        TARLOW NAITO & SUMMERS, LLP                Attorney to Trustee Fees-other Firm                    3210-000                                      214,095.60       6,217,989.23
                                  621 SW MORRISON                            Trustee's General Counsel
                                  SUITE 1225                                 Per Application for Interim Compensation for Brent
                                  PORTLAND, OR 97205                         G. Summers - Document #1505 - Filed 3/7/17 and
                                                                             Order Allowing Interim Compensation - Document
                                                                             #1526 - Filed 4/10/17.




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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                 Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                           Page: 234
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                              4                                                     5                      6                7
    Transaction    Check or                                                                                                           Uniform                                                     Account / CD
       Date        Reference                 Paid To / Received From                       Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)       Balance ($)
       04/11/17     003910        TARLOW NAITO & SUMMERS, LLP                   Attorney to Trustee Exp -other firm                    3220-000                                      17,484.45      6,200,504.78
                                  621 SW MORRISON                               Trustee's General Counsel Expenses
                                  SUITE 1225                                    Per Application for Interim Compensation for Brent
                                  PORTLAND, OR 97205                            G. Summers - Document #1505 - Filed 3/7/17 and
                                                                                Order Allowing Interim Compensation - Document
                                                                                #1526 - Filed 4/10/17.

       04/21/17       26          PERKINS COIE                                  Litigation Settlement Payment                          1249-000               625,000.00                            6,825,504.78
                                  Lawyer Trust Account                          Per Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Document
                                                                                #1474 - Filed 1/17/17 - regarding settlement of
                                                                                Adversary Proceeding 14-06168 against Umpqua
                                                                                Bank and Jones and Roth.

       04/27/17       26          Kent & Johnson Lawyer Trust Account           Litigation Settlement Payment                          1249-000             1,983,319.30                            8,808,824.08
                                  Wire Transfer                                 Per Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Document
                                                                                #1463 - Filed 12/06/16 - regarding settlement of
                                                                                Adversary Proceeding No.14-06170 against Pacific
                                                                                Continental Bank.

       05/01/17     003911        TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services                           3991-000                                          504.80     8,808,319.28
                                  818 SW 3rd AVENUE, #109                       March 2017 - Invoice #1419
                                  PORTLAND OR 97204                             Per Order Approving Payment of Norman Transeth
                                                                                & Associates, LLC Fees and Expenses - Document
                                                                                #556 - Filed 4/21/14.
                                                                                Trustee's Notice of Intent to Pay Forensic
                                                                                Accountant (March 2017 Invoice) - Document 1522
                                                                                - filed 4/5/17.

       05/04/17     003912        George & Melissa Rex                          Claim 000001 - Payment 12.0%                           7100-000                                      54,000.00      8,754,319.28


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LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                   Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                         Page: 235
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                  3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  10363 NW Rex Ct
                                  Portland OR 97229

       05/04/17     003913        James & Nancy McKittrick                       Claim 000002 - Payment 12.0%                      7100-000                                           360.18      8,753,959.10
                                  1920 Wyndstone Way
                                   #3107
                                  Billings, MT 59105

       05/04/17     003914        Carolyn Wilson Credit Shelter Trust            Claim 000003 - Payment 12.0%                      7100-000                                      14,820.00        8,739,139.10
                                  Dee Wilson, Successor Trustee
                                  246 Camino Nina Ave
                                  Roseburg, OR 97470

       05/04/17     003915        Dee Wilson                                     Claim 000004 - Payment 12.0%                      7100-000                                          2,490.00     8,736,649.10
                                  246 Camino Nina Ave.
                                  Roseburg, OR 97470

       05/04/17     003916        Fredrick & Betty Jo Siegrist                   Claim 000005 - Payment 12.0%                      7100-000                                      18,156.10        8,718,493.00
                                  c/o Scott R. Palmer, OSB#764073
                                  Watkinson Laird Rubenstein & Burgess, PC
                                  101 E. Broadway, Suite 200
                                  Eugene OR 97401

       05/04/17     003917        Fredrick Siegrist                              Claim 000006 - Payment 12.0%                      7100-000                                      12,055.72        8,706,437.28
                                  c/o Scott R. Palmer, OSB#764073
                                  Watkinson Laird Rubenstein & Burgess PC
                                  101 E. Broadway, Suite 200
                                  Eugene OR 97401

       05/04/17     003918        Daugherty & Assoc                              Claim 000007 - Payment 12.0%                      7100-000                                          2,560.34     8,703,876.94
                                  Neil Daugherty


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                        Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                         Page: 236
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  3870 University St
                                  Eugene OR 97405

       05/04/17     003919        Cheryl Carter                                 Claim 000008 - Payment 12.0%                      7100-000                                          9,514.67     8,694,362.27
                                  141 Jill Ave
                                  Eugene OR 97404

       05/04/17     003920        Linda Holcomb Bryant &                        Claim 000009 - Payment 12.0%                      7100-000                                          8,182.44     8,686,179.83
                                  Patrick D. Bryant
                                  6585 Fern Hill Rd
                                  Monmouth OR 97361

       05/04/17     003921        Linda Holcomb Bryant                          Claim 0000010 - Payment 12.0%                     7100-000                                      10,841.76        8,675,338.07
                                  6585 Fern Hill Rd
                                  Monmouth, OR 97361

       05/04/17     003922        Leone M. Roberts                              Claim 000011 - Payment 12.0%                      7100-000                                      17,567.64        8,657,770.43
                                  1791 E Redstart Rd
                                  Green Valley AZ 85614

       05/04/17     003923        HOLCOMB LIVING TRUST                          Claim 000012 - Payment 12.0%                      7100-000                                      23,798.82        8,633,971.61
                                  Robert H. Holcomb, Trustee
                                  365 NE Mistletoe Circle
                                  Corvallis OR 97340

       05/04/17     003924        Robert Holcomb Family LLC                     Claim 000014 - Payment 12.0%                      7100-000                                      38,190.36        8,595,781.25
                                  c/o Larry Holcomb
                                  6585 Fern Hill Rd
                                  Monmouth OR 97361

       05/04/17     003925        Karen L Brockett Living Trust                 Claim 000015 - Payment 12.0%                      7100-000                                      45,277.20        8,550,504.05


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                      3                                        4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Karen Brockett, Trustee
                                  2601 NE Jack London #76
                                  Corvallis, OR 97330

       05/04/17     003926        Charlene S. Cox Rev Trust dtd 10-15-97         Claim 000016 - Payment 12.0%                      7100-000                                      58,747.64        8,491,756.41
                                  Charlene S. Cox, Trustee
                                  2883 Martinique Ave.
                                  Eugene, OR 97408

       05/04/17     003927        Leslie B Hutchinson or                         Claim 000017 - Payment 12.0%                      7100-000                                          8,887.68     8,482,868.73
                                  Nicholas Hutchinson,
                                  550 SW Viewmont Dr
                                  Portland OR 97225

       05/04/17     003928        Tim, Leslie, & Nicholas Hutchinson             Claim 000018 - Payment 12.0%                      7100-000                                      82,111.44        8,400,757.29
                                  550 SW Viewmont Dr
                                  Portland OR 97225

       05/04/17     003929        Tim & Nicholas Hutchinson                      Claim 000019 - Payment 12.0%                      7100-000                                          2,033.75     8,398,723.54
                                  550 SW Viewmont Dr
                                  Portland OR 97225

       05/04/17     003930        Colleen Bartlett                               Claim 000020 - Payment 12.0%                      7100-000                                          6,113.52     8,392,610.02
                                  c/o Connie Bartlett-Pitts
                                  2470 Arbor Dr
                                  West Linn OR 97068

       05/04/17     003931        Fred E Vamer                                   Claim 000021 - Payment 12.0%                      7100-000                                          5,017.20     8,387,592.82
                                  4075 Sabrena Avenue
                                  Eugene, OR 97404




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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       05/04/17     003932        Marshall & Pattie Matthews                    Claim 000022 - Payment 12.0%                      7100-000                                          8,277.68     8,379,315.14
                                  848 NE Church St
                                  Roseburg OR 97470

       05/04/17     003933        Trudy A Harper Harris                         Claim 000023 - Payment 12.0%                      7100-000                                          6,945.12     8,372,370.02
                                  1980 NE Stephens
                                  Roseburg OR 97470

       05/04/17     003934        Kristin Carson                                Claim 000024 - Payment 12.0%                      7100-000                                          4,774.65     8,367,595.37
                                  26 Juanita Ave
                                  Mill Valley, CA 94941

       05/04/17     003935        Lee & Kay Pittman                             Claim 000026 - Payment 12.0%                      7100-000                                      27,638.76        8,339,956.61
                                  8540 Melrose Ln
                                  El Cajon CA 92021

       05/04/17     003936        Mary Nuwer                                    Claim 000027 - Payment 12.0%                      7100-000                                      12,017.63        8,327,938.98
                                  c/o James K Coons
                                  3472 Olive Street
                                  Eugene, OR 97405

       05/04/17     003937        Sydney A. Gaunt                               Claim 000028 - Payment 12.0%                      7100-000                                          1,173.48     8,326,765.50
                                  c/o Lianne Gaunt
                                  1292 High Street, PMB 149
                                  Eugene OR 97401

       05/04/17     003938        R.W. Strand Inc                               Claim 000029 - Payment 12.0%                      7100-000                                          7,363.80     8,319,401.70
                                  Carlson & Strand Painting
                                  c/o David Strand
                                  1115 Main St
                                  Springfield OR 97477


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/04/17     003939        Robert E Myers & Patricia A Myers             Claim 000030 - Payment 12.0%                      7100-000                                      13,086.12        8,306,315.58
                                  Family Trust dtd 10-25-02
                                  1357 Meadow Ct
                                  Healdsburg CA 95448

       05/04/17     003940        ARGO PARTNERS                                 Claim 000031 - Payment 12.0%                      7100-000                                      10,896.13        8,295,419.45
                                  12 WEST 37TH STREET,
                                  9TH FLOOR
                                  NEW YORK, NY 10018

       05/04/17     003941        Sarah Ostendorf                               Claim 000032 - Payment 12.0%                      7100-000                                          8,001.16     8,287,418.29
                                  3701 Sunrise Dr W
                                  Minnetonka MN 55345

       05/04/17     003942        Eugene Executives Assn                        Claim 000033 - Payment 12.0%                      7100-000                                          5,573.16     8,281,845.13
                                  Attn Trond
                                  POB 205
                                  Eugene OR 97440

       05/04/17     003943        Vecellio, Patricia                            Claim 000034 - Payment 12.0%                      7100-000                                          8,423.46     8,273,421.67
                                  11747 Skene Way
                                  Houston TX 77024

       05/04/17     003944        Paralee Mock, Trustee                         Claim 000035 - Payment 12.0%                      7100-000                                      77,994.79        8,195,426.88
                                  c/o John C. Fisher Attorney at Law
                                  767 Willamette Street, Suite 302
                                  Eugene, OR 97401

       05/04/17     003945        Grange McKinney (House Account)               Claim 000036 - Payment 12.0%                      7100-000                                           965.16      8,194,461.72
                                  Denise Manoram


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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:           12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                                Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                   Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                Separate Bond (if applicable):


           1            2                                3                                             4                                                    5                      6                   7
     Transaction    Check or                                                                                                          Uniform                                                      Account / CD
        Date        Reference                Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)      Disbursements ($)          Balance ($)
                                  660 Camino De Los Mares, #41
                                  San Clemente, CA 92673

 *     05/04/17      003946       Grange Bowen McKinney Living Trust           Claim 000037 - Payment 12.0%                           7100-004                                         3,209.28      8,191,252.44
                                  Grange McKinney Trustee                      Stop Payment issued 6/28/17. Creditor McKinney
                                  660 Camino De Los Mares, #41                 reported that this check was lost.
                                  San Clemente, CA 92673

 *     05/04/17      003947       Duane J Cornell                              Claim 000038 - Payment 12.0%                           7100-003                                         3,209.28      8,188,043.16
                                  802 Poltava St
                                  Springfield OR 97477

 *     05/04/17      003947       Duane J Cornell                              Claim 000038 - Payment 12.0%                           7100-003                                         -3,209.28     8,191,252.44
                                  802 Poltava St                               Error in amount of check.
                                  Springfield OR 97477

 *     05/04/17      003948       Duane J Cornell                              Claim 000038 - Payment 12.0%                           7100-004                                         2,666.52      8,188,585.92
                                  802 Poltava St                               Claimant has lost check. New check and Change of
                                  Springfield OR 97477                         Address form will be issued after confirmation Stop
                                                                               Payment has been confirmed by bank.

       05/04/17      003949       Tom & Allison Hutchinson                     Claim 000039 - Payment 12.0%                           7100-000                                         8,849.76      8,179,736.16
                                  1509 21st Ave
                                  Longview WA 98632

       05/04/17      003950       Stephen Hutchinson                           Claim 000040 - Payment 12.0%                           7100-000                                     13,373.42         8,166,362.74
                                  Kathryn Hutchinson
                                  1785 White Oak Dr
                                  Eugene OR 97405

       05/04/17      003951       Kathryn Martin Hutchinson                    Claim 000041 - Payment 12.0%                           7100-000                                         1,202.65      8,165,160.09


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                7
    Transaction    Check or                                                                                                      Uniform                                                     Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)       Balance ($)
                                  1785 White Oak Dr
                                  Eugene OR 97405

       05/04/17     003952        Richard L. Doyle, Trustee of                  Claim 000042 - Payment 12.0%                      7100-000                                      12,000.00      8,153,160.09
                                  the Anna Rose Chamley Revocable Trust
                                  c/o R. Scott Palmer
                                  PO Box 10567
                                  Eugene, OR 97440

       05/04/17     003953        Natalie B Kruger                              Claim 000043 - Payment 12.0%                      7100-000                                           24.24     8,153,135.85
                                  Joyce Kruger
                                  1317 Adelman Lp
                                  Eugene OR 97402

       05/04/17     003954        Hunter R. Lundquist                           Claim 000044 - Payment 12.0%                      7100-000                                          178.20     8,152,957.65
                                  Joyce Kruger
                                  1317 Adelman Lp
                                  Eugene OR 97402

       05/04/17     003955        Matthew C Davis Sr.                           Claim 000045 - Payment 12.0%                      7100-000                                            3.36     8,152,954.29
                                  Joyce Kruger
                                  1317 Aldelman Lp
                                  Eugene OR 97402

       05/04/17     003956        Taylor Lee Lundquist                          Claim 000046 - Payment 12.0%                      7100-000                                          491.16     8,152,463.13
                                  Joyce Kruger
                                  1317 Adelman Lp
                                  Eugene OR 97402

       05/04/17     003957        Nathaniel D Kruger                            Claim 000047 - Payment 12.0%                      7100-000                                          104.27     8,152,358.86
                                  Lindsey M Kruger


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LFORM2T4                                                                                                                                                                                             Ver: 22.01b
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                                                                                                FORM 2                                                                                         Page: 242
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  2329 Otto St
                                  Springfield OR 97477

       05/04/17     003958        Larry C Holcomb Living Trust                  Claim 000013 - Payment 12.0%                      7100-000                                      35,101.20        8,117,257.66
                                  Larry Holcomb, Trustee
                                  365 NE Mistletoe Circle
                                  Corvallis, OR 97340

       05/04/17     003959        Joyce L Kruger                                Claim 000048 - Payment 12.0%                      7100-000                                      25,568.44        8,091,689.22
                                  Nathan Kruger
                                  1317 Adelman Lp
                                  Eugene OR 97402

       05/04/17     003960        Glass Tree Care & Spray Svc                   Claim 000049 - Payment 12.0%                      7100-000                                          7,329.48     8,084,359.74
                                  POB 40205
                                  Eugene OR 97404

       05/04/17     003961        Sandra Stenger                                Claim 000050 - Payment 12.0%                      7100-000                                          2,152.14     8,082,207.60
                                  469 W Willis St #5
                                  Detroit, MI 8201

       05/04/17     003962        Denise Manoram                                Claim 000051 - Payment 12.0%                      7100-000                                          7,420.46     8,074,787.14
                                  221 Via Montego
                                  San Clemente, CA 92672

       05/04/17     003963        Dean W. Gunderson                             Claim 000052 - Payment 12.0%                      7100-000                                      14,175.77        8,060,611.37
                                  & Wayne Joseph Gunderson, Co-Trustees
                                  William J. Gunderson LivingTrust.
                                  1404 Lawnridge Ave
                                  Springfield OR 97477




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                                 3                                           4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       05/04/17      003964       James P Mischkot Sr                           Claim 000053 - Payment 12.0%                      7100-000                                       17,433.60       8,043,177.77
                                  POB 502
                                  Whitehal l MT 59759

       05/04/17      003965       Peggy Mischkot-Roga                           Claim 000054 - Payment 12.0%                      7100-000                                       21,036.34       8,022,141.43
                                  4520 Altura St
                                  Eugene OR 97404

       05/04/17      003966       Imants Roga                                   Claim 000055 - Payment 12.0%                      7100-000                                          1,286.07     8,020,855.36
                                  c/o Peggy Roga
                                  4520 Altura St
                                  Eugene OR 97404

       05/04/17      003967       Elizabeth Porter                              Claim 000056 - Payment 12.0%                      7100-000                                       22,152.54       7,998,702.82
                                  1927 SE 41st Ave
                                  Portland OR 97214

       05/04/17      003968       Steven & Elizabeth Porter                     Claim 000057 - Payment 12.0%                      7100-000                                          6,741.36     7,991,961.46
                                  1927 SE 41st Ave
                                  Portland OR 97214

       05/04/17      003969       Robert & Edie Shelton                         Claim 000058 - Payment 12.0%                      7100-000                                      200,671.10       7,791,290.36
                                  16902 Royal Coachman
                                  Sisters, OR 97759

       05/04/17      003970       Robert & Edie Shelton                         Claim 000059 - Payment 12.0%                      7100-000                                            98.09      7,791,192.27
                                  16902 Royal Coachman
                                  Sisters, OR 97759

 *     05/04/17      003971       Amy Shelton,                                  Claim 000060 - Payment 12.0%                      7100-003                                       17,344.53       7,773,847.74
                                  UTMA, Edie Shelton, Custodian


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  16902 Royal Coachman
                                  Sisters, OR 97759

       05/04/17     003972        Betty L Diller                                Claim 000061 - Payment 12.0%                      7100-000                                          1,837.63     7,772,010.11
                                  8209 Ruby Mtn Way
                                  Las Vegas NV 89128

       05/04/17     003973        Hahn Living Trust                             Claim 000062 - Payment 12.0%                      7100-000                                            81.00      7,771,929.11
                                  Philip & Elisabeth Hahn, Trustees
                                  330 Magnolia Dr
                                  Creswell OR 97426

       05/04/17     003974        Fred & Susan A Platt                          Claim 000063 - Payment 12.0%                      7100-000                                          6,837.24     7,765,091.87
                                  830 W 38th Ave
                                  Eugene OR 97405

       05/04/17     003975        O'Malley Living Trust dtd 7-6-94              Claim 000064 - Payment 12.0%                      7100-000                                      12,503.79        7,752,588.08
                                  Arlene O'Malley
                                  2563 Jasmine St
                                  Eugene OR 97404

       05/04/17     003976        Sallie Sugarman Trust                         Claim 000065 - Payment 12.0%                      7100-000                                           854.88      7,751,733.20
                                  c/o Richard Carson
                                  6601 SW 155th
                                  Beaverton OR 97007

       05/04/17     003977        Bernice K Porter                              Claim 000066 - Payment 12.0%                      7100-000                                          1,264.20     7,750,469.00
                                  POB 584
                                  Creswell OR 97426

       05/04/17     003978        Doreen Wall/THS Class of 1981                 Claim 000067 - Payment 12.0%                      7100-000                                           164.56      7,750,304.44


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  POB 71364
                                  Springfield OR 97475

       05/04/17     003979        Shane Porter & Steven Porter                  Claim 000068 - Payment 12.0%                      7100-000                                            83.28      7,750,221.16
                                  715 Kings Row
                                  Creswell OR 97426

       05/04/17     003980        Steven & Shane Porter                         Claim 000069 - Payment 12.0%                      7100-000                                          2,437.56     7,747,783.60
                                  715 Kings Row
                                  Creswell OR 97426

       05/04/17     003981        June L. Trimble                               Claim 000070 - Payment 12.0%                      7100-000                                          7,277.76     7,740,505.84
                                  815 N. Fairgrounds Rd
                                  Goldendale, WA 98620

       05/04/17     003982        Thayer R Dickey Trust dtd 4-1-10              Claim 000071 - Payment 12.0%                      7100-000                                      10,105.24        7,730,400.60
                                  c/o Joe L. Dickey, Trustee
                                  30448 Maple Drive
                                  Junction City, OR 97448

       05/04/17     003983        Joe L Dickey                                  Claim 000072 - Payment 12.0%                      7100-000                                          4,589.76     7,725,810.84
                                  Pam K. Dickey
                                  30448 Maple Drive
                                  Junction City, OR 97448

       05/04/17     003984        Virginia Maxine Graves                        Claim 000073 - Payment 12.0%                      7100-000                                      12,994.08        7,712,816.76
                                  c/o Douglas Graves
                                  P.O. Box 41284
                                  Eugene OR 97404

       05/04/17     003985        Ian A Hutchinson                              Claim 000074 - Payment 12.0%                      7100-000                                           746.04      7,712,070.72


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  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                   3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  5511 NE 184th Street
                                  Kenmore, WA 98028

       05/04/17     003986        Tom & Allison Hutchinson                        Claim 000075 - Payment 12.0%                      7100-000                                          3,252.96     7,708,817.76
                                  1509 21st Ave
                                  Longview WA 98632

       05/04/17     003987        Scott M. Hutchinson                             Claim 000076 - Payment 12.0%                      7100-000                                           120.48      7,708,697.28
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       05/04/17     003988        Kathleen Kiefer & Scott Thomas Kiefer           Claim 000077 - Payment 12.0%                      7100-000                                      11,912.52        7,696,784.76
                                  20738 Prince John Ct
                                  Bend OR 97702

       05/04/17     003989        Sandy O'Malley for Eli Hayward                  Claim 000078 - Payment 12.0%                      7100-000                                            91.32      7,696,693.44
                                  92107 River Rd
                                  Junction City OR 97448-9405

       05/04/17     003990        Sandy O'Malley                                  Claim 000079 - Payment 12.0%                      7100-000                                          9,600.16     7,687,093.28
                                  92107 River Rd
                                  Junction City OR 97448

       05/04/17     003991        Doug Graves - Vacation Fund                     Claim 000080 - Payment 12.0%                      7100-000                                           424.32      7,686,668.96
                                  92107 River Rd
                                  Junction City OR 97448

       05/04/17     003992        Doug Graves                                     Claim 000081 - Payment 12.0%                      7100-000                                          4,168.57     7,682,500.39
                                  92107 River Rd
                                  Junction City OR 97448-9405




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       05/04/17     003993        Doug Graves & Sandy O'Malley                  Claim 000082 - Payment 12.0%                      7100-000                                      12,790.17        7,669,710.22
                                  92107 River Rd
                                  Junction City OR 97448

       05/04/17     003994        Utis Gene Votaw                               Claim 000083 - Payment 12.0%                      7100-000                                          6,758.04     7,662,952.18
                                  95995 Hwy 42
                                  Coos Bay OR 97420

       05/04/17     003995        Judy Erickson Abel                            Claim 000084 - Payment 12.0%                      7100-000                                          8,673.26     7,654,278.92
                                  95995 Hwy 42
                                  Coos Bay OR 97420

       05/04/17     003996        Barbara A Sims & Tom Sims-Wros                Claim 000085 - Payment 12.0%                      7100-000                                          5,797.62     7,648,481.30
                                  395 Hawthorne
                                  Eugene OR 97404

       05/04/17     003997        Alexander Mann                                Claim 000086 - Payment 12.0%                      7100-000                                          1,832.52     7,646,648.78
                                  Carol Mann
                                  4079 Governor Dr #800
                                  San Diego CA 92122

       05/04/17     003998        Christine Anne Jones                          Claim 000087 - Payment 12.0%                      7100-000                                           124.20      7,646,524.58
                                  34956 Seavey Loop Rd #3
                                  Eugene OR 97405

       05/04/17     003999        Mary M Ellingson                              Claim 000088 - Payment 12.0%                      7100-000                                          5,861.34     7,640,663.24
                                  POB 306
                                  Bandon OR 97411

       05/04/17     004000        Kendall W. Reeves                             Claim 000089 - Payment 12.0%                      7100-000                                          1,065.24     7,639,598.00
                                  2044 Southern Ave., Apt. 5


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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                    3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Memphis, TN 38114

       05/04/17     004001        Anna M Culcasi Trust                            Claim 000090 - Payment 12.0%                      7100-000                                          9,679.74     7,629,918.26
                                  Anna M Culcasi Trustee
                                  4055 Royal Ave #25
                                  Eugene OR 97402

       05/04/17     004002        David & Jessie Fountain                         Claim 000091 - Payment 12.0%                      7100-000                                      12,235.14        7,617,683.12
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       05/04/17     004003        Harry Abel Jr Living Revocable Trust            Claim 000092 - Payment 12.0%                      7100-000                                          1,439.67     7,616,243.45
                                  93706 Pickett Lane
                                  Coos Bay OR 97420

       05/04/17     004004        Natalie Crowder                                 Claim 000094 - Payment 12.0%                      7100-000                                          4,231.56     7,612,011.89
                                  300 Dibblee Ln
                                  Eugene OR 97404

       05/04/17     004005        Ruthann Heaton, Trustee                         Claim 000095 - Payment 12.0%                      7100-000                                      14,511.00        7,597,500.89
                                  Jay W, Heaton, Trustee
                                  Heaton Family Trust
                                  235 NW Melrose
                                  Sublimity, OR 97385

       05/04/17     004006        Allen Arthur Prigge Revocable Trust             Claim 000096 - Payment 12.0%                      7100-000                                      15,856.95        7,581,643.94
                                  Allen Arthur Prigge, Trustee
                                  387 Hunington Ave
                                  Eugene OR 97405


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/04/17     004007        Timothy A & Gayle A Atteberry                 Claim 000097 - Payment 12.0%                      7100-000                                          2,715.96     7,578,927.98
                                  87366 Dukhobar Rd
                                  Eugene OR 97402

       05/04/17     004008        Tim Atteberry                                 Claim 000098 - Payment 12.0%                      7100-000                                          3,079.86     7,575,848.12
                                  87366 Dukhobar Rd
                                  Eugene OR 97402

       05/04/17     004009        Lorraine Smith (Deceased)                     Claim 000099 - Payment 12.0%                      7100-000                                      12,052.92        7,563,795.20
                                  Kathryn A Wilke and Karen L. Smith
                                  204 NE 304th Avenue
                                  Washougal, WA 98671

       05/04/17     004010        Ellen J Hutchinson                            Claim 000100 - Payment 12.0%                      7100-000                                           158.04      7,563,637.16
                                  1614 Summit Ave #207
                                  Seattle WA 98122

       05/04/17     004011        Spencer Creek Lutheran                        Claim 000101 - Payment 12.0%                      7100-000                                          1,695.84     7,561,941.32
                                  PO Box 2991
                                  Eugene OR 97402

       05/04/17     004012        Gustav Oaxaca Berger-Brown                    Claim 000102 - Payment 12.0%                      7100-000                                           126.12      7,561,815.20
                                  c/o Tiffany Lee Brown
                                  PO Box 104
                                  Sisters, OR 97759

       05/04/17     004013        Ted and Lindy Brown                           Claim 000103 - Payment 12.0%                      7100-000                                      17,619.18        7,544,196.02
                                  PO Box 2991
                                  Eugene OR 97402




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                  3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       05/04/17     004014        Nancy M Dezsofi                                Claim 000104 - Payment 12.0%                      7100-000                                          1,013.71     7,543,182.31
                                  15420 NE 12th St
                                  Vancouver WA 98684

       05/04/17     004015        Thomas and Ann Harris                          Claim 000105 - Payment 12.0%                      7100-000                                      38,178.48        7,505,003.83
                                  c/o John C. Fisher, Attorney at Law
                                  767 Willamette St. Suite 302
                                  Eugene, OR 97401

       05/04/17     004016        Roberto Carlos Perez                           Claim 000106 - Payment 12.0%                      7100-000                                      11,633.28        7,493,370.55
                                  Jose Perez, Custodian
                                  586 Flagler St
                                  San Jose CA 95127

       05/04/17     004017        Britt Hansen                                   Claim 000107 - Payment 12.0%                      7100-000                                          2,245.20     7,491,125.35
                                  8956 S 260th E Ave
                                  Broken Arrow OK 74014

       05/04/17     004018        Mid-State Industrial Svc Inc                   Claim 000108 - Payment 12.0%                      7100-000                                          6,280.92     7,484,844.43
                                  88696 McVay Hwy
                                  Eugene OR 97405

       05/04/17     004019        Mary Carson-Vanlanduyt                         Claim 000109 - Payment 12.0%                      7100-000                                          1,026.60     7,483,817.83
                                  3927 NE 32nd Pl
                                  Portland OR 97212

       05/04/17     004020        Sugarman Trust + VanLanduyt + Carson           Claim 000110 - Payment 12.0%                      7100-000                                          5,305.68     7,478,512.15
                                  c/o Mary Carson-VanLanduyt
                                  3927 NE 32nd Pl
                                  Portland OR 97212




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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                  3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       05/04/17     004021        James D. Dodson, Trustee                        Claim 000111 - Payment 12.0%                      7100-000                                      12,898.44        7,465,613.71
                                  Fred and Mary Dodson Estate
                                  35503 Brabham Road
                                  Pleasant Hill, OR 97455-9657

       05/04/17     004022        Patty Wiles                                     Claim 000112 - Payment 12.0%                      7100-000                                          8,177.40     7,457,436.31
                                  511 SE Plum
                                  Sutherlin OR 97479

       05/04/17     004023        Skeie's Jewelers Profit Sharing Acct            Claim 000113 - Payment 12.0%                      7100-000                                          6,533.16     7,450,903.15
                                  10 Oakway Center
                                  Eugene OR 97401

       05/04/17     004024        Tanya Van Sant                                  Claim 000114 - Payment 12.0%                      7100-000                                          1,560.00     7,449,343.15
                                  125 Cedar S #9 S
                                  New York City, NY 10006

       05/04/17     004025        Fish                                            Claim 000115 - Payment 12.0%                      7100-000                                          2,196.48     7,447,146.67
                                  POB 2412
                                  Eugene OR 97402

       05/04/17     004026        Kalila J Fuller                                 Claim 000116 - Payment 12.0%                      7100-000                                           660.84      7,446,485.83
                                  Tami Fuller
                                  2 Gershwin Ct
                                  Lake Oswego OR 97035

       05/04/17     004027        Alison K Myers                                  Claim 000117 - Payment 12.0%                      7100-000                                           660.84      7,445,824.99
                                  4325 Commerce St #111
                                  PMB 503
                                  Eugene OR 97402




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       05/04/17     004028        Bradley Nelson Myers                          Claim 000118 - Payment 12.0%                      7100-000                                          1,447.08     7,444,377.91
                                  Toni Myers
                                  4325 Commerce St #111
                                  PMB 503
                                  Eugene OR 97402

       05/04/17     004029        Esmee C Fuller                                Claim 000119 - Payment 12.0%                      7100-000                                           660.84      7,443,717.07
                                  Tami Fuller
                                  2 Gershwin Ct
                                  Lake Oswego OR 97035

       05/04/17     004030        Roger A and Kay A Rau                         Claim 000120 - Payment 12.0%                      7100-000                                      15,044.87        7,428,672.20
                                  3218 NE 54th Ave
                                  Albany OR 97321

       05/04/17     004031        Roger A and Kay A Rau                         Claim 000121 - Payment 12.0%                      7100-000                                          3,700.68     7,424,971.52
                                  3218 NE 54th Ave
                                  Albany OR 97321

       05/04/17     004032        Toni K Myers                                  Claim 000122 - Payment 12.0%                      7100-000                                           867.24      7,424,104.28
                                  4325 Commerce St #111
                                  PMB 503
                                  Eugene OR 97402

       05/04/17     004033        Michael Phinney                               Claim 000123 - Payment 12.0%                      7100-000                                          5,354.04     7,418,750.24
                                  27410 Crow Rd
                                  Eugene OR 97402

       05/04/17     004034        Thomas M. and Cari L. Orr                     Claim 000124 - Payment 12.0%                      7100-000                                          2,597.40     7,416,152.84
                                  c/o Thomas M Orr
                                  PO Box 10886


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  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                                  3                                          4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene, OR 97440

       05/04/17      004035       Hutchinson Cox Coons Orr & Sherlock PC        Claim 000125 - Payment 12.0%                      7100-000                                          9,372.36     7,406,780.48
                                  Profit Sharing Plan
                                  c/o Thomas M. Orr
                                  PO Box 10886
                                  Euegne, OR 97440

       05/04/17      004036       Hutchinson Cox Coons Orr & Sherlock PC        Claim 000126 - Payment 12.0%                      7100-000                                          3,857.96     7,402,922.52
                                  c/o Thomas M. Orr
                                  PO Box 10886
                                  Eugene, OR 97440

       05/04/17      004037       Ronald A Harris                               Claim 000127 - Payment 12.0%                      7100-000                                      17,821.56        7,385,100.96
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

 *     05/04/17      004038       Freda Drews                                   Claim 000128 - Payment 12.0%                      7100-003                                           481.56      7,384,619.40
                                  Melvin H Drews
                                  416 Marian Ave
                                  Central Point OR 97502

 *     05/04/17      004039       LE Folkerts Rev Trust dtd 8-20-97             Claim 000129 - Payment 12.0%                      7100-003                                      26,936.52        7,357,682.88
                                  Lura E Folkerts, Trustee
                                  3734 N. Clarey Street
                                  Eugene, OR 97402

       05/04/17      004040       Betty & Fred Schenfeld                        Claim 000130 - Payment 12.0%                      7100-000                                           243.48      7,357,439.40
                                  2509 Newcastle


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  Case No:          12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                            Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                               Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                            Separate Bond (if applicable):


           1           2                                3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                     Uniform                                                       Account / CD
       Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97404

       05/04/17     004041        Corinne C. Hunt                              Claim 000131 - Payment 12.0%                      7100-000                                      19,713.72        7,337,725.68
                                  415 SE 177th Ave.. #403
                                  Vancouver, WA 98683

       05/04/17     004042        David Barajas                                Claim 000132 - Payment 12.0%                      7100-000                                      12,751.92        7,324,973.76
                                  2705 A Washington Street
                                  Eugene, OR 97405

       05/04/17     004043        Corrie Herman                                Claim 000133 - Payment 12.0%                      7100-000                                          2,286.12     7,322,687.64
                                  3118 NE Rosa Parks Way
                                  Portland OR 97211

       05/04/17     004044        Mad Fish SEO                                 Claim 000134 - Payment 12.0%                      7100-000                                          3,240.00     7,319,447.64
                                  Corrie Herman
                                  1305 NW 18th Ave
                                  Portland OR 97209

       05/04/17     004045        Benjamin & Corrie Herman                     Claim 000135 - Payment 12.0%                      7100-000                                           356.64      7,319,091.00
                                  3118 NE Rosa Parks Way
                                  Portland OR 97211

       05/04/17     004046        Jesse Tyrell Hooker                          Claim 000136 - Payment 12.0%                      7100-000                                          1,717.08     7,317,373.92
                                  26210 SW Canyon Creek Rd
                                  Apartment #102
                                  Wilsonville, OR 97070-7657

       05/04/17     004047        John Fietsch                                 Claim 000137 - Payment 12.0%                      7100-000                                      12,385.38        7,304,988.54
                                  Lesley Ripka
                                  2738 Dehesa Rd


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  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  El Cajon CA 92109

       05/04/17     004048        Leslie D Ripka Trust                          Claim 000138 - Payment 12.0%                      7100-000                                          4,127.25     7,300,861.29
                                  Leslie Ripka
                                  2738 Dehesa Rd
                                  El Cajon CA 92019

       05/04/17     004049        Michael I and Rebecca S Cyphert               Claim 000140 - Payment 12.0%                      7100-000                                           310.52      7,300,550.77
                                  1795 NW Calkins Ave
                                  Roseburg, OR 97471

       05/04/17     004050        Nixon Family Trust                            Claim 000141 - Payment 12.0%                      7100-000                                            40.68      7,300,510.09
                                  c/o Linda Frantz
                                  1139 NW Baltimore Ave
                                  Bend OR 97701

       05/04/17     004051        Linda D & David P Frantz                      Claim 000142 - Payment 12.0%                      7100-000                                          5,016.00     7,295,494.09
                                  1139 NW Baltimore Ave
                                  Bend OR 97701

       05/04/17     004052        Lynette Mischkot                              Claim 000143 - Payment 12.0%                      7100-000                                          1,669.68     7,293,824.41
                                  Christopher Mattson
                                  2016 S Scyene
                                  Boise ID 83712

       05/04/17     004053        Bruce Barents                                 Claim 000144 - Payment 12.0%                      7100-000                                      81,538.94        7,212,285.47
                                  7207 Kanapolis Dr
                                  Crossville, TN 38572-3539

       05/04/17     004054        Brandon J Kutz                                Claim 000145 - Payment 12.0%                      7100-000                                           934.97      7,211,350.50
                                  Susan Abbott


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                                  FORM 2                                                                                         Page: 256
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                  3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  4903 Cone Ave
                                  Eugene OR 97402

       05/04/17     004055        Hallie M Night Pipe                             Claim 000146 - Payment 12.0%                      7100-000                                           808.20      7,210,542.30
                                  Susan Abbott
                                  4903 Cone Ave
                                  Eugene OR 97402

       05/04/17     004056        Susan D Abbott Lvg Trust dtd 12-23-09           Claim 000147 - Payment 12.0%                      7100-000                                          6,601.30     7,203,941.00
                                  Susan Abbott, Trustee
                                  4903 Cone Ave
                                  Eugene OR 97402

       05/04/17     004057        Mia Ayame Kutz                                  Claim 000148 - Payment 12.0%                      7100-000                                           634.80      7,203,306.20
                                  Susan Abbott
                                  4903 Cone Ave
                                  Eugene OR 97402

       05/04/17     004058        David Butler                                    Claim 000149 - Payment 12.0%                      7100-000                                          2,379.96     7,200,926.24
                                  2313 NW Garfield
                                  Corvallis OR 97330

       05/04/17     004059        Thomas M Butler & Glee E Butler                 Claim 000150 - Payment 12.0%                      7100-000                                       30,563.49       7,170,362.75
                                  2313 NW Garfield
                                  Corvallis OR 97330

       05/04/17     004060        Steckelberg-Glass, Loretta                      Claim 000151 - Payment 12.0%                      7100-000                                       14,374.50       7,155,988.25
                                  2483 North Hampton Rd
                                  Eugene OR 97404

       05/04/17     004061        Theodore & Loretta Glass Joint Trust            Claim 000152 - Payment 12.0%                      7100-000                                      119,360.76       7,036,627.49


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                   3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       05/04/17     004062        Butler, Paul D & Natalie B                     Claim 000153 - Payment 12.0%                      7100-000                                          5,358.00     7,031,269.49
                                  15506 NE 14th St
                                  Vancouver WA 98684

       05/04/17     004063        Pohll, Michael                                 Claim 000154 - Payment 12.0%                      7100-000                                          1,264.32     7,030,005.17
                                  c/o Norm & Ruth Pohll
                                  1630 Elanco Ln
                                  Eugene OR 97408

       05/04/17     004064        Jones, Elena R                                 Claim 000155 - Payment 12.0%                      7100-000                                            70.19      7,029,934.98
                                  Norman Pohll, Custodian
                                  1630 Elanco Ln
                                  Eugene OR 97408

       05/04/17     004065        Pohll, Jared C                                 Claim 000156 - Payment 12.0%                      7100-000                                           728.48      7,029,206.50
                                  Norman Pohll, Custodian
                                  1630 Elanco Ln
                                  Eugene OR 97408

       05/04/17     004066        Ruth Pohll                                     Claim 000157 - Payment 12.0%                      7100-000                                      24,613.12        7,004,593.38
                                  1630 Elanco Ln
                                  Eugene OR 97408

       05/04/17     004067        Van Sant, Luella G                             Claim 000158 - Payment 12.0%                      7100-000                                      74,744.76        6,929,848.62
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  101 E Broadway #200
                                  Eugene OR 97401

       05/04/17     004068        Van Sant, Dennis & Bonnie                       Claim 000159 - Payment 12.0%                      7100-000                                      29,500.24        6,900,348.38
                                  2404 Devon Ave
                                  Eugene OR 97408

       05/04/17     004069        Vansant, Douglas                                Claim 000160 - Payment 12.0%                      7100-000                                          1,249.44     6,899,098.94
                                  960 Williams
                                  Eugene OR 97402

       05/04/17     004070        Northup, Darryl L/Northup, Alberta E            Claim 000161 - Payment 12.0%                      7100-000                                          3,344.88     6,895,754.06
                                  131 9th St
                                  Port Angeles WA 98362

       05/04/17     004071        Apostolic Faith Church of Chehalis WA           Claim 000162 - Payment 12.0%                      7100-000                                      23,809.68        6,871,944.38
                                  Jack Chasteen, Darrel Lee, Tim Mixer
                                  POB 446
                                  Chehalis WA 98532

       05/04/17     004072        Gregory P & Phyllis M Horn                      Claim 000163 - Payment 12.0%                      7100-000                                          2,903.16     6,869,041.22
                                  63930 Deschutes Market Road
                                  Bend, OR 97701

       05/04/17     004073        Berakah LLC                                     Claim 000164 - Payment 12.0%                      7100-000                                          1,478.76     6,867,562.46
                                  c/o Grant Spies
                                  36050 Jasper Rd
                                  Springfield OR 97478

       05/04/17     004074        Spies, Grant & Debra                            Claim 000165 - Payment 12.0%                      7100-000                                      20,267.76        6,847,294.70
                                  36050 Jasper Rd


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                   3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Springfield OR 97478

       05/04/17     004075        Apostolic Faith Chuch of Port Angeles          Claim 000166 - Payment 12.0%                      7100-000                                          2,326.68     6,844,968.02
                                  Larry & Kate Montgomery, D Lee, E Jacobs
                                  POB 9
                                  Port Angeles WA 98362

       05/04/17     004076        Von Wald, Kimberly A                           Claim 000167 - Payment 12.0%                      7100-000                                          3,308.96     6,841,659.06
                                  11024 Forest Ave S
                                  Seattle WA 98178

       05/04/17     004077        Rosenlof, Wayne & Rosenlof, Janis J            Claim 000168 - Payment 12.0%                      7100-000                                      42,923.40        6,798,735.66
                                  3020 Winkel Way
                                  West Linn OR 97068-2165

       05/04/17     004078        Rosenlof, Wayne & Rosenlof, Janis J            Claim 000169 - Payment 12.0%                      7100-000                                      13,186.56        6,785,549.10
                                  3020 Winkel Way
                                  West Linn OR 97068-2165

       05/04/17     004079        Siegmund, Catherine J, Trustee                 Claim 000170 - Payment 12.0%                      7100-000                                      10,294.20        6,775,254.90
                                  Rev Trust dtd 11-16-01
                                  2545 W 23rd
                                  Eugene OR 97405

       05/04/17     004080        E.G. Gardner Co, Inc                           Claim 000171 - Payment 12.0%                      7100-000                                      12,773.74        6,762,481.16
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       05/04/17     004081        Sogge Joint Trust                              Claim 000172 - Payment 12.0%                      7100-000                                          4,252.56     6,758,228.60


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                                                FORM 2                                                                                         Page: 260
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Robert & Mary Kathleen Sogge, Trustees
                                  3620 Donald St
                                  Eugene OR 97405

       05/04/17     004082        Kellstrom, Scott & Jenny                      Claim 000173 - Payment 12.0%                      7100-000                                          4,522.08     6,753,706.52
                                  457 NW Riverview Way
                                  Gresham OR 97030

       05/04/17     004083        Buss, Dennis & Deborah                        Claim 000174 - Payment 12.0%                      7100-000                                          8,489.52     6,745,217.00
                                  POB 163
                                  Chehalis WA 98532

       05/04/17     004084        Buss, Cleta & Dennis                          Claim 000175 - Payment 12.0%                      7100-000                                          2,425.68     6,742,791.32
                                  POB 163
                                  Chehalis WA 98532

       05/04/17     004085        Butler, John C & Tamera A                     Claim 000176 - Payment 12.0%                      7100-000                                          3,083.16     6,739,708.16
                                  06668 Mercer View Dr
                                  Florence OR 97439

       05/04/17     004086        Abby Broughton Profit Sharing                 Claim 000177 - Payment 12.0%                      7100-000                                       46,679.40       6,693,028.76
                                  c/o R Scott Palmer
                                  Watkinson Laird Rubenstein Baldwin & Bur
                                  101 E Broadway #200
                                  Eugene OR 97401

       05/04/17     004087        Albert & Connie Broughton,                    Claim 000178 - Payment 12.0%                      7100-000                                      344,169.36       6,348,859.40
                                  Trustees of the Broughton Living
                                   rust dtd 1/13/05
                                  c/o Julia I. Manela
                                  PO Box 10567


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                                  FORM 2                                                                                         Page: 261
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene, OR 97440

       05/04/17     004088        Edgar C. & Mary Ann Brown                       Claim 000179 - Payment 12.0%                      7100-000                                      66,868.08        6,281,991.32
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/04/17     004089        Steven Cochran and Rosamond Cochran             Claim 000180 - Payment 12.0%                      7100-000                                          6,586.02     6,275,405.30
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/04/17     004090        Juanita G. Cochran and Steven Cochran           Claim 000181 - Payment 12.0%                      7100-000                                      13,462.68        6,261,942.62
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/04/17     004091        Clemens R. Aita, Jr.                            Claim 000182 - Payment 12.0%                      7100-000                                      12,757.08        6,249,185.54
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/04/17     004092        George and Yvonne Karotko                       Claim 000183 - Payment 12.0%                      7100-000                                      36,470.07        6,212,715.47
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                         Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                         Page: 262
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/04/17     004093        George and Yvonne Karotko                       Claim 000184 - Payment 12.0%                      7100-000                                      142,649.41       6,070,066.06
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/04/17     004094        Eric R. and Cindy S. Thoreson                   Claim 000185 - Payment 12.0%                      7100-000                                          1,899.24     6,068,166.82
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/04/17     004095        Erik M. and Stephanie M. Cheney                 Claim 000186 - Payment 12.0%                      7100-000                                          3,875.64     6,064,291.18
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/04/17     004096        Stan Karotko                                    Claim 000187 - Payment 12.0%                      7100-000                                       76,467.74       5,987,823.44
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/04/17     004097        Ramsey-Waite Company and George Karotko         Claim 000188 - Payment 12.0%                      7100-000                                      168,314.40       5,819,509.04
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       05/04/17     004098        Peggy Karotko                                   Claim 000189 - Payment 12.0%                      7100-000                                          3,697.73     5,815,811.31
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/04/17     004099        Patricia M. Strutt Rev. Trust                   Claim 000190 - Payment 12.0%                      7100-000                                          8,505.29     5,807,306.02
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/04/17     004100        Victoria Leigh Quinn, c/o Peggy                 Claim 000191 - Payment 12.0%                      7100-000                                          3,887.40     5,803,418.62
                                  Karotko, Custodian
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C., 101 E. Broadway
                                  Suite 200, Eugene, OR 97401

       05/04/17     004101        Jack L. and Wendy Chasteen                      Claim 000192 - Payment 12.0%                      7100-000                                          1,210.32     5,802,208.30
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/04/17     004102        Gloria Mae Roat Rev Lvg Trust                   Claim 000194 - Payment 12.0%                      7100-000                                      18,932.88        5,783,275.42
                                  3727 Douglas Dr
                                  Springfield OR 97478

       05/04/17     004103        ARGO PARTNERS                                   Claim 000195 - Payment 12.0%                      7100-000                                          8,401.08     5,774,874.34
                                  12 WEST 37TH STREET, 9TH FLOOR
                                  NEW YORK, NY 10018


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                                                                                                FORM 2                                                                                         Page: 264
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/04/17     004104        Butler Family Trust dtd 10/4/94               Claim 000196 - Payment 12.0%                      7100-000                                      60,758.20        5,714,116.14
                                  Glenn & Kathleen Butler, Trustees
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Ste100,Eugene, OR 97401

       05/04/17     004105        Gunderson, Wesley                             Claim 000197 - Payment 12.0%                      7100-000                                            90.12      5,714,026.02
                                  397 W Anchor Ave
                                  Eugene OR 97404

       05/04/17     004106        Gunderson, Wayne J & Caralie S                Claim 000198 - Payment 12.0%                      7100-000                                      11,615.31        5,702,410.71
                                  397 W Anchor Ave
                                  Eugene OR 97404

       05/04/17     004107        Sherlock, Bodin                               Claim 000199 - Payment 12.0%                      7100-000                                          1,040.04     5,701,370.67
                                  1862 Lincoln St
                                  Eugene OR 97401

       05/04/17     004108        Sherlock, Carmen                              Claim 000200 - Payment 12.0%                      7100-000                                          1,040.04     5,700,330.63
                                  1862 Lincoln St
                                  Eugene OR 97401

       05/04/17     004109        Sherlock, Jennifer                            Claim 000201 - Payment 12.0%                      7100-000                                          1,354.80     5,698,975.83
                                  1862 Lincoln St
                                  Eugene OR 97401

       05/04/17     004110        Sherlock, William & Jennifer                  Claim 000202 - Payment 12.0%                      7100-000                                          1,143.12     5,697,832.71
                                  1862 Lincoln St
                                  Eugene OR 97401




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                   FORM 2                                                                                         Page: 265
                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                                Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                   Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                Separate Bond (if applicable):


           1            2                                 3                                              4                                                  5                      6                  7
     Transaction    Check or                                                                                                        Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                        Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       05/04/17      004111       John G. Cox, Trustee                             Claim 000203 - Payment 12.0%                      7100-000                                          2,959.97     5,694,872.74
                                  POB 10886
                                  Eugene OR 97440

       05/04/17      004112       James Robert Harrell Pension - Loretta           Claim 000204 - Payment 12.0%                      7100-000                                      20,009.88        5,674,862.86
                                  Harrell
                                  c/o R. Scott Palmer, Watkinson Laird
                                  Rubenstein Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

 *     05/04/17      004113       Ramsey, Ronald C & Deshotel, Danielle N          Claim 000205 - Payment 12.0%                      7100-003                                      12,111.84        5,662,751.02
                                  17929 Cascade Estates Dr
                                  Bend OR 97701

       05/04/17      004114       Hutchinson, Rose                                 Claim 000206 - Payment 12.0%                      7100-000                                      25,272.41        5,637,478.61
                                  13000 SW Aragon Ln
                                  Beaverton OR 97005

       05/04/17      004115       Hutchinson, Hilary                               Claim 000207 - Payment 12.0%                      7100-000                                      17,829.60        5,619,649.01
                                  13000 SW Aragon Ln
                                  Beaverton OR 97005

       05/04/17      004116       Philip W Dean                                    Claim 000208 - Payment 12.0%                      7100-000                                          8,606.16     5,611,042.85
                                  POB 3914
                                  Sunriver OR 97707-3712

       05/04/17      004117       Chasteen, Denis & Danna                          Claim 000209 - Payment 12.0%                      7100-000                                      16,953.00        5,594,089.85
                                  Chasteen, LaVonne
                                  621 Newton Creek
                                  Roseburg OR 97470


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LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                       Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1            2                                 3                                            4                                                  5                      6                  7
     Transaction    Check or                                                                                                      Uniform                                                       Account / CD
        Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/04/17      004118       John & Judith Hansan                           Claim 000210 - Payment 12.0%                      7100-000                                      11,017.44        5,583,072.41
                                  7 Gingerwood Dr
                                  Homosassa FL 34446

 *     05/04/17      004119       Kyle Scott Larkin                              Claim 000211 - Payment 12.0%                      7100-004                                           134.28      5,582,938.13
                                  Patrick K Larkin
                                  2427 SE Elliott Dr
                                  Gresham OR 97080

       05/04/17      004120       Larkin, Cathy & Patrick K                      Claim 000212 - Payment 12.0%                      7100-000                                      17,620.93        5,565,317.20
                                  2427 SE Elliott Dr
                                  Gresham OR 97080

       05/04/17      004121       Curtis, Eileen J & Robert L                    Claim 000217 - Payment 12.0%                      7100-000                                      33,702.48        5,531,614.72
                                  447 Covey Ln
                                  Eugene OR 97401

       05/04/17      004122       Kottas, William F                              Claim 000218 - Payment 12.0%                      7100-000                                          2,299.04     5,529,315.68
                                  2248 Ridgeway
                                  Eugene OR 97401

       05/04/17      004123       Trangsrud, Julie A.                            Claim 000219 - Payment 12.0%                      7100-000                                          4,297.48     5,525,018.20
                                  10922 SW 65th Ave
                                  Portland, OR 97219

       05/04/17      004124       Huber-Shaw Living Trust                        Claim 000220 - Payment 12.0%                      7100-000                                      14,274.12        5,510,744.08
                                  Randy Huber & Shirley Shaw TTES
                                  5675 NW Foothill Pl
                                  Corvallis OR 97330




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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                                                 FORM 2                                                                                         Page: 267
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1            2                                    3                                         4                                                  5                      6                  7
     Transaction    Check or                                                                                                      Uniform                                                       Account / CD
        Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       05/04/17      004125       Timberhill Athletic Club                       Claim 000221 - Payment 12.0%                      7100-000                                      14,840.16        5,495,903.92
                                  Attn Claire MaGee
                                  2855 NW 29th St
                                  Corvallis OR 97330

       05/04/17      004126       KRJ Investments                                Claim 000222 - Payment 12.0%                      7100-000                                           631.08      5,495,272.84
                                  2855 NW 29th St
                                  Corvallis OR 97330

       05/04/17      004127       Larkin, Scott & Kristine                       Claim 000223 - Payment 12.0%                      7100-000                                      47,336.58        5,447,936.26
                                  8 Sunflower Ct
                                  Pasco WA 99301

       05/04/17      004128       JOYCE WOODS TRUST                              Claim 000225 - Payment 12.0%                      7100-000                                          5,538.00     5,442,398.26
                                  14372 SE SIEBEN PARK WAY
                                  CLACKAMAS, OR 97015

 *     05/04/17      004129       Fischer, Wynn                                  Claim 000226 - Payment 12.0%                      7100-004                                           781.80      5,441,616.46
                                  Fischer, Nancy
                                  2849 Stark
                                  Eugene OR 97404

       05/04/17      004130       Kenneth J West Survivor's Trust                Claim 000227 - Payment 12.0%                      7100-000                                          6,208.44     5,435,408.02
                                  Kenneth West, Trustee
                                  1817 SW 43rd St
                                  Pendleton OR 97801

       05/04/17      004131       Sheila K West Decedent's Trust                 Claim 000228 - Payment 12.0%                      7100-000                                          7,467.12     5,427,940.90
                                  Kenneth J West, Trustee
                                  1817 SW 43rd St
                                  Pendleton OR 97801


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                                                FORM 2                                                                                         Page: 268
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                                 3                                           4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/04/17      004132       Stan's Auto Upholstery Inc                    Claim 000230 - Payment 12.0%                      7100-000                                          2,794.08     5,425,146.82
                                  540 Wilson St
                                  Eugene OR 97402

       05/04/17      004133       Clunes, Robert                                Claim 000231 - Payment 12.0%                      7100-000                                      12,534.96        5,412,611.86
                                  Clunes, Aaron
                                  POB 3
                                  Aurora OR 97002

       05/04/17      004134       Daniel Curtis and Stephanie Shaff             Claim 000232 - Payment 12.0%                      7100-000                                      17,041.20        5,395,570.66
                                  82711 Bradford Rd
                                  Creswell OR 97426

       05/04/17      004135       Larkin, Kelly S                               Claim 000233 - Payment 12.0%                      7100-000                                           271.44      5,395,299.22
                                  8 Sunflower Ct
                                  Pasco WA 99301

       05/04/17      004136       Wildish Standard Paving Co                    Claim 000235 - Payment 12.0%                      7100-000                                      61,891.08        5,333,408.14
                                  c/o Douglas R Wilkinson
                                  1011 Harlow Rd #300
                                  Springfield OR 97477

 *     05/04/17      004137       Maginnis, Ashley                              Claim 000236 - Payment 12.0%                      7100-003                                            19.40      5,333,388.74
                                  100 NW Maywood Drive
                                  Portland, OR 97210

 *     05/04/17      004137       Maginnis, Ashley                              Claim 000236 - Payment 12.0%                      7100-003                                            -19.40     5,333,408.14
                                  100 NW Maywood Drive                          Erroe in check amount.
                                  Portland, OR 97210




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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                      Case 12-63884-tmr7         Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                         Page: 269
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       05/04/17     004138        Maginnis, Ashley                              Claim 000236 - Payment 12.0%                      7100-000                                            58.20      5,333,349.94
                                  100 NW Maywood Drive
                                  Portland, OR 97210

       05/05/17     004139        Parkhurst, Stephen W                          Claim 000237 - Payment 12.0%                      7100-000                                           519.90      5,332,830.04
                                  Russo, Massimo
                                  CMR 426 Box 468
                                  APO AE 09613

       05/05/17     004140        Redhead, Connie                               Claim 000238 - Payment 12.0%                      7100-000                                          2,830.41     5,329,999.63
                                  1574 Coburg Rd #399
                                  Eugene OR 97401

       05/05/17     004141        Revels, Larry O                               Claim 000239 - Payment 12.0%                      7100-000                                          2,801.76     5,327,197.87
                                  3023 Nickleby Ct
                                  Katy TX 77494

       05/05/17     004142        Karotko, Michael                              Claim 000240 - Payment 12.0%                      7100-000                                      234,942.66       5,092,255.21
                                  c/o Scott R Palmer
                                  Watkinson Laird Rubenstein & Burgess PC
                                  101 E Broadway #200
                                  Eugene OR 97401

       05/05/17     004143        Johnson, Kenneth R DMD                        Claim 000243 - Payment 12.0%                      7100-000                                       17,561.40       5,074,693.81
                                  c/o Scott R. Palmer
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       05/05/17     004144        Johnson, Kenneth R DMD                        Claim 000244 - Payment 12.0%                      7100-000                                       26,391.75       5,048,302.06
                                  c/o Scott R. Palmer


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                         Page: 270
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                                  3                                          4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Watkinson Laird et al.
                                  101 E Broadway #200
                                  Eugene OR 97401

       05/05/17      004145       Johnson, Dorothy J                            Claim 000245 - Payment 12.0%                      7100-000                                      10,458.38        5,037,843.68
                                  3889 NW Glen Eden Dr
                                  Corvallis OR 97330

       05/05/17      004146       Johnson, Dorothy J                            Claim 000245 - Payment 12.0%                      7100-000                                      17,352.00        5,020,491.68
                                  3889 NW Glen Eden Dr
                                  Corvallis OR 97330

       05/05/17      004147       Tower, Edgar D & Ione A                       Claim 000247 - Payment 12.0%                      7100-000                                          6,236.52     5,014,255.16
                                  9052 Annik Dr
                                  Huntington Beach, CA 92646

       05/05/17      004148       Chasteen, Gene & LaVonne                      Claim 000248 - Payment 12.0%                      7100-000                                          1,780.68     5,012,474.48
                                  Chasteen, Jack & Wendy
                                  174 Heather Ln
                                  Roseburg OR 97470

 *     05/05/17      004149       Ramsey, Elizabeth H                           Claim 000249 - Payment 12.0%                      7100-004                                          4,834.11     5,007,640.37
                                  Deshotel, Danielle N
                                  7085 N 2200 W 1-H
                                  PARK CITY, UT 84098

       05/05/17      004150       Francis, Richard W & Beverly A                Claim 000250 - Payment 12.0%                      7100-000                                      29,849.28        4,977,791.09
                                  61499 SW Longview St
                                  Bend OR 97702

       05/05/17      004151       Roy & Helen Clunes Living Trust               Claim 000251 - Payment 12.0%                      7100-000                                          3,384.36     4,974,406.73


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                                 FORM 2                                                                                         Page: 271
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                    3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Beverly A Francis, Trustee
                                  61499 SW Longview St
                                  Bend, OR 97702

       05/05/17     004152        Francis, Beverly A                             Claim 000252 - Payment 12.0%                      7100-000                                          8,812.39     4,965,594.34
                                  61499 SW Longview St
                                  Bend OR 97702

       05/05/17     004153        Lon Kellstrom                                  Claim 000253 - Payment 12.0%                      7100-000                                      28,343.24        4,937,251.10
                                  c/o Scott R. Palmer
                                  Watkinson Laird, et al.
                                  101 E Broadway #200
                                  Eugene, OR 97401

       05/05/17     004154        Neuman, Vince & Faye                           Claim 000254 - Payment 12.0%                      7100-000                                      18,746.88        4,918,504.22
                                  Luke, Sue
                                  c/o Douglas R Wilkinson
                                  1011 Harlow Rd #300
                                  Springfield OR 97477

       05/05/17     004155        Kevin Paul Francis                             Claim 000255 - Payment 12.0%                      7100-000                                          6,757.40     4,911,746.82
                                  512 South 14th Avenue
                                  Bozeman MT 59715

       05/05/17     004156        Francis S.Lawler                               Claim 000256 - Payment 12.0%                      7100-000                                          4,624.80     4,907,122.02
                                  7 Gardenside Place
                                  Towson, MD 21286

       05/05/17     004157        Pershern, Lauren Pershern, Annette             Claim 000257 - Payment 12.0%                      7100-000                                           159.60      4,906,962.42
                                  35027 Fremont Ave
                                  Eugene OR 97405


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1            2                                   3                                          4                                                  5                      6                  7
     Transaction    Check or                                                                                                      Uniform                                                       Account / CD
        Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/05/17      004158       Donald & Elizabeth Miller/Annette              Claim 000258 - Payment 12.0%                      7100-000                                          2,666.76     4,904,295.66
                                  Pershern &
                                  Glenn Miller
                                  35031 Fremont Ave
                                  Eugene OR 97405

       05/05/17      004159       Miller, Donald & Elizabeth                     Claim 000259 - Payment 12.0%                      7100-000                                          4,543.44     4,899,752.22
                                  Miller, Glenn
                                  35031 Fremont Ave
                                  Eugene OR 97405

       05/05/17      004160       Bien, Guy                                      Claim 000260 - Payment 12.0%                      7100-000                                          3,152.64     4,896,599.58
                                  19 Shanna Cir
                                  Crowley Lake CA 93546

       05/05/17      004161       Johnson, James Douglas                         Claim 000261 - Payment 12.0%                      7100-000                                          1,393.44     4,895,206.14
                                  2610 Melekhin Bend
                                  Cedar Park TX 78613

       05/05/17      004162       Johnson, Christopher Michael                   Claim 000262 - Payment 12.0%                      7100-000                                          1,271.88     4,893,934.26
                                  2610 Melekhin Bend
                                  Cedar Park TX 78613

 *     05/05/17      004163       Johnson, Michael A                             Claim 000263 - Payment 12.0%                      7100-003                                      12,354.96        4,881,579.30
                                  c/o Scott R. Palmer
                                  Watkinson Laird, et al.
                                  101 E Broadway #200
                                  Eugene, OR 97401

 *     05/05/17      004163       Johnson, Michael A                             Claim 000263 - Payment 12.0%                      7100-003                                      -12,354.96       4,893,934.26


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                    3                                            4                                                 5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                   Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  c/o Scott R. Palmer                            Claimant should not receive check.
                                  Watkinson Laird, et al.
                                  101 E Broadway #200
                                  Eugene, OR 97401

       05/05/17     004164        Brown, Jonathan W                              Claim 000264 - Payment 12.0%                       7100-000                                           314.04      4,893,620.22
                                  4832 Cartwright Ave
                                  N Hollywood CA 91601

       05/05/17     004165        Buhl, Douglas V                                Claim 000265 - Payment 12.0%                       7100-000                                          3,420.96     4,890,199.26
                                  1259 S 58th St
                                  Springfield OR 97478

       05/05/17     004166        Buhl, Marilyn J                                Claim 000266 - Payment 12.0%                       7100-000                                          1,158.24     4,889,041.02
                                  1259 S 58th St
                                  Springfield OR 97478

       05/05/17     004167        Camille Mack                                   Claim 000270 - Payment 12.0%                       7100-000                                      29,123.40        4,859,917.62
                                  6480 W Sumac Ave
                                  Denver CO 80123

       05/05/17     004168        Camille Mack                                   Claim 000271 - Payment 12.0%                       7100-000                                      13,625.28        4,846,292.34
                                  6480 W Sumac Ave
                                  Denver CO 80123

       05/05/17     004169        Holcomb, Joanne                                Claim 000272 - Payment 12.0%                       7100-000                                           698.46      4,845,593.88
                                  841 Turquoise Street, F-408
                                  San Deigo, CA 92109

       05/05/17     004170        Ambler, Susanne                                Claim 000273 - Payment 12.0%                       7100-000                                      25,599.41        4,819,994.47
                                  Ambler, John


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
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                                                                                                FORM 2                                                                                         Page: 274
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                    3                                         4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  1375 Loring St
                                  San Diego CA 92109

       05/05/17     004171        Ambler, John                                  Claim 000274 - Payment 12.0%                      7100-000                                           650.16      4,819,344.31
                                  1375 Loring St
                                  San Diego CA 92109

       05/05/17     004172        Dorothy & Leslie Family Trust                 Claim 000275 - Payment 12.0%                      7100-000                                          5,958.24     4,813,386.07
                                  c/o GG Alan Vaughan
                                  6480 W Sumac Ave
                                  Denver CO 80123

       05/05/17     004173        Dorothy & Leslie Family Trust                 Claim 000276 - Payment 12.0%                      7100-000                                          6,915.96     4,806,470.11
                                  c/o GG Alan Vaughan
                                  6480 W Sumac Ave
                                  Denver CO 80123

       05/05/17     004174        Sharon Asta                                   Claim 000277 - Payment 12.0%                      7100-000                                          4,295.64     4,802,174.47
                                  6480 W Sumac Ave
                                  Denver CO 80123

       05/05/17     004175        First American Reserve Trust                  Claim 000278 - Payment 12.0%                      7100-000                                      58,731.72        4,743,442.75
                                  6480 W Sumac Av
                                  Denver CO 80123

       05/05/17     004176        Christian Vaughan Trust                       Claim 000279 - Payment 12.0%                      7100-000                                          6,223.32     4,737,219.43
                                  c/o GG Alan Vaughan
                                  6480 W Sumac Ave
                                  Littleton CO 80123

       05/05/17     004177        Hutchinson, Mark                              Claim 000280 - Payment 12.0%                      7100-000                                           123.60      4,737,095.83


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  POB 5374
                                  Portland OR 97228

       05/05/17     004178        Visionsite Corp                               Claim 000281 - Payment 12.0%                      7100-000                                           212.21      4,736,883.62
                                  Mark Hutchinson, CEO
                                  POB 2310
                                  Portland OR 97208

       05/05/17     004179        VASTS/VisionSite Advanced Staff               Claim 000282 - Payment 12.0%                      7100-000                                            65.52      4,736,818.10
                                  Training Svc
                                  PO Box 2310
                                  Portland, OR 97208

       05/05/17     004180        Howard W. Berge Survivors Trust               Claim 000283 - Payment 12.0%                      7100-000                                          6,938.04     4,729,880.06
                                  c/o Jamie McCornack * Tracy Kempf
                                  2564 Mangan Street
                                  Eugene, OR 97402

       05/05/17     004181        Pegasus Travel Inc                            Claim 000284 - Payment 12.0%                      7100-000                                          2,298.96     4,727,581.10
                                  6480 W Sumac Ave
                                  Denver CO 80123

       05/05/17     004182        Comac Adams Barlow                            Claim 000285 - Payment 12.0%                      7100-000                                          1,272.48     4,726,308.62
                                  c/o Luke Barlow Cust. for Cormac Barlow
                                  PSC 1 BOX 18
                                  PO AP 96214

       05/05/17     004183        Brown, Indiana Loye                           Claim 000286 - Payment 12.0%                      7100-000                                          3,343.80     4,722,964.82
                                  Brown, Jason & Jenny
                                  2815 E Morningside Dr
                                  Idaho Falls ID 83402


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/05/17     004184        Jason Brown                                   Claim 000287 - Payment 12.0%                      7100-000                                           208.56      4,722,756.26
                                  2815 E Morningside Dr
                                  Idaho Falls ID 83402

       05/05/17     004185        Brown, Olivia Georganna (minor)               Claim 000288 - Payment 12.0%                      7100-000                                          2,782.68     4,719,973.58
                                  c/o Brown, Jason & Jenny
                                  2815 E Morningside Dr
                                  Idaho Falls ID 83402

       05/05/17     004186        Randy Matthews                                Claim 000267 - Payment 12.0%                      7100-000                                          4,065.00     4,715,908.58
                                  828 N. Orange Grove Ave
                                  Los Angeles, CA 90046

       05/05/17     004187        Rhynard Jr, Wayne E                           Claim 000289 - Payment 12.0%                      7100-000                                      11,637.60        4,704,270.98
                                  Rhynard, Alida D
                                  448 Clearview Rd
                                  Martinsdale MT 59053

       05/05/17     004188        Piernick, Sally D                             Claim 000290 - Payment 12.0%                      7100-000                                      20,527.93        4,683,743.05
                                  27834 Royal Ave
                                  Eugene OR 97402

       05/05/17     004189        Bramwell, C Josephine                         Claim 000291 - Payment 12.0%                      7100-000                                          1,479.96     4,682,263.09
                                  8015 B Densmore Ave N
                                  Seattle Wa 98103

       05/05/17     004190        Larkin, Marlin & Elizabeth                    Claim 000293 - Payment 12.0%                      7100-000                                          1,689.00     4,680,574.09
                                  2437 Harris St
                                  Eureka CA 95503




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                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                    3                                             4                                                  5                      6                  7
    Transaction    Check or                                                                                                          Uniform                                                       Account / CD
       Date        Reference                      Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
       05/05/17     004191        Kathleen E. O'Brien                               Claim 000295 - Payment 12.0%                      7100-000                                      14,259.71        4,666,314.38
                                  3361 E Choctaw Drive
                                  Sierra Vista AZ 85650

       05/05/17     004192        Bishop, Judith L                                  Claim 000296 - Payment 12.0%                      7100-000                                           992.40      4,665,321.98
                                  11304 NE Oregon
                                  Portland OR 97220

       05/05/17     004193        Aaron Larkin                                      Claim 000297 - Payment 12.0%                      7100-000                                            76.44      4,665,245.54
                                  8 Sunflower Ct
                                  Pasco WA 99301-3282

       05/05/17     004194        Roland Glass & Matthew Glass                      Claim 000298 - Payment 12.0%                      7100-000                                          4,518.84     4,660,726.70
                                  c/o Scott R. Palmer
                                  Watkinson Laird, et al.
                                  101 E Broadway #200
                                  Eugene, OR 97401

       05/05/17     004195        Karotko, Ellen                                    Claim 000299 - Payment 12.0%                      7100-000                                          4,810.44     4,655,916.26
                                  2610 Crowther
                                  Eugene OR 97404

       05/05/17     004196        Ellington, Joan & Clayton                         Claim 000300 - Payment 12.0%                      7100-000                                      35,357.69        4,620,558.57
                                  POB 833
                                  Homer AK 99603

       05/05/17     004197        Kertzner, Rachel Rose                             Claim 000302 - Payment 12.0%                      7100-000                                          1,389.24     4,619,169.33
                                  2835 SE 35th Pl
                                  Portland OR 97202

       05/05/17     004198        Johnson, Jill                                     Claim 000303 - Payment 12.0%                      7100-000                                          3,835.08     4,615,334.25


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                                3                                            4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Johnson, Kenneth
                                  2835 SE 35th Pl
                                  Portland OR 97202

       05/05/17      004199       Kertzner, Eliana Rae                          Claim 000304 - Payment 12.0%                      7100-000                                          1,389.24     4,613,945.01
                                  2835 SE 35th Pl
                                  Portland OR 97202

       05/05/17      004200       Clark Lateral Ditch Co 03-0018                Claim 000305 - Payment 12.0%                      7100-000                                          2,800.08     4,611,144.93
                                  c/o Scott Sveum
                                  10980 W 65th Way
                                  Arvada CO 80004

       05/05/17      004201       Mimi Van Breeman                              Claim 000308 - Payment 12.0%                      7100-000                                            30.72      4,611,114.21
                                  c/o Kristen Van Breemen
                                  15108 SE Shaunte Lane
                                  Happy Valley OR 97086

       05/05/17      004202       Mimi Van Breemen                              Claim 000310 - Payment 12.0%                      7100-000                                            73.56      4,611,040.65
                                  c/o Kristen Van Breemen
                                  15108 SE Shaunte Lane
                                  Happy Valley OR 97086

       05/05/17      004203       Jonah Van Breeman                             Claim 000311 - Payment 12.0%                      7100-000                                            89.28      4,610,951.37
                                  c/o Kristen van Breemen
                                  15108 SE Shaunte Ln
                                  Happy Valley OR 97086

 *     05/05/17      004204       Jorja Hansen                                  Claim 000312 - Payment 12.0%                      7100-003                                           321.84      4,610,629.53
                                  c/o R. Scott Palmer,
                                  Watkinson Laird Rubenstein


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                                FORM 2                                                                                         Page: 279
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:           12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1            2                               3                                             4                                                  5                      6                  7
     Transaction    Check or                                                                                                     Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/05/17      004205       F. Leroy Sherman and Verda F. Sherman         Claim 000313 - Payment 12.0%                      7100-000                                          6,615.96     4,604,013.57
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/05/17      004206       Verda Sherman                                 Claim 000314 - Payment 12.0%                      7100-000                                      19,561.87        4,584,451.70
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

 *     05/05/17      004207       Colton Hansen                                 Claim 000315 - Payment 12.0%                      7100-003                                           668.40      4,583,783.30
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

 *     05/05/17      004208       Graysen Hansen                                Claim 000316 - Payment 12.0%                      7100-003                                           396.00      4,583,387.30
                                  c/o R. Scott Palmer
                                  Watkinson Laird Rubenstein
                                  Baldwin & Burgess, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401


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                                                                                                FORM 2                                                                                         Page: 280
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/05/17     004209        Kaiser, Lisa                                  Claim 000317 - Payment 12.0%                      7100-000                                           127.08      4,583,260.22
                                  9801 SE Ladera Ct
                                  Damascus OR 97089

       05/05/17     004210        Jennifer Bishop                               Claim 000318 - Payment 12.0%                      7100-000                                           136.08      4,583,124.14
                                  7738 SE Ellis Street
                                  Portland, OR 97206

       05/05/17     004211        Donald N & Barbara H McDonald                 Claim 000319 - Payment 12.0%                      7100-000                                      11,291.88        4,571,832.26
                                  1745 Alta Vista Way
                                  San Diego, CA 92109

       05/05/17     004212        Donald N & Barbara H McDonald                 Claim 000320 - Payment 12.0%                      7100-000                                      11,411.76        4,560,420.50
                                  1745 Alta Vista Way
                                  San Diego CA 92109-1308

       05/05/17     004213        F.Leroy Sherman, Successor Trustee,           Claim 000321 - Payment 12.0%                      7100-000                                      31,058.28        4,529,362.22
                                  Rose Sherman Revocable Living Trust
                                  c/o Scott R. Palmer,
                                  Watkinson Laird Rubenstein et. al.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       05/05/17     004214        Michael John Jaskilka                         Claim 000322 - Payment 12.0%                      7100-000                                          1,875.76     4,527,486.46
                                  1484 Barrington Ave
                                  Eugene OR 97401

       05/05/17     004215        Bonnie Rhynard-Buhl                           Claim 000323 - Payment 12.0%                      7100-000                                          4,859.77     4,522,626.69
                                  27353 SW 45th Drive
                                  Wilsonville OR 97070


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                  3                                           4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/05/17     004216        Coffman, Ronald R & Peggy J                   Claim 000325 - Payment 12.0%                      7100-000                                          1,477.67     4,521,149.02
                                  2920 NE Conners Ave #228
                                  Bend, OR 97701

       05/05/17     004217        Davis Wright Tremaine LLP                     Claim 000324 - Payment 12.0%                      7100-000                                          5,818.58     4,515,330.44
                                  1300 SW 5th Ave #2400
                                  Portland OR 97201

       05/05/17     004218        Eileen and Bruce McLellan                     Claim 000326 - Payment 12.0%                      7100-000                                          3,145.66     4,512,184.78
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       05/05/17     004219        Bruce McLellan                                Claim 000327 - Payment 12.0%                      7100-000                                      14,045.88        4,498,138.90
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       05/05/17     004220        Warren Harper                                 Claim 000328 - Payment 12.0%                      7100-000                                          4,204.18     4,493,934.72
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       05/05/17     004221        Marilyn and James Rear, Jr.                   Claim 000329 - Payment 12.0%                      7100-000                                      38,065.88        4,455,868.84
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       05/05/17     004222        Janet Harper and Marilyn Rear                 Claim 000330 - Payment 12.0%                      7100-000                                          5,993.58     4,449,875.26
                                  c/o Bradley S. Copeland


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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       05/05/17     004223        Harper Farms, Inc.                            Claim 000331 - Payment 12.0%                      7100-000                                      45,042.00        4,404,833.26
                                  c/o Bradley S. Copeland
                                  800 Willamette Street, Suite 800
                                  Eugene, OR 97401

       05/05/17     004224        Guistina, Ehrman V                            Claim 000332 - Payment 12.0%                      7100-000                                      16,460.16        4,388,373.10
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       05/05/17     004225        Grace Lutheran Foundation                     Claim 000333 - Payment 12.0%                      7100-000                                      53,028.12        4,335,344.98
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       05/05/17     004226        McCarty, Barbara J                            Claim 000334 - Payment 12.0%                      7100-000                                      62,035.56        4,273,309.42
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       05/05/17     004227        M&A Investments                               Claim 000335 - Payment 12.0%                      7100-000                                          7,709.44     4,265,599.98
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       05/05/17     004228        Agerter, Alan J                               Claim 000336 - Payment 12.0%                      7100-000                                           419.03      4,265,180.95
                                  c/o Rohn M. Roberts
                                  800 Willamette St #800


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  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                   3                                          4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97401

       05/05/17     004229        Agerter, Joan H                               Claim 000337 - Payment 12.0%                      7100-000                                          4,517.04     4,260,663.91
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       05/05/17     004230        Agerter, Mark & Regina                        Claim 000338 - Payment 12.0%                      7100-000                                          4,269.83     4,256,394.08
                                  c/o Rohn M Roberts
                                  800 Willamette St #800
                                  Eugene OR 97401

       05/05/17     004231        Wolfe, Pierre                                 Claim 000339 - Payment 12.0%                      7100-000                                          7,867.44     4,248,526.64
                                  3568 E Virginia Ave
                                  Denver CO 80209

       05/05/17     004232        Wolfe, Ronald                                 Claim 000340 - Payment 12.0%                      7100-000                                          6,956.16     4,241,570.48
                                  3025 E Bates Ave
                                  Denver CO 80210

       05/05/17     004233        Wolfe, Jean                                   Claim 000341 - Payment 12.0%                      7100-000                                          8,965.92     4,232,604.56
                                  3568 E Virginia Ave
                                  Denver CO 80209

       05/05/17     004234        Dupriest, Douglas M                           Claim 000342 - Payment 12.0%                      7100-000                                          6,704.16     4,225,900.40
                                  225 Dartmoor Dr
                                  Eugene OR 97401

       05/05/17     004235        Degge, Rogena M                               Claim 000343 - Payment 12.0%                      7100-000                                          5,610.48     4,220,289.92
                                  225 Dartmoor Dr
                                  Eugene OR 97401


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
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                                                                                                FORM 2                                                                                         Page: 284
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)


       05/05/17     004236        Herrmann, Paul                                Claim 000344 - Payment 12.0%                      7100-000                                      35,488.08        4,184,801.84
                                  440 S Garfield St
                                  Denver CO 80209

       05/05/17     004237        Herrmann, Christopher                         Claim 000345 - Payment 12.0%                      7100-000                                          8,961.48     4,175,840.36
                                  c/o Mr & Mrs Paul Herrmann
                                  440 S Garfield St
                                  Denver CO 80209

       05/05/17     004238        Christian Vaughan                             Claim 000346 - Payment 12.0%                      7100-000                                          1,061.64     4,174,778.72
                                  6480 W Sumac Ave
                                  Denver CO 80123

       05/05/17     004239        Janssen, Joseph John                          Claim 000347 - Payment 12.0%                      7100-000                                          1,602.60     4,173,176.12
                                  Janssen, Shannon & David
                                  2855 NW 29th
                                  Corvallis OR 97330

       05/05/17     004240        Janssen, Davi Rae Helen                       Claim 000348 - Payment 12.0%                      7100-000                                          1,221.24     4,171,954.88
                                  Janssen, Shannon & David
                                  Shannon Brown
                                  2855 NW 29th
                                  Corvallis OR 97330

       05/05/17     004241        Brown, Shannon                                Claim 000349 - Payment 12.0%                      7100-000                                            18.96      4,171,935.92
                                  2855 NW 29th St
                                  Corvallis OR 97330

       05/05/17     004242        SCS Investments, LLC                          Claim 000350 - Payment 12.0%                      7100-000                                          1,379.76     4,170,556.16
                                  c/o Alan G. Seligson


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                         Page: 285
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                              Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                           Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                  Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                               Separate Bond (if applicable):


           1           2                                 3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                        Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  142 West 8th Avenue
                                  Eugene, OR 97401

       05/05/17     004243        SRB Investments, LLC                            Claim 000351 - Payment 12.0%                      7100-000                                      27,501.24        4,143,054.92
                                  c/o Alan G. Seligson
                                  142 West 8th Avenue
                                  Eugene, OR 97401

       05/05/17     004244        Debra L. Stanley and James D. Stanley           Claim 000352 - Payment 12.0%                      7100-000                                          2,417.52     4,140,637.40
                                  3800 BALLYNTYNE RD S
                                  SALEM OR 97302

       05/05/17     004245        Jared Stanley and Debra Stanley                 Claim 000353 - Payment 12.0%                      7100-000                                           576.00      4,140,061.40
                                  3800 BALLYNTYNE RD S
                                  SALEM OR 97302

       05/05/17     004246        Ryan Stanley and Debra Stanley                  Claim 000354 - Payment 12.0%                      7100-000                                           576.00      4,139,485.40
                                  3800 BALLYNTYNE RD S
                                  SALEM OR 97302

       05/05/17     004247        Hutchinson, Cayden                              Claim 000355 - Payment 12.0%                      7100-000                                           505.08      4,138,980.32
                                  Hutchinson, Scott & Wika
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       05/05/17     004248        Tyler, Duane                                    Claim 000356 - Payment 12.0%                      7100-000                                          9,703.56     4,129,276.76
                                  Tyler, Barbara
                                  POB 523
                                  Union OR 97883

       05/05/17     004249        Dorothy J Larkin Rev Living Trust               Claim 000357 - Payment 12.0%                      7100-000                                      88,364.88        4,040,911.88


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                      Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                 FORM 2                                                                                         Page: 286
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                             Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                          Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1           2                                  3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                       Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  Richard L Larkin, Successor Trustee
                                  PO Box 424
                                  Sweet Home OR 97386

       05/05/17     004250        DANIELLE N. DESHOTEL                           Claim 000358 - Payment 12.0%                      7100-000                                           315.48      4,040,596.40
                                  11740 Hwy. 159
                                  Shongaloo, LA 71072

       05/05/17     004251        Johnson, Darci                                 Claim 000359 - Payment 12.0%                      7100-000                                           356.88      4,040,239.52
                                  2451 SE 85th Ave
                                  Portland OR 97216

       05/05/17     004252        Hand, C Gene                                   Claim 000360 - Payment 12.0%                      7100-000                                      16,802.32        4,023,437.20
                                  5159 Solar Heights
                                  Eugene OR 97405

       05/05/17     004253        Erildean Hand                                  Claim 000361 - Payment 12.0%                      7100-000                                           767.04      4,022,670.16
                                  c/o C Gene Hand
                                  5159 Solar Heights Dr
                                  Eugene OR 97405

       05/05/17     004254        Hand, Patsy                                    Claim 000362 - Payment 12.0%                      7100-000                                          3,250.33     4,019,419.83
                                  5159 Solar Heights
                                  Eugene OR 97405

       05/05/17     004255        Redhead, Paul                                  Claim 000363 - Payment 12.0%                      7100-000                                           374.97      4,019,044.86
                                  701 High St #300
                                  Eugene OR 97401

       05/05/17     004256        Tessem, Susan                                  Claim 000368 - Payment 12.0%                      7100-000                                          2,153.28     4,016,891.58
                                  SJO 83


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                        Case 12-63884-tmr7        Doc 1729              Filed 07/18/19
                                                                                                FORM 2                                                                                         Page: 287
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                             Separate Bond (if applicable):


           1           2                                 3                                            4                                                  5                      6                  7
    Transaction    Check or                                                                                                      Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                     Description Of Transaction            Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                  POB 025216
                                  Miami FL 33102

       05/05/17     004257        Chasteen, Matthew S                           Claim 000369 - Payment 12.0%                      7100-000                                           568.80      4,016,322.78
                                  115 Carrin Layne Ct
                                  Roseburg OR 97471

       05/05/17     004258        Chasteen, Naomi Edda                          Claim 000370 - Payment 12.0%                      7100-000                                           109.20      4,016,213.58
                                  Chasteen, Matthew S
                                  115 Carrin Layne Ct
                                  Roseburg OR 97471

       05/05/17     004259        Peccia, Kathi                                 Claim 000371 - Payment 12.0%                      7100-000                                          1,015.92     4,015,197.66
                                  POB 22422
                                  Eugene OR 97402

       05/05/17     004260        Wilka Hutchinson                              Claim 000372 - Payment 12.0%                      7100-000                                           636.84      4,014,560.82
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       05/05/17     004261        Wilka Hutchinson                              Claim 000373 - Payment 12.0%                      7100-000                                           186.00      4,014,374.82
                                  1490 SW 179th Ct
                                  Beaverton OR 97006

       05/05/17     004262        Maloney, Terry W                              Claim 000374 - Payment 12.0%                      7100-000                                           445.80      4,013,929.02
                                  Maloney, Melissa A
                                  2671 NW Legacy Pl
                                  Corvallis OR 97330

       05/05/17     004263        Babb, Bert & Shirley                          Claim 000376 - Payment 12.0%                      7100-000                                      45,584.04        3,968,344.98
                                  2306 Park Grove Dr


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LFORM2T4                                                                                                                                                                                               Ver: 22.01b
                                                                    Case 12-63884-tmr7           Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                             Page: 288
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1            2                                   3                                            4                                                     5                      6                  7
     Transaction    Check or                                                                                                            Uniform                                                      Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code        Deposits ($)      Disbursements ($)         Balance ($)
                                  Eugene OR 97408

       05/05/17      004264       C & D Radiator Service                        Claim 000377 - Payment 12.0%                            7100-000                                      36,937.08        3,931,407.90
                                  c/o Scott R. Palmer
                                  Watkinson Laird, et al.
                                  101 E Broadway #200
                                  Eugene, OR 97401

       05/05/17      004265       JONATHAN HOLLIS                               Claim 000378 - Payment 12.0%                            7100-000                                          2,919.00     3,928,488.90
                                  5213 JONES RD. SE
                                  SALEM, OR 97306

 *     05/05/17      004266       Kruger, David L & Karen E                     Claim 000379 - Payment 12.0%                            7100-004                                            40.74      3,928,448.16
                                  3175 Baber Ct. SE                             Check was over 90 days old. Repeated messages
                                  Salem, OR 97317                               left on phone voice mail of claimants to please cash
                                                                                check. No Reply.

       05/05/17      004267       Chanda Mills                                  Claim 000380 - Payment 12.0%                            7100-000                                           132.48      3,928,315.68
                                  POB 293
                                  Veneta OR 97487

       05/05/17      004268       Myers, Eric                                   Claim 000385 - Payment 12.0%                            7100-000                                           248.52      3,928,067.16
                                  3366 W 17th Ave
                                  Eugene OR 97402

       05/05/17      004269       TERESA L. MESSIER                             Claim 000395 - Payment 12.0%                            7100-000                                          3,252.72     3,924,814.44
                                  1852 MOCCASIN DR
                                  WACONIA, MN 55387

       05/05/17      004270       Bradley Myers                                 Claim 000399 - Payment 12.0%                            7100-000                                          1,320.00     3,923,494.44
                                  4325 Commerce St


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LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                              Page: 289
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:           12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1            2                                  3                                             4                                                    5                        6                  7
     Transaction    Check or                                                                                                            Uniform                                                       Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                  Suite 111 #503
                                  Eugene, OR 97402

       05/05/17      004271       Jackson Chalmers                              Claim 000425 - Payment 12.0%                            7100-000                                           1,580.04     3,921,914.40
                                  c/o Jennifer Chalmers
                                  3371 Goose Cross Lane
                                  Eugene, OR 97404-3869

       05/05/17      004272       Marilee Chalmers                              Claim 000426 - Payment 12.0%                            7100-000                                           1,047.12     3,920,867.28
                                  c/o Jennifer Chalmers
                                  3371 Goose Cross Lane
                                  Eugene, OR 97404-3869

       05/05/17      004273       AMERICAN PROPERTY MANAGEMENT                  Claim 000432 - Payment 12.0%                            7100-000                                            142.79      3,920,724.49
                                  2154 NE BROADWAY
                                  PORTLAND, OR 97232

 *     05/12/17      004039       LE Folkerts Rev Trust dtd 8-20-97             Claim 000129 - Payment 12.0%                            7100-003                                       -26,936.52       3,947,661.01
                                  Lura E Folkerts, Trustee                      Creditor could not cash check as Trust did not have
                                  3734 N. Clarey Street                         a bank account. She submited a Change of Address
                                  Eugene, OR 97402                              for a creditor name change. Document #1536 -
                                                                                Filed 5/12/17.

       05/12/17      004274       Lura E Folkerts                               Claim 000129 - Payment 12.0%                            7100-000                                       26,936.52        3,920,724.49
                                  3734 N. Clarey Street                         Replaces Check #4039. Check could not be cashed
                                  Eugene, OR 97402                              because Trust does not have a bank account.

       05/17/17        21         Douglas & Konni Hollis                        Return of Preferential Transfer                         1241-000                   1,022.12                             3,921,746.61
                                  2804 Maesner St.                              Settlement per Motion and Notice of Intent to Settle
                                  Eugene, OR 97404                              and Compromise Adversary Proceeding - Adv Pro
                                                                                Case No.14-06145. - Docket #12 - Filed 1/9/15..


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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                      Case 12-63884-tmr7            Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                                Page: 290
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit B
  Case No:           12-63884 -TMR                                                                                                   Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                                Bank Name:                       Union Bank
                                                                                                                                     Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                        Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                     Separate Bond (if applicable):


           1            2                                3                                              4                                                        5                      6                   7
     Transaction    Check or                                                                                                             Uniform                                                        Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                  Trans. Code         Deposits ($)      Disbursements ($)          Balance ($)
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #760 - Filed 1/9/15.

 *     05/22/17      004113       Ramsey, Ronald C & Deshotel, Danielle N       Claim 000205 - Payment 12.0%                              7100-003                                      -12,111.84        3,933,858.45
                                  17929 Cascade Estates Dr                      Ronald Ramsey is now deceased and the Claim is
                                  Bend OR 97701                                 held by his daughter Danielle Deshotel. She was not
                                                                                able to deposit the original check as written.

       05/22/17      004275       Deshotel, Danielle N                          Claim 000205 - Payment 12.0%                              7100-000                                      12,111.84         3,921,746.61
                                  11740 Highway 159                             Replaces Check #4113. Co-debtor is deceased so
                                  Shongaloo, LA 71072                           check could not be cashed as addressed.

 *     05/23/17      003971       Amy Shelton,                                  Claim 000060 - Payment 12.0%                              7100-003                                      -17,344.53        3,939,091.14
                                  UTMA, Edie Shelton, Custodian                 Check could not be cashed by Creditor. The UTMA
                                  16902 Royal Coachman                          was set up when Amy Shelton was a minor. She is
                                  Sisters, OR 97759                             now an adult.

       05/23/17      004276       Amy Shelton Bloch                             Claim 000060 - Payment 12.0%                              7100-000                                      17,344.53         3,921,746.61
                                  5710 Willow Street                            Replaces Check #3971. Check could not be
                                  New Orleans, LA 70115                         deposited as addressed.

       05/24/17      004277       Ramsey, Elizabeth H                           Claim 000249 - Payment 12.0%                              7100-000                                          4,834.11      3,916,912.50
                                  10408 North Sightline Circle                  Replaces Check #4149. Creditor had a mail forward
                                  Hideout, UT 84036                             filed with USPS but check was never forwarded and
                                                                                was not returned to trustee's office.

 *     05/25/17      004149       Ramsey, Elizabeth H                           Stop Payment Reversal                                     7100-004                                          -4,834.11     3,921,746.61
                                  Deshotel, Danielle N                          SA
                                  7085 N 2200 W 1-H                             Stop Payment Order Confirmation received from
                                  PARK CITY, UT 84098                           Union Bank on 5/30/17.


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LFORM2T4                                                                                                                                                                                                        Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                                Page: 291
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit B
  Case No:           12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                    Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1            2                               3                                               4                                                       5                        6                 7
     Transaction    Check or                                                                                                            Uniform                                                        Account / CD
        Date        Reference                Paid To / Received From                       Description Of Transaction                  Trans. Code         Deposits ($)         Disbursements ($)       Balance ($)


       06/05/17        21         Michael A. Johnson                           Return of Preferential Transfer                           1241-000                    1,000.00                            3,922,746.61
                                  2610 Melekhin Bnd.                           Settlement per Motion and Notice of Intent to Settle
                                  Cedar Park, TX 78613-1617                    and Compromise Adversary Proceeding - Adv Pro
                                                                               Case No.14-06145. - Docket #12 - Filed 1/9/15..
                                                                               See Also Motion and Notice of Intent to Settle and
                                                                               Compromise Adversary Proceeding - Main case -
                                                                               Document #760 - Filed 1/9/15.
                                                                               Payment on Deferred Judgment for Creditor Michael
                                                                               Johnson. (Creditor still owes $20,171.76).

 *     06/05/17      004204       Jorja Hansen                                 Claim 000312 - Payment 12.0%                              7100-003                                            -321.84     3,923,068.45
                                  c/o R. Scott Palmer,                         Check returned by Atty Manela. It could not be
                                  Watkinson Laird Rubenstein                   cashed because minor child Jorja Hansen did not
                                  Baldwin & Burgess, P.C.                      have a bank account. It will be reissued as "Julie
                                  101 E. Broadway, Suite 200                   Sherman fbo Jorja Hansen".
                                  Eugene, OR 97401

 *     06/05/17      004207       Colton Hansen                                Claim 000315 - Payment 12.0%                              7100-003                                            -668.40     3,923,736.85
                                  c/o R. Scott Palmer                          Check returned by Atty Manela. It could not be
                                  Watkinson Laird Rubenstein                   cashed because minor child Colton Hansen did not
                                  Baldwin & Burgess, P.C.                      have a bank account. It will be reissued as "Julie
                                  101 E. Broadway, Suite 200                   Sherman fbo Colton Hansen".
                                  Eugene, OR 97401

 *     06/05/17      004208       Graysen Hansen                               Claim 000316 - Payment 12.0%                              7100-003                                            -396.00     3,924,132.85
                                  c/o R. Scott Palmer                          Check returned by Atty Manela. It could not be
                                  Watkinson Laird Rubenstein                   cashed because minor child Graysen Hansen did not
                                  Baldwin & Burgess, P.C.                      have a bank account. It will be reissued as "Julie
                                  101 E. Broadway, Suite 200                   Sherman fbo Graysen Hansen".
                                  Eugene, OR 97401


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LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
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                                                                                                  FORM 2                                                                                          Page: 292
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                              4                                                     5                      6                7
    Transaction    Check or                                                                                                             Uniform                                                   Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)      Disbursements ($)       Balance ($)


       06/05/17     004278        Julie Sherman fbo Jorga Hansen                Claim 000312 - Payment 12.0%                            7100-000                                         321.84     3,923,811.01
                                  c/o Julia I Manela
                                  Watkinson Laird Rubenstein, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       06/05/17     004279        Julie Sherman fbo Colton Hansen               Claim 000315 - Payment 12.0%                            7100-000                                         668.40     3,923,142.61
                                  c/o Julia I Manela
                                  Watkinson Laird Rubenstein, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       06/05/17     004280        Julia Sherman fbo Graysen Hansen              Claim 000316 - Payment 12.0%                            7100-000                                         396.00     3,922,746.61
                                  c/o Julia I Manela
                                  Watkinson Laird Rubenstein, P.C.
                                  101 E. Broadway, Suite 200
                                  Eugene, OR 97401

       06/08/17     004281        KENT & JOHNSON, LLP                           Attorney to Trustee Fees-other Firm                     3210-000                                 1,130,893.08       2,791,853.53
                                  205 SE SPOKANE STREET                         Trustee's Special Counsel. 80% of fees awarded in
                                  #300                                          the amount of $1,429,086.36, less interim payments
                                  PORTLAND, OR 97202                            made of $12,376..
                                                                                Per Application for Interim Compensation for
                                                                                Christopher H. Kent - Document #1533 - Filed
                                                                                5/11/17; Notice of Intent for Interim Compensation -
                                                                                Document #1535 - Filed 5/11/17 and Trustee's
                                                                                Order Allowing Interim Compensation - Document
                                                                                #1546 - Filed 6/7/17.

       06/08/17     004282        KENT & JOHNSON, LLP                           Attorney to Trustee Exp -other firm                     3220-000                                         431.91     2,791,421.62


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LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                        Page: 293
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                 3                                                4                                                    5                      6              7
    Transaction    Check or                                                                                                              Uniform                                                 Account / CD
       Date        Reference                  Paid To / Received From                        Description Of Transaction                 Trans. Code       Deposits ($)       Disbursements ($)    Balance ($)
                                  205 SE SPOKANE STREET                          Special Counsel to Trustee - Expense
                                  #300                                           Reimbursement.
                                  PORTLAND, OR 97202                             100% of expenses awarded in the amount of
                                                                                 $1,070.65, less interim expense payments made of
                                                                                 $638.74..
                                                                                 Per Application for Interim Compensation for
                                                                                 Christopher H. Kent - Document #1533 - Filed
                                                                                 5/11/17; Notice of Intent for Interim Compensation -
                                                                                 Document #1535 - Filed 5/11/17 and Trustee's
                                                                                 Order Allowing Interim Compensation - Document
                                                                                 #1546 - Filed 6/7/17.

       06/09/17       21          Berjar Class Action Settlement Fund            Return of Preferential Transfer                         1241-000               13,377.54                          2,804,799.16
                                  215 SW Washington St.                          Settlement per Motion and Notice of Intent to Settle
                                  Ste 204                                        and Compromise Adversary Proceeding - Adv Pro
                                  Portland, OR 97204-2638                        Case No.14-06145. - Docket #12 - Filed 1/9/15..
                                                                                 See Also Motion and Notice of Intent to Settle and
                                                                                 Compromise Adversary Proceeding - Main case -
                                                                                 Document #760 - Filed 1/9/15.
                                                                                 Payment on Deferred Judgment for Creditor Michael
                                                                                 Johnson - Claim #263 - (Creditor still owes
                                                                                 $6,794.52).

       06/09/17       21          Berjac Class Action Settlement Fund            Return of Preferential Transfer                         1241-000                   400.00                         2,805,199.16
                                                                                 Settlement per Motion and Notice of Intent to Settle
                                                                                 and Compromise Adversary Proceeding - Adv Pro
                                                                                 Case No.14-06145. - Docket #12 - Filed 1/9/15..
                                                                                 See Also Motion and Notice of Intent to Settle and
                                                                                 Compromise Adversary Proceeding - Main case -
                                                                                 Document #760 - Filed 1/9/15.
                                                                                 Payment on Deferred Judgment for Creditor Vicki


       UST Form 101-7-TFR (5/1/2011) (Page: 308)
LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                        Case 12-63884-tmr7           Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                                Page: 294
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                     Exhibit B
  Case No:           12-63884 -TMR                                                                                                   Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                                Bank Name:                       Union Bank
                                                                                                                                     Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                        Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                     Separate Bond (if applicable):


           1            2                                  3                                              4                                                      5                      6                   7
     Transaction    Check or                                                                                                               Uniform                                                      Account / CD
        Date        Reference                Paid To / Received From                        Description Of Transaction                    Trans. Code       Deposits ($)      Disbursements ($)          Balance ($)
                                                                               Class - Claim #293 - (Creditor is now paid in full).
                                                                               .

 *     06/16/17      004038       Freda Drews                                  Claim 000128 - Payment 12.0%                                7100-003                                          -481.56      2,805,680.72
                                  Melvin H Drews                               Freda & Melvin Drews are deceased. Their son,
                                  416 Marian Ave                               Melvin, Jr, is the heir of their estate. He will file an
                                  Central Point OR 97502                       Amended Proof of Claim and a replacement check
                                                                               will be reissued when that is received and filed with
                                                                               the court.

 *     06/19/17      004129       Fischer, Wynn                                Stop Payment Reversal                                       7100-004                                          -781.80      2,806,462.52
                                  Fischer, Nancy                               SA
                                  2849 Stark
                                  Eugene OR 97404

       06/19/17      004283       Wynn Fischer                                 Claim 000226 - Payment 12.0%                                7100-000                                           781.80      2,805,680.72
                                  Nancy Fischer                                Replaces Check 4129 - Stop Payment Accepted by
                                  2849 Stark Street                            bank 6/19/17.
                                  Eugene OR 97404

       06/20/17      004284       Melvin H Drews Jr.                           Claim 000128 - Payment 12.0%                                7100-000                                           481.56      2,805,199.16
                                  416 Marian Ave
                                  Central Point OR 97502

       06/20/17      004285       Melvin H Drews Jr.                           Claim 000128 - Payment 12.0%                                7100-000                                           481.55      2,804,717.61
                                  416 Marian Ave                               Second Interim Distribution - Replacement for
                                  Central Point OR 97502                       Check #3616 - Reversed 7/28/16.

 *     06/21/17      003948       Duane J Cornell                              Stop Payment Reversal                                       7100-004                                         -2,666.52     2,807,384.13
                                  802 Poltava St                               SA
                                  Springfield OR 97477


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LFORM2T4                                                                                                                                                                                                        Ver: 22.01b
                                                                   Case 12-63884-tmr7                Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                               Page: 295
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit B
  Case No:           12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1            2                                3                                               4                                                    5                        6                   7
     Transaction    Check or                                                                                                            Uniform                                                        Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)         Disbursements ($)         Balance ($)


       06/21/17      004286       Duane J Cornell                               Claim 000038 - Payment 12.0%                            7100-000                                           2,666.52      2,804,717.61
                                  2951 Coburg Road
                                  Apartment 223
                                  Eugene, OR 97408

       06/29/17        21         Michael A. Johnson                            Return of Preferential Transfer                         1241-000                   1,000.00                              2,805,717.61
                                                                                Settlement per Motion and Notice of Intent to Settle
                                                                                and Compromise Adversary Proceeding - Adv Pro
                                                                                Case No.14-06145. - Docket #12 - Filed 1/9/15..
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #760 - Filed 1/9/15.

                                                                                Payment on Deferred Judgment for Creditor Michael
                                                                                Johnson - Claim #263 - (Creditor still owes
                                                                                $5,794.52.

 *     06/29/17      003946       Grange Bowen McKinney Living Trust            Stop Payment Reversal                                   7100-004                                           -3,209.28     2,808,926.89
                                  Grange McKinney Trustee                       SA
                                  660 Camino De Los Mares, #41
                                  San Clemente, CA 92673

       06/29/17      004287       Grange Bowen McKinney Living Trust            Claim 000037 - Payment 12.0%                            7100-000                                           3,209.28      2,805,717.61
                                  Grange McKinney Trustee                       Replacement for Check #3946 that was lost by
                                  660 Camino De Los Mares, #41                  creditor. Stop Payment issued on 6/28/17 &
                                  San Clemente, CA 92673                        accepted by bank on 6/29/17.

 *     06/30/17      004288       Bullivant Houser Bailey PC                    Attorney to Trustee Fees-other Firm                     6210-003                                       259,434.63        2,546,282.98
                                  888 SW Fifth Avenue                           Per Trustee Amended Notice to Settle &
                                  Suite 300                                     Compromise - Document #1158 and Order RE:


        UST Form 101-7-TFR (5/1/2011) (Page: 310)
LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                           Page: 296
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:           12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1            2                                3                                              4                                                    5                       6                 7
     Transaction    Check or                                                                                                          Uniform                                                      Account / CD
        Date        Reference                 Paid To / Received From                       Description Of Transaction               Trans. Code        Deposits ($)      Disbursements ($)         Balance ($)
                                  Portland, OR 97204                            Settlement, Employment, and Fees - Document
                                                                                #1549 - Filed 6/14/17.

 *     06/30/17      004288       Bullivant Houser Bailey PC                    Attorney Fees per Trustee                             6210-003                                      -259,434.63      2,805,717.61
                                  888 SW Fifth Avenue                           Check was written for total of fees & expenses and
                                  Suite 300                                     should have been for just fees.
                                  Portland, OR 97204

       06/30/17      004289       Bullivant Houser Bailey PC                    Attorney to Trustee Exp -other firm                   6220-000                                       14,960.28       2,790,757.33
                                  888 SW Fifth Avenue                           Final Chapter 11 Expenses.
                                  Suite 300                                     Per Trustee Amended Notice to Settle &
                                  Portland, OR 97204                            Compromise - Document #1158 - Filed 11/16/15
                                                                                and Order RE: Settlement, Employment, and Fees -
                                                                                Document #1549 - Filed 6/14/17.

       06/30/17      004290       Bullivant Houser Bailey PC                    Attorney to Trustee Fees-other Firm                   6210-000                                      244,474.35       2,546,282.98
                                  888 SW 5th Ave                                Trustee's Attorney - CHAPTER 11
                                  Suite #300                                    Per Motion and Notice of Intent to Settle and
                                  Portland, OR 97204                            Compromise - Document 1158 - Filed 11/16/15 and
                                                                                Order RE: Settlement, Employment, and Fees -
                                                                                Document #1549. - Filed 6/14/17.

       06/30/17      004291       Bullivant Houser Bailey PC                    Attorney to Trustee Fees-other Firm                   3210-000                                       68,798.88       2,477,484.10
                                  888 SW Fifth Avenue                           Trustee's Attorney - Chapter 7.
                                  Suite 300                                     Per Motion and Notice of Intent to Settle and
                                  Portland, OR 97204                            Compromise - Document #1158 - Filed 11/16/15
                                                                                and Order RE: Settlement, Employment, and Fees -
                                                                                Document #1549. - Filed 6/14/17.

 *     07/11/17      004119       Kyle Scott Larkin                             Stop Payment Reversal                                 7100-004                                           -134.28     2,477,618.38
                                  Patrick K Larkin                              SA


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LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                             Page: 297
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                  Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1            2                                3                                              4                                                     5                        6                7
     Transaction    Check or                                                                                                           Uniform                                                      Account / CD
        Date        Reference                Paid To / Received From                       Description Of Transaction                 Trans. Code        Deposits ($)         Disbursements ($)      Balance ($)
                                  2427 SE Elliott Dr
                                  Gresham OR 97080

       07/11/17      004292       Kyle Scott Larkin                            Claim # 000211 - Payment 12.0%                          7100-000                                            134.28     2,477,484.10
                                  3201 NW Shooting Star Drive                  Replaces Check #4119 which was lost in the mail.
                                  Corvallis, OR 97330                          Stop Payment approved by bank on 7/11/17.

       08/01/17      004293       TRANSETH & ASSOCIATES, LLC                   Forensic Accounting Services                            3991-000                                            815.60     2,476,668.50
                                  818 SW 3rd AVENUE, #109                      May & June 2017 - 80% of fees applied for.
                                  PORTLAND OR 97204                            Per Order Approving Payment of Norman Transeth
                                                                               & Associates, LLC Fees and Expenses - Document
                                                                               #556 - Filed 4/21/14.
                                                                               Trustee's Notice of Intent to Pay Forensic
                                                                               Accountant (May & June 2017 Invoice) - Document
                                                                               #1556 - filed 7/13/17.

       08/17/17        21         Michael A. Johnson                           Return of Preferential Transfer                         1241-000                    1,000.00                           2,477,668.50
                                  2610 Melekhin Bnd                            Settlement per Motion and Notice of Intent to Settle
                                  Cedar Park, TX 78613                         and Compromise Adversary Proceeding - Adv Pro
                                                                               Case No.14-06145. - Docket #12 - Filed 1/9/15..
                                                                               See Also Motion and Notice of Intent to Settle and
                                                                               Compromise Adversary Proceeding - Main case -
                                                                               Document #760 - Filed 1/9/15.

                                                                               Payment on Deferred Judgment for Creditor Michael
                                                                               Johnson - Claim #263 - (Creditor still owes
                                                                               $4,794.52)

 *     08/25/17      004266       Kruger, David L & Karen E                    Stop Payment Reversal                                   7100-004                                            -40.74     2,477,709.24
                                  3175 Baber Ct. SE                            SA
                                  Salem, OR 97317


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LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                   Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                                  Page: 298
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                      Exhibit B
  Case No:          12-63884 -TMR                                                                                                     Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                  Bank Name:                         Union Bank
                                                                                                                                      Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                         Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                      Separate Bond (if applicable):


           1           2                                  3                                              4                                                        5                        6                  7
    Transaction    Check or                                                                                                               Uniform                                                         Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                   Trans. Code         Deposits ($)         Disbursements ($)        Balance ($)


       09/12/17                   Cascade Escrow                                Payment on Dean Note                                                              424,394.00                                2,902,103.24
                                  811 Willamette Street                         Settlement of litigation of Dean note pursuant to
                                  Eugene, OR 97401                              Trustee's Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding 15-06069 -
                                                                                Document #1559 - Filed 8/15/17 (Lawsuit v.
                                                                                James Paulsen Trust and Thomas Dean et,al,
                                                                                Adversary Proceeding #15-06069.)
                      19          CASCADE ESCROW                                    Memo Amount:             425,000.00                    1121-000
                                                                                Payment on Dean Note
                                  CASCADE ESCROW                                    Memo Amount:         (      606.00 )                   2500-000
                                                                                Escrow Closing Fee - 50%

       09/12/17       21          Michael A. Johnson                            Return of Preferential Transfer                            1241-000                    1,000.00                             2,903,103.24
                                                                                Settlement per Motion and Notice of Intent to Settle
                                                                                and Compromise Adversary Proceeding - Adv Pro
                                                                                Case No.14-06145. - Docket #12 - Filed 1/9/15..
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #760 - Filed 1/9/15.
                                                                                Payment on Deferred Judgment for Creditor Michael
                                                                                Johnson - Claim #263 - (Creditor still owes
                                                                                $3,794.52.

       09/28/17     004294        TRANSETH & ASSOCIATES, LLC                    Forensic Accounting Services                               3991-000                                            2,278.80     2,900,824.44
                                  818 SW 3rd AVENUE, #109                       Invoice #1436 - August 2017 - 80% of fees
                                  PORTLAND OR 97204                             Per Order Approving Payment of Norman Transeth
                                                                                & Associates, LLC Fees and Expenses - Document
                                                                                #556 - Filed 4/21/14.
                                                                                Trustee's Notice of Intent to Pay Forensic
                                                                                Accountant (August 2017 Invoice) - Document


       UST Form 101-7-TFR (5/1/2011) (Page: 313)
LFORM2T4                                                                                                                                                                                                          Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                              Page: 299
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                               3                                                4                                                    5                        6                  7
    Transaction    Check or                                                                                                            Uniform                                                       Account / CD
       Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                               1576 - filed 9/12/17.

       10/02/17       21          Michael A. Johnson                           Return of Preferential Transfer                         1241-000                   1,000.00                             2,901,824.44
                                                                               Settlement per Motion and Notice of Intent to Settle
                                                                               and Compromise Adversary Proceeding - Adv Pro
                                                                               Case No.14-06145. - Docket #12 - Filed 1/9/15..
                                                                               See Also Motion and Notice of Intent to Settle and
                                                                               Compromise Adversary Proceeding - Main case -
                                                                               Document #760 - Filed 1/9/15.

                                                                               Payment on Deferred Judgment for Creditor Michael
                                                                               Johnson - Claim #263 - (Creditor still owes
                                                                               $2,794.52).

       10/06/17     004295        THOMAS A. HUNTSBERGER, TRUSTEE               Interim Trustee Compensation                            2100-000                                       52,000.00        2,849,824.44
                                  870 W. CENTENNIAL BLVD                       Trustee Compensation
                                  SPRINGFIELD, OR 97477                        Per Application for Interim Compensation for TAH,
                                                                               Trustee - Document #1563 - Filed 8/23/17 and
                                                                               Order Allowing Interim Compensation - Docket
                                                                               #1581 - Filed 10/6/17..

       10/06/17     004296        TARLOW NAITO & SUMMERS, LLP                  Attorney to Trustee Fees-other Firm                     3210-000                                       81,276.80        2,768,547.64
                                  621 SW MORRISON                              Trustee's General Counsel
                                  SUITE 1225                                   Per Application for Interim Compensation for Brent
                                  PORTLAND, OR 97205                           G. Summers - Document #1565 - Filed 8/23/17 and
                                                                               Order Allowing Interim Compensation - Docket
                                                                               #1581 - Filed 10/6/17..

       10/06/17     004297        TARLOW NAITO & SUMMERS, LLP                  Attorney to Trustee Exp -other firm                     3220-000                                           8,924.32     2,759,623.32
                                  621 SW MORRISON                              Trustee's General Council Expenses
                                  SUITE 1225                                   Per Application for Interim Compensation for Brent


       UST Form 101-7-TFR (5/1/2011) (Page: 314)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                   Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                              Page: 300
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                     Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                  Bank Name:                         Union Bank
                                                                                                                                      Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                         Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                      Separate Bond (if applicable):


           1           2                                 3                                               4                                                        5                        6              7
    Transaction    Check or                                                                                                               Uniform                                                     Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                   Trans. Code         Deposits ($)         Disbursements ($)    Balance ($)
                                  PORTLAND, OR 97205                            G. Summers - Document #1565 - Filed 8/23/17 and
                                                                                Order Allowing Interim Compensation - Docket
                                                                                #1581 - Filed 10/6/17..

       10/23/17       21          Michael A. Johnson                            Return of Preferential Transfer                            1241-000                    1,000.00                         2,760,623.32
                                                                                Settlement per Motion and Notice of Intent to Settle
                                                                                and Compromise Adversary Proceeding - Adv Pro
                                                                                Case No.14-06145. - Docket #12 - Filed 1/9/15..
                                                                                See Also Motion and Notice of Intent to Settle and
                                                                                Compromise Adversary Proceeding - Main case -
                                                                                Document #760 - Filed 1/9/15.

                                                                                Payment on Deferred Judgment for Creditor Michael
                                                                                Johnson - Claim #263 - (Creditor still owes
                                                                                $1,794.52).

       10/30/17       14          CASCADE ESCROW                                pmt on note                                                1121-000               406,803.99                            3,167,427.31
                                  4750 Village Plaza Loop Suite 100             Per NOTICE OF INTENT TO Sell Property at
                                  Eugene, OR 97401                              Private Sale, CompensateReal Estate Broker, and/or
                                                                                Pay any Secured Creditor's Fees and Costs -
                                                                                Document #1568 - Filed 8/26/17.

                                                                                Payment on note secured by Trust Deed against
                                                                                Jasper Junction property in Springfield, Oregon.
                                                                                Seller is Jasper Junction, LLC pursuant to settlement
                                                                                with Max Jordan per Motion & Notice of Intent to
                                                                                Settle & Compromise - Document #514 - Filed
                                                                                2/24/14.

       10/30/17       14          Jasper Junction, LLC                          pmt on note                                                1121-000                    5,951.76                         3,173,379.07
                                                                                Final rents on Jasper Junction property pursuant to


       UST Form 101-7-TFR (5/1/2011) (Page: 315)
LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                      Case 12-63884-tmr7            Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                            Page: 301
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                               3                                                4                                                    5                        6                7
    Transaction    Check or                                                                                                            Uniform                                                     Account / CD
       Date        Reference                 Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                                                               settlement with Max Jordan per Motion & Notice of
                                                                               Intent to Settle & Compromise - Document #514 -
                                                                               Filed 2/24/14.

       11/20/17       21          Michael A. Johnson                           Return of Preferential Transfer                         1241-000                   1,000.00                           3,174,379.07
                                                                               Settlement per Motion and Notice of Intent to Settle
                                                                               and Compromise Adversary Proceeding - Adv Pro
                                                                               Case No.14-06145. - Docket #12 - Filed 1/9/15..
                                                                               See Also Motion and Notice of Intent to Settle and
                                                                               Compromise Adversary Proceeding - Main case -
                                                                               Document #760 - Filed 1/9/15.

                                                                               Payment on Deferred Judgment for Creditor Michael
                                                                               Johnson - Claim #263 - (Creditor still owes
                                                                               $794.52).

       11/20/17       21          Michael A. Johnson                           Return of Preferential Transfer                         1241-000                    794.52                            3,175,173.59
                                                                               Settlement per Motion and Notice of Intent to Settle
                                                                               and Compromise Adversary Proceeding - Adv Pro
                                                                               Case No.14-06145. - Docket #12 - Filed 1/9/15..
                                                                               See Also Motion and Notice of Intent to Settle and
                                                                               Compromise Adversary Proceeding - Main case -
                                                                               Document #760 - Filed 1/9/15.

                                                                               Payment on Deferred Judgment for Creditor Michael
                                                                               Johnson - Claim #263 - PAID IN FULL.

       12/04/17     004298        BHHC                                         Insurance on Veneta Property                            2420-000                                           275.00     3,174,898.59
                                  PO Box 77029                                 Account Number: 173238
                                  Minneapolis, MN 55480-7729                   Policy Number: 05PRMO42594-01
                                                                               Per Motion and Notice of Intent to Incur Expenses -


       UST Form 101-7-TFR (5/1/2011) (Page: 316)
LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                   Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                            Page: 302
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                    Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                 Bank Name:                       Union Bank
                                                                                                                                     Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                        Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                     Separate Bond (if applicable):


           1           2                                 3                                                4                                                      5                      6                7
    Transaction    Check or                                                                                                                Uniform                                                   Account / CD
       Date        Reference                  Paid To / Received From                        Description Of Transaction                   Trans. Code       Deposits ($)      Disbursements ($)       Balance ($)
                                                                                Document #1588 - Filed 11/01/17.

       01/03/18     004299        Kruger, David L & Karen E                     Claim #000379 - Payment 12.0%                              7100-000                                          40.74     3,174,857.85
                                  3175 Baber Ct. SE                             Replaces Check #4266 issued on 5/5/17 and not
                                  Salem, OR 97317                               cashed by claimants.

       01/05/18     004300        THOMAS A. HUNTSBERGER, TRUSTEE                Cost related w/securing property                           2420-000                                         268.00     3,174,589.85
                                  870 W. CENTENNIAL BLVD                        Reimbursement for insurance payment on Veneta 1
                                  SPRINGFIELD, OR 97477                         Property made by Trustee from his business
                                                                                account.
                                                                                Per Motion to Incur Expenses - Document #1588 -
                                                                                Filed 11/01/17.

       01/22/18                   Cascade Escrow                                Proceeds from sale of real estate                                                211,825.96                            3,386,415.81
                                  4750 Village Plaza Loop Suite 100             Per Notice of Intent to Sell Property at Private Sale -
                                  Eugene, OR 97401                              Document #1594 - Filed 12/6/17 and
                                                                                Trustee's Report of Sale - Document #1599 - Filed
                                                                                1/19/18.
                                                                                Address: 88160 Huston Road, Veneta, Oregon -
                                                                                Buyer: Agile Home Solutions LLC
                      18          CASCADE ESCROW                                    Memo Amount:              254,140.00                   1110-000
                                                                                Proceeds from sale of real estate
                                  CASCADE ESCROW                                    Memo Amount:               2,405.62                    2820-000
                                                                                Proration of Real Tax
                                  CASCADE ESCROW                                    Memo Amount:         (        57.00 )                  2500-000
                                                                                Record Quitclaim Deed
                                  CASCADE ESCROW                                    Memo Amount:         (        17.50 )                  2500-000
                                                                                Gov Lien/Inspection Fee - 50%
                                  CASCADE ESCROW                                    Memo Amount:         (       147.00 )                  2500-000
                                                                                Reconveyance/Handling Charge
                                  CASCADE ESCROW                                    Memo Amount:         (       482.50 )                  2500-000


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LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                      Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                            Page: 303
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                3                                                 4                                                    5                      6                  7
    Transaction    Check or                                                                                                             Uniform                                                      Account / CD
       Date        Reference                  Paid To / Received From                        Description Of Transaction                Trans. Code        Deposits ($)       Disbursements ($)        Balance ($)
                                                                                 Residential Escrow Closing Fee
                                  FRED REAL ESTATE GROUP                            Memo Amount:        (     7,624.20 )                3510-000
                                                                                 Real Estate Brokerage Fees
                                  REMAX INTEGRITY                                   Memo Amount:        (     7,624.20 )                3510-000
                                                                                 Real Estate Brokerage Fee
                                  LANE CO DEPT OF ASSESSMENT & TAXATI               Memo Amount:        (    18,117.76 )                2820-000
                                                                                 Tax A/C 1131927
                                  BAILEY HILL DENTAL PENSION PLAN                   Memo Amount:        (    10,649.50 )                2500-000
                                                                                 Reimbursement

       02/26/18       18          Berkshire Hathaway Homestate Ins Co.           Insurance Credit                                       1290-000                    207.00                             3,386,622.81
                                  1314 Douglas St.                               Refund of insurance paid.
                                  Suite 1400
                                  Omaha, NE 68102

       03/20/18     004301        DAVID REKDAHL, CPA                             Accountant to Trustee - Fees                           3410-000                                          1,292.00     3,385,330.81
                                  1288 Winery Lane                               Per Order for Compensation of Accountant -
                                  Eugene OR 97404                                Document #1608 - Filed 3/19/18.

       03/20/18     004302        DAVID REKDAHL, CPA                             Accountant to Trustee - Expenses                       3420-000                                            17.60      3,385,313.21
                                  1288 Winery Lane                               Per Order for Compensation of Accountant -
                                  Eugene OR 97404                                Document #1608 - Filed 3/19/18.

       03/23/18     004303        THOMAS A. HUNTSBERGER, TRUSTEE                 Pro-Rata Bond Premium                                  2300-000                                          1,079.24     3,384,233.97
                                  870 W. CENTENNIAL BLVD                         4/4/18 to 4/4/19
                                  SPRINGFIELD, OR 97477

       04/17/18       31          Campbell Commercial Real Estate                pmt on non-exempt asset                                1229-000               150,000.00                              3,534,233.97
                                  Bay Front Development Group LLC                Sale of one-third interest in Bayfront Development
                                  PO Box 10066                                   Group, LLC per Notice of Intent to Sell Property at
                                  Eugene, OR 97440                               Private Sale - Document #1609 - Filed 3/20/18.


       UST Form 101-7-TFR (5/1/2011) (Page: 318)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                    Case 12-63884-tmr7               Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                            Page: 304
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:          12-63884 -TMR                                                                                                  Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                               Bank Name:                         Union Bank
                                                                                                                                   Account Number / CD #:             2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1           2                                  3                                              4                                                     5                        6                7
    Transaction    Check or                                                                                                              Uniform                                                     Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                 Trans. Code       Deposits ($)         Disbursements ($)      Balance ($)


       04/17/18     004304        THOMAS A. HUNTSBERGER, TRUSTEE                 Other State or Local Taxes                              2820-000                                           150.00     3,534,083.97
                                  870 W. CENTENNIAL BLVD                         Reimbursement for state tax payment made by
                                  SPRINGFIELD, OR 97477                          Trustee from his business account.
                                                                                 Reimburse state tax advanced by trustee per Order
                                                                                 on Motion & Notice to Incur Expenses - Document
                                                                                 #1607 - Filed 3/19/18.

       08/24/18       32          State of Oregon                                Unclaimed Funds                                         1290-000                   5,273.90                           3,539,357.87
                                  Department of State Lands                      Trustee discovered unclaimed funds of the debtor
                                  775 Summer St. NE                              that had been forfeited to the Oregon Department of
                                  Salem, OR 97301                                State Lands (DSL). Funds were returned to the
                                                                                 trustee upon demand made to the DSL.

       10/01/18     004305        Shred-It USA                                   Document Destruction                                    2690-000                                           624.25     3,538,733.62
                                  28883 Network Place                            Invoice # 81255661661 - Customer #16736796
                                  Chicago, IL 60673-1288                         Per Order on Motion & Notice to Incur Expenses -
                                                                                 Document #1620 - Filed 7/2/18. (Shredding services
                                                                                 for destruction of 82 boxes of business records held
                                                                                 in storage in Troutdale, OR.)

       11/06/18       26          Liberty Mutual Insurance                       Insurance Settlement of Lawsuit                         1249-000              300,000.00                              3,838,733.62
                                  Attn: Anna Dire                                Per Motion to Settle and Compromise and Order
                                  55 Water Street, 23rd Floor                    and Notice Thereon - Document #1642 - Filed
                                  New York, NY 10041                             9/25/18.
                                                                                 Per Minute Order/Record of Proceeding Approving
                                                                                 Settlement after Withdrawal of Charlene Cox, et al
                                                                                 Objection - Document #1694 - Filed 10/25/18.

       12/11/18     004306        DAVID K. REKDAHL, CPA, PC                      Accountant to Trustee - Fees                            3410-000                                           744.00     3,837,989.62
                                  1288 WINERY LANE                               Preparation of 2018 tax returns. FINAL PAYMENT


       UST Form 101-7-TFR (5/1/2011) (Page: 319)
LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                FORM 2                                                                                           Page: 305
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                    Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                                  3                                            4                                                     5                      6                7
    Transaction    Check or                                                                                                          Uniform                                                     Account / CD
       Date        Reference                  Paid To / Received From                      Description Of Transaction               Trans. Code         Deposits ($)      Disbursements ($)       Balance ($)
                                  EUGENE, OR 97404                              Per Application for Final Accountant's
                                                                                Compensation and and Order for Compensation of
                                                                                Accountant - Document #1703 - Filed 12/11/18.

       12/11/18     004307        DAVID K. REKDAHL, CPA, PC                     Accountant to Trustee - Expenses                      3420-000                                           17.40     3,837,972.22
                                  1288 WINERY LANE                              Expenses for preparation of 2018 tax returns -
                                  EUGENE, OR 97404                              FINAL PAYMENT.
                                                                                Per Application for Final Accountant's
                                                                                Compensation and and Order for Compensation of
                                                                                Accountant - Document #1703 - Filed 12/11/18.

       03/12/19     004308        Tarlow Naito & Summers, LLP                   Attorney to Trustee - FINAL PAYMENT                                                                 501,285.17     3,336,687.05
                                  4380 SW Macadam Avenue                        Trustee's General Counsel
                                  Suite 515                                     FINAL FEES: $479,294.41 & FINAL EXPENSES -
                                  Portland, OR 97239                            $21,990.76
                                                                                Per Order on Stipulation Approving Final
                                                                                Applications for Professional Compensation and
                                                                                Authorizing Payment of Compensation - Document
                                                                                #1727 - Filed 3/11/19.
                                                                                Note: Allowed fees were reduced by $168 per
                                                                                Stipulated Order.
                                                                                        Fees               479,294.41                 3210-000
                                                                                        Expenses            21,990.76                 3220-000

       03/12/19     004309        Kent & Johnson, LLP                           Attorney to Trustee - FINAL PAYMENT                                                                 441,792.43     2,894,894.62
                                  205 SE Spokane Street                         Trustee's Special Counsel
                                  #300                                          FINAL FEES: $437,382.92 & FINAL EXPENSES:
                                  Portland, OR 97202                            $4,409.51
                                                                                Per Order on Stipulation Approving Final
                                                                                Applications for Professional Compensation and
                                                                                Authorizing Payment of Compensation - Document


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                    Case 12-63884-tmr7            Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                              Page: 306
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                       Union Bank
                                                                                                                                    Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1           2                                3                                               4                                                       5                      6                  7
    Transaction    Check or                                                                                                             Uniform                                                       Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)      Disbursements ($)         Balance ($)
                                                                                #1727 - Filed 3/11/19.
                                                                                Note: Balance due in fees shown on final
                                                                                application reduced by $10 in Stipulated Order to
                                                                                correct math error.
                                                                                        Fees                437,382.92                   3210-000
                                                                                        Expenses             4,409.51                    3220-000

       03/12/19     004310        David B. Mills                                Attorney to Trustee - FINAL PAYMENT                      3210-000                                      30,355.00        2,864,539.62
                                  Attorney at Law                               Ttustee's Special Counsel - FINAL FEES: $30,355
                                  5325 Yellow Sage Circle                       Per Order on Stipulation Approving Final
                                  Las Vegas, NV 89149                           Applications for Professional Compensation and
                                                                                Authorizing Payment of Compensation - Document
                                                                                #1727 - Filed 3/11/19.

       03/12/19     004311        Transeth & Associates, LLC                    Forensic Accounting - FINAL PAYMENT                      3991-000                                      95,796.95        2,768,742.67
                                  215 SW Washington Street                      Trustee's Forensic Accountant - FINAL FEES
                                  Suite 204                                     $95,796.95.
                                  Portland, OR 97204                            Per Order on Stipulation Approving Final
                                                                                Applications for Professional Compensation and
                                                                                Authorizing Payment of Compensation - Document
                                                                                #1727 - Filed 3/11/19.

       03/25/19     004312        THOMAS A. HUNTSBERGER, TRUSTEE                Pro-Rata Bond Premium                                    2300-000                                          1,290.39     2,767,452.28
                                  870 W. CENTENNIAL BLVD                        4/4/19 to 4/4/20
                                  SPRINGFIELD, OR 97477




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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                    Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                                Page: 307
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                       Exhibit B
  Case No:          12-63884 -TMR                                                                                                     Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                  Bank Name:                       Union Bank
                                                                                                                                      Account Number / CD #:           2131792828 CH 7 - UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                         Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                      Separate Bond (if applicable):


           1            2                             3                                                 4                                                         5                      6                  7
    Transaction     Check or                                                                                                              Uniform                                                      Account / CD
       Date         Reference              Paid To / Received From                          Description Of Transaction                   Trans. Code         Deposits ($)       Disbursements ($)       Balance ($)




                                                                       Account 2131792828                         Balance Forward                        0.00
                                                                                                            456            Deposits             19,610,101.61          1,358         Checks           16,931,445.50
                                                                                                              0   Interest Postings                      0.00             28 Adjustments Out              38,192.61
         Memo Allocation Receipts:         6,866,106.62                                                                                                                    2   Transfers Out           6,000,652.95
     Memo Allocation Disbursements:          220,390.74                                                                   Subtotal           $ 19,610,101.61
                                                                                                                                                                                         Total      $ 22,970,291.06
               Memo Allocation Net:        6,645,715.88                                                       0    Adjustments In                        0.00
                                                                                                              3      Transfers In                6,127,641.73

                                                                                                                             Total           $ 25,737,743.34




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LFORM2T4                                                                                                                                                                                                        Ver: 22.01b
                                                                 Case 12-63884-tmr7                Doc 1729              Filed 07/18/19
                                                                                                     FORM 2                                                                                         Page: 308
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131791838 UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                                 4                                                  5                      6                  7
    Transaction    Check or                                                                                                             Uniform                                                     Account / CD
       Date        Reference                   Paid To / Received From                         Description Of Transaction              Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                 0.00

       11/20/12       21          State of Oregon                                Return of Preferential Transfer                        1241-000               30,000.00                                    30,000.00
                                  Dept of Consumer & Business Services           Full payment made in response to demand letter sent
                                                                                 by trustee's attorney.

       12/18/12       17          Pacific Regency Care, LLC                      pmt on note                                            1121-000               15,382.00                                    45,382.00
                                  PO Box 1483
                                  Eugene, OR 97440

       12/26/12                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                           15.00            45,367.00

       01/07/13       22          The Law Offices of Keith Boyd                  Retainer refund                                        1241-000               24,404.41                                    69,771.41
                                  Lawyer Trust Account

       01/18/13     003001        DTI                                            Business Expense per Order                             6990-000                                         8,269.57           61,501.84
                                  PO Box 933435                                  1/17/13
                                  Atlanta, GA 31193-3435

       01/18/13     003002        Wayne Marney, SS#XXX-XX-XXXX                   Forensic Services                                      6700-000                                         2,429.98           59,071.86
                                  Sole Proprietor                                per Order 1/17/13
                                  DUNS #783659407
                                  3412 Douglas Drive
                                  Springfield, OR 97478

       01/18/13     003003        BulletPoint Consulting                         Consulting Fees                                        6700-000                                          189.00            58,882.86
                                  9020 Teetering Rock Ave                        per Order 1/17/13
                                  Las Vegas, NV 89143

       01/18/13     003004        Robyn M. Anderson                              Transcript Fee                                         6700-000                                         2,357.90           56,524.96
                                  Official Transcriber                           per Order 1/17/13


       UST Form 101-7-TFR (5/1/2011) (Page: 323)
LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                     Case 12-63884-tmr7               Doc 1729              Filed 07/18/19
                                                                                                   FORM 2                                                                                           Page: 309
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131791838 UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                  3                                               4                                                   5                      6                  7
    Transaction    Check or                                                                                                            Uniform                                                      Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction               Trans. Code        Deposits ($)      Disbursements ($)         Balance ($)
                                  3351 S.W. Redfern Place
                                  Gresham, OR 97080

       01/25/13                   Union Bank                                     BANK SERVICE FEE                                      2600-000                                            46.31            56,478.65

       02/12/13     003005        International Sureties, LTD                    Premium for Increased CH 11                           6990-000                                          3,070.00           53,408.65
                                  701 Poydras St., Suite 420                     Trustee Bond - Account #1000-900-1944
                                  New Orleans, LA 70139

       02/25/13                   Union Bank                                     BANK SERVICE FEE                                      2600-000                                            77.50            53,331.15

       03/25/13                   Union Bank                                     BANK SERVICE FEE                                      2600-000                                            74.33            53,256.82

       04/02/13                   AmeriTitle                                     real property sale                                                           664,181.40                                717,438.22
                                  Bend Main Branch                               Per Order Approving Sale Free and Clear of Liens -
                                  15 Oregon Avenue                               Document #311 - Filed 3/11/13.
                                  Bend, OR
                       2          AMERITITLE                                         Memo Amount:            715,000.00                1110-000
                                                                                 Proceeds from sale of real estate
                                  AMERITITLE                                         Memo Amount:              2,085.22                2820-000
                                                                                 Prorated prepetition taxes
                                  FRED REAL ESTATE                                   Memo Amount:         (    25,025.00 )             3510-000
                                                                                 Realtors commission
                                  C/21 GOLD COUNTRY REALTY, INC.                     Memo Amount:         (    17,875.00 )             3510-000
                                                                                 Realtors commission
                                  AMERITITLE                                         Memo Amount:         (     1,000.00 )             2500-000
                                                                                 Escrow Closing fee
                                  AMERITITLE                                         Memo Amount:         (      640.50 )              2500-000
                                                                                 Title Charges
                                  DESCHUTES COUNTY TAX COLLECTOR                     Memo Amount:         (     8,363.32 )             2820-000
                                                                                 Prorated property tax


       UST Form 101-7-TFR (5/1/2011) (Page: 324)
LFORM2T4                                                                                                                                                                                                    Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                  FORM 2                                                                                           Page: 310
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:           12-63884 -TMR                                                                                                Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                             Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131791838 UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1            2                                3                                               4                                                    5                      6                 7
     Transaction    Check or                                                                                                           Uniform                                                     Account / CD
        Date        Reference                  Paid To / Received From                       Description Of Transaction               Trans. Code        Deposits ($)      Disbursements ($)        Balance ($)


 *     04/04/13      003006       Alliance Insurance Group                       Insurance on Asset #3                                 2420-003                                          605.27        716,832.95
                                  641 Oak Street                                 3544 Sisters View, Eugene, Oregon
                                  Eugene, OR 97401                               Policy No: BG27092

 *     04/04/13      003006       Alliance Insurance Group                       Insurance on Asset #3                                 2420-003                                          -605.27       717,438.22
                                  641 Oak Street                                 typo re address on Ck #3006
                                  Eugene, OR 97401

       04/04/13      003007       Alliance Insurance Group                       Insurance on Asset #3                                 2420-000                                          605.27        716,832.95
                                  941 Oak Street                                 3544 Sisters View, Eugene, Oregon
                                  Eugene, OR 97401

       04/15/13                   First American Title Co of Oregon              Sale of real property                                                        133,920.05                               850,753.00
                                  600 Country Club Rd.                           Per Order Approving Sale Free and Clear of Liens -
                                  Eugene, OR 97401                               Document #312 - Filed 3/11/13.
                        3         FIRST AMERICAN TITLE COMPANY OF ORE                Memo Amount:            145,000.00                1110-000
                                                                                 Proceeds from sale of real estate
                                  FIRST AMERICAN TITLE COMPANY OF ORE                Memo Amount:               487.90                 2820-000
                                                                                 Proration of property tax
                                  WINDERMERE REAL ESTATE                             Memo Amount:         (     4,350.00 )             3510-000
                                                                                 Realtor Commission
                                  FRED REAL ESTATE GROUP                             Memo Amount:         (     4,350.00 )             3510-000
                                                                                 Realtor Commission
                                  AMERICAN TITLE COMPANY OF OREGON                   Memo Amount:         (      367.50 )              2500-000
                                                                                 Escrow/Closing Fees
                                  LANECOUNTY ASSESSMENT & TAXATION                   Memo Amount:         (     2,500.35 )             2820-000
                                                                                 Lane County Property Taxes

       04/25/13                   Union Bank                                     BANK SERVICE FEE                                      2600-000                                           79.24        850,673.76




        UST Form 101-7-TFR (5/1/2011) (Page: 325)
LFORM2T4                                                                                                                                                                                                   Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                  FORM 2                                                                                              Page: 311
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:           12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131791838 UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1            2                                3                                               4                                                     5                      6                   7
     Transaction    Check or                                                                                                            Uniform                                                       Account / CD
        Date        Reference                  Paid To / Received From                       Description Of Transaction                Trans. Code        Deposits ($)      Disbursements ($)          Balance ($)
 *     04/29/13      003008       DTI                                            Other operating expenses Ch 11                         6950-003                                          1,221.56        849,452.20
                                  708 SW 3rd Ave, Suite 200                      per Order dated 4/25/13 (Acct # 34405, Dated
                                  Portland, OR 97204                             4/3/13)

 *     04/29/13      003008       DTI                                            Other operating expenses Ch 11                         6950-003                                          -1,221.56       850,673.76
                                  708 SW 3rd Ave, Suite 200                      Issued to incorrect address
                                  Portland, OR 97204

       04/29/13      003009       DTI                                            Other Operating Expenses - Ch 11                       6990-000                                          1,221.56        849,452.20
                                  PO Box 933435                                  per Order dated 4/25/13 (Acct# 34405; statement
                                  Atlanta, GA 31193-3435                         dated 4/3/13)

       04/29/13      003010       BulletPoint Consulting                         Other Professional Fees (Ch. 11)                       6700-000                                            818.13        848,634.07
                                  9020 Teetering Rock Avenue                     paid per Order dated 4/25/13; Invoice # 13-100
                                  Las Vegas, NV 89143                            (date 1/16/2013); #13-155, 3/31/13); #13-121
                                                                                 (2/28/13).

       05/28/13                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                          1,063.92        847,570.15

       05/29/13      003011       DTI                                            Other Chapter 11 Admin Expenses                        6990-000                                            895.99        846,674.16
                                  PO Box 933435                                  Order dated 5/21/13 - document reproduction,
                                  Atlanta, GA 31193-3435                         printing and scanning; Invoice # 735926, 734613,
                                                                                 733075, 733011; Account No. 34405

       05/29/13      003012       DTI                                            Other Chapter 11 Admin Expenses                        6990-000                                          1,231.20        845,442.96
                                  PO Box 933435                                  Per Order 05/21/13 - court reporting - Fred Holcomb
                                  Atlanta, GA 31193-3435                         Rule 2004 exam - transcript and exhibits - Inovice
                                                                                 #736561; Customer ID 34405

       05/29/13      003013       StreamLine Imaging                             Chapter 11 Administrative Expenses                     6990-000                                          1,110.80        844,332.16
                                  919 SW Taylor Street 6th Floor                 Per Order 5/21/13 - Document processing - Jones


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LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                    FORM 2                                                                                              Page: 312
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                      THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                         Union Bank
                                                                                                                                    Account Number / CD #:             2131791838 UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):     $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1           2                                 3                                                 4                                                    5                        6                  7
    Transaction    Check or                                                                                                             Uniform                                                         Account / CD
       Date        Reference                   Paid To / Received From                        Description Of Transaction               Trans. Code         Deposits ($)         Disbursements ($)        Balance ($)
                                  Portland, OR 97205                              and Roth response to Rule 2004 subpoena - Invoice
                                                                                  # 12107

       05/29/13     003014        BulletPoint Consulting                          Chapter 11 Administrative Expenses                     6990-000                                            1,147.50       843,184.66
                                  9020 Teetering Rock Avenue                      per Order, 5/21/13. Building electronic database
                                  Las Vegas, NV 89143                             including processing discovery documents; Invoice
                                                                                  # 13-164

       05/29/13     003015        Pacific Continental Bank                        Other Chapter 11 Admin Expenses                        6990-000                                             927.00        842,257.66
                                  PO Box 10727                                    per Order 5/21/13. Records custodian time and
                                  Eugene, OR 97440-2727                           expenses for response to Rule 2004 Exam

       05/29/13     003016        Umpqua Bank                                     Other Chapter 11 Admin Expenses                        6990-000                                            1,182.00       841,075.66
                                  Attn: Legal Processing Dept/300-2-FID           per Order 5/21/13. Records custodian time and
                                  PO Box 23397                                    expenses for response to Rule 2004 exam. Reference
                                  Portland, OR 97223-6222                         # 13-067

       06/25/13                   Union Bank                                      BANK SERVICE FEE                                       2600-000                                            1,261.43       839,814.23

       07/01/13       20          First American Title Co. of Oregon              pmt on NR's/Eichler Sale                               1121-000               111,627.35                                  951,441.58
                                  775 NE Evans St.
                                  McMinnville, OR 97128

       07/08/13       23          Umpqua Bank                                     Robyn Anderson Transcript Fee                          1290-000                    1,178.95                               952,620.53
                                  PO Box 1820                                     Partial reimbursement for Robyn Anderson
                                  Roseburg, OR 97470                              transcript fee for 341(a) Meeting of Creditors.
                                                                                  deposition fee.

       07/25/13                   Union Bank                                      BANK SERVICE FEE                                       2600-000                                            1,210.45       951,410.08

       08/07/13     003017        Thomas A. Huntsberger, Trustee                  Interim Trustee Compensation                           6101-000                                        32,087.50          919,322.58


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LFORM2T4                                                                                                                                                                                                        Ver: 22.01b
                                                                       Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                          Page: 313
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:           12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131791838 UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1            2                               3                                               4                                                 5                      6                   7
     Transaction    Check or                                                                                                        Uniform                                                      Account / CD
        Date        Reference                 Paid To / Received From                      Description Of Transaction              Trans. Code       Deposits ($)      Disbursements ($)          Balance ($)
                                                                                Fees = $27,201.91 & Expenses = $4,885.59
                                                                                Per Order Allowing Interim Compensation -
                                                                                Document #423 - Filed 8/6/2013.

 *     08/07/13      003018       Thomas A. Huntsberger, Trustee                Interim Trustee Expense                             6101-003                                         4,882.59        914,439.99
                                                                                Reimbursement Per Order dated 8/6/13.
                                                                                This expense reimbursement was included in Check
                                                                                #3017.

 *     08/07/13      003018       Thomas A. Huntsberger, Trustee                Interim Professional Expense                        6101-003                                         -4,882.59       919,322.58

       08/07/13      003019       KRISTA H. LACIS                               Interim Professional Compensation                   6410-000                                         3,040.00        916,282.58
                                  4088 HAMPSHIRE LANE                           Per Order Allowing Interim Compensation -
                                  EUGENE, OR 97404                              Document #423 - Filed 8/6/2013.

       08/07/13      003020       TRANSETH & ASSOCIATES LLC                     Forensic Accounting Services                        6700-000                                     40,427.50           875,855.08
                                  818 SW 3rd AVENUE, #109                       Per Order Allowing Interim Compensation -
                                  PORTLAND, OR 97204                            Document #423 - Filed 8/6/2013.

       08/07/13      003021       DAVID B. MILLS                                Interim Professional Compensation                   6700-000                                     84,570.18           791,284.90
                                  ATTORNEY AT LAW                               Per Order Allowing Interim Compensation -
                                  115 W. 8th AVENUE #246                        Document #423 - Filed 8/6/2013.
                                  EUGENE, OR 97401

 *     08/07/13      003022       DAVID B. MILLS                                Interim Professional Expense                        6700-003                                         2,140.37        789,144.53
                                  ATTORNEY AT LAW                               Reimbursement Per Order dated 8/6/13.
                                  115 W. 8th AVENUE #246
                                  EUGENE, OR 97401

 *     08/07/13      003022       DAVID B. MILLS                                Interim Professional Expense                        6700-003                                         -2,140.37       791,284.90
                                  ATTORNEY AT LAW


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LFORM2T4                                                                                                                                                                                                 Ver: 22.01b
                                                                    Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                               FORM 2                                                                                           Page: 314
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:           12-63884 -TMR                                                                                            Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                         Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           2131791838 UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                 Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                              Separate Bond (if applicable):


           1            2                             3                                               4                                                   5                      6                  7
     Transaction    Check or                                                                                                        Uniform                                                     Account / CD
        Date        Reference               Paid To / Received From                      Description Of Transaction                Trans. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                  115 W. 8th AVENUE #246
                                  EUGENE, OR 97401

       08/07/13      003023       WILSON C. MUHLHELM                          Interim Payment on Final                              6210-000                                     12,202.20          779,082.70
                                  LUVASS COBB                                 Compensation For Special Counsel for DIP - Claim
                                  777 HIGH STREET #300                        #241
                                  EUGENE, OR 97401                            Per Order Allowing Interim Compensation -
                                                                              Document #423 - Filed 8/6/2013.

 *     08/07/13      003024       WILSON C. MUHLHEIM                          Interim Payment on Final Expenses                     6710-003                                          271.91        778,810.79
                                  LUVASS COBB                                 For Special Counsel for DIP - Claim #241
                                  777 HIGH STREET #300
                                  EUGENE, OR 97401

 *     08/07/13      003024       WILSON C. MUHLHEIM                          Interim Payment on Final Expenses                     6710-003                                         -271.91        779,082.70
                                  LUVASS COBB
                                  777 HIGH STREET #300
                                  EUGENE, OR 97401

       08/07/13      003025       WILSON C. MUHLHEIM                          Interim Payment on Final                              6700-000                                         5,852.50       773,230.20
                                  LUVASS COBB                                 Compensation For Special Counsel for Ch 11
                                  777 HIGH STREET #300                        Trustee - Claim #242
                                  EUGENE, OR 97401                            Per Order Allowing Interim Compensation -
                                                                              Document #423 - Filed 8/6/2013.

 *     08/07/13      003026       WILSON C. MUHLHEIM                          Interim Payment on Final Expenses                     6710-003                                          795.00        772,435.20
                                  LUVASS COBB                                 For Special Counsel for Ch 11 Trustee - Claim #242
                                  777 HIGH STREET #300                        per Order dated 8/6/13.
                                  EUGENE, OR 97401

 *     08/07/13      003026       WILSON C. MUHLHEIM                          Interim Payment on Final Expenses                     6710-003                                         -795.00        773,230.20


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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
                                                                  Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                FORM 2                                                                                        Page: 315
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:          12-63884 -TMR                                                                                           Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                        Bank Name:                       Union Bank
                                                                                                                            Account Number / CD #:           2131791838 UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                               Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                            Separate Bond (if applicable):


           1           2                              3                                              4                                                  5                      6                  7
    Transaction    Check or                                                                                                     Uniform                                                       Account / CD
       Date        Reference                Paid To / Received From                      Description Of Transaction            Trans. Code         Deposits ($)       Disbursements ($)        Balance ($)
                                  LUVASS COBB
                                  777 HIGH STREET #300
                                  EUGENE, OR 97401

       08/21/13       23          STEWART SOKOL & GRAY LLC                    Reimbursement of Misc. Expenses                    1290-000                    275.00                               773,505.20
                                  2300 SW FIRST AVE. SUITE 200                Document production costs for Unpqua Bank
                                  PORTLAND, OR 97201                          records request.

       08/22/13     003027        THOMAS A. HUNTSBERGER, TRUSTEE              Interim Trustee Compensation                       6101-000                                           962.62        772,542.58
                                  THOMAS A. HUNTSBERGER, P.C.                 Per Order Allowing Interim Compensation -
                                  870 W. CENTENNIAL BLVD.                     Document #441 - Filed 8/21/2013.
                                  SPRINGFIELD, OR 97477

       08/22/13     003028        BULLIVANT HOUSER BAILEY, P.C.               Interim Professional Compensation                                                                310,602.29         461,940.29
                                  888 SW FIFTH AVENUE                         Per Order Allowing Interim Compensation -
                                  SUITE 300                                   Document #441 - Filed 8/21/2013.
                                  PORTLAND, OR 97204
                                                                                     Fees                305,962.40              6110-000
                                                                                     Expenses             4,639.89               6120-000

       08/22/13     003029        KRISTA H. LACIS                             Interim Professional Compensation                  6410-000                                            91.20        461,849.09
                                  4088 HAMPSHIRE LANE                         Per Order Allowing Interim Compensation -
                                  EUGENE, OR 97404                            Document #441 - Filed 8/21/2013.

       08/22/13     003030        TRANSETH & ASSOCIATES LLC                   Forensic Accounting Services                       6700-000                                          1,212.82       460,636.27
                                  818 SW 3rd AVENUE, #109                     Per Order Allowing Interim Compensation -
                                  PORTLAND, OR 97204                          Document #441 - Filed 8/21/2013.

       08/22/13     003031        DAVID B. MILLS                              Interim Professional Compensation                  6700-000                                          2,537.10       458,099.17
                                  ATTORNEY AT LAW                             Per Order Allowing Interim Compensation -
                                  115 W. 8TH AVENUE #246                      Document #441 - Filed 8/21/2013.


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LFORM2T4                                                                                                                                                                                              Ver: 22.01b
                                                                  Case 12-63884-tmr7             Doc 1729             Filed 07/18/19
                                                                                                   FORM 2                                                                                              Page: 316
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:           12-63884 -TMR                                                                                                  Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                               Bank Name:                       Union Bank
                                                                                                                                    Account Number / CD #:           2131791838 UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1            2                                3                                               4                                                      5                      6                   7
     Transaction    Check or                                                                                                            Uniform                                                        Account / CD
        Date        Reference                  Paid To / Received From                       Description Of Transaction                Trans. Code         Deposits ($)      Disbursements ($)          Balance ($)
                                  EUGENE, OR 97401

       08/22/13      003032       WILSON C. MUHLHEIM                             Interim Payment on Final                                6210-000                                            366.06        457,733.11
                                  LUVASS COBB                                    Compensation for Special Counsel for DIP - Claim
                                  777 HIGH STREET #300                           #241
                                  EUGENE, OR 97401                               Per Order Allowing Interim Compensation -
                                                                                 Document #441 - Filed 8/21/2013.

       08/22/13      003033       WILSON C. MUHLHEIM                             Interim Payment on Final                                6700-000                                            175.57        457,557.54
                                  LUVASS COBB                                    Compensation for Special Counsel for Ch 11
                                  777 HIGH STREET #300                           Trustee - Claim #242
                                  EUGENE, OR 97401                               Per Order Allowing Interim Compensation -
                                                                                 Document #441 - Filed 8/21/2013.

       08/26/13                   Union Bank                                     BANK SERVICE FEE                                        2600-000                                          1,409.67        456,147.87

       08/28/13      003034       Teising Business Valuations                    Opinion letter for valuation of                         6700-000                                          1,000.00        455,147.87
                                  1941 Lincoln St.                               Berjac of Oregon and Berjac of Portland - per Order
                                  Eugene, OR 97405                               8/26/13

 *     08/28/13      003035       CC Reporting & Videoconferencing               Per Order 8/26/13:                                      6990-003                                          1,114.58        454,033.29
                                  172 E. 8th Avenue                              Transcript cost for William Kottas = $482.30;
                                  Eugene, OR 97401                               Appearance fee for Michael Curtis = $360.18;
                                                                                 Transcript cost for Mike Curtis = $272.10

       08/28/13      003036       First American Title Company of Oregon         Foreclosure Guarantee Report for                        6990-000                                          2,100.00        451,933.29
                                  825 NE Evans Street                            VJ2 Development - per Order 8/26/13
                                  McMinnville, OR 97128

 *     09/03/13      003035       CC Reporting & Videoconferencing               Per Order 8/26/13:                                      6990-003                                          -1,114.58       453,047.87
                                  172 E. 8th Avenue                              CC Reporting advised they were paid by Bullivant


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LFORM2T4                                                                                                                                                                                                       Ver: 22.01b
                                                                     Case 12-63884-tmr7             Doc 1729              Filed 07/18/19
                                                                                                   FORM 2                                                                                            Page: 317
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit B
  Case No:           12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                   Account Number / CD #:           2131791838 UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                      Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                   Separate Bond (if applicable):


           1            2                                3                                                4                                                    5                      6                  7
     Transaction    Check or                                                                                                           Uniform                                                       Account / CD
        Date        Reference                  Paid To / Received From                       Description Of Transaction               Trans. Code         Deposits ($)       Disbursements ($)        Balance ($)
                                  Eugene, OR 97401                               Houser et al - VOIDED check #3035 and issued
                                                                                 check to Bullivant Houser

       09/03/13      003037       Bullivant Houser Bailey, P.C.                  Reimbursement for payment of                           6990-000                                          1,114.58       451,933.29
                                  Attorneys at Law                               CC Reporting: Transcript cost for:
                                  888 SW 5th Avenue, Suite 300                   William Kottas = $482.30
                                  Portland, OR 97204                             Appearance fee for Michael Curtis = $360.18
                                                                                 Transcript cost for Mike Curtis = $272.10
                                                                                 Per Order Authorizing Trustee's Payment of
                                                                                 Expenses - Document #447 - Filed 8/26/13.
                                                                                 Bullivant Houser firm paid transcript costs for
                                                                                 William Kottas & Appearance fee for Michael
                                                                                 Curtis.

       09/25/13                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                          1,164.28       450,769.01

       10/03/13      003038       Berjac of Oregon                               Funds from Chapter 11 to Chapter 7                     9999-000                                      450,769.01                 0.00
                                  Chapter 7                                      10/2/13 Order of Conversion

 *     10/25/13                   Union Bank                                     BANK SERVICE FEE                                       2600-003                                           652.95             -652.95

       10/29/13                   Transfer from Acct #2131792828                 TRANSFER TO COVER BANK FEES                            9999-000                    652.95                                       0.00

 *     11/01/13                   Reverses Adjustment OUT on 10/25/13            BANK SERVICE FEE                                       2600-003                                          -652.95              652.95

       11/01/13                   Transfer to Acct #2131792828                   Bank Funds Transfer                                    9999-000                                           652.95                0.00




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LFORM2T4                                                                                                                                                                                                     Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                                 Page: 318
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                       Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                       Union Bank
                                                                                                                                    Account Number / CD #:           2131791838 UBOC-GENERAL CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1            2                            3                                                  4                                                       5                       6                   7
    Transaction     Check or                                                                                                            Uniform                                                         Account / CD
       Date         Reference              Paid To / Received From                          Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)        Balance ($)




                                                                       Account 2131791838                       Balance Forward                        0.00
                                                                                                            8            Deposits                980,969.16               44         Checks              523,798.02
                                                                                                            0   Interest Postings                      0.00               12 Adjustments Out               6,402.13
         Memo Allocation Receipts:          862,573.12                                                                                                                     2   Transfers Out             451,421.96
     Memo Allocation Disbursements:          64,471.67                                                                   Subtotal           $    980,969.16
                                                                                                                                                                                       Total        $    981,622.11
               Memo Allocation Net:         798,101.45                                                      0    Adjustments In                        0.00
                                                                                                            1      Transfers In                      652.95

                                                                                                                           Total            $    981,622.11




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LFORM2T4                                                                                                                                                                                                        Ver: 22.01b
                                                                 Case 12-63884-tmr7                Doc 1729              Filed 07/18/19
                                                                                                   FORM 2                                                                                         Page: 319
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit B
  Case No:          12-63884 -TMR                                                                                                 Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                              Bank Name:                       Union Bank
                                                                                                                                  Account Number / CD #:           2131792570 CURTIS RESTAURANT - NEGUS
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                     Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                  Separate Bond (if applicable):


           1           2                                 3                                               4                                                    5                      6                7
    Transaction    Check or                                                                                                             Uniform                                                   Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                Trans. Code       Deposits ($)      Disbursements ($)       Balance ($)
                                                                                 BALANCE FORWARD                                                                                                              0.00

       06/03/13                   AmeriTitle                                     Proceeds from sale of real estate                                            131,078.54                              131,078.54
                                  15 Oregon Avenue                               Per Order Approving Sale Free and Clear of Liens -
                                  Bend, OR 97701                                 Document #355 - Filed 5/10/13.
                       1          AMERITITLE                                         Memo Amount:            160,000.00                 1110-000
                                                                                 Proceeds from sale of real estate
                                  DESCHUTES COUNTY TAX                               Memo Amount:               311.59                  2820-000
                                                                                 Proration of Property Tax
                                  FRED REAL ESTATE GROUP                             Memo Amount:         (     4,800.00 )              3510-000
                                                                                 Realtor for Trustee Fees
                                  RIVERS EDGE REAL ESTATE GROUP                      Memo Amount:         (     4,800.00 )              3510-000
                                                                                 Realtor for Trustee Fees
                                  AMERITITLE                                         Memo Amount:         (      400.00 )               2500-000
                                                                                 Escrow Closing Fees
                                  AMERITITLE                                         Memo Amount:         (      963.00 )               2500-000
                                                                                 Title Charges, misc. closing costs
                                  DESCHUTES COUNTY TAX COLLECTOR                     Memo Amount:         (     3,742.40 )              2820-000
                                                                                 Prorated Taxes
                                  DESCHUTES COUNTY TAX COLLECTOR                     Memo Amount:         (    14,527.65 )              2820-000
                                                                                 Tax - Disqualified Amount Due

       07/25/13                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                         169.68       130,908.86

       08/26/13                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                         194.76       130,714.10

       09/25/13                   Union Bank                                     BANK SERVICE FEE                                       2600-000                                         194.51       130,519.59

       10/03/13     003001        Berjac of Oregon                               Funds from Chapter 11 to Chapter 7                     9999-000                                     130,519.59               0.00
                                  Chapter 7                                      10/2/13 Order of Conversion - for deposit in Curtis
                                                                                 Restuarant account


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LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                     FORM 2                                                                                                  Page: 320
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                        Exhibit B
  Case No:           12-63884 -TMR                                                                                                      Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:         BERJAC OF OREGON                                                                                                   Bank Name:                       Union Bank
                                                                                                                                        Account Number / CD #:           2131792570 CURTIS RESTAURANT - NEGUS
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                           Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                        Separate Bond (if applicable):


           1            2                                3                                                  4                                                       5                      6                     7
     Transaction    Check or                                                                                                                Uniform                                                          Account / CD
        Date        Reference                  Paid To / Received From                          Description Of Transaction                 Trans. Code         Deposits ($)        Disbursements ($)          Balance ($)


 *     10/25/13                   Union Bank                                        BANK SERVICE FEE                                         2600-003                                          187.96                 -187.96

       10/29/13                   Transfer from Acct #2131792836                    TRANSFER - TO COVER BANK FEE                             9999-000                    187.96                                          0.00

 *     11/01/13                   Reverses Adjustment OUT on 10/25/13               BANK SERVICE FEE                                         2600-003                                          -187.96                 187.96

       11/01/13                   Transfer to Acct #2131792836                      Bank Funds Transfer                                      9999-000                                          187.96                    0.00




                                                                           Account 2131792570                       Balance Forward                        0.00
                                                                                                                1            Deposits                131,078.54               0         Checks                      0.00
                                                                                                                0   Interest Postings                      0.00               5 Adjustments Out                   558.95
         Memo Allocation Receipts:              160,311.59                                                                                                                    2   Transfers Out               130,707.55
     Memo Allocation Disbursements:              29,233.05                                                                   Subtotal           $    131,078.54
                                                                                                                                                                                           Total         $    131,266.50
               Memo Allocation Net:             131,078.54                                                      0    Adjustments In                        0.00
                                                                                                                1      Transfers In                      187.96

                                                                                                                               Total            $    131,266.50




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LFORM2T4                                                                                                                                                                                                             Ver: 22.01b
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                                                                                                    FORM 2                                                                                      Page: 321
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit B
  Case No:          12-63884 -TMR                                                                                               Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                            Bank Name:                       Union Bank
                                                                                                                                Account Number / CD #:           2131792836 CURTIS CH 7-UBOC-GENERAL
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                   Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                Separate Bond (if applicable):


           1           2                                 3                                               4                                                  5                      6                7
    Transaction    Check or                                                                                                         Uniform                                                     Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction            Trans. Code         Deposits ($)       Disbursements ($)      Balance ($)
                                                                                 BALANCE FORWARD                                                                                                            0.00

       10/04/13                   BERJAC OF OREGON                               Other receipts                                      1290-000               130,519.59                              130,519.59
                                  CURTIS RESTAURANT
                                  CHECKING ACCOUNT 2131792570

       10/25/13        1          AmeriTitle                                     real property - tax reimbursement                   1110-000                     60.06                             130,579.65
                                  Bend Main Branch
                                  15 Oregon Ave.
                                  Bend, OR 97701

       10/28/13                   Union Bank                                     Bank Service Fee                                    2600-000                                          187.96       130,391.69

       10/29/13                   Transfer to Acct #2131792570                   TRANSFER - TO COVER BANK FEE                        9999-000                                          187.96       130,203.73

       11/01/13                   Transfer from Acct #2131792570                 Bank Funds Transfer                                 9999-000                    187.96                             130,391.69

       11/25/13                   Union Bank                                     BANK SERVICE FEE                                    2600-000                                          156.36       130,235.33

       12/26/13                   Union Bank                                     BANK SERVICE FEE                                    2600-000                                          187.50       130,047.83

       01/27/14                   Union Bank                                     BANK SERVICE FEE                                    2600-000                                          193.51       129,854.32

       02/25/14                   Union Bank                                     BANK SERVICE FEE                                    2600-000                                          193.24       129,661.08

       03/25/14                   Union Bank                                     BANK SERVICE FEE                                    2600-000                                          174.29       129,486.79

       04/25/14                   Union Bank                                     BANK SERVICE FEE                                    2600-000                                          192.66       129,294.13

       05/27/14                   Union Bank                                     BANK SERVICE FEE                                    2600-000                                          186.19       129,107.94




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LFORM2T4                                                                                                                                                                                                Ver: 22.01b
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                                                                                                   FORM 2                                                                                             Page: 322
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:          12-63884 -TMR                                                                                                     Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                  Bank Name:                       Union Bank
                                                                                                                                      Account Number / CD #:           2131792836 CURTIS CH 7-UBOC-GENERAL
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                         Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                      Separate Bond (if applicable):


           1           2                                 3                                               4                                                        5                      6                7
    Transaction    Check or                                                                                                               Uniform                                                     Account / CD
       Date        Reference                   Paid To / Received From                       Description Of Transaction                  Trans. Code         Deposits ($)      Disbursements ($)       Balance ($)
       06/25/14                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          192.13       128,915.81

       07/25/14                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          185.65       128,730.16

       08/25/14                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          191.54       128,538.62

       09/25/14                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          191.27       128,347.35

       10/27/14                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          184.83       128,162.52

       11/25/14                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          190.72       127,971.80

       12/26/14                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          184.29       127,787.51

       01/26/15                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          190.15       127,597.36

       02/25/15                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          189.88       127,407.48

       03/25/15                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                           97.86       127,309.62

       04/27/15                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          108.19       127,201.43

       05/26/15                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          104.63       127,096.80

       06/25/15                   Union Bank                                     BANK SERVICE FEE                                          2600-000                                          108.02       126,988.78

       07/13/15                   Transfer to Acct #2131792828                   Bank Funds Transfer                                       9999-000                                      126,988.78               0.00
                                                                                 Transfer is from money held in Curtis Settlement
                                                                                 Checking Account. This account is now closed
                                                                                 pursurant to Curtis Preference/Fraudulent Transfer
                                                                                 Settlement Notice - Document #76 AP Case No.


       UST Form 101-7-TFR (5/1/2011) (Page: 337)
LFORM2T4                                                                                                                                                                                                      Ver: 22.01b
                                                                     Case 12-63884-tmr7              Doc 1729             Filed 07/18/19
                                                                                                 FORM 2                                                                                                 Page: 323
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                       Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                       Union Bank
                                                                                                                                    Account Number / CD #:           2131792836 CURTIS CH 7-UBOC-GENERAL
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1            2                             3                                                 4                                                       5                       6                   7
    Transaction     Check or                                                                                                            Uniform                                                         Account / CD
       Date         Reference              Paid To / Received From                          Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)        Balance ($)
                                                                                12-06189.




                                                                       Account 2131792836                       Balance Forward                        0.00
                                                                                                            2            Deposits                130,579.65                0         Checks                    0.00
                                                                                                            0   Interest Postings                      0.00               21 Adjustments Out               3,590.87
         Memo Allocation Receipts:                 0.00                                                                                                                    2   Transfers Out             127,176.74
     Memo Allocation Disbursements:                0.00                                                                  Subtotal           $    130,579.65
                                                                                                                                                                                       Total        $    130,767.61
               Memo Allocation Net:                0.00                                                     0    Adjustments In                        0.00
                                                                                                            1      Transfers In                      187.96

                                                                                                                           Total            $    130,767.61




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LFORM2T4                                                                                                                                                                                                        Ver: 22.01b
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                                                                                                   FORM 2                                                                                         Page: 324
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:          12-63884 -TMR                                                                                                   Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:        BERJAC OF OREGON                                                                                                Bank Name:                       Union Bank
                                                                                                                                    Account Number / CD #:           2131793693 UBOC-MONEY MARKET
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                       Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                    Separate Bond (if applicable):


           1           2                                3                                                 4                                                     5                      6              7
    Transaction    Check or                                                                                                               Uniform                                                 Account / CD
       Date        Reference                  Paid To / Received From                       Description Of Transaction                   Trans. Code       Deposits ($)      Disbursements ($)     Balance ($)
                                                                                BALANCE FORWARD                                                                                                               0.00

       01/22/16                   Transfer from Acct #2131792828                Bank Funds Transfer                                       9999-000            6,000,000.00                          6,000,000.00
                                                                                Runa Kargupta from Union Bank initially informed
                                                                                Trustee that bank would provide interest on a MM
                                                                                account for this large deposit. She later learned that
                                                                                the bank would also charge their normal service
                                                                                charge on this account which is more than the
                                                                                interest. Ms Kargupta advised Trustee to transfer
                                                                                the money back to the checking account and close
                                                                                the MM account. She then arranged with Union
                                                                                Bank for a special service charge of $3,000/month
                                                                                on the checking account while the $6,000,000 is in
                                                                                the account. Once that money is distributed, the
                                                                                checking account service charge will be 1% which
                                                                                is lower than the 1.5% charged in other trustee
                                                                                accounts.

       02/01/16                   Transfer to Acct #2131792828                  Bank Funds Transfer                                       9999-000                                 6,000,000.00               0.00
                                                                                Runa Kargupta from Union Bank initially informed
                                                                                Trustee that bank would provide interest on a MM
                                                                                account for this large deposit. She later learned that
                                                                                the bank would also charge their normal service
                                                                                charge on this account which is more than the
                                                                                interest. Ms Kargupta advised Trustee to transfer
                                                                                the money back to the checking account and close
                                                                                the MM account. She then arranged with Union
                                                                                Bank for a special service charge of $3,000/month
                                                                                on the checking account while the $6,000,000 is in
                                                                                the account. Once that money is distributed, the
                                                                                checking account service charge will be 1% which


       UST Form 101-7-TFR (5/1/2011) (Page: 339)
LFORM2T4                                                                                                                                                                                                  Ver: 22.01b
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                                                                                                  FORM 2                                                                                                    Page: 325
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                           Exhibit B
  Case No:            12-63884 -TMR                                                                                                    Trustee Name:                    THOMAS A. HUNTSBERGER, TRUSTEE
  Case Name:          BERJAC OF OREGON                                                                                                 Bank Name:                       Union Bank
                                                                                                                                       Account Number / CD #:           2131793693 UBOC-MONEY MARKET
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 07/01/19                                                                                                          Blanket Bond (per case limit):   $ 59,128,572.00
                                                                                                                                       Separate Bond (if applicable):


           1              2                           3                                                  4                                                         5                      6                     7
    Transaction       Check or                                                                                                             Uniform                                                          Account / CD
       Date           Reference            Paid To / Received From                          Description Of Transaction                    Trans. Code         Deposits ($)        Disbursements ($)          Balance ($)
                                                                                is lower than the 1.5% charged in other trustee
                                                                                accounts.




                                                                       Account 2131793693                          Balance Forward                         0.00
                                                                                                              0             Deposits                       0.00              0         Checks                       0.00
                                                                                                              0    Interest Postings                       0.00              0 Adjustments Out                      0.00
         Memo Allocation Receipts:                 0.00                                                                                                                      1   Transfers Out              6,000,000.00
     Memo Allocation Disbursements:                0.00                                                                    Subtotal                $       0.00
                                                                                                                                                                                          Total       $     6,000,000.00
                Memo Allocation Net:               0.00                                                       0     Adjustments In                         0.00
                                                                                                              1       Transfers In                 6,000,000.00

                                                                                                                              Total           $    6,000,000.00



                                                                       Report Totals                               Balance Forward                         0.00
                                                                                                             467            Deposits              20,852,728.96         1,402         Checks               17,455,243.52
           Total Allocation Receipts:     7,888,991.33                                                         0   Interest Postings                       0.00            66 Adjustments Out                  48,744.56
     Total Allocation Disbursements:        314,095.46
                                                                                                                                                                            9   Transfers Out              12,709,959.20
                                                                                                                           Subtotal           $ 20,852,728.96
           Total Memo Allocation Net:     7,574,895.87
                                                                                                                                                                                           Total      $ 30,213,947.28
                                                                                                               0    Adjustments In                         0.00
                                                                                                               7      Transfers In                12,128,670.60

                                                                                                                              Total           $ 32,981,399.56                  Net Total Balance       $    2,767,452.28




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LFORM2T4                                                                                                                                                                                                            Ver: 22.01b
                                                                 Case 12-63884-tmr7                 Doc 1729              Filed 07/18/19
                                                                         EXHIBIT C
 Page 1                                                                                                                                                 Date: July 01, 2019
                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                              Amount Allowed               Paid to Date         Claim Balance

BOND           THOMAS A. HUNTSBERGER,                 Administrative                                                $5,627.55             $5,627.55                   $0.00
999            TRUSTEE                                  Pro-Rata Bond Premium
2300-00        870 W. CENTENNIAL BLVD
               SPRINGFIELD, OR 97477
                                                                                       2131792828        03/10/14     3003                    752.84
                                                                                       2131792828        03/18/15     3070                  1,009.63
                                                                                       2131792828        04/04/16     3864                    898.94
                                                                                       2131792828        03/24/17     3903                    596.51
                                                                                       2131792828        03/23/18     4303                  1,079.24
                                                                                       2131792828        03/25/19     4312                  1,290.39


000438         RONALD R. STICKA                       Administrative                                               $7,350.00              $7,350.00                   $0.00
999            P.O. Box 11038                           Expert Witness Fee
2990-00        Eugene, OR 97440                         Claim #438 - Ch 7 Administrative Claim Paid in Full per Notice Document #1482.
                                                        Expert Witness Fee for Bullivant Settlement Litigation as per Motion and Notice of Intent to Incur
                                                        Expenses - Document #1482 - Filed 1/31/17.


                                                                                       2131792828        02/23/17     3902                  7,350.00


000427         Bullivant Houser Bailey PC             Administrative                                            $345,249.59            $345,249.59                    $0.00
001            888 SW Fifth Avenue                      1) Per Notice of Intent for Interim Compensation of Professionals - Document #727 - Filed
3210-00        Suite 300                                11/21/14 and Order Allowing Interim Compensation - Document #753 - Filed 12/22/14.
               Portland, OR 97204                       2) Per Motion and Notice of Intent to Settle and Compromise - Document #1158 - Filed 11/16/15
                                                        and Order RE: Settlement, Employment, and Fees - Document #1549. - Filed 6/14/17.


                                                                                       2131792828        12/23/14     3047               275,195.52
                                                                                       2131792828        12/23/14     3048                 1,255.19
                                                                                       2131792828        06/30/17     4291                68,798.88
000439         Tarlow Naito & Summers, LLP            Administrative                                         $1,952,704.22         $1,952,704.22                      $0.00
001            4380 SW Macadam Avenue                   Per Order on Stipulation Approving Final Applications for Professional Compensation and
3210-00        Suite 515                                Authorizing Payment of Compensation - Document #1727 - Filed 3/11/19.
               Portland, OR 97239
                                                        Note: Allowed fees were reduced by $168 per Stipulated Order.

                                                        ***SEE DOCUMENT NUMBERS AND FILING DATES FOR EARLIER PAYMENTS ON
                                                        FORM 2


                                                                                       2131792828        09/29/14     3026                15,750.00
                                                                                       2131792828        09/29/14     3027                   804.00
                                                                                       2131792828        12/23/14     3040                 1,785.01
                                                                                       2131792828        12/23/14     3041               138,641.20
                                                                                       2131792828        01/07/15     3054               138,641.20
                                                                                       2131792828        01/07/15     3055                 1,785.01
                                                                                       2131792828        05/19/15     3086               214,244.40
                                                                                       2131792828        05/19/15     3087                14,627.14
                                                                                       2131792828        11/06/15     3475               268,226.80
                                                                                       2131792828        11/06/15     3476                12,020.78
                                                                                       2131792828        03/23/16     3860               173,299.60



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                                            Case 12-63884-tmr7                   Doc 1729            Filed 07/18/19
                                                                         EXHIBIT C
 Page 2                                                                                                                                            Date: July 01, 2019
                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                            Amount Allowed             Paid to Date       Claim Balance


                                                                                     2131792828       03/23/16    3861                5,190.69
                                                                                     2131792828       10/17/16    3887              135,238.00
                                                                                     2131792828       10/17/16    3888                9,384.05
                                                                                     2131792828       04/11/17    3909              214,095.60
                                                                                     2131792828       04/11/17    3910               17,484.45
                                                                                     2131792828       10/06/17    4296               81,276.80
                                                                                     2131792828       10/06/17    4297                8,924.32
                                                                                     2131792828       03/12/19    4308              501,285.17
000440         Kent & Johnson, LLP                    Administrative                                         $1,792,877.68         $1,792,877.68                 $0.00
001            205 SE Spokane Street                    Per Order on Stipulation Approving Final Applications for Professional Compensation and
3210-00        #300                                     Authorizing Payment of Compensation - Document #1727 - Filed 3/11/19.
               Portland, OR 97202                       Note:
                                                        ***SEE DOCUMENT NUMBERS AND FILING DATES FOR EARLIER PAYMENTS ON
                                                        FORM 2.



                                                                                     2131792828       08/29/14    3021                35,000.00
                                                                                     2131792828       12/23/14    3045                16,300.00
                                                                                     2131792828       12/23/14    3046                   819.11
                                                                                     2131792828       05/19/15    3084                43,714.00
                                                                                     2131792828       05/19/15    3085                 2,359.47
                                                                                     2131792828       06/25/15    3095                 3,128.00
                                                                                     2131792828       06/25/15    3096                 7,086.47
                                                                                     2131792828       06/25/15    3097                 1,774.00
                                                                                     2131792828       10/06/15    3472                 5,510.00
                                                                                     2131792828       11/03/15    3474                 5,840.00
                                                                                     2131792828       12/07/15    3483                14,844.00
                                                                                     2131792828       01/21/16    3486                 5,689.00
                                                                                     2131792828       01/21/16    3487                   591.80
                                                                                     2131792828       02/22/16    3489                 2,268.00
                                                                                     2131792828       03/04/16    3490                 4,606.00
                                                                                     2131792828       03/23/16    3858                21,186.00
                                                                                     2131792828       03/23/16    3859                   144.17
                                                                                     2131792828       04/29/16    3869                 9,758.00
                                                                                     2131792828       05/10/16    3871                 1,372.00
                                                                                     2131792828       06/13/16    3876                 8,050.00
                                                                                     2131792828       07/08/16    3881                10,955.90
                                                                                     2131792828       08/11/16    3882                 3,341.60
                                                                                     2131792828       10/17/16    3886                 2,408.00
                                                                                     2131792828       12/27/16    3894                 3,240.05
                                                                                     2131792828       02/21/17    3900                 8,570.69
                                                                                     2131792828       04/06/17    3906                 1,204.00
                                                                                     2131792828       06/08/17    4281             1,130,893.08
                                                                                     2131792828       06/08/17    4282                   431.91
                                                                                     2131792828       03/12/19    4309               441,792.43




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 Page 3                                                                                                                                              Date: July 01, 2019
                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed             Paid to Date        Claim Balance

000441         David B. Mills                         Administrative                                            $89,681.30              $89,681.30                 $0.00
001            Attorney at Law                          Application to Employ Attorney (as Special Counsel) - Per Order on Stipulation Approving Final
3210-00        5325 Yellow Sage Circle                  Applications for Professional Compensation and Authorizing Payment of Compensation -
               Las Vegas, NV 89149                      Document #1727 - Filed 3/11/19.
                                                        Note:
                                                        ***SEE DOCUMENT NUMBERS AND FILING DATES FOR EARLIER PAYMENTS ON
                                                        FORM 2.


                                                                                      2131792828        12/23/14    3042                31,320.00
                                                                                      2131792828        12/23/14    3043                   105.00
                                                                                      2131792828        05/19/15    3088                 3,380.00
                                                                                      2131792828        03/23/16    3856                17,020.00
                                                                                      2131792828        03/23/16    3857                     1.30
                                                                                      2131792828        04/11/17    3907                 7,500.00
                                                                                      2131792828        03/12/19    4310                30,355.00
ATTY           Rosenthal Greene & Devlin, PC          Administrative                                              $19,650.00           $19,650.00                  $0.00
001            Michael Greene                           Claim was not filed. Fees awared per Application for Final Professional Compensation.
3210-00        121 SW Salmon - Suite 1090               1) Trustee's Application for Interim Compensation - Document #725 - Filed 11/21/14.
               Portland, OR 97204                       2) Trustee's Attorney regarding Malpractice Investigation -
                                                        Per Application for Final Professional Compensation - Docket #857 - Filed 4/10/15 & Order
                                                        Allowing Compensation - Docket #905 - Filed 5/18/15.



                                                                                      2131792828        12/23/14    3044                14,500.00
                                                                                      2131792828        05/19/15    3083                 5,150.00


ACCT A         DAVID REKDAHL, CPA                     Administrative                                          $10,751.00             $10,751.00                    $0.00
001            1288 Winery Lane                         (1) Order for Compensation of Accountant - Document #548 - Filed 4/11/14.
3410-00        Eugene OR 97404                          (2) Order for Compensation of Accountant - Document #676 - Filed 9/13/14.
                                                        (3) ) Order for Compensation of Accountant - Document #897 - Filed 5/13/15.
                                                        (4) ) Order for Compensation of Accountant - Document #1303 - Filed 5/17/16.
                                                        (5) ) Order for Compensation of Accountant - Document #1494 - Filed 2/14/17.
                                                        (6) ) Order for Compensation of Accountant - Document #1608 - Filed 3/19/18.
                                                        (7) Order for Compensation of Accountant - Document #1703 - Filed 12/11/18 (FINAL
                                                        PAYMENT)


                                                                                      2131792828        04/14/14    3011                 3,142.00
                                                                                      2131792828        09/12/14    3024                 1,123.00
                                                                                      2131792828        05/12/15    3081                 2,206.00
                                                                                      2131792828        05/18/16    3872                 1,333.00
                                                                                      2131792828        02/15/17    3898                   911.00
                                                                                      2131792828        03/20/18    4301                 1,292.00
                                                                                      2131792828        12/11/18    4306                   744.00


ACCT B         DAVID REKDAHL, CPA                     Administrative                                          $124.05                     $124.05                  $0.00
001            1288 Winery Lane                         See Claim Notes fo ACCT A Claim for document numbers and filing dates.
3420-00        Eugene OR 97404



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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                              Amount Allowed           Paid to Date        Claim Balance


                                                                                       2131792828        04/14/14   3010                   27.85
                                                                                       2131792828        09/12/14   3025                   19.60
                                                                                       2131792828        05/12/15   3082                   14.00
                                                                                       2131792828        05/18/16   3873                   14.40
                                                                                       2131792828        02/15/17   3899                   13.20
                                                                                       2131792828        03/20/18   4302                   17.60
                                                                                       2131792828        12/11/18   4307                   17.40


000435         HOGAN MEDIATION                        Administrative                                           $20,825.76             $20,825.76                 $0.00
001            PO BOX 1375                              Mediation Services provided to Chapter 7 Trustee,
3721-00        EUGENE, OR 97405                         Mediation Services provided to Chapter 7 Trustee, Document #435 - Filed 6/3/16.

                                                        $20,825.76 Allowed and paid per Order Resolving the UST Objection to the Trustee's Payment of
                                                        Hogan Fees & Expenses - Document #1491 - Filed 2/9/17.

                                                        $10,000 to be paid by Class Action plaintiffs counsel.


                                                                                       2131792828        02/14/17   3897               20,825.76


000442-2       Transeth & Associates, LLC             Administrative                                           $459,302.75           $459,302.75                 $0.00
001            215 SW Washington Street, Suite 204      Per Order on Stipulation Approving Final Applications for Professional Compensation and
3991-00        Portland, OR 97204                       Authorizing Payment of Compensation - Document #1727 - Filed 3/11/19.
                                                        Note:
                                                        ***SEE DOCUMENT NUMBERS AND FILING DATES FOR EARLIER PAYMENTS ON
                                                        FORM 2
                                                        .
                                                        Order Approving Payment of Norman Transeth & Associates, LLC Fees and Expenses -
                                                        Document #556 - Filed 4/21/14.


                                                                                       2131792828        04/22/14   3012               16,048.00
                                                                                       2131792828        05/20/14   3013               26,853.00
                                                                                       2131792828        05/27/14   3014               15,580.00
                                                                                       2131792828        08/01/14   3017                7,833.00
                                                                                       2131792828        08/01/14   3018                9,990.00
                                                                                       2131792828        09/04/14   3022               10,686.80
                                                                                       2131792828        10/20/14   3030               14,945.20
                                                                                       2131792828        10/20/14   3031               14,482.80
                                                                                       2131792828        12/08/14   3038               15,932.80
                                                                                       2131792828        01/06/15   3053               14,342.40
                                                                                       2131792828        02/03/15   3063               13,096.00
                                                                                       2131792828        03/06/15   3069               12,752.80
                                                                                       2131792828        04/03/15   3074               11,010.20
                                                                                       2131792828        05/04/15   3077               11,856.40
                                                                                       2131792828        05/26/15   3093               12,371.60
                                                                                       2131792828        07/01/15   3098               22,287.20
                                                                                       2131792828        07/28/15   3099               17,379.60



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 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class        Notes                              Amount Allowed                Paid to Date          Claim Balance


                                                                                        2131792828         09/01/15     3453                 16,167.60
                                                                                        2131792828         09/25/15     3467                 10,442.40
                                                                                        2131792828         10/29/15     3473                 10,001.20
                                                                                        2131792828         11/23/15     3478                  4,951.60
                                                                                        2131792828         12/31/15     3484                  8,537.60
                                                                                        2131792828         02/02/16     3488                  5,674.40
                                                                                        2131792828         03/31/16     3863                  1,606.80
                                                                                        2131792828         04/29/16     3868                  8,592.80
                                                                                        2131792828         06/01/16     3874                  5,410.00
                                                                                        2131792828         07/05/16     3880                  1,042.80
                                                                                        2131792828         08/19/16     3884                  2,100.40
                                                                                        2131792828         10/31/16     3890                 10,202.40
                                                                                        2131792828         10/31/16     3891                  7,553.20
                                                                                        2131792828         12/08/16     3893                  1,258.40
                                                                                        2131792828         12/27/16     3895                  2,266.40
                                                                                        2131792828         02/21/17     3901                 15,852.00
                                                                                        2131792828         04/05/17     3905                    798.80
                                                                                        2131792828         05/01/17     3911                    504.80
                                                                                        2131792828         08/01/17     4293                    815.60
                                                                                        2131792828         09/28/17     4294                  2,278.80
                                                                                        2131792828         03/12/19     4311                 95,796.95


000213         Curtis Restaurant Equipment Inc        Secured                                                       $0.00                        $0.00                     $0.00
050            POB 7307                                 Withdrawal of Claim Filed by Creditor - Document #1034 - Filed 8/5/15.
4110-00        Springfield OR 97475



000292A        Century Bank                           Secured                                                       $0.00                  $0.00                           $0.00
050            nka Pacific Continental Bank             Per Stipulation Allowing Withdrawal of Claim Nos. 292 and 416 Filed by Trustee - Document
4210-00        PO Box 10727                             #1021 - Filed 6/232/15.
               Eugene OR 97440-2727



000381         Lane County Dept. of Assessment and    Secured                                                        $0.00                $0.00                            $0.00
050            Taxation                                 2012 and 2011 tax re. 3544 Sisters View Ave. Objection filed 8/19/15. Document #1044.
4700-00        125 E. 8th Ave                           Allowed as secured claim.
               Eugene, OR 97401

000382         Lane County Dept. of Assessment and    Secured                                                               $0.00                    $0.00                 $0.00
050            Taxation                                 2012 tax re. 1995 Bailey Hill Rd. Claim is considered to be fully secured. Creditor must satisfy
4700-00        125 E. 8th Ave                           the claim out of their collateral and will not share in any estate assets distributed to unsecured
               Eugene, OR 97401                         creditors.
                                                        C laim Disallowed per objection--Document #1590 - Filed 11/09.17.




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 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                              Amount Allowed               Paid to Date        Claim Balance

000430         United States Trustee Payment Center   Administrative                                              $6,825.00               $6,825.00                   $0.00
040            P.O. Box 530202                          (430-1) Administrative Priority Claim; unpaid quarterly fees.
5200-00        Atlanta, GA 30353-0202                   Address updated per Proof of Claim filed 1/29/15 - Document #430-1

                                                        Paid per Expense Notice Document #1499


                                                                                       2131792828        03/28/17     3904                  6,825.00


000234         IRS                                    Priority                                                          $0.00                  $0.00                  $0.00
040            211 East 7th Avenue, Suite 301           Objection to Claim and Order and Notice Thereon - Document #937 - Filed 6/19/15. No tax is
5800-00        Eugene, OR 97401-2773                    due by the debtor entity. Tax liability passed through to owners of the debtor entity.




000404         Thomas A. Huntsberger, Trustee         Administrative                                          $147,475.34            $147,475.34                      $0.00
002            870 W. Centennial Blvd.                  CHAPTER 11 CLAIM:
6101-00        Springfield, OR 97477                    (1) Per Order Allowing Interim Compensation - Document #423 - Filed 8/6/13.
                                                        (2) Per Order Allowing Interim Compensation - Document #441 - Filed 8/21/13.
                                                        (3) Per Order Allowing Final Compensation to Chapter 11 Administrative Expense Claimants -
                                                        Document #1088 - Filed 9/22/15.


                                                                                       2131791838        08/07/13     3017                32,087.50
                                                                                       2131791838        08/22/13     3027                   962.62
                                                                                       2131792828        09/23/15     3465               109,177.04
                                                                                       2131792828        09/23/15     3466                 5,248.18


000241         Luvaas Cobb                            Administrative                                              $24,404.91              $24,404.91                  $0.00
002            777 High Street #300                     Legal fees - Final Fee Application for Ch. 11, Special Counsel for Debtor in Possession.
6210-00        Eugene, OR 97401                         $24,404.41 = 24,132.50 (fees) + $271.00 (expenses) - Document #1088 Filed 9/22/15.
                                                        Balance of Claim 241A was paid as part of the Chapter 11 per Interim Compensation Orders -
                                                        Document #423 - Filed 8/6/13 & Document #441 - Filed 8/21/13.



                                                                                       2131791838        08/07/13     3023                 12,202.20
                                                                                       2131791838        08/22/13     3032                    366.06
                                                                                       2131792828        09/23/15     3457                 11,564.74
                                                                                       2131792828        09/23/15     3458                    271.91
000268         The Law Offices of Keith Y. Boyd       Administrative                                                    $0.00                  $0.00                  $0.00
002            724 S. Central Ave, Suite 106            Ch. 11 - Final application - Attorneys for Debtor in Possession. $15,237.50 (fees) + $258 (costs)
6210-00        Medford OR 97501                         = $15,495.50
                                                        Paid from Retainer per Order granting Interim Compensation - Document #423 - Filed 08/06/13.


000269         The Law Offices of Keith Y. Boyd       Administrative                                                  $0.00                  $0.00                    $0.00
002            724 S. Central Ave, Suite 106            Fee application. Attorneys for DIP. Claim paid from retainer and then withdrawn per Order on
6210-00        Medford OR 97501                         Motion & Notice of Intent to Settle & Compromise - Document #1112 - Filed 08/09/15 .




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed               Paid to Date      Claim Balance

000422         Bullivant Houser Bailey PC             Administrative                                          $570,036.92           $570,036.92                    $0.00
002            888 SW 5th Ave                           CHAPTER 11 CLAIM:
6210-00        Suite #300                               Per Motion and Notice of Intent to Settle and Compromise - Document 1158 - Filed 11/16/15 and
               Portland, OR 97204                       Order Approving Settlement - Document #1549. - Filed 6/14/17.

                                                        Check for $310.602.29 included an expense award of $4,639.89.


                                                                                      2131791838       08/22/13    3028                310,602.29
                                                                                      2131792828       06/30/17    4289                 14,960.28
                                                                                      2131792828       06/30/17    4290                244,474.35
000422-2       Bullivant Houser Bailey PC             Administrative                                                 $0.00                   $0.00                 $0.00
002            888 SW Fifth Avenue                      Expense portion of claim was paid and accounted for under Claim #422.
6210-00        Suite 300
               Portland, OR 97204



000403         Krista Lacis                           Administrative                                            $8,950.00             $8,950.00                    $0.00
002            4088 Hampshire Lane                      (1) Per Order Allowing Interim Compensation - Document #423 - Filed 8/6/13.
6310-00        Eugene, OR 97404                         (2) Per Order Allowing Interim Compensation - Document #441 - Filed 8/21/13.
                                                        (3) Per Order Allowing Final Compensation to Chapter 11 Administrative Expense Claimants -
                                                        Document #1088 - Filed 9/22/15.


                                                                                      2131791838       08/07/13    3019                   3,040.00
                                                                                      2131791838       08/22/13    3029                      91.20
                                                                                      2131792828       09/23/15    3461                   5,818.80


000242         Luvaas Cobb                            Administrative                                            $11,705.00            $11,705.00                   $0.00
002            777 High Street #300                     Per Order Allowing Final Compensation to Chapter 11 Administrative Expense Claimants -
6700-00        Eugene, OR 97401                         Document 1088 - Filed 9/22/15. $11,705.00 = $10,910 (fees) + $795.00 (expenses)
                                                        Balance of Claim 242A was paid as part of the Chapter 11 per Interim Compensation Orders -
                                                        Document #423 - Filed 8/6/13 & Document #441 - Filed 8/21/13.



                                                        Allowed and paid Per Order Document #1088


                                                                                      2131791838       08/07/13    3025                   5,852.50
                                                                                      2131791838       08/22/13    3033                     175.57
                                                                                      2131792828       09/23/15    3459                   4,881.93
                                                                                      2131792828       09/23/15    3460                     795.00
000407         Transeth & Associates, LLC             Administrative                                          $179,495.93            $179,495.93                   $0.00
002            215 SW Washington Street, Suite 204      CHAPTER 11 CLAIM:
6700-00        Portland, OR 97204                       (1) Per Order Allowing Interim Compensation - Document #423 - Filed 8/6/13.
                                                        (2) Per Order Allowing Interim Compensation - Document #441 - Filed 8/21/13.
                                                        (3) Per Order Allowing Final Compensation to Chapter 11 Administrative Cllaimants - Document
                                                        #1088 - Filed 9/22/15.


                                                                                      2131791838       08/07/13    3020                  40,427.50




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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                              Amount Allowed              Paid to Date      Claim Balance


                                                                                      2131791838          08/22/13     3030               1,212.82
                                                                                      2131792828          09/23/15     3462             137,855.61
000418         David B. Mills                         Administrative                                         $207,615.37             $207,615.37                    $0.00
002            Attorney at Law                          CHAPTER 11 CLAIM:
6700-00        5325 Yellow Sage Circle                  (1) Per Order Allowing Interim Compensation - Document #423 - Filed 8/6/13.
               Las Vegas, NV 89149                      (2) Per Order Allowing Interim Compensation - Document #441 - Filed 8/21/13.
                                                        (3) Per Order Allowing Final Compensation to Ch 11 Administrative Claimants - Document
                                                        #1088 - Filed 9/22/15



                                                                                      2131791838          08/07/13     3021              84,570.18
                                                                                      2131791838          08/22/13     3031               2,537.10
                                                                                      2131792828          09/23/15     3463             118,367.72
                                                                                      2131792828          09/23/15     3464               2,140.37


000001         George & Melissa Rex                   Unsecured                                                 $450,000.00            $126,000.00            $324,000.00
070            10363 NW Rex Ct                          Change of address - Document #1031 - Filed 7/16/15.
7100-00        Portland OR 97229                                                      2131792828          08/25/15     3101               18,000.00
                                                                                      2131792828          03/11/16     3496               54,000.00
                                                                                      2131792828          05/04/17     3912               54,000.00
000002         James & Nancy McKittrick               Unsecured                                                      $3,001.54             $840.43              $2,161.11
070            1920 Wyndstone Way                       Change of Address - Doc. 1433 - filed 10/21/16.
7100-00         #3107
               Billings, MT 59105
                                                                                      2131792828          08/25/15     3102                  120.06
                                                                                      2131792828          03/11/16     3497                  360.19
                                                                                      2131792828          05/04/17     3913                  360.18
000003         Carolyn Wilson Credit Shelter Trust    Unsecured                                                 $123,500.00             $34,580.00             $88,920.00
070            Dee Wilson, Successor Trustee            0181
7100-00        246 Camino Nina Ave
               Roseburg, OR 97470
                                                                                      2131792828          08/25/15     3103                4,940.00
                                                                                      2131792828          03/11/16     3498               14,820.00
                                                                                      2131792828          05/04/17     3914               14,820.00
000004         Dee Wilson                             Unsecured                                                  $20,750.00              $5,810.00             $14,940.00
070            246 Camino Nina Ave.                     0182
7100-00        Roseburg, OR 97470
                                                                                      2131792828          08/25/15     3104                  830.00
                                                                                      2131792828          03/11/16     3499                2,490.00
                                                                                      2131792828          05/04/17     3915                2,490.00
000005         Fredrick & Betty Jo Siegrist           Unsecured                                              $151,300.82                $22,364.23            $128,936.59
071            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/16/18--Document #1670
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567
               Eugene OR 97440-2567
                                                                                      2131792828          03/11/16     3841                4,208.13
                                                                                      2131792828          05/04/17     3916               18,156.10




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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                             Amount Allowed             Paid to Date         Claim Balance

000006         Fredrick Siegrist                    Unsecured                                                 $100,464.34            $28,130.01               $72,334.33
070            c/o Scott R. Palmer, OSB#764073        0063
7100-00        Watkinson Laird Rubenstein & Burgess   Corrected creditor address to match claim - 2/16/15.
               PC
               101 E. Broadway, Suite 200
                                                                                     2131792828        08/25/15    3105                 4,018.57
               Eugene OR 97401
                                                                                     2131792828        03/11/16    3500                12,055.72
                                                                                     2131792828        05/04/17    3917                12,055.72
000007         Jacke Daugherty                        Unsecured                                                $21,336.18              $5,974.13              $15,362.05
070            113 Westbrood Way                        Amended claim filed 10/11/2012
7100-00        Eugene OR 97405
                                                        Amended Claim filed 06/01/2018 to transfer claim into name of Jackie Daugherty. Claimant is
                                                        surviving spouse of Neil Daugherty who died 02/09/2016. Claimant sent trustee copy of Neil
                                                        Daugherty's death certificate.


                                                                                     2131792828        08/25/15    3106                   853.45
                                                                                     2131792828        03/11/16    3501                 2,560.34
                                                                                     2131792828        05/04/17    3918                 2,560.34
000008         Cheryl Carter                          Unsecured                                                $79,288.92            $22,200.89               $57,088.03
070            141 Jill Ave                             01-0042
7100-00        Eugene OR 97404
                                                                                     2131792828        08/25/15    3107                 3,171.56
                                                                                     2131792828        03/11/16    3502                 9,514.66
                                                                                     2131792828        05/04/17    3919                 9,514.67
000009         Linda Holcomb Bryant &                 Unsecured                                               $68,187.00             $19,092.36               $49,094.64
070            Patrick D. Bryant                        Change of Address - Document #428 - filed 8/15/13. Settlement regarding allowed amount of
7100-00        6585 Fern Hill Rd                        claim. Doc. 1027.
               Monmouth OR 97361

                                                                                     2131792828        08/25/15    3108                 2,727.48
                                                                                     2131792828        03/11/16    3503                 8,182.44
                                                                                     2131792828        05/04/17    3920                 8,182.44
000010         Linda Holcomb Bryant                   Unsecured                                                $90,348.00            $25,297.44               $65,050.56
070            6585 Fern Hill Rd                        Change of Address - Doc. 428 - filed 8/15/13.
7100-00        Monmouth, OR 97361                       Settlement regarding allowed amount of claim. Doc. 1027.


                                                                                     2131792828        08/25/15    3109                 3,613.92
                                                                                     2131792828        03/11/16    3504                10,841.76
                                                                                     2131792828        05/04/17    3921                10,841.76
000011         Leone M. Roberts                       Unsecured                                               $146,397.00            $33,991.16              $112,405.84
071            1791 E Redstart Rd                       01-0172; Amended Claim filed 7/30/15.
7100-00        Green Valley AZ 85614
                                                                                     2131792828        03/11/16    3842                16,423.52
                                                                                     2131792828        05/04/17    3922                17,567.64
000012         HOLCOMB LIVING TRUST                   Unsecured                                              $198,323.49             $55,530.58              $142,792.91
070            Robert H. Holcomb, Trustee               06-0092; Settlement regarding allowed amount of claim. Doc. 1027.
7100-00        365 NE Mistletoe Circle
               Corvallis OR 97340
                                                                                     2131792828        08/25/15    3110                 7,932.94



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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                            Amount Allowed              Paid to Date       Claim Balance


                                                                                     2131792828        03/22/16    3854                23,798.82
                                                                                     2131792828        05/04/17    3923                23,798.82
000013         Larry C Holcomb Living Trust           Unsecured                                               $292,510.00            $81,902.80           $210,607.20
070            Larry Holcomb, Trustee                   Change of Address - Document #1022 - Filed 6/24/15.
7100-00        365 NE Mistletoe Circle                  Settlement regarding allowed amount of claim. Doc. 1027.
               Corvallis, OR 97340

                                                                                     2131792828        08/25/15    3111                11,700.40
                                                                                     2131792828        03/11/16    3506                35,101.20
                                                                                     2131792828        05/04/17    3958                35,101.20
000014         Robert Holcomb Family LLC              Unsecured                                              $318,253.00             $89,110.83           $229,142.17
070            c/o Larry Holcomb                        06-0148
7100-00        6585 Fern Hill Rd
               Monmouth OR 97361
                                                                                     2131792828        08/25/15    3112                12,730.12
                                                                                     2131792828        03/11/16    3507                38,190.35
                                                                                     2131792828        05/04/17    3924                38,190.36
000015         Karen L Brockett Living Trust          Unsecured                                               $377,310.00           $105,646.80           $271,663.20
070            Karen Brockett, Trustee                  Change of Address - Doc. 1023 - filed 6/24/15.
7100-00        2601 NE Jack London #76                  Settlement regarding allowed amount of claim. Doc. 1027.
               Corvallis, OR 97330

                                                                                     2131792828        08/25/15    3113                15,092.40
                                                                                     2131792828        03/11/16    3508                45,277.20
                                                                                     2131792828        05/04/17    3925                45,277.20
000016         Charlene S. Cox Rev Trust dtd 10-15-97 Unsecured                                              $489,563.65            $137,077.82           $352,485.83
070            Charlene S. Cox, Trustee                 (16-2) Account Number (last 4 digits):3302; Amended Claim filed 6/15/15. 12/2/15 Transfer of
7100-00        2883 Martinique Ave.                     Claim from Charlene S Cox Rev Trust dtd 10-15-97 to John G. Cox. Doc. 1175
               Eugene, OR 97408

                                                                                     2131792828        08/25/15    3114                19,582.55
                                                                                     2131792828        03/11/16    3509                58,747.63
                                                                                     2131792828        05/04/17    3926                58,747.64
000017         Leslie B Hutchinson or                 Unsecured                                                $74,064.00            $20,737.92            $53,326.08
070            Nicholas Hutchinson,                     01-0041
7100-00        550 SW Viewmont Dr
               Portland OR 97225
                                                                                     2131792828        08/25/15    3115                 2,962.56
                                                                                     2131792828        03/11/16    3510                 8,887.68
                                                                                     2131792828        05/04/17    3927                 8,887.68
000018         Tim, Leslie, & Nicholas Hutchinson     Unsecured                                              $684,262.00            $191,593.36           $492,668.64
070            550 SW Viewmont Dr                       01-0039
7100-00        Portland OR 97225
                                                                                     2131792828        08/25/15    3116                27,370.48
                                                                                     2131792828        03/11/16    3511                82,111.44
                                                                                     2131792828        05/04/17    3928                82,111.44
000019         Tim & Nicholas Hutchinson              Unsecured                                                $16,948.00             $4,745.43            $12,202.57
070            550 SW Viewmont Dr                       01-0038
7100-00        Portland OR 97225
                                                                                     2131792828        08/25/15    3117                   677.92


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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed            Paid to Date      Claim Balance


                                                                                      2131792828        03/11/16   3512                2,033.76
                                                                                      2131792828        05/04/17   3929                2,033.75
000020         Colleen Bartlett                       Unsecured                                                 $50,945.99          $14,264.87            $36,681.12
070            c/o Connie Bartlett-Pitts                (20-1) See claim for amounts(20-2) See claim for amounts
7100-00        2470 Arbor Dr                            No documents attached.
               West Linn OR 97068


                                                                                      2131792828        08/25/15   3118                2,037.84
                                                                                      2131792828        03/11/16   3513                6,113.51
                                                                                      2131792828        05/04/17   3930                6,113.52
000021         Fred E Vamer                           Unsecured                                                $41,810.00           $11,706.80            $30,103.20
070            4075 Sabrena Avenue                      0204 and 0203;
7100-00        Eugene, OR 97404                         Change of Address - Doc. 1071 - filed 9/10/15


                                                                                      2131792828        08/25/15   3119                1,672.40
                                                                                      2131792828        03/11/16   3514                5,017.20
                                                                                      2131792828        05/04/17   3931                5,017.20
000022         Marshall & Pattie Matthews             Unsecured                                                $68,980.66           $19,314.59            $49,666.07
070            848 NE Church St                         01-0057
7100-00        Roseburg OR 97470
                                                                                      2131792828        08/25/15   3120                2,759.23
                                                                                      2131792828        03/11/16   3515                8,277.68
                                                                                      2131792828        05/04/17   3932                8,277.68
000023         Trudy A Harper Harris                  Unsecured                                                $57,876.02           $16,205.28            $41,670.74
070            1980 NE Stephens                         01-0035
7100-00        Roseburg OR 97470
                                                                                      2131792828        08/25/15   3121                2,315.04
                                                                                      2131792828        03/11/16   3516                6,945.12
                                                                                      2131792828        05/04/17   3933                6,945.12
000024         Kristin Carson                         Unsecured                                                $39,788.75           $11,140.85            $28,647.90
070            26 Juanita Ave                           04-0173
7100-00        Mill Valley, CA 94941
                                                                                      2131792828        08/25/15   3122                1,591.55
                                                                                      2131792828        03/11/16   3517                4,774.65
                                                                                      2131792828        05/04/17   3934                4,774.65
000025         Roberto Carlos Perez                   Unsecured                                                     $0.00                 $0.00                 $0.00
070            Jose Perez, Custodian                    Objection to Claim #25 - Document #1286 - Filed 4/13/16. Duplicate of Claim #106.
7100-00        586 Flagler St                           Creditor received payments on this Claim and on Claim #106. The payments on Claim #25 were
               San Jose CA 95127                        made in error and refunded by creditor on 4/11/16.



                                                                                      2131792828        08/25/15  3123                 3,843.48
                                                                                      2131792828        03/11/16  3518                11,530.44
                                                                                        2131792828       04/11/16    5                -3,843.48
                                                                                       2131792828        04/11/16   10               -11,530.44



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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed              Paid to Date      Claim Balance

000026         Lee & Kay Pittman                      Unsecured                                               $230,323.00             $64,490.44            $165,832.56
070            8540 Melrose Ln                          06-0141
7100-00        El Cajon CA 92021
                                                                                      2131792828        08/25/15     3124                9,212.92
                                                                                      2131792828        03/11/16     3519               27,638.76
                                                                                      2131792828        05/04/17     3935               27,638.76
000027         Mary Nuwer                             Unsecured                                              $100,146.94              $28,041.13             $72,105.81
070            c/o James K Coons                        Change of Address - Document #1569 - Filed 12/13/17.
7100-00        P.O. Box 5767
               Eugene, OR 97405

                                                                                      2131792828        08/25/15     3125                4,005.87
                                                                                      2131792828        03/11/16     3520               12,017.63
                                                                                      2131792828        05/04/17     3936               12,017.63
000028         Sydney A. Gaunt                        Unsecured                                                    $9,779.00           $2,738.12              $7,040.88
070            c/o Lianne Gaunt                         Change of Address - Doc. 443 - filed 8/21/13.
7100-00        1292 High Street, PMB 149                01-0069
               Eugene OR 97401

                                                                                      2131792828        08/25/15     3126                  391.16
                                                                                      2131792828        03/11/16     3521                1,173.48
                                                                                      2131792828        05/04/17     3937                1,173.48
000029         R.W. Strand Inc                        Unsecured                                                $61,365.00             $17,182.20             $44,182.80
070            Carlson & Strand Painting                04-0120
7100-00        c/o David Strand
               1115 Main St
                                                                                      2131792828        08/25/15     3127                2,454.60
               Springfield OR 97477
                                                                                      2131792828        03/11/16     3522                7,363.80
                                                                                      2131792828        05/04/17     3938                7,363.80
000030         Robert E Myers & Patricia A Myers      Unsecured                                               $109,051.00             $30,534.28             $78,516.72
070            Family Trust dtd 10-25-02                01-0112
7100-00        1357 Meadow Ct
               Healdsburg CA 95448
                                                                                      2131792828        08/25/15     3128                4,362.04
                                                                                      2131792828        03/11/16     3523               13,086.12
                                                                                      2131792828        05/04/17     3939               13,086.12
000031         ARGO PARTNERS                          Unsecured                                                $90,801.12           $25,424.31               $65,376.81
070            12 WEST 37TH STREET,                     Notice of Claim Transfer - Document #1178 - Filed 12/3/15 From: RJ O'Sullivan Trust UDT
7100-00        9TH FLOOR                                8/3/00 to Argo Partners.
               NEW YORK, NY 10018

                                                                                      2131792828        08/25/15     3129                3,632.04
                                                                                      2131792828        03/11/16     3524               10,896.14
                                                                                      2131792828        05/04/17     3940               10,896.13
000032         Sarah Ostendorf                        Unsecured                                                $66,676.30             $18,669.36             $48,006.94
070            3701 Sunrise Dr W                        01-0037
7100-00        Minnetonka MN 55345
                                                                                      2131792828        08/25/15     3130                2,667.05
                                                                                      2131792828        03/11/16     3525                8,001.15
                                                                                      2131792828        05/04/17     3941                8,001.16




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 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed              Paid to Date        Claim Balance

000033         Eugene Executives Assn                 Unsecured                                                 $46,443.00             $13,004.04              $33,438.96
070            Attn Trond                               01-0131
7100-00        POB 205
               Eugene OR 97440
                                                                                      2131792828        08/25/15     3131                 1,857.72
                                                                                      2131792828        03/11/16     3526                 5,573.16
                                                                                      2131792828        05/04/17     3942                 5,573.16
000034         Vecellio, Patricia                     Unsecured                                                 $70,195.50             $19,654.74              $50,540.76
070            11747 Skene Way                          04-0057
7100-00        Houston TX 77024
                                                                                      2131792828        08/25/15     3132                 2,807.82
                                                                                      2131792828        03/11/16     3527                 8,423.46
                                                                                      2131792828        05/04/17     3943                 8,423.46
000035         Paralee Mock, Trustee                  Unsecured                                                $649,956.62            $181,987.85             $467,968.77
070            c/o John C. Fisher Attorney at Law       (35-1) Money Loaned
7100-00        767 Willamette Street, Suite 302         Brinley Mills - 01-0058
               Eugene, OR 97401                         AL Mock - 01-0061
                                                        Jordan Harrison - 01-0060
                                                        Kelsey Harrison 01-0055
                                                        Taylor R Harrison 01-0059
                                                        Cameron Harrison - 01-0063
                                                        James Taylor - 01-0062


                                                                                      2131792828        08/25/15     3133                25,998.27
                                                                                      2131792828        03/11/16     3528                77,994.79
                                                                                      2131792828        05/04/17     3944                77,994.79
000036         Grange McKinney (House Account)        Unsecured                                                    $8,043.00             $2,252.04              $5,790.96
070            Denise Manoram                           01-0064,
7100-00        32200 Del Obispo St., Apt #143           Phone No. 949-218-8351
               San Juan Capistrano, CA 92675            Change of Address - Document #1282 - filed 4/11/16
                                                        Change of Address--Document #1710 filed 01/14/19


                                                                                      2131792828        08/25/15     3447                   321.72
                                                                                      2131792828        03/11/16     3529                   965.16
                                                                                      2131792828        05/04/17     3945                   965.16
000037         Grange Bowen McKinney Living Trust Unsecured                                                     $26,744.00               $7,488.32             $19,255.68
070            Grange McKinney Trustee              Change of Address filed 01/14/19--Document #1711
7100-00        32200 Del Obispo St., Apt. #143      Change of Address - Doc. 1283 - filed 4/11/16.
               San Juan Capistrano, CA 92675
                                                        Creditor advised Check #3946 was lost in the mail. Payment stopped and new check was issued.


                                                                                      2131792828        08/25/15     3135                 1,069.76
                                                                                      2131792828        03/11/16     3530                 3,209.28
                                                                                      2131792828        06/29/17     4287                 3,209.28
000038         Duane J Cornell                        Unsecured                                                   $22,221.00              $6,221.88            $15,999.12
070            2951 Coburg Road                         01-0175
7100-00        Apartment 223                            Address Not Valid
               Eugene, OR 97408                         Check returned 5/12/17. Check & letter sent to creditor at forwarding address with Change of


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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                             Amount Allowed              Paid to Date      Claim Balance

                                                        Address form and instructions to file with Bankruptcy Court.
                                                        Contacted Mr. Cornell and he lost the check. Stop payment has been issued.
                                                        Phone # 541 485-7269


                                                                                      2131792828       08/25/15     3136                   888.84
                                                                                      2131792828       03/11/16     3531                 2,666.52
                                                                                      2131792828       06/21/17     4286                 2,666.52
000039         Tom & Allison Hutchinson               Unsecured                                      $73,748.00                       $20,649.44            $53,098.56
070            1509 21st Ave                            (39-2) REVISION FOR CL#39 PER SCHEDULE F; 01-0109
7100-00        Longview WA 98632
                                                                                      2131792828       08/25/15     3137                 2,949.92
                                                                                      2131792828       03/11/16     3532                 8,849.76
                                                                                      2131792828       05/04/17     3949                 8,849.76
000040         Stephen Hutchinson                     Unsecured                                               $111,445.13             $31,204.64            $80,240.49
070            Kathryn Hutchinson                       01-0033
7100-00        1785 White Oak Dr
               Eugene OR 97405
                                                                                      2131792828       08/25/15     3138                 4,457.81
                                                                                      2131792828       03/11/16     3533                13,373.41
                                                                                      2131792828       05/04/17     3950                13,373.42
000041         Kathryn Martin Hutchinson              Unsecured                                                $10,022.08              $2,806.18             $7,215.90
070            1785 White Oak Dr                        01-0031
7100-00        Eugene OR 97405
                                                                                      2131792828       08/25/15     3139                   400.88
                                                                                      2131792828       03/11/16     3534                 1,202.65
                                                                                      2131792828       05/04/17     3951                 1,202.65
000042         Richard L. Doyle, Trustee of           Unsecured                                               $100,000.00             $28,000.00            $72,000.00
070            the Anna Rose Chamley Revocable          04-0256/02-0156
7100-00        Trust                                    Amended Claim filed by Richard L. Doyle - filed 3/10/16.
               Watkinson Laird Rubenstein, P.C.         Corrected Creditor's name and address to match claim.
               P.O.Box 10567
               Eugene, OR 97440-2567
                                                        Creditor Change of Address filed 10/19/18-Document #1683


                                                                                      2131792828       08/25/15     3140                 4,017.28
                                                                                      2131792828       03/11/16     3535                11,982.72
                                                                                      2131792828       05/04/17     3952                12,000.00
000043         Natalie B Kruger                       Unsecured                                                    $202.00                $56.56               $145.44
070            Joyce Kruger                             01-0051
7100-00        1317 Adelman Lp
               Eugene OR 97402
                                                                                      2131792828       08/25/15     3141                     8.08
                                                                                      2131792828       03/11/16     3536                    24.24
                                                                                      2131792828       05/04/17     3953                    24.24
000044         Hunter R. Lundquist                    Unsecured                                                   $1,485.00              $415.80             $1,069.20
070            Joyce Kruger                             01-0053
7100-00        1317 Adelman Lp
               Eugene OR 97402
                                                                                      2131792828       08/25/15     3142                    59.40
                                                                                      2131792828       03/11/16     3537                   178.20



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 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed              Paid to Date       Claim Balance


                                                                                      2131792828        05/04/17     3954                   178.20
000045         Matthew C Davis Sr.                    Unsecured                                                      $28.00                  $7.84                $20.16
070            Joyce Kruger                             01-0153
7100-00        1317 Aldelman Lp
               Eugene OR 97402
                                                                                      2131792828        11/20/15     3477                     1.12
                                                                                      2131792828        03/11/16     3840                     3.36
                                                                                      2131792828        05/04/17     3955                     3.36
000046         Taylor Lee Lundquist                   Unsecured                                                    $4,093.00             $1,146.04             $2,946.96
070            Joyce Kruger                             01-0052
7100-00        1317 Adelman Lp
               Eugene OR 97402
                                                                                      2131792828        08/25/15     3143                   163.72
                                                                                      2131792828        03/11/16     3538                   491.16
                                                                                      2131792828        05/04/17     3956                   491.16
000047         Nathaniel D Kruger                     Unsecured                                                     $868.92               $243.30                $625.62
070            Lindsey M Kruger                         01-0054
7100-00        2329 Otto St
               Springfield OR 97477
                                                                                      2131792828        08/25/15     3144                    34.76
                                                                                      2131792828        03/11/16     3539                   104.27
                                                                                      2131792828        05/04/17     3957                   104.27
000048         Joyce L Kruger                         Unsecured                                                $213,070.34             $59,659.69            $153,410.65
070            Nathan Kruger                            01-0050
7100-00        1317 Adelman Lp
               Eugene OR 97402
                                                                                      2131792828        08/25/15     3145                 8,522.81
                                                                                      2131792828        03/11/16     3540                25,568.44
                                                                                      2131792828        05/04/17     3959                25,568.44
000049         Glass Tree Care & Spray Svc            Unsecured                                                 $61,079.00             $17,102.12             $43,976.88
070            POB 40205                                01-0027
7100-00        Eugene OR 97404
                                                                                      2131792828        08/25/15     3146                 2,443.16
                                                                                      2131792828        03/11/16     3541                 7,329.48
                                                                                      2131792828        05/04/17     3960                 7,329.48
000050         Sandra Stenger                         Unsecured                                                 $17,934.50               $5,021.66            $12,912.84
070            469 W Willis St #5                       xx-0056
7100-00        Detroit, MI 8201
                                                                                      2131792828        08/25/15     3147                   717.38
                                                                                      2131792828        03/11/16     3542                 2,152.14
                                                                                      2131792828        05/04/17     3961                 2,152.14
000051         Denise Manoram                         Unsecured                                                    $61,837.19           $17,314.40            $44,522.79
070            221 Via Montego                          01-0191; Objection to priority status filed 8/17/15. Doc. 1038. Allowed as unsecured claim.
7100-00        San Clemente, CA 92672                   Change of address - Document #1103 - Filed 10/01/15.
                                                        949 661-4926.


                                                                                      2131792828        08/25/15     3148                 2,473.49
                                                                                      2131792828        03/11/16     3543                 7,420.45
                                                                                      2131792828        05/04/17     3962                 7,420.46


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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed           Paid to Date       Claim Balance

000052         Dean W. Gunderson                      Unsecured                                            $118,131.44               $23,537.78            $94,593.66
071            & Wayne Joseph Gunderson,                04-0055; Amended Claim 52-4 to change name of creditor filed 6/9/16.. Original creditor
7100-00        Co-Trustees                              deceased.
               William J. Gunderson LivingTrust.
               1404 Lawnridge Ave
                                                                                      2131792828        06/10/16   3875               9,362.01
               Springfield OR 97477
                                                                                      2131792828        05/04/17   3963              14,175.77
000053         James P Mischkot Sr                    Unsecured                                               $145,280.00           $40,678.40            $104,601.60
070            POB 502                                  06-0104
7100-00        Whitehal l MT 59759
                                                                                      2131792828        08/25/15   3149               5,811.20
                                                                                      2131792828        03/11/16   3544              17,433.60
                                                                                      2131792828        05/04/17   3964              17,433.60
000054         Peggy Mischkot-Roga                    Unsecured                                               $175,302.86           $49,084.80            $126,218.06
070            4520 Altura St                           01-0168
7100-00        Eugene OR 97404
                                                                                      2131792828        08/25/15   3150               7,012.11
                                                                                      2131792828        03/11/16   3545              21,036.35
                                                                                      2131792828        05/04/17   3965              21,036.34
000055         Peggy Roga                             Unsecured                                             $10,717.23               $3,000.82              $7,716.41
070            4520 Altura St                           01-0169; Amended POc filed 11/21/16, changed from Imants I. Roga.
7100-00        Eugene OR 97404
                                                                                      2131792828        08/25/15   3151                  428.69
                                                                                      2131792828        03/11/16   3546                1,286.06
                                                                                      2131792828        05/04/17   3966                1,286.07
000056         Elizabeth Porter                       Unsecured                                               $184,604.50           $51,689.26            $132,915.24
070            1927 SE 41st Ave                         06-0150
7100-00        Portland OR 97214
                                                                                      2131792828        08/25/15   3152               7,384.18
                                                                                      2131792828        03/11/16   3547              22,152.54
                                                                                      2131792828        05/04/17   3967              22,152.54
000057         Steven & Elizabeth Porter              Unsecured                                                $56,178.00           $15,729.84             $40,448.16
070            1927 SE 41st Ave                         06-0147
7100-00        Portland OR 97214
                                                                                      2131792828        08/25/15   3153                2,247.12
                                                                                      2131792828        03/11/16   3548                6,741.36
                                                                                      2131792828        05/04/17   3968                6,741.36
000058         Robert & Edie Shelton                  Unsecured                                             $1,672,259.20          $468,232.56           $1,204,026.64
070            16902 Royal Coachman                     (58-1) money loaned(58-2) money loaned
7100-00        Sisters, OR 97759                        (58-1) creditor number 0085
                                                        06-0085.
                                                        Change of Address - Doc. 1225 - filed 2/8/16.


                                                                                      2131792828        08/25/15   3154              66,890.37
                                                                                      2131792828        03/11/16   3549             200,671.09
                                                                                      2131792828        05/04/17   3969             200,671.10




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed              Paid to Date        Claim Balance

000059         Robert & Edie Shelton                  Unsecured                                                    $817.44               $228.88                 $588.56
070            16902 Royal Coachman                     (59-1) money loaned(59-2) money loaned
7100-00        Sisters, OR 97759                        (59-1) number 0166
                                                        01-0166
                                                        Change of Address - Doc. 1226 - filed 2/8/16.


                                                                                      2131792828        08/25/15    3155                    32.70
                                                                                      2131792828        03/11/16    3550                    98.09
                                                                                      2131792828        05/04/17    3970                    98.09
000060         Amy Shelton Bloch                      Unsecured                                               $144,537.72             $40,470.56             $104,067.16
070            5701 Willow Street                       (60-1) money loaned(60-2) money loaned
7100-00        New Orleans, LA 70115
                                                        Change of creditor name & address will be filed by creditor. Form mailed 5/18/17. Change of
                                                        Address filed on 05/30/17--Document #1543.


                                                                                      2131792828        08/25/15    3156                 5,781.51
                                                                                      2131792828        03/11/16    3551                17,344.52
                                                                                      2131792828        05/23/17    4276                17,344.53
000061         Betty L Diller                         Unsecured                                                 $15,313.56              $4,287.80             $11,025.76
070            8209 Ruby Mtn Way                        Claim submitted for $15,313.56 = $2,600 priority + $12,713.56 unsecured.
7100-00        Las Vegas NV 89128                       01-0022; Objection filed. Doc. 930. Claim allowed as non-priority unsecured claim for
                                                        $15,313.56.


                                                                                      2131792828        08/25/15    3157                   612.54
                                                                                      2131792828        03/11/16    3552                 1,837.63
                                                                                      2131792828        05/04/17    3972                 1,837.63
000062         Hahn Living Trust                      Unsecured                                                   $675.00                 $189.00                $486.00
070            Philip & Elisabeth Hahn, Trustees        04-0081; Mail returned 3/22/16; Called Hahn's at:
7100-00        330 Magnolia Dr                          541-517-4334 (cell); 928-342-4547 (c); In AZ, returning 4/5/16 asked that check be remailed as
               Creswell OR 97426                        address is correct.


                                                                                      2131792828        08/25/15    3158                    27.00
                                                                                      2131792828        03/11/16    3553                    81.00
                                                                                      2131792828        05/04/17    3973                    81.00
000063         Fred & Susan A Platt                   Unsecured                                                 $56,977.00            $15,953.56              $41,023.44
070            830 W 38th Ave                           01-0240
7100-00        Eugene OR 97405
                                                                                      2131792828        08/25/15    3159                 2,279.08
                                                                                      2131792828        03/11/16    3554                 6,837.24
                                                                                      2131792828        05/04/17    3974                 6,837.24
000064         O'Malley Living Trust dtd 7-6-94       Unsecured                                               $104,198.21             $29,175.50              $75,022.71
070            Arlene O'Malley                          01-0186
7100-00        2563 Jasmine St
               Eugene OR 97404
                                                                                      2131792828        08/25/15    3160                 4,167.93
                                                                                      2131792828        03/11/16    3555                12,503.78
                                                                                      2131792828        05/04/17    3975                12,503.79




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                                                                  ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed              Paid to Date      Claim Balance

000065         Sallie Sugarman Trust                  Unsecured                                                     $7,124.00           $1,994.72             $5,129.28
070            c/o Richard Carson                       04-0171
7100-00        6601 SW 155th
               Beaverton OR 97007
                                                                                      2131792828         08/25/15     3161                  284.96
                                                                                      2131792828         03/11/16     3556                  854.88
                                                                                      2131792828         05/04/17     3976                  854.88
000066         Bernice K Porter                       Unsecured                                                 $10,535.00              $2,949.80             $7,585.20
070            POB 584                                  01-0157
7100-00        Creswell OR 97426
                                                                                      2131792828         08/25/15     3162                  421.40
                                                                                      2131792828         03/11/16     3557                1,264.20
                                                                                      2131792828         05/04/17     3977                1,264.20
000067         Doreen Wall/THS Class of 1981          Unsecured                                                     $1,371.37             $383.98               $987.39
070            POB 71364
7100-00        Springfield OR 97475
                                                                                      2131792828         08/25/15     3163                   54.85
                                                                                      2131792828         03/11/16     3558                  164.57
                                                                                      2131792828         05/04/17     3978                  164.56
000068         Shane Porter & Steven Porter           Unsecured                                                      $694.00              $194.32               $499.68
070            715 Kings Row                            01-0163
7100-00        Creswell OR 97426                        Address updated per Document #1432 - Filed 10/20/16.


                                                                                      2131792828         08/25/15     3164                   27.76
                                                                                      2131792828         03/11/16     3559                   83.28
                                                                                      2131792828         05/04/17     3979                   83.28
000069         Steven & Shane Porter                  Unsecured                                               $20,313.00                $5,687.64            $14,625.36
070            715 Kings Row                            01-0162
7100-00        Creswell OR 97426                        Change of address - Document #1432 - Filed 10/20/16 by Bankruptcy Court.


                                                                                      2131792828         08/25/15     3165                  812.52
                                                                                      2131792828         03/11/16     3560                2,437.56
                                                                                      2131792828         05/04/17     3980                2,437.56
000070         June L. Trimble                        Unsecured                                                 $60,648.00             $16,981.44            $43,666.56
070            815 N. Fairgrounds Rd                    xx-0089;
7100-00        Goldendale, WA 98620                     Change of address - Document #923 - Filed 6/11/15.


                                                                                      2131792828         08/25/15     3166                2,425.92
                                                                                      2131792828         03/11/16     3561                7,277.76
                                                                                      2131792828         05/04/17     3981                7,277.76
000071         Thayer R Dickey Trust dtd 4-1-10       Unsecured                                                 $84,210.37             $23,578.90            $60,631.47
070            c/o Joe L. Dickey, Trustee               01-0120
7100-00        30448 Maple Drive                        Change of Address - Doc. 1078 - filed 9/17/15.
               Junction City, OR 97448

                                                                                      2131792828         08/25/15     3167                3,368.41
                                                                                      2131792828         03/11/16     3562               10,105.25
                                                                                      2131792828         05/04/17     3982               10,105.24



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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed              Paid to Date       Claim Balance

000072         Joe L Dickey                           Unsecured                                                 $38,248.00             $10,709.44             $27,538.56
070            Pam K. Dickey                            01-0119
7100-00        30448 Maple Drive                        Change of Address - Doc. 1079 - filed 9/17/15.
               Junction City, OR 97448

                                                                                      2131792828         08/25/15    3168                 1,529.92
                                                                                      2131792828         03/11/16    3563                 4,589.76
                                                                                      2131792828         05/04/17    3983                 4,589.76
000073         Virginia Maxine Graves                 Unsecured                                                $108,284.00             $30,319.52             $77,964.48
070            c/o Douglas Graves                       01-0026. Address updated 5/1/17.
7100-00        P.O. Box 41284
               Eugene OR 97404                          email: wildhorses1996@gmail.com


                                                                                      2131792828         08/25/15    3169                 4,331.36
                                                                                      2131792828         03/11/16    3564                12,994.08
                                                                                      2131792828         05/04/17    3984                12,994.08
000074         Ian A Hutchinson                       Unsecured                                                     $6,217.00             $1,740.76            $4,476.24
070            5511 NE 184th Street                     01-0032. Objection to priority status filed 8/17/15. Doc. 1039. Allowed as unsecured claim.
7100-00        Kenmore, WA 98028                        Change of Address - Doc. 1077 - filed 9/14/15.


                                                                                      2131792828         09/15/15    3456                   248.68
                                                                                      2131792828         03/11/16    3565                   746.04
                                                                                      2131792828         05/04/17    3985                   746.04
000075         Tom & Allison Hutchinson               Unsecured                                                 $27,108.00               $7,590.24            $19,517.76
070            1509 21st Ave                            (75-1) REVISION FOR CL #39 PER SCHEDULE F
7100-00        Longview WA 98632
                                                        01-0108


                                                                                      2131792828         08/25/15    3171                 1,084.32
                                                                                      2131792828         03/11/16    3566                 3,252.96
                                                                                      2131792828         05/04/17    3986                 3,252.96
000076         Scott M. Hutchinson                    Unsecured                                               $1,004.00                    $281.12               $722.88
070            17090 SW Rockridge Ct.                   (76-1) loan to Berjac of Oregon(76-2) Amend Claim #76
7100-00        Beaverton OR 97003                       (76-1) loan issued on 08-03-12
                                                        01-0132
                                                        Change of Address - Doc #1601--filed 01/28/18


                                                                                      2131792828         08/25/15    3172                    40.16
                                                                                      2131792828         03/11/16    3567                   120.48
                                                                                      2131792828         05/04/17    3987                   120.48
000077         Kathleen Kiefer & Scott Thomas Kiefer Unsecured                                                  $99,271.01             $27,795.87             $71,475.14
070            20738 Prince John Ct                    06-0037
7100-00        Bend OR 97702
                                                                                      2131792828         08/25/15    3173                 3,970.84
                                                                                      2131792828         03/11/16    3568                11,912.51
                                                                                      2131792828         05/04/17    3988                11,912.52




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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed              Paid to Date      Claim Balance

000078         Sandy O'Malley for Eli Hayward         Unsecured                                                     $761.00              $213.08               $547.92
070            92107 River Rd                           01-0144
7100-00        Junction City OR 97448-9405
                                                                                      2131792828        08/25/15     3174                   30.44
                                                                                      2131792828        03/11/16     3569                   91.32
                                                                                      2131792828        05/04/17     3989                   91.32
000079         Sandy O'Malley                         Unsecured                                                $80,001.33             $22,400.37            $57,600.96
070            92107 River Rd                           01-0142
7100-00        Junction City OR 97448
                                                                                      2131792828        08/25/15     3175                3,200.05
                                                                                      2131792828        03/11/16     3570                9,600.16
                                                                                      2131792828        05/04/17     3990                9,600.16
000080         Doug Graves - Vacation Fund            Unsecured                                                    $3,536.00             $990.08             $2,545.92
070            92107 River Rd                           01-0140
7100-00        Junction City OR 97448
                                                                                      2131792828        08/25/15     3176                  141.44
                                                                                      2131792828        03/11/16     3571                  424.32
                                                                                      2131792828        05/04/17     3991                  424.32
000081         Doug Graves                            Unsecured                                                $34,738.11              $9,726.67            $25,011.44
070            92107 River Rd                           01-0143
7100-00        Junction City OR 97448-9405
                                                                                      2131792828        08/25/15     3177                1,389.53
                                                                                      2131792828        03/11/16     3572                4,168.57
                                                                                      2131792828        05/04/17     3992                4,168.57
000082         Doug Graves & Sandy O'Malley           Unsecured                                               $106,584.79             $29,843.74            $76,741.05
070            92107 River Rd                           01-0141
7100-00        Junction City OR 97448
                                                                                      2131792828        08/25/15     3178                4,263.39
                                                                                      2131792828        03/11/16     3573               12,790.18
                                                                                      2131792828        05/04/17     3993               12,790.17
000083         Utis Gene Votaw                        Unsecured                                                $56,317.00             $15,768.76            $40,548.24
070            95995 Hwy 42                             05-0125 Note #02--0125
7100-00        Coos Bay OR 97420
                                                                                      2131792828        08/25/15     3179                2,252.68
                                                                                      2131792828        03/11/16     3574                6,758.04
                                                                                      2131792828        05/04/17     3994                6,758.04
000084         Judy Erickson Abel                     Unsecured                                                $72,277.18             $20,237.61            $52,039.57
070            95995 Hwy 42                             05-0002
7100-00        Coos Bay OR 97420                        Change of Address - Doc. 434 - filed 8/20/13.


                                                                                      2131792828        08/25/15     3180                2,891.09
                                                                                      2131792828        03/11/16     3575                8,673.26
                                                                                      2131792828        05/04/17     3995                8,673.26




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                               Amount Allowed              Paid to Date         Claim Balance

000085         Barbara A Sims & Tom Sims-Wros         Unsecured                                                   $48,313.52              $13,527.78              $34,785.74
070            395 Hawthorne                            No documents
7100-00        Eugene OR 97404
                                                                                       2131792828         08/25/15     3181                  1,932.54
                                                                                       2131792828         03/11/16     3576                  5,797.62
                                                                                       2131792828         05/04/17     3996                  5,797.62
000086         Alexander Mann                         Unsecured                                                    $15,271.00               $4,275.88             $10,995.12
070            Carol Mann                               Claim filed for $15,271.00 = $10,000 priority + $5,271.00 unsecured.
7100-00        4079 Governor Dr #800                    06-0129
               San Diego CA 92122                       Objection filed. Doc. 931. Claim not entitled to priority. Allowed as a non-priority, unsecured
                                                        claim for $15,271.00. No response.


                                                                                       2131792828         03/11/16     3577                  2,443.36
                                                                                       2131792828         05/04/17     3997                  1,832.52
000087         Christine Anne Jones                   Unsecured                                                      $1,035.00               $289.80                 $745.20
070            General Delivery                         New Phone # 541 232-8359
7100-00        Eugene, OR 97440                         Change of Address - Document #1604 Filed 2/18/18.

                                                        Change of Address--Document #1634 filed 08/17/18


                                                                                       2131792828         08/25/15     3183                     41.40
                                                                                       2131792828         03/11/16     3578                    124.20
                                                                                       2131792828         05/04/17     3998                    124.20
000088         Mary M Ellingson                       Unsecured                                                   $48,844.50              $13,676.46              $35,168.04
070            POB 306                                  01-0002
7100-00        Bandon OR 97411
                                                                                       2131792828         08/25/15     3184                  1,953.78
                                                                                       2131792828         03/11/16     3579                  5,861.34
                                                                                       2131792828         05/04/17     3999                  5,861.34
000089         Kendall W. Reeves                      Unsecured                                                      $8,877.00             $2,485.56               $6,391.44
070            2044 Southern Ave., Apt. 5               Note# 04-0225; Acct# 04-0225;
7100-00        Memphis, TN 38114                        Change of Address - Doc. 1033 - filed 8/3/15. .


                                                                                       2131792828         08/25/15     3185                    355.08
                                                                                       2131792828         03/11/16     3580                  1,065.24
                                                                                       2131792828         05/04/17     4000                  1,065.24
000090         Anna M Culcasi Trust                   Unsecured                                                   $80,664.52              $22,586.06              $58,078.46
070            Anna M Culcasi Trustee                   01-0241
7100-00        4055 Royal Ave #25
               Eugene OR 97402
                                                                                       2131792828         08/25/15     3186                  3,226.58
                                                                                       2131792828         03/11/16     3581                  9,679.74
                                                                                       2131792828         05/04/17     4001                  9,679.74
000091         David & Jessie Fountain                Unsecured                                                $101,959.50                $18,548.66              $83,410.84
071            Watkinson Laird Rubenstein, P.C.         (91-2) Corrected creditor address to match claim 01-0184
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567                           Creditor Change of Address filed 10/19/18--Document #1682
               Eugene, OR 97440-2567


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 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class        Notes                             Amount Allowed           Paid to Date      Claim Balance




                                                                                       2131792828         03/11/16   3844               6,313.52
                                                                                       2131792828         05/04/17   4002              12,235.14
000092         Harry Abel Jr Living Revocable Trust   Unsecured                                                  $11,997.25           $3,359.23             $8,638.02
070            93706 Pickett Lane                       01-0003
7100-00        Coos Bay OR 97420
                                                                                       2131792828         08/25/15   3187                 479.89
                                                                                       2131792828         03/11/16   3582               1,439.67
                                                                                       2131792828         05/04/17   4003               1,439.67
000093         Colleen Bartlett                       Unsecured                                                    $0.00                  $0.00                  $0.00
070            c/o Connie Bartlett-Pitts                Objection to Claim and Order and Notice Thereon - Document #932 - Filed 6/19/15. This Claim
7100-00        2470 Arbor Dr                            duplicates Claim #20.
               West Linn OR 97068

000094         Natalie Crowder                        Unsecured                                                  $35,263.00           $9,873.64            $25,389.36
070            300 Dibblee Ln                           No documents
7100-00        Eugene OR 97404
                                                                                       2131792828         08/25/15   3188               1,410.52
                                                                                       2131792828         03/11/16   3583               4,231.56
                                                                                       2131792828         05/04/17   4004               4,231.56
000095         Ruthann Heaton, Trustee                Unsecured                                                 $120,925.00          $33,859.00            $87,066.00
070            Jay W, Heaton, Trustee                   01-0266;
7100-00        Heaton Family Trust                      Change of Address - Doc. 1459 - filed 11/16/16.
               235 NW Melrose
               Sublimity, OR 97385
                                                                                       2131792828         08/25/15   3189               4,837.00
                                                                                       2131792828         03/11/16   3584              14,511.00
                                                                                       2131792828         05/04/17   4005              14,511.00
000096         Allen Arthur Prigge Revocable Trust    Unsecured                                              $132,141.29             $36,999.56            $95,141.73
070            Allen Arthur Prigge, Trustee             Creditor Change of Address - Document #1626 - Filed 7/13/18.
7100-00        5320 Fox Hollow Rd. #C2
               Eugene OR 97405
                                                                                       2131792828         08/25/15   3190               5,285.65
                                                                                       2131792828         03/11/16   3585              15,856.96
                                                                                       2131792828         05/04/17   4006              15,856.95
000097         Timothy A & Gayle A Atteberry          Unsecured                                                  $22,632.99           $6,337.24            $16,295.75
070            87366 Dukhobar Rd                        (97-1) Corrected date filed. 04-0084
7100-00        Eugene OR 97402
                                                                                       2131792828         08/25/15   3191                 905.32
                                                                                       2131792828         03/11/16   3586               2,715.96
                                                                                       2131792828         05/04/17   4007               2,715.96
000098         Tim Atteberry                          Unsecured                                                  $25,665.49           $7,186.33            $18,479.16
070            87366 Dukhobar Rd                        (98-1) Corrected date filed.
7100-00        Eugene OR 97402
                                                                                       2131792828         08/25/15   3192               1,026.62
                                                                                       2131792828         03/11/16   3587               3,079.85
                                                                                       2131792828         05/04/17   4008               3,079.86




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed              Paid to Date      Claim Balance

000099         Lorraine Smith (Deceased)              Unsecured                                                $100,441.00             $28,123.48             $72,317.52
070            Kathryn A Wilke and Karen L. Smith       (99-1) Corrected date filed. 01-0291;
7100-00        204 NE 304th Avenue                      Change of Address - Doc. 874 - filed 4/13/15.
               Washougal, WA 98671

                                                                                      2131792828         08/25/15     3193                4,017.64
                                                                                      2131792828         03/11/16     3588               12,052.92
                                                                                      2131792828         05/04/17     4009               12,052.92
000100         Ellen J Hutchinson                     Unsecured                                                     $1,317.00             $368.76               $948.24
070            1614 Summit Ave #207                     (100-1) Corrected date filed. 01-0110
7100-00        Seattle WA 98122
                                                                                      2131792828         08/25/15     3194                   52.68
                                                                                      2131792828         03/11/16     3589                  158.04
                                                                                      2131792828         05/04/17     4010                  158.04
000101         Spencer Creek Lutheran                 Unsecured                                               $14,131.97                $3,956.95             $10,175.02
070            PO Box 2991                              01-0086 - Address for payments updated per Claim 101-1 filed 10/10/12.
7100-00        Eugene OR 97402
                                                                                      2131792828         08/25/15     3195                  565.28
                                                                                      2131792828         03/11/16     3590                1,695.83
                                                                                      2131792828         05/04/17     4011                1,695.84
000102         Gustav Oaxaca Berger-Brown             Unsecured                                                     $1,051.00             $294.28               $756.72
070            c/o Tiffany Lee Brown                    01-0107 -
7100-00        PO Box 104                               Change of Address - Doc. 1495 - filed 2/13/17.
               Sisters, OR 97759

                                                                                      2131792828         08/25/15     3196                   42.04
                                                                                      2131792828         03/11/16     3591                  126.12
                                                                                      2131792828         05/04/17     4012                  126.12
000103         Ted and Lindy Brown                    Unsecured                                              $146,826.49               $41,111.42            $105,715.07
070            PO Box 2991                              01-0106 - Address updated per POC payment address filed 10/10/12.
7100-00        Eugene OR 97402
                                                                                      2131792828         08/25/15     3197                5,873.06
                                                                                      2131792828         03/11/16     3592               17,619.18
                                                                                      2131792828         05/04/17     4013               17,619.18
000104         Nancy M Dezsofi                        Unsecured                                                     $8,447.58           $2,365.32              $6,082.26
070            15420 NE 12th St                         05-0011
7100-00        Vancouver WA 98684
                                                                                      2131792828         08/25/15     3198                  337.90
                                                                                      2131792828         03/11/16     3593                1,013.71
                                                                                      2131792828         05/04/17     4014                1,013.71
000105         Thomas and Ann Harris                  Unsecured                                                $318,154.00             $89,083.12            $229,070.88
070            c/o John C. Fisher, Attorney at Law      (105-1) Money Loaned; 04-0315
7100-00        767 Willamette St. Suite 302
               Eugene, OR 97401
                                                                                      2131792828         08/25/15     3199               12,726.16
                                                                                      2131792828         03/11/16     3594               38,178.48
                                                                                      2131792828         05/04/17     4015               38,178.48




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed               Paid to Date      Claim Balance

000106         Roberto Carlos Perez                   Unsecured                                                $96,944.00            $27,144.32              $69,799.68
070            Jose Perez, Custodian                    Objection to Claim #25 - Document #1286 - Filed 4/13/16. Duplicate of Claim #106.
7100-00        586 Flagler St                           Creditor received payments on Claim #106. The payments on Claim #25 were made in error and
               San Jose CA 95127                        refunded by creditor on 4/11/16.


                                                                                      2131792828        08/25/15     3200                 3,877.76
                                                                                      2131792828        03/11/16     3595                11,633.28
                                                                                      2131792828        05/04/17     4016                11,633.28
000107         Britt Hansen                           Unsecured                                                 $18,710.00              $5,238.80            $13,471.20
070            8956 S 260th E Ave                       01-0193
7100-00        Broken Arrow OK 74014
                                                                                      2131792828        08/25/15     3201                   748.40
                                                                                      2131792828        03/11/16     3596                 2,245.20
                                                                                      2131792828        05/04/17     4017                 2,245.20
000108         Mid-State Industrial Svc Inc           Unsecured                                                 $52,341.00             $14,655.48            $37,685.52
070            88696 McVay Hwy                          04-0066
7100-00        Eugene OR 97405
                                                                                      2131792828        08/25/15     3202                 2,093.64
                                                                                      2131792828        03/11/16     3597                 6,280.92
                                                                                      2131792828        05/04/17     4018                 6,280.92
000109         Mary Carson-Vanlanduyt                 Unsecured                                                    $8,555.00            $2,395.40             $6,159.60
070            3927 NE 32nd Pl                          01-0102
7100-00        Portland OR 97212
                                                                                      2131792828        08/25/15     3203                   342.20
                                                                                      2131792828        03/11/16     3598                 1,026.60
                                                                                      2131792828        05/04/17     4019                 1,026.60
000110         Sugarman Trust + VanLanduyt +          Unsecured                                                 $44,214.00             $12,379.92            $31,834.08
070            Carson                                   04-0172
7100-00        c/o Mary Carson-VanLanduyt
               3927 NE 32nd Pl
                                                                                      2131792828        08/25/15     3204                 1,768.56
               Portland OR 97212
                                                                                      2131792828        03/11/16     3599                 5,305.68
                                                                                      2131792828        05/04/17     4020                 5,305.68
000111         James D. Dodson, Trustee               Unsecured                                            $107,487.00                $30,096.36             $77,390.64
070            Fred and Mary Dodson Estate              01-0152;- Amended claim Document #1320 - filed 6/7/16.
7100-00        35503 Brabham Road                       Fred and Mary Dodson are deceased. James. D. Dodson is the estate executor and trustee..
               Pleasant Hill, OR 97455-9657

                                                                                      2131792828        08/25/15     3205                 4,299.48
                                                                                      2131792828        03/11/16     3600                12,898.44
                                                                                      2131792828        05/04/17     4021                12,898.44
000112         Patty Wiles                            Unsecured                                                 $68,145.00             $19,080.60            $49,064.40
070            511 SE Plum                              (112-1) Corrected: Creditor Address edited to match Proof of Claim; 04-0075
7100-00        Sutherlin OR 97479
                                                                                      2131792828        08/25/15     3206                 2,725.80
                                                                                      2131792828        03/11/16     3601                 8,177.40
                                                                                      2131792828        05/04/17     4022                 8,177.40




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                                                                  ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed             Paid to Date        Claim Balance

000113         Skeie's Jewelers Profit Sharing Acct   Unsecured                                                   $54,443.00           $15,244.04             $39,198.96
070            10 Oakway Center                         04-0050; Objection to priority status filed 8/17/15. Doc. 1040. Allowed as unsecured claim.
7100-00        Eugene OR 97401
                                                                                      2131792828        08/25/15     3207                 2,177.72
                                                                                      2131792828        03/11/16     3602                 6,533.16
                                                                                      2131792828        05/04/17     4023                 6,533.16
000114         Tanya Van Sant                         Unsecured                                                 $13,000.00              $3,640.00              $9,360.00
070            125 Cedar S #9 S
7100-00        New York City, NY 10006
                                                                                      2131792828        08/25/15     3208                   520.00
                                                                                      2131792828        03/11/16     3603                 1,560.00
                                                                                      2131792828        05/04/17     4024                 1,560.00
000115         Fish                                   Unsecured                                                 $18,304.00              $5,125.12             $13,178.88
070            POB 2412                                 04-0300
7100-00        Eugene OR 97402
                                                                                      2131792828        08/25/15     3209                   732.16
                                                                                      2131792828        03/11/16     3604                 2,196.48
                                                                                      2131792828        05/04/17     4025                 2,196.48
000116         Kalila J Fuller                        Unsecured                                                    $5,507.00            $1,541.96              $3,965.04
070            Tami Fuller                              no paperwork
7100-00        2 Gershwin Ct
               Lake Oswego OR 97035
                                                                                      2131792828        08/25/15     3210                  220.28
                                                                                      2131792828        03/11/16     3605                  660.84
                                                                                      2131792828        05/04/17     4026                  660.84
000117         Alison K Myers                         Unsecured                                                    $5,507.00            $1,541.96              $3,965.04
070            4325 Commerce St #111                    no paperwork
7100-00        PMB 503
               Eugene OR 97402
                                                                                      2131792828        08/25/15     3211                  220.28
                                                                                      2131792828        03/11/16     3606                  660.84
                                                                                      2131792828        05/04/17     4027                  660.84
000118         Bradley Nelson Myers                   Unsecured                                                 $12,059.00              $3,376.52              $8,682.48
070            Toni Myers                               no paperwork
7100-00        4325 Commerce St #111
               PMB 503
                                                                                      2131792828        08/25/15     3212                   482.36
               Eugene OR 97402
                                                                                      2131792828        03/11/16     3607                 1,447.08
                                                                                      2131792828        05/04/17     4028                 1,447.08
000119         Esmee C Fuller                         Unsecured                                                    $5,507.00            $1,541.95              $3,965.05
070            Tami Fuller                              no paperwork
7100-00        2 Gershwin Ct
               Lake Oswego OR 97035
                                                                                      2131792828        08/25/15     3213                  220.28
                                                                                      2131792828        03/11/16     3608                  660.83
                                                                                      2131792828        05/04/17     4029                  660.84
000120         Roger A and Kay A Rau                  Unsecured                                                $125,373.92             $35,104.70             $90,269.22
070            3218 NE 54th Ave                         no paperwork
7100-00        Albany OR 97321
                                                                                      2131792828        08/25/15     3214                 5,014.96


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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                             Amount Allowed             Paid to Date      Claim Balance


                                                                                      2131792828       03/11/16      3609              15,044.87
                                                                                      2131792828       05/04/17      4030              15,044.87
000121         Roger A and Kay A Rau                  Unsecured                                                $30,839.00             $8,634.92             $22,204.08
070            3218 NE 54th Ave                         no paperwork
7100-00        Albany OR 97321
                                                                                      2131792828       08/25/15      3215               1,233.56
                                                                                      2131792828       03/11/16      3610               3,700.68
                                                                                      2131792828       05/04/17      4031               3,700.68
000122         Toni K Myers                           Unsecured                                                   $7,227.00           $2,023.56              $5,203.44
070            4325 Commerce St #111                    no paperwork
7100-00        PMB 503
               Eugene OR 97402
                                                                                      2131792828       08/25/15      3216                 289.08
                                                                                      2131792828       03/11/16      3611                 867.24
                                                                                      2131792828       05/04/17      4032                 867.24
000123         Michael Phinney                        Unsecured                                                $44,617.00            $12,492.76             $32,124.24
070            27410 Crow Rd                            04-0200
7100-00        Eugene OR 97402
                                                                                      2131792828       08/25/15      3217               1,784.68
                                                                                      2131792828       03/11/16      3612               5,354.04
                                                                                      2131792828       05/04/17      4033               5,354.04
000124         Thomas M. and Cari L. Orr              Unsecured                                                $21,645.00             $6,060.60             $15,584.40
070            26595 W. Melinda Lane                    04-0160
7100-00        Buckeye, AZ 85396                        Change of Address--Doc #1600-filed 01/26/18


                                                                                      2131792828       09/11/15      3455                 865.80
                                                                                      2131792828       03/11/16      3613               2,597.40
                                                                                      2131792828       05/04/17      4034               2,597.40
000125         Hutchinson Cox Coons Orr & Sherlock Unsecured                                                 $78,103.02              $21,868.85             $56,234.17
070            PC                                    04-0513. Change of Address - Doc. 1210 - filed 12/29/15.
7100-00        Profit Sharing Plan
               c/o Thomas M. Orr
                                                                                  2131792828         08/25/15    3219                   3,124.12
               PO Box 10886
                                                                                  2131792828         03/11/16    3614                   9,372.37
               Euegne, OR 97440
                                                                                  2131792828         05/04/17    4035                   9,372.36
000126         Hutchinson Cox Coons Orr & Sherlock Unsecured                                                 $32,149.63               $9,001.90             $23,147.73
070            PC                                    04-0500.
7100-00        c/o Thomas M. Orr                     Change of Address - Doc. 1209 - filed 12/29/15.
               PO Box 10886
               Eugene, OR 97440
                                                                                  2131792828         08/25/15    3220                   1,285.99
                                                                                  2131792828         03/11/16    3615                   3,857.95
                                                                                  2131792828         05/04/17    4036                   3,857.96
000127         Ronald A Harris                        Unsecured                                             $148,513.00              $31,583.64            $116,929.36
071            1970 NE Stephens                         Creditor Change of Address. Document #1648 Filed--10/16/18
7100-00        Roseburg, OR 97470
                                                        (127-2) Corrected creditor name and address to match claim
                                                        01-0114



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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed              Paid to Date       Claim Balance


                                                                                      2131792828        03/11/16     3845                13,762.08
                                                                                      2131792828        05/04/17     4037                17,821.56
000128         Melvin H Drews Jr.                     Unsecured                                                    $4,013.00            $1,123.63              $2,889.37
070            416 Marian Ave                           01-0023
7100-00        Central Point OR 97502
                                                                                      2131792828        08/25/15     3221                   160.52
                                                                                      2131792828        06/20/17     4284                   481.56
                                                                                      2131792828        06/20/17     4285                   481.55
000129         Lura E Folkerts                        Unsecured                                                 $224,471.00            $62,851.88            $161,619.12
070            175 S. Garden Way, Apt #402              Creditor Change of Address - Document #1644 - Filed 10/11/18
7100-00        Eugene, OR 97401                         Creditor could not cash check as Trust did not have a bank account. She submited a Creditor
                                                        Change of Address for a name change per instructions from the Bankruptcy Court -
                                                        Document #1536 - Filed 5/12/17.
                                                        Lura Folkerts phone # 458 215-4988.


                                                                                      2131792828        08/25/15     3222                 8,978.84
                                                                                      2131792828        03/11/16     3617                26,936.52
                                                                                      2131792828        05/12/17     4274                26,936.52
000130         Betty & Fred Schenfeld                 Unsecured                                                    $2,029.00              $568.12              $1,460.88
070            2509 Newcastle                           01-0219
7100-00        Eugene OR 97404
                                                                                      2131792828        08/25/15     3223                    81.16
                                                                                      2131792828        03/11/16     3618                   243.48
                                                                                      2131792828        05/04/17     4040                   243.48
000131         Corinne C. Hunt                        Unsecured                                             $164,281.00                $45,998.68            $118,282.32
070            3240 Diamond Street                      Change of Address - Document #1728 - Filed 4/22/19.
7100-00        Klamath Falls, OR 97601
                                                                                      2131792828        08/25/15     3224                 6,571.24
                                                                                      2131792828        03/11/16     3619                19,713.72
                                                                                      2131792828        05/04/17     4041                19,713.72
000132         David Barajas                          Unsecured                                            $106,266.00              $29,754.48                $76,511.52
070            2392 Cleveland St.                       no paperwork; 3/10/16 - New Change of Address - Document #1540 - filed 5/18/17. (541
7100-00        Eugene, OR 97405                         345-9090).


                                                                                      2131792828        08/25/15     3225                 4,250.64
                                                                                      2131792828        03/11/16     3620                12,751.92
                                                                                      2131792828        05/04/17     4042                12,751.92
000133         Corrie Herman                          Unsecured                                                 $19,051.00              $5,334.28             $13,716.72
070            3118 NE Rosa Parks Way                   01-0221
7100-00        Portland OR 97211
                                                                                      2131792828        08/25/15     3226                   762.04
                                                                                      2131792828        03/11/16     3621                 2,286.12
                                                                                      2131792828        05/04/17     4043                 2,286.12




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 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed              Paid to Date         Claim Balance

000134         Mad Fish SEO                           Unsecured                                                 $27,000.00               $7,560.00             $19,440.00
070            Corrie Herman                            01-0223
7100-00        1305 NW 18th Ave                         Change of Address - Doc. 848 - filed 3/2/15.
               Portland OR 97209

                                                                                      2131792828         08/25/15     3227                1,080.00
                                                                                      2131792828         03/11/16     3622                3,240.00
                                                                                      2131792828         05/04/17     4044                3,240.00
000135         Benjamin & Corrie Herman               Unsecured                                                     $2,972.00             $832.16               $2,139.84
070            3118 NE Rosa Parks Way                   01-0222
7100-00        Portland OR 97211
                                                                                      2131792828         08/25/15     3228                  118.88
                                                                                      2131792828         03/11/16     3623                  356.64
                                                                                      2131792828         05/04/17     4045                  356.64
000136         Jesse Tyrell Hooker                    Unsecured                                                 $14,309.00               $4,006.52             $10,302.48
070            6455 SW Nyberg Rd. #1108                 Change of address--Document #1597-Filed 12/20/17
7100-00        Tualatin, OR 97062
                                                                                      2131792828         08/25/15     3229                  572.36
                                                                                      2131792828         03/11/16     3624                1,717.08
                                                                                      2131792828         05/04/17     4046                1,717.08
000137         John Fietsch                           Unsecured                                                $103,211.48             $28,899.21              $74,312.27
070            Lesley Ripka                             06-0100
7100-00        2738 Dehesa Rd
               El Cajon CA 92109
                                                                                      2131792828         08/25/15     3230                4,128.46
                                                                                      2131792828         03/11/16     3625               12,385.37
                                                                                      2131792828         05/04/17     4047               12,385.38
000138         Leslie D Ripka Trust                   Unsecured                                                 $34,393.71               $9,630.24             $24,763.47
070            Leslie Ripka                             06-0122
7100-00        2738 Dehesa Rd
               El Cajon CA 92019
                                                                                      2131792828         08/25/15     3231                1,375.75
                                                                                      2131792828         03/11/16     3626                4,127.24
                                                                                      2131792828         05/04/17     4048                4,127.25
000139         Dana Howell                            Unsecured                                                         $0.00                 $0.00                 $0.00
070            23222 Teil Glen Rd                          Creditor Stipulated to Deferred Judgment of $6,200 to settle Adversary Proceeding 14-06164.
7100-00        Wildomar CA 92595                        See Document #803 filed 01/29/2015.
                                                           3 interim dividend payments totaling $4,568.50 were offset against judgment, leaving balance
                                                        of $1631.50. Creditor did not respond toTrustee request to pay balance of judgment, as remaining
                                                        final divided payment will be less than balance due. Trustee will object to claiim.

                                                        01-0192; Amended claim filed 8/4/15


000140         Michael I and Rebecca S Cyphert        Unsecured                                                     $2,587.68             $724.54               $1,863.14
070            1795 NW Calkins Ave                      01-0056
7100-00        Roseburg, OR 97471
                                                                                      2131792828         08/25/15     3232                  103.51
                                                                                      2131792828         03/11/16     3627                  310.51
                                                                                      2131792828         05/04/17     4049                  310.52



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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed              Paid to Date      Claim Balance

000141         Nixon Family Trust                     Unsecured                                                     $339.00               $94.92               $244.08
070            c/o Linda Frantz                         04-0068
7100-00        1139 NW Baltimore Ave
               Bend OR 97701
                                                                                      2131792828        08/25/15     3233                   13.56
                                                                                      2131792828        03/11/16     3628                   40.68
                                                                                      2131792828        05/04/17     4050                   40.68
000142         Linda D & David P Frantz               Unsecured                                                $41,800.00             $11,704.00             $30,096.00
070            1139 NW Baltimore Ave                    04-0065
7100-00        Bend OR 97701
                                                                                      2131792828        08/25/15     3234                1,672.00
                                                                                      2131792828        03/11/16     3629                5,016.00
                                                                                      2131792828        05/04/17     4051                5,016.00
000143         Lynette Mischkot                       Unsecured                                                $13,914.00              $3,895.92             $10,018.08
070            Christopher Mattson                      01-0083 and 01-0082
7100-00        2016 S Scyene
               Boise ID 83712
                                                                                      2131792828        08/25/15     3235                  556.56
                                                                                      2131792828        03/11/16     3630                1,669.68
                                                                                      2131792828        05/04/17     4052                1,669.68
000144         Bruce Barents                          Unsecured                                               $679,491.15            $190,257.52            $489,233.63
070            7207 Kanapolis Dr                        01-0170
7100-00        Crossville, TN 38572-3539                Change of Address - Doc. 549 - filed 4/11/14.


                                                                                      2131792828        08/25/15     3236               27,179.64
                                                                                      2131792828        03/11/16     3631               81,538.94
                                                                                      2131792828        05/04/17     4053               81,538.94
000145         Brandon J Kutz                         Unsecured                                                    $7,791.40           $2,181.59              $5,609.81
070            Susan Abbott                             01-0259
7100-00        4903 Cone Ave
               Eugene OR 97402
                                                                                      2131792828        08/25/15     3237                  311.66
                                                                                      2131792828        03/11/16     3632                  934.96
                                                                                      2131792828        05/04/17     4054                  934.97
000146         Hallie M Night Pipe                    Unsecured                                                    $6,735.00           $1,885.80              $4,849.20
070            Susan Abbott                             01-0257
7100-00        4903 Cone Ave
               Eugene OR 97402
                                                                                      2131792828        08/25/15     3238                  269.40
                                                                                      2131792828        03/11/16     3633                  808.20
                                                                                      2131792828        05/04/17     4055                  808.20
000147         Susan D Abbott Lvg Trust dtd 12-23-09 Unsecured                                                 $55,010.84             $15,403.03             $39,607.81
070            Susan Abbott, Trustee                   01-0258
7100-00        4903 Cone Ave
               Eugene OR 97402
                                                                                      2131792828        08/25/15     3239                2,200.43
                                                                                      2131792828        03/11/16     3634                6,601.30
                                                                                      2131792828        05/04/17     4056                6,601.30




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed              Paid to Date       Claim Balance

000148         Mia Ayame Kutz                         Unsecured                                                    $5,290.00            $1,481.20             $3,808.80
070            Susan Abbott                             01-0260
7100-00        4903 Cone Ave
               Eugene OR 97402
                                                                                      2131792828        08/25/15     3240                  211.60
                                                                                      2131792828        03/11/16     3635                  634.80
                                                                                      2131792828        05/04/17     4057                  634.80
000149         David Butler                           Unsecured                                                 $19,833.00              $5,553.24            $14,279.76
070            2313 NW Garfield                         06-0145
7100-00        Corvallis OR 97330
                                                                                      2131792828        08/25/15     3241                  793.32
                                                                                      2131792828        03/11/16     3636                2,379.96
                                                                                      2131792828        05/04/17     4058                2,379.96
000150         Thomas M Butler & Glee E Butler        Unsecured                                                $254,695.74             $71,314.81           $183,380.93
070            2313 NW Garfield                         06-0056
7100-00        Corvallis OR 97330
                                                                                      2131792828        08/25/15     3242               10,187.83
                                                                                      2131792828        03/11/16     3637               30,563.49
                                                                                      2131792828        05/04/17     4059               30,563.49
000151         Steckelberg-Glass, Loretta             Unsecured                                                $119,787.46             $33,540.49            $86,246.97
070            2483 North Hampton Rd                    (151-1) Edited address to match claim;
7100-00        Eugene OR 97404
                                                                                      2131792828        08/25/15     3243                4,791.50
                                                                                      2131792828        03/11/16     3638               14,374.49
                                                                                      2131792828        05/04/17     4060               14,374.50
000152         Theodore & Loretta Glass Joint Trust   Unsecured                                                $994,673.00             $271,008.44          $723,664.56
071            c/o Scott R. Palmer                      (152-1) Edited address to match claim(152-2) Corrected creditor address to match claim;
7100-00        Watkinson Laird et al.                   04-0100
               101 E Broadway #200
               Eugene OR 97401
                                                                                      2131792828        08/25/15     3449               32,286.92
                                                                                      2131792828        03/11/16     3846              119,360.76
                                                                                      2131792828        05/04/17     4061              119,360.76
000153         Butler, Paul D & Natalie B             Unsecured                                                 $44,650.00             $12,502.00            $32,148.00
070            15506 NE 14th St                         06-0005
7100-00        Vancouver WA 98684
                                                                                      2131792828        08/25/15     3244                1,786.00
                                                                                      2131792828        03/11/16     3639                5,358.00
                                                                                      2131792828        05/04/17     4062                5,358.00
000154         Pohll, Michael                         Unsecured                                                 $10,536.00              $2,950.08             $7,585.92
070            c/o Norm & Ruth Pohll                    01-0298
7100-00        1630 Elanco Ln
               Eugene OR 97408
                                                                                      2131792828        08/25/15     3245                  421.44
                                                                                      2131792828        03/11/16     3640                1,264.32
                                                                                      2131792828        05/04/17     4063                1,264.32




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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                               Amount Allowed           Paid to Date      Claim Balance

000155         Jones, Elena R                         Unsecured                                                     $584.94              $163.78               $421.16
070            Norman Pohll, Custodian                  01-0299
7100-00        1630 Elanco Ln
               Eugene OR 97408
                                                                                      2131792828        08/25/15     3246                   23.40
                                                                                      2131792828        03/11/16     3641                   70.19
                                                                                      2131792828        05/04/17     4064                   70.19
000156         Pohll, Jared C                         Unsecured                                                    $6,070.64           $1,699.78              $4,370.86
070            Norman Pohll, Custodian                  01-0228
7100-00        1630 Elanco Ln
               Eugene OR 97408
                                                                                      2131792828        08/25/15     3247                  242.83
                                                                                      2131792828        03/11/16     3642                  728.47
                                                                                      2131792828        05/04/17     4065                  728.48
000157         Ruth Pohll                             Unsecured                                                $205,109.34            $57,430.62            $147,678.72
070            1630 Elanco Ln                           (157-1) Document Access Restricted at Filing Party's Request as Document Inadvertently
7100-00        Eugene OR 97408                          Contained Sensitive Personal Data. See Claim #157-2 for Refiled Document.
                                                        01-0225


                                                                                      2131792828        08/25/15     3248                8,204.37
                                                                                      2131792828        03/11/16     3643               24,613.13
                                                                                      2131792828        05/04/17     4066               24,613.12
000158         Van Sant, Luella G                     Unsecured                                              $622,873.00             $168,404.44            $454,468.56
071            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/16/18--Document #1669
7100-00        1203 Willamette Street, Suite 200
               P.O.Box 10567                            (158-2) Corrected creditor address to match claim
               Eugene OR 97440-2567
                                                        01-0202


                                                                                      2131792828        08/25/15     3450               18,914.92
                                                                                      2131792828        03/11/16     3847               74,744.76
                                                                                      2131792828        05/04/17     4067               74,744.76
000159         Van Sant, Dennis & Bonnie              Unsecured                                                 $245,835.35           $68,833.89            $177,001.46
070            2404 Devon Ave                           01-0150
7100-00        Eugene OR 97408
                                                                                      2131792828        08/25/15     3249                9,833.41
                                                                                      2131792828        03/11/16     3644               29,500.24
                                                                                      2131792828        05/04/17     4068               29,500.24
000160         Vansant, Douglas                       Unsecured                                               $10,412.00               $2,915.36              $7,496.64
070            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/16/18--Document #160
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567                           01-0155
               Eugene OR 97440-2567

                                                                                      2131792828        08/25/15     3250                  416.48
                                                                                      2131792828        03/11/16     3645                1,249.44
                                                                                      2131792828        05/04/17     4069                1,249.44
000161         Northup, Darryl L/Northup, Alberta E   Unsecured                                                  $27,874.00            $7,804.72             $20,069.28
070            131 9th St                               01-0091
7100-00        Port Angeles WA 98362



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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed               Paid to Date      Claim Balance


                                                                                      2131792828       08/25/15    3251                   1,114.96
                                                                                      2131792828       03/11/16    3646                   3,344.88
                                                                                      2131792828       05/04/17    4070                   3,344.88
000162         Apostolic Faith Church of Chehalis WA Unsecured                                                $198,414.00              $55,555.92           $142,858.08
070            Jack Chasteen, Darrel Lee, Tim Mixer    01-0021
7100-00        POB 446
               Chehalis WA 98532
                                                                                      2131792828       08/25/15    3252                   7,936.56
                                                                                      2131792828       03/11/16    3647                  23,809.68
                                                                                      2131792828       05/04/17    4071                  23,809.68
000163         Gregory P & Phyllis M Horn             Unsecured                                                $24,193.00               $6,774.04            $17,418.96
070            63930 Deschutes Market Road              01-0185;
7100-00        Bend, OR 97701                           Change of address - Document #1069 - Filed 9/08/15.


                                                                                      2131792828       08/25/15    3253                     967.72
                                                                                      2131792828       03/11/16    3648                   2,903.16
                                                                                      2131792828       05/04/17    4072                   2,903.16
000164         Berakah LLC                            Unsecured                                                 $12,323.01              $3,450.44             $8,872.57
070            c/o Grant Spies                          (164-1) Corrected: Creditor Address edited to match Proof of Claim; 04-0099
7100-00        36050 Jasper Rd
               Springfield OR 97478
                                                                                      2131792828       08/25/15    3254                     492.92
                                                                                      2131792828       03/11/16    3649                   1,478.76
                                                                                      2131792828       05/04/17    4073                   1,478.76
000165         Spies, Grant & Debra                   Unsecured                                               $168,898.00              $47,291.44           $121,606.56
070            36050 Jasper Rd                          04-0098
7100-00        Springfield OR 97478
                                                                                      2131792828       08/25/15    3255                   6,755.92
                                                                                      2131792828       03/11/16    3650                  20,267.76
                                                                                      2131792828       05/04/17    4074                  20,267.76
000166         Apostolic Faith Chuch of Port Angeles Unsecured                                                 $19,389.00               $5,428.92            $13,960.08
070            Larry & Kate Montgomery, D Lee, E       01-0016
7100-00        Jacobs
               POB 9
                                                                                      2131792828       08/25/15    3256                     775.56
               Port Angeles WA 98362
                                                                                      2131792828       03/11/16    3651                   2,326.68
                                                                                      2131792828       05/04/17    4075                   2,326.68
000167         Von Wald, Kimberly A                   Unsecured                                                $27,574.70              $7,720.91             $19,853.79
070            11024 Forest Ave S                       04-0022; Objection filed 8/27/15. Doc. 1059. Allowed as general unsecured claim.
7100-00        Seattle WA 98178
                                                                                      2131792828       08/25/15    3257                   1,102.99
                                                                                      2131792828       03/11/16    3652                   3,308.96
                                                                                      2131792828       05/04/17    4076                   3,308.96
000168         Rosenlof, Wayne & Rosenlof, Janis J    Unsecured                                               $357,695.00             $100,154.60           $257,540.40
070            3020 Winkel Way                          06-0125
7100-00        West Linn OR 97068-2165
                                                                                      2131792828       08/25/15    3258                  14,307.80
                                                                                      2131792828       03/11/16    3653                  42,923.40


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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed             Paid to Date       Claim Balance


                                                                                      2131792828       05/04/17    4077                42,923.40
000169         Rosenlof, Wayne & Rosenlof, Janis J    Unsecured                                                $109,888.00             $30,768.64           $79,119.36
070            3020 Winkel Way                          (169-1) Edited address to match claim(169-2) Edited address to match claim; 06-0132
7100-00        West Linn OR 97068-2165
                                                                                      2131792828       08/25/15    3259                 4,395.52
                                                                                      2131792828       03/11/16    3654                13,186.56
                                                                                      2131792828       05/04/17    4078                13,186.56
000170         Siegmund, Catherine J, Trustee         Unsecured                                                $85,785.00             $24,019.80            $61,765.20
070            Rev Trust dtd 11-16-01                   05-0113
7100-00        2545 W 23rd
               Eugene OR 97405
                                                                                      2131792828       08/25/15    3260                 3,431.40
                                                                                      2131792828       03/11/16    3655                10,294.20
                                                                                      2131792828       05/04/17    4079                10,294.20
000171         E.G. Gardner Co, Inc                   Unsecured                                               $106,447.81             $14,805.39            $91,642.42
071            P.O. Box 11290                           Creditor Change of Address - -Document #1646 - filed 10/11/18
7100-00        Eugene OR 97440-3490
                                                                                      2131792828       03/11/16    3848                 2,031.65
                                                                                      2131792828       05/04/17    4080                12,773.74
000172         Sogge Joint Trust                      Unsecured                                                $35,438.00              $9,922.64            $25,515.36
070            Robert & Mary Kathleen Sogge,            04-0125
7100-00        Trustees
               3620 Donald St
                                                                                      2131792828       08/25/15    3261                 1,417.52
               Eugene OR 97405
                                                                                      2131792828       03/11/16    3656                 4,252.56
                                                                                      2131792828       05/04/17    4081                 4,252.56
000173         Kellstrom, Scott & Jenny               Unsecured                                                $37,684.00             $10,551.52            $27,132.48
070            457 NW Riverview Way                     NO PAPERWORK
7100-00        Gresham OR 97030
                                                                                      2131792828       08/25/15    3262                 1,507.36
                                                                                      2131792828       03/11/16    3657                 4,522.08
                                                                                      2131792828       05/04/17    4082                 4,522.08
000174         Buss, Dennis & Deborah                 Unsecured                                                $70,746.00             $19,808.87            $50,937.13
070            POB 163                                  01-0295
7100-00        Chehalis WA 98532
                                                                                      2131792828       08/25/15    3263                 2,829.84
                                                                                      2131792828       03/11/16    3658                 8,489.51
                                                                                      2131792828       05/04/17    4083                 8,489.52
000175         Buss, Cleta & Dennis                   Unsecured                                                $20,214.00              $5,659.92            $14,554.08
070            POB 163                                  01-0297
7100-00        Chehalis WA 98532
                                                                                      2131792828       08/25/15    3264                   808.56
                                                                                      2131792828       03/11/16    3659                 2,425.68
                                                                                      2131792828       05/04/17    4084                 2,425.68




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 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address            Claim Class      Notes                           Amount Allowed            Paid to Date         Claim Balance

000176         Butler, John C & Tamera A               Unsecured                                              $25,693.00             $7,194.04              $18,498.96
070            06668 Mercer View Dr                      no paperwork
7100-00        Florence OR 97439
                                                                                      2131792828      08/25/15    3265                1,027.72
                                                                                      2131792828      03/11/16    3660                3,083.16
                                                                                      2131792828      05/04/17    4085                3,083.16
000177         Abby Broughton Profit Sharing           Unsecured                                             $388,995.00           $108,918.60             $280,076.40
070            c/o Watkinson Laird Rubenstein, P.C.      Creditor Change of Address--Document #1650 filed 10/16/18.
7100-00        P.O. Box 10567
               Eugene OR 97440-2567                      66-0002


                                                                                      2131792828      08/25/15    3266               15,559.80
                                                                                      2131792828      03/11/16    3661               46,679.40
                                                                                      2131792828      05/04/17    4086               46,679.40
000178         Albert & Connie Broughton,              Unsecured                                            $2,893,263.22         $803,061.82            $2,090,201.40
070            Trustees of the Broughton LivingTrust     Creditor Change of Address--Document #1651 filed 10/16/18. Second Change of Address also
7100-00        Watkinson Laird Rubenstein, P.C.          filed 10/16/18 as Document #1661
               1203 Willamette Streeet, Suite 200
               PO Box 10567
                                                         06-0013; Amended POC filed 7/21/16. Changed from c/o R. Scott Palmer, Watkinson Laird
               Eugene, OR 97440-2567
                                                         Rubenstein Baldwin & Burgess,P.C.
                                                         101 E. Broadway,Ste 200,Eugene, OR 97401, amount changed from $2,868,078.00 to
                                                         $2,893,263.22.


                                                                                      2131792828      08/25/15    3267              114,723.12
                                                                                      2131792828      03/11/16    3662              344,169.34
                                                                                      2131792828      05/04/17    4087              344,169.36
000179         Edgar C. & Mary Ann Brown               Unsecured                                              $557,234.02          $146,525.52             $410,708.50
071            Watkinson, Laird Rubenstein, P.C.         Creditor Change of Address filed 10/16/18--Document #1653
7100-00        1203 Willamette St., Suite 200
               P.O. Box 10567l                           01-0005
               Eugene, OR 97440-2567

                                                                                      2131792828      08/25/15    3451               12,789.36
                                                                                      2131792828      03/11/16    3849               66,868.08
                                                                                      2131792828      05/04/17    4088               66,868.08
000180         Steven Cochran and Rosamond Cochran Unsecured                                               $54,883.50               $15,367.37              $39,516.13
070            Watkinson Laird Rubenstein, P.C.      Creditor Change of Address filed 10/19/18--Document #1686
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567                        01-0215
               Eugene, OR 97440-2567

                                                         Updated home address: 18160 Cottonwood Road, Sunriver, OR 97707-9317


                                                                                      2131792828      08/25/15    3268                2,195.34
                                                                                      2131792828      03/11/16    3663                6,586.01
                                                                                      2131792828      05/04/17    4089                6,586.02




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 Case Number:      12-63884                                            Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                           Amount Allowed            Paid to Date      Claim Balance

000181         Juanita G. Cochran and Steven Cochran Unsecured                                              $112,189.00           $31,412.92             $80,776.08
070            Watkinson Laird Rubenstein, P.C.        Creditor Change of Address filed 10/19/18--Document #1685
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567                          01-0239
               Eugene, OR 97440-2567

                                                                                     2131792828      08/25/15    3269                4,487.56
                                                                                     2131792828      03/11/16    3664               13,462.68
                                                                                     2131792828      05/04/17    4090               13,462.68
000182         Clemens R. Aita, Jr.                   Unsecured                                             $106,309.00           $29,766.52             $76,542.48
070            c/o Watkinson Laird                      Creditor Change of Address--Document #1649 filed 10/16/18.
7100-00        Rubenstein P.C.
               PO Box 10567                             01-0198
               Eugene, OR 97440

                                                                                     2131792828      08/25/15    3270                4,252.36
                                                                                     2131792828      03/11/16    3665               12,757.08
                                                                                     2131792828      05/04/17    4091               12,757.08
000183         George and Yvonne Karotko              Unsecured                                              $303,917.25          $85,096.83            $218,820.42
070            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/18/18--Document #1677
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567                           66-0021
               Eugene, OR 97440-2567

                                                                                     2131792828      08/25/15    3271               12,156.69
                                                                                     2131792828      03/11/16    3666               36,470.07
                                                                                     2131792828      05/04/17    4092               36,470.07
000184         George and Yvonne Karotko              Unsecured                                            $1,188,745.05         $332,848.61            $855,896.44
070            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/19/18--Document #1680
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567                           66-0020
               Eugene, OR 97440-2567

                                                                                     2131792828      08/25/15    3272              47,549.80
                                                                                     2131792828      03/11/16    3667             142,649.40
                                                                                     2131792828      05/04/17    4093             142,649.41
000185         Eric R. and Cindy S. Thoreson          Unsecured                                               $15,827.00           $4,431.56             $11,395.44
070            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/16/18--Document #1668
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567                           01-0271
               Eugene, OR 97440-2567

                                                                                     2131792828      08/25/15    3273                  633.08
                                                                                     2131792828      03/11/16    3668                1,899.24
                                                                                     2131792828      05/04/17    4094                1,899.24
000186         Erik M. and Stephanie M. Cheney        Unsecured                                               $32,297.00           $9,043.16             $23,253.84
070            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/16/18--Document #1654
7100-00        1203 Willamette St., Suite 200
               P.O. Box 10567                           01-0217
               Eugene, OR 97440-2567

                                                                                     2131792828      08/25/15    3274                1,291.88




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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                            Amount Allowed            Paid to Date      Claim Balance


                                                                                     2131792828       03/11/16    3669                3,875.64
                                                                                     2131792828       05/04/17    4095                3,875.64
000187         Stan Karotko                           Unsecured                                              $637,231.20          $178,424.73             $458,806.47
070            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 1o/16/18--Document #1663
7100-00        1203 Willamette Street, Suite 200
                P.O. Box 10567                          01-0196
               Eugene, OR 97440-2567

                                                                                     2131792828       08/25/15    3275               25,489.25
                                                                                     2131792828       03/11/16    3670               76,467.74
                                                                                     2131792828       05/04/17    4096               76,467.74
000188         Ramsey-Waite Company and George        Unsecured                                            $1,402,620.00          $392,733.59            $1,009,886.41
070            Karotko                                  Creditor Change of Address filed 10/16/18--Document #1662
7100-00        Watkinson Laird Rubenstein, P.C.
               1203Willamette Street, Suite 200         01-0071
               P.O.Box 10567
               Eugene, OR 97440-2567
                                                                                     2131792828       08/25/15    3276              56,104.80
                                                                                     2131792828       03/11/16    3671             168,314.39
                                                                                     2131792828       05/04/17    4097             168,314.40
000189         Peggy Karotko                          Unsecured                                               $30,814.43            $8,628.04              $22,186.39
070            Watkinson, Laird Rubenstein, P.C.        Creditor Change of Address filed 10/18/18--Document #1675
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567                           66-0022
               Eugene, OR 97440-2567

                                                                                     2131792828       08/25/15    3277                1,232.58
                                                                                     2131792828       03/11/16    3672                3,697.73
                                                                                     2131792828       05/04/17    4098                3,697.73
000190         Patricia M. Strutt Rev. Trust          Unsecured                                               $70,877.39           $19,845.67              $51,031.72
070            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/16/18--Document #1667
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567                           02-0050
               Eugene, OR 97440-2567

                                                                                     2131792828       08/25/15    3278                2,835.09
                                                                                     2131792828       03/11/16    3673                8,505.29
                                                                                     2131792828       05/04/17    4099                8,505.29
000191         Victoria Leigh Quinn, c/o Peggy        Unsecured                                               $32,395.01            $9,070.60              $23,324.41
070            Karotko, Custodian                       Creditor Change of Address filed 10/18/18--Document #1676
7100-00        Watkinson Laird Rubenstein, P.C.
               1203 Willamette St., Suite 200           66-0023
               P.O. Box 10567
               Eugene, OR 97440-2567
                                                                                     2131792828       08/25/15    3279                1,295.80
                                                                                     2131792828       03/11/16    3674                3,887.40
                                                                                     2131792828       05/04/17    4100                3,887.40
000192         Jack L. & Wendy J. Chasteen            Unsecured                                                $10,086.00           $2,824.08               $7,261.92
070            160 Alderwood Drive                      Creditor Change of Address - -Document #1646 - filed 10/11/18
7100-00        Chehalis, WA 98532                       .



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                                                               ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                            Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                           Amount Allowed             Paid to Date      Claim Balance

                                                        Creditor Phone # 541 484-2277


                                                                                     2131792828      08/25/15     3280                  403.44
                                                                                     2131792828      03/11/16     3675                1,210.32
                                                                                     2131792828      05/04/17     4101                1,210.32
000194         Gloria Mae Roat Rev Lvg Trust          Unsecured                                             $157,774.02            $44,176.71            $113,597.31
070            3727 Douglas Dr                          01-0273
7100-00        Springfield OR 97478
                                                                                     2131792828      08/25/15     3281                6,310.96
                                                                                     2131792828      03/11/16     3676               18,932.87
                                                                                     2131792828      05/04/17     4102               18,932.88
000195         ARGO PARTNERS                 Unsecured                                                $70,009.00            $19,602.52                    $50,406.48
070            12 WEST 37TH STREET, 9TH FLOOR 05-0089; 12/7/15 Transfer of claim filed - from: Townsend, Richard, POB 783, Three Forks MT
7100-00        NEW YORK, NY 10018              59752


                                                                                     2131792828      08/25/15     3282                2,800.36
                                                                                     2131792828      03/11/16     3677                8,401.08
                                                                                     2131792828      05/04/17     4103                8,401.08
000196         Butler Family Trust dtd 10/4/94        Unsecured                                              $506,318.34          $141,769.14            $364,549.20
070            Glenn & Kathleen Butler, Trustees        Creditor Change of Address filed 10/16/18--Document #1652
7100-00        Watkinson Laird Rubenstein, P.C.
               1203 Willamette St., Suite 200           01-0011
               P.O. Box 10567
               Eugene, OR 97440-2567
                                                                                     2131792828      08/25/15     3283               20,252.73
                                                                                     2131792828      03/11/16     3678               60,758.21
                                                                                     2131792828      05/04/17     4104               60,758.20
000197         Gunderson, Wesley                      Unsecured                                                  $751.00              $210.28               $540.72
070            397 W Anchor Ave                         01-0097
7100-00        Eugene OR 97404
                                                                                     2131792828      08/25/15     3284                   30.04
                                                                                     2131792828      03/11/16     3679                   90.12
                                                                                     2131792828      05/04/17     4105                   90.12
000198         Gunderson, Wayne J & Caralie S         Unsecured                                              $96,794.23            $27,102.39             $69,691.84
070            397 W Anchor Ave                         01-0095
7100-00        Eugene OR 97404
                                                                                     2131792828      08/25/15     3285                3,871.77
                                                                                     2131792828      03/11/16     3680               11,615.31
                                                                                     2131792828      05/04/17     4106               11,615.31
000199         Sherlock, Bodin                        Unsecured                                                 $8,667.00           $2,426.76              $6,240.24
070            1862 Lincoln St                          01-0118
7100-00        Eugene OR 97401
                                                                                     2131792828      08/25/15     3286                  346.68
                                                                                     2131792828      03/11/16     3681                1,040.04
                                                                                     2131792828      05/04/17     4107                1,040.04




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                              Amount Allowed              Paid to Date      Claim Balance

000200         Sherlock, Carmen                       Unsecured                                                     $8,667.00           $2,426.76              $6,240.24
070            1862 Lincoln St                          01-0117
7100-00        Eugene OR 97401
                                                                                      2131792828         08/25/15     3287                  346.68
                                                                                      2131792828         03/11/16     3682                1,040.04
                                                                                      2131792828         05/04/17     4108                1,040.04
000201         Sherlock, Jennifer                     Unsecured                                                 $11,290.00              $3,161.20              $8,128.80
070            1862 Lincoln St                          01-0115
7100-00        Eugene OR 97401
                                                                                      2131792828         08/25/15     3288                  451.60
                                                                                      2131792828         03/11/16     3683                1,354.80
                                                                                      2131792828         05/04/17     4109                1,354.80
000202         Sherlock, William & Jennifer           Unsecured                                                     $9,526.00           $2,667.28              $6,858.72
070            1862 Lincoln St                          01-0016
7100-00        Eugene OR 97401
                                                                                      2131792828         08/25/15     3289                  381.04
                                                                                      2131792828         03/11/16     3684                1,143.12
                                                                                      2131792828         05/04/17     4110                1,143.12
000203         John G. Cox, Trustee                   Unsecured                                                 $24,666.40              $6,906.60             $17,759.80
070            POB 10886                                04-0525; amended claim filed 6/24/15. Doc. 203
7100-00        Eugene OR 97440
                                                                                      2131792828         09/30/15     3469                  986.66
                                                                                      2131792828         03/11/16     3685                2,959.97
                                                                                      2131792828         05/04/17     4111                2,959.97
000204         James Robert Harrell Pension -         Unsecured                                              $166,749.00               $46,689.72            $120,059.28
070            Loretta Harrell                          Creditor Change of Address filed 10/19/18--Document #1681
7100-00        Watkinson Laird Rubenstein, P.C.
               1203 Willamette St., Suite 200           04-0004
               P.O. Box 10567
               Eugene, OR 97440
                                                                                      2131792828         08/25/15     3291                6,669.96
                                                                                      2131792828         03/11/16     3686               20,009.88
                                                                                      2131792828         05/04/17     4112               20,009.88
000205         Deshotel, Danielle N                   Unsecured                                                 $100,932.00              $20,625.60           $80,306.40
071            11740 Highway 159                        02-0036;
7100-00        Shongaloo, LA 71072                      5/17/17 - Informed by Danielle that her father Ronald Ramsey is deceased. An amended Proof of
                                                        Claim was sent to her on 5/17/17.
                                                         Objection filed. Doc. 936. No response. Notice of Intent to Allow Remainder of Unsecured
                                                        Claim filed 7/21/16. Doc. 1342. Order allowing 8/18/16. Doc. 1348.
                                                        On January 26, 2015, a default judgment was entered in the Adversary Case in the principal
                                                        amount of $7,266.39, plus a Cost Bill of $350.00, plus post-judgment interest of
                                                        .18% (“Judgment”) = approximately $7,636.55.
                                                        Note: 16% of $100,932 = $16,149.12. Default Judgment satisfied by deduction from
                                                        Distribution Check sent to creditor on 08/18/16.


                                                                                      2131792828         08/18/16     3883                8,513.76
                                                                                      2131792828         05/22/17     4275               12,111.84




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                                                               ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                           Amount Allowed             Paid to Date      Claim Balance

000206         Hutchinson, Rose                       Unsecured                                             $210,603.41            $58,968.95           $151,634.46
070            13000 SW Aragon Ln                       01-0138
7100-00        Beaverton OR 97005
                                                                                     2131792828       08/25/15   3292                 8,424.14
                                                                                     2131792828       03/11/16   3687                25,272.40
                                                                                     2131792828       05/04/17   4114                25,272.41
000207         Hutchinson, Hilary                     Unsecured                                             $148,580.00            $41,602.40           $106,977.60
070            13000 SW Aragon Ln                       01-0025
7100-00        Beaverton OR 97005
                                                                                     2131792828       08/25/15   3293                 5,943.20
                                                                                     2131792828       03/11/16   3688                17,829.60
                                                                                     2131792828       05/04/17   4115                17,829.60
000208         Philip W Dean                          Unsecured                                              $71,718.00            $20,081.04            $51,636.96
070            POB 3914                                 01-0121
7100-00        Sunriver OR 97707-3712
                                                                                     2131792828       08/25/15   3294                 2,868.72
                                                                                     2131792828       03/11/16   3689                 8,606.16
                                                                                     2131792828       05/04/17   4116                 8,606.16
000209         Chasteen, Denis & Danna                Unsecured                                             $141,275.00            $39,556.99           $101,718.01
070            Chasteen, LaVonne                        01-0214
7100-00        621 Newton Creek
               Roseburg OR 97470
                                                                                     2131792828       08/25/15   3295                 5,651.00
                                                                                     2131792828       03/11/16   3690                16,952.99
                                                                                     2131792828       05/04/17   4117                16,953.00
000210         John & Judith Hansan                   Unsecured                                              $91,812.00            $25,707.36            $66,104.64
070            7 Gingerwood Dr                          02-0046
7100-00        Homosassa FL 34446
                                                                                     2131792828       08/25/15   3296                 3,672.48
                                                                                     2131792828       03/11/16   3691                11,017.44
                                                                                     2131792828       05/04/17   4118                11,017.44
000211         Kyle Scott Larkin                      Unsecured                                                 $1,119.00              $313.32              $805.68
070            3201 NW Shooting Star Drive              Amended Claim filed 7/19/17 to remove father's name from Claim and change address.
7100-00        Corvallis, OR 97330                      Contact Phone: 503 528-6864 - kslarkin@comcast.net
                                                        06-0033


                                                                                     2131792828       08/25/15   3297                    44.76
                                                                                     2131792828       03/11/16   3692                   134.28
                                                                                     2131792828       07/11/17   4292                   134.28
000212         Larkin, Cathy & Patrick K              Unsecured                                             $146,841.09            $41,115.51           $105,725.58
070            2427 SE Elliott Dr                       06-0032
7100-00        Gresham OR 97080
                                                                                     2131792828       08/25/15   3298                 5,873.64
                                                                                     2131792828       03/11/16   3693                17,620.94
                                                                                     2131792828       05/04/17   4120                17,620.93




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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed                Paid to Date      Claim Balance

000214         Curtis Restaurant Equipment Inc        Unsecured                                                     $0.00                     $0.00                 $0.00
070            POB 7307                                 Withdrawal of Claim Filed by Creditor - Document #1034 - Filed 8/5/15.
7100-00        Springfield OR 97475

000215         Curtis Investment LLC                  Unsecured                                                     $0.00                     $0.00                 $0.00
070            POB 7307                                 Withdrawal of Claim Filed by Creditor - Document #1035 - Filed 8/5/15.
7100-00        Eugene OR 97401

000216         Curtis, Frances A & Michael R          Unsecured                                                     $0.00                     $0.00                 $0.00
070            480 Covey Ln                             Withdrawal of Claim Filed by Creditors - Document #1036 - Filed 8/5/15.
7100-00        Eugene OR 97401

000217         Curtis, Eileen J & Robert L            Unsecured                                               $280,854.00               $78,639.12            $202,214.88
070            447 Covey Ln                             no paperwork
7100-00        Eugene OR 97401
                                                                                      2131792828       08/25/15     3299                  11,234.16
                                                                                      2131792828       03/11/16     3694                  33,702.48
                                                                                      2131792828       05/04/17     4121                  33,702.48
000218         Kottas, William F                      Unsecured                                                $19,158.68                $5,364.43             $13,794.25
070            2248 Ridgeway                            no paperwork
7100-00        Eugene OR 97401
                                                                                      2131792828       08/25/15     3300                     766.35
                                                                                      2131792828       03/11/16     3695                   2,299.04
                                                                                      2131792828       05/04/17     4122                   2,299.04
000219         Trangsrud, Julie A.                    Unsecured                                              $35,812.34                 $10,027.45             $25,784.89
070            16998 Summer Place                       Change of Address - Document #1593 - Filed 11/20/17.
7100-00         Lake Oswego, OR 07035


                                                                                      2131792828       08/25/15     3301                   1,432.49
                                                                                      2131792828       03/11/16     3696                   4,297.48
                                                                                      2131792828       05/04/17     4123                   4,297.48
000220         Huber-Shaw Living Trust                Unsecured                                               $118,951.00               $33,306.27             $85,644.73
070            Randy Huber & Shirley Shaw TTES          no paperwork
7100-00        5675 NW Foothill Pl
               Corvallis OR 97330
                                                                                      2131792828       08/25/15     3302                   4,758.04
                                                                                      2131792828       03/11/16     3697                  14,274.11
                                                                                      2131792828       05/04/17     4124                  14,274.12
000221         Timberhill Athletic Club               Unsecured                                               $123,668.00               $34,627.04             $89,040.96
070            Attn Claire MaGee                        no paperwork
7100-00        2855 NW 29th St
               Corvallis OR 97330
                                                                                      2131792828       08/25/15     3303                   4,946.72
                                                                                      2131792828       03/11/16     3698                  14,840.16
                                                                                      2131792828       05/04/17     4125                  14,840.16
000222         KRJ Investments                        Unsecured                                                   $5,259.00              $1,472.52              $3,786.48
070            2855 NW 29th St                          no paperwork
7100-00        Corvallis OR 97330
                                                                                      2131792828       08/25/15     3304                     210.36
                                                                                      2131792828       03/11/16     3699                     631.08



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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed              Paid to Date      Claim Balance


                                                                                      2131792828         05/04/17     4126                  631.08
000223         Larkin, Scott & Kristine               Unsecured                                                $394,471.53            $110,452.03            $284,019.50
070            8 Sunflower Ct                           04-0011
7100-00        Pasco WA 99301
                                                                                      2131792828         08/25/15     3305               15,778.86
                                                                                      2131792828         03/11/16     3700               47,336.59
                                                                                      2131792828         05/04/17     4127               47,336.58
000225         JOYCE WOODS TRUST                      Unsecured                                                $46,150.00          $12,922.00                 $33,228.00
070            c/o MICHAEL WOODS, TRUSTEE               01-0051; 5/2/16 Amended claim filed 5/2/16 changing from Reese and Joyce Woods, c/o Scott L
7100-00        14372 SE SIEBEN PARK WAY                 Jensen, Esq. 1200 SW Main St. Portland OR 97205. Amended Proof filed 11/21/16. Doc. 225-3.
               CLACKAMAS, OR 97015                      claim address changed from 2117 NE 149TH AVENUE, PORTLAND, OR 97230

                                                        02/12/18--Amended Claim filed to restore original amount claimed of $46,150.00


                                                                                      2131792828         08/25/15     3306                1,846.00
                                                                                      2131792828         05/04/16     3870                5,538.00
                                                                                      2131792828         05/04/17     4128                5,538.00
000226         Wynn Fischer                           Unsecured                                                     $6,515.00            $1,824.20             $4,690.80
070            Nancy Fischer                            01-0220
7100-00        2849 Stark Street
               Eugene OR 97404
                                                                                      2131792828         08/25/15     3307                  260.60
                                                                                      2131792828         03/11/16     3702                  781.80
                                                                                      2131792828         06/19/17     4283                  781.80
000227         Kenneth J West Survivor's Trust        Unsecured                                                 $51,737.00             $14,486.36             $37,250.64
070            Kenneth West, Trustee                    01-0047
7100-00        1817 SW 43rd St                          Change of Address - Doc. 572 - filed 6/2/14.
               Pendleton OR 97801

                                                                                      2131792828         08/25/15     3308                2,069.48
                                                                                      2131792828         03/11/16     3703                6,208.44
                                                                                      2131792828         05/04/17     4130                6,208.44
000228         Sheila K West Decedent's Trust         Unsecured                                                 $62,226.00             $17,423.28             $44,802.72
070            Kenneth J West, Trustee                  01-0048
7100-00        1817 SW 43rd St                          Change of Address - Doc. 571 - filed 6/2/14.
               Pendleton OR 97801

                                                                                      2131792828         08/25/15     3309                2,489.04
                                                                                      2131792828         03/11/16     3704                7,467.12
                                                                                      2131792828         05/04/17     4131                7,467.12
000230         Stan's Auto Upholstery Inc             Unsecured                                                 $23,284.00               $6,519.51            $16,764.49
070            540 Wilson St                            01-0067
7100-00        Eugene OR 97402
                                                                                      2131792828         08/25/15     3310                  931.36
                                                                                      2131792828         03/11/16     3705                2,794.07
                                                                                      2131792828         05/04/17     4132                2,794.08




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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed             Paid to Date       Claim Balance

000231         Clunes, Robert                         Unsecured                                               $104,458.00             $29,248.24            $75,209.76
070            Clunes, Aaron                            01-0126
7100-00        POB 3
               Aurora OR 97002
                                                                                      2131792828       08/25/15     3311                4,178.32
                                                                                      2131792828       03/11/16     3706               12,534.96
                                                                                      2131792828       05/04/17     4133               12,534.96
000232         Daniel Curtis and Stephanie Shaff      Unsecured                                               $142,010.00             $39,762.80           $102,247.20
070            82711 Bradford Rd                        no paperwork
7100-00        Creswell OR 97426
                                                                                      2131792828       08/25/15     3312                5,680.40
                                                                                      2131792828       03/11/16     3707               17,041.20
                                                                                      2131792828       05/04/17     4134               17,041.20
000233         Larkin, Kelly S                        Unsecured                                                   $2,262.00              $633.36             $1,628.64
070            8 Sunflower Ct                           04-0013
7100-00        Pasco WA 99301
                                                                                      2131792828       08/25/15     3313                   90.48
                                                                                      2131792828       03/11/16     3708                  271.44
                                                                                      2131792828       05/04/17     4135                  271.44
000235         Wildish Standard Paving Co             Unsecured                                               $515,759.00           $144,412.51            $371,346.49
070            c/o Douglas R Wilkinson                  01-0190
7100-00        1011 Harlow Rd #300
               Springfield OR 97477
                                                                                      2131792828       08/25/15     3314               20,630.36
                                                                                      2131792828       03/11/16     3709               61,891.07
                                                                                      2131792828       05/04/17     4136               61,891.08
000236         Maginnis, Ashley                       Unsecured                                                    $485.00               $135.80               $349.20
070            100 NW Maywood Drive                     01-0096
7100-00        Portland, OR 97210
                                                                                      2131792828       08/25/15     3315                   19.40
                                                                                      2131792828       03/11/16     3710                   58.20
                                                                                      2131792828       05/04/17     4138                   58.20
000237         Stephen W. Parkhurst &                 Unsecured                                                $4,332.54                $1,213.11            $3,119.43
070            Massimo Russo                            01-0216
7100-00        Piazza D. Guerrazzi 22                   Address updated per Creditor Change of Address - Document 1603 - Filed 2/6/18..
               56125 Pisa Italia

                                                                                      2131792828       08/25/15     3316                  173.30
                                                                                      2131792828       03/11/16     3711                  519.91
                                                                                      2131792828       05/05/17     4139                  519.90
000238         Redhead, Connie                        Unsecured                                                $23,586.73              $6,604.28            $16,982.45
070            1574 Coburg Rd #399                      01-0130
7100-00        Eugene OR 97401
                                                                                      2131792828       08/25/15     3317                  943.47
                                                                                      2131792828       03/11/16     3712                2,830.40
                                                                                      2131792828       05/05/17     4140                2,830.41




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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed             Paid to Date      Claim Balance

000239         Revels, Larry O                        Unsecured                                                 $23,348.00            $6,537.44              $16,810.56
070            3023 Nickleby Ct                         03-0010
7100-00        Katy TX 77494
                                                                                      2131792828        08/25/15     3318                 933.92
                                                                                      2131792828        03/11/16     3713               2,801.76
                                                                                      2131792828        05/05/17     4141               2,801.76
000240         Karotko, Michael                       Unsecured                                            $1,957,855.54            $359,199.55            $1,598,655.99
071            Watkinson Laird Rubenstein, PC           Creditor Change of Addres filed 10/18/18--Document #1674
7100-00        1203 Willamette St., Suite 200
               P.O. Box 10567                           (240-2) Corrected creditor address to match claim; 01-0244
               Eugene OR 97440-2567

                                                                                      2131792828        03/11/16     3850            124,256.89
                                                                                      2131792828        05/05/17     4142            234,942.66
000243         Johnson, Kenneth R DMD                 Unsecured                                              $146,345.00             $40,976.60             $105,368.40
070            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/16/18--Document #1658
7100-00        1203 Willamette Street, Suite 200
               P.O.Box 10567                            04-0151
               Eugene OR 97440-2567

                                                                                      2131792828        08/25/15     3319               5,853.80
                                                                                      2131792828        03/11/16     3714              17,561.40
                                                                                      2131792828        05/05/17     4143              17,561.40
000244         Johnson, Kenneth R DMD                 Unsecured                                                 $415,684.82          $26,391.75             $389,293.07
071            Watkinson Laird Rubenstein, P.C.         (244-2) Corrected creditor address to match claim; 04-0152
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567
                                                                                      2131792828        05/05/17     4144              26,391.75
               Eugene OR 97440-2567

000245         Johnson, Dorothy J                     Unsecured                                                 $87,153.16           $24,402.89              $62,750.27
070            3889 NW Glen Eden Dr                     04-0150
7100-00        Corvallis OR 97330
                                                                                      2131792828        08/25/15     3320               3,486.13
                                                                                      2131792828        03/11/16     3715              10,458.38
                                                                                      2131792828        05/05/17     4145              10,458.38
000246         Johnson, Dorothy J                     Unsecured                                               $144,600.00            $40,488.00             $104,112.00
070            3889 NW Glen Eden Dr                     04-0153
7100-00        Corvallis OR 97330
                                                                                      2131792828        08/25/15     3321               5,784.00
                                                                                      2131792828        03/11/16     3716              17,352.00
                                                                                      2131792828        05/05/17     4146              17,352.00
000247         Tower, Edgar D & Ione A                Unsecured                                                 $51,971.00           $14,551.88              $37,419.12
070            9052 Annik Dr                            05-0052
7100-00        Huntington Beach, CA 92646
                                                                                      2131792828        08/25/15     3322               2,078.84
                                                                                      2131792828        03/11/16     3717               6,236.52
                                                                                      2131792828        05/05/17     4147               6,236.52




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                                                               ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                             Amount Allowed           Paid to Date      Claim Balance

000248         Chasteen, Gene & LaVonne               Unsecured                                                $14,839.00           $4,154.91             $10,684.09
070            Chasteen, Jack & Wendy                   01-0213
7100-00        174 Heather Ln
               Roseburg OR 97470
                                                                                      2131792828       08/25/15      3323               593.56
                                                                                      2131792828       03/11/16      3718             1,780.67
                                                                                      2131792828       05/05/17      4148             1,780.68
000249         Ramsey, Elizabeth H                    Unsecured                                                 $40,284.25        $11,279.59              $29,004.66
070            10408 North Sightline Circle             01-0127;
7100-00        Hideout, UT 84036                        Creditor Change of Address - Document 1542 - Filed 5/23/17.
                                                        Stop Payment Order issued on Check No. 4149 on 05/24/17. Replacement Check No. 4277
                                                        issued on same date and mailed to creditor on 05/25/17.


                                                                                      2131792828       08/25/15      3324             1,611.37
                                                                                      2131792828       03/11/16      3719             4,834.11
                                                                                      2131792828       05/24/17      4277             4,834.11
000250         Francis, Richard W & Beverly A         Unsecured                                               $248,744.00          $69,648.32            $179,095.68
070            61499 SW Longview St                     01-0124
7100-00        Bend OR 97702
                                                                                      2131792828       08/25/15      3325             9,949.76
                                                                                      2131792828       03/11/16      3720            29,849.28
                                                                                      2131792828       05/05/17      4150            29,849.28
000251         Roy & Helen Clunes Living Trust        Unsecured                                                $28,203.00           $7,896.83             $20,306.17
070            Beverly A Francis, Trustee               04-0155
7100-00        61499 SW Longview St
               Bend, OR 97702
                                                                                      2131792828       08/25/15      3326             1,128.12
                                                                                      2131792828       03/11/16      3721             3,384.35
                                                                                      2131792828       05/05/17      4151             3,384.36
000252         Francis, Beverly A                     Unsecured                                                $73,436.58          $20,562.24             $52,874.34
070            61499 SW Longview St                     01-0125
7100-00        Bend OR 97702
                                                                                      2131792828       08/25/15      3327             2,937.46
                                                                                      2131792828       03/11/16      3722             8,812.39
                                                                                      2131792828       05/05/17      4152             8,812.39
000253         Lon Kellstrom                          Unsecured                                              $236,193.63           $56,134.22            $180,059.41
071            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/16/18--Document #1665
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567                           (253-2) Corrected creditor address to match claim; 01-0088
               Eugene, OR 97440-2567

                                                                                      2131792828       03/11/16      3851            27,790.98
                                                                                      2131792828       05/05/17      4153            28,343.24
000254         Neuman, Vince & Faye                   Unsecured                                               $156,224.00          $43,742.72            $112,481.28
070            Luke, Sue                                04-0260
7100-00        c/o Douglas R Wilkinson
               1011 Harlow Rd #300
                                                                                      2131792828       08/25/15      3328             6,248.96
               Springfield OR 97477
                                                                                      2131792828       03/11/16      3723            18,746.88
                                                                                      2131792828       05/05/17      4154            18,746.88



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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed              Paid to Date      Claim Balance

000255         Kevin Paul Francis                     Unsecured                                                 $56,311.69             $15,767.27            $40,544.42
070            512 South 14th Avenue                    01-0122.
7100-00        Bozeman MT 59715                         Change of Address - Doc. 914 - filed 5/26/15


                                                                                      2131792828         08/25/15     3329                2,252.47
                                                                                      2131792828         03/11/16     3724                6,757.40
                                                                                      2131792828         05/05/17     4155                6,757.40
000256         Francis S.Lawler                       Unsecured                                                 $38,540.00             $10,791.20            $27,748.80
070            7 Gardenside Place                       01-0235
7100-00        Towson, MD 21286                         Change of Address - Doc. 493 - filed 12/17/13.


                                                                                      2131792828         08/25/15     3330                1,541.60
                                                                                      2131792828         03/11/16     3725                4,624.80
                                                                                      2131792828         05/05/17     4156                4,624.80
000257         Pershern, Lauren Pershern, Annette     Unsecured                                                     $1,330.00             $372.40               $957.60
070            35027 Fremont Ave                        04-0280
7100-00        Eugene OR 97405
                                                                                      2131792828         08/25/15     3331                   53.20
                                                                                      2131792828         03/11/16     3726                  159.60
                                                                                      2131792828         05/05/17     4157                  159.60
000258         Donald & Elizabeth Miller/Annette      Unsecured                                                 $22,223.00              $6,222.44            $16,000.56
070            Pershern &                               04--0131
7100-00        Glenn Miller
               35031 Fremont Ave
                                                                                      2131792828         08/25/15     3332                  888.92
               Eugene OR 97405
                                                                                      2131792828         03/11/16     3727                2,666.76
                                                                                      2131792828         05/05/17     4158                2,666.76
000259         Miller, Donald & Elizabeth             Unsecured                                                 $37,862.00             $10,601.36            $27,260.64
070            Miller, Glenn                            04-0130
7100-00        35031 Fremont Ave
               Eugene OR 97405
                                                                                      2131792828         08/25/15     3333                1,514.48
                                                                                      2131792828         03/11/16     3728                4,543.44
                                                                                      2131792828         05/05/17     4159                4,543.44
000260         Bien, Guy                              Unsecured                                               $26,272.00                $7,356.16            $18,915.84
070            19 Shanna Cir                            (260-1) Corrected Amount to match Proof of Claim; 01-0255
7100-00        Crowley Lake CA 93546
                                                                                      2131792828         08/25/15     3334                1,050.88
                                                                                      2131792828         03/11/16     3729                3,152.64
                                                                                      2131792828         05/05/17     4160                3,152.64
000261         Johnson, James Douglas                 Unsecured                                                 $11,612.00              $3,251.36             $8,360.64
070            2610 Melekhin Bend                       01-0146
7100-00        Cedar Park TX 78613
                                                                                      2131792828         08/25/15     3335                  464.48
                                                                                      2131792828         03/11/16     3730                1,393.44
                                                                                      2131792828         05/05/17     4161                1,393.44




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 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                              Amount Allowed              Paid to Date         Claim Balance

000262         Johnson, Christopher Michael           Unsecured                                                  $10,599.00               $2,967.72               $7,631.28
070            2610 Melekhin Bend                       01-0145
7100-00        Cedar Park TX 78613
                                                                                       2131792828        08/25/15     3336                   423.96
                                                                                       2131792828        03/11/16     3731                 1,271.88
                                                                                       2131792828        05/05/17     4162                 1,271.88
000263         Johnson, Michael A                     Unsecured                                                   $102,958.00                  $0.00            $102,958.00
071            2610 Melekhin Bend                       First three interim distribution payments applied against Deferred Judgment amount owed by
7100-00        Cedar Park, TX 78613                     Claimant from preferential transfer liitigation. Balance of Deferred Judgment paid per Deposit
                                                        Numbers 433, 434, 436, 437,439.440,441,444 and 445 made from 5/5/17 to 11/20/17.

                                                        Creditor Change of Address - -Document #1646 - filed 10/11/18


000264         Brown, Jonathan W                      Unsecured                                                     $2,617.00               $732.76               $1,884.24
070            4832 Cartwright Ave                      01-0265
7100-00        N Hollywood CA 91601
                                                                                       2131792828        08/25/15     3337                   104.68
                                                                                       2131792828        03/11/16     3732                   314.04
                                                                                       2131792828        05/05/17     4164                   314.04
000265         Buhl, Douglas V                        Unsecured                                                  $28,508.00               $7,982.24              $20,525.76
070            1259 S 58th St                           01-0104
7100-00        Springfield OR 97478
                                                                                       2131792828        08/25/15     3338                 1,140.32
                                                                                       2131792828        03/11/16     3733                 3,420.96
                                                                                       2131792828        05/05/17     4165                 3,420.96
000266         Buhl, Marilyn J                        Unsecured                                                   $9,652.00               $2,702.56               $6,949.44
070            1259 S 58th St                           01-0103; 3/16/16 called stating had not received her check. Asked that she give it 10 days (3/28)
7100-00        Springfield OR 97478                     before we stop pay and reissue.


                                                                                       2131792828        08/25/15     3339                   386.08
                                                                                       2131792828        03/11/16     3734                 1,158.24
                                                                                       2131792828        05/05/17     4166                 1,158.24
000267         Randy Matthews                         Unsecured                                               $33,875.00                  $9,485.00              $24,390.00
070            828 N. Orange Grove Ave                  01-0183;
7100-00        Los Angeles, CA 90046                    Change of address - Document #1432 - Filed 10/20/16 by Bankruptcy Court.


                                                                                       2131792828        08/25/15     3340                 1,355.00
                                                                                       2131792828        03/11/16     3735                 4,065.00
                                                                                       2131792828        05/05/17     4186                 4,065.00
000270         Camille Mack                           Unsecured                                                 $242,695.00              $67,954.60             $174,740.40
070            6480 W Sumac Ave                         06-0111. No statements
7100-00        Denver CO 80123
                                                                                       2131792828        08/25/15     3341                 9,707.80
                                                                                       2131792828        03/11/16     3736                29,123.40
                                                                                       2131792828        05/05/17     4167                29,123.40




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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                            Amount Allowed            Paid to Date       Claim Balance

000271         Camille Mack                           Unsecured                                              $113,544.00            $31,792.32            $81,751.68
070            6480 W Sumac Ave                         06-0128.
7100-00        Denver CO 80123
                                                                                     2131792828       08/25/15    3342                4,541.76
                                                                                     2131792828       03/11/16    3737               13,625.28
                                                                                     2131792828       05/05/17    4168               13,625.28
000272         Holcomb, Joanne                        Unsecured                                                $5,820.49             $1,629.74             $4,190.75
070            4629 Cass St., Suite 367                 05-0023; 9/28/15 Change of Address from 3201 E. Virginia, Denver, CO 80209 - Mailed check
7100-00        San Deigo, CA 92109                      to new address.

                                                        Change of Address filed 08/17/18--Document #1635


                                                                                     2131792828       08/25/15    3343                  232.82
                                                                                     2131792828       03/11/16    3738                  698.46
                                                                                     2131792828       05/05/17    4169                  698.46
000273         Ambler, Susanne                        Unsecured                                              $213,328.41          $59,731.95             $153,596.46
070            Ambler, John                             No paperwork; 11/20/15 checks not processed: contacted Ms. Ambler (858-483-4426) , she has
7100-00        1375 Loring St                           received the checks and will process.
               San Diego CA 92109

                                                                                     2131792828       08/25/15    3344                8,533.14
                                                                                     2131792828       03/11/16    3739               25,599.40
                                                                                     2131792828       05/05/17    4170               25,599.41
000274         Ambler, John                           Unsecured                                                $5,418.00              $1,517.05            $3,900.95
070            1375 Loring St                           04-0011; 11/20/15 checks not processed: contacted Ms. Ambler (858-483-4426) , she has
7100-00        San Diego CA 92109                       received the checks and will process.


                                                                                     2131792828       08/25/15    3345                  216.72
                                                                                     2131792828       03/11/16    3740                  650.17
                                                                                     2131792828       05/05/17    4171                  650.16
000275         Dorothy & Leslie Family Trust          Unsecured                                               $49,652.00            $13,902.56            $35,749.44
070            c/o GG Alan Vaughan                      06-0138
7100-00        6480 W Sumac Ave
               Denver CO 80123
                                                                                     2131792828       08/25/15    3346                 1,986.08
                                                                                     2131792828       03/11/16    3741                 5,958.24
                                                                                     2131792828       05/05/17    4172                 5,958.24
000276         Dorothy & Leslie Family Trust          Unsecured                                               $57,633.00            $16,137.24            $41,495.76
070            c/o GG Alan Vaughan                      06-0135
7100-00        6480 W Sumac Ave
               Denver CO 80123
                                                                                     2131792828       08/25/15    3347                 2,305.32
                                                                                     2131792828       03/11/16    3742                 6,915.96
                                                                                     2131792828       05/05/17    4173                 6,915.96
000277         Sharon Asta                            Unsecured                                               $35,797.00            $10,023.16            $25,773.84
070            6480 W Sumac Ave                         06-0134
7100-00        Denver CO 80123
                                                                                     2131792828       08/25/15    3348                 1,431.88
                                                                                     2131792828       03/11/16    3743                 4,295.64



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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed               Paid to Date      Claim Balance


                                                                                      2131792828        05/05/17     4174                 4,295.64
000278         First American Reserve Trust           Unsecured                                               $489,431.00             $137,040.67            $352,390.33
070            6480 W Sumac Av                          06-0114
7100-00        Denver CO 80123
                                                                                      2131792828        08/25/15     3349                19,577.24
                                                                                      2131792828        03/11/16     3744                58,731.71
                                                                                      2131792828        05/05/17     4175                58,731.72
000279         Christian Vaughan Trust                Unsecured                                                 $51,861.00             $14,521.08             $37,339.92
070            c/o GG Alan Vaughan                      03-0014
7100-00        6480 W Sumac Ave
               Littleton CO 80123
                                                                                      2131792828        08/25/15     3350                 2,074.44
                                                                                      2131792828        03/11/16     3745                 6,223.32
                                                                                      2131792828        05/05/17     4176                 6,223.32
000280         Hutchinson, Mark                       Unsecured                                                    $1,030.00              $288.40               $741.60
070            POB 5374                                 04-0197
7100-00        Portland OR 97228
                                                                                      2131792828        08/25/15     3351                    41.20
                                                                                      2131792828        03/11/16     3746                   123.60
                                                                                      2131792828        05/05/17     4177                   123.60
000281         Visionsite Corp                        Unsecured                                                    $1,768.41              $495.16              $1,273.25
070            Mark Hutchinson, CEO                     04-0199
7100-00        POB 2310
               Portland OR 97208
                                                                                      2131792828        08/25/15     3352                    70.74
                                                                                      2131792828        03/11/16     3747                   212.21
                                                                                      2131792828        05/05/17     4178                   212.21
000282         VASTS/VisionSite Advanced Staff        Unsecured                                                 $546.00               $152.88                   $393.12
070            Training Svc                             04-0198; Doc. 285, 2/2013 changes address from PO Box 5374, Portland to PO Box 2310,
7100-00        PO Box 2310                              Portland, OR 97208.
               Portland, OR 97208

                                                                                      2131792828        08/25/15     3353                    21.84
                                                                                      2131792828        03/11/16     3748                    65.52
                                                                                      2131792828        05/05/17     4179                    65.52
000283         Howard W. Berge Survivors Trust        Unsecured                                                 $57,817.00             $16,188.76             $41,628.24
070            c/o Jamie McCornack * Tracy Kempf        no paperwork;
7100-00        2564 Mangan Street                        3/30/13 Howard Berge died;
               Eugene, OR 97402                         2/4/16 letter sent to Jamie McCornack, heir & daughter.
                                                        Proof of Claim for new Clainants and Change of Address filed 2/26/26.


                                                                                      2131792828        03/11/16     3749                 6,938.04
                                                                                      2131792828        11/08/16     3892                 2,312.68
                                                                                      2131792828        05/05/17     4180                 6,938.04
000284         Pegasus Travel Inc                     Unsecured                                                 $19,158.00              $5,364.24             $13,793.76
070            6480 W Sumac Ave                         06-0117
7100-00        Denver CO 80123
                                                                                      2131792828        08/25/15     3355                   766.32


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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                            Amount Allowed             Paid to Date      Claim Balance


                                                                                     2131792828       03/11/16     3750                2,298.96
                                                                                     2131792828       05/05/17     4181                2,298.96
000285         Cormac Adams Barlow                    Unsecured                                                 $10,604.00            $2,969.12             $7,634.88
070            c/o Luke Barlow                          6/20/17 - Received new contact information from Norm Transeth per the Class Action Case
7100-00        Custodian for Cormac Barlow              records: Updated address in Claims Register. Email for Luke: lucasbarlow@gmail.com.
               Unit 4280 Box 40                         Original Check remailed to correct address 6/20/17.
               DPO, AP 96507-0040
                                                        Phone: 011 673-899-6142

                                                        Change of Address emailed to Luke Barlow on 07/26/18.


                                                                                     2131792828       03/08/16     3491                  424.16
                                                                                     2131792828       03/11/16     3751                1,272.48
                                                                                     2131792828       05/05/17     4182                1,272.48
000286         Brown, Indiana Loye                    Unsecured                                                 $27,865.00           $7,802.20             $20,062.80
070            Brown, Jason & Jenny                     04-0149
7100-00        2815 E Morningside Dr
               Idaho Falls ID 83402
                                                                                     2131792828       08/25/15     3357                1,114.60
                                                                                     2131792828       04/28/16     3865                3,343.80
                                                                                     2131792828       05/05/17     4183                3,343.80
000287         Jason Brown                            Unsecured                                                  $1,737.97             $486.64              $1,251.33
070            2815 E Morningside Dr                    04-0154
7100-00        Idaho Falls ID 83402
                                                                                     2131792828       08/25/15     3358                   69.51
                                                                                     2131792828       04/28/16     3866                  208.57
                                                                                     2131792828       05/05/17     4184                  208.56
000288         Brown, Olivia Georganna (minor)        Unsecured                                                 $23,189.00           $6,492.92             $16,696.08
070            c/o Brown, Jason & Jenny                 04-0148
7100-00        2815 E Morningside Dr
               Idaho Falls ID 83402
                                                                                     2131792828       08/25/15     3359                  927.56
                                                                                     2131792828       04/28/16     3867                2,782.68
                                                                                     2131792828       05/05/17     4185                2,782.68
000289         Rhynard Jr, Wayne E                    Unsecured                                                 $96,980.00          $11,654.40             $85,325.60
071            Rhynard, Alida D                         05-0009; Amended Claim filed 7/13/15.
7100-00        448 Clearview Rd
               Martinsdale MT 59053
                                                                                     2131792828       03/11/16     3852                   16.80
                                                                                     2131792828       05/05/17     4187               11,637.60
000290         Piernick, Sally D                      Unsecured                                              $171,066.11            $47,898.50            $123,167.61
070            27834 Royal Ave                          02-0049; 9/8/15 corrected zip code from 97502 to 97402.
7100-00        Eugene OR 97402
                                                                                     2131792828       09/10/15     3454                6,842.64
                                                                                     2131792828       03/11/16     3755               20,527.93
                                                                                     2131792828       05/05/17     4188               20,527.93




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                              Amount Allowed              Paid to Date         Claim Balance

000291         Bramwell, C Josephine                  Unsecured                                                  $12,333.00               $3,453.24               $8,879.76
070            8015 B Densmore Ave N                    01-0261
7100-00        Seattle Wa 98103
                                                                                       2131792828        08/25/15     3361                   493.32
                                                                                       2131792828        03/11/16     3756                 1,479.96
                                                                                       2131792828        05/05/17     4189                 1,479.96
000293         Glass, Vicki Rae                       Unsecured                                                    $23,571.00                  $0.00             $23,571.00
071            Watkinson Laird Rubenstein, P.C.         First three interim distribution payments applied against Deferred Judgment amount owed by
7100-00        1203 Willamette Street, Suite 200        Claimant from preferential transfer liitigation. Balance of Deferred Judgment paid per Deposit
               P.O. Box 10567                           #435 for $400 deposited 6/19/17
               Eugene, OR 97440-2567
                                                        .
                                                        Creditor Change of Address filed 10/16/18 - Document #1657




000294         Larkin, Marlin & Elizabeth             Unsecured                                                  $14,075.00               $3,941.00              $10,134.00
070            2437 Harris St                           06-0142
7100-00        Eureka CA 95503
                                                                                       2131792828        08/25/15     3362                   563.00
                                                                                       2131792828        03/11/16     3757                 1,689.00
                                                                                       2131792828        05/05/17     4190                 1,689.00
000295         Kathleen E. O'Brien                    Unsecured                                                 $118,830.90              $33,272.65              $85,558.25
070            3361 E Choctaw Drive                     no paperwork; amended claim filed 1/26/15
7100-00        Sierra Vista AZ 85650
                                                                                       2131792828        08/25/15     3363                 4,753.24
                                                                                       2131792828        03/11/16     3758                14,259.70
                                                                                       2131792828        05/05/17     4191                14,259.71
000296         Bishop, Judith L                       Unsecured                                                     $8,270.00             $2,315.60               $5,954.40
070            11304 NE Oregon                          01-0054
7100-00        Portland OR 97220
                                                                                       2131792828        08/25/15     3364                   330.80
                                                                                       2131792828        03/11/16     3759                   992.40
                                                                                       2131792828        05/05/17     4192                   992.40
000297         Aaron Larkin                           Unsecured                                                      $637.00                $178.36                 $458.64
070            8 Sunflower Ct                           04-0012
7100-00        Pasco WA 99301-3282                      Change of Address - Doc. 517 filed 3/3/14


                                                                                       2131792828        08/25/15     3365                    25.48
                                                                                       2131792828        03/11/16     3760                    76.44
                                                                                       2131792828        05/05/17     4193                    76.44
000298         Roland Glass & Matthew Glass           Unsecured                                               $37,657.00                 $10,543.96              $27,113.04
070            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/16/18--Document #1656
7100-00        1203 Willamette St., Suite 200
               P.O. Box 10567                           (298-2) Corrected creditor address to match claim; 04-0067
               Eugene, OR 97440-2567
                                                        Amended Claim filed 8/21/15. Doc. 298-3


                                                                                       2131792828        08/25/15     3366                 1,506.28



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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                            Amount Allowed              Paid to Date         Claim Balance


                                                                                     2131792828        03/11/16    3761                 4,518.84
                                                                                     2131792828        05/05/17    4194                 4,518.84
000299         Karotko, Ellen                         Unsecured                                                $40,087.00            $11,224.36               $28,862.64
070            2610 Crowther                            01-0245
7100-00        Eugene OR 97404
                                                                                     2131792828        08/25/15    3367                 1,603.48
                                                                                     2131792828        03/11/16    3762                 4,810.44
                                                                                     2131792828        05/05/17    4195                 4,810.44
000300         Ellington, Joan & Clayton              Unsecured                                              $294,647.38             $82,501.27              $212,146.11
070            POB 833                                  06-0137
7100-00        Homer AK 99603
                                                                                     2131792828        08/25/15    3368                11,785.90
                                                                                     2131792828        03/11/16    3763                35,357.68
                                                                                     2131792828        05/05/17    4196                35,357.69
000301         Holcomb, Gary L                        Unsecured                                                    $0.00                   $0.00                    $0.00
070            2750 Shadow View Dr #421                 Withdrawal of Claim - Document #919 - Filed 6/9/15. Withdrawal of Claim filed by Rodolfo A.
7100-00        Eugene OR 97408                          Camacho, Ch 7 Trustee for Creditor Gary L. Holcomb.


000302         Kertzner, Rachel Rose                  Unsecured                                                $11,577.00             $3,241.56                $8,335.44
070            2835 SE 35th Pl                          01-0148
7100-00        Portland OR 97202
                                                                                     2131792828        08/25/15    3369                   463.08
                                                                                     2131792828        03/11/16    3764                 1,389.24
                                                                                     2131792828        05/05/17    4197                 1,389.24
000303         Johnson, Jill                          Unsecured                                                $31,959.00             $8,948.52               $23,010.48
070            Johnson, Kenneth                         04-0156
7100-00        2835 SE 35th Pl
               Portland OR 97202
                                                                                     2131792828        08/25/15    3370                 1,278.36
                                                                                     2131792828        03/11/16    3765                 3,835.08
                                                                                     2131792828        05/05/17    4198                 3,835.08
000304         Kertzner, Eliana Rae                   Unsecured                                                $11,577.00             $3,241.56                $8,335.44
070            2835 SE 35th Pl                          01-0147
7100-00        Portland OR 97202
                                                                                     2131792828        08/25/15    3371                   463.08
                                                                                     2131792828        03/11/16    3766                 1,389.24
                                                                                     2131792828        05/05/17    4199                 1,389.24
000305         Clark Lateral Ditch Co 03-0018         Unsecured                                               $23,334.00              $6,533.52               $16,800.48
070            c/o Scott Sveum                          no paperwork
7100-00        10980 W 65th Way                         Change of address - Document #1432 - Filed 10/20/16 by Bankruptcy Court..
               Arvada CO 80004

                                                                                     2131792828        08/25/15    3372                   933.36
                                                                                     2131792828        03/11/16    3767                 2,800.08
                                                                                     2131792828        05/05/17    4200                 2,800.08




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 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                              Amount Allowed              Paid to Date        Claim Balance

000306         Emily B. Holcomb                       Unsecured                                                     $0.00                     $0.00                   $0.00
070            15108 SE Shaunte Ln                      Withdrawal of Claim Filed by Creditor - Document #839 - Filed 2/23/15.
7100-00        Happy Valley OR 97086                    Change of Address - Document #531 - Filed 3/5/14.


000307         Emily Holcomb                          Unsecured                                                     $0.00                     $0.00                   $0.00
070            15108 SE Shaunte Ln                      Withdrawal of Claim Filed by Creditor - Document #839 - Filed 2/23/15.
7100-00        Happy Valley OR 97086                    Change of Address - Document #531 - Filed 3/5/14.


000308         Mimi Van Breeman                       Unsecured                                                     $256.00                  $71.68                $184.32
070            c/o Kristen Van Breemen                  Change of Address - Document #402 - filed 7/9/13.
7100-00        15108 SE Shaunte Lane
               Happy Valley OR 97086
                                                                                       2131792828        08/25/15     3373                    10.24
                                                                                       2131792828        03/11/16     3768                    30.72
                                                                                       2131792828        05/05/17     4201                    30.72
000309         Kristen Van Breeman                    Unsecured                                                     $0.00                     $0.00                   $0.00
070            15108 SE Shaunte Ln                      Withdrawal of Claim Filed by Creditor - Document #840- Filed 2/23/15.
7100-00        Happy Valley OR 97086

000310         Mimi Van Breemen                       Unsecured                                                     $613.00                 $171.64                $441.36
070            c/o Kristen Van Breemen                  Change of Address - Document #402 - filed 7/9/13.
7100-00        15108 SE Shaunte Lane
               Happy Valley OR 97086
                                                                                       2131792828        08/25/15     3374                    24.52
                                                                                       2131792828        03/11/16     3769                    73.56
                                                                                       2131792828        05/05/17     4202                    73.56
000311         Jonah Van Breeman                      Unsecured                                                     $744.00                 $208.32                $535.68
070            c/o Kristen van Breemen                  Change of Address - Document #402 - filed 7/9/13.
7100-00        15108 SE Shaunte Ln
               Happy Valley OR 97086
                                                                                       2131792828        08/25/15     3375                    29.76
                                                                                       2131792828        03/11/16     3770                    89.28
                                                                                       2131792828        05/05/17     4203                    89.28
000312         Julie Sherman fbo Jorga Hansen         Unsecured                                                   $2,682.00                 $750.96              $1,931.04
070            c/o Julia I Manela                       04-0319
7100-00        Watkinson Laird Rubenstein, P.C.         Amended Claim Filed 05/25/17 to change creditor name
               101 E. Broadway, Suite 200               Notices and Payments addresses are different. Mail sent to Notice address has been returned..
               Eugene, OR 97401

                                                                                       2131792828        08/25/15     3376                   107.28
                                                                                       2131792828        03/11/16     3771                   321.84
                                                                                       2131792828        06/05/17     4278                   321.84
000313         F. Leroy Sherman and Verda F.          Unsecured                                                  $55,133.00              $15,437.24             $39,695.76
070            Sherman                                  01-0084
7100-00        c/o R. Scott Palmer
               Watkinson Laird Rubenstein
                                                                                       2131792828        08/25/15     3377                 2,205.32
               Baldwin & Burgess, P.C.
                                                                                       2131792828        03/11/16     3772                 6,615.96
               101 E. Broadway, Suite 200
               Eugene, OR 97401                                                        2131792828        05/05/17     4205                 6,615.96




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                             Amount Allowed               Paid to Date        Claim Balance

000314         Verda Sherman                          Unsecured                                              $163,015.62                $45,644.36            $117,371.26
070            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/18/18--Document #1673
7100-00        1203 Willamette St., Suite 200
               P.O. Box 10567                           01-0085
               Eugene, OR 97440-2567

                                                                                       2131792828       08/25/15     3378                  6,520.62
                                                                                       2131792828       03/11/16     3773                 19,561.87
                                                                                       2131792828       05/05/17     4206                 19,561.87
000315         Julie Sherman fbo Colton Hansen        Unsecured                                                    $5,570.00             $1,559.60              $4,010.40
070            c/o Julia I Manela                       04-0317
7100-00        Watkinson Laird Rubenstein, P.C.
               101 E. Broadway, Suite 200
                                                                                       2131792828       11/23/15     3479                    222.80
               Eugene, OR 97401
                                                                                       2131792828       03/11/16     3774                    668.40
                                                                                       2131792828       06/05/17     4279                    668.40
000316         Julia Sherman fbo Graysen Hansen       Unsecured                                                    $3,300.00               $924.00              $2,376.00
070            c/o Julia I Manela                       04-0318
7100-00        Watkinson Laird Rubenstein, P.C.
               101 E. Broadway, Suite 200
                                                                                       2131792828       11/23/15     3480                    132.00
               Eugene, OR 97401
                                                                                       2131792828       03/11/16     3775                    396.00
                                                                                       2131792828       06/05/17     4280                    396.00
000317         Kaiser, Lisa                           Unsecured                                                     $1,059.00              $296.52                $762.48
070            9801 SE Ladera Ct                        no paperwork; Objection to priority status filed 8/17/15. Doc. 1041. Allowed as unsecured claim.
7100-00        Damascus OR 97089
                                                                                       2131792828       08/25/15     3381                     42.36
                                                                                       2131792828       03/11/16     3776                    127.08
                                                                                       2131792828       05/05/17     4209                    127.08
000318         Jennifer Bishop                        Unsecured                                                 $1,134.00                  $317.52                $816.48
070            7738 SE Ellis Street                     06-0149; Change of address filed 1/26/17. Doc. 1480 : 503-515-6606.
7100-00        Portland, OR 97206
                                                                                       2131792828       08/25/15     3382                     45.36
                                                                                       2131792828       03/11/16     3777                    136.08
                                                                                       2131792828       05/05/17     4210                    136.08
000319         Donald N & Barbara H McDonald          Unsecured                                                  $94,099.00             $26,347.72             $67,751.28
070            1745 Alta Vista Way                      66-0024
7100-00        San Diego, CA 92109                      Change of Address - Doc. 1181- filed 12/4/15


                                                                                       2131792828       11/25/15     3482                  3,763.96
                                                                                       2131792828       03/11/16     3778                 11,291.88
                                                                                       2131792828       05/05/17     4211                 11,291.88
000320         Donald N & Barbara H McDonald          Unsecured                                                 $95,098.00              $26,627.44             $68,470.56
070            1745 Alta Vista Way                      Objection filed. Doc. 933. Duplicates Claim #319
7100-00        San Diego CA 92109-1308                  (66-0024). No response; 6/13/16 Order rescinding Objection. Doc. 1322.


                                                                                       2131792828       06/15/16     3877                 15,215.68
                                                                                       2131792828       05/05/17     4212                 11,411.76




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 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed              Paid to Date       Claim Balance

000321         F.Leroy Sherman, Successor Trustee,    Unsecured                                              $258,819.00               $72,469.31           $186,349.69
070            Rose Sherman Revocable Living Trust      Creditor Change of Address filed 10/18/18--Document #1672
7100-00        Watkinson Laird Rubenstein, P.C.
               1203 Willamette St, Suite 200            01-0081
               P.O. Box 10567
               Eugene, OR 97440-2567
                                                                                      2131792828        08/25/15    3384                10,352.76
                                                                                      2131792828        03/11/16    3779                31,058.27
                                                                                      2131792828        05/05/17    4213                31,058.28
000322         Michael John Jaskilka                  Unsecured                                                 $15,631.35              $4,376.78            $11,254.57
070            1484 Barrington Ave                      01-0?05
7100-00        Eugene OR 97401
                                                                                      2131792828        08/25/15    3385                   625.25
                                                                                      2131792828        03/11/16    3780                 1,875.77
                                                                                      2131792828        05/05/17    4214                 1,875.76
000323         Bonnie Rhynard-Buhl                    Unsecured                                                 $40,498.05             $11,339.46            $29,158.59
070            27353 SW 45th Drive
7100-00        Wilsonville OR 97070
                                                                                      2131792828        08/25/15    3386                 1,619.92
                                                                                      2131792828        03/11/16    3781                 4,859.77
                                                                                      2131792828        05/05/17    4215                 4,859.77
000324         Davis Wright Tremaine LLP              Unsecured                                                  $48,488.14             $13,576.68           $34,911.46
070            1300 SW 5th Ave #2400                    original claim filed for $30,488.14. Amended claim filed 12/22/14 for $18,000; Amended claim
7100-00        Portland OR 97201                        filed 6/3/15


                                                                                      2131792828        08/25/15    3387                 1,939.53
                                                                                      2131792828        03/11/16    3782                 5,818.57
                                                                                      2131792828        05/05/17    4217                 5,818.58
000325         Peggy J. Coffman                       Unsecured                                                  $12,313.94             $3,447.90             $8,866.04
070            2920 NE Conners Ave #101                 01-0066
7100-00        Bend, OR 97701-7924                      Amended Claim filed 09/07/17 to put it solely in name of Peggy J. Coffmann due to death of
                                                        Ronald Coffman.

                                                        Address Change filed 04/04/18--Document #1616


                                                                                      2131792828        08/25/15    3388                   492.56
                                                                                      2131792828        03/25/16    3862                 1,477.67
                                                                                      2131792828        05/05/17    4216                 1,477.67
000326         Eileen and Bruce McLellan              Unsecured                                                 $26,213.84              $7,339.87            $18,873.97
070            c/o Bradley S. Copeland                  no paperwork
7100-00        800 Willamette Street, Suite 800
               Eugene, OR 97401
                                                                                      2131792828        08/25/15    3389                 1,048.55
                                                                                      2131792828        03/11/16    3784                 3,145.66
                                                                                      2131792828        05/05/17    4218                 3,145.66
000327         Bruce McLellan                         Unsecured                                                $117,049.00             $32,773.73            $84,275.27
070            c/o Bradley S. Copeland                  no paperwork
7100-00        800 Willamette Street, Suite 800



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 Case Number:      12-63884                                            Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                       Amount Allowed           Paid to Date      Claim Balance

               Eugene, OR 97401


                                                                                   2131792828     08/25/15   3390               4,681.96
                                                                                   2131792828     03/11/16   3785              14,045.89
                                                                                   2131792828     05/05/17   4219              14,045.88
000328         Warren Harper                          Unsecured                                          $35,034.83           $9,809.76             $25,225.07
070            c/o Bradley S. Copeland                  no paperwork
7100-00        800 Willamette Street, Suite 800
               Eugene, OR 97401
                                                                                   2131792828     08/25/15   3391               1,401.39
                                                                                   2131792828     03/11/16   3786               4,204.19
                                                                                   2131792828     05/05/17   4220               4,204.18
000329         Marilyn and James Rear, Jr.            Unsecured                                         $317,215.64          $88,820.38            $228,395.26
070            c/o Bradley S. Copeland                  no paperwork
7100-00        800 Willamette Street, Suite 800
               Eugene, OR 97401
                                                                                   2131792828     08/25/15   3392              12,688.63
                                                                                   2131792828     03/11/16   3787              38,065.87
                                                                                   2131792828     05/05/17   4221              38,065.88
000330         Janet Harper and Marilyn Rear          Unsecured                                          $49,946.47          $13,985.02             $35,961.45
070            c/o Bradley S. Copeland                  no paperwork
7100-00        800 Willamette Street, Suite 800
               Eugene, OR 97401
                                                                                   2131792828     08/25/15   3393               1,997.86
                                                                                   2131792828     03/11/16   3788               5,993.58
                                                                                   2131792828     05/05/17   4222               5,993.58
000331         Harper Farms, Inc.                     Unsecured                                         $375,350.00         $105,097.99            $270,252.01
070            c/o Bradley S. Copeland                  no paperwork
7100-00        800 Willamette Street, Suite 800
               Eugene, OR 97401
                                                                                   2131792828     08/25/15   3394              15,014.00
                                                                                   2131792828     03/11/16   3789              45,041.99
                                                                                   2131792828     05/05/17   4223              45,042.00
000332         Guistina, Ehrman V                     Unsecured                                         $137,168.00          $38,407.04             $98,760.96
070            c/o Rohn M Roberts                       no paperwork
7100-00        800 Willamette St #800
               Eugene OR 97401
                                                                                   2131792828     08/25/15   3395               5,486.72
                                                                                   2131792828     03/11/16   3790              16,460.16
                                                                                   2131792828     05/05/17   4224              16,460.16
000333         Grace Lutheran Foundation              Unsecured                                         $441,901.00         $123,732.28            $318,168.72
070            c/o Rohn M Roberts                       no paperwork
7100-00        800 Willamette St #800
               Eugene OR 97401
                                                                                   2131792828     08/25/15   3396              17,676.04
                                                                                   2131792828     03/11/16   3791              53,028.12
                                                                                   2131792828     05/05/17   4225              53,028.12
000334         McCarty, Barbara J                     Unsecured                                         $516,963.00         $144,749.63            $372,213.37
070            c/o Rohn M Roberts                       no paperwork
7100-00        800 Willamette St #800
               Eugene OR 97401
                                                                                   2131792828     08/25/15   3397              20,678.52
                                                                                   2131792828     03/11/16   3792              62,035.55


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 Case Number:      12-63884                                            Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                           Amount Allowed             Paid to Date      Claim Balance


                                                                                    2131792828       05/05/17     4226               62,035.56
000335         M&A Investments                        Unsecured                                             $64,245.33             $17,988.69            $46,256.64
070            c/o Rohn M Roberts                       (335-2) Corrected Filed Date; 04-0036 and 04-0036
7100-00        800 Willamette St #800                   no paperwork
               Eugene OR 97401

                                                                                    2131792828       08/25/15     3398                2,569.81
                                                                                    2131792828       03/11/16     3793                7,709.44
                                                                                    2131792828       05/05/17     4227                7,709.44
000336         Agerter, Alan J                        Unsecured                                                 $3,491.95             $977.74             $2,514.21
070            c/o Rohn M. Roberts                      no paperwork
7100-00        800 Willamette St #800
               Eugene OR 97401
                                                                                    2131792828       08/25/15     3399                  139.68
                                                                                    2131792828       03/11/16     3794                  419.03
                                                                                    2131792828       05/05/17     4228                  419.03
000337         Agerter, Joan H                        Unsecured                                             $37,642.00             $10,539.76            $27,102.24
070            c/o Rohn M Roberts                       no paperwork
7100-00        800 Willamette St #800
               Eugene OR 97401
                                                                                    2131792828       08/25/15     3400                1,505.68
                                                                                    2131792828       03/11/16     3795                4,517.04
                                                                                    2131792828       05/05/17     4229                4,517.04
000338         Agerter, Mark & Regina                 Unsecured                                             $35,581.89              $9,962.93            $25,618.96
070            c/o Rohn M Roberts                       no paperwork; 01-0180; 01-0177; 01-0189
7100-00        800 Willamette St #800
               Eugene OR 97401
                                                                                    2131792828       08/25/15     3401                1,423.28
                                                                                    2131792828       03/11/16     3796                4,269.82
                                                                                    2131792828       05/05/17     4230                4,269.83
000339         Wolfe, Pierre                          Unsecured                                             $65,562.00             $18,357.36            $47,204.64
070            3568 E Virginia Ave                      03-0009
7100-00        Denver CO 80209
                                                                                    2131792828       08/25/15     3402                2,622.48
                                                                                    2131792828       03/11/16     3797                7,867.44
                                                                                    2131792828       05/05/17     4231                7,867.44
000340         Wolfe, Ronald                          Unsecured                                             $57,968.00             $16,231.04            $41,736.96
070            3025 E Bates Ave                         04-0021; 02-0071; 03-0011
7100-00        Denver CO 80210
                                                                                    2131792828       08/25/15     3403                2,318.72
                                                                                    2131792828       03/11/16     3798                6,956.16
                                                                                    2131792828       05/05/17     4232                6,956.16
000341         Wolfe, Jean                            Unsecured                                             $74,716.00             $20,920.48            $53,795.52
070            3568 E Virginia Ave                      01-0011; 04-0003; 03-0016
7100-00        Denver CO 80209
                                                                                    2131792828       08/25/15     3404                2,988.64
                                                                                    2131792828       03/11/16     3799                8,965.92
                                                                                    2131792828       05/05/17     4233                8,965.92




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                                                               ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                            Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class     Notes                        Amount Allowed              Paid to Date      Claim Balance

000342         Dupriest, Douglas M                    Unsecured                                          $55,868.00             $15,643.03             $40,224.97
070            225 Dartmoor Dr                          01-0013
7100-00        Eugene OR 97401
                                                                                   2131792828     08/25/15     3405                2,234.72
                                                                                   2131792828     03/11/16     3800                6,704.15
                                                                                   2131792828     05/05/17     4234                6,704.16
000343         Degge, Rogena M                        Unsecured                                          $46,754.00             $13,091.12             $33,662.88
070            225 Dartmoor Dr                          01-0012
7100-00        Eugene OR 97401
                                                                                   2131792828     08/25/15     3406                1,870.16
                                                                                   2131792828     03/11/16     3801                5,610.48
                                                                                   2131792828     05/05/17     4235                5,610.48
000344         Herrmann, Paul                         Unsecured                                         $295,734.00             $82,805.52            $212,928.48
070            440 S Garfield St                        Notes 02-0086 and 02-0081; 03-0015
7100-00        Denver CO 80209
                                                                                   2131792828     08/25/15     3407               11,829.36
                                                                                   2131792828     03/11/16     3802               35,488.08
                                                                                   2131792828     05/05/17     4236               35,488.08
000345         Herrmann, Christopher                  Unsecured                                          $74,679.00             $20,910.12             $53,768.88
070            c/o Mr & Mrs Paul Herrmann               03-0017
7100-00        440 S Garfield St
               Denver CO 80209
                                                                                   2131792828     08/25/15     3408                2,987.16
                                                                                   2131792828     03/11/16     3803                8,961.48
                                                                                   2131792828     05/05/17     4237                8,961.48
000346         Christian Vaughan                      Unsecured                                              $8,847.00           $2,477.16              $6,369.84
070            6480 W Sumac Ave                         06-0151
7100-00        Denver CO 80123
                                                                                   2131792828     08/25/15     3409                  353.88
                                                                                   2131792828     03/11/16     3804                1,061.64
                                                                                   2131792828     05/05/17     4238                1,061.64
000347         Janssen, Joseph John                   Unsecured                                          $13,355.00              $3,739.40              $9,615.60
070            Janssen, Shannon & David                 01-0028
7100-00        2855 NW 29th
               Corvallis OR 97330
                                                                                   2131792828     08/25/15     3410                  534.20
                                                                                   2131792828     03/11/16     3805                1,602.60
                                                                                   2131792828     05/05/17     4239                1,602.60
000348         Janssen, Davi Rae Helen                Unsecured                                          $10,177.00              $2,849.56              $7,327.44
070            Janssen, Shannon & David                 01-0029
7100-00        Shannon Brown
               2855 NW 29th
                                                                                   2131792828     08/25/15     3411                  407.08
               Corvallis OR 97330
                                                                                   2131792828     03/11/16     3806                1,221.24
                                                                                   2131792828     05/05/17     4240                1,221.24
000349         Brown, Shannon                         Unsecured                                               $158.00               $44.24               $113.76
070            2855 NW 29th St                          04-0192
7100-00        Corvallis OR 97330
                                                                                   2131792828     08/25/15     3412                    6.32


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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed             Paid to Date       Claim Balance


                                                                                      2131792828       03/11/16     3807                   18.96
                                                                                      2131792828       05/05/17     4241                   18.96
000350         SCS Investments, LLC                   Unsecured                                                $11,498.00              $3,219.44             $8,278.56
070            c/o Alan G. Seligson                     01-0129
7100-00        142 West 8th Avenue
               Eugene, OR 97401
                                                                                      2131792828       08/25/15     3413                  459.92
                                                                                      2131792828       03/11/16     3808                1,379.76
                                                                                      2131792828       05/05/17     4242                1,379.76
000351         SRB Investments, LLC                   Unsecured                                               $229,177.00             $64,169.56           $165,007.44
070            c/o Alan G. Seligson                     02-0295
7100-00        142 West 8th Avenue
               Eugene, OR 97401
                                                                                      2131792828       08/25/15     3414                9,167.08
                                                                                      2131792828       03/11/16     3809               27,501.24
                                                                                      2131792828       05/05/17     4243               27,501.24
000352         Debra L. Stanley and James D. Stanley Unsecured                                                 $20,146.00              $5,640.88            $14,505.12
070            3800 BALLYNTYNE RD S                    (352-1) Funds in savings account; 01-0043
7100-00        SALEM OR 97302
                                                                                      2131792828       08/25/15     3415                  805.84
                                                                                      2131792828       03/11/16     3810                2,417.52
                                                                                      2131792828       05/05/17     4244                2,417.52
000353         Jared Stanley and Debra Stanley        Unsecured                                                   $4,800.00            $1,344.00             $3,456.00
070            3800 BALLYNTYNE RD S                     (353-1) Funds in savings account; 01-0047
7100-00        SALEM OR 97302
                                                                                      2131792828       08/25/15     3416                  192.00
                                                                                      2131792828       03/11/16     3811                  576.00
                                                                                      2131792828       05/05/17     4245                  576.00
000354         Ryan Stanley and Debra Stanley         Unsecured                                                   $4,800.00            $1,344.00             $3,456.00
070            3800 BALLYNTYNE RD S                     (354-1) Funds in savings account; 01-0048
7100-00        SALEM OR 97302
                                                                                      2131792828       08/25/15     3417                  192.00
                                                                                      2131792828       03/11/16     3812                  576.00
                                                                                      2131792828       05/05/17     4246                  576.00
000355         Scott & Wika Hutchinson              Unsecured                                                     $4,209.00            $1,178.52             $3,030.48
070            FBO Cayden Hutchison (a minor child)   Change of Address Filed 01/28/18--Document #1602
7100-00        17090 SW Rockridge Ct.
               Beaverton OR 97003                     (355-1) Creditor is a minor child, account is through Scott & Wika Hutchinson (parents); no
                                                      paperwork


                                                                                      2131792828       08/25/15     3418                  168.36
                                                                                      2131792828       03/11/16     3813                  505.08
                                                                                      2131792828       05/05/17     4247                  505.08
000356         Tyler, Duane                           Unsecured                                                $80,863.00             $22,641.64            $58,221.36
070            Tyler, Barbara                           05-0035
7100-00        POB 523
               Union OR 97883
                                                                                      2131792828       08/25/15     3419                3,234.52


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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed              Paid to Date        Claim Balance


                                                                                      2131792828        03/11/16     3814                9,703.56
                                                                                      2131792828        05/05/17     4248                9,703.56
000357         Dorothy J Larkin Rev Living Trust      Unsecured                                            $736,374.00            $206,184.72                $530,189.28
070            Richard L Larkin, Successor Trustee      08-0004; 9/28/15 Change of payment address from Dorothy J Larkin Rev Living Trust
7100-00        PO Box 424                               Richard L Larkin, Successor Trustee
               Sweet Home OR 97386                      1275 Mountain Fir Ct
                                                        Sweet Home OR 97386


                                                                                      2131792828        08/25/15     3420               29,454.96
                                                                                      2131792828        03/11/16     3815               88,364.88
                                                                                      2131792828        05/05/17     4249               88,364.88
000358         DANIELLE N. DESHOTEL                   Unsecured                                                   $2,629.00               $736.12              $1,892.88
070            11740 Hwy. 159                           no paperwork.
7100-00        Shongaloo, LA 71072                      Creditor Change of Address filed with court on 2/18/17 - Address updated in system 2/21/17.
                                                        Phone numbers
                                                        318 433-3534 & 318 423-9121


                                                                                      2131792828        08/25/15     3421                  105.16
                                                                                      2131792828        03/11/16     3816                  315.48
                                                                                      2131792828        05/05/17     4250                  315.48
000359         Johnson, Darci                         Unsecured                                                    $2,974.00              $832.71              $2,141.29
070            2451 SE 85th Ave                         06-0106
7100-00        Portland OR 97216
                                                                                      2131792828        08/25/15     3422                  118.96
                                                                                      2131792828        03/11/16     3817                  356.87
                                                                                      2131792828        05/05/17     4251                  356.88
000360         Hand, C Gene                           Unsecured                                                $140,019.36             $39,205.42            $100,813.94
070            5159 Solar Heights                       04-0070; 04-0069; no paperwork
7100-00        Eugene OR 97405
                                                                                      2131792828        08/25/15     3423                5,600.77
                                                                                      2131792828        03/11/16     3818               16,802.33
                                                                                      2131792828        05/05/17     4252               16,802.32
000361         Erildean Hand                          Unsecured                                                    $6,392.00            $1,789.76              $4,602.24
070            c/o C Gene Hand                          04-0071
7100-00        5159 Solar Heights Dr
               Eugene OR 97405
                                                                                      2131792828        08/25/15     3424                  255.68
                                                                                      2131792828        03/11/16     3819                  767.04
                                                                                      2131792828        05/05/17     4253                  767.04
000362         Hand, Patsy                            Unsecured                                                 $27,086.12              $7,584.11             $19,502.01
070            5159 Solar Heights                       (362-1) Claim Amended; See Amended Claim #360
7100-00        Eugene OR 97405                          See Claim 360;
                                                        04-0069
                                                        Duplicate amount


                                                                                      2131792828        08/25/15     3425                1,083.44



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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                          Amount Allowed              Paid to Date       Claim Balance


                                                                                       2131792828     03/11/16     3820                3,250.34
                                                                                       2131792828     05/05/17     4254                3,250.33
000363         Redhead, Paul                          Unsecured                                                  $3,124.73             $874.93              $2,249.80
070            701 High St #300                         01-0128
7100-00        Eugene OR 97401
                                                                                       2131792828     08/25/15     3426                  124.99
                                                                                       2131792828     03/11/16     3821                  374.97
                                                                                       2131792828     05/05/17     4255                  374.97
000364         Thomas K. Dean                         Unsecured                                                    $0.00                  $0.00                  $0.00
070            c/o Marjorie A Elken, Harrang Long       Objection to Claim and Order and Notice Thereon - Document #938 - Filed 6/19/15.
7100-00        Gray                                     Order Granting Upopposed Motion to Withdraw Proofs of Claim Filed by Creditor - Document
               1001 SW 5th Ave, 16th Fl                 #1587 - Filed 10/20/17.
               Portland OR 97204

000365         Thomas Dean, Trustee-Bailey Hill Def. Unsecured                                                    $0.00                  $0.00                   $0.00
070            Ben. Plan                               Objection to Claim and Order and Notice Thereon - Document #939 - Filed 6/19/15.
7100-00        c/o Marjorie A Elken, Harrang Long      Order Granting Upopposed Motion to Withdraw Proofs of Claim Filed by Creditor - Document
               Gray                                    #1587 - Filed 10/20/17.
               1001 SW 5th Ave, 16th Fl
               Portland OR 97204

000366         Thomas Dean, Trustee, James A.         Unsecured                                                    $0.00                  $0.00                  $0.00
070            Paulson                                  Objection to Claim and Order and Notice Thereon - Document #940 - Filed 6/19/15.
7100-00        Trust                                    Order Granting Upopposed Motion to Withdraw Proofs of Claim Filed by Creditor - Document
               c/o Marjorie A Elken, Harrang Long       #1587 - Filed 10/20/17.
               Gray
               1001 SW 5th Ave, 16th Fl
               Portland OR 97204

000367         Thomas Dean, Trustee, James A.         Unsecured                                                    $0.00                  $0.00                  $0.00
070            Paulson                                  Objection to Claim and Order and Notice Thereon - Document #941 - Filed 6/19/15.
7100-00        Trust                                    Order Granting Upopposed Motion to Withdraw Proofs of Claim Filed by Creditor - Document
               c/o Marjorie A Elken, Harrang Long       #1587 - Filed 10/20/17.
               Gray
               1001 SW 5th Ave, 16th Fl
               Portland OR 97204

000368         Tessem, Susan                          Unsecured                                              $17,944.00              $5,024.32             $12,919.68
070            SJO 83                                   03-0012; listed as priority claim
7100-00        POB 025216
               Miami FL 33102
                                                                                       2131792828     08/25/15     3427                  717.76
                                                                                       2131792828     03/11/16     3822                2,153.28
                                                                                       2131792828     05/05/17     4256                2,153.28
000369         Chasteen, Matthew S                    Unsecured                                                  $4,740.00           $1,327.20              $3,412.80
070            115 Carrin Layne Ct                      01-0208
7100-00        Roseburg OR 97471
                                                                                       2131792828     08/25/15     3428                  189.60
                                                                                       2131792828     03/11/16     3823                  568.80
                                                                                       2131792828     05/05/17     4257                  568.80




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 Case Number:      12-63884                                              Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                              Amount Allowed              Paid to Date          Claim Balance

000370         Chasteen, Naomi Edda                   Unsecured                                                      $910.00                $254.80                  $655.20
070            Chasteen, Matthew S                      01-0209
7100-00        115 Carrin Layne Ct
               Roseburg OR 97471
                                                                                       2131792828        08/25/15     3429                    36.40
                                                                                       2131792828        03/11/16     3824                   109.20
                                                                                       2131792828        05/05/17     4258                   109.20
000371         Peccia, Kathi                          Unsecured                                                     $8,466.00             $2,370.48                $6,095.52
070            530 Wedgewood Drive                      01-0280
7100-00        Eugene OR 97404
                                                        Change of Address filed 08/22/18--Document #1637


                                                                                       2131792828        08/25/15     3430                   338.64
                                                                                       2131792828        03/11/16     3825                 1,015.92
                                                                                       2131792828        05/05/17     4259                 1,015.92
000372         Wilka Hutchinson                       Unsecured                                                     $5,307.00             $1,485.96                $3,821.04
070            1490 SW 179th Ct                         (372-1) loan to Berjac of Oregon; 01-0133
7100-00        Beaverton OR 97006                       Change of Address filed - Document #438 - 8/20/13.


                                                                                       2131792828        08/25/15     3431                   212.28
                                                                                       2131792828        03/11/16     3826                   636.84
                                                                                       2131792828        05/05/17     4260                   636.84
000373         Wilka Hutchinson                       Unsecured                                               $1,550.00             $434.00                        $1,116.00
070            1490 SW 179th Ct                         (373-1) loan to Berjac of Oregon
7100-00        Beaverton OR 97006                       (373-1) money loaned by Wika Hutchinson FBO Clarissa (minor child); 01-0134
                                                        Change of Address filed - Document #438 - 8/20/13.


                                                                                       2131792828        08/25/15     3432                    62.00
                                                                                       2131792828        03/11/16     3827                   186.00
                                                                                       2131792828        05/05/17     4261                   186.00
000374         Maloney, Terry W                       Unsecured                                                     $3,715.00             $1,040.20                $2,674.80
070            Maloney, Melissa A                       01-0237
7100-00        2671 NW Legacy Pl
               Corvallis OR 97330
                                                                                       2131792828        08/25/15     3433                   148.60
                                                                                       2131792828        03/11/16     3828                   445.80
                                                                                       2131792828        05/05/17     4262                   445.80
000375         Hollis, Doug & Konni                   Unsecured                                                    $56,171.00                  $0.00              $56,171.00
071            Watkinson Laird Rubenstein, P.C.         First three interim distribution payments applied against Deferred Judgment amount owed by
7100-00        1203 Willamette Street, Suite 200        Claimanst from preferential transfer liitigation. Balance of Deferred Judgment paid per Deposit
               Eugene, OR 97440-2567                    #432 for $1,022.12 deposited 5/17/17

                                                        Creditor Change of Address filed 10/16/18--Document #1660




000376         Babb, Bert & Shirley                   Unsecured                                                 $379,867.00            $106,362.76               $273,504.24
070            2306 Park Grove Dr                       01-0207
7100-00        Eugene OR 97408



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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed             Paid to Date       Claim Balance


                                                                                      2131792828       08/25/15      3434              15,194.68
                                                                                      2131792828       03/11/16      3829              45,584.04
                                                                                      2131792828       05/05/17      4263              45,584.04
000377         C & D Radiator Service                 Unsecured                                              $307,809.00              $77,186.52           $230,622.48
071            Watkinson Laird Rubenstein, P.C.         Creditor Change of Address filed 10/16/18--Document #1655
7100-00        1203 Willamette Street, Suite 200
               P.O. Box 10567                           (377-2) Corrected creditor address to match claim; 01-0014
               Eugene, OR 97440-2567

                                                                                      2131792828       08/25/15      3452               3,312.36
                                                                                      2131792828       03/11/16      3853              36,937.08
                                                                                      2131792828       05/05/17      4264              36,937.08
000378         JONATHAN HOLLIS                        Unsecured                                                $24,325.00              $6,810.99            $17,514.01
070            5213 JONES RD. SE                        01-0019; 4/11/16 Change of Address filed. Doc. 1284.
7100-00        SALEM, OR 97306
                                                                                      2131792828       08/25/15      3435                 973.00
                                                                                      2131792828       03/11/16      3830               2,918.99
                                                                                      2131792828       05/05/17      4265               2,919.00
000379         Kruger, David L & Karen E              Unsecured                                                  $339.47               $95.06                  $244.41
070            3175 Baber Ct. SE                        01-0135;
7100-00        Salem, OR 97317                          Change of address - Document # 1068 Filed on 09/08/15 and repeated on Document #1432 -
                                                        Filed 10/20/16.


                                                                                      2131792828       08/25/15      3436                  13.58
                                                                                      2131792828       03/11/16      3831                  40.74
                                                                                      2131792828       01/03/18      4299                  40.74
000380         Chanda Mills                           Unsecured                                                   $1,104.00              $309.12               $794.88
070            POB 293                                  01-0004
7100-00        Veneta OR 97487
                                                                                      2131792828       08/25/15      3437                  44.16
                                                                                      2131792828       03/11/16      3832                 132.48
                                                                                      2131792828       05/05/17      4267                 132.48
000385         Myers, Eric                            Unsecured                                                   $2,071.00              $579.88             $1,491.12
070            3366 W 17th Ave                          04-0044
7100-00        Eugene OR 97402
                                                                                      2131792828       08/25/15      3438                  82.84
                                                                                      2131792828       03/11/16      3833                 248.52
                                                                                      2131792828       05/05/17      4268                 248.52
000386         Ian A Hutchinson                       Unsecured                                                      $0.00                  $0.00                 $0.00
070            4020 Aurora Ave N #409                   Objection to Claim of Creditor - Document #1042 - Filed 8/17/15. Duplicate of Claim #74.
7100-00        Seattle WA 98104

000387         Patty Wiles                            Unsecured                                                      $0.00                 $0.00                  $0.00
070            511 SE Plum                              Objection to Claim of Creditor - Document #934 - Filed 6/19/15. Duplicates Claim #12.
7100-00        Sutherlin OR 97479




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed              Paid to Date      Claim Balance

000388         Ian A Hutchinson                       Unsecured                                                      $0.00                  $0.00                 $0.00
070            4020 Aurora Ave N #409                   Objection to Claim of Creditor - Document #1042 - Filed 8/17/15. Duplicate of Claim #74.
7100-00        Seattle WA 98104

000389         Perez, Roberto Carlos                  Unsecured                                                     $0.00                   $0.00                 $0.00
070            Jose Perez, Custodian                    Objection to Claim - Document #942 - Filed 6/19/15. Duplicates Claim #106.
7100-00        586 Flagler St
               San Jose CA 95127

000390         Clark Lateral Ditch Co                 Unsecured                                                      $0.00                 $0.00                  $0.00
070            c/o Scott Sveum.                         Objection to Claim of Creditor - Document #960 - Filed 6/19/15. Duplicates Claim #305.
7100-00        10980 West 65th Way                      Change of address - Document #1432 - Filed 10/20/16 by Bankruptcy Court.
               Arvada, CO 80004

000391         Porter, Elizabeth                      Unsecured                                                     $0.00                $0.00                    $0.00
070            1927 SE 41st Ave                         Stipulation Allowing Withdrawal of Claim Nos 391, 392, 393 and 394 - Document #1029 - Filed
7100-00        Portland OR 97214                        7/10/15.


000392         Porter, Steven & Elizabeth             Unsecured                                                     $0.00                $0.00                    $0.00
070            1927 SE 41st Ave                         Stipulation Allowing Withdrawal of Claim Nos 391, 392, 393 and 394 - Document #1029 - Filed
7100-00        Portland OR 97214                        7/10/15.


000393         Steven and/or Elizabeth Porter         Unsecured                                                     $0.00                $0.00                    $0.00
070            1927 SE 41st Ave                         Stipulation Allowing Withdrawal of Claim Nos 391, 392, 393 and 394 - Document #1029 - Filed
7100-00        Portland OR 97214                        7/10/15.




000394         Porter, Elizabeth                      Unsecured                                                     $0.00                $0.00                    $0.00
070            1927 SE 41st Ave                         Stipulation Allowing Withdrawal of Claim Nos 391, 392, 393 and 394 - Document #1029 - Filed
7100-00        Portland OR 97214                        7/10/15.


000395         TERESA L. MESSIER                      Unsecured                                              $27,106.00              $7,589.68              $19,516.32
070            1852 MOCCASIN DR                         04-0008;
7100-00        WACONIA, MN 55387                        Amended Claim changing creditor name in the Wendell Gray Estate from Kevin Gray to Teresa L.
                                                        Messier - Filed 10/11/16. by Kevin Gray.


                                                                                      2131792828       08/25/15    3439                  1,084.24
                                                                                      2131792828       03/11/16    3834                  3,252.72
                                                                                      2131792828       05/05/17    4269                  3,252.72
000396         Roger A Rau                            Unsecured                                                      $0.00                $0.00                   $0.00
070            3218 54th Ave NE                         Objection to Claim - Document #943 - Filed 6/19/15. Duplicates Claim Nos 120 & 121.
7100-00        Albalny, OR 97321

000397         Kalila Fuller                          Unsecured                                                      $0.00                  $0.00                 $0.00
070            2Gershwin Ct                             Objection to Claim - Document #944 - Filed 6/19/15. Duplicates Claim #116.
7100-00        Lake Oswege, OR 97035
                                                        .




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed              Paid to Date       Claim Balance

000398         Esmee Fuller                           Unsecured                                                      $0.00                  $0.00                  $0.00
070            2Gerswhin Ct                             Objection to Claim - Document #945 - Filed 6/19/15. Duplicates Claim #119.
7100-00        Lake Oswege, OR 97035


000399         Bradley Myers                          Unsecured                                                  $11,000.00              $3,080.00            $7,920.00
070            4325 Commerce St                         Account Number (last 4 digits):8497 . Address of creditor edited to match claim.
7100-00        Suite 111 #503
               Eugene, OR 97402
                                                                                      2131792828        08/25/15    3440                   440.00
                                                                                      2131792828        03/11/16    3835                 1,320.00
                                                                                      2131792828        05/05/17    4270                 1,320.00
000400         Alison Myers                           Unsecured                                                      $0.00                  $0.00                  $0.00
070            4325 Commerce St                         Objection to Claim - Document #946 - Filed 6/19/15. Duplicates Claim #117.
7100-00        Suite 111 #503
               Eugene, OR 97402

000401         Toni Myers                             Unsecured                                                      $0.00                  $0.00                  $0.00
070            4235 Commerce St                         Objection to Claim - Document #947 - Filed 6/19/15. Duplicates Claim #122.
7100-00        Suite 111 #503
               Eugene, OR 97402

000402         Sallie Sugarman Trust                  Unsecured                                                      $0.00                  $0.00                  $0.00
070            Richard S Carson, Trustee                Objection to Claim - Document #948 - Filed 6/19/15. Duplicates Claim #65.
7100-00        6601 S. W. 155th Ave.
               Beaverton, OR 97007-5016                 .


000405         Sallie Sugarman Trust                  Unsecured                                                      $0.00                  $0.00                  $0.00
070            Richard S Carson, Trustee                Objection to Claim - Document #949 - Filed 6/19/15. Duplicates Claim #138.
7100-00        6601 S. W. 155th Ave.
               Beaverton, OR 97007-5016

000406         Sallie Sugarman Trust                  Unsecured                                                      $0.00                  $0.00                  $0.00
070            Richard S Carson, Trustee                Objection to Claim - Document #950 - Filed 6/19/15. Duplicates Claim #137.
7100-00        6601 S. W. 155th Ave.
               Beaverton, OR 97007-5016                 .


000408         Lee and Kay Pittman                    Unsecured                                                      $0.00                  $0.00                  $0.00
070            c/o Paul Lee and Kay Pittman             Objection to Claim - Document #951 - Filed 6/19/15. Duplicates Claim #26.
7100-00        8540 Melrose Lane
               El Cajon CA 92021

000409         Jordan, Max & Miriam                   Unsecured                                                      $0.00                  $0.00                  $0.00
070            3230 Van Buren Street                    Withdrawal of Claim filed by Creditors - Document #1089. - Filed 9/21/15. Claim withdrawn as
7100-00        Eugene, OR 97405                         part of settlement.


000410         M&M Properties LLC                     Unsecured                                                      $0.00                  $0.00                  $0.00
070            3230 Van Buren Street                    Withdrawal of Claim filed by Creditors - Document #1090. - Filed 9/21/15. Claim withdrawn as
7100-00        Eugene, OR 97405                         part of settlement.




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed              Paid to Date         Claim Balance

000411         ROBERT E. & PATRICIA A. MYERS Unsecured                                                       $0.00                 $0.00                             $0.00
070            FAMILY                          Objection to Claim filed by Trustee - Document #1043 - Filed 8/17/15. Duplicate of Claim #30.
7100-00        TRUST DATED 1
               1357 MEADOW COURT
               HEALDSBURG, CA 95448

000412         Fred W. Holcomb as Trustee of the      Unsecured                                                    $0.00                $0.00                        $0.00
070            Holcomb Joint Tr                         Per Withdrawal of Claims #412 & #413 submitted by Atty Laura Walker - Document #1531 -
7100-00        c/o Laura J. Walker                      Filed 5/4/17.
               Cable Huston Benedict Haagensen &
               Lloyd
               1001 SW Fifth Ave., Suite 2000
               Portland, OR 97204

000413         Fred W. Holcomb                        Unsecured                                                    $0.00                $0.00                        $0.00
070            c/o Laura J. Walker                      Per Withdrawal of Claims #412 & #413 submitted by Atty Laura Walker - Document #1531 -
7100-00        Cable Huston Benedict Haagensen &        Filed 5/4/17.
               Lloyd
               1001 SW Fifth Ave., Suite 2000
               Portland, OR 97204

000414         Grange McKinney (House Account)        Unsecured                                                       $0.00                  $0.00                   $0.00
070            Denise Manoram                           Objection to Claim filed by Trustee - Document #952 - Filed 6/19/15. Duplicate of Claim #36.
7100-00        221 Via Montego
               San Clemente CA 92672



000415         Grange Bowen McKinney Living Trust Unsecured                                                       $0.00                  $0.00                       $0.00
070            Grange McKinney Trustee              Objection to Claim filed by Trustee - Document #952 - Filed 6/19/15. Duplicate of Claim #37.
7100-00        221 Via Montego
               San Clemente CA 92672

000416         Pacific Continental Bank, as successor Unsecured                                                     $0.00                  $0.00                     $0.00
070            in interest                              Per Stipulation Allowing Withdrawal of Claim Nos. 292 and 416 Filed by Trustee - Document
7100-00        c/o Sanford R. Landress, Esq.            #1021 - Filed 6/232/15.
               Greene & Markley, P.C.
               1515 SW 5th Ave, Ste. 600
               Portland, OR 97201

000417         Umpqua Bank                            Unsecured                                                      $0.00                  $0.00                    $0.00
070            c/o Thomas A. Larkin                     Claim resolved as part of settlement with Unpqua Bank per Motion & Notice to Settle &
7100-00        Stewart Sokol & Gray LLC                 Compromise - Document #1474 - Filed 1/17/17.
               2300 SW First Ave., Suite 200
               Portland, OR 97201

000419         Dorothy J Larkin Rev Living Trust      Unsecured                                                       $0.00                  $0.00                   $0.00
070            Richard L Larkin, Successor Trustee      Objection to Claim filed by Trustee - Document #954 - Filed 6/19/15. Duplicate of Claim #357.
7100-00        1275 Mountain Fir Ct
               Sweet Home OR 97386

000420         Marlin Paul Larkin                     Unsecured                                                       $0.00                  $0.00                   $0.00
070            2437 Harris Street                       Objection to Claim filed by Trustee - Document #955 - Filed 6/19/15. Duplicate of Claim #294.
7100-00        Eureka, CA 95503-4761




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class       Notes                            Amount Allowed                Paid to Date      Claim Balance

000421         Jones & Roth, P.C.                     Unsecured                                                      $0.00                  $0.00                   $0.00
070            c/o Stephen F. English                   Disallowed per Objection Document #956 - Filed 06/19/15. Litigation.contingent claim. No
7100-00        Perkins Coie LLP                         reserve will be set aside at interim distribution.
               1120 NW Couch St., 10th Fl.
               Portland, OR 97209

000423         Holcomb Family Limited Partnership     Unsecured                                                     $0.00                    $0.00                  $0.00
070            c/o Laura J. Walker                      Withdrawal of Claim - Document #846 - Filed 2/26/15 in response to Motion to Settle and
7100-00        Cable Huston LLP                         Compromise - Document #751 - Filed 12/19/14.
               1001 SW Fifth Ave.                       PO Box has been closed per Change of Address - Document #1432 - Filed 10/20/16 by
               Suite 2000
                                                        Bankruptcy Court.
               Portland, OR 97204

000424         Chalmers, Jennifer & Michael           Unsecured                                                      $0.00                    $0.00                 $0.00
070            3371 Goose Cross Lane                    Withdrawal of Claim filed by Creditor - Document #838 - Filed 2/23/15.
7100-00        Eugene OR 97404-3869                     Change of address - Document #1432 - Filed 10/20/16.


000425         Jackson Chalmers                       Unsecured                                                 $13,167.00               $3,686.76             $9,480.24
070            c/o Jennifer Chalmers                    Change of Address - Document #1213 - Filed 1/21/16.
7100-00        3371 Goose Cross Lane
               Eugene, OR 97404-3869
                                                                                      2131792828        08/25/15     3443                    526.68
                                                                                      2131792828        03/11/16     3836                  1,580.04
                                                                                      2131792828        05/05/17     4271                  1,580.04
000426         Marilee Chalmers                       Unsecured                                                    $8,726.00             $2,443.28             $6,282.72
070            c/o Jennifer Chalmers                    Change of address Document #1213 - Filed 1/21/16.
7100-00        3371 Goose Cross Lane
               Eugene, OR 97404-3869
                                                                                      2131792828        08/25/15     3444                    349.04
                                                                                      2131792828        03/11/16     3837                  1,047.12
                                                                                      2131792828        05/05/17     4272                  1,047.12
000428         Lesley D. Ripka                        Unsecured                                                       $0.00                 $0.00                   $0.00
070            2738 Dehesa Rd                           Objection to Claim filed by Trustee - Document #957 - Filed 6/19/15. Duplicates Claim #137 &
7100-00        El Cajon CA 92019                        #138.

                                                        .


000429         John Fietsch                           Unsecured                                                       $0.00                 $0.00                   $0.00
070            2738 Dehesa Rd                           Objection to Claim filed by Trustee - Document #957 - Filed 6/19/15. Duplicates Claim #137 &
7100-00        El Cajon CA 92019                        #138.


000431         Wayne E & Alida D Rhynard Jr.          Unsecured                                                       $0.00                 $0.00                   $0.00
070            448 Clearview Rd                         Objection to Claim filed by Trustee - Document #959 - Filed 6/19/15. Duplicates Claim #289.
7100-00        Martinsdale, MT 59053

000432         AMERICAN PROPERTY                      Unsecured                                                    $1,189.90               $333.17               $856.73
070            MANAGEMENT                               6761; unsecured claim allowed. Doc. 852.
7100-00        2154 NE BROADWAY
               PORTLAND, OR 97232
                                                                                      2131792828        08/25/15     3445                     47.60
                                                                                      2131792828        03/11/16     3838                    142.78




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                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      12-63884                                             Claim Type Sequence
 Debtor Name:      BERJAC OF OREGON


Code #              Creditor Name & Address           Claim Class      Notes                            Amount Allowed             Paid to Date         Claim Balance


                                                                                     2131792828        05/05/17    4273                  142.79
000433         BARBARA H. MCDONALD                    Unsecured                                                     $0.00                  $0.00                   $0.00
070            1745 ALTA VISTA WAY                      Notice of Withdrawal of Proof of Claim - Document #1299 - Filed 5/11/16. Settlement was
7100-00        SAN DIEGO, CA 92109                      reached by creditors with Trustee.


000434         DONALD N. MCDONALD AND                 Unsecured                                                     $0.00                  $0.00                   $0.00
070            BARBARA H. MCDONALD                      Notice of Withdrawal of Proof of Claim - Document #1300 - Filed 5/11/16. Settlement was
7100-00        1745 ALTA VISTA WAY                      reached by creditors with Trustee.
               SAN DIEGO, CA 92109



000383         Oregon Dept of Consumer & Business     Unsecured                                               $300,000.00                  $0.00            $300,000.00
090            Svc                                      Stipulation Allowing Subordination of Claim Nos.383 and 384 to the Claims of General
7300-00        Daniel H Rosenhouse                      Unsecured Creditors Filed By Trustee Thomas A Huntsberger - Document #925 - Filed 6/12/15.
               Dept of Justice
               1515 SW 5th Ave #410
               Portland OR 97201

000384         Van Pounds                             Unsecured                                               $600,000.00                  $0.00            $600,000.00
080            Chief of Enforcement and Securities      Stipulation Allowing Subordination of Claim Nos.383 and 384 to the Claims of General
7300-00        DCBS,                                    Unsecured Creditors Filed By Trustee Thomas A Huntsberger - Document #925 - Filed 6/12/15.
               Div. of Finance and Corporate
               Securities
               PO Box 14480
               Salem, OR 97309-0405



                  Case Totals:                                                                            $47,894,247.96         $16,904,176.53          $30,990,071.43
 Code #: Trustee's Claim Number, Priority Code, Claim Type




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                                            TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 12-63884
     Case Name: BERJAC OF OREGON
     Trustee Name: THOMAS A. HUNTSBERGER, TRUSTEE
                         Balance on hand                                                $            2,767,452.28

               Claims of secured creditors will be paid as follows:

                                                               Allowed          Interim
                                                               Amount of        Payment to         Proposed
       Claim No. Claimant                       Claim Asserted Claim            Date               Payment
                      Curtis Restaurant
       000213         Equip                    $         0.00 $            0.00 $           0.00 $            0.00


       000292A        Century Bank             $         0.00 $            0.00 $           0.00 $            0.00

                      Lane County Dept.
       000381         of Assessment and        $     2,434.61 $            0.00 $           0.00 $            0.00

                      Lane County Dept.
       000382         of Assessment and        $     2,147.28 $            0.00 $           0.00 $            0.00

                Total to be paid to secured creditors                                   $                     0.00
                Remaining Balance                                                       $            2,767,452.28


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                        Reason/Applicant                 Total Requested    to Date          Payment
       Trustee Fees: THOMAS A.
       HUNTSBERGER, TRUSTEE                             $     621,212.84 $          319,738.91 $      301,473.93

       Trustee Expenses: THOMAS A.
       HUNTSBERGER, TRUSTEE                             $          8,935.24 $         3,854.82 $         5,080.42

       Attorney for Trustee Fees: Bullivant Houser
       Bailey PC                                   $          343,994.40 $          343,994.40 $              0.00

       Attorney for Trustee Expenses: Bullivant
       Houser Bailey PC                                 $          1,255.19 $         1,255.19 $              0.00

       Accountant for Trustee Fees: DAVID
       REKDAHL, CPA                                     $         10,751.00 $        10,751.00 $              0.00

       Accountant for Trustee Expenses: DAVID
       REKDAHL, CPA                                     $           124.05 $           124.05 $               0.00


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                                                                          Interim Payments Proposed
                         Reason/Applicant             Total Requested     to Date          Payment
      Fees: United States Trustee Payment Center $             6,825.00 $          6,825.00 $                0.00
      Other: RONALD R. STICKA                         $        7,350.00 $          7,350.00 $                0.00
      Other: HOGAN MEDIATION                          $       20,825.76 $         20,825.76 $                0.00
      Other: Transeth & Associates, LLC               $      459,302.75 $       459,302.75 $                 0.00
      Other: THOMAS A. HUNTSBERGER,
      TRUSTEE                                         $        5,627.55 $          5,627.55 $                0.00
      Other: Tarlow Naito & Summers, LLP              $    1,842,958.01 $     1,842,958.01 $                 0.00
      Other: Tarlow Naito & Summers, LLP              $      109,746.21 $       109,746.21 $                 0.00
      Other: Kent & Johnson, LLP                      $    1,780,859.83 $     1,780,859.83 $                 0.00
      Other: Kent & Johnson, LLP                      $       12,017.85 $         12,017.85 $                0.00
      Other: David B. Mills                           $       89,575.00 $         89,575.00 $                0.00
      Other: David B. Mills                           $          106.30 $            106.30 $                0.00
      Other: Rosenthal Greene & Devlin, PC            $       19,650.00 $         19,650.00 $                0.00
                Total to be paid for chapter 7 administrative expenses                $             306,554.35
                Remaining Balance                                                     $           2,460,897.93


               Applications for prior chapter fees and administrative expenses have been filed as follows:

                                                                         Interim Payments
                         Reason/Applicant            Total Requested     to Date          Proposed Payment
      Accountant for Fees: Krista Lacis              $         8,950.00 $          8,950.00 $                0.00
      Other: Bullivant Houser Bailey PC              $       550,436.75 $       550,436.75 $                 0.00
      Other: Bullivant Houser Bailey PC              $        19,600.17 $         19,600.17 $                0.00
      Other: David B. Mills                          $       205,475.00 $       205,475.00 $                 0.00
      Other: David B. Mills                          $         2,140.37 $          2,140.37 $                0.00
      Other: Krista Lacis                            $         8,950.00 $          8,950.00 $                0.00
      Other: Luvaas Cobb                             $        24,133.00 $         24,133.00 $                0.00




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                                                                             Interim Payments
                        Reason/Applicant                 Total Requested     to Date          Proposed Payment
       Other: Luvaas Cobb                             $             271.91 $            271.91 $                    0.00
       Other: Luvaas Cobb                             $           10,910.00 $        10,910.00 $                    0.00
       Other: Luvaas Cobb                             $             795.00 $            795.00 $                    0.00
       Other: Thomas A. Huntsberger, Trustee          $        142,227.16 $         142,227.16 $                    0.00
       Other: Thomas A. Huntsberger, Trustee          $            5,248.18 $          5,248.18 $                   0.00
       Other: Transeth & Associates, LLC              $        179,495.93 $         179,495.93 $                    0.00
       Other: Law Offices Of Keith Boyd               $                0.00 $                 0.00 $                0.00

                Total to be paid for prior chapter administrative expenses                $                         0.00
                Remaining Balance                                                         $               2,460,897.93

              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:

                                                         Allowed Amount        Interim Payments        Proposed
     Claim No.            Claimant                       of Claim              to Date                 Payment
     000234               IRS                        $                0.00 $              0.00 $                   0.00

                Total to be paid for allowed priority creditors                           $                         0.00
                Remaining Balance                                                         $               2,460,897.93

             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 41,133,595.59 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 32.8 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                         Allowed Amount        Interim Payments        Proposed
     Claim No.            Claimant                       of Claim              to Date                 Payment
     000001               George & Melissa Rex        $       450,000.00 $          126,000.00 $             26,844.94
     000002               James & Nancy McKittrick $              3,001.54 $            840.43 $                  179.06

                          Carolyn Wilson Credit
     000003               Shelter Trust               $       123,500.00 $           34,580.00 $              7,367.44
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                                                        Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                      of Claim           to Date          Payment
     000004               Dee Wilson                $        20,750.00 $          5,810.00 $       1,237.85
                          Fredrick & Betty Jo
     000005               Siegrist                  $       151,300.82 $         22,364.23 $       9,026.00
     000006               Fredrick Siegrist         $       100,464.34 $         28,130.01 $       5,993.25
     000007               Jacke Daugherty           $        21,336.18 $          5,974.13 $       1,273.16
     000008               Cheryl Carter             $        79,288.92 $         22,200.89 $       4,730.03
     000009               Linda Holcomb Bryant &    $        68,187.00 $         19,092.36 $       4,067.72
     000010               Linda Holcomb Bryant      $        90,348.00 $         25,297.44 $       5,389.75
     000011               Leone M. Roberts          $       146,397.00 $         33,991.16 $       8,733.46
                          HOLCOMB LIVING
     000012               TRUST                     $       198,323.49 $         55,530.58 $      11,831.07
                          Larry C Holcomb Living
     000013               Trust                     $       292,510.00 $         81,902.80 $      17,449.80
                          Robert Holcomb Family
     000014               LLC                       $       318,253.00 $         89,110.83 $      18,985.52
                          Karen L Brockett Living
     000015               Trust                     $       377,310.00 $       105,646.80 $       22,508.58
                          Charlene S. Cox Rev Trust
     000016               dtd 10-15-97              $       489,563.65 $       137,077.82 $       29,205.12
     000017               Leslie B Hutchinson or    $        74,064.00 $         20,737.92 $       4,418.32
                          Tim, Leslie, & Nicholas
     000018               Hutchinson                $       684,262.00 $       191,593.36 $       40,819.94
                          Tim & Nicholas
     000019               Hutchinson                $        16,948.00 $          4,745.43 $       1,011.05
     000020               Colleen Bartlett          $        50,945.99 $         14,264.87 $       3,039.22
     000021               Fred E Vamer              $        41,810.00 $         11,706.80 $       2,494.19
                          Marshall & Pattie
     000022               Matthews                  $        68,980.66 $         19,314.59 $       4,115.07
     000023               Trudy A Harper Harris     $        57,876.02 $         16,205.28 $       3,452.63




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                                                          Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                        of Claim           to Date          Payment
     000024               Kristin Carson              $        39,788.75 $         11,140.85 $       2,373.61
     000025               Roberto Carlos Perez        $             0.00 $              0.00 $             0.00
     000026               Lee & Kay Pittman           $       230,323.00 $         64,490.44 $      13,740.01
     000027               Mary Nuwer                  $       100,146.94 $         28,041.13 $       5,974.32
     000028               Sydney A. Gaunt             $         9,779.00 $          2,738.12 $           583.37
     000029               R.W. Strand Inc             $        61,365.00 $         17,182.20 $       3,660.76
                          Robert E Myers & Patricia
     000030               A Myers                   $         109,051.00 $         30,534.28 $       6,505.48
     000031               ARGO PARTNERS               $        90,801.12 $         25,424.31 $       5,416.79
     000032               Sarah Ostendorf             $        66,676.30 $         18,669.36 $       3,977.60
     000033               Eugene Executives Assn      $        46,443.00 $         13,004.04 $       2,770.58
     000034               Vecellio, Patricia          $        70,195.50 $         19,654.74 $       4,187.54
     000035               Paralee Mock, Trustee       $       649,956.62 $       181,987.85 $       38,773.44
                          Grange McKinney (House
     000036               Account)               $              8,043.00 $          2,252.04 $           479.81
                          Grange Bowen McKinney
     000037               Living Trust                $        26,744.00 $          7,488.32 $       1,595.42
     000038               Duane J Cornell             $        22,221.00 $          6,221.88 $       1,325.60
     000039               Tom & Allison Hutchinson $           73,748.00 $         20,649.44 $       4,399.47
     000040               Stephen Hutchinson          $       111,445.13 $         31,204.64 $       6,648.30
     000041               Kathryn Martin Hutchinson $          10,022.08 $          2,806.18 $           597.87
                          Richard L. Doyle, Trustee
     000042               of                          $       100,000.00 $         28,000.00 $       5,965.54
     000043               Natalie B Kruger            $           202.00 $            56.56 $             12.05
     000044               Hunter R. Lundquist         $         1,485.00 $           415.80 $             88.59
     000045               Matthew C Davis Sr.         $            28.00 $              7.84 $             1.67
     000046               Taylor Lee Lundquist        $         4,093.00 $          1,146.04 $           244.17




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                                                          Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                        of Claim            to Date          Payment
     000047               Nathaniel D Kruger          $           868.92 $            243.30 $             51.83
     000048               Joyce L Kruger              $       213,070.34 $          59,659.69 $      12,710.81
                          Glass Tree Care & Spray
     000049               Svc                         $        61,079.00 $          17,102.12 $       3,643.69
     000050               Sandra Stenger              $        17,934.50 $           5,021.66 $       1,069.89
     000051               Denise Manoram              $        61,837.19 $          17,314.40 $       3,688.94
     000052               Dean W. Gunderson           $       118,131.44 $          23,537.78 $       7,047.25
     000053               James P Mischkot Sr         $       145,280.00 $          40,678.40 $       8,666.74
     000054               Peggy Mischkot-Roga         $       175,302.86 $          49,084.80 $      10,457.76
     000055               Peggy Roga                  $        10,717.23 $           3,000.82 $           639.35
     000056               Elizabeth Porter            $       184,604.50 $          51,689.26 $      11,012.66
     000057               Steven & Elizabeth Porter   $        56,178.00 $          15,729.84 $       3,351.32
     000058               Robert & Edie Shelton       $      1,672,259.20 $       468,232.56 $       99,759.33
     000059               Robert & Edie Shelton       $           817.44 $            228.88 $             48.76
     000060               Amy Shelton Bloch           $       144,537.72 $          40,470.56 $       8,622.46
     000061               Betty L Diller              $        15,313.56 $           4,287.80 $           913.54
     000062               Hahn Living Trust           $           675.00 $            189.00 $             40.27
     000063               Fred & Susan A Platt        $        56,977.00 $          15,953.56 $       3,398.99
                          O'Malley Living Trust dtd
     000064               7-6-94                      $       104,198.21 $          29,175.50 $       6,215.98
     000065               Sallie Sugarman Trust       $         7,124.00 $           1,994.72 $           424.99
     000066               Bernice K Porter            $        10,535.00 $           2,949.80 $           628.47
                          Doreen Wall/THS Class of
     000067               1981                     $            1,371.37 $            383.98 $             81.82
                          Shane Porter & Steven
     000068               Porter                      $           694.00 $            194.32 $             41.40
     000069               Steven & Shane Porter       $        20,313.00 $           5,687.64 $       1,211.78




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                                                        Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                      of Claim           to Date          Payment
     000070               June L. Trimble           $        60,648.00 $         16,981.44 $       3,617.98
                          Thayer R Dickey Trust dtd
     000071               4-1-10                    $        84,210.37 $         23,578.90 $       5,023.61
     000072               Joe L Dickey              $        38,248.00 $         10,709.44 $       2,281.70
     000073               Virginia Maxine Graves    $       108,284.00 $         30,319.52 $       6,459.72
     000074               Ian A Hutchinson          $         6,217.00 $          1,740.76 $           370.87
     000075               Tom & Allison Hutchinson $         27,108.00 $          7,590.24 $       1,617.14
     000076               Scott M. Hutchinson       $         1,004.00 $           281.12 $             59.89
                          Kathleen Kiefer & Scott
     000077               Thomas Kiefer             $        99,271.01 $         27,795.87 $       5,922.06
                          Sandy O'Malley for Eli
     000078               Hayward                   $           761.00 $           213.08 $             45.40
     000079               Sandy O'Malley            $        80,001.33 $         22,400.37 $       4,772.52
                          Doug Graves - Vacation
     000080               Fund                      $         3,536.00 $           990.08 $            210.94
     000081               Doug Graves               $        34,738.11 $          9,726.67 $       2,072.32
                          Doug Graves & Sandy
     000082               O'Malley                  $       106,584.79 $         29,843.74 $       6,358.36
     000083               Utis Gene Votaw           $        56,317.00 $         15,768.76 $       3,359.61
     000084               Judy Erickson Abel        $        72,277.18 $         20,237.61 $       4,311.73
                          Barbara A Sims & Tom
     000085               Sims-Wros                 $        48,313.52 $         13,527.78 $       2,882.17
     000086               Alexander Mann            $        15,271.00 $          4,275.88 $           911.00
     000087               Christine Anne Jones      $         1,035.00 $           289.80 $             61.75
     000088               Mary M Ellingson          $        48,844.50 $         13,676.46 $       2,913.84
     000089               Kendall W. Reeves         $         8,877.00 $          2,485.56 $           529.56
     000090               Anna M Culcasi Trust      $        80,664.52 $         22,586.06 $       4,812.08
     000091               David & Jessie Fountain   $       101,959.50 $         18,548.66 $       6,082.50




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                                                         Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                       of Claim           to Date          Payment
                          Harry Abel Jr Living
     000092               Revocable Trust            $        11,997.25 $          3,359.23 $           715.71
     000093               Colleen Bartlett           $             0.00 $              0.00 $             0.00
     000094               Natalie Crowder            $        35,263.00 $          9,873.64 $       2,103.63
     000095               Ruthann Heaton, Trustee    $       120,925.00 $         33,859.00 $       7,213.83
                          Allen Arthur Prigge
     000096               Revocable Trust            $       132,141.29 $         36,999.56 $       7,882.95
                          Timothy A & Gayle A
     000097               Atteberry                  $        22,632.99 $          6,337.24 $       1,350.18
     000098               Tim Atteberry              $        25,665.49 $          7,186.33 $       1,531.09
     000099               Lorraine Smith (Deceased) $        100,441.00 $         28,123.48 $       5,991.85
     000100               Ellen J Hutchinson         $         1,317.00 $           368.76 $             78.56
     000101               Spencer Creek Lutheran     $        14,131.97 $          3,956.95 $           843.05
                          Gustav Oaxaca Berger-
     000102               Brown                      $         1,051.00 $           294.28 $             62.71
     000103               Ted and Lindy Brown        $       146,826.49 $         41,111.42 $       8,758.99
     000104               Nancy M Dezsofi            $         8,447.58 $          2,365.32 $           503.95
     000105               Thomas and Ann Harris      $       318,154.00 $         89,083.12 $      18,979.61
     000106               Roberto Carlos Perez       $        96,944.00 $         27,144.32 $       5,783.23
     000107               Britt Hansen               $        18,710.00 $          5,238.80 $       1,116.15
                          Mid-State Industrial Svc
     000108               Inc                        $        52,341.00 $         14,655.48 $       3,122.42
     000109               Mary Carson-Vanlanduyt     $         8,555.00 $          2,395.40 $           510.35
                          Sugarman Trust +
     000110               VanLanduyt + Carson        $        44,214.00 $         12,379.92 $       2,637.60
     000111               James D. Dodson, Trustee   $       107,487.00 $         30,096.36 $       6,412.18
     000112               Patty Wiles                $        68,145.00 $         19,080.60 $       4,065.22




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                                                        Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                      of Claim           to Date          Payment
                          Skeie's Jewelers Profit
     000113               Sharing Acct              $        54,443.00 $         15,244.04 $       3,247.81
     000114               Tanya Van Sant            $        13,000.00 $          3,640.00 $           775.52
     000115               Fish                      $        18,304.00 $          5,125.12 $       1,091.93
     000116               Kalila J Fuller           $         5,507.00 $          1,541.96 $           328.53
     000117               Alison K Myers            $         5,507.00 $          1,541.96 $           328.53
     000118               Bradley Nelson Myers      $        12,059.00 $          3,376.52 $           719.38
     000119               Esmee C Fuller            $         5,507.00 $          1,541.95 $           328.54
     000120               Roger A and Kay A Rau     $       125,373.92 $         35,104.70 $       7,479.23
     000121               Roger A and Kay A Rau     $        30,839.00 $          8,634.92 $       1,839.71
     000122               Toni K Myers              $         7,227.00 $          2,023.56 $           431.13
     000123               Michael Phinney           $        44,617.00 $         12,492.76 $       2,661.64
     000124               Thomas M. and Cari L. Orr $        21,645.00 $          6,060.60 $       1,291.24
                          Hutchinson Cox Coons Orr
     000125               & Sherlock PC            $         78,103.02 $         21,868.85 $       4,659.26
                          Hutchinson Cox Coons Orr
     000126               & Sherlock PC            $         32,149.63 $          9,001.90 $       1,917.89
     000127               Ronald A Harris           $       148,513.00 $         31,583.64 $       8,859.69
     000128               Melvin H Drews Jr.        $         4,013.00 $          1,123.63 $           239.41
     000129               Lura E Folkerts           $       224,471.00 $         62,851.88 $      13,390.91
     000130               Betty & Fred Schenfeld    $         2,029.00 $           568.12 $            121.04
     000131               Corinne C. Hunt           $       164,281.00 $         45,998.68 $       9,800.25
     000132               David Barajas             $       106,266.00 $         29,754.48 $       6,339.34
     000133               Corrie Herman             $        19,051.00 $          5,334.28 $       1,136.49
     000134               Mad Fish SEO              $        27,000.00 $          7,560.00 $       1,610.70
     000135               Benjamin & Corrie Herman $          2,972.00 $           832.16 $            177.29




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                                                         Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                       of Claim           to Date          Payment
     000136               Jesse Tyrell Hooker        $        14,309.00 $          4,006.52 $           853.61
     000137               John Fietsch               $       103,211.48 $         28,899.21 $       6,157.12
     000138               Leslie D Ripka Trust       $        34,393.71 $          9,630.24 $       2,051.77
     000139               Dana Howell                $             0.00 $              0.00 $             0.00
                          Michael I and Rebecca S
     000140               Cyphert                    $         2,587.68 $           724.54 $            154.38
     000141               Nixon Family Trust         $           339.00 $            94.92 $             20.22
     000142               Linda D & David P Frantz $          41,800.00 $         11,704.00 $       2,493.59
     000143               Lynette Mischkot           $        13,914.00 $          3,895.92 $           830.05
     000144               Bruce Barents              $       679,491.15 $       190,257.52 $       40,535.33
     000145               Brandon J Kutz             $         7,791.40 $          2,181.59 $           464.80
     000146               Hallie M Night Pipe        $         6,735.00 $          1,885.80 $           401.78
                          Susan D Abbott Lvg Trust
     000147               dtd 12-23-09             $          55,010.84 $         15,403.03 $       3,281.70
     000148               Mia Ayame Kutz             $         5,290.00 $          1,481.20 $           315.58
     000149               David Butler               $        19,833.00 $          5,553.24 $       1,183.15
                          Thomas M Butler & Glee E
     000150               Butler                   $         254,695.74 $         71,314.81 $      15,193.98
     000151               Steckelberg-Glass, Loretta $       119,787.46 $         33,540.49 $       7,145.97
                          Theodore & Loretta Glass
     000152               Joint Trust                $       994,673.00 $       271,008.44 $       59,338.21
     000153               Butler, Paul D & Natalie B $        44,650.00 $         12,502.00 $       2,663.61
     000154               Pohll, Michael             $        10,536.00 $          2,950.08 $           628.53
     000155               Jones, Elena R             $           584.94 $           163.78 $             34.90
     000156               Pohll, Jared C             $         6,070.64 $          1,699.78 $           362.15
     000157               Ruth Pohll                 $       205,109.34 $         57,430.62 $      12,235.87
     000158               Van Sant, Luella G         $       622,873.00 $       168,404.44 $       37,158.11




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                                                          Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                        of Claim            to Date          Payment
     000159               Van Sant, Dennis & Bonnie $         245,835.35 $          68,833.89 $      14,665.42
     000160               Vansant, Douglas            $        10,412.00 $           2,915.36 $           621.13
                          Northup, Darryl L/Northup,
     000161               Alberta E                  $         27,874.00 $           7,804.72 $       1,662.84
                          Apostolic Faith Church of
     000162               Chehalis WA                 $       198,414.00 $          55,555.92 $      11,836.47
                          Gregory P & Phyllis M
     000163               Horn                        $        24,193.00 $           6,774.04 $       1,443.25
     000164               Berakah LLC                 $        12,323.01 $           3,450.44 $           735.13
     000165               Spies, Grant & Debra        $       168,898.00 $          47,291.44 $      10,075.68
                          Apostolic Faith Chuch of
     000166               Port Angeles                $        19,389.00 $           5,428.92 $       1,156.66
     000167               Von Wald, Kimberly A        $        27,574.70 $           7,720.91 $       1,644.99
                          Rosenlof, Wayne &
     000168               Rosenlof, Janis J           $       357,695.00 $        100,154.60 $       21,338.45
                          Rosenlof, Wayne &
     000169               Rosenlof, Janis J           $       109,888.00 $          30,768.64 $       6,555.41
                          Siegmund, Catherine J,
     000170               Trustee                     $        85,785.00 $          24,019.80 $       5,117.54
     000171               E.G. Gardner Co, Inc        $       106,447.81 $          14,805.39 $       6,350.25
     000172               Sogge Joint Trust           $        35,438.00 $           9,922.64 $       2,114.07
     000173               Kellstrom, Scott & Jenny    $        37,684.00 $          10,551.52 $       2,248.05
     000174               Buss, Dennis & Deborah      $        70,746.00 $          19,808.87 $       4,220.39
     000175               Buss, Cleta & Dennis        $        20,214.00 $           5,659.92 $       1,205.88
     000176               Butler, John C & Tamera A $          25,693.00 $           7,194.04 $       1,532.72
                          Abby Broughton Profit
     000177               Sharing                     $       388,995.00 $        108,918.60 $       23,205.66
                          Albert & Connie
     000178               Broughton,                  $      2,893,263.22 $       803,061.82 $      179,650.70




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                                                          Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                        of Claim            to Date          Payment
                          Edgar C. & Mary Ann
     000179               Brown                       $       557,234.02 $        146,525.52 $       33,242.35
                          Steven Cochran and
     000180               Rosamond Cochran            $        54,883.50 $          15,367.37 $       3,274.12
                          Juanita G. Cochran and
     000181               Steven Cochran              $       112,189.00 $          31,412.92 $       6,692.68
     000182               Clemens R. Aita, Jr.        $       106,309.00 $          29,766.52 $       6,341.91
                          George and Yvonne
     000183               Karotko                     $       303,917.25 $          85,096.83 $      18,130.31
                          George and Yvonne
     000184               Karotko                     $      1,188,745.05 $       332,848.61 $       70,915.09
                          Eric R. and Cindy S.
     000185               Thoreson                    $        15,827.00 $           4,431.56 $           944.17
                          Erik M. and Stephanie M.
     000186               Cheney                      $        32,297.00 $           9,043.16 $       1,926.69
     000187               Stan Karotko                $       637,231.20 $        178,424.73 $       38,014.30
                          Ramsey-Waite Company
     000188               and George Karotko          $      1,402,620.00 $       392,733.59 $       83,673.88
     000189               Peggy Karotko               $        30,814.43 $           8,628.04 $       1,838.25
                          Patricia M. Strutt Rev.
     000190               Trust                       $        70,877.39 $          19,845.67 $       4,228.22
                          Victoria Leigh Quinn, c/o
     000191               Peggy                       $        32,395.01 $           9,070.60 $       1,932.54
                          Jack L. & Wendy J.
     000192               Chasteen                    $        10,086.00 $           2,824.08 $           601.69
                          Gloria Mae Roat Rev Lvg
     000194               Trust                       $       157,774.02 $          44,176.71 $       9,412.09
     000195               ARGO PARTNERS               $        70,009.00 $          19,602.52 $       4,176.41
                          Butler Family Trust dtd
     000196               10/4/94                     $       506,318.34 $        141,769.14 $       30,204.62
     000197               Gunderson, Wesley           $           751.00 $            210.28 $             44.80




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                                                          Allowed Amount    Interim Payments    Proposed
      Claim No.           Claimant                        of Claim          to Date             Payment
                          Gunderson, Wayne J &
      000198              Caralie S                   $        96,794.23 $        27,102.39 $          5,774.30
      000199              Sherlock, Bodin             $         8,667.00 $         2,426.76 $              517.03
      000200              Sherlock, Carmen            $         8,667.00 $         2,426.76 $              517.03
      000201              Sherlock, Jennifer          $        11,290.00 $         3,161.20 $              673.51

                          Sherlock, William &
      000202              Jennifer                    $         9,526.00 $         2,667.28 $              568.28
      000203              John G. Cox, Trustee        $        24,666.40 $         6,906.60 $          1,471.48

                          James Robert Harrell
      000204              Pension -                   $       166,749.00 $        46,689.72 $          9,947.48
      000205              Deshotel, Danielle N        $       100,932.00 $        20,625.60 $          6,021.20
      000206              Hutchinson, Rose            $       210,603.41 $        58,968.95 $         12,563.64
      000207              Hutchinson, Hilary          $       148,580.00 $        41,602.40 $          8,863.60
      000208              Philip W Dean               $        71,718.00 $        20,081.04 $          4,278.37
      000209              Chasteen, Denis & Danna     $       141,275.00 $        39,556.99 $          8,427.83
      000210              John & Judith Hansan        $        91,812.00 $        25,707.36 $          5,477.09
      000211              Kyle Scott Larkin           $         1,119.00 $           313.32 $               66.76
      000212              Larkin, Cathy & Patrick K   $       146,841.09 $        41,115.51 $          8,759.86
      000214              Curtis Restaurant Equip     $             0.00 $             0.00 $               0.00
      000215              Curtis Investment LLC       $             0.00 $             0.00 $               0.00
      000216              Michael & Frances Curtis    $             0.00 $             0.00 $               0.00
      000217              Curtis, Eileen J & Robert L $       280,854.00 $        78,639.12 $         16,754.46
      000218              Kottas, William F           $        19,158.68 $         5,364.43 $          1,142.92
      000219              Trangsrud, Julie A.         $        35,812.34 $        10,027.45 $          2,136.40
      000220              Huber-Shaw Living Trust     $       118,951.00 $        33,306.27 $          7,096.08
      000221              Timberhill Athletic Club    $       123,668.00 $        34,627.04 $          7,377.46
      000222              KRJ Investments             $         5,259.00 $         1,472.52 $              313.73
      000223              Larkin, Scott & Kristine    $       394,471.53 $       110,452.03 $         23,532.36
      000225              JOYCE WOODS TRUST           $        46,150.00 $        12,922.00 $          2,753.10



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                                                         Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                       of Claim            to Date          Payment
     000226               Wynn Fischer               $         6,515.00 $           1,824.20 $           388.65
                          Kenneth J West Survivor's
     000227               Trust                     $         51,737.00 $          14,486.36 $       3,086.39
                          Sheila K West Decedent's
     000228               Trust                      $        62,226.00 $          17,423.28 $       3,712.12
     000230               Stan's Auto Upholstery Inc $        23,284.00 $           6,519.51 $       1,389.03
     000231               Clunes, Robert             $       104,458.00 $          29,248.24 $       6,231.49
                          Daniel Curtis and
     000232               Stephanie Shaff            $       142,010.00 $          39,762.80 $       8,471.67
     000233               Larkin, Kelly S            $         2,262.00 $            633.36 $            134.94
                          Wildish Standard Paving
     000235               Co                         $       515,759.00 $        144,412.51 $       30,767.83
     000236               Maginnis, Ashley           $           485.00 $            135.80 $             28.93
     000237               Stephen W. Parkhurst &     $         4,332.54 $           1,213.11 $           258.46
     000238               Redhead, Connie            $        23,586.73 $           6,604.28 $       1,407.08
     000239               Revels, Larry O            $        23,348.00 $           6,537.44 $       1,392.84
     000240               Karotko, Michael           $      1,957,855.54 $       359,199.55 $      116,797.83
     000243               Johnson, Kenneth R DMD $           146,345.00 $          40,976.60 $       8,730.27
     000244               Johnson, Kenneth R DMD $           415,684.82 $          26,391.75 $      24,798.09
     000245               Johnson, Dorothy J         $        87,153.16 $          24,402.89 $       5,199.16
     000246               Johnson, Dorothy J         $       144,600.00 $          40,488.00 $       8,626.17
     000247               Tower, Edgar D & Ione A    $        51,971.00 $          14,551.88 $       3,100.35
                          Chasteen, Gene &
     000248               LaVonne                    $        14,839.00 $           4,154.91 $           885.24
     000249               Ramsey, Elizabeth H        $        40,284.25 $          11,279.59 $       2,403.18
                          Francis, Richard W &
     000250               Beverly A                  $       248,744.00 $          69,648.32 $      14,838.92




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                                                         Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                       of Claim           to Date          Payment
                          Roy & Helen Clunes
     000251               Living Trust              $         28,203.00 $          7,896.83 $       1,682.47
     000252               Francis, Beverly A        $         73,436.58 $         20,562.24 $       4,380.90
     000253               Lon Kellstrom             $        236,193.63 $         56,134.22 $      14,090.37
     000254               Neuman, Vince & Faye      $        156,224.00 $         43,742.72 $       9,319.61
     000255               Kevin Paul Francis        $         56,311.69 $         15,767.27 $       3,359.30
     000256               Francis S.Lawler          $         38,540.00 $         10,791.20 $       2,299.12
                          Pershern, Lauren Pershern,
     000257               Annette                    $         1,330.00 $           372.40 $             79.34
                          Donald & Elizabeth
     000258               Miller/Annette            $         22,223.00 $          6,222.44 $       1,325.72
     000259               Miller, Donald & Elizabeth $        37,862.00 $         10,601.36 $       2,258.68
     000260               Bien, Guy                 $         26,272.00 $          7,356.16 $       1,567.27
     000261               Johnson, James Douglas    $         11,612.00 $          3,251.36 $           692.72
                          Johnson, Christopher
     000262               Michael                   $         10,599.00 $          2,967.72 $           632.28
     000263               Johnson, Michael A        $        102,958.00 $              0.00 $       6,142.06
     000264               Brown, Jonathan W         $          2,617.00 $           732.76 $            156.11
     000265               Buhl, Douglas V           $         28,508.00 $          7,982.24 $       1,700.65
     000266               Buhl, Marilyn J           $          9,652.00 $          2,702.56 $           575.80
     000267               Randy Matthews            $         33,875.00 $          9,485.00 $       2,020.83
     000270               Camille Mack              $        242,695.00 $         67,954.60 $      14,478.07
     000271               Camille Mack              $        113,544.00 $         31,792.32 $       6,773.51
     000272               Holcomb, Joanne           $          5,820.49 $          1,629.74 $           347.22
     000273               Ambler, Susanne           $        213,328.41 $         59,731.95 $      12,726.20
     000274               Ambler, John              $          5,418.00 $          1,517.05 $           323.20




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                                                         Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                       of Claim           to Date          Payment
                          Dorothy & Leslie Family
     000275               Trust                     $         49,652.00 $         13,902.56 $       2,962.01
                          Dorothy & Leslie Family
     000276               Trust                     $         57,633.00 $         16,137.24 $       3,438.12
     000277               Sharon Asta               $         35,797.00 $         10,023.16 $       2,135.48
                          First American Reserve
     000278               Trust                     $        489,431.00 $       137,040.67 $       29,197.22
     000279               Christian Vaughan Trust   $         51,861.00 $         14,521.08 $       3,093.79
     000280               Hutchinson, Mark          $          1,030.00 $           288.40 $             61.45
     000281               Visionsite Corp           $          1,768.41 $           495.16 $            105.49
                          VASTS/VisionSite
     000282               Advanced Staff            $            546.00 $           152.88 $             32.57
                          Howard W. Berge
     000283               Survivors Trust           $         57,817.00 $         16,188.76 $       3,449.10
     000284               Pegasus Travel Inc        $         19,158.00 $          5,364.24 $       1,142.87
     000285               Cormac Adams Barlow       $         10,604.00 $          2,969.12 $           632.58
     000286               Brown, Indiana Loye       $         27,865.00 $          7,802.20 $       1,662.30
     000287               Jason Brown               $          1,737.97 $           486.64 $            103.67
                          Brown, Olivia Georganna
     000288               (minor)                   $         23,189.00 $          6,492.92 $       1,383.35
     000289               Rhynard Jr, Wayne E       $         96,980.00 $         11,654.40 $       5,785.44
     000290               Piernick, Sally D         $        171,066.11 $         47,898.50 $      10,205.03
     000291               Bramwell, C Josephine     $         12,333.00 $          3,453.24 $           735.73
     000293               Glass, Vicki Rae          $         23,571.00 $              0.00 $       1,406.15
     000294               Larkin, Marlin & Elizabeth $        14,075.00 $          3,941.00 $           839.65
     000295               Kathleen E. O'Brien       $        118,830.90 $         33,272.65 $       7,088.91
     000296               Bishop, Judith L          $          8,270.00 $          2,315.60 $           493.35
     000297               Aaron Larkin              $            637.00 $           178.36 $             38.00




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                                 Case 12-63884-tmr7         Doc 1729      Filed 07/18/19
                                                          Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                        of Claim           to Date          Payment
                          Roland Glass & Matthew
     000298               Glass                       $        37,657.00 $         10,543.96 $       2,246.44
     000299               Karotko, Ellen              $        40,087.00 $         11,224.36 $       2,391.41
     000300               Ellington, Joan & Clayton   $       294,647.38 $         82,501.27 $      17,577.30
     000301               Holcomb, Gary L             $             0.00 $              0.00 $             0.00
     000302               Kertzner, Rachel Rose       $        11,577.00 $          3,241.56 $           690.64
     000303               Johnson, Jill               $        31,959.00 $          8,948.52 $       1,906.53
     000304               Kertzner, Eliana Rae        $        11,577.00 $          3,241.56 $           690.63
                          Clark Lateral Ditch Co 03-
     000305               0018                       $         23,334.00 $          6,533.52 $       1,392.00
     000306               Emily B. Holcomb            $             0.00 $              0.00 $             0.00
     000307               Emily Holcomb               $             0.00 $              0.00 $             0.00
     000308               Mimi Van Breeman            $           256.00 $            71.68 $             15.28
     000309               Kristen Van Breeman         $             0.00 $              0.00 $             0.00
     000310               Mimi Van Breemen            $           613.00 $           171.64 $             36.57
     000311               Jonah Van Breeman           $           744.00 $           208.32 $             44.39
                          Julie Sherman fbo Jorga
     000312               Hansen                      $         2,682.00 $           750.96 $            160.00
                          F. Leroy Sherman and
     000313               Verda F. Sherman            $        55,133.00 $         15,437.24 $       3,288.98
     000314               Verda Sherman               $       163,015.62 $         45,644.36 $       9,724.78
                          Julie Sherman fbo Colton
     000315               Hansen                      $         5,570.00 $          1,559.60 $           332.28
                          Julia Sherman fbo Graysen
     000316               Hansen                    $           3,300.00 $           924.00 $            196.86
     000317               Kaiser, Lisa                $         1,059.00 $           296.52 $             63.18
     000318               Jennifer Bishop             $         1,134.00 $           317.52 $             67.65




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                                 Case 12-63884-tmr7          Doc 1729      Filed 07/18/19
                                                         Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                       of Claim           to Date          Payment
                          Donald N & Barbara H
     000319               McDonald                   $        94,099.00 $         26,347.72 $       5,613.51
                          Donald N & Barbara H
     000320               McDonald                   $        95,098.00 $         26,627.44 $       5,673.11
                          F.Leroy Sherman,
     000321               Successor Trustee,         $       258,819.00 $         72,469.31 $      15,439.96
     000322               Michael John Jaskilka      $        15,631.35 $          4,376.78 $           932.49
     000323               Bonnie Rhynard-Buhl        $        40,498.05 $         11,339.46 $       2,415.92
                          Davis Wright Tremaine
     000324               LLP                        $        48,488.14 $         13,576.68 $       2,892.58
     000325               Peggy J. Coffman           $        12,313.94 $          3,447.90 $           734.60
     000326               Eileen and Bruce McLellan $         26,213.84 $          7,339.87 $       1,563.80
     000327               Bruce McLellan             $       117,049.00 $         32,773.73 $       6,982.60
     000328               Warren Harper              $        35,034.83 $          9,809.76 $       2,090.01
                          Marilyn and James Rear,
     000329               Jr.                        $       317,215.64 $         88,820.38 $      18,923.63
                          Janet Harper and Marilyn
     000330               Rear                       $        49,946.47 $         13,985.02 $       2,979.57
     000331               Harper Farms, Inc.         $       375,350.00 $       105,097.99 $       22,391.67
     000332               Guistina, Ehrman V         $       137,168.00 $         38,407.04 $       8,182.82
     000333               Grace Lutheran Foundation $        441,901.00 $       123,732.28 $       26,361.78
     000334               McCarty, Barbara J         $       516,963.00 $       144,749.63 $       30,839.65
     000335               M&A Investments            $        64,245.33 $         17,988.69 $       3,832.58
     000336               Agerter, Alan J            $         3,491.95 $           977.74 $            208.32
     000337               Agerter, Joan H            $        37,642.00 $         10,539.76 $       2,245.55
     000338               Agerter, Mark & Regina     $        35,581.89 $          9,962.93 $       2,122.65
     000339               Wolfe, Pierre              $        65,562.00 $         18,357.36 $       3,911.13
     000340               Wolfe, Ronald              $        57,968.00 $         16,231.04 $       3,458.10




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                                 Case 12-63884-tmr7         Doc 1729      Filed 07/18/19
                                                         Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                       of Claim           to Date          Payment
     000341               Wolfe, Jean               $         74,716.00 $         20,920.48 $       4,457.22
     000342               Dupriest, Douglas M       $         55,868.00 $         15,643.03 $       3,332.84
     000343               Degge, Rogena M           $         46,754.00 $         13,091.12 $       2,789.12
     000344               Herrmann, Paul            $        295,734.00 $         82,805.52 $      17,642.14
     000345               Herrmann, Christopher     $         74,679.00 $         20,910.12 $       4,455.00
     000346               Christian Vaughan         $          8,847.00 $          2,477.16 $           527.77
     000347               Janssen, Joseph John      $         13,355.00 $          3,739.40 $           796.70
     000348               Janssen, Davi Rae Helen   $         10,177.00 $          2,849.56 $           607.11
     000349               Brown, Shannon            $            158.00 $            44.24 $              9.42
     000350               SCS Investments, LLC      $         11,498.00 $          3,219.44 $           685.92
     000351               SRB Investments, LLC      $        229,177.00 $         64,169.56 $      13,671.65
                          Debra L. Stanley and James
     000352               D. Stanley                 $        20,146.00 $          5,640.88 $       1,201.82
                          Jared Stanley and Debra
     000353               Stanley                   $          4,800.00 $          1,344.00 $           286.35
                          Ryan Stanley and Debra
     000354               Stanley                   $          4,800.00 $          1,344.00 $           286.35
     000355               Scott & Wika Hutchinson   $          4,209.00 $          1,178.52 $           251.09
     000356               Tyler, Duane              $         80,863.00 $         22,641.64 $       4,823.91
                          Dorothy J Larkin Rev
     000357               Living Trust              $        736,374.00 $       206,184.72 $       43,928.70
                          DANIELLE N.
     000358               DESHOTEL                  $          2,629.00 $           736.12 $            156.83
     000359               Johnson, Darci            $          2,974.00 $           832.71 $            177.42
     000360               Hand, C Gene              $        140,019.36 $         39,205.42 $       8,352.91
     000361               Erildean Hand             $          6,392.00 $          1,789.76 $           381.32
     000362               Hand, Patsy               $         27,086.12 $          7,584.11 $       1,615.83




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                                                        Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                      of Claim           to Date          Payment
     000363               Redhead, Paul             $         3,124.73 $           874.93 $            186.40
     000364               Thomas K. Dean            $             0.00 $              0.00 $             0.00
                          Thomas Dean, Trustee-
     000365               Bailey Hill Def.          $             0.00 $              0.00 $             0.00
                          Thomas Dean, Trustee,
     000366               James A. Paulson          $             0.00 $              0.00 $             0.00
                          Thomas Dean, Trustee,
     000367               James A. Paulson          $             0.00 $              0.00 $             0.00
     000368               Tessem, Susan             $        17,944.00 $          5,024.32 $       1,070.46
     000369               Chasteen, Matthew S       $         4,740.00 $          1,327.20 $           282.77
     000370               Chasteen, Naomi Edda      $           910.00 $           254.80 $             54.28
     000371               Peccia, Kathi             $         8,466.00 $          2,370.48 $           505.04
     000372               Wilka Hutchinson          $         5,307.00 $          1,485.96 $           316.59
     000373               Wilka Hutchinson          $         1,550.00 $           434.00 $             92.47
     000374               Maloney, Terry W          $         3,715.00 $          1,040.20 $           221.62
     000375               Hollis, Doug & Konni      $        56,171.00 $              0.00 $       3,350.94
     000376               Babb, Bert & Shirley      $       379,867.00 $       106,362.76 $       22,661.12
     000377               C & D Radiator Service    $       307,809.00 $         77,186.52 $      18,362.65
     000378               JONATHAN HOLLIS           $        24,325.00 $          6,810.99 $       1,451.13
                          Kruger, David L & Karen
     000379               E                         $           339.47 $            95.06 $             20.24
     000380               Chanda Mills              $         1,104.00 $           309.12 $             65.86
     000385               Myers, Eric               $         2,071.00 $           579.88 $            123.55
     000386               Ian A Hutchinson          $             0.00 $              0.00 $             0.00
     000387               Patty Wiles               $             0.00 $              0.00 $             0.00
     000388               Ian A Hutchinson          $             0.00 $              0.00 $             0.00
     000389               Perez, Roberto Carlos     $             0.00 $              0.00 $             0.00




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                                                         Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                       of Claim           to Date          Payment
     000390               Clark Lateral Ditch Co    $              0.00 $              0.00 $             0.00
     000391               Porter, Elizabeth         $              0.00 $              0.00 $             0.00
     000392               Porter, Steven & Elizabeth $             0.00 $              0.00 $             0.00
                          Steven and/or Elizabeth
     000393               Porter                    $              0.00 $              0.00 $             0.00
     000394               Porter, Elizabeth         $              0.00 $              0.00 $             0.00
     000395               TERESA L. MESSIER         $         27,106.00 $          7,589.68 $       1,617.02
     000396               Roger A Rau               $              0.00 $              0.00 $             0.00
     000397               Kalila Fuller             $              0.00 $              0.00 $             0.00
     000398               Esmee Fuller              $              0.00 $              0.00 $             0.00
     000399               Bradley Myers             $         11,000.00 $          3,080.00 $           656.21
     000400               Alison Myers              $              0.00 $              0.00 $             0.00
     000401               Toni Myers                $              0.00 $              0.00 $             0.00
     000402               Sallie Sugarman Trust     $              0.00 $              0.00 $             0.00
     000405               Sallie Sugarman Trust     $              0.00 $              0.00 $             0.00
     000406               Sallie Sugarman Trust     $              0.00 $              0.00 $             0.00
     000408               Lee and Kay Pittman       $              0.00 $              0.00 $             0.00
     000409               Jordan, Max & Miriam      $              0.00 $              0.00 $             0.00
     000410               M&M Properties LLC        $              0.00 $              0.00 $             0.00
                          ROBERT E. & PATRICIA
     000411               A. MYERS FAMILY      $                   0.00 $              0.00 $             0.00
                          Fred W. Holcomb as
     000412               Trustee of the            $              0.00 $              0.00 $             0.00
     000413               Fred W. Holcomb           $              0.00 $              0.00 $             0.00
                          Grange McKinney (House
     000414               Account)               $                 0.00 $              0.00 $             0.00




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                                                          Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                        of Claim           to Date          Payment
                          Grange Bowen McKinney
     000415               Living Trust                $             0.00 $              0.00 $             0.00
                          Pacific Continental Bank,
     000416               as successor                $             0.00 $              0.00 $             0.00
     000417               Umpqua Bank                 $             0.00 $              0.00 $             0.00
                          Dorothy J Larkin Rev
     000419               Living Trust                $             0.00 $              0.00 $             0.00
     000420               Marlin Paul Larkin          $             0.00 $              0.00 $             0.00
     000421               Jones & Roth, P.C.          $             0.00 $              0.00 $             0.00
                          Holcomb Family Limited
     000423               Partnership                 $             0.00 $              0.00 $             0.00
                          Chalmers, Jennifer &
     000424               Michael                     $             0.00 $              0.00 $             0.00
     000425               Jackson Chalmers            $        13,167.00 $          3,686.76 $           785.49
     000426               Marilee Chalmers            $         8,726.00 $          2,443.28 $           520.56
     000428               Lesley D. Ripka             $             0.00 $              0.00 $             0.00
     000429               John Fietsch                $             0.00 $              0.00 $             0.00
                          Wayne E & Alida D
     000431               Rhynard Jr.                 $             0.00 $              0.00 $             0.00
                          AMERICAN PROPERTY
     000432               MANAGEMENT        $                   1,189.90 $           333.17 $             70.98
                          BARBARA H.
     000433               MCDONALD                    $             0.00 $              0.00 $             0.00
                          DONALD N.
     000434               MCDONALD AND                $             0.00 $              0.00 $             0.00
                Total to be paid to timely general unsecured creditors                 $         2,460,897.93
                Remaining Balance                                                      $                   0.00




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             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




              Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 900,000.00 have been allowed and will be paid pro rata only after
     all allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend
     for subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:

                                                         Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                       of Claim            to Date          Payment
                          Oregon Dept of Consumer
     000383               & Business Svc          $          300,000.00 $               0.00 $              0.00
     000384               Van Pounds                 $       600,000.00 $               0.00 $              0.00
                Total to be paid to subordinated unsecured creditors                   $                    0.00
                Remaining Balance                                                      $                    0.00




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